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                     Exhibit 5
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                                                               Paper52
571-272-7822                                   Entered: January 11, 2023




       UNITED STATESPATENT AND TRADEMARK OFFICE


        BEFORETHEPATENTTRIALANDAPPEALBOARD


                           GOOGLELLC,
                             Petitioner,

                                 V.


                  NEONODE SMARTPHONE LLC,
                        Pa tent Owner.


                           IPR2021-01041
                         Patent 8,095,879 B2



BeforeKARAL. SZPONDOWSKI,CHRISTOPHERL. OGDEN,and
SCOTT B. HOWARD, Administrative Patent Judges.

OGDEN, Administrative Patent Judge.


                           JUDGMENT
                       Final Written Decision
           Determining No Challenged Claims Unpatentable
                         35 US.C. § 318(a)
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                            I. INTRODUCTION

      Petitioner Google LLC ("Google") filed a Petition (Paper 6, "Pet.")
forinterpartesreviewofclaims        1-7,9, 12, 13,and 15-17ofU.S.Patent
No. 8,095,879B2(Ex      1001, "the '879patent"). BasedonthePetitionand
preliminary filings, the Board instituted trial. (Paper 19). Patent Owner
Neon ode Smartphone LLC ("Neon ode") then filed a Pa tent Owner Response
under seal (Paper 29, "PO Resp."; public redacted version as Ex. 2060),
Google filed a Reply to the Pa tent Owner Response (Paper 3 5, "Pet
Reply"), and Neonode filed a Sur-reply (Paper 44, "PO Sur-reply").
      We held an oral hearing on October 17, 2022, and the transcript is
entered on the record. Paper 50 ("Tr.").
      This is a final written decision under35U.S.C.    §318(a)astowhether
the claims challenged in the inter partes review are unpatentable. For the
reasons below, we conclude that Google has not shown that any claims of
the '879 patent are unpatentable.


                            II. BACKGROUND

      A.     RELAI'ED PROCEEDINGS

      The parties identify the following as related matters: Neonode
Smartphone LLC v. Apple Inc., No. 6:20-cv-00505 (W.D. Tex. filed June 8,
2020); and Neonode Smartphone LLC v. Samsung Electronics Co., No. 6:20-
cv-00507 (W.D. Tex. filed June 8, 2020). Pet. 106; Paper 3, 2.
      The Board has issued a previous final written decision addressing the
'879 patent. See Samsung Electronics Co. v. Neonode Smartphone LLC,
IPR2021-00144,Paper59      (PTAB Dec. 15, 2022); Pet. 106, Paper3, 2.
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      B.     THE'879 P ArENT (Ex. 1001)

      The '879 patent relates to a user interface on a mobile handheld
computer device that has a touch-sensitive display screen divided into a
menu area and a display area. See Ex. 1001, 1:6-9, code ( 57). The user
interface is "specifically adapted to be used with a small computer unit
where the size of the touch sensitive area is in the order of 2-3 inches" and
the interface can "be operated by one hand." Id. at 3: 1-6.
      Figure 1 of the '879 patent, reproduced below, illustrates such a user
interface:




                                                  2

                             21
                                  Fig. 1.
Figure 1 depicts touch-sensitive area 1 on a mobile handheld device.
Ex. 1001, 3:22-23, 3:51-53. It is divided into menu area 2 and display area
3. Id. at 3:53-54. Menu area 2 is a narrow strip along the lower part of
touch-sensitive area 1 that contains predefined functions 21 (a general
application-dependent function), 22 (a keyboard), and 23 (a task and file
manager). Id. at 4:1-6; see also id. at 2:7-10.
      Functions 21, 22, and 23 in menu area 2 "can be activated when the
touch sensitive area detects a movement of an object with its starting point
within the representation of the function on the menu area and with a

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direction from the menu area to the display area."Ex 1001, 1:65-2:5, 2:11-
14. This method of activation is shown in Figure 2, reproduced below:




                                                   4



                               :◄        ►::
                                    3 ... :+2
                               :◄            ►-
                                     1
                                 Fig. 2.
Figure 2, above, illustrates a touch gesture by which a user may activate
functions 21, 22, or 23 in area 2. See Ex. 1001, 3:24-25. This gesture begins
when object 4 (a thumb as shown in Figure 2, but it could be any finger, a
pen, or another pointing device, id. at 6: 11-15) touches the display at point A
within representation 21, 22, or 23, and moves in direction B away from
menu area 2 into display area 3. Id. at 4 :7-11.
      When a user activates the first function, display area 3 displays icons
representing services or settings, depending on the current active application.
Ex. 1001, 2:18-20. Figure 3, reproduced below, illustrates the touch screen
after function 21 has been activated:




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                                                     212

                           211
                                     ?          CJ
                                     •
                           213                             3
                                     0          0
                             ~




                                                /oJ
                                21       Fig. 3.
Ex. 1001, 3 :26. Figure 3, above, shows that after a user activates function 21
with the gesture as illustrated in Figure 2, display area 3 displays icons 211-
216, which each represent services or functions depending on the currently
active application. Id. at4:12-15. If, for example, the active application
handles a picture, then the icons showing on display area 3 after a user
activates the first function can include services such as "save to disk," "send
as SMS," or "delete," or settings such as "resolution," "colour," or
"brightness." Id. at 4:24-28.
      Analogously, selecting function 22 activates a keyboard, and selecting
function 23 activates a library of available applications and files on the
device. Ex. 1001, 4:36-38, 4:63-65, Figs. 5-6. If there is no currently active
application, the icons may "represent services or settings of the operations
system of the computer unit, such as background picture, clock alarm 215,
users 213, help 211, etc." Id. at 4:29-33.




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      C.     CHALLENGED CLAIMS AND GROUNDS

      Claim 1, the only independent claim, is as follows:
         1. A non-transitory computer readable medium storing a
      computer program with computer program code, which, when read
      by a mobile handheld computer unit, allows the computer to
      present a user interface for the mobile handheld computer unit, the
      user interface comprising:
      [a] a touch sensitive area in which a representation of a function
              is provided,
      [b]     wherein the representation consists of only one option for
              activating the function and
      [c]     wherein the function is activated by a multi-step operation
              comprising (i) an object touching the touch sensitive area
              at a location where the representation is provided and then
              (ii) the object gliding along the touch sensitive area away
              from the touched location,
      [d]     wherein the representation of the function is not relocated
              or duplicated during the gliding.

Ex. 1001, 6:45-59 (Google's reference letters added).
      Google argues six grounds for inter partes review, as shown in the
following table:




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       1-5, 13, 15-17         103(a) 1       Robertson, 2 Maddalozzo 3
           6, 7,9             103(a)         Robertson, Maddalozzo, Vayda4
                                             Robertson, Maddalozzo, Bedford-
             12               103(a)
                                             Roberts 5
     1,4-6, 13, 15-17         103(a)         Tarpenning 6
         2,3, 7,9             103(a)         Tarpenning, Vayda
             12               103 a
Pet. 1-2.

        D.     DECLARAI'ORY TESTIMONY

         Google submits two declarations of Dr. Jacob 0. Wobbrock as expert
testimony. Exs. 1003, 1032; see also Ex. 1004 (curriculum vitae). Google
also relies on a declarations of Rachel J. Watters (Ex 1018) and Kelley M.
Hayes Greenhill (Ex 1019) as to Robertson's public availability.
        Neonode submits a declaration of Dr. Craig Rosenberg. Ex. 2019; see
also Ex 2002 (curriculum vitae). Neonode also submits declarations of


1
  35 U.S.C. § 103(a) (2006), amended by Leahy-Smith America Invents Act,
Pub. L. No. 112-29 § 103, sec. (n)(l), 125 Stat. 284,287,293 (2011)
(effective Mar. 16, 2013 ). The '879 patent issued from an application filed
on December 10, 2002, which is before the effective date of this amendment
to section 103. See Ex 1001, code (22).
2
 George G. Robertson et al., Buttons as First Class Objects on an
X Desktop, UIST: Proceedings of the ACM Symposium on User Interface
Software and Technology: Hilton Head, South Carolina, USA, 35-44 (Nov.
11-13, 1991)(Ex 1005).
3
    Maddalozzo et al., US 7,768,501 B 1, issued Aug. 3, 2010 (Ex. 1006).
4
    Vayda et al., US 5,745,717, issued Apr. 28, 1998 (Ex. 1007).
5
    Bedford-Roberts, US 5,870,092, issued Feb. 9, 1999 (Ex 1008).
6
    Tarpenning et al., US 6,181,344 B 1, issued Jan. 30, 2001 (Ex. 1009).
                                         7
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Joseph Shain (Ex. 2008), UlfMartensson(Ex        2054), PerBystedt(Ex. 2055
under seal; public redacted copy as Ex. 2061 ), and Marcus Backlund
(Ex. 2056) relating to alleged objective indicia of non-obviousness and the
early development of touch-screen phones that, according to Neon ode,
embody the challenged claims.


                    III. GROUNDS OF THE PETITION

      For the reasons below, we determine that Google has not shown, by a
preponderance of the evidence, that claims 1- 7, 9, 12, 13, and 15-17 of the
'879 patent are unpatentable under the grounds of the Petition. Before
analyzing these grounds in detail, we address two matters that will underlie
our analysis: the level of ordinary skill in the art and the construction we will
apply to the claim terms.

      A.     LEVEL OF ORDINARY SKILL IN THE ART

      The level of ordinary skill in the pertinent art at the time of the
invention is a factor in howwe construe patent claims. See Phillipsv. AWH
Corp., 415 F.3d 1303, 1312-13 (Fed. Cir. 2005) (en bane). It is also one of
the factors we consider when determining whether a patent claim would
have been obvious over the prior art. See Graham v. John Deere Co., 3 83
U.S. 1, 17-18(1966).
      To assess the level of ordinary skill, we construct a hypothetical
"person of ordinary skill in the art," from whose vantage point we assess
obviousness and claim interpretation. See In re Rouffet, 149 F.3d 1350, 1357
(Fed. Cir. 1998). This legal construct "presumes that all prior art references



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in the field of the invention are available to this hypothetical skilled artisan."
Id. (citing In re Carlson, 983 F.2d 1032, 1038 (Fed. Cir. 1993)).
      For Google, Dr. Wobbrock testifies that a person of ordinary skill in
the art at the time of the invention, would have had "at least a bachelor's
degree in Computer Science, Human-Computer Interaction, Symbolic
Systems, or related engineering disciplines, and at least two years of
experience designing and programming graphical user interfaces," but that
"[r]elevant work experience can substitute for formal education and
advanced degree studies could substitute for work experience." Ex. 1003


      Testifying for Neonode, Dr. Rosenberg states that for his declaration,
he "will apply the same definition of the level of skill of a [person of
ordinary skill in the art]" as Dr. Wobbrock. Ex. 2019 ,r27.
      We find Dr. Wobbrock's uncontested articulation to be reasonable in
light of the subject matter involved in the '879 patent and the asserted prior
art. See, e.g., Ex. 1001, 1:49-61 ( stating thatthe '879 patent addresses
technical problems including "to provide a user-friendly interface ... on a
small handheld computer unit"). Thus, we adopt it for our decision.

      B.     CLAIM CONSTRUCTION

      In an inter partes review, we construe a patent claim "using the same
claim construction standard that would be used to construe the claim in a
civil action under 35 U. S.C. 282(b )." 37 C.F.R. § 42. l00(b) (2020). This
generally includes "construing the claim in accordance with the ordinary and
customary meaning of such claim as understood by one of ordinary skill in
the art and the prosecution history pertaining to the patent." Id. The ordinary

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and customary meaning of a claim term "is its meaning to the ordinary
artisan after reading the entire patent," and "as of the effective filing date of
the patent application." Phillips, 415 F.3d at 1313, 1321. There are only two
circumstances in which a construction departs from the ordinary and
customary meaning: "1) when a patentee sets out a definition and acts as
[their] own lexicographer, or 2) when the patentee disavows the full scope of
a claim term either in the specification or during prosecution." Thorner v.
SonyComput. Entm 'tAm. LLC, 669F.3d 1362, 1365 (Fed. Cir. 2012). Any
such special meaning of a term "must be sufficiently clear in the
specification that any departure from common usage would be so understood
by a person of experience in the field of the invention." Multiform
Desiccants Inc. v. MedzamLtd., 133F.3d 1473, 1477(Fed. Cir. 1998).
      To construe the claim terms, "we look principally to the intrinsic
evidence of record, examining the claim language itself, the written
description, and the prosecution history, if in evidence." DePuy Spine, Inc. v.
Medtronic Sofamor Danek, Inc., 469 F. 3d 1005, 1014 (Fed. Cir. 2006).
      Google does not propose any explicit claim constructions in its
Petition. See Pet. 4. Neon ode does not propose any explicit constructions
either, but in its Response, N eonode raises a number of claim construction
arguments regarding the term gliding ... away as it appears in limitation le,
to which Google responds in its Reply. See PO Resp. 31-50, 66-69; Pet.
Reply 7-12, 19-21; see also PO Sur-reply 1-10, 19-21. We do not need to
construe this term explicitly for our decision, and to the extent we need to
interpret this or any other terms, we address the terms below in the context
of the prior art. See Nidec Motor Corp. v. ZhongshanBroad Ocean Motor
Co., 868 F.3d 1013, 1017 (Fed. Cir. 2017) ("[W]e need only construe terms

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'that are in controversy, and only to the extent necessary to resolve the
controversy' .... " (quoting Vivid Techs.,Inc. v. Am. Sci & Eng 'g, Inc., 200
F.3d 795, 803 (Fed. Cir. 1999))).

      C.     GROUNDS BASED ON ROBERTSON

      In the first ground of the Petition, Google argues that claims 1-5, 13,
and 15-17 are unpatentable under 35 U. S.C. § 103(a) as obvious over
Robertson in view ofMaddalozzo. Pet. 5-64.Forthis ground, we focus on
Google's challenge to sole independent claim 1 and particularly limitation
le (Pet. 25-29), after which we address the remaining claims and the
remaining grounds.
      A claim is unpatentable under§ 103(a) for obviousness if the
differences between the claimed subject matter and the prior art are "such
that the subject matter as a whole would have been obvious at the time the
invention was made to a person having ordinary skill in the art to which said
subject matter pertains." KSRlnt'l Co. v. Teleflex Inc., 550 U.S. 398,406
(2007). When a ground in a petition is based on a combination of references,
we consider "whether there was an apparent reason to combine the known
elements in the fashion claimed by the patent at issue." Id. at 418 (citing In
re Kahn, 441 F.3d 977, 988 (Fed. Cir. 2006)).
      We base our obviousness inquiry on factual considerations including
( 1) the scope and content of the prior art, (2) any differences between the
claimed subject matter and the prior art, (3) the level of skill in the art, and
(4) any objective indicia of obviousness or non-obviousness that may be in
evidence. See Graham, 383 U.S. at 17-18.



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      Considering these factors, we determine for the reasons below that
Google has not shown, by a preponderance of the evidence, that claim 1 is
unpatentableunder35 U.S.C. § 103(a)as obvious over Robertson in view of
Maddalozzo.

              1.    Overview of Robertson (Ex. 1005)

      Robertson describes a high-level user interface toolkit, called
"XButtons," which supports on-screen buttons as first-class objects on an
X Window system desktop. Ex. 1005, 35. According to Robertson, XButtons
typically appear as small rectangular screen objects, usually have some text
that indicates what their action is, and may include a field for editable text.
Id. at 3 8. A group of XB uttons is shown in Figure 1, which we reproduce
below.




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Figure 1, above, illustrates a sample set ofXButtons including one for a
"Phone" function. Ex. 1005, 3 8-39. XButtons can have multiple associated
actions, each selected by simple mouse or pen gestures such as "flick left,"
"flick right," "flick up," "flick down," "click," "rubout," "check," or
"insert." Id. at 39. For example, "[t]he 'Phone' button will let you type the
name of someone, then pop up a window with their phone number (by
clicking) or dial the number (with the flick right gesture)." Id.
      "If the user is unfamiliar with the action of a particular button, a menu
can be popped up to reveal which gestures are supported (and what they
do)," using a particular gesture. Ex. 1005, 39. The menu associated with the
"Phone" XButton is shown in Figure 2, which we reproduce below.




Figure 2, above, illustrates a sample menu for an XButton. Ex. 1005, 39-40.
The menu shows all potential user manipulations of the XButton; for
                                       13
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example, it shows that the "Click" gesture is associated with "Get phone#"
and the "Flick Right" gesture is associated with "Dial phone#." Id.
      XButtons may also have associated with them a button editor, as
shown in Figure 3, which we reproduce below.




              r:w~~p;-=·      .•.•-•.•.•.•.•.•.•.•.•.•.•.•.•-•.•.•-•.•.•-•.•-·-·-·--       _._    ...........................................................                                                                .




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Figure 3 shows a button editor for the "Phone" XButton whose menu is
shown in Figure 2. Ex 1005, 40-41. The button editor is a structured
property-sheet editor designed specifically for editing an XButton. Id. at 40.
The editor fields at the top specify the appearance of the button. Id. The
                                                                                                                                                         14
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middle of the editor specifies the action language, the various actions, and
the text to appear in the menu for each action. Id. Toward the bottom of the
editor are fields ("Attribute" and "Value") that allow the user to view and
replace user-defined properties. Id.

             2.     Limitation 1c

       Because we find that Google has not shown that the combination of
Robertson and Maddalozzo teaches or suggests limitation 1c, we need only
address that limitation in our decision. Moreover, because Google relies only
on Robertson for limitation 1c, we need not address Google's arguments
concerning Maddalozzo. See Pet. 25-29 (not referring to Maddalozzo in the
context of limitation le). 7
       Limitation 1c recites "wherein the function is activated by a multi-step
operation comprising (i) an object touching the touch sensitive area at a
location where the representation is provided and then (ii) the object gliding
along the touch sensitive area away from the touched location." Ex. 1001,
6:52-57. An example of this operation is the gesture illustrated in Figure 2
of the '879 patent, which we discuss above. See supra Section II.B.
       Google contends that Robertson discloses this recited multi-step
operation by disclosing that a user can activate a "dialphone" function to call
a phone number by "placing a pen on the phone button, then sliding the pen
to the right along the touch-sensitive interface to perform a 'flick right'
gesture."Pet. 25 (citing Ex. 1005, 38-39; Ex 1003 ,r107). Google contends




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 For claim 1, Google relies on Maddalozzo solely for teaching the
preamble. See Pet. 12-19.
                                       15
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that, according to Robertson, "' gesture[ s] must start in an XButton,' but' can
move outside the XB utton' while performed." Id. ( alteration in original)
(quoting Ex 1005, 43) (citing Ex. 1005, 39; Ex. 1003 if106). Thus, Google
depicts this operation with an annotated version of Robertson's Figure 1,
which we reproduce below:




Pet. 26. In the above figure, Google annotates Robertson's Figure 1 by
highlighting the "Phone" XButton (in which has been entered a particular
phone number) in blue and showing an orange pen and a path it would
allegedly make starting on the phone number and ending outside the
XButton. See Pet. 25-26.
      Alternatively, Google contends that Robertson discloses activating an
"xbedit" function to open the "Phone" button's button editor by "touching a
pen (or finger) to the phone button, then sliding the pen away from the initial
touched location in the shape of a caret to perform an 'Insert gesture."'
                                       16
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Pet. 26-27 (citing Ex. 1005, 39-40; Ex. 1003 ,r108). Google depicts this
operation with another annotated version of Robertson's Figure 1, which we
reproduce below:




Pet. 27. Shown above is Robertson's Figure 1 that Google has annotated to
highlight the "Phone" XButton (in which has been entered a particular phone
number) in blue and showing an orange pen and a path it would allegedly
make starting on the phone number, moving diagonally upward and to the
right outside the XButton, and then moving diagonally downward and to the
right. See id.
       In its Response, Neonode contends that Google has failed to support
its contention that Robertson's "flick-right" and "insert" gestures reflect the
stylus performing an operation that comprises "gliding ... away." See PO
Resp. 31. First, Neonode contends that based on the prosecution history and


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extrinsic evidence, the term gliding means more than simply any movement
along the touch sensitive area. See id. 32-35.
      In particular, Neon ode notes that during prosecution of the '879
patent, the original language describing the gesture in limitation 1c was
"moving in a direction from a starting point that is the representation [of a
function] ... to said display area." PO Resp. 33 (alterations in original)
(quoting Ex 1002, 201 ). Neonode argues that, after the Examiner rejected
claims with the above language, "[ i]n further prosecution and in explaining
the gesture the Applicant sought to claim," the applicant encouraged the
Examiner to watch a video (Ex. 2020) demonstrating the gesture on
Neonode' s N2 mobile device. Id. (citing Ex. 1002, 214-15). Neonode
contends that this video depicts a gesture that is "similar to what today's
systems refer to as a 'swipe' gesture, where, e.g., the thumb is placed on a
representation of a function (menu item with an arrow) and through a
swiping motion, the menu screen opens." Id. at 32-34 (citing Ex. 2020, time
codes 00:26-00:27).
      Then, according to Neonode, "[i]n the subsequent office action, the
Examiner acknowledged the 'swiping' gesture of the claims, but recognized
that the then drafted claims[] simply required 'moving' the object, and were
thus too broad to limit the claims to a swipe/glide gesture." PO Resp. 34
(citing Ex. 1002, 25 8 ("[T]he Examiner feels that the limitations, as claimed,
. . . are still too broad to suggest without research what was shown in the
video demonstration.")). Then, Neonode argues that after an examiner
interview "to properly claim the present invention," the applicant amended
the claim to its current form, "gliding along the touch sensitive area away
from the location." Id. (quoting Ex. 1002, 334; then quoting id. at 317-18).

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      Thus, Neonode contends that a person of ordinary skill in the art
would have understood from the prosecution history that the word gliding as
recited in limitation 1c carries a more specific meaning than mere
movement. PO Resp. 35 (citing Ajinomoto Co. v. ITC, 932 F.3d 1342, 1351
(Fed. Cir. 2019)).
      Next, Neonode argues that Google has failed to show that a person of
ordinary skill in the art would have understood Robertson's "flick" gesture
to comprise "gliding." PO Resp. 35. Neonode first points to dictionary
definitions in which the word flick denotes a sharp or jerky motion, whereas
the word glide denotes a smooth, continuous motion. Id. at 35-38 (citing
Exs. 2049, 2052, 2050, 2057; Ex 2019 ,r,r
                                        78-79). Neonode also points to
more recent developer guidelines to show that leading smart phone
developers Apple and Google have distinguished between "flick" and
"swipe" gestures. Id. at 39-40 (citing Ex 2022, 4; Ex 2023, 6; Ex 2029, 2;
Ex. 2019 ,r,r
            80-81). According to Dr. Rosenberg, in Google's Android
operating system, a "flick" gesture simulates a fast spinning motion, and in
later Android releases, the gesture "creates a momentum effect where the
scroller initially moves at a given velocity, and gradually slows down,"
whereas "a 'swipe' gesture is used to close an application." Ex 2019     ,r,r82-
83 (citing Ex. 2025, 21; Ex. 2026, 5; Ex. 2027, 8 (calling the gesture
"fling"); Ex 2028, 1).
      Neonode argues that the difference between "glide" ("swipe") and
"flick" gestures is analogous to the difference between "walking and
running," which are distinct movements. PO Resp. 41 (citing Ex. 2019 ,r84).
In the context of operating a touchscreen with a pen on a 1991 desktop
(allegedly consistent with how the term is used today), Dr. Rosenberg

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testifies that "[i]n a flick gesture, the pen would touch the screen, but only
moves on the screen for a very short distance and is quickly lifted from the
screen in a 'jerky' motion." Ex 2019    ,r,r85-86.
      Thus, Neonode disagrees with how Google depicts a "flick right"
gesture in its annotated version of Robertson's Figure 1, reproduced above.
PO Resp. 42. According to Neonode, neither Google nor Dr. Wobbrock have
explained why the gesture would have been a several-inches-long
continuous movement, as depicted, which does not reflect the plain meaning
of flick as a "short,jerky motion." Id. at 42-43. Although Neonode
acknowledges that Robertson's system is capable, in general, of recognizing
gestures that begin within an XButton and extend outside of it, Neonode
disagrees that this would necessarily be the case for the "flick right" gesture,
unless the gesture began close to the edge of the XButton. Id. at 43-44
(citing Ex. 2019   ,r89).
      Dr. Rosenberg also states that Robertson "discloses that a drag-and-
drop operation can be performed on its XButtons," so "[i]fRobertson's
'flick' was really a glide," then if the user performed a gesture as depicted in
Google's annotated version of Figure 1, "Robertson's system would not
know whether the movement of a mouse/pen was a drag-and-drop operation
or a glide gesture." Ex. 2019 ,r90 (citing Ex 1005, 39, 40, 42). On the other
hand, "a 'flick' gesture is readily recognizable due to its higher speed and
shorter distance-which,     as Robertson indicates, is not intended to (even if it
'can') go outside of the XB utton itself." Id.
      Neonode also disputes that a person of ordinary skill in the art would
have interpreted Robertson's "insert" gesture-which       Robertson describes
as "like an editor's caret"-to   comprise a "gliding ... away" movement.

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PO Resp. 45 (quoting Ex. 1005, 40). According to Neonode, "[a]neditor's
caret-'/\ '-has   a sharp angle and is usually smaller than the text." Id. at 4 7-
48 (citing Ex. 2019 ,r99). According to Dr. Rosenberg, forming this gesture
would involve "two jerky movements connected together," or "drawing a
first sharp, short line, and then sharply changing direction and drawing a
second sharp, short line." Ex. 2019 ,r 100. Thus, Neon ode disagrees with
Google's depiction of two large lines that extend outside theXButtonand
even over neighboring XButtons. PO Resp. 49-50 (citing Ex 2019 ,r,r101-
102). Rather, according to Dr. Rosenberg, Robertson's "insert" gesture
would more closely resemble the depiction shown in Neon ode's own
annotated version of Figure 1, which we reproduce below:




Ex. 2019 ,r102. Neonode's annotated version ofRobertson's Figure 1
depicts an orange caret roughly on the same scale as the text that would
appear in the "Phone" XButton, and a pen "with the correct approximate


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scale of the size of the pen compared to a typical desktop of 1991." P 0
Resp. 49 (citing Ex. 2019,Iif l0l-102).
       In its Reply, Google contends that we should decline to construe
gliding . .. away as Neonode contends because doing so would render claim
1 unpatentable for lack of written description, because the original disclosure
of the '879 patent only described general movements, not specifically a
gliding gesture. Pet. Reply 7-8 (citing Ruckus Wireless, Inc. v. Innovative
Wireless Sols., LLC, 824 F.3d 999, 1004 (Fed. Cir. 2016); Novozymes A/Sv.
DuPont Nutrition Biosciences APS, 723 F.3d 1336, 1346 (Fed. Cir. 2013); D
Three Enters., LLCv. SunModo Corp., 890F.3d 1042, 1050-51 (Fed. Cir.
2018)).
       Neonode counters in its Sur-reply that the "gliding ... away"
language in limitation le finds support in Figure 2 of the original disclosure
leading to the '879 patent, which depicts a gliding motion and not a flick.
PO Sur-reply 7-8 (citing Blue Calypso, LLCv. Groupon, Inc., 815 F.3d
1331, 1346 (Fed. Cir. 2016)). But in any event, Neonode argues that
construing terms to preserve validity is only "a last resort if the claim is 'still
ambiguous' after 'applying all the available tools of claim construction.'" Id.
at 7 (quoting Liebel-Flarsheim Co. v. Medrad, Inc., 358 F.3d 898, 911 (Fed.
Cir. 2004)). Neonode contends thatthis is not the case here, because "the
prosecution history clearly and unambiguously informs a [person of ordinary
skill in the art] that the claimed 'gliding ... away' is distinct from 'moving-
from-to. "' Id.
       Next, Google contends that on cross-examination, Dr. Rosenberg
could not delineate the boundary between a "flick" and a "glide," and
admitted that "both flick and glide gestures start at a touched location and

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move away from the touched location while continuing to touch the screen"
and "that the distinction is arbitrary." Pet. Reply 8, 9-10, 11 (citing
Ex. 1031, 27:15-29:6, 31:15-32:12, 34:24-35:17; Ex 1001, 2:61-67, 5:33-
35). Google also argues that "Neonode's citations to general-purpose
dictionaries [or development guides] are unavailing because they are either
after-arising or improperly contradict the intrinsic record, which describes
only 'movement' without regard to speed or distance." Id. at 10 (footnote
omitted) (citing Eon Corp. IP Holdings v. Silver Spring Networks, Inc., 815
F.3d 1314, 1320-21 (Fed. Cir. 20l6);Profectus Tech. LLCv. Huawei Techs.
Co., 823 F.3d 1375, 1380 (Fed. Cir. 2016); Seabed Geosolutions (US) Inc. v.
Magseis FF LLC, 8 F.4th 1285, 1287 (Fed. Cir. 2021)).
      Neon ode disagrees that Dr. Rosenberg admitted that the distinction
between "flick" and "glide" is arbitrary; according to Neonode, he merely
testified "that 'one number' would not suffice to distinguish between a 'flick'
and a 'glide' since it would depend on various factors such as screen size,
resolution of the screen, [and] whether a stylus or finger is used." PO Sur-
reply 3 (citing Ex 1031, 28: 16-29:6). Neonode contends that this does not
make the distinction arbitrary, and that Google has been able to distinguish
between "flick" and "swipe" gestures in its own documentation for the
Android operating system. Id. (citing PO Resp. 40-41 ).
      Neon ode also contends that Google's arguments in its Reply that
Robertson's "flick" falls within the scope of the recited "gliding ... away"
gesture are conclusory and untethered to any further testimony, including by
Dr. Wobbrock. PO Sur-reply 1-2. And according to Neonode, while Google
criticizes Neonode's dictionary definitions, Google provides none of its own.
Id. at 2. Neonode disagrees that its dictionary evidence is irrelevant because

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it is "after-arising," because Neon ode provides dictionary definitions from
the early 1990s as well as later definitions to show consistency overtime. Id.
(citing Exs. 2049, 2052, 2050, 2057). As to the Apple and Google
development guides, N eonode acknowledges that they are from after 2002,
the earliest priority date of the '879 patent, but contends that Google
"presents no evidence for the insinuation that these terms were used
differently in 2002." Id. at 3.
         Next, Google contends that ( 1) during prosecution, the applicant
"never distinguished 'gliding' from other gestures or movement generally,
and in fact equated other gestures with a glide," and "[t]he examiner also
continued to search 'flick as relevant after the amendment," Pet. Reply 8
(citing Ex. 1002, 381,482, 496-497, 585); and(2) "Neonode's citation
[during prosecution] to its after-arising N2 advertisement . . . is not relevant
because it was used to distinguish 'the representation of the function is not
relocated or duplicated during the gliding' limitation [Id], not between
'gliding' and another movement type," id. at 8-9 (citing Ex. 1002, 25 8, 611-
612 ).
         Neonode disagrees that the applicant never distinguished "gliding"
from other gestures, because that is what was happening when the applicant
amended the claims from the original language describing the gesture as
"moving" from one point to another. PO Sur-reply 4. Neonode also disagrees
that the applicant equated a "glide" with a distinct "drag" operation (or that
this is relevant to the distinction between "glide" and "flick"), because in the
cited passages of the prosecution history, the applicant was clearly
distinguishing between what it described as its "[ n Jovel touch-and-glide user
interface operation" and a "conventional ... drag-and-drop" operation in a

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prior art reference. Id. at 4-5 (quoting Ex. 1002, 297) (citing Ex. 1002, 496-
498). Neonode also contends thatthe applicant compared "gliding" to
"swiping," "rubbing," or "sliding," but never to a "flick" or a "drag." Id. at 5
(citing Ex. 1002, 273 ("I would like to discuss the touch-and-glide thumb
movement, variously referred to as 'swiping,' 'rubbing,' gliding' and
'sliding."'), 390 ("One such movement is a 'rubbing'/' swiping' /'touch-and-
glide' movement, whereby a finger touches a touch-sensitive screen at a
location where an icon for a function is displayed, and then rubs/swipes/
glides, along the touch screen away from the location without lifting the
finger.")).
       Neon ode also disagrees that the applicant referred the Examiner to the
N2 video to distinguish limitation Id rather than le. PO Sur-reply 5-6.
According to Neonode, "[t]he Applicant did not make any arguments
regarding 'duplication or relocation' of the representation of the function in
connection with the video demonstration, and this language was not added to
the claim until later." Id. at 6.
       Finally, Google contends that "Robertson discloses that the 'flick'
gesture starts by touching inside a button and moving away from the touched
location, as described in the '879 patent,'' and "does not place any boundary
on the speed or duration of its gestures." Pet. Reply 10-11 (citing Ex. 1003
,r,r105-110; Ex. 1005, 43 (teaching that Robertson's   system can recognize
gestures that extend outside an XButton)); see also id. at 11 (arguing that the
size of a gesture is irrelevant "because neither Robertson nor the '879 patent
is size-constrained").
       Having considered the arguments and evidence of record, we
determine that Petitioner has not met its burden to show that Robertson's

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"flick" gestures comprise "gliding along the touch sensitive area away from
the touched location" as recited in limitation 1c.
       Because Google has the burden of persuasion, Neonode has no
obligation to precisely define the term gliding ... away or explain how the
term differs from the term.flick in Robertson. See 37 C.F.R. § 42.104(b )(3)
(2020); 35 U. S.C. § 316( e). Nevertheless, we agree with Neonode that
during prosecution of the '879 patent, the applicant clearly intended the
claims as a whole, and particularly limitation 1c, to cover what is known
today as a "swipe" gesture, particularly but not exclusively as distinguished
from a prior-art drag-and-drop operation. See Ex. 1002, 201, 214-15, 25 8,
273,297, 317-18, 334,390, 496-97; Ex. 2020. In particular, it appears from
the record that when the Examiner was considering the submitted video of
Neonode's N2 phone, the main issue was how to capture the swiping
gestures shown in the video while distinguishing from drag-and-drop
operations known in the prior art. See Ex. 1002, 25 8. Thus, we agree with
Neon ode that a person of ordinary skill in the art would have interpreted the
phrase gliding . .. away to reflect a swiping gesture that is more specific
than merely an on-screen movement from one location to another.
       We disagree with Google that we should factor any potential lack of
written-description support into our interpretation of gliding . .. away. To
the extent there is any ambiguity in the term, 8 it does not rise to the level that



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 The evidence suggests that the distinction between a "flick" and a "glide"
may involve a number of considerations such as the size of the screen and
whether the pointing object is a finger or stylus. Ex. 1031, 27: 15-29:6. This
does not mean that a person of ordinary skill in the art, applying those
considerations, would have been unable to distinguish between a "flick" and
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"the term or terms chosen by the patentee so deprive the claim of clarity that
there is no means by which the scope of the claim may be ascertained from
the language used." Johnson Worldwide As socs., Inc. v. Zebco Corp., 175
F.3d 985, 990 (Fed. Cir. 1999); see also Liebel-Flarsheim, 358 F.3d at 911
("[U]nless the court concludes, after applying all the available tools of claim
construction, that the claim is still ambiguous, the axiom regarding the
construction to preserve the validity of the claim does not apply.").
      The next question is whether a person of ordinary skill in the art
would have understood Robertson's "flick" gesture to comprise "gliding ...
away" as we interpret that term. Robertson says very little about the "flick"
gestures themselves, other than using the word flick. See, e.g., Ex 1005, 39.
Robertson teaches that its gestures should be "easily differentiated," and in
addition to "flick" gestures, Robertson also teaches "drag and drop"
operations. Id. at 36 ("[Y]ou can drag a document icon and drop it into a
printer icon to print the document .... "). We credit Dr. Rosenberg's
testimony that, for the XButton system to immediately distinguish between
dragging and flicking, there must be some distinction between a "flick" and
a "drag," and that the most plausible difference is in terms of their speed,
distance, or both. See Ex. 2019 ,r90.
      Although Robertson discloses that its system is capable of recognizing
gestures that start on an XButton and extend outside it (see Ex 1005, 43),



a "glide" or that the distinction is arbitrary. Cf Braintree Labs., Inc. v. Novel
Labs., Inc., 749 F.3d 1349, 1360 (Fed. Cir. 2014) ("Descriptive words ...
are commonly used in patent claims, to 'avoid[] a strict numerical boundary
to the specified parameter."' (alteration in original) (quoting Pall Corp. v.
Micron Separations, Inc., 66 F.3d 1211, 1217 (Fed. Cir. 1995)))
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the only gesture for which Robertson specifically indicates this would be
necessary is a "circling gesture[] for grouping, moving, and copying
graphical objects" (id. at 39). Thus, we disagree with Google that
Robertson's teaching in this regard is relevant to what Robertson means by a
"flick" gesture.
       We also find persuasive Neonode's dictionary definitions, spanning
from 1993 to 2012, which consistently indicate that the wordjlickdescribes
a movement that is "light," "sharp" or "quick," and ') erky" or "sudden," as
opposed to definitions of "glide" referring to a movement that is "smooth,"
"continuous," and possibly "quiet" or "effortless." Exs. 2049, 2050, 2052,
2057. 9 And although the evidence postdates Robertson, we find relevant the
supporting evidence that modern Apple and Google developers maintain a
meaningful distinction between "flick" and "swipe" gestures. See Ex. 2022,
4; Ex. 2023, 6; Ex. 2025, 21; Ex. 2026, 5; Ex. 2029, 2;Ex. 2019ifif 80-81.
We further credit Dr. Rosenberg's opinion that in the relevant time frame, a
person of ordinary skill in the art would have interpreted a "flick" gesture as
one in which "the pen would touch the screen, but only moves on the screen
for a very short distance and is quickly lifted from the screen in a 'jerky'
motion." Ex. 2019   ,r,r85-86.




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  The earliest dictionary definitions (Ex 2052) are from 1993, which is
roughly contemporary with Robertson ( 1991), and are sufficiently close in
time to be relevant. Google does not present any evidence suggesting that
the meaning ofjlick had changed between 1991 and 1993. See PO Sur-reply
2.
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      Thus, we agree with N eonode that Google has not shown that
Robertson's "flick" gesture comprises "gliding ... away," and thus falls
within the scope of claim 1.
      Finally, we also agree with Neonode that Google has not established
that Robertson's "insert" (caret) gesture comprises "gliding ... away."
Although Robertson does not provide much information about this gesture,
we find Dr. Rosenberg's interpretation and annotated version of Figure 1
(Ex. 2019 ifif99-102) more credible than those of Dr. Wobbrock (Ex. 1003
,r108). We credit Dr. Rosenberg's   testimony that a person of ordinary skill
in the art would have understood the "insert" gesture to be similar to the way
a person would draw a caret to indicate an insertion within existing text. See
Ex. 2019   ,r99. Thus, we agree it would involve two brief, connected
movements with a sharp peak, neither of which would be a continuous
gliding or swiping motion. Id. ,r,r100-102.

              3.    Conclusion as to Claim 1

      For the above reasons, we determine that Google has not established
that Robertson teaches or suggests limitation 1c, either alone or in
combination with Maddalozzo. Thus, Google has not shown that claim 1 is
unpatentable under§ 103(a) as obvious over Robertson in view of
Maddalozzo.

              4.    DependentClaims2-7, 9, 12, 13, andl5-17

      As part of its first ground, Google argues that dependent claims 2-5,
13, and 15-17 are unpatentable under 35 U.S.C. § 103(a) as obvious over
Robertson in view ofMaddalozzo. Pet. 30-47. In its second ground, Google
challenges dependent claims 6- 7 and 9 as obvious over Robertson in view of

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Vayda. Pet. 47-61. In its third ground, Google challenges claim 12 as
obvious over Robertson in view of Bedford-Roberts. Pet. 61-64.
      These claims depend from claim 1, and Google's arguments regarding
those claims address the specific limitations added to claim 1 without
specifically revisiting the issues we discuss above as to limitation 1c. See
Pet. 30-64. Google does not further address the dependent claims in its
Reply. See Pet. Reply 23.
      Thus, the above considerations as to claim 1 are also applicable to the
challenged dependent claims, and we determine that Google has not shown,
by a preponderance of the evidence, that any of claims 2-7, 9, 12, 13, and
15-17 are unpatentable under§ 103(a) as obvious over the respective prior
art combinations.

      D.     GROUNDS BASED ONT ARPENNING

      In the fourth ground of the Petition, Google argues that claims 1, 4-6,
13, and 15-17 are unpatentable under 35 U. S.C. § 103(a) as obvious over
Tarpenning. Pet. 65-97. For this ground, we focus on Google's challenge to
sole independent claim 1 and particularly limitation le (Pet. 25-29), after
which we address the remaining claims and the remaining grounds.
      Considering the Graham factors, we determine for the reasons below
that Google has not shown, by a preponderance of the evidence, that claim 1
is unpatentableunder 35 U.S.C. § 103(a) as obvious over Tarpenning.

             1.     Overview ofTarpenning(Ex. 1009)

      Tarpenning describes a hand-held reader device that includes a touch-
sensitive display and graphical user interface, where the user accesses
various software-implemented features associated with the display and
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management of the content. Ex 1009, code ( 57). A perspective view of the
hand-held reader device is shown in Figure 2, which we reproduce below.




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Figure 2, above, illustrates a hand-held computing device adapted to be used
as a portable reading device allowing a user to read literary titles and other
types of content via a touch sensitive display 34. Ex. 1009, 3:42-48. The
housing 33 has an increased width and depth and a rounded configuration
along its base to form an extended gripping area 50 for holding the device.
Id. at 4:10-13.
      As illustrated in Figure 2, the portion of the touch screen 74 that
extends beyond the perimeter 76Aofthe LCD display 76 has four fixed
icons displayed thereon to form four respective function keys: an orientation


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key 80, a user-definable "hotkey" 82, a book menu key 85, and a library
menu key 86. Ex. 1009, 6:9-14. The hand-held computing device includes a
user interface feature which allow a user to designate a hotkey function, as
shown in Figures 6 and 7, which we reproduce below.




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Figures 6 and 7, above, illustrate an example of a hotkey assignment feature
of a hand-held computing device's user interface. Ex. 1009, 3:3-4, 7:39-42.
With reference to Figure 6, a user initially brings up a menu or sub-menu
that contains the target hotkey function. Id. at 7:42-44. The menu or sub-
menu item that is currently defined as the hotkey function is denoted as such
by a hotkey icon 90. Id. at 7:30-32. In this example, the hotkey icon 90
appears next to the "Goto Bookmarks" item of the book menu. Id. at 7:32-
34.

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       As depicted in Figure 7, the user then touches the hotkey 82 with the
stylus 92 (or the user's finger), drags the stylus to the target item, and then
removes the stylus from the touch screen 74. Ex. 1009, 7:44-4 8. During the
dragging process, the hotkey icon 90 is displayed next to the menu item (if
any)that is currently touched. Id. at7:49-51. In Figure 7, the hotkey icon 90
is displayed next to the "Highlight" item since the stylus 92 is currently over
that item. Id. at 7:51-53.

               2.    Limitation 1c

       Limitation 1c recites, in part, "wherein the function is activated by a
multi-step operation."Ex. 1001, 6:52-53. Because we find that Google has
not shown that Tarpenningteaches this aspect of limitation le, we need only
address that part of limitation 1c in our decision.
       Google contends that a user may activate Tarpenning' s book menu
key 84 or library menu key 86 using a touch gesture. Pet. 76-77 (citing
Ex. 1009, 6:9-14, 6:41-43, Figs. 2, 6; Ex. 1003 ifif214-220). Google also
argues that Tarpenning separately discloses a "multi-step touch-then-glide
gesture operation to active hotkey 82' s 'assignment' function," in which,
according to Google, the user "[ i] touches the hotkey 82 with the stylus 92
(or the user's finger), ' and then [ii] 'drags [glides] the stylus to the target
item. "'Pet. 7 8 (alterations in original) (quoting Ex. 1009, 7 :44-4 8) (citing
Ex. 1009, 6:35-40, Fig. 7; Ex. 1003 ,r216). According to Google, "[t]he
assignment is completed when the user lifts the stylus at the desired
operation to be assigned." Pet. 78-79 (citing Ex. 1009, 7:44-48, Fig. 7; Ex.
1003if 216).
       Google contends that a person of ordinary skill in the art "would have
found it obvious to replace Tarpenning' s touch operation to activate the
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menu display functions of book menu key 84 and library menu 86 with the
disclosed multi-step touch-then-glide activation gesture." Pet. 80 (citing
Ex. 1003 ,r217). This is because, according to Google, a person of ordinary
skill in the art would have wanted "to prevent accidental activation of the
menu functions resulting from accidentally touching the icon" and to more
accurately open sub-menus without lifting the stylus or the finger off the
screen. Id. at 82 (citing Ex 1003 ,r,r
                                     219-221; Ex 1017, 10:14-16). Google
contends that the ordinarily skilled artisan would have expected success
because Tarpenning' s mobile handheld computer already uses both touch
and touch-then-glide operations to activate key functions and those
operations were well known. Id. at 83-84.
      In its Response, Neonode argues that Tarpenning's hotkey-assignment
operation on hotkey 82 does not actually activate any function as recited in
limitation le. PO Resp. 67. As Dr. Rosenberg puts it, "this assignment
procedure does not 'activate' anything-it merely assigns the desired
function to hotkey 82, which is then activated by the user by pressing the
key, not by 'gliding ... away."' Ex. 2019 ,r139 (alteration in original).
According to Dr. Rosenberg, "Tarpenning never refers to its drag-and-drop
operation as 'activating' anything, but as, for example, 'defining a function'
for the hotkey." Id. ( citing Ex 1009, 7:39-41, 8:1-3).
      Google counters that the hotkey-assignment gesture "activates the
assignment function (the system starts determining whether a new function
has been assigned) because of the touch-then-glide gesture." Pet. Reply 19-
20 (citing Ex. 1031, 45 :24-4 7:4 (Dr. Rosenberg stating on cross-
examination that the word function in claim 1 is broader than simply
bringing up a user interface associated with an icon)). In other words, as

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Google's counsel explained in oral argument, when the user touches hotkey
82 and begins moving the pointing device toward a potential function, the
function "determining whether a new function has been assigned" has
already been activated, and continues until the user lifts up from the device.
See Tr. 37:17-39:16.
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        We find Google's argument unpersuasive.        Tarpenning's assignment
operation for hotkey 82 is in the nature of a drag-and-drop operation, where
the user drags the pen from hotkey 82 to the intended menu item to which
hotkey 82 will be assigned. But Google identifies the "function [to be]
activated"-not    as the actual assignment of hotkey 82 to the menu item
when the user lifts from the intended menu item-but       as the underlying
software process that looks to see whether the user has lifted yet from the
selected menu item. See Pet. Reply 19-20; Tr. 37:17-39:16. Essentially,
Google asserts that the recited function is part of processing the gesture
itself, which we do not find persuasive. As counsel for Neonode argued at
the hearing, unless the user lifts off from a menu item, no assignment to
hotkey 82 has been made and nothing has actually been done. See Tr. 80:4-
13.




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   We also consider this argument untimely, as it appears to contradict
Google's original theory of obviousness in the Petition, which states that the
"'assignment' function" is "completed when the user reaches the target item
to be assigned." Pet. 79; see also Tr. 80:2-3 (counsel for Neonode arguing,
"I submit that's not only a new point they' re making, it's unsupported and
... incorrect."); 37 CFR § 42.23(b) ("A reply may only respond to
arguments raised in the corresponding ... patent owner response[] or
decision on institution.").
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      We also find unpersuasive Google's original argument in the Petition
that the recited "function" is activated when the user reaches the target menu
item being assigned to hotkey 82. See Pet. 79. This is essentially a traditional
drag-and-drop operation. But we credit Dr. Rosenberg's testimony that when
the user lifts from the intended menu item, no function has actually been
activated. See Ex. 2019 ,r139. Rather, at this point a function has merely
been assigned to the hotkey for future activation by touching the hotkey. See
id.
      Thus, we determine that Google has not identified any disclosure in
Tarpenning in which any "function is activated by a multi-step operation" as
recited in limitation le. Absent that teaching or suggestion, Google's
argument (Pet. 80-82) does not adequately articulate why a person of
ordinary skill in the art would have modified Tarpenning' s book menu key
84 or library menu key 86 to achieve limitation le, and we find Google's
obviousness argument unpersuasive as to claim 1.

             3.    DependentClaims2-7, 9, 12, 13, andl5-17

      As part of its fourth ground, Google argues that dependent claims 4-6,
13, and 15-17 are unpatentable under 35 U. S.C. § 103(a) as obvious over
Tarpenning. Pet. 84-97. In its fifth ground, Google challenges dependent
claims 2-3, 7, and 9 as obvious over Tarpenningin view of Vayda. Pet. 98-
102. In its sixth ground, Google challenges claim 12 as obvious over
Tarpenningin view of Bedford-Roberts. Pet. 102-103.
      These claims depend from claim 1, and Google's arguments regarding
those claims address the specific limitations added to claim 1 without
specifically revisiting the issues we discuss above as to limitation 1c. See


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Pet. 84-103. Google does not further address the dependent claims in its
Reply. See Pet. Reply 23.
      Thus, the above considerations as to claim 1 are also applicable to the
challenged dependent claims, and we determine that Google has not shown,
by a preponderance of the evidence, that any of claims 2-7, 9, 12, 13, and
15-17 are unpatentable under§ 103(a) as obvious over the respective prior
art combinations.


                             IV. CONCLUSION

      For the reasons above, Google has not shown by a preponderance of
the evidence that any challenged claim of the '879 patent is unpatentable
under any ground of the Petition.


                                 V.ORDER

      In consideration of the foregoing, it is
      ORDERED that claims 1-7, 9, 12, 13, and 15-17 of the '879 patent
have not been shown to be unpatentable; and
      FURTHER ORDERED that parties to this proceeding seeking judicial
review of our decision must comply with the notice and service requirements
of 37 C.F.R. § 90.2.




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      In summary:
                                                           Claims
                                                         NOtShOwn
                                                        l11pttfi11Ja,llli
 1-5, 13,             Robertson,                         1-5 , 13' 15-
            103(a)
  15-17               Maddalozzo                               17
                      Robertson,
  6, 7,9    103(a)                                          6, 7,9
                      Maddalozzo, Va da
                      Robertson,
    12      103(a)    Maddalozzo,                             12
                      Bedford-Roberts
 1, 4-6,                                                  1, 4-6, 13,
            103(a)    Tarpenning
13, 15-17                                                    15-17
2,3, 7,9    103 a     Tar            da                    2,3,7,9
                      Tarpenning, Bedford-
    12      103(a)                                            12
                      Roberts
Overall                                                 1-7, 9, 12, 13,
Outcome                                                     15-17




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Trials@uspto.gov                                                Paper26
571-272-7822                                    Entered: December 3, 2021


      UNITED ST ATES PATENT AND TRADEMARK OFFICE


        BEFORE THE PATENT TRIAL AND APPEAL BOARD



  SAMSUNG ELECTRONICS CO.LTD, SAMSUNG ELECTRONICS
             AMERICA, INC., and APPLE INC.,
                       Petitioner,

                                   V.


                   NEON ODE SMARTPHONE LLC,
                          Patent Owner.



                            IPR2021-00144
                          Patent 8,095,879 B2



Before MICHELLE N. ANKENBRAND, KARAL. SZPONDOWSKI, and
CHRISTOPHERL. OGDEN, Administrative Patent Judges.

ANKENBRAND, Administrative Patent Judge.


                               DECISION
               Granting Petitioner's Request on Rehearing
                          37 C.F.R. § 42. 71(d)
               Granting Institution of Inter Partes Review
                             37 C.F.R. § 314
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                            I.   INTRODUCTION

        On November 6, 2020, Samsung Electronics Co. Ltd., Samsung
Electronics America, Inc. and Apple Inc. (collectively, "Petitioner") filed a
petition requesting an inter partes review ("Petition") of claims 1-6 and
12-17 ("challenged claims") ofU.S. Patent No. 8,095,879 B2 ("the '879
patent," Ex. 1001).
        We issued a Decision Denying Institution of Inter Partes Review on
June 15, 2021 (Paper 24, "Decision" or "DI"). Specifically, we determined
that Petitioner failed to establish a reasonable likelihood of prevailing with
respect to at least one of the challenged claims under the following asserted
grounds:
      Claim(s) Challenged        35 u.s.c.§          Reference( s)/Basis
            1, 14-17                103(a)       Ren, 1 Tanaka 2
               2-5                  103(a)       Ren, Tanaka, Hirayama307 3
                                                 Ren, Tanaka, Hirayama307,
               3                    103(a)
                                                 Hirayama878 4
              6, 13                 103(a)       Ren, Tanaka, Allard5
                12                  103(a)       Ren, Tanaka, Henckel 6
        1,2,4,5, 14-17              103(a)       Hirayama307, Ren
                                                 Hirayama307, Ren,
               3                    103(a)
                                                 Hirayama878
             6, 13                  103(a)       Hirayama307, Ren, Allard
              12                    103(a)       Hirayama307, Henckel


1
  Xiangshi Ren & Shinji Moriya, Improving SelectionPerformance on Pen-
Based Systems: A Study of Pen-Based Interaction for Selection Tasks,
7 ACM Transactions on Computer-Human Interaction 384-416 (2000)
(Ex. 1004).
2 U.S. Patent No. 5,249,296, issued Sept. 28, 1993 (Ex. 1005).
3 U.S. Patent No. 5,406,307, issued Apr. 11, 1995 (Ex. 1006).
4 U.S. Patent No. 6,100,878, issued Aug. 8, 2000 (Ex. 1009).
5 U.S. Patent No. 5,615,384, issued Mar. 25, 1997 (Ex. 1010).
6 U.S. Patent No. 5,463,725, issued Oct. 31, 1995 (Ex. 1013).



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      Claim(s) Challenged       . 35 u.s.c.§         Reference( s)/Basis
            1, 14, 15                103(a)      Jermvn 7
DI 2, 7, 27.
     On July 15, 2021, Petitioner filed a Request for Rehearing (Paper 25,
                                                                          '
"Rehearing Request" or "Reh' gReq. ") of our Decision regarding the
grounds relying on Hirayama307 as the primary reference. Reh'gReq. 1 &
n. l. Petitioner contends that we misapprehended Hirayama307' s teachings
with respect to claim 1's limitation "wherein the representation of the
function is not relocated or duplicated during the gliding." See generally id.;
Ex. 1001, 6:57-59; see also DI 6 (reproducing claim 1).
        Specifically, Petitioner contends that we misapprehended the claim
language by ( 1) equating Hirayama3 07' s icon 41 with window 4 3, Reh' g
Req. 1, and (2) relying on portions ofHirayama307 that illustrate actions
that occur after and not "during the gliding," as recited in claim 1. 8 Id.
        We have considered Petitioner's arguments and conclude that we
misapprehended the teachings ofHirayama307 and that the Petition sets
forth sufficient arguments and evidence to establish a reasonable likelihood
that Petitioner will prevail on its Hirayama3 07 related grounds. We,
therefore, grant Petitioner's Rehearing Request and institute an inter part es
review of claims 1-6 and 12-17 of the '879 patent.




7 Ian Jermyn et al., The Design & Analysis of Graphical Passwords, in
Proceedings of the 8th USENIX Security Symposium (1999) (Ex. 1014 ).
8 Petitioner does not present arguments relating to either the grounds relying

primarily on Ren or the ground relying on Jermyn. Thus, this decision does
not address those grounds.

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                               II.      ANALYSIS
                          A.         Standard of Review
      A request for rehearing must identify specifically all matters the party
believes the Board misapprehended or overlooked, and the place where each
matter was previously addressed in a motion, an opposition, or a reply.
37 C.F.R. § 42. 7l(d). Petitioner, as the party challenging the Decision, has
the burden of showing that we should modify the Decision. Id. When
rehearing a decision on a petition, we review the decision for an abuse of
discretion. Id. § 4 2. 71 (c). "An abuse of discretion occurs if the decision
(1) is clearly unreasonable, arbitrary, or fanciful; (2) is based on an
erroneous conclusion of law; (3) rests on clearly erroneous fact findings; or
(4) involves a record that contains no evidence on which the Board could
rationally base its decision." Redline Detection, LLC v. Star Envirotech,
Inc., 811 F.3d435, 442 (Fed. Cir. 2015).
                    B.     Obviousness over Hirayama307
      In the Decision, we determined that Petitioner failed to show
sufficiently that Hirayama3 07 discloses claim 1's limitation "wherein the
representation of the function is not relocated or duplicated during the
gliding." DI 18-19. We further determined that Petitioner failed to show a
reasonable likelihood of prevailing in its assertions as to claims 2-6 and
12-17 based on our determination as to claim 1. Id. at 20-21 (finding that
Petitioner failed to meet its burden as to claims 2, 4, and 14-17 because
these claims ultimately depend from claim 1, and that Petitioner's additional
asserted art for its challenges to claims 3, 6, 12, and 13 does not remedy the
deficiencies with respect to claim 1). Below, we first address claim 1 and
then turn to claims 2-6 and 12-1 7.



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                                            1.        Claim 1
        Petitioner's arguments on rehearing are solely directed to our analysis
of the limitation "wherein the representation of the function is not relocated
or duplicated during the gliding" (the "limitation at issue") as it relates to
Hirayama307.    9   In the Decision, we found that Petitioner failed to make a
sufficient showing that Hirayama307 discloses the limitation at issue
"because Hirayama307 appears to disclose either relocating or duplicating
the icon on the screen's display." DI 18. In reaching our determination, we
primarily relied uponHirayama307's Figures 3B, 4A, and4B, as well as
Hirayama307's disclosure regarding icon 41 and large icon or window 43.
Id. at 18-19 (citing Ex. 1006, 5:3-12, 6:22-31). We reproduce Figure 3B
below, as it is relevant to our discussion of Petitioner's arguments on
rehearing.
                                                                      FIG. 3B
                            44




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                         43                                          1(2)




9Although Petitioner argued in the Petition that the limitation at issue was
alternatively obvious over the combination of Hirayama307 and Ren,
Petitioner does not challenge our fmdings regarding that combination in the
Rehearing Request, and we do not address that alternative argument in this
decision.

                                                      5
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Figure 3B illustrates a display screen of Hiryama307' s device. Ex. 1006,
2 :48-51. Hirayama307 explains that, after the user moves the pen point
from icon 41 to display portion 3, "an icon (hereinafter ... referred to as a
window) enlarged in the form of the processing display mode of the desired
icon 41 is automatically displayed on the display portion 1 as shown in FIG.
3B." Id. at 5:3-12.
      Petitioner argues on rehearing that icon 41 corresponds to the
"representation of a function." Reh' g Req. 4 (citing Pet. 59). This icon,
Petitioner argues, is not the same as window 43. Id. at 8-9. Thus, Petitioner
contends that we "misapprehended Hirayama307' s teachings by ... equating
icon 41 with 'enlarged icon' or 'large icon' (as depicted in FIG. 3B), which
Hirayama through the specification refers to as window 43." Id. at 7-8.
Petitioner continues "that the 'representation of thefunction '-i.e., the
icon 41 'is not relocated or duplicated during the gliding"' as the limitation
at issue requires. Id. at 9. Petitioner further submits that even if we believe
that certain aspects ofHirayama307's disclosure suggest duplicating icon 41
in the form of window 43, such teaching is not explicit and constitutes a fact
issue that should be resolved during trial. Id. at 10.
      In response to Petitioner's argument that Hirayama307 discloses the
limitation at issue, Patent Owner argues that a person of ordinary skill in the
art would have understood that icon 41 was "dragged and dropped," as was
"typical in computer user interfaces as of 2002." Paper 23 at 37 (citing
Ex. 2001,r100).   Patent Owner further argues that an ordinarily skilled
artisan would have understood that icon 41 was relocated or duplicated
because Hirayama3 07' s system "Enlarge( s) [the] icon as a window." Id. at
39--40 (citing Ex. 2001   if103).


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       Having reconsidered the parties' arguments, we agree with Petitioner
that we misapprehended Hirayama3 07' s distinction between icon 41 and
window 43 and, as a result, misapprehended the Petition's arguments related
to icon 41. Specifically, Hirayama307 discloses that window 43 appears
"after having touched the desired icon 41 with the point of the pen 3," and
that window 43 is "the processing display form" of icon 41. Ex. 1006,
5 :64-66. Thus, contrary to our determination in the Decision that
"Hirayama307 appears to duplicate or relocate the representation of the
function, i.e., icon, during gliding,'' a closer reading ofHirayama307
indicates that icon 41 and window 43 are different, though Hirayama307 at
times uses the term "large icon" or "enlarged icon" to describe window 43.
See, e.g., Ex. 1006, 6:7-14, 6:22-23, 6:30. We acknowledge that Patent
Owner disagrees with Petitioner, but we find that the parties' disagreement
raises an issue of fact that is best resolved on a full trial record.
Accordingly, we determine that Petitioner shows sufficiently at this stage of
the proceeding thatHirayama307 discloses the limitation "wherein the
representation of the function is not relocated or duplicated during the
gliding." In light of this determination, we need not address Petitioner's
additional arguments related to whether Hirayama307 discloses the
limitation at issue. 10
       We further determine on the record before us that Petitioner sets forth
sufficient arguments and evidence that Hirayama307 discloses the remaining

10Patent Owner's remaining arguments in the Preliminary Response
regarding the Hirayama307 grounds relate to Petitioner's alternative
contention that Hirayama307 and Ren disclose the limitation at issue. We
need not address those arguments because we find that Petitioner shows
sufficiently at this stage of the proceeding that Hirayama307 alone discloses
the 1imita.t.ionat issue.

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limitations of claim 1. See Pet. 49-60. At this stage of the proceeding,
Patent Owner's arguments regarding claim 1 are confined to the limitation at
issue, and so Patent Owner does not specifically challenge Hirayama307's
disclosure as it relates to the remaining limitations of claim 1. Paper 23 at
36--49.
                        2.     Claims2-6and12-17
      Petitioner challenges claims 2-6 and 12-1 7 by adding the teachings of
Ren, Hirayama878, Allard, or Henckel to the teachings ofHirayama307.
Pet. 1-2, 49-74. Patent Owner does not separately address the dependent
claims in its Preliminary Response. Paper23 at 50. We have reviewed
Petitioner's evidence, including the relevant portions of Dr. Bederson's
testimony and Petitioner's arguments that a person of ordinary skill in the art
would have had reason to combine the prior art disclosures. See Pet. 49-74
(and evidence cited therein). Based on the current record, we find that
Petitioner also demonstrates a reasonable likelihood of prevailing in its
obviousness challenge with respect to claims 2-6 and 12-1 7.
                 C.     Considerations under Secti on 314(a)
      We have discretion to deny a petition for inter partes review under
§ 314( a). See 3 5 U.S. C. § 314( a) ("The Director may not authorize an inter
partes review to be instituted unless .... "); Cuozzo Speed Techs., LLC v.
Lee, 136 S. Ct. 2131, 2140 (2016) ("[T]he agency's decision to deny a
petition is a matter committed to the Pa tent Office's discretion."); Harmonic
Inc. v. Avid Tech., Inc., 815 F.3d 1356, 1367 (Fed. Cir. 2016) ("First of all,
the PTO is permitted, but never compelled, to institute an IPR proceeding."
(citing 35 U.S.C. § 314(a))). When deciding whether to exercise our
discretion, we may consider the number of claims and grounds that meet the
reasonable likelihood standard and whether, in the interests of efficient

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administration of the Office and integrity of the patent system, the entire
petition should be denied. Deeper, UABv. Vexilar, Jnc.,IPR2018-01310,
Paper7 at 42 (PT AB Jan. 24, 2019)(informative); SAS Q&A's, PartD,
Effect of SAS on Future Challenges that Could Be Denied for Statutory
Reasons, D2 (June 5, 2018), available at https://www.uspto.gov/sites/
default/files/documents/sas_qas 20180605.pdf.
         Here, Petitioner demonstrates a reasonable likelihood of prevailing on
its challenges involving Hirayama307, which address all challenged claims.
On this record, and based on the particular facts of this proceeding, we find
that instituting a trial is an efficient use of the Board's time and resources.
                                D.      Conclusion
         For the foregoing reasons, we grant Petitioner's Rehearing Request
and determine that Petitioner demonstrates a reasonable likelihood that at
least one challenged claim of the '879 patent is unpatentable over the prior
art of record. Accordingly, we institute an inter partes review of all claims
on all grounds asserted in the Petition. 11
                                 III.    ORDER
         It is:
         ORDERED that Petitioner's Request for Rehearing is granted;
         FURTHER ORDERED that, pursuantto 35 U.S.C. § 314(a), an inter
part es review of claims 1-6 and 12-17 of the '879 patent is instituted with




11 In the Rehearing Request, Petitioner "withdraws Grounds 1A-1 E and 3
[i.e., the grounds relying primarily on Ren or Jermyn] and stipulate[s] not to
pursue these grounds in any proceeding that is instituted from this rehearing
request. In this regard, Petitioner[] promote[s] narrowed focus on the merits
of Ground 2 [the Hirayama3 07 grounds] only." Reh' g Req. 1 n. 1.

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respect to all grounds ofunpatentability asserted in the Petition commencing
on the entry date of this decision; and
      FURTHER ORDERED that, pursuant to 3 5 U.S. C. § 314( c) and
37 C.F.R. § 42.4, notice is hereby given of the institution of a trial.




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Trials@uspto.gov                                                 Paper 24
571-272-7822                                          Date: June 15, 2021


       UNITED STATES PATENT AND TRADEMARK OFFICE


        BEFORE THE PATENT TRIAL AND APPEAL BOARD


  SAMSUNG ELECTRONICS CO. LTD, SAMSUNG ELECTRONICS
             AMERICA, INC., and APPLE INC.,
                       Petitioner,

                                   v.
                   NEONODE SMARTPHONE LLC,
                         Patent Owner.


                            IPR2021-00144
                          Patent 8,095,879 B2


Before MICHELLE N. ANKENBRAND, KARA L. SZPONDOWSKI, and
CHRISTOPHER L. OGDEN, Administrative Patent Judges.

ANKENBRAND, Administrative Patent Judge.


                              DECISION
               Denying Institution of Inter Partes Review
                            35 USC.§ 314
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IPR202 l-OO144
Patent 8,095,879 B2

                            I. INTRODUCTION
       Samsung Electronics Co. Ltd., Samsung Electronics America, Inc.,
and Apple Inc. (collectively, "Petitioner") filed a Petition requesting an inter
partes review of claims 1-6 and 12-17 of U.S. Patent No. 8,095,879 B2
(Ex. 1001, "the '879 patent"). Paper 6 ("Pet."). Neonode Smartphone LLC
("Patent Owner") filed a Preliminary Response. Paper 23 ("Prelim. Resp.").
       We have authority to determine whether to institute an inter partes
review. 35 U.S.C. § 314 (2018); 37 C.F.R. § 42.4(a) (2020). The standard
for instituting an inter partes review is set forth in 35 U.S.C. § 314(a), which
provides that an inter partes review may not be instituted "unless the
Director determines ... there is a reasonable likelihood that the petitioner
would prevail with respect to at least [one] of the claims challenged in the
petition."
       For the reasons set forth below, upon considering the Petition,
Preliminary Response, and evidence of record, we determine the information
presented in the Petition does not establish a reasonable likelihood that
Petitioner would prevail with respect to at least one of the challenged claims.
Accordingly, we deny the Petition, and do not institute an inter partes
review.

                            II. BACKGROUND
                             A. Related Matters
      The parties identify the following district court proceedings related to
the '879 patent: Neonode Smartphone LLC v. Apple Inc., Case No. 6:20-cv-
00505 (W.D. Tex.) and Neonode Smartphone LLC v. Samsung Electronics
Co. Ltd., Case No. 6:20-cv-00507 (W.D. Tex.). Pet. 92-93; Paper 7, 2.



                                       2
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         Patent Owner also identifies as related IPR2021-00145 (challenging
U.S. Patent No. 8,812,993 B2). Paper 7, 2.
                         B. Overview of the '879 Patent
         The '879 patent, titled "User Interface for Mobile Handheld Computer
Unit," issued on January 10, 2012. Ex. 1001 at [45], [54]. The '879 patent
describes a user interface for a mobile handheld computer that has a touch
sensitive area divided into a menu area and a display area. Id. at 1:6-9. The
menu area shows a representation of a first, a second, and a third predefined
function that "can be activated when the touch sensitive area detects a
movement of an object with its starting point within the representation of the
function on the menu area and with a direction from the menu area to the
display area." Id. at 1:65-2:5, 2: 11-14. "The first function is a general
application dependent function, the second function is a keyboard function,
and the third function is a task and file manager." Id. at 2:7-10.
         The user interface is "specifically adapted to be used with a small
computer unit" having a touch sensitive area that is approximately 2-3
inches and also is adapted so that a user can operated it with one hand. Id. at
3:1-6.
         We reproduce Figure 1 of the '879 patent below.




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                          21
                                Fig. 1.
Figure 1 is a schematic view of touch sensitive area 1 on a mobile handheld
computer unit, depicting menu area 2 adapted to present a representation of
first 21, second, 22, and third 23 predefined functions. Id. at 3 :21-22, 4: 1-3.
We reproduce Figure 2 of the '879 patent below.




                                    1
                                Fig. 2.
Figure 2 is a schematic side view illustrating how a user activates a function.
Id. at 3:24-25. A user can activate any one of functions 21, 22, or 23 when

                                        4
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touch sensitive area 1 detects a movement of object 4 with its starting point
A within the representation of a function on menu area 2 and with direction
B from menu area 2 to display area 3. Id. at 4:7-11. Object 4 can be a
finger, a pen, or another pointing device. Id. at 6: 11-15.
      The '879 patent explains that when a user activates, for example, the
first function, the display area is adapted to display icons representing
services or settings, depending on the current active application. Id. at 2: 18-
20. Figure 3, which we reproduce below, illustrates first function 21
activated.
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Figure 3 is a schematic illustration of the first function. Id. at 3 :26. Figure 3
shows that after a user activates first function 21 with the movement
depicted in Figure 2, display area 3 displays icons 211-216, each
representing services or functions depending on the current active
application. Id. at 4:12-15. If, for example, the active application handles a
picture, then the icons showing on display area 3 after a user activates the
first function "can be services such as 'save to disk', 'send as SMS', or
'delete', and they can be setting such as 'resolution', 'colour', or
'brightness'." Id. at 4:24-28. If no application is active on the computer,


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then icons 211-216 represent services or settings of the operating system,
such as background picture clock, alarm 215, users 213, and help 211. Id. at
3:29-32.
      The '879 patent describes, in similar fashion, how a user activates the
second keyboard function and the third task and file manager function. See
id. at 4:34-5:63.
                             C. Illustrative Claim
      Petitioner challenges claims 1-6 and 12-17 of the '879 patent
(collectively, "the challenged claims"). Claim 1, the only independent
claim, is illustrative of the claimed subject matter, and recites:
       1. A non-transitory computer readable medium storing a
      computer program with computer program code, which, when
      read by a mobile handheld computer unit, allows the computer to
      present a user interface for the mobile handheld computer unit,
      the user interface comprising:
      a touch sensitive area in which a representation of a function is
        provided, wherein the representation consists of only one
        option for activating the function and wherein the function is
        activated by a multi-step operation comprising (i) an object
        touching the touch sensitive area at a location where the
        representation is provided and then (ii) the object gliding along
        the touch sensitive area away from the touched location,
        wherein the representation of the function is not relocated or
        duplicated during the gliding.
Ex. 1001, 6:45-59.




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                    D. Asserted Grounds of Unpatentability
        Petitioner asserts that the challenged claims are unpatentable based on
the following grounds:
      Claim(s) Challenged        35   u.s.c.§       Reference( s)/Basis
                                            1
            1, 14-17                  103(a)    Ren, 2 Tanaka 3
               2-5                    103(a)    Ren, Tanaka, Hirayama307 4
                                                Ren, Tanaka, Hirayama307
                3                     103(a)
                                                Hirayama87 85
                6, 13                 103(a)    Ren, Tanaka, Allard 6
                 12                   103(a)    Ren, Tanaka, Henckel 7
         1, 2, 4, 5, 14-17            103(a)    Hirayama307, Ren
                                                Hirayama307, Ren,
                3                     103(a)
                                                Hirayama 878
               6, 13                  103(a)    Hirayama3 07, Ren, Allard
                         ..
                 12                   103ia)    Hirayama307, Henckel
             1, 14, 15                103(a)    Jermyn 8
Pet. 1-2. Petitioner relies on the Declaration of Dr. Benjamin B. Bederson
(Ex. 1002) to support its asserted grounds of unpatentability. Patent Owner


1
  The Leahy-Smith America Invents Act, Pub. L. No. 112-29, 125 Stat. 284
(2011) ("AIA"), amended 35 U.S.C. § 103. Because the '879 patent has an
effective filing date before the effective date of the applicable AIA
amendments, we refer to the pre-AIA version of 35 U.S.C. § 103.
2 Xiangshi Ren & Shinji Moriya, Improving Selection Performance on Pen-

Based Systems: A Study of Pen-Based Interaction for Selection Tasks,
7 ACM Transactions on Computer-Human Interaction 384-416 (2000)
(Ex. 1004).
3
  U.S. Patent No. 5,249,296, issued Sept. 28, 1993 (Ex. 1005).
4
  U.S. Patent No. 5,406,307, issued Apr. 11, 2014 (Ex. 1006).
5
  U.S. Patent No. 6,100,878, issued Aug. 8, 2000 (Ex. 1009).
6
  U.S. Patent No. 5,615,384, issued Mar. 25, 1997 (Ex. 1010).
7
  U.S. Patent No. 5,463,725, issued Oct. 31, 1995 (Ex. 1013).
8
  Ian Jermyn et al., The Design & Analysis of Graphical Passwords, in
Proceedings of the 8th USENIX Security Symposium (1999) (Ex. 1014).
                                        7
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disputes that Petitioner's asserted grounds render any of the challenged
claims unpatentable. See generally Prelim. Resp. Patent Owner relies on
the Declaration of Dr. Craig Rosenberg (Ex. 2001).

                             III. DISCUSSION
                    A. Level of Ordinary Skill in the Art
      For Petitioner, Dr. Bederson testifies that a person of ordinary skill in
the art at the time of the invention, "would have had at least a bachelor's
degree in computer science, computer engineering, or the equivalent
education and at least two years of experience in user-interface design and
development," but "[a]dditional years of experience could substitute for
formal education, and vice versa." Ex. 1002 ~ 49. Patent Owner's expert,
Dr. Rosenberg, applies Dr. Bederson's description of the ordinarily skilled
artisan. Ex. 2001 ~ 33. We adopt Dr. Bederson's description of the level of
ordinary skill in the art because it is consistent with the problems and
solutions the '879 patent identifies and with the prior art.
                           B. Claim Construction
      Neither party contends that there are claim terms in dispute, or that we
need to construe any terms for purposes of this decision. See Pet. 5-6; see
generally Prelim. Resp. After reviewing the parties' arguments and
evidence, we determine that we do not need to expressly construe any claim
terms for purposes of this Decision. See Nidec Motor Corp. v. Zhongshan
Broad Ocean Motor Co., 868 F.3d 1013, 1017 (Fed. Cir. 2017).
            C. Asserted Obviousness Based on Ren and Tanaka
      Petitioner asserts five obviousness challenges based on the
combination of Ren and Tanaka. See Pet. 1 (summary of grounds IA-IE).
Specifically, Petitioner contends that the subject matter of the challenged

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claims of the '879 patent would have been obvious over: (1) Ren and
Tanaka (claims 1 and 14-17); (2) Ren, Tanaka, and Hirayama307 (claims 2-
5); (3) Ren, Tanaka, Hirayama307, and Hirayama878 (claim 3); (4) Ren,
Tanaka, and Allard (claims 6 and 13); and (5) Ren, Tanaka, and Henckel
(claim 12). See, e.g., id.
      Before turning to Petitioner's arguments, we provide a brief summary
of Ren and Tanaka, as they form the basis of our analysis.
                              1. Ren (Ex. 1004)
      Ren describes pen-based selection strategies for use on small, touch-
sensitive screens. Ex. 1004, 384-385. In small pen-based systems, users
access information by selecting a target more often than by inputting
handwritten data. Id. "Common targets are menus, data ... ranges etc., and
the selection of keys on a software keyboard displayed on a screen." Id.
Users have to select smaller targets as the amount of information displayed
on a screen increases. Id. Thus, Ren recognizes the "trade-off between the
size and accessibility of targets and the amount of information presented on
the screen" as "a fundamental problem in human-computer design" that "is
especially obvious in mobile products, such as ... PDAs." Id.
      Ren specifically studies six selection strategies depicted in its Figure
3: Direct On, Slide Touch, Direct Off, Slide Off, Space On, and Space
Touch. We reproduce Figure 3 below, with a red rectangle we have added
around the a ~ c ~ b ~ a route of the Slide Off strategy on which
Petitioner focuses its unpatentability arguments.




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Figure 3 shows the six strategies for selecting a target that Ren uses in its
experiments grouped according to their characteristics, annotated with a red
rectangle to highlight the a~ c ~ b ~ a route ofRen's Slide Off strategy.
Id. at 389-390. In Figure 3, "[t]he arrows show the direction of pen-tip
movement," "the dashed lines indicate that the pen-tip is not in contact with
the screen surface (either before or after contact), and the solid lines ...
show that the pen-tip is in contact with the screen surface." Id. at 389. For
the Slide Off strategy, "[t]he target is highlighted only while the pen is in
contact with it; however, the selection is made when the pen is removed
from any point on the screen either inside or outside the target area," as
illustrated in the a~                            c ~ b ~ a route. Id. at 391. Ren describes the Slide

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Off strategy as "an extension of the Direct Off strategy." Id. In the Direct
Off strategy, "the target is highlighted only while the pen is touching it," and
the "selection is made at the moment the pen is taken off the target." Id. at
390.
                            2. Tanaka (Ex. 1005)
       Tanaka relates to an information-processing device for controlling
window positions. Ex. 1005, 1:7-8. Specifically, Tanaka discloses a device
that allows a user to use both of two icon-selecting methods-a     "check" and
a "drag"-to   control window positions on the screen. Id. at 2:33-38. The
"check" method allows a user to open a new window corresponding to a
selected icon on a display screen when the user checks the icon with a
pointing device. Id. at 1:9-12, 3 :5-9. The "drag" method allows a user to
open a new window corresponding to a selected icon "in the position to
which the icon is dragged and from which the pointing pen is lifted up." Id.
at 1:12-14, 3 :9-12.
                           3. Claims 1 and 14-17
       Petitioner contends that the combined teachings of Ren and Tanaka
disclose each limitation of claim l, and that a person of ordinary skill in the
art would have had reason to implement Ren's selection strategies,
particularly the a~ c ~ b ~ a Slide Off strategy route, on Tanaka's device.
Pet. 16-31; see id. at 18-19 (discussing reason to combine). Petitioner relies
on Dr. Bederson's testimony to support its assertions. See id. Patent Owner
argues that Petitioner fails to show sufficiently why a person of ordinary
skill in the art would have had a reason to combine Ren's and Tanaka's
teachings with a reasonable expectation of success in achieving the claimed
invention. Prelim. Resp. 1-2, 3-36. We focus our discussion on that issue.

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      Petitioner contends that an ordinarily skilled artisan would have
implemented Ren's selection strategies on Tanaka's device for a number of
reasons. First, Petitioner notes that "Ren and Tanaka are directed to
solutions to the same problem-target     selection techniques in pen-based
tablet systems." Pet. 18-19. In view of this, Petitioner asserts a "[person of
ordinary skill in the art] would have recognized Ren as disclosing a handful
of selection techniques that would have been obvious to try and implement
with pen-based [graphical user interface] interaction systems, such as those
in Tanaka." Id. at 19.
      Petitioner's obvious-to-try argument follows from its assertion that
Ren and Tanaka are directed to solutions to the same problem. Although
Petitioner's assertion may establish that the references are analogous art, it
falls short of rationally articulating sufficient reasons to support the
conclusion of obviousness. See KSR Int 'l Co. v. Teleflex Inc., 550 U.S. 398,
418 (2007) ("it can be important to identify a reason that would have
prompted a person of ordinary skill in the relevant art to combine elements
as the new invention does"). Further, even assuming that Ren 's disclosure
of six selection strategies qualifies as "a finite number of identified,
predictable solutions," id. at 421, Petitioner does not direct us to any "design
need or market pressure to solve a problem," or reason an ordinarily skilled
artisan would have selected a particular strategy from Ren to produce the
claimed invention. Id.; In re Cyclobenzaprine Hydrochloride Extended-
Release Capsule Patent Litig., 676 F.3d 1063, 1072 (Fed. Cir.
2012) ("Evidence of obviousness, especially when that evidence is proffered
in support of an 'obvious-to-try' theory, is insufficient unless it indicates that
the possible options skilled artisans would have encountered were 'finite,'

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'small,' or 'easily traversed,' and that skilled artisans would have had a
reason to select the route that produced the claimed invention.").
       Next, Petitioner argues that the ordinarily skilled artisan only would
have implemented Ren's Slide Off strategy into Tanaka's device for its
simplicity. As we discuss below, we agree with Patent Owner's argument
that such a modification to Tanaka would have been contrary to Tanaka's
express purpose.
       In support of this argument, Petitioner points to Tanaka's "check" and
"drag" methods, and contends that the ordinarily skilled artisan would have
recognized the "check" method as Ren's Direct Off technique and the "drag"
method as "similar to Ren's Slide Off strategy with route a --,i. c --,i. b --,i. a."
Pet. 23-24. Based on Ren's teachings about the Direct Off and Slide Off
efficiencies, Petitioner argues an ordinarily skilled artisan "would have been
motivated to implement the Slide Off strategy exclusively of the Direct Off
strategy for example for pocket-sized pen-based applications with small
targets, and not implement both strategies for the same target." Id. at 28-29
(citing Ex. 1002 ,-r108). This is so, argues Petitioner, because having only a
single function and single interaction technique is easy to explain, easier for
a user to learn and remember, and easier and simpler to program and process
than multiple potential gestures. Id. Petitioner further asserts that the
ordinarily skilled artisan would have implemented the single function with
predictable results, given its simplicity. Id. at 29 (citing Ex. 1002 ,-r109).
      We disagree. Where "a patent claims a structure already known in the
prior art that is altered by the mere substitution of one element for another
known in the field, the combination must do more than yield a predictable
result." KSR, 550 U.S. at 416. "However, combinations that change the

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'basic principles under which the [prior art] was designed to operate,' or that
render the prior art 'inoperable for its intended purpose,' may fail to support
a conclusion of obviousness." Plas-Pak Indus., Inc. v. Sulzer Mixpac AG,
600 F. App'x 755, 757-758 (Fed. Cir. 2015) (non-precedential) (quoting In
re Ratti, 270 F.2d 810, 813 (CCPA 1959); In re Gordon, 733 F.2d 900, 902
(Fed. Cir. 1984)). As Patent Owner argues, "Tanaka's expressed concern
was to enable multiple activation techniques rather than only a single
technique." Prelim. Resp. 23 (citing Ex. 1005, 2:33-38, 6:55-7:6). Tanaka
explains that known "[ c]onventional information processing apparatuses for
controlling window positions adopt[ed] exclusively one of the two icon-
selecting methods, 'check' or 'drag."' Ex. 1005, 1:48-50. In contrast,
Tanaka's object is "to provide an information processing apparatus for
controlling window positions," that allows "the user to employ any one of
the two icon-selecting methods, 'check' and 'drag' to control window
positions as desired on the screen." Id. at 2:33-38; see also id. at 6:55-6:65
(explaining that the invention allows a user to use the "check" and "drag"
methods to control window positions). Indeed, Tanaka states that "[u]nlike
its prior art counterparts, the inventive apparatus accepts all kinds of pen
operations and saves the user a significant amount of operating chores." Id.
at 7:3-6 (emphasis added).
      Given Tanaka's express purpose to create an apparatus that allows a
user to utilize both the "check" and "drag" methods to select icons and
control windows, implementing only Ren's Slide Off strategy into Tanaka's
device would change Tanaka's principle of operation and render Tanaka
inoperable for its intended purpose. Accordingly, Petitioner fails to show
sufficiently that a person of ordinary skill in the art would have had a reason

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to combine Ren's and Tanaka's teachings to arrive at the claimed invention.
As a result, Petitioner fails to demonstrate a reasonable likelihood of
prevailing in its assertion that the subject matter of claim 1 would have been
obvious over the combination of Ren and Tanaka. Further, because claims
14-17 depend from claim 1, Petitioner also fails to demonstrate a reasonable
likelihood of prevailing in its assertion that the subject matter of those
claims would have been obvious over the combination of Ren and Tanaka.
              4. Remaining grounds involving Ren and Tanaka
      Petitioner challenges claims 2-6, 12, and 13 by adding Hirayama307,
Hirayama307 and Hirayama878, Allard, or Henckel to the teachings of Ren
and Tanaka discussed above. Pet. 35-49. Petitioner relies upon
Hirayama307, Hirayama878, Allard, or Henckel for teaching the added
limitations of these dependent claims and thus, does not remedy the
deficiencies of the asserted art with respect to claim 1. Accordingly, for the
same reasons discussed above, Petitioner fails to demonstrate a reasonable
likelihood of prevailing in its assertion that the subject matter of claims 2-6,
12, and 13 would have been obvious over the asserted combinations of
references.
        D. Asserted Obviousness Based on Hirayama307 and Ren
      Petitioner asserts four obviousness challenges based on the
combination ofHirayama307 and Ren. See Pet. 1-2 (summary of grounds
2A-2D). Specifically, Petitioner contends that the subject matter of the
challenged claims of the '879 patent would have been obvious over:
(1) Hirayama307 and Ren (claims 1, 2, 4, 5, and 14-17); (2) Hirayama307,
Ren, and Hirayama878 (claim 3); and (3) Hirayama307, Ren, and Allard



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(claims 6 and 13); and (4) Hirayama307 and Henckel (claim 12). See, e.g.,
id.
      Before turning to Petitioner's arguments, we provide a brief summary
of Hiryama307.
                                1. Hirayama307 (Ex. 1006)
      Hirayama307 relates to a small data processing device comprising a
pen, a display portion, and a transparent touch sensor input. Ex. 1006, 1:7-
10, 2:67-3:6. When a user presses the power button, icons appear on the
display, as shown in Figure 3A, which we reproduce below.


                                                       FIG. 3A
                           45




                      42                 3           1(2)




Figure 3A illustrates a display screen of Hirayama307's device. When a
user wants to make a call, for example, the user touches telephone icon 41
with the pen point. Id. at 4:61-65. As the user moves the pen point to
display portion 1, x-shaped cursor 42 appears on the screen of the display
portion so the user "can visually confirm the exact position of the point of
pen 3 on the input tablet 2 very clearly. Id. at 4:65-5:3. After the user
                                             16
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moves the pen point from icon 41 to display portion 1, "an icon (hereinafter
... referred to as a window) enlarged in the form of the processing display
mode of the desired icon 41 is automatically displayed on the display portion
1 as shown in FIG. 3B." Id. at 5:3-12.
                       2. Claims 1, 2, 4, 5, and 14-17
      Petitioner contends that the combined teachings of Hirayama307 and
Ren disclose each limitation of claim 1, and that a person of ordinary skill in
the art would have had reason to implement Ren' s selection strategies,
particularly the a-+ c-+ b-+ a Slide Off strategy route, on Hirayama307's
device. Pet. 49-62. Petitioner relies on Dr. Bederson's testimony to support
its assertions. See id. Patent Owner disagrees, arguing, among other things,
that Petitioner fails to show sufficiently that Hirayama307 discloses "the
representation of the function is not relocated or duplicated during []
gliding," as claim 1 requires. Prelim. Resp. 37-42. Patent Owner also
argues that an ordinarily skilled artisan would not have had reason to
implement Ren's a-+ c-+ b-+ a Slide Off route on Hirayama's device. Id.
at 43-46. We focus our analysis on these issues.
            a. "the representation. of thefunction is not relocated or
             duplicated during [} gliding"
      Petitioner asserts that "Hirayama307 discloses icon 41 is selected if
the user 'moves (i.e. drags) the point of the pen 3 ' ... or by 'dragging the
pen 3." Pet. 60. From this disclosure, Petitioner reasons that it would have
been obvious to implement the user interface such that the icon is not
relocated or duplicated during pen gliding. Id. Pointing to Figures 3A and
3B, Petitioner contends that Hirayama307 discloses dragging the pen from
the icon to the display screen such that the icon remains in the same position


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on the screen it was located before dragging. Id. at 61-62. Petitioner
concludes that an ordinarily skilled artisan "would have understood this as at
least a suggestion the icon is not relocated or duplicated during the gliding of
the pen because the icon was still in the same location it started at the
beginning of the dragging operation." Id. at 62 (citing Ex. 1002 ,-r159).
      Petitioner fails to make a sufficient showing on this record because
Hirayama307 appears to disclose either relocating or duplicating the icon on
the screen's display. We reproduce Figure 3B below.

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Figure 3B illustrates a display screen of Hiryama307's device.
Hirayama307 explains that, after the user moves the pen point from icon 41
to display portion 3, "an icon (hereinafter ... referred to as a window)
enlarged in the form of the processing display mode of the desired icon 41 is
automatically displayed on the display portion 1 as shown in FIG. 3B." Id.
at 5:3-12. Hirayama307 further discloses that "[w]hen the user wants to

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bring the large icon, i.e., the window 43 displayed on the display portion 1
... back to the original position" if the user touches a portion "within the
window 43 with the point of the pen 3 and drags the point of the pen 3 back
to the telephone icon 41 ... then the icon of large size can be returned to and
stored in that position." Id. at 6:22-31; see also id. at Fig. 4A (flow chart
including the step of enlarging the icon as a window), Fig. 4B (flow chart
including the steps of reducing the icon and moving the reduced icon).
Thus, contrary to Petitioner's assertion, Hirayama307 appears to duplicate or
relocate the representation of the function, i.e., icon, during gliding. As a
result, Petitioner fails to show sufficiently that "[i]t would have been
obvious given Hirayama307's disclosure to implement the user interface
such that" "the representation of the function is not relocated or duplicated
during [] gliding," as claim 1 requires.
            b. Reason to implement Ren 's strategy on Hirayama 's device
      Petitioner also argues that Ren discloses the limitation "the
representation of the function is not relocated or duplicated during []
gliding," and that an ordinarily skilled artisan would have tried to implement
Ren's selection strategies on Hirayama307's device with predictable results.
Pet. 62 (citing Pet.§ IV.A; Ex. 1002 ,r,r
                                        160-162). According to Petitioner,
it would have been obvious to combine Hirayama307's and Ren's teachings
because "Ren and Hirayama307 both are directed to solutions to the same
problem, namely target selection techniques in pen-based tablet systems."
Id. Petitioner also asserts that a person of ordinary skill in the art "would
have recognized Ren as disclosing a small number of selection techniques
that would have been obvious to try and implement with pen-based
[graphical user interface] interaction systems." Id.

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      Petitioner fails to make a sufficient showing for the same reasons set
forth above in connection with Petitioner's Ren and Tanaka combination. In
particular, Petitioner's assertion that an ordinarily skilled artisan would have
had reason to combine Hirayama307's and Ren's teachings because the
references both are directed to solutions to the same problem establishes that
the references are analogous art, but falls short of articulating reasoning with
a rational underpinning to support the conclusion of obviousness. See KSR,
550 U.S. at 418. And Petitioner does not direct us to any "design need or
market pressure to solve a problem," or any reason that an ordinarily skilled
artisan would have selected a particular strategy from Ren to produce the
claimed invention. Id.; In re Cyclobenzaprine Hydrochloride Extended-
Release Capsule Patent Litig., 676 F.3d at 1072. Rather, Petitioner simply
concludes that it would have been obvious to try. Although Petitioner cites
to Dr. Bederson's testimony for support, Dr. Bederson does not elaborate on
Petitioner's argument, as his testimony mirrors the Petition's conclusion.
Ex. 1002 ,l 162.
           c. Conclusion
       Petitioner fails to demonstrate a reasonable likelihood of prevailing
in its assertion that the subject matter of claim 1 would have been obvious
over the combination ofHirayama307 and Ren. Further, because claims 2,
4, 5, and 14-17 ultimately depend from claim 1, Petitioner also fails to
demonstrate a reasonable likelihood of prevailing in its assertion that the
subject matter of those claims would have been obvious over the
combination ofHirayama307 and Ren.




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          3. Remaining Grounds Involving Hirayama307 and Ren
      Petitioner challenges claims 3, 6, 12, and 13 by adding Hirayama878,
Allard, or Henckel to the teachings of Ren and Hirayama307 discussed
above. Pet. 70-74. Petitioner relies upon Hirayama878, Allard, or Henckel
for teaching the added limitations of these dependent claims and, thus, does
not remedy the deficiencies of the asserted art with respect to claim 1.
Accordingly, for the same reasons discussed above, Petitioner fails to
demonstrate a reasonable likelihood of prevailing in its assertion that the
subject matter of claims 3, 6, 12, and 13 would have been obvious over the
asserted combinations of references.
                E. Asserted Obviousness Based on Jermyn
      Petitioner asserts that the subject matter of claims 1, 14, and 15 would
have been obvious over Jermyn. See, e.g., Pet. 2. Before turning to
Petitioner's arguments, we provide a summary of Jermyn.
                            1. Jermyn (Ex. 1014)
      Jermyn is a paper that focuses on the design and analysis of graphical
password schemes for devices such as PDAs. Ex. 1014, 2. According to
Jermyn, a graphical password serves the same purpose as a textual password,
but consists of drawings alone or in addition to text. Id. Jermyn provides an
example of a drawing in Figure 2, which we reproduce below.




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Figure 2 is an input of a graphical password on a 4 x 4 grid. Id at 3. "The
drawing is mapped to a sequence of coordinate pairs by listing the cells in
the order which the stylus passes through them, with a distinguished
coordinate pair inserted in the sequence whenever the stylus is lifted from
the drawing surface." Id at 6. The drawing in Figure 2 has the coordinate
sequence (2, 2), (3, 2), (3, 3), (2, 3), (2, 2), (2, 1), (5, 5), with (5, 5) as the
"pen up" indicator. Id. at 5.
                             2. Claims 1, 14, and 15
       Petitioner asserts that Jermyn discloses or suggests each limitation of
claim 1. Pet. 75-83. Petitioner relies on Dr. Bederson's testimony to
support its assertions. See id. Patent Owner disagrees, arguing, among other
things, that Petitioner fails to show sufficiently that Jermyn discloses certain
claim 1 limitations, including "a touch sensitive area in which a
representation of a function is provided" and "wherein the representation
consists of only one option for activating the function." Prelim. Resp. 56-
70. We focus our analysis on these limitations.


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           a. "a touch sensitive area in which a representation of a function
               is provided"
      As to the limitation "a touch sensitive area in which a representation
of a function is provided," Petitioner explains Jermyn discloses that a user
can utilize its graphical passwords on any device with a graphical input
interface, including a PDA. Pet. 75. Petitioner asserts that the area of the
graphical user interface in which a user uses a pen to draw graphical
passwords is a "touch sensitive area." Id. (citing Ex. 1002 ,r187). Petitioner
further asserts that because Jermyn' s rectangular grid is used for drawing a
pattern for a graphical password, a person of ordinary skill in the art "would
have found it obvious that successful entry of the graphical passwords grants
access to PDA resources." Id. at 76 (citing Ex. 1014 §§ 3, 3.1; Ex. 1002
,r188). According to Petitioner, access to PDA resources    is a "function" and
Jermyn's rectangular grid is a "representation of a function." Id. (citing
Ex. 1014 §§ 3, 3.1; Ex. 1002 ,r189).
      On this record, Petitioner does not sufficiently show that Jermyn
discloses or suggests "a touch sensitive area in which a representation of a
function is provided." Petitioner asserts that gaining access to the PDA's
resources is the recited "function" and the rectangular grid corresponds to
the recited "representation of a function." Petitioner, however, does not
explain why one of ordinary skill in the art would have understood Jermyn's
grid to be a "representation of a function." See Pet. 76. Although Petitioner
cites Dr. Bederson's testimony as support, Dr. Bederson does not provide
further details or cite to any evidence supporting his testimony. Instead,
Dr. Bederson's testimony mirrors the Petition and adds bare opinion
testimony that a user would have understood the password grid as a


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representation. See Ex. 10021188. Such bare opinion testimony is of little
probative value. See 37 C.F.R. § 42.65(a) (opinion testimony that does not
disclose underlying facts "is entitled to little or no weight"); Ashland Oil,
Inc. v. Delta Resins & Refractories, Inc., 776 F.2d 281,294 (Fed. Cir. 1985)
(a lack of objective support for expert opinion "may render the testimony of
little probative value in a validity determination"). As a result, Petitioner
fails to show sufficiently that Jermyn discloses or suggests the limitation "a
touch sensitive area in which a representation of a function is provided."
            b. "wherein the representation consists of only one option for
             activating the function, "
      As to the limitation "wherein the representation consists of only one
option for activating the function," Petitioner argues that Jermyn's
rectangular grid (i.e., a "representation") is provided on a graphical input
interface for gaining access to PDA resources (i.e., the "function"), which
involves a user proving a stroke with a stylus to draw a pattern for the
graphical password. Pet. 77 (citing Ex. 1014 §§ 1, 3, 3.1). Because the
stylus enables access to PDA resources, Petitioner contends the access is
"'activated by' use of the stylus." Id. at 77-78 (citing Ex. 1014, Abs.;
Ex.100211190-191).      Petitioner next contends that "[a]side from strokes,
Jermyn does not contemplate other types of input on the rectangular grid for
drawing a pattern for a graphical password ....   For example, Jermyn does
not teach using a set of sequential taps on the rectangular grid as a way of
inputting a graphical password." Id. at 78 (citing Ex. 1014 §§ 3.1, 3.2).
Petitioner concludes that a person of ordinary skill in the art would have
understood Jermyn to describe the rectangular grid as proving "only one




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option for activating" access to the PDA resources (i.e., the function). Id.
(citing Ex. 1002 ,r,r192-193).
      Petitioner does not makes a sufficient showing on this record. Rather,
as Patent Owner argues, "Jermyn expressly teaches using tap inputs on the
grid as part of the drawn password, or even as the entire password." Prelim.
Resp. 66. For example, Jermyn states that some passwords consist "of a
single tap on one of the grid squares." Ex. 1014, 10. And in Figure 3, which
we produce below, Jermyn depicts drawn passwords that appear to include
both strokes and taps.

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Figure 3 shows creation of a password by drawing it on the display. Id. at 8.
The password shown in (a) appears to consist of strokes to create the letters
and taps to create the dots on the grid. Similarly, Figure 5, which we
reproduce below, depicts a number of different graphical passwords,
including at least one that appears to consist only of taps.




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Figure 5 shows example graphical passwords of different complexities. Id.
at 14. The password displayed in (e) appears to consist of only or mainly
taps, as indicated by the ~'pendown" and "penup" notations for the program
at the right hand side of the rectangular grid. The passwords consisting of
only strokes, on the other hand, do not have a "penup" notation immediately
following a "pendown" notation (e.g., the graphical passwords displayed in
(a) and (b)). These figures do not support Petitioner's assertions that Jermyn
"does not contemplate other types of input on the rectangular grid" for
drawing a graphical password aside from strokes and that Jermyn "does not

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teach using a set of sequential taps on the rectangular grid as a way of
inputting a graphical password." Pet. 78. As a result, Petitioner fails to
show sufficiently that Jermyn discloses or suggests the limitation "wherein
the representation consists of only one option for activating the function."
              c. Conclusion
       Petitioner fails to demonstrate a reasonable likelihood of prevailing in
its assertion that the subject matter of claim 1 would have been obvious over
Jermyn. Further, because claims 14 and 15 depend from claim 1, Petitioner
also fails to demonstrate a reasonable likelihood of prevailing in its assertion
that the subject matter of those claims would have been obvious over
Jermyn.

                              IV. CONCLUSION
       Taking account of the information presented in the Petition and the
Preliminary Response, and the evidence of record, we determine that
Petitioner fails to demonstrate a reasonable likelihood of prevailing at trial as
to any challenged claim. Accordingly, we deny the Petition, and do not
institute trial.

                                 V.ORDER
       Accordingly, it is
       ORDERED that the Petition is denied, and no trial is instituted.




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      APPLICATION NO.             ISSUE DATE              PATENT NO.          ATTORNEY DOCKET NO.                 CONFIRMATION NO.

          10/315,250              01/10/2012               8095879               NEONODE.P004                                1226

            75660         7590         12/21/2011
        Soquel Group, LLC
        P.O. Box 691
        Soquel, CA 95073




                                                    ISSUE NOTIFICATION

The projected patent number and issue date are specified above.

                          Determination of Patent Term Adjustment under 35 U.S.C. 154 (b)
                                      (application filed on or after May 29, 2000)

The Patent Term Adjustment is 1228 day(s). Any patent to issue from the above-identified application will
include an indication of the adjustment on the front page.

If a Continued Prosecution Application (CPA) was filed in the above-identified application, the filing date that
determines Patent Term Adjustment is the filing date of the most recent CPA.

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Any questions regarding the Patent Term Extension or Adjustment determination should be directed to the
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APPLICANT(s) (Please see PAIR WEB site http://pair.uspto.gov for additional applicants):
Magnus Goertz, Stockholm, SWEDEN;




IR103 (Rev. 10/09)
               Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 82 of 745

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   APPLICANTS
      Magnus Goertz, Stockholm, SWEDEN;
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** FOREIGN APPLICATIONS*************************
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   ADDRESS
          Soquel Group, LLC
          P.O. Box 691
          Soquel, CA 95073
          UNITED STATES
   TITLE
          USER INTERFACE FOR MOBILE HANDHELD COMPUTER UNIT

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      Magnus Goertz, Stockholm, SWEDEN;

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Ii<•   FOREIGN APPLICATIONS ********************

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   0 a. Applicant claims 51\-1ALLENTITY status. See 37 CFR J .27.                  "ab,    Applicant b no longer claiming S.MALL ENT1TY status. See 37 CPR L27(g){2).
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                Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 85 of 745



                                  Electronic Patent Application Fee Transmittal

Application Number:                                      10315250


Filing Date:                                             10-Dec-2002




Title of Invention:                                      USERINTERFACE




First Named Inventor/Applicant Name:                     Magnus Goertz


Filer:                                                   Marc Aron Berger


Attorney Docket Number:                                  NEONODE.P004


Filed as Large Entity


Utility under 35 USC 111 (a) Filing Fees

                                                                                                Sub-Total in
                            Description                         Fee Code    Quantity   Amount
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Basic Filing:


Pages:


Claims:


Miscellaneous-Filing:


Petition:


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                 Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 86 of 745
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Extension-of-Time:


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                   Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 87 of 745
                                         Electronic Acknowledgement Receipt

                             EFSID:                    11538511


                     Application Number:               10315250


             International Application Number:


                     Confirmation Number:              1226




                       Title of Invention:             USERINTERFACE




        First Named Inventor/Applicant Name:           Magnus Goertz


                      Customer Number:                 75660


                              Filer:                   Marc Aron Berger


                      Filer Authorized By:


                   Attorney Docket Number:             NEONODE.P004


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                          Filing Date:                 10-DEC-2002


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                       Application Type:               Utility under 35 USC111(a)


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                Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 90 of 745



                                  Electronic Patent Application Fee Transmittal

Application Number:                                      10315250


Filing Date:                                             10-Dec-2002




Title of Invention:                                      USERINTERFACE




First Named Inventor/Applicant Name:                     Magnus Goertz


Filer:                                                   Marc Aron Berger


Attorney Docket Number:                                  NEONODE.P004


Filed as Large Entity


Utility under 35 USC 111 (a) Filing Fees

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Basic Filing:


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Claims:


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                 Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 91 of 745
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Extension-of-Time:


Miscellaneous:


                                                         Total in USD ($)             2040
               Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 92 of 745
                                      Electronic Acknowledgement Receipt

                           EFSID:                       11537889


                  Application Number:                   10315250


            International Application Number:


                 Confirmation Number:                   1226




                    Title of Invention:                 USERINTERFACE




          First Named Inventor/Applicant Name:          Magnus Goertz


                   Customer Number:                     75660


                           Filer:                       Marc Aron Berger


                   Filer Authorized By:


                Attorney Docket Number:                 NEONODE.P004


                      Receipt Date:                     04-DEC-2011


                       Filing Date:                     10-DEC-2002


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                    Application Type:                   Utility under 35 USC 111 (a)


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        Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 94 of 745



Attorney's        Docket No.: NEONODE. P004                                PATENT


         IN THE UNITED              STATES         PATENT            AND TRADEMARK                       OFFICE

In Re Patent Application              of:                      )
                                                               )           Examiner:             Ryan F. Pitaro
                        Magnus Goertz                          )
                                                               )           Art Unit:          2171
Application        No: 10/315,250                              )
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Filed:           December         10, 2002                     )
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For:             USER INTERFACE                                )
___________                                                    )
Commissioner   for Patents
P. 0. Box 1450
Alexandria, VA 22313-1450



        COMMENTS            ON STATEMENT                 OF REASONS                     FOR ALLOWANCE



                            In the Notice of Allowability                        mailed      December         1, 2011,
the      Examiner         allowed     claims       1     -     14,         18,     48      and     49.        Applicant
acknowledges            the Examiner's         statements             of Reasons for Allowance                     of the
above-referenced             patent     application          and agrees             that the claimed            subject
matter      is patentable.          However,       applicant             takes no position            regarding        the
Reasons          for    Allowance          presented          by     the         Examiner         other       than     the
positions        applicant        may       have       previously                taken      during       prosecution.
Therefore,        the Examiner's            Reasons for Allowance                   should        not be attributed
to applicant           as an indication        of the basis for applicant's                          belief    that    the
claims     are patentable.              Furthermore,               applicant        respectfully         asserts      that
there     may      also     be additional          reasons           for    patentability          of the      claimed
subject     matter        not explicitly      stated         in this record              and applicant        does not
waive      his     rights    to     such     arguments              by     not     further        addressing          such
reasons herein.



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        Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 95 of 745




                                           Respectfully   submitted,

                                           SOQUEL GROUP LLC


Dated:      December     4, 2011           /Marc A. Berger/
                                           Marc A. Berger
                                           Reg. No. 44,029
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(831) 426-8200
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                Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 97 of 745



                                  Electronic Patent Application Fee Transmittal

Application Number:                                      10315250


Filing Date:                                             10-Dec-2002




Title of Invention:                                      USERINTERFACE




First Named Inventor/Applicant Name:                     Magnus Goertz


Filer:                                                   Marc Aron Berger


Attorney Docket Number:                                  NEONODE.P004


Filed as Large Entity


Utility under 35 USC 111 (a) Filing Fees

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Basic Filing:


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Claims:


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               Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 99 of 745
                                      Electronic Acknowledgement Receipt

                           EFSID:                      11537894


                  Application Number:                  10315250


            International Application Number:


                 Confirmation Number:                  1226




                    Title of Invention:                USERINTERFACE




          First Named Inventor/Applicant Name:         Magnus Goertz


                   Customer Number:                    75660


                           Filer:                      Marc Aron Berger


                   Filer Authorized By:


                Attorney Docket Number:                NEONODE.P004


                      Receipt Date:                    04-DEC-2011


                       Filing Date:                    10-DEC-2002


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                    Application Type:                  Utility under 35 USC 111 (a)


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                Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 102 of 745



                                  Electronic Patent Application Fee Transmittal

Application Number:                                      10315250


Filing Date:                                             10-Dec-2002




Title of Invention:                                      USERINTERFACE




First Named Inventor/Applicant Name:                     Magnus Goertz


Filer:                                                   Marc Aron Berger


Attorney Docket Number:                                  NEONODE.P004


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Claims:


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               Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 104 of 745
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                           EFSID:                      11538121


                  Application Number:                  10315250


            International Application Number:


                 Confirmation Number:                  1226




                    Title of Invention:                USERINTERFACE




          First Named Inventor/Applicant Name:         Magnus Goertz


                   Customer Number:                    75660


                           Filer:                      Marc Aron Berger


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                Attorney Docket Number:                NEONODE.P004


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       75660           7590             12/01/2011
   Soquel Group, LLC                                                                                                               PITARO,RYANF
   P.O. Box 691
   Soquel, CA 95073                                                                                                  ART UNIT                        PAPER NUMBER

                                                                                                                        2171

                                                                                                           DATE MAILED: 12/01/2011



   APPLICATION NO.            FILING DATE                            FIRST NAMED INVENTOR                   ATTORNEY DOCKET NO.                   CONFIRMATION NO.

       10/315,250              12/10/2002                                Magnus Goertz                             NEONODE.P004                           1226
TITLE OF INVENTION: USER INTERFACE




    APPLN. TYPE          SMALL ENTITY                ISSUE FEE DUE   PUBLICATION FEE DUE    PREV. PAID ISSUE FEE      TOTAL FEE(S) DUE                   DATE DUE

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    APPLICATION NO.                 FILING DATE                             FIRST NAMED INVENTOR                               ATTORNEY DOCKET NO.             CONFIRMATION NO.

          10/315,250                  12/10/2002                                    Magnus Goertz                                 NEONODE.P004                            1226
TITLE OF INVENTION: USER INTERFACE




       APPLN. TYPE            SMALL ENTITY                 ISSUE FEE DUE      PUBLICATION FEE DUE          PREV. PAID ISSUE FEE          TOTAL FEE(S) DUE                DATE DUE

     nonprovisional                 YES                        $870                      $300                           $0                     $1170                     03/01/2012

                     EXAMINER                                ART UNIT             CLASS-SUBCLASS

                  PITARO, RYANF                                2171                   715-716000

I. Change of correspondence address or indication of "Fee Address" (37            2. For printing on the patent front page, list
CFR 1.363).
                                                                                  (I) the names of up to 3 registered patent attorneys
   0 Change of correspondence address (or Change of Correspondence                or agents OR, alternatively,
   Address form PTO/SB/122) attached.                                                                                                        2______________                                    _
                                                                                  (2) the name of a single firm (having as a member a
   0 "Fee Address" indication (or "Fee Address" Indication form                   registered attorney or agent) and the names of up to
   PTO/SB/47; Rev 03-02 or more recent) attached. Use of a Customer               2 registered patent attorneys or agents. If no name is     3______________                                    _
   Number is required.                                                            listed, no name will be printed.

3. ASSIGNEE NAME AND RESIDENCE DATA TO BE PRINTED ON THE PATENT (print or type)
   PLEASE NOTE: Unless an assignee is identified below, no assignee data will appear on the patent. If an assignee is identified below, the document has been filed for
   recordation as set forth in 37 CFR 3.11. Completion of this form is NOT a substitute for filing an assignment.
   (A) NAME OF ASSIGNEE                                                       (B) RESIDENCE: (CITY and STATE OR COUNTRY)




Please check the appropriate assignee category or categories (will not be printed on the patent) :     0   Individual    O Corporation   or other private group entity    O Government
4a. The following fee(s) are submitted:                                    4b. Payment ofFee(s): (Please first reapply any previously paid issue fee shown above)
   0    Issue Fee                                                             0   A check is enclosed.
   0    Publication Fee (No small entity discount permitted)                  0   Payment by credit card. Form PTO-2038 is attached.
   0   Advance Order - # of Copies _________                    _             0   The Director is hereby authorized to charge the required fee(s), any deficiency, or credit any
                                                                                  overpayment, to Deposit Account Number                      (enclose an extra copy of this form).
5. Change in Entity Status (from status indicated above)
   0    a. Applicant claims SMALL ENTITY status. See 37 CFR 1.27.             0    b. Applicant is no longer claiming SMALL ENTITY status. See 37 CFR l.27(g)(2).
NOTE: The Issue Fee and Publication Fee (if required) will not be accepted from anyone other than the applicant; a registered attorney or agent; or the assignee or other party in
interest as shown by the records of the United States Patent and Trademark Office.


   Authorized Signature _______________________                                              _                Date ____________________                                         _

   Typed or printed name ______________________                                          _                    Registration No. ________________                                     _

This collection of information is required by 37 CFR 1.311. The information is required to obtain or retain a benefit by the public which is to file (and by the USPTO to process)
an application. Confidentiality is governed by 35 U.S.C. 122 and 37 CFR 1.14. This collection is estimated to take 12 minutes to complete, including gathering, preparing, and
submitting the completed application form to the USPTO. Time will vary depending upon the individual case. Any comments on the amount of time you require to complete
this form and/or suggestions for reducing this burden, should be sent to the Chief Information Officer, U.S. Patent and Trademark Office, U.S. Department of Commerce, P.O.
Box 1450, Alexandria, Virginia 22313-1450. DO NOT SEND FEES OR COMPLETED FORMS TO THIS ADDRESS. SEND TO: Commissioner for Patents, P.O. Box 1450,
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PTOL-85 (Rev. 02/11) Approved for use through 08/31/2013.                         0MB 0651-0033         U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
                       Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 111 of 745

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   APPLICATION NO.            FILING DATE                   FIRST NAMED INVENTOR   ATTORNEY DOCKET NO.                 CONFIRMATION NO.

       10/315,250              12/10/2002                       Magnus Goertz          NEONODE.P004                           1226

                                                                                                           EXAMINER
       75660           7590           12/01/2011
   Soquel Group, LLC                                                                                    PITARO,RYANF
   P.O. Box 691
   Soquel, CA 95073                                                                       ART UNIT                        PAPER NUMBER

                                                                                             2171

                                                                                   DATE MAILED: 12/01/2011




                              Determination of Patent Term Adjustment under 35 U.S.C. 154 (b)
                                          (application filed on or after May 29, 2000)

The Patent Term Adjustment to date is 872 day(s). If the issue fee is paid on the date that is three months after the
mailing date of this notice and the patent issues on the Tuesday before the date that is 28 weeks (six and a half
months) after the mailing date of this notice, the Patent Term Adjustment will be 872 day(s).

If a Continued Prosecution Application (CPA) was filed in the above-identified application, the filing date that
determines Patent Term Adjustment is the filing date of the most recent CPA.

Applicant will be able to obtain more detailed information by accessing the Patent Application Information Retrieval
(PAIR) WEB site (http://pair.uspto.gov).

Any questions regarding the Patent Term Extension or Adjustment determination should be directed to the Office of
Patent Legal Administration at (571)-272-7702. Questions relating to issue and publication fee payments should be
directed to the Customer Service Center of the Office of Patent Publication at 1-(888)-786-0101 or (571 )-272-4200.




                                                                Page 3 of 3
PTOL-85 (Rev. 02/11)
      Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 112 of 745




                                      Privacy Act Statement

The Privacy Act of 1974 (P.L. 93-579) requires that you be given certain information in connection with
your submission of the attached form related to a patent application or patent. Accordingly, pursuant to
the requirements of the Act, please be advised that: (1) the general authority for the collection of this
information is 35 U.S.C. 2(b )(2); (2) furnishing of the information solicited is voluntary; and (3) the
principal purpose for which the information is used by the U.S. Patent and Trademark Office is to process
and/or examine your submission related to a patent application or patent. If you do not furnish the
requested information, the U.S. Patent and Trademark Office may not be able to process and/or examine
your submission, which may result in termination of proceedings or abandonment of the application or
expiration of the patent.

The information provided by you in this form will be subject to the following routine uses:
 1. The information on this form will be treated confidentially to the extent allowed under the Freedom
    of Information Act (5 U.S.C. 552) and the Privacy Act (5 U.S.C 552a). Records from this system of
    records may be disclosed to the Department of Justice to determine whether disclosure of these
    records is required by the Freedom of Information Act.
 2. A record from this system of records may be disclosed, as a routine use, in the course of presenting
    evidence to a court, magistrate, or administrative tribunal, including disclosures to opposing counsel
    in the course of settlement negotiations.
 3. A record in this system of records may be disclosed, as a routine use, to a Member of Congress
    submitting a request involving an individual, to whom the record pertains, when the individual has
    requested assistance from the Member with respect to the subject matter of the record.
 4. A record in this system of records may be disclosed, as a routine use, to a contractor of the Agency
    having need for the information in order to perform a contract. Recipients of information shall be
    required to comply with the requirements of the Privacy Act of 1974, as amended, pursuant to 5
    U.S.C. 552a(m).
 5. A record related to an International Application filed under the Patent Cooperation Treaty in this
    system of records may be disclosed, as a routine use, to the International Bureau of the World
    Intellectual Property Organization, pursuant to the Patent Cooperation Treaty.
 6. A record in this system of records may be disclosed, as a routine use, to another federal agency for
    purposes of National Security review (35 U.S.C. 181) and for review pursuant to the Atomic Energy
    Act (42 U.S.C. 218(c)).
 7. A record from this system of records may be disclosed, as a routine use, to the Administrator,
    General Services, or his/her designee, during an inspection of records conducted by GSA as part of
    that agency's responsibility to recommend improvements in records management practices and
    programs, under authority of 44 U.S.C. 2904 and 2906. Such disclosure shall be made in accordance
    with the GSA regulations governing inspection of records for this purpose, and any other relevant
    (i.e., GSA or Commerce) directive. Such disclosure shall not be used to make determinations about
    individuals.
 8. A record from this system of records may be disclosed, as a routine use, to the public after either
    publication of the application pursuant to 35 U.S.C. 122(b) or issuance of a patent pursuant to 35
    U.S.C. 151. Further, a record may be disclosed, subject to the limitations of 37 CPR 1.14, as a
    routine use, to the public if the record was filed in an application which became abandoned or in
    which the proceedings were terminated and which application is referenced by either a published
    application, an application open to public inspection or an issued patent.
 9. A record from this system of records may be disclosed, as a routine use, to a Federal, State, or local
    law enforcement agency, if the USPTO becomes aware of a violation or potential violation of law or
    regulation.
                            Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 113 of 745

                                                                                  Application    No.                  Applicant(s)

                                                                                  10/315,250                          GOERTZ, MAGNUS
                           Notice of Allowability                                 Examiner                            Art Unit

                                                                                  RYAN PITARO                         2171

             -- The MAILING DA TE of this communication appears on the cover sheet with the correspondence address--
All claims being allowable, PROSECUTION ON THE MERITS IS (OR REMAINS) CLOSED in this application. If not included
herewith (or previously mailed), a Notice of Allowance (PTOL-85) or other appropriate communication will be mailed in due course. THIS
NOTICE OF ALLOWABILITY IS NOT A GRANT OF PATENT RIGHTS. This application is subject to withdrawal from issue at the initiative
of the Office or upon petition by the applicant. See 37 CFR 1.313 and MPEP 1308.
1.   [8JThis communication is responsive to              the amendment filed 6/09/2011.

2.   [8JThe allowed claim(s) is/are           1-14.18.48 and 49.

3.   D Acknowledgment                is made of a claim for foreign priority under 35 U.S.C. § 119(a)-(d) or (f).
            a)   D   All     b)     D Some*    c)   D   None   of the:
                     1. D Certified copies of the priority documents have been received.
                     2. D Certified copies of the priority documents have been received in Application No. __ .
                     3. D Copies of the certified copies of the priority documents have been received in this national stage application from the
                            International Bureau (PCT Rule 17.2(a)).
         * Certified copies not received: __             .

  Applicant has THREE MONTHS FROM THE "MAILING DATE" of this communication to file a reply complying with the requirements
  noted below. Failure to timely comply will result in ABANDONMENT of this application.
  THIS THREE-MONTH PERIOD IS NOT EXTENDABLE.

4.   0   A SUBSTITUTE OATH OR DECLARATION must be submitted. Note the attached EXAMINER'S AMENDMENT or NOTICE OF
         INFORMAL PATENT APPLICATION (PTO-152) which gives reason(s) why the oath or declaration is deficient.

5.   D CORRECTED DRAWINGS ( as "replacement sheets") must be submitted.
      (a)   D    including changes required by the Notice of Draftsperson's Patent Drawing Review ( PTO-948) attached
                     1) D hereto or 2)    D   to Paper No./Mail Date __       .
      (b)   D    including changes required by the attached Examiner's Amendment/ Comment or in the Office action of
                 Paper No./Mail Date __     .
     Identifying indicia such as the application number {see 37 CFR 1.84{c)) should be written on the drawings in the front {not the back) of
     each sheet. Replacement sheet{s) should be labeled as such in the header according to 37 CFR 1.121{d).

6. □ DEPOSIT OF and/or INFORMATION about the deposit of BIOLOGICAL MATERIAL must be submitted. Note the
     attached Examiner's comment regarding REQUIREMENT FOR THE DEPOSIT OF BIOLOGICAL MATERIAL.




Attachment( s)
1. ~ Notice of References Cited (PTO-892)                                                  5. D Notice of Informal Patent Application
2.   D Notice of Draftperson's Patent Drawing Review (PTO-948)                             6. D Interview Summary (PTO-413),
                                                                                                 Paper No./Mail Date __ .
3.   D   Information Disclosure Statements (PTO/SB/08),                                    7. ~ Examiner's Amendment/Comment
          Paper No./Mail Date __
4.   D   Examiner's Comment Regarding Requirement for Deposit                              8. ~ Examiner's Statement of Reasons for Allowance
          of Biological Material
                                                                                           9.   D Other __   .




 U.S. Patent and Trademark Office
 PTOL-37 (Rev. 08-06)                                                       Notice of Allowability                       Part of Paper No./Mail Date 20110606
     Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 114 of 745


Application/Control Number: 10/315,250                                             Page 2
Art Unit: 2171

                                 EXAMINER'S AMENDMENT

       An examiner's amendment to the record appears below. Should the changes

and/or additions be unacceptable to applicant, an amendment may be filed as provided

by 37 CFR 1.312. To ensure consideration of such an amendment, it MUST be

submitted no later than the payment of the issue fee.

       Authorization for this examiner's amendment was given in a telephone interview

with Marc Berger on 10/6/2011.

       The application has been amended as follows:


1. (currently amended)               A non-transitory computer readable medium storing

a computer program with computer program code, which, when read by a mobile

handheld computer unit, allows the computer to present a user interface for the mobile

handheld computer unit, the user interface comprising:

                     a touch sensitive area in which a representation of a function is

provided, wherein the representation consists of only one option for activating the

function and wherein the function is activated by a multi-step operation comprising (i) an

object touching the touch sensitive area at a location where the representation is

provided and then (ii) the object gliding along the touch sensitive area away from the

touched location, wherein the representation of the function is not relocated or

duplicated during the gliding.



       Claims 1-14, 18,48-49 are allowed.
     Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 115 of 745


Application/Control Number: 10/315,250                                               Page 3
Art Unit: 2171

       The following is an examiner's statement of reasons for allowance: The prior art

is silent in teaching a non-transitory computer readable medium storing a computer

program with computer program code, which, when read by a mobile handheld

computer unit, allows the computer to present a user interface for the mobile handheld

computer unit, the user interface comprising: a touch sensitive area in which a

representation of a function is provided, wherein the representation consists of only one

option for activating the function and wherein the function is activated by a multi-step

operation comprising (i) an object touching the touch sensitive area at a location where

the representation is provided and then (ii) the object gliding along the touch sensitive

area away from the touched location wherein the representation of the function is not

relocated or duplicated during the gliding.

       Any comments considered necessary by applicant must be submitted no later

than the payment of the issue fee and, to avoid processing delays, should preferably

accompany the issue fee. Such submissions should be clearly labeled "Comments on

Statement of Reasons for Allowance."




                                       Conclusion

       Any inquiry concerning this communication or earlier communications from the

examiner should be directed to RYAN PITARO whose telephone number is (571)272-
     Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 116 of 745


Application/Control Number: 10/315,250                                            Page 4
Art Unit: 2171

4071. The examiner can normally be reached on 9:00am - 5:30pm Mondays through

Fridays.

       If attempts to reach the examiner by telephone are unsuccessful, the examiner's

supervisor, Chat Do can be reached on 571-272-3721. The fax phone number for the

organization where this application or proceeding is assigned is 571-273-8300.

       Information regarding the status of an application may be obtained from the

Patent Application Information Retrieval (PAIR) system. Status information for

published applications may be obtained from either Private PAIR or Public PAIR.

Status information for unpublished applications is available through Private PAIR only.

For more information about the PAIR system, see http://pair-direct.uspto.gov. Should

you have questions on access to the Private PAIR system, contact the Electronic

Business Center (EBC) at 866-217-9197 (toll-free). If you would like assistance from a

USPTO Customer Service Representative or access to the automated information

system, call 800-786-9199 (IN USA OR CANADA) or 571-272-1000.


/Ryan F Pitaro/
Primary Examiner, Art Unit 2171
                         Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 117 of 745
                                                                                     Application/Control   No.           Applicant(s)/Patent Under
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                                                                                     10/315,250                          GOERTZ, MAGNUS
                  Notice of References Cited
                                                                                     Examiner                            Art Unit
                                                                                                                                            Page 1 of 1
                                                                                     RYAN PITARO                         2171
                                                                           U.S. PATENT DOCUMENTS
                         Document Number                    Date
 *                Country Code-Number-Kind Code          MM-YYYY                                      Name                                  Classification

 *       A      US-7,030,861                            04-2006          Westerman et al.                                                     345/173

 *       B      US-5,603,053                            02-1997          Gough et al.                                                          710/5

         C      US-

         D      US-

         E      US-

         F      US-

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*A copy of this reference 1snot being furnished with this Office action. (See MPEP § 707.05(a).)
Dates in MM-YYYY format are publication dates. Classifications may be US or foreign.

U.S. Patent and Trademark Office
PTO-892 (Rev. 01-2001)                                                  Notice of References Cited                      Part of Paper No. 20110606
EAST Search History
                           Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 118 of 745




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                                      "20020042914" "20020042921"
                                      "20020049631" "20020056098"
                                      "20020059590" "20020067376"
                                      "20020077177" "20020078006"
                                      "20020078453" "20020098834"
                                      "20020116292" "20020116320"
                                      "20020166122" "20030046182"
                                      "20030074661" "20030095525"
                                      "20030126607" "20030140017"
                                      "20030146940" "20030149628"
                                      "20030182195" "20040003412"
                                      "20040098747" "20040103439"
                                      "20040117831" "20040128137"
                                      "20040133848" "20040148625"
                                      "20040204116" "20040210824"
                                      "20040260689" "20050010949"
                                      "20050025550" "20050075932"
                                      "20050086690" "20050091118"
                                      "20050160458" "20050234895"
                                      "20050246231" "20060155598"
                                      "20060224987" I "20010008332"
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EAST Search History
                        Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 119 of 745
                                      "5353016" "5410326" "5479268"
                                      "5532735" "5553242" "5559548"
                                      "5598523" "5602596" "5617570"
                                      "5625781" "5710887" "5727129"
                                      "5734719" "5758126" "5794210"
                                      "5796252" "5801702" "5809204"
                                      "5819220" "5822014" "5828839"
                                      "5832208" "5832459" "5838314"
                                      "5848396" "5851149" "5874906"
                                      "5878222" "5890175" "5893064"
                                      "5895454" "5896133" "5900905"
                                      "5902353" "5903729" "5911145"
                                      "5918014" "5918213") PN. OR
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                                      "5946381" "5956681" "5956693"
                                      "5958012" "5960411" "5961593"
                                      "5978381" "5990927" "6002853"
                                      "6005562" "6005631" "6006257"
                                      "6012049" "6014502" "6018372"
                                      "6025837" "6028600" "6031537"
                                      "6041312" "6054989" "6072483"
                                      "6072492" "6075575" "6078866"
                                      "6091417" "6094156" "6101473"
                                      "6112186" "6129274" "6138107"
                                      "6142371" "6151050" "6151059"
                                      "6151596" "6151630" "6154205"
                                      "6160552" "6167382" "6172677"
                                      "6177936" "6193152" "6198481"
                                      "6199050" "6199077" "6199098"
                                      "6205432" "6205582" "6211878"
                                      "6212265" "6223215" "6226623"
                                      "6226642" "6229540" "6237030"
                                      "6243093" "6253189" "6260192"
                                      "6266060" "6269343" "6269361"
                                      "6269403" "6271832" "6282516"
                                      "6285357" "6285987" "6286017"
                                      "6286043" "6288716" "6292779"
                                      "6292782" "6292786" "6292809"
                                      "6295057" "6298330" "6300947"
                                      "6301566" "6312336" "6314406"
                                      "6317706" "6330005" "6330543"
                                      "6333753" "6334108" "6334145"
                                      "6336131" "6337715" "6345279"
                                      "6356905" "6381583" "6388714"
                                      "6396531" "6397387" "6401132"
                                      "6407779" "6411307" "6411337"
                                      "6415270" "6417873" "6418441"
                                      "6421066" "6421071" "6421724"
                                      "6438540" "6445398" "6460181"
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                                      ("6608633" I "6615247" I "6615248" I
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                                      "6647373" I "6662224" I "6680714" I
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                        Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 125 of 745
                   i L72 i 278  Iapplication near list and file near list and : U& OR ! ON I 2011/08/28!    I
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                                      "20030074661" "20030095525"
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                   r07    -□ 8       I finger near3 (flick gesture slide) and                                       : U&      IDR        !□NI 2011/08/28!
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                   IIL111 r4800             I (glide flick touch swipe) with screen with                            i U&                'DR                 \□
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                   IIL114 i □I (glide flick swipe) with screen with                                                        : U&                 !DR       !□  N           !2011/08/28!
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                   r52             '033              I list with data near type and "715"/$.ccls.                                           I0 U&             IDR                  !□
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                   I               I                 i                                                                                         PGPUB·         1                    i                 !22-50                i
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                   I     I                   l@ay<="2002"                                                        !PGPUB; :                             i              122:50             i
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                   IIL156114870 I touch with (flick ge5'ure slide swipe                                                                     I U&              !DR                  !□
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                   I     I      I across) and @ay<"2002"                                                                                    I PGPUB;          I                    !                 I 22:50               !

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                   lfL157 ]14635 litouch with (flick slide swipe across) and :!U&                                                   !IOR               UoN            112011/08/28!


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EAST Search History
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                                            I @ay<"2002"                                                          : PGPUB;                                             I 22:50             '
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                   r61       '11015 Pouch near2 (flick slideswipe across)and i U&                                                    'DR                !□
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                   I         I      !@ay<"2002"                              : PGPUB;                                                I                  !              I 22:50             !

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                   r62 'DI                    touch near2 (flick slide swipe across) with : U&                                       IDR                 !□  NI 2011/08/28!
                   I          I             I activate and @ay<"2002"                                            : PGPUB; I                              !              I 22:50            !
                   I          I             I                                                                     IUSPAT;            I                  !               I                  !
                   I          I             I                                                                    : EPO; JPO; I                           i              I                  i
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                   r63       'Do            I touch near2 (flick slide swipe across) with : U&                                       IDR      !□  NI 2011/08/28!
                   I          I             I function and @ay<"2002"                                             : PGPUB; I                  !              I 22:50              !




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                   I          I             I                                                                     : USPAT; I                  !              I                    !
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                                            I touch near2 (flick glide slide swipe across): U&
                                            I with function and @ay< "2002"                                      : PGPUB; I
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                   r66 'DI                     touch near2 (glide) with function and                               : U&               IDR                !□  NI 2011/08/28!
                   I          I              l@ay<"2002"                                                           : PGPUB; I                            i              I 22:50            i
                   I         I               I                                                                    I  USPAT;          I                  !               I                  !
                   I          I              I                                                                     : EPO; JPO; I                         i              I                  i
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                   r68       '110458 i (glide flick touchswipe) wi1h icon                                        i U&                'DR                !□
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                   I         I       I                                                                            : PGPUB;           I                  !              122:50              !
                   I         I       I                                                                            I USPAT;           I                  !              I                   !
                   I I                      I                                                                     i6~W~+I I                                            I                   I
                   IIL169 ll49984 !!(glide flick touch swipe) with                                                i!us-              iloR               iloN           l!2011108/28i


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EAST Search History
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file:///CI/U sers/rpitaro/Documents/e-Red%20Folder/l 0315250/EASTSearchHistory .10315250_Accessible Version.htm[S/28/2011 10:58:23 PM]
EAST Search History
                          Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 135 of 745
                   I[      I[     II                           :[USPAT;  11      11     II                                                                                                              !
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                   r82         i □I (touch finger) with (glide flick swipe) with : U&                                                        l□R      !□   NI 2011/08/28!
                   I           I             I screen and "715"/$.ccls. and                                              : PGPUB; I                   i               I 22:50              i
                   I           I             I @AY< = "2002"                                                             i USPAT;            I        !                           I        !
                   I           I             I                                                                           : EPO; JPO; I                            !   I                                 !
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                   r83 □
                       3 I (touch                          finger) with (glide flick swipe slide : U&                                         l□ R      !□   NI 2011/08/28!
                   I          I               I) with screen and "715"/$.ccls. and                                       : PGPUB; I                     !               I 22:50              !
                   I          I               i @AY<= "2002"                                                             : USPAT;             I         i               i                    i
                   I          I               I                                                                          I EPO; JPO;         I                    !     I                               !
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                   r84        , 6
                   I          I              I "20010026268" I "20010028344" I                                           i PGPUB;            I                    \               I 22:50               \
                   I          I              I  "20010055006" I "4790028" I "5053758"                                  I IUSPAT;             I                    i               I                     i
                   it         i\             i\ "5283558") •PN•                                                          i: EPO·' JPO·' i:                        i~              i\                    i~
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                   C:\ Users\ rpitaro\ Documents\ EAST\ Workspaces\ 10315250.wsp




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                Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 136 of 745

                                        Application/Control No.   Applicant( s)/Patent Under
                                                                  Reexamination
           Search Notes                 10315250                  GOERTZ, MAGNUS

                                        Examiner                  Art Unit

                                        Ryan F Pitaro             2174




                                                   SEARCHED

      Class                                Subclass                     Date              Examiner
 Update                 Search                                        11/8/2007       RFP
 Update                 Search                                       6/17/2008        RFP
 Update                 Search                                       12/21/2008       RFP
 Update                 Search                                       4/22/2009        RFP
 Update                 Search                                       11/20/2009       RFP
 Update                 Search                                       5/22/2010        RFP
 Update                 Search                                        6/5/2011        RFP
 Update                 Search                                       8/25/2011        RFP
 Update                 Search                                       10/18/2011       RFP



                                                  SEARCH NOTES

                                   Search Notes                         Date              Examiner
 Update Search                                                        11/8/2007       RFP
 Update Search                                                       6/17/2008        RFP
 EAST                                                                12/21/2008       RFP
 Internet                                                            12/21/2008       RFP
 Safari Online Books                                                 12/21/2008       RFP
 IEEE                                                                12/21/2008       RFP
 ACM                                                                 12/21/2008       RFP
 Update Search                                                       4/22/2009        RFP
 Update Search                                                       11/20/2009       RFP
 Update Search                                                       5/22/2010        RFP
 Internet Search                                                     5/22/2010        RFP
 Update Search                                                        6/5/2011        RFP
 STIC Search                                                          6/5/2011        RFP
 Fast and Focus Search                                                6/5/2011        RFP
 Update Search                                                       8/25/2011        RFP
 Update Search                                                       10/18/2011       RFP



                                          INTERFERENCE SEARCH

      Class                                Subclass                     Date              Examiner
 Interference           Search                                        6/5/2011        RFP
 Update                 Search                                       8/25/2011        RFP




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                                    INTERFERENCE SEARCH

      Class           I              Subclass                 I     Date         I     Examiner
 Update               I Search                                I   10/18/2011     I RFP




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                                                  Application/Control No.                 Applicant( s)/Patent Under
                                                                                          Reexamination
          Index of Claims                         10315250                                GOERTZ, MAGNUS

                                                  Examiner                                Art Unit

                                                  Ryan F Pitaro                           2174


  ✓           Rejected                         Cancelled                N     Non-Elected                   A              Appeal

  -           Allowed                          Restricted                     Interference                  0         Objected

 □    Claims renumbered in the same order as presented by applicant                   □   CPA         □     T.D.           □   R.1.47

          CLAIM                                                              DATE
      Final        Original    11/09/2007 06/23/2008 12/21/2008 07/06/2009 11/20/2009 05/23/2010   06/06/2011    08/28/2011
                      1            ✓          ✓          ✓          ✓          ✓          ✓            =              =
                      2            ✓          ✓          ✓          ✓          ✓          ✓            =              =
                      3            ✓          ✓          ✓          ✓          ✓          ✓            =              =
                      4            ✓          ✓          ✓          ✓          ✓          ✓            =              =
                      5            ✓          ✓          ✓          ✓          ✓          ✓            =              =
                      6            ✓          ✓          ✓          ✓          ✓          ✓            =              =
                      7            ✓          ✓          ✓          ✓          ✓          ✓            =              =
                      8            ✓          ✓          ✓          ✓          ✓          ✓            =              =
                      9            ✓          ✓          ✓          ✓          ✓          ✓            =              =
                      10           ✓          ✓          ✓          ✓          ✓          ✓            =              =
                      11           ✓          ✓          ✓          ✓          ✓          ✓            =              =
                      12           ✓          ✓          ✓          ✓          ✓          ✓            =              =
                      13           ✓          ✓          ✓          ✓          ✓          ✓            =              =
                      14           ✓          ✓          ✓          ✓          ✓          ✓            =              =
                      15           ✓          ✓          ✓          ✓          ✓          ✓            ✓               -
                      16           ✓          ✓          ✓          ✓          ✓          ✓            ✓               -
                      17           ✓          ✓          ✓          -           -          -            -              -
                      18           ✓          ✓          ✓          ✓          ✓          ✓            =              =
                      19                                 N          -                                   -              -
                      20                                 N          -                                   -              -
                      21                                 N          -                                   -              -
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                      23                                 N          -                                   -              -
                      24                                 N          -                                   -              -
                      25                                 N          -                                   -              -
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                      27                                 N          -                                   -              -
                      28                                 N          -                                   -              -
                      29                                 N          -                                   -              -
                      30                                 N          -                                   -              -
                      31                                 N          -                                   -              -
                      32                                 N          -                                   -              -
                      33                                 N          -                                   -              -
                      34                                 N          -                                   -              -
                      35                                 N          -                                   -              -
                      36                                 N          -                                   -              -
U.S. Patent and Trademark Office                                                                                Part of Paper No. : 20110606
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                                                 Application/Control No.                  Applicant( s)/Patent Under
                                                                                          Reexamination
          Index of Claims                        10315250                                 GOERTZ, MAGNUS

                                                 Examiner                                 Art Unit

                                                 Ryan F Pitaro                            2174


  ✓           Rejected                         Cancelled                N     Non-Elected                   A              Appeal

  -           Allowed                          Restricted                     Interference                  0         Objected

 □    Claims renumbered in the same order as presented by applicant                   □   CPA         □     T.D.           □   R.1.47

          CLAIM                                                              DATE
      Final        Original    11/09/2007 06/23/2008 12/21/2008 07/06/2009 11/20/2009 05/23/2010   06/06/2011    08/28/2011
                      37                                 N          -                                   -              -
                      38                                 N          -                                   -              -
                      39                                 N          -                                   -              -
                      40                                 N          -                                   -              -
                      41                                 N          -                                   -              -
                      42                                 N          -                                   -              -
                      43                                 N          -                                   -              -
                      44                                 N          -                                   -              -
                      45                                 N          -                                   -              -
                      46                                 N          -                                   -              -
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                                                                Application/Control No.                                      Applicant(s)/Patent Under Reexamination

 Issue Classification                                           10315250                                                     GOERTZ, MAGNUS

                                                                Examiner                                                     Art Unit

                                                                RYAN PITARO                                                  2171


                                      ORIGINAL                                                                     INTERNATIONAL CLASSIFICATION
                 CLASS                                           SUBCLASS                                        CLAIMED                                          NON-CLAIMED
 715                                              716                                     G      0    6      F               3 I 00 (2006.01.01)


                        CROSS REFERENCE($)

  CLASS                 SUBCLASS {ONE SUBCLASS PER BLOCK)
 715            864             702




 181        Claims renumbered in the same order as presented by applicant                                 □              CPA            □          T.D.           □        R.1.47

   Final     Original     Final        Original         Final      Original   Final   Original       Final        Original      Final       Original      Final       Original      Final        Original

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       14       14                        30                          46

                15                        31                          47

                16                        32             16           48



 NONE
                                                                                                                                                             Total Claims Allowed:

                                                                                                                                                                           17
 (Assistant Examiner)                                                                                                    (Date)
 /RYAN PITARO/
 Primary Examiner.Art Unit 2171                                                                                       8/25/2011                     O.G. Print Claim(s)          O.G. Print Figure

 (Primary Examiner)                                                                                                      (Date)                             1                               13

U.S. Patent and Trademark Office                                                                                                                                          Part of Paper No. 20110606
        Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 141 of 745



Attorney's        Docket    No.: NEONODE. P004             PATENT


         IN THE UNITED           STATES     PATENT       AND TRADEMARK          OFFICE

In Re Patent Application           of:               )
                                                     )     Examiner:     Ryan F. Pitaro
                       Magnus Goertz                 )
                                                     )     Art Unit:     2174
Application        No: 10/315,250                    )
                                                     )
Filed:           December       10, 2002             )
                                                     )
For:             USER INTERFACE FOR                  )
                 MOBILE HANDHELD                     )
                 COMPUTER UNIT                       )
___________                                          )
Mail Stop AMENDMENT
Commissioner   for Patents
P. 0. Box 1450
Alexandria,  VA 22313-1450



                 AMENDMENT         AND     RESPONSE       TO OFFICE     ACTION

                                  UNDER      37 C.F.R.    §1.111



Sir:
                           In response     to the Office Action    dated June 7, 2011,
applicant        respectfully   requests   that the above-identified     application     be
amended          as follows.




Atty.   Docket    No. NEONODE.P004             -1-
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IN THE CLAIMS:

                                Please cancel claims 15 and 16 without                            prejudice.


                                Please substitute         the following         claims for the pending
claims with the same number:


1. (previously            presented)              A       non-transitory              computer              readable
medium          storing     a computer        program          with computer          program           code, which,
when read by a mobile                     handheld       computer          unit,    allows the computer               to
present        a user interface           for the mobile             handheld       computer           unit, the user
interface        comprising:
                                a touch     sensitive         area     in which      a representation               of a
function         is provided,          wherein     the        representation          consists          of only     one
option        for activating       the function         and wherein          the function           is activated      by
a multi-step              operation       comprising           (i)    an    object     touching           the     touch
sensitive        area at a location           where the representation                 is provided          and then
(ii)    the     object      gliding     along     the     touch        sensitive      area        away     from      the
touched         location.


2. (previously            presented)              The computer             readable         medium        of claim 1,
wherein        the function,          when activated,           causes the user interface                  to display
icons     representing            different      services       or settings          for a currently              active
application.


3. (previously            presented)              The computer             readable         medium        of claim 2,
wherein          the     user     interface      is characterised             in,    that        a selection       of a
preferred         service        or    setting     is done            by   tapping          on     a    display     icon
corresponding             to the preferred        service or setting.



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4. (previously           presented)              The computer             readable      medium        of claim 1,
wherein       the function,         when activated,             causes the user interface                to display
a keyboard         and a text field.


S. (previously           presented)              The computer             readable      medium        of claim 4,
wherein       said text          field is used for inputting               and editing         of text     through
said keyboard.


6. (previously           presented)              The computer             readable      medium        of claim 1,
wherein       the function,         when activated,             causes the user interface                to display
a list     with        a library     of available          applications       and      files    on the      mobile
handheld         computer         unit.


7. (previously           presented)              The computer             readable      medium        of claim 6,
wherein          the    user     interface     is characterised             in, that      a selection        of an
application        or file is done by gliding               the object       along said touch sensitive
area so that a representation                   of a desired one of said application                      or file is
highlighted,           raising     said object      from        said touch    sensitive         area, and then
tapping       on said touch sensitive             area.


8. (previously           presented)              The computer             readable      medium        of claim 7,
wherein       the user interface             is characterised            in, that at any given time said
list presents           only files or only applications,                  and that an area of said list
presents         a field through          which said list can be changed                       from   presenting
files    to      presenting         applications,          or     from     presenting          applications      to
presenting         files.




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        Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 144 of 745




9. (previously           presented)                 The computer        readable         medium       of claim 7,
wherein      the user interface              is characterised         in, that, one item in said list is
highlighted            by a moveable           marking,        and the user interface                 enables     list
navigation         whereby        gliding     the object        along the touch sensitive                area in a
direction        towards       the top of said list or towards                      the bottom        of said list
causes said marking                    to move in the same direction                   without      scrolling     the
list.


10. (previously            presented)               The computer        readable         medium       of claim 9,
wherein          the    user    interface       is characterised             in, that,     if the     number         of
applications           or files in said list exceeds the number                      of applications        or files
that can be presented                   on said touch sensitive              area as content,            and if the
object     is (i) glided along said touch sensitive                      area to the top or bottom                   of
said touch sensitive              area, then (ii) raised above said touch sensitive                             area,
then (iii) replaced            on said touch sensitive               area, and then (iv) again glided
along      said        touch    sensitive       area     to    the    top     or    bottom       of said       touch
sensitive        area,     said list navigation               pages the content            of said list up or
down by one whole page.


11. (previously            presented)               The computer             readable      medium         of claim
10,     wherein         the user interface             is characterised            in, that    if the object         is
raised      from        any    first     position      on said       touch     sensitive       area      and    then
replaced         on any second              position     on said touch             sensitive     area,    said list
navigation         can be continued            from said second position.


12. (previously            presented)               The computer        readable         medium       of claim 1,
wherein      the user interface               is characterised         in, that an active             application,
function,        service       or setting      is advanced           one step         by gliding       the object



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along      the touch      sensitive    area     from     left   to right,    and that    the   active
application,       function,     service    or setting     is closed or backed          one step by
gliding the object along the touch sensitive                    area from right to left.


13. (previously         presented)           The computer         readable    medium     of claim 1,
wherein      the user interface        is characterised         in, that said representation       of
said function         is located at the bottom         of said touch sensitive     area.


14. (previously         presented)           The computer         readable    medium     of claim 1,
wherein      the touch sensitive       area is 2-3 inches in diagonal            dimension.


15. - 17. (cancelled)


18. (previously         presented)           The computer         readable    medium     of claim 1,
characterised         in, that said computer           program     code is adapted       to function
as a shell upon an operating               system.


19. - 47.        ( cancelled)


48. (previously         presented)           The computer         readable    medium     of claim 1,
wherein      the representation        is finger-sized.


49.     (previously     presented)           The computer         readable    medium     of claim 1,
wherein      the location       where the representation           is provided   does not
provide     touch functionality       for a different       function.




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        Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 146 of 745




                                           REMARKS


                         Applicant    has carefully    studied    the outstanding      Office
Action.     The present amendment            is intended   to place the application        in
condition        for allowance    and is believed     to overcome    all of the objections
and rejections        made by the Examiner.           Favorable    reconsideration     and
allowance        of the application    are respectfully    requested.
                         Applicant    has canceled claims 15 and 16.             Claims 1 -
14, 18, 48 and 49 are presented               for examination.
                         On page 2 of the Office Action,          the Examiner       has
indicated        that claims 1 - 14, 18, 48 and 49 are allowed.
                         On page 2 of the Office Action,          the Examiner       has
rejected     claims 15 and 16 under 35 U.S.C. 112, second paragraph,                       as
being indefinite.        Applicant    has cancelled     these claims without
acquiescence         to the Examiner's     reasons for rejection,       and respectfully
submits      that rejection      of these claims is thus rendered        moot.




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                         For the foregoing     reasons,      applicant    respectfully
submits      that the applicable     objections      and rejections      have been overcome
and that the claims are in condition               for allowance.
                         If any matters   can be resolved           by telephone,    applicant
requests         that the Patent and Trademark          Office please contact       applicant's
representative        at the telephone    number        listed below.


                                                     Respectfully submitted,
                                                     SOQUEL GROUP LLC


Dated:      June 9, 2011                             /Marc A. Berger/
                                                     Marc A. Berger
                                                     Reg. No. 44,029
P.O. Box 691
Soquel, CA 95073
(831) 426-8200
Customer No. 75660




Atty.   Docket    No. NEONODE.P004           -7-
               Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 148 of 745
                                      Electronic Acknowledgement Receipt

                           EFSID:                    10265265


                  Application Number:                10315250


            International Application Number:


                 Confirmation Number:                1226




                    Title of Invention:              User interface




          First Named Inventor/Applicant Name:       Magnus Goertz


                   Customer Number:                  75660


                           Filer:                    Marc Aron Berger


                   Filer Authorized By:


                Attorney Docket Number:              NEONODE.P004


                      Receipt Date:                  09-JUN-2011


                       Filing Date:                  10-DEC-2002


                      Time Stamp:                    08:58:11


                    Application Type:                Utility under 35 USC 111 (a)


Payment information:
Submitted   with Payment
                                                   I no
File Listing:
 Document                                                                            File Size(Bytes)/                   Multi         Pages
                      Document Description                File Name
  Number                                                                             Message Digest                     Part /.zip   (if appl.)

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               Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 149 of 745
                                            Multipart Description/PDF files in .zip description

                                    Document Description                                  Start                End


                      Amendment/Req. Reconsideration-After Non-Final Reject                 1                   1



                                             Claims                                         2                   5



                       Applicant Arguments/Remarks Made in an Amendment                     6                   7


Warnings:
Information:
                                                       Total Files Size (in bytes)                 63432


This Acknowledgement Receipt evidences receipt on the noted date by the USPTO of the indicated documents,
characterized by the applicant, and including page counts, where applicable. It serves as evidence of receipt similar to a
Post Card, as described in MPEP 503.

New A~~lications Under 35 U.S.C. 111
If a new application is being filed and the application includes the necessary components for a filing date (see 37 CFR
1.53(b)-(d) and MPEP 506), a Filing Receipt (37 CFR 1.54) will be issued in due course and the date shown on this
Acknowledgement Receipt will establish the filing date of the application.

National Stage of an International A~~lication under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
U.S.C. 371 and other applicable requirements a Form PCT/DO/EO/903 indicating acceptance of the application as a
national stage submission under 35 U.S.C. 371 will be issued in addition to the Filing Receipt, in due course.

New International A~~lication Filed with the USPTO as a Receiving Office
If a new international application is being filed and the international application includes the necessary components for
an international filing date (see PCT Article 11 and MPEP 181 O), a Notification of the International Application Number
and of the International Filing Date (Form PCT/RO/1OS) will be issued in due course, subject to prescriptions concerning
national security, and the date shown on this Acknowledgement Receipt will establish the international filing date of
the application.
                         Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 150 of 745
                                                                                                                                                          PTO/SB/06 (07-06)
                                                                                                                      Approved for use through 1/31/2007. 0MB 0651-0032
                                                                                                U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
                Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it displays a valid 0MB control number.
    PATENT APPLICATION FEE DETERMINATION RECORD                                                               Application or Docket Number     Filing Date
                                             Substitute for Form PTO-875                                               10/315,250             12/10/2002          □   To be Mailed


                                APPLICATION AS FILED- PART I                                                                                                 OTHER THAN
                                                           (Column 1)                     (Column 2)               SMALL ENTITY         [8J   OR             SMALL ENTITY
                       FOR                                NUMBER FILED                 NUMBER EXTRA              RATE($)          FEE($)           RATE($)             FEE($)

 □      BASIC FEE                                             N/A                            N/A                   N/A                                N/A
        (37 CFR 1.16(a), (b), or (c))

 □      SEARCH FEE                                            N/A                            N/A                   N/A                                N/A
        (37 CFR 1.16(k),       (i),   or (ml)

 □      EXAMINATION FEE                                       N/A                            N/A                   N/A                                N/A
        (37 CFR 1.16(0), (p), or (q))
 TOTAL CLAIMS                                                                      *
                                                                 minus 20 =                                      X $        =                 OR   X $        =
 (37 CFR 1.16(i))
 INDEPENDENT CLAIMS                                                                *
                                                                    minus 3 =                                    X $        =                      X $        =
 (37 CFR 1.16(h))
                                                    If the specification and drawings exceed 100
                                                    sheets of paper, the application size fee due
 □ APPLICATION SIZE FEE                             is $250 ($125 for small entity) for each
       (37 CFR 1.16(s))
                                                    additional 50 sheets or fraction thereof. See
                                                    35 U.S.C. 41(a)(1)(G) and 37 CFR 1.16(s).
 □      MULTIPLE DEPENDENT CLAIM PRESENT (37 CFR 1.16(j))

 * If the difference in column 1 is less than zero, enter "O" in column 2.                                        TOTAL                             TOTAL

                              APPLICATION AS AMENDED-                           PART II
                                                                                                                                                         OTHER THAN
                                             (Column 1)                      (Column 2)          (Column 3)            SMALL ENTITY           OR             SMALL ENTITY
                                         CLAIMS                         HIGHEST
                                         REMAINING                      NUMBER                   PRESENT                        ADDITIONAL                         ADDITIONAL
f--      06/09/2011                      AFTER                          PREVIOUSLY                EXTRA
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         □      FIRSTPRESENTATION
                                OF MULTIPLEDEPENDENTCLAIM(37 CFR 1.16(j))                                                                     OR

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                                                                                                                ADD'L               0         OR   ADD'L
                                                                                                                FEE                                FEE
                                             (Column 1)                      (Column 2)          (Column 3)
                                           CLAIMS                         HIGHEST
                                          REMAINING                       NUMBER                 PRESENT                        ADDITIONAL                         ADDITIONAL
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 <(      □      FIRSTPRESENTATION
                                OF MULTIPLEDEPENDENTCLAIM(37 CFR 1.16(j))                                                                     OR

                                                                                                                TOTAL                              TOTAL
                                                                                                                ADD'L                         OR   ADD'L
                                                                                                                FEE                                FEE
 * If the entry in column 1 is less than the entry in column2, write "0" in column3.
                                                                                                                  Legal InstrumentExaminer:
 ** If the "HighestNumber PreviouslyPaid For" IN THIS SPACE is less than 20, enter "20".
                                                                                                                  /JERMAINE MINOR/
 *** If the "Highest Number Previously Paid For" IN THIS SPACE is less than 3, enter "3".
 The "Highest Number Previously Paid For" (Total or Independent) is the highest number found in the appropriate box in column 1.
This collection of 1nformat1on1srequired by 37 CFR 1.16. The 1nformat1on1srequired to obtain or retain a benefit by the public which 1sto file (and by the US PTO to
process) an application. Confidentiality is governed by 35 U.S.C. 122 and 37 CFR 1.14. This collection is estimated to take 12 minutes to complete, including gathering,
preparing, and submitting the completed application form to the US PTO. Time will vary depending upon the individual case. Any comments on the amount of time you
require to complete this form and/or suggestions for reducing this burden, should be sent to the Chief Information Officer, U.S. Patent and Trademark Office, U.S.
Department of Commerce, P.O. Box 1450, Alexandria, VA 22313-1450. DO NOT SEND FEES OR COMPLETED FORMS TO THIS
ADDRESS. SEND TO: Commissioner for Patents, P.O. Box 1450, Alexandria, VA 22313-1450.
                                            If you need assistance in completing the form, ca/11-800-PTO-9199 and select option 2.
                Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 151 of 745
                    UNITED STA IBS      p AIBNT       AND TRADEMARK OFFICE
                                                                                   UNITED STA TES DEPARTMENT OF COMMERCE
                                                                                   United States Patent and Trademark Office
                                                                                   Address:COMMISSIONER FOR PATENTS
                                                                                        P.O. Box 1450
                                                                                        Alexandria., Virginia 22313-1450
                                                                                        www.uspto.gov




   APPLICATION NO.             FILING DATE                 FIRST NAMED INVENTOR   ATTORNEY DOCKET NO.               CONFIRMATION NO.

       10/315,250               12/10/2002                     Magnus Goertz         NEONODE.P004                           1226

       75660            7590             06/07/2011
                                                                                                       EXAMINER
       Soquel Group, LLC
       P.O. Box 691                                                                                 PITARO, RY AN F
       Soquel, CA 95073
                                                                                       ART UNIT                       PAPER NUMBER

                                                                                          2171



                                                                                       MAIL DATE                     DELIVERY MODE

                                                                                       06/07/2011                          PAPER


Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.




PTOL-90A (Rev. 04/07)
                        Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 152 of 745
                                                                                     Application No.                                Applicant(s)

                                                                                      10/315,250                                    GOERTZ, MAGNUS
                      Office Action Summary                                          Examiner                                       Art Unit
                                                                                     RYAN PITARO                                    2171
                 -- The MAILING DA TE of this communication appears on the cover sheet with the correspondence address --
  Period for Reply
        A SHORTENED STATUTORY PERIOD FOR REPLY IS SET TO EXPIRE ;J.MONTH(S) OR THIRTY (30) DAYS,
        WHICHEVER IS LONGER, FROM THE MAILING DATE OF THIS COMMUNICATION.
           Extensions of time may be available under the provisions of 37 CFR 1.136(a). In no event, however, may a reply be timely filed
           after SIX (6) MONTHS from the mailing date of this communication.
           If NO period for reply is specified above, the maximum statutory period will apply and will expire SIX (6) MONTHS from the mailing date of this communication.
           Failure to reply within the set or extended period for reply will, by statute, cause the application to become ABANDONED (35 U.S.C. § 133).
           Any reply received by the Office later than three months after the mailing date of this communication, even if timely filed, may reduce any
           earned patent term adjustment. See 37 CFR 1.704(b).

  Status

         1)IZI Responsive to communication(s) filed on 30 June 2010.
      2a)O        This action is FINAL.                            2b)IZI This action is non-final.
        3)0       Since this application is in condition for allowance except for formal matters, prosecution as to the merits is
                  closed in accordance with the practice under Ex parte Quayle, 1935 G.D. 11, 453 O.G. 213.

  Disposition of Claims
        4)1Zl Claim(s) 1-16. 18.48 and 49 is/are pending in the application.
                 4a) Of the above claim(s) __                  is/are withdrawn from consideration.
         5)1Zl Claim(s) 1-14. 18.48 and 49 is/are allowed.
         6)[8J Claim(s) 15 and 16 is/are rejected.
         7)0      Claim(s) __          is/are objected to.
         8)0      Claim(s) __          are subject to restriction and/or election requirement.

  Application Papers
         9)0 The specification is objected to by the Examiner.
       10)0 The drawing(s) filed on __                     is/are: a)O accepted or b)O objected to by the Examiner.
                  Applicant may not request that any objection to the drawing(s) be held in abeyance. See 37 CFR 1.85(a).
                  Replacement drawing sheet(s) including the correction is required if the drawing(s) is objected to. See 37 CFR 1.121 (d).
       11)0 The oath or declaration is objected to by the Examiner. Note the attached Office Action or form PTO-152.

  Priority under 35 U.S.C. § 119
       12)0 Acknowledgment is made of a claim for foreign priority under 35 U.S.C. § 119(a)-(d) or (f).
             a)O All         b)O Some * c)O None of:
                  1.0       Certified copies of the priority documents have been received.
                  2.0       Certified copies of the priority documents have been received in Application No. __                                      .
                  3.0       Copies of the certified copies of the priority documents have been received in this National Stage
                            application from the International Bureau (PCT Rule 17.2(a)).
             *Seethe attached detailed Office action for a list of the certified copies not received.




  Attachment{s)
  1) [8J Notice of References Cited (PTO-892)                                                       4)   0   Interview Summary (PTO-413)
  2) 0   Notice of Draftsperson's Patent Drawing Review (PTO-948)                                            Paper No(s)/Mail Date. __      .
  3) [8J Information Disclosure Statement(s) (PTO/SB/08)                                            5)   0   Notice of Informal Patent Application
         Paper No(s)/Mail Date 12/21/2010.                                                          6)   0   Other: __     .
U.S. Patent and Trademark Office
PTOL-326 (Rev. 08-06)                                                   Office Action Summary                                Part of Paper No./Mail Date 20110606A
     Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 153 of 745


Application/Control Number: 10/315,250                                                                     Page 2
Art Unit: 2171

                         Continued Examination Under 37 CFR 1.114

       A request for continued examination under 37 CFR 1.114, including the fee set

forth in 37 CFR 1.17(e), was filed in this application after final rejection. Since this

application is eligible for continued examination under 37 CFR 1.114, and the fee set

forth in 37 CFR 1.17(e) has been timely paid, the finality of the previous Office action

has been withdrawn pursuant to 37 CFR 1.114. Applicant's submission filed on

6/30/2010 has been entered.



                                      Allowable Subject Matter

       Claims 1-14, 18,48-49 are allowed.



                                 Claim Rejections - 35 USC § 112

       The following is a quotation of the second paragraph of 35 U.S.C. 112:

       The specification shall conclude with one or more claims particularly pointing out and distinctly
       claiming the subject matter which the applicant regards as his invention.

       Claims 15-16 are rejected under 35 U.S.C. 112, second paragraph, as being

indefinite in that it fails to point out what is included or excluded by the claim language.

This claim is an omnibus type claim.



                                      Response to Arguments

       Applicant's arguments, filed 6/30/2010, with respect to claims 1-14, 18 have been

fully considered and are persuasive. The rejections of claims 1-14, 18 have been

withdrawn.
     Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 154 of 745


Application/Control Number: 10/315,250                                            Page 3
Art Unit: 2171




                                      Conclusion

      Any inquiry concerning this communication or earlier communications from the

examiner should be directed to RYAN PITARO whose telephone number is (571)272-

4071. The examiner can normally be reached on 9:00am - 5:30pm Mondays through

Fridays.

       If attempts to reach the examiner by telephone are unsuccessful, the examiner's

supervisor, Chat Do can be reached on 571-272-3721. The fax phone number for the

organization where this application or proceeding is assigned is 571-273-8300.

       Information regarding the status of an application may be obtained from the

Patent Application Information Retrieval (PAIR) system. Status information for

published applications may be obtained from either Private PAIR or Public PAIR.

Status information for unpublished applications is available through Private PAIR only.

For more information about the PAIR system, see http://pair-direct.uspto.gov. Should

you have questions on access to the Private PAIR system, contact the Electronic

Business Center (EBC) at 866-217-9197 (toll-free). If you would like assistance from a

USPTO Customer Service Representative or access to the automated information

system, call 800-786-9199 (IN USA OR CANADA) or 571-272-1000.


/Ryan F Pitaro/
Primary Examiner, Art Unit 2171
     Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 155 of 745


Application/Control Number: 10/315,250                                Page 4
Art Unit: 2171
                         Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 156 of 745
                                                                                     Application/Control   No.           Applicant(s)/Patent Under
                                                                                                                         Reexamination
                                                                                     10/315,250                          GOERTZ, MAGNUS
                  Notice of References Cited
                                                                                     Examiner                            Art Unit
                                                                                                                                             Page 1 of 1
                                                                                     RYAN PITARO                         2171
                                                                           U.S. PATENT DOCUMENTS
                         Document Number                   Date
 *                Country Code-Number-Kind Code          MM-YYYY                                       Name                                  Classification

 *       A      US-7,880, 724                           02-2011           Nguyen et al.                                                        345/168

         B      US-

         C      US-

         D      US-

         E      US-

         F      US-

         G      US-

         H      US-

          I     US-

         J      US-

         K      US-

         L      US-

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                                                                       FOREIGN PATENT DOCUMENTS
                         Document Number                   Date
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*A copy of this reference 1snot being furnished with this Office action. (See MPEP § 707.05(a).)
Dates in MM-YYYY format are publication dates. Classifications may be US or foreign.

U.S. Patent and Trademark Office
PTO-892 (Rev. 01-2001)                                                  Notice of References Cited                       Part of Paper No. 20110606A
EAST
   Search
       History
                        Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 157 of 745




          EAST
            Search
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                History
                     (Prior
                         Art)


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                                                                                                     iON 12011/06/06
            i       I    i                                              !USPAT;
                                                                             EPO;i                   i   100:26    I
          :i        i       i                                           iJPO
                                                                           DEDIA/ENT
                                                                                 i                   i   i         i
            i       !       !                                           I ;    nvv    !              !     I            I
            1


            L2 !47832!(glide
                          flick
                              touchswipe)
                                       with(representation
                                                    icon lUS-PGPUB;  iOR                             !·:.::ONj2011/06/06I
               1
                    1
                     1function)                            jUSPAT;
                                                                 EPO;i                               1
                                                                                                      :      108:27     i
           ' I       '      1                              lJPO;DERWENT
                                                                     i                                '      i          I
           iL3 13314i(glide
                          flick
                              touchswipe)
                                       with(representation
                                                    icon lUS-PGPUB;  !OR                              !ON 12011/06/06   I
          i    I     !function)
                             with(activate
                                       activation
                                              open
                                                 start)    ~USPAT;
                                                                 EPO;i                                i      !08:27     i
           i
          ::
               il    il                                    lJPO·
                                                           ~  '
                                                                DERWENT
                                                                     il                              i1    I
                                                                                                           ~
                                                                                                                        i
                                                                                                                        .!

            .L4 11037!(glide
            .
          .:::::l         flick
                              touchswipe)
                                       with(representation
                                                    icon IU&PCPUB; loR                                            i
                                                                                                     ION 12011106/06
            :
            1
                !    !function)
                             with(activate
                                       activation
                                              open
                                                 start)
                                                     and lUSPAT;
                                                               EPO;i                                 i   lo8:27   I
            111
                !    i@ay<="2002"                          !JPO;
                                                              DERWENT
                                                                  .i                                 i   1        I
            IL5 i104 !(glide
                          flick
                              touchswipe)
                                       with(representation
                                                    icon iU&PCPUB; iOR                               i::::.ON
                                                                                                            i2011/06/06
                                                                                                                    """I
          i     I    !function)
                             with(activate
                                       activation
                                              open
                                                 start)
                                                     and lUSPAT;
                                                               EPO;i                                 I
                                                                                                            lo8:27       I
            !   I    !@ay<="2002"and"715"/$.ccls.          iJPO;
                                                              DERWENT
                                                                   !                                 .      !            I
            iL6 1121 !(glide
                          flick
                              touchswipe
                                       slide)
                                           with(representation
                                                         iconjUS-PGPUB;
                                                                      ioR                            ioN   j2011/06/06I
            i   I    ifunction)
                             with(activate
                                       activation
                                              openstart)
                                                      and lUSPAT; EPO;!                              !     !08:29     I
            i   I    i@ay<="2002"and"715"/$.ccls.            ~JPO;
                                                                DERWENT
                                                                      i                              i     !          I
          !L7 !121 !(glide
                        flick
                            touchswipe
                                     slide)
                                         with(representation
                                                      iconiu&PGPUB;
                                                                  !OR                                !ON j2011/06/06    I


          i I      ifunction)
                           with(activate
                                     activation
                                            openstart
                                                   unlock)lUSPAT;
                                                              EPO;i                                  i   !08:29    I
          !   I    !and@ay< ="2002"
                                  and"715"/$.ccls.        iJPO;
                                                             DERWENT
                                                                  !                                  !   !         I
          J8        1224 i(glide
                              flick
                                  touch
                                     swipeslidedrag)
                                                   with(representation
                                                                 jUS-PGPUB;iOR                       iON j2011/06/06i
          i         I    !icon
                             function)
                                    with(activate
                                               activation
                                                      openstart lUSPAT;EPO;i                         i   108:30     I
          !         I    !unlock)
                                and@ay<="2002"and"715"/$.ccls. lJPO; DERWENT
                                                                           !                         !   j          I
          \9        12      !touch
                                 near2
                                     (flick
                                          slide
                                              swipe
                                                 across
                                                     glide)
                                                         with           jUS-PGPUB;
                                                                                 iOR                               I
                                                                                                     iON 12011/06/06
          i         I       iactivate
                                  and@ay< "2002"                        lUSPAT;
                                                                             EPO;i                   i   j08:32    I
          ::i       i
                    ;       i;                                          iJPO·
                                                                        ~
                                                                            DEDIA/ENT
                                                                           , nvv i:                  i:    i
                                                                                                           ~
                                                                                                                        i!
          ::        )       i                                           )             i              i     •            I




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           iuo 11        !touch
                              near4
                                  (llidk
                                       slide
                                           swipe
                                              across
                                                  glide)
                                                      with              IUS-PGPUB;
                                                                                 !OR                 1:.ON!2011/06/06
           i   I         !activate
                               with(icon
                                       button)
                                             and  "2002"
                                               @Jay<                    ILJ3>AT;
                                                                             EPO;i                   •    joB:33
           i     I       :                                              iJPO;    i
                                                                           DERWENT                                  I
          •::•:.l::L11
                  !2422!(flidk
                            gestureslide)
                                       and     "2002"
                                          @Jay<=   and"715"/$.IUS-PGPUB;loR                          !::ON !2011
                                                                                                              /06/
                                                                                                                 06
          •       I    lccls.                                  ILJ3>AT;
                                                                    EPO;I                            •     ioB:33
                  I    ,:= ===========~JPO;                             !
                                                                  DERWENT                            ;nun==,!====


          iu2 111 i(glide    llidk
                                 swipe)
                                      withocreen
                                              and"715"/$.ccls.
                                                         and IUS-PGPUB; IOR                          l::ON j2011/06/06
          I       I    !_®AY<="2002"                           ILJ3>AT;
                                                                    EPO;i                            •     I0B:33
          i       I    :                                       !JPO;    !
                                                                  DERWENT                                           !
          .IU3 i1592 1715/
                       716.
                          eds.                                          IUS-PGPUB;
                                                                                 !OR                 !OFF 12011
                                                                                                             /06/
                                                                                                                06
           i     I       :                                              jUSPAT;  i
                                                                             usocR                   :    io8:33
                                                                                                                    ===

           il14 i659 1.715/864.cds.                         IUS-PGPUB;
                                                                     !OR                             I.ON j2011/06/06
           i I       ,:= ==============~USPAT;                       !
                                                                 USOCR                               :     i08:33
           IL15 13 i(touch linger)
                                with(glide
                                        flick
                                            swipe)
                                                withocreen
                                                        and IUS-PGPUB;
                                                                     IOR                             l::.ON!2011/06/06
           :    1    !."715"/$.ccls.
                               and@AY<="2002"               ILJ3>AT;
                                                                 EPO;i                               •     ioB:34
           i    I    I                                      ~JPO;    !
                                                               DERWENT                                              !
          •::•::.l:::L16
                  133 !(touch
                            linger)
                                 with(glide
                                         flick
                                             swipe
                                                slide)
                                                    with
                                                       ocreen
                                                           IUS-PGPUB;
                                                                   !OR                               l::.ON!2011/06/06
          i       I     !and
                           "715"/$.ccls.
                                   and@AY<="2002"              EPO;!
                                                           !USPAT;                                   :     !08:34
                 I       ~----------~JPO;                                   DERWENT·!                ~-,l----
           !S1 i2        l::."7441196".pn.                              IUS-PGPUB;
                                                                                 IOR                 l::.OFF
                                                                                                           !2008/12/08
               I         •                                              ILJ3>AT;
                                                                             EPO;I                   •     117:03
                 I                                                      iJPO;    i
                                                                           DERWENT                                  I
           iS1 1394 iswipe
                        with
                           ocreen                                       IUS-PGPUB;!OR                l:::.:-"""ON--""!2-00~8/1-2/
           1     1       1
                                                                             EPO·!
                                                                        lusPAl                       :       117:05
           I     I       I                                              IJPD;
                                                                           o'rnN~TI                  ~~      """~
                                                                                                               __   _
           'Sl   1606 l::.(glide
                           swipe)
                                with
                                   screen                               !U&PGPUB;!OR                 !ON !2008/12/08
                 !       •                                                   EPO;i
                                                                        ILJ3>AT;                         !17:05
                 I       ~-                                             jJPO;    i
                                                                           DERWENT                                  I
                 12      l::"7286063".pn.                               IUS-PGPUB;
                                                                                 IOR                 l::ON l2008/12/08
                 i       •                                              ILJ3>AT;
                                                                             EPO;I                   •     117:10
                 I                                                      pPO;     i
                                                                           DERWENT                                  i




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                 1263 !("20010003845"
                                   I "20010012286"
                                                 I "20010016947"
                                                               I lU&PGPUB;!OR
                 i
                 :    !"20010034647""20010042002" "20010044751"   IUSPAT;
                                                                      USOCR
                                                                          !
                 I
                 i    1"20010049824""20010051903" "20020007309"   j       !
                 i
                 l    !"20020010642""20020016750" "20020029339"   i       i
                 i
                 i    1"20020032782""20020035174" "20020038256"   j       i
                 I
                 :
                      !"20020038259""20020042914" "20020042921"   1
                                                                                      I

                 i    1"20020049631""20020056098" "20020059590"   j       !
                 I
                 i
                 :
                      !"20020067376""20020077177" "20020078006"   I       i
                 i
                 i    1"20020078453""20020098834" "20020115292"   1       i
                 l    !"20020116320""20020166122" "20030046182"   I       !
                 i
                 i
                 l
                      !"2003007
                            4661"   "20030095525" "20030126607"   I       i
                 i
                 i
                      1"20030140011""20030146940" "20030149628"   1       i
                 i
                 l
                      !"20030182195""20040003412" "20040098747"   I       i
                 i
                 i
                      1"20040103439""20040117831" "20040128137"   1       i
                 :
                 i    !"20040133848""20040148625" "20040204116"   1       I
                 :
                 i
                 i
                      1"20040210824""20040260689" "20050010949"   j       !
                 l    !"20050025550""20050015932" "20050086690"   1       I
                 i                                                1       1
                 i
                 i
                      i"20050091118""20050160458" "20050234895"
                 :
                 :    !"20050246231"            I "20060224987"
                                    "20060155598"                       I I
                 i
                 i    1"20070008332""3586771"
                                            I "4650977"I "4706121"
                                                                I       l             I
                 I
                 :    !"4992940"
                               "5041312"
                                   1      "5064999"
                                             1       "5119188" j
                                                       1          I       !
                 i
                 I
                 :
                      1"5236199"
                             I "5321749"I "5353016"I "5410326"
                                                             I          l             I
                 i    !"5479268"
                             I "5532735"I "5553242"I "5559548"
                                                             I    j       !
                 i
                 i    !"5598523"
                             I "5602596"I "5617570"I "5625781"
                                                             I    j       !
                 l
                 i
                 i
                      1"5710887"
                             I "5727129"I "5734719"I "5758126"
                                                             I          l             I
                 l    !"5794210"
                             I "5796252"I "5801702"I "5809204"
                                                             I    j       !
                 i
                 i    1"5819220"
                             I "5822014"I "5828839"I "5832208"
                                                             I    j       !
                 I
                 :
                 i
                      !"5832459"
                             I "5838314"I "5848396"I "5851149"
                                                             I    l       !
                      1"5874906"
                             I "5878222"I "5890175"I "5893064"
                                                             I    j       !
                 I
                 i
                 :    !"5895454"
                             I "5896133"I "5900905"I "5902353"
                                                             I    l       !
                 i
                 i    1"5903729"
                             I "5911145"I "5918014"               l
                                                   I "5918213").PN.       !
                 l    !OR("5925103"
                                 I "5931901"I "5935002"I "5946381"
                                                                I j       !
                 i
                 i
                 i    !"5956681"
                               "5956693"
                                   1      "5958012"
                                             1       "5960411" j
                                                       1          I       !
                 l
                 i    1"5961593"
                             I "5978381"I "5990927"I "6002853"
                                                             I    l                   I

                 i
                 l    !"6005562"
                             I "6005631"I "6006257"I "6012049"
                                                             I    j       !
                 i
                 i
                 :
                      !"6014502"
                             I "6018372"I "6025837"I "6028600"
                                                             I    l                   I


                 i
                 :
                      !"6031537"
                             I "6041312"I "6054989"I "6072483"
                                                             I    j       !
                 i
                 i
                 :
                      !"6072492"
                             I "6075575"I "6078866"I "6091417"
                                                             I          l             I
                 I
                      !"6094156"
                         '
                               "6101473"
                                   1      "6112186"
                                             1       "6129274" j
                                                       1          I
                                                                        I
                                                                          !           '




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                          !"6138107"
                                  "6142371""6151050""6151059"
                          !"6151596"
                                  "6151630""6154205""6160552"
                          !"6167382"
                                  "6172677""6177936""6193152"
                          !"6198481"
                                  "6199050""6199077""6199098"
                          !"6205432"
                                  "6205582""6211878""6212265"
                          !"6223215"
                                  "6226623""6226642""6229540"
                          !"6237030"
                                  "6243093""6253189""6260192"
                          !"6266060"
                                  "6269343""6269361""6269403"
                          !"6271832"
                                  "6282516""6285357""6285987"
                          !"6286017"
                                  "6286043""6288716""6292779"
                          !"6292782"
                                  "6292786""6292809""6295057"
                          !"6298330"
                                  "6300947""6301566""6312336"
                          !"6314406"
                                  "6317706""6330005""6330543"
                          !"6333753"
                                  "6334108""6334145""6336131"
                          !"6337715"
                                  "6345279""6356905""6381583"
                          !"6388714"
                                  "6396531""6397387""6401132"
                          !"6407779"
                                  "6411307""6411337""6415270"
                          !"6417873"
                                  "6418441""6421066""6421071"
                          !"6421724"
                                  "6438540""6445398""6460181"
                          !"6476825"
                                  "6477575""6484149""6487189"
                          !"6487586"
                                  "6490555""6509913""6516311"
                          !"6522342"
                                  "6532312""6535888""6570582"
                          !"6571279"
                                  "6583800"
                                         I "6606103""6606280"
                          !"6606347").A\J.
                                    OR("6608633"
                                              I "665247"
                                                       I
                          !"6615248"
                                I "6618039"
                                         I "6631523"
                                                  I "6636246"
                                                          I
                          !"6647373"
                                I "6662224"
                                         I "6680714"
                                                  I "6684062"
                                                          I
                          !"6692358"
                                I "6704727"
                                         I "6711552"
                                                  I "6714534"
                                                          I
                          !"6728731"
                                I "6769989"
                                         I "6804786"
                                                  I "6826572"
                                                          I
                          !"6829646"
                                I "6857102"
                                         I "6868525"
                                                  I "6907556"
                                                          I
                          !"6925595"
                                I "692861
                                       O"I "6938073"
                                                  I "6973669"
                                                          I
                          !"6978263"
                                I "7013435"
                                         I "7020845"
                                                  I "7051281"
                                                          I
                          !"7174512"
                                I "7293276"
                                         I "7383515").PN.

          iffi   !112 itouch
                          wiMdewithfunction                             IU&PCPUB;
                                                                                iOR                    l:!ON !2008/12/08
           !     I        !                                             ~USPAT; !
                                                                            USOCR                      .     i17:14
                          ,..............---------                                    ,..............~~-=,,...--~

                          1i~~~~~;~"I I"~~~~:~~"I I"~~~~~~!~"I I"~!;~~~~~"1 I ~:~~
                 113
                 :




          r
                 i
                 :                                                      1::::::,      l::::::OR        l::::::OFF
                                                                                                               l::::::.~~~18~
                                                                                                                     12/08
                 i
                 :        !"5687331"
                                I "5736974"
                                        I "5736976"
                                                I "5761485"
                                                        I
                 i
                 i
                 :i       !"5838973").A\J.




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            'ffi   1168267
                       lobject
                            near3
                               type                                     1~:~~         IOR            IOFF 1;~~:;12108

            1.ffi js          i(file
                                   item
                                      object)
                                          near3
                                              type
                                                 withopen
                                                        near3           IU&PCPUB;
                                                                                loR                  I.OFF j2008/12/08
          i     I             irespective
                                      _________                         ~USPAT; i
                                                                            USOCR                    :     117:21
          .:s10 1905 lopen$3with
                               different
                                       withprogram                      IU&PCPUB;IOR                 IOFF 1"""'200-8/-12/-08-
          i     i    """':
                        __________                                      jUSPAT;  I
                                                                             USOCR                   I    111:23
          1s11 12 ImuItiplenear3 filenear3
                                        select
                                             ionwithopen                IU&PCPUB;IOR                 ION 12008/
                                                                                                              12/
                                                                                                                08
          i     I    """':
                        __________                                      iusPAT;
                                                                             USOCR
                                                                                 j                   :    ~_17_:29_~
          :1s121,11 !applying
                            withcommand with(plurality
                                                   multiple)
                                                         with           lUS-PGPUB;
                                                                                !OR                  .0N
                                                                                                     1   12008/12/08
          i     i    !tiles                                             jUSPAT; !
                                                                             USOCR                   :
                                                                                                     1   111:29
            1S13j29188
                     i(fIickstroke)
                                 with(open
                                         application
                                                command) IU&PCPUB;IOR                                 OFF !2008/
                                                                                                     I:::_    12/
                                                                                                                1O
            i   i    i                                   lUSPAT;
                                                              EPO;i                                   :   116:52
            I I      I                                   IJPO;
                                                             DE~ENT
                                                                  I
                                                                                                      :----,---=
                                                                                                                   i
            1S14229 (flick)
                   1      with(open
                              1  application
                                        command)                        I~~~;         IOR            iON 1;~~~12/10

          :        11         :
                              1                                         jJPO;  I
                                                                           DERWENT                                 !
          ··•
          ...
          l!_::S15
                1127 j(flick)
                            with(open
                                   application
                                          command)
                                               and                      IU&PCPUB; IOR                !::ON 12008/12/10
          :     :  1

                     1!.@aY<
                           ="2002"                                      ILJSlAT;
                                                                             EPO;I                   •     116:56
                   i          :                                         jJPO;
                                                                           DERWENT
                                                                                 'i                                l
          _1::S16
          ..
          ··•  is             i(flick)
                                     with(open
                                             application
                                                    command)and         IU&PCPUB;IOR                 1
                                                                                                     :::0N j2008/12/10
          :        i          l@aY< ="2002"and
                                             ''715"/$.ccls.             ILJSlAT;
                                                                             EPO;I                   •
                                                                                                     1     116:56
                   I          :
                              1                                         jJPO;
                                                                           DERWENT!                  ~~~
            !S17139           !::::(flick)
                                     and@ay<="2002"
                                              and
                                                "715"/$.ccls.           lUS-PGPUB;!OR                1!.::::ON
                                                                                                            j""""200=8/=121=rn~
          ::
             !     !,
                   :
                              :                                         lUSPAT'
                                                                        ~   '
                                                                              EPO·
                                                                                '
                                                                                  !I                 :      116:57
                                                                                                            ~
             i     I                                                    jJPO;
                                                                           DERWENT !                               !
            1S181961 i,(flick
                           gesture)
                                and@ay<="2002"
                                         and          I~~~;
                                           "715"/$.ccls.                              IOR            .0N 1;~~:~12110
                                                                                                     1




          :        I          :                                         jJPO;  i
                                                                           DERWENT                   1
                                                                                                      :            !
          ••.l::S19
                 .2324j(flick
                   1        gesture
                                slide)
                                    and@aY<="2002"
                                            and
                                              "715"/$.IU&PCPUB; IOR                                  ::ON j"""'2o0-8/-12/-rn~
                                                                                                     1
                                                                                                     .




          ·•          lccls.                                EPO;I
                                                      ilJSlAT;                                       . 116:58
                                                                                                     1




                      I
                   1111



                                                      iJPO;     i
                                                          DERWENT
                                                                                                     1

                                                                                                                   I
             •::.S20
             ·
          .. !
          ••       177 j(flick
                             gesture
                                 slide)
                                     and@ay<="2002"
                                              and                       jUS-PGPUB;
                                                                                 !OR                 i
                                                                                                     !::.0N j2008/12/10
                       !."715"/702,864.ccls.                            lUSPAT;
                                                                             EPO;!                          j16:59
             1                                                                                       1

          ••1      i                                                                                 i
                   I          :
                              1                                         jJPO;    i
                                                                           DERWENT                                 ~



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          .::!::S11
                 6585 l::finger
                           1near3
                           •.   (flick
                                     gesture
                                         ~ide)
                                             and@ay<="2002"                       I~~~;   IOR        !::ON 1;~~i;12110
                                                                                  jJPO;
                                                                                     DERWENT
                                                                                         !                                !
                                                                                                                          ----
                           11




          .::::l::::,S12
                   86 !finger
                           1  near3
                                  (flick
                                       gesture
                                           ~ide)
                                               and
                                                 @aY<="2002"
                                                          IU&PCRJB;
                                                                  iOR                                l::::.ON
                                                                                                            j2008/12/10
                         l::and
                             "715"/$.ccls.                ~USPAT;
                                                              EPO;!                                         j17:07
          •
                           11111




                                                          ~JPO;
                                                             DERWENT
                                                         ---------
                                                                  !                                                       i
                                                                                                                          ---WWW




          !S13 lo                        i"5543591,5943052,5907327,4686332"
                                                              .pn.     IU&PCRJB;
                                                                              !OR                    l:::.ONj2008/ o
                                                                                                                1211
          .::_i:::                       i::,                                     !USPAT;
                                                                                       EPO;I                              j17:14
                                                                                                                          !
                           ii::




                                                                                  pPO;
                                                                                     DERWENT
                                                                                           I
          !S24 18                        1("5543591-"
                                                ,-,59-430-52-"
                                                       "-590-73-27-"
                                                             "4-68-63-32'-').p-n.
                                                                      -IU&PCRJB; !OR                 l:::.ON!-200-8/-12/_10_
                           I::,          I::                                          EPO;I
                                                                                  jUSPAT;                                 j17:15
                                                                                                                          !
          1::1::




                                                                                  iJPO;   I
                                                                                     DERWENT
                                         ~----------
          .::_ I::,   S!5 93647l::.(glide
                           1         flick
                                         touch
                                             swipe)
                                                 withocreen                       I~~~;   IOR        l::.ON1;~~
                                                                                                             18~12/17
                           111
                                                                                  ~JPO;  !
                                                                                     DERWENT                              ~
          !.S261,13098
                    !(glide
                         flick
                             touch
                                swipe)
                                    withscreen
                                            with(applications
                                                          lU&PGPUB;  !OR                             !ON !2008/12/17
           :
          ::
               :l   !functions)
                    \
                                                          lUSPAT;
                                                          \
                                                                EPO;!\                               !\  j13:20
                                                                                                         \
          •:!:  !   !:     1
                                                          lJPO·
                                                          ~  '
                                                               DERWENT
                                                                     !i                               !i !~
                   Isa !(glide
          :::::::i::::::S27    flick
                                   touch
                                       swipe)
                                           withscreen
                                                   with(applications
                                                                 ~U&PGPUB;
                                                                         !OR                         !::::::ON
                                                                                                             j2008/12/17
                   i      !:_functions)
                                   and
                                     "715"/$.ccls.
                                              and@AY=
                                                    "2002"       lUSPAT;
                                                                     EPO;I                                   !13:20
                   I                                             jJPO;
                                                                    DERWENT
                                                                         !                                                i
                           i             ,===========~                                    :          ==,:====



          .:::::_l:::::.S18
                 .430 !(glide
                           1  flick
                                  touch
                                      swipe)
                                          withocreen
                                                  with(applications
                                                                !U&PCRJB;
                                                                        !OR                          l:::::.ON
                                                                                                             12008/12/17
                         !:.functions)
                                  and
                                    "715"/$.ccls.
                                             and@AY<="2002" jUSPAT; EPO;!                                    j13:20
                                                                iJPO;   !
                                                                   DERWENT
                           11111




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                           ~~.===-========~                                                          ,........-.=-=====




          .::_!::.S19
                 1::.0 i::_i~~~~~~:
                                 1~.'.\~.::~;n~i:l            ::~f   ~:~i~;~~~~   I~~~;
                                                                                  jJPO;
                                                                                  ~
                                                                                         IOR
                                                                                     DERWENT
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                                                                                                     !::.ON1;~~:;12/
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                                                                                                                 17
                                                                                                     ~=,==-=



                      ffiO 111 !(glide
          .::::::l:::::             flick
                                        swipe)
                                            withscreen
                                                    and"715"/$.ccls.
                                                               and ju&PGPUB; !OR                     i:::::
                                                                                                      0N j2008/12/17
                           1   i::_@AY<="2002"                           EPO;I
                                                                     lUSPAT;                                j13:21
               1
                           i                                         ~JPO;   I
                                                                        DERWENT                      1
                                                                                                                          !
          iffi1 1219 !(glide
                          flick
                              gesture
                                  swipe)
                                      withscreen
                                              and"715"/$.ccls.
                                                         jU&PGPUB; IOR                               ION j2008/12/17
            !   I    !and@AY<="2002"                     ~USPAT;
                                                               EPO;!                                 !   !13:22
          i:;   !:   i;                                  lJPO·
                                                         ~  '
                                                                   i;
                                                              DERWENT                                i;  !~




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          .::!::Sl2
                 1,299!::(glide
                           flick
                               swipe)
                                   withocreen
                                           and@AY<="2002"               I~~~;         IOR            !::ON 1;~~:t2/17
                   1                                                    jJPO;
                                                                           DERWENT
                                                                               !                           !
                                                                                                           ~~~




                                !(glide
                                     flick
                                         swipe)
                                             withscreen
                                                     withicon
                                                            and         IU&Pffi.JB;
                                                                                 IOR                 l::::,ONj2008/12/17
                                l®AY<="2002"                            lUSPAT;
                                                                             EPO;!                           j13:26
                                                                        iJPO;
                                                                           DERWENT
                                                                                 !                           i
           !ffi4 !16            !("20010011308"
                                            I "20030142138"
                                                        I "20040034801"
                                                                   I !US-PGPUB;
                                                                              !OR                    !::::::ON
                                                                                                             1"""'200-8/-12/-17-
          i      !              1"20050253817"
                                           I "20050253817"
                                                       I "20050264833"    EPO;i
                                                                  I !USPAT;                                  j13:30
           i       I            :"5821933"
                                       I "5907327"
                                                 I "6633310").PN.    pPO;     i
                                                                        DERWENT                            !
           isi5 !451 !(glide
                          flick
                              swipe)
                                  withlinger
                                          and@AY<="2002"
                                                      IU&Pffi.JB;IOR                                 l:::.ON!"""'200-8/-12/-17=
          1::1::   I::,         I::                                     il&AT;EPO;
                                                                        iJPO;     i
                                                                            DERWENT
                                                                                      i                    1,13:32
                                                                                                           ;
                   ~='"'"'=----------                                                                      ----
          .::::::i::::::ffi6
                   13      !(glide
                                flick
                                    swipe)
                                        withfinger
                                                and@AY<="2002"
                                                        and lUS-PGPUB;
                                                                     !OR                             !::::::ON
                                                                                                             !2008/12/17
                           l::_"715"/$.ccls.                lUSPAT;
                                                                 EPO;!                                       j13:32
                                                            ~JPO;    !
                                                               DERWENT                                     ~
                   111111




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          •.
          i_ffi7 1:13 !("5250929"
                             I "5568604"
                                     I "5579036"
                                             I "5612719"
                                                     I   lUS-PGPUB;
                                                                  !OR                                i:::::::::OFF
                                                                                                               !2008/12/17
          i        1
                      !"5661476"
                              "5748185"
                                      "5767457"
                                       1      "5883617" lusPAT;
                                                1       1         I
                                                              usocR
                                                                  1                                            !14:01
           I I                                 I "5943044"
                                1::~~!!~~:::/~~43043"  I "5995083"
                                                               I        I             I                    I

          !ffi8 !918 !715/716.ccls.                                    )US-PGPUB; !OR                !OFF !2008/12/17
          !        I !     =----==----=iusPAT;                              usocR !                  !     !15:38
          !Sl9 17 1715/716.ccls.
                              anddvdnear
                                       menu                            !U&Pffi.JB;IOR                !::OFF!2008/12/17
          !     I i                                                    !USPAT;
                                                                            USOCR i                        i15:38
           IS40 i,9             1::.715/716.ccls.
                                         and
                                           dvdnearmenu                  jUS-PGPUB;
                                                                                !OR                  l::.ON !2008/12/17
           i    I               ·==========~USPAT;                              !
                                                                             USOCR                          j15:38
                                1715/716.ccls.
                                         and
                                           dvd                          lUS-PGPUB;
                                                                                !OR                         j2008/
                                                                                                                12/
                                                                                                                  17
                                                                        !USPAT;
                                                                        \
                                                                                i
                                                                             USOCR    !
                                                                                                            i15:47
                                1715/716.ccls.
                                       andmenu     !US-PGPUB;
                                                            !OR                                            !2000112111
                                                   lUSPAT;
                                                        USOCR
                                                            !:          ~
                                                                                                           l15:47
                                                                                                           :
           !S43 139 ·:715/716.c.=cls=.
                             a=nd=m=en=u
                                   a=nd=t=hem=e---=lUS-PGPUB;!OR                                           !2008/
                                                                                                               12/
                                                                                                                 17
           i    I i                                1usPAT;
                                                        usocRi                                             i15:48
          •::_l::.S44
                 !243 1::.715/716.ccls.
                               andmenu
                                     andeffects                         lUS-PGPUB;
                                                                                 !OR                 l::.ON !2008/12/17
                   I                                                         usom!
                                                                        iusPAT;                             115:52




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           !S45j4                 !:.715/716.cds.
                                           and
                                             menuwith
                                                    theme               IU&Pffi.JB;iOR               l:ON !2008/12/17
           i
          ::
                II                :                                     lUSPAT'
                                                                        ~  '
                                                                             USOCRi;                 :    !15:53
                                                                                                          ~

            1S46i,1               !"7200836".pn.                        jUS-PGPUB;
                                                                                !OR                  ioN   j2008/12/17
            i   i                                                       ~USPAT;
                                                                             USOCR
                                                                                !                          !15:56
            !&i7 !1               !"20080120546".pn.                    !US-PGPUB;
                                                                                !OR                  !ON j2008/12/17
          :\
            !    I   ~
                                  !
                                  \
                                                                        ~USPAT;
                                                                        ~
                                                                            USOCR
                                                                                !     ~
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                                                                                                         !15:57
                                                                                                           1




          .1S481433 !715/864.cds. .                                     IU&Pffi.JB;iOR               l_oN !2000112121
          i    i    :       ========!usPAT;                                 USOCR  !                 :    !23:26
                                  1


                                  1




          !S49 jso )15/864.cds.
                              and
                                keyboard
                                      and
                                        back
                                           and
                                             icons
                                                and                     iU&Pffi.JB;iOR               iON !2008/12/21
          !    I jfiles =========!USPAT;                                    USOCR  i                 :
                                                                                                     1
                                                                                                          i23:27
          i850 !25 !715/864.cds.
                              and
                                keyboard
                                      and
                                        back
                                           and
                                             icons
                                                and                     IU&Pffi.JB;iOR               I_ON 12008/12/21
          !    I    !tiles
                         andremovable                                   ~USPAT;
                                                                            USOCR  !                 :    !23:27
          !851 !42                1715/864.cds.
                                         andkeyboard
                                                 and
                                                   icons
                                                      andfiles
                                                             and IU&Pffi.JB;ioR                      l,ON j2008/12/21
            :        I            i@ay<="2002"                   iusPAT;
                                                                      USOCR:                         :    i23:28
          •:1852""""'!
               ,·2 ::"6346935".pn.
                       !                                                IU&Pffi.JB;iOR               !::OFF !""""200=9/=07/=05=
          i    ,     1



                       •          11                                    ll&AT;EPO;i                  •     !14:20
                                                                                                           ~
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          i    I                                                        iJPO;
                                                                            DERWENT
                                                                                  i
          •::::.1:::853
                 121 i(glideflick
                                touch
                                   swipe)
                                       with(ooordinat$7)
                                                   with
                                                      ocreen
                                                           !U&Pffi.JB;iOR                            .:::0N j2009/07/05
                                                                                                     1

          :      I     iwith
                           (applications
                                    functions)
                                           and
                                             "715"/$.ccls.
                                                     and ~USPAT;EPO;!                                :
                                                                                                     1
                                                                                                            j14:24
                 I     i@AY<="2002"                        jJPO;
                                                              DERWENT!                                      i
                  437 i(touch
            •::.S54
          .:::::.i   1     linger)
                                with(glide
                                        flick
                                            touch
                                                swipe)
                                                    withocreen
                                                            IU&Pffi.JB;iOR                           ·::.0N j""""200=9/=07/=05=
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            1
                      !with
                          (applications
                                   functions)
                                           and"715"/$.cds.
                                                      and il&AT;EPO;i                                •      i14:26
                                                                                                           ~
                                                                                                     1

                      i@AY<="2002"                          jJPO;
                                                               DERWENT!
                     111111




          !855 lo                 !(touch
                                       linger)
                                            with(glide
                                                    flick
                                                        swipe)
                                                            with
                                                               ocreenwith iU&Pffi.JB;iOR             1
                                                                                                     ::.ON !"""'200-9/-07/-05=
          i    I                  i(applications
                                           functions)
                                                   and "715"/$.ccls.
                                                               and        ~USPAT;
                                                                              EPO;!                  :
                                                                                                     1
                                                                                                           l14:26
          •1         I            i@AY<="2002"                            ~JPO;
                                                                             DERWENT i               ~-'
            :::.856
          .::::::1j3     i(touch
                              linger)
                                   with(glide
                                           flick
                                               swipe)
                                                   with
                                                      ocreen
                                                          and IU&Pffi.JB;iOR                         l::_ONj"""'200=9/=07
                                                                                                                 /=05~
            :
            1        I   !"715"/$.ccls.
                                  and@AY<="2002"
                                  .•                          lUSPAT;
                                                                  EPO;!                              •     !14:27
                     1.
                     ______
                         ; __     1
                                                              !JPO;
                                                                 DERWENT!                                  !
            185712                "6140936".pn.
                                  !
                                  :                                     !U&Pffi.JB;iOR               l::.ON j2009/07/05
            i   i                 •                                     ll&AT;EPO;I                  •      123:13
          ·:.:
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                                                                        I~~~;
                                                                                        !2009/07/06
          .::1::858
                 .2
                 1            !::"6346935".pn.                                 IOR!::ON !10:24
                                                                                        ~
                 11                                                     iJPO;  i
                                                                           DERWENT      :
                                                                                        '
          .::1::859
                 .·187 !::
                 1     ............
                       file=s
                            w=it=h
                                 a=pp~lica=tio=ns=w=ith~list=w=ith~on=ly===,~~~;
                                                                     IOR~== ............
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                                                                                          =9~0=7/=06~
                                                                                          2
                 11                                         ~JPO;
                                                               DERWENT
                                                                     !                  l
           !S60 !98           !(file
                                   near
                                     list)with(application
                                                      near
                                                         list)          jUS-PGPUB;
                                                                                 !OR                 !ON ~2009/07/06
           !    I             !                                         iusPAT;
                                                                             EPO;!                   !   110:34
           !    I             !                                         lJPO;
                                                                           DERWENT
                                                                                 !                   !   I
          ::     )            :             ·==========~                              :              1
                                                                                                     ,u=:   ==:"'"':        ===

           !861 i502 i(file
                          near
                            view)
                               withapplication                          !US-PGPUB;
                                                                                [OR                  ON
                                                                                                     1::.              12009/07/06
                                                                                                                       1036
           I     I            I                                         l%A~;E:~TI                                     1:
          .:.1:.862
                 115 1:.sort
                        withapplication
                                   near
                                      files                             I~~~;         IOR            1:.0N             1;~~     19~07/06
                 i                                                      ~JPO;  i
                                                                           DERWENT                                     i
          j863 1613 !(programs
                            application)
                                   withfiles
                                           with(sort list) IUS-PGPUB;
                                                  show              !OR                              l:::::.:"""""ON~-
                                                                                                              12-00=9/0-7/=06~
                                                                                                              .....
          i    I    i:::withonly                           jUSPAT;EPO;
                                                                    !                                         i11:18
          i I       ~=                                     jJPO;    i
                                                              DERWENT                                                  I
          !S64 155 !(programs
                            application)
                                   withfiles
                                           with(sort
                                                  show
                                                     list) lUS-PGPUB;
                                                                    !OR                              !ON ~2009/07/06
               !    !withonlyand"715"/$.ccls.              jUSPAT;
                                                                EPO;!                                !   ~11:18
               !    i                                      jJPO;    i
                                                              DERWENT                                i                 j
                                                                                                     ~~----~
          .:.1:,865
                 10           l:,seperate
                                    withlistwithdata
                                                   near
                                                     type               I~~~;         IOR            l:,ON             1;~~     9~07/06
                                                                                                                                1
                 I            =~---------jJPO;                              DERWENT
                                                                                !                    __                !___           =


          .::.1::.866
                 .5796ilistwithdata
                 1                near
                                    type                                I~~~;         IOR            ioN               1;~~     9~07/06
                                                                                                                                1
                 11                                                     lJPO;
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                                                                           DERWENT
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                 ~=,..........===========                                                                              1"""===·


          1:::::1::::,867
                 1652 !::::,list
                          withdata
                                 near
                                   type
                                      and
                                        "715"/$.ccls.                   jUS-PGPUB;
                                                                                 !OR                 iON 12009/07/06
                                                                        jUSPAT;
                                                                             EPO;!                       i11:
                                                                                                           19
                 11111



                                                                        !JPO;
                                                                        ~
                                                                           DERWENT
                                                                                 !    \
                                                                                                         i             ~



            !S68 !596 !application
                             nearlistand
                                       filenear
                                             list                       jUS-PGPUB; !OR               !ON 12009/07/06
          i::    il   i:                                                iusPAl
                                                                        ~       ' !:
                                                                            ' EPO·                   !:  111
                                                                                                         ~
                                                                                                           ·20              I




          i::    I
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                              i:                                        lJPO;
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          .::1::939
                 1::,271
                       l:~~t!,~~~rlistand
                                        filenear
                                              listand                    I~~~;        IOR                                 !::ON 1;~~:07/06
                                                                         iJPO;
                                                                            DERWENT
                                                                                j                                                         !
                     ~~""""=-===-===-=                                                """'--~I"""'~---=




          .::!::S70
                 1
                 .31                 !::icon
                                          withdrag
                                                 withactivate            I~~~;        !OR                                 !::OFF1;~~i~11/20
                     11                                                  ~JPO;
                                                                            DERWENT
                                                                                j                                                         i
           !S71 !148 !icon
                         with=dra=g=wit=h
                                 =act=iva=t$=7
                                       =====jUS-PGPUB;                                !OR                                 ,uuul:::.ON==~j2=00=9/=11
          .:::i:::   !               i:::                                     EPO;l
                                                                         1USPAT;                                                          j14:29
                     111                                                 iJPO;    i
                                                                            DERWENT                                                       !
          !S72 !68                   !icon
                                         with=dra=g=wit=h
                                                 =act=iva=t$=7
                                                      a=nd=@=ay=<=="2=00=2"==1U&PCPUB;
                                                                           !OR    l:::.ON12009/11/20
          i::,1::,   I::,            I::,                                     EPO;i
                                                                         jUSPAT;                                                          j14:30
                                                                         iJPO;    i
                                                                            DERWENT
                                                                                                                          1
                                                                                                                                          l
           !S73 !29                  !bar
                                        withd·=ra=g
                                               w=it=h
                                                  a=cti=va=t$7=a=nd=@=ay<==="2=00=2"
                                                                 =-IU&PCPUB; [OR     1:.
                                                                                     ON 12009/
                                                                                             11
                                                                                              /20
                                                                                         j14:36
                     I               I                                1:A~E:~T I         :
           I
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                                                                                      ,..............==,..............=•====


          !S74 !81                   !::::::function
                                             withdrag
                                                    withactivat$7
                                                              and@ay<="2002"
                                                                         juS-PGPUB;
                                                                                  !OR                                     l::::::ON
                                                                                                                                  12009/11/20
          i    I                                                              EPO;l
                                                                         !USPAT;                                                  j14:37
           i         I                                                   ~JPO;
                                                                            DERWENT
                                                                                  !                                                       I
          1S75.1"""!26=!(dock
                         bar)
                           with(glide
                                    swipe)
                                        withactivat$7                    ~US-PGPUB;
                                                                                  !OR                                     !OFF !2009/11/20
          !    I     !                                                   !USPAT;
                                                                              EPO;!                                       !    !14:43
          •:!:       !)
                     I,                                                  jJPO;
                                                                         ~
                                                                            DERWENT
                                                                                  !I                                      !I   i          ~
                     ,-----                                                                                               ,-----.-----

          .:,1::S76
                 1
                 ,34                 !::(dock
                                          bar)
                                            with(glide
                                                     swipe)
                                                         withactivat$7   I~~~;        IOR                                 1:
                                                                                                                          0N              1;~~;~11120

                     ~-~------------lJPO_;_D_ERW_EN_T!
                     1



                                                                                                                          __
                                                                                                                          1               !___     =




          •:::::.l:::::.S77
                  ,54
                  !       i(glide
                               swipe)
                                    withactivat$7
                                              with(function
                                                        application
                                                                 IU&PCPUB;!OR                                             l:::::.ON
                                                                                                                                  12009/11/20
                          !::.program)                                EPO;l
                                                                 !USPAT;                                                          114:46
                     11111




                                                                 jJPO;
                                                                    DERWENT
                                                                          !                                                               !
                  ~-"""=---=---=-=                                                                                        1'""'--.-----




          r
                  124 !(glide  swipe)
                                    withactivat$7
                                              with(function
                                                        application
                                                                 jUS-PGPUB;
                                                                          !OR                                             iON 12009/11/20
                  I       !::.program)
                                  and@ay<="2002"                      EPO;i
                                                                 jUSPAT;                                                      !14:47
                  I                                              jJPO;    l
                                                                    DERWENT                                                               !
          :::::::l:::::,S79
                   130 !(glide  swipe
                                   drag)withicon
                                               withactivat$7
                                                         with   lUS-PGPUB;
                                                                         !OR                                              l:::::,ON
                                                                                                                                  !2009/11/20
                   i      !::(function
                                  application
                                         program)and@ay<="2002" jUSPAT;
                                                                     EPO;!                                                        114:48
                   !                                            jJPO;    l
                                                                   DERWENT                                                                i




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                           1"7441196".pn                                IU&PCf'lJB;
                                                                                  iOR                 !::OFF12009/
                                                                                                               11
                                                                                                                /20
                                                                             EPO;i
                                                                        ILJ3lAT;                      • !15:14
                                                                                                            ~
                                                                        iJPO;
                                                                           DERWENT!                         i
                           -----------                                                                      1



                           1::swipe
                               withocreen                               IU&PCf'lJB;
                                                                                  iOR                 l::ON 12009/
                                                                                                               11
                                                                                                                /20
                           •                                                  EPO;i
                                                                        ilJ3lAT;                      • !15:14
                                                                        ~JPO;     !
                                                                            DERWENT                         i
                                                                                                            ~
                                 =========                                            ,"====




           iffi2 1734 i(glide
                      I
                           swipe)
                               withocreen                               IU&PCf'lJB;
                                                                                  iOR                 !:::.ON~2009/
                                                                                                                11/20
           :      i                                                     lUSPAT;
                                                                            EPO;!                     :      ~15:14
           I      I        I                                            !JPO;
                                                                           DE~ENT :
                                                                        .---=~--~""'"-----·                 !
           !S83 12         !"7286063"
                                 .pn.                                   iU&PCf'lJB;
                                                                                  iOR                 !::::.ON
                                                                                                             12009/11/20
                                                                        lUSPAT'
                                                                             EPO·!                    :      115:14
                                                                        \   ' ' '                            !,
           I      I        I                                            iJPO;
                                                                           DERWENT!                         ;
                                 ---------
           !S84 1263 !("20010003845"
                                I "20010012286"
                                              I "20010016947"
                                                           I jUS-PGPUB;
                                                                      !OR
          i     I    !"20010034647"
                                 "20010042002" "20010044751"  lUSPAT;
                                                                  USOCR
                                                                      !
          i     I          11
                     120010049824"
                                 "20010051903" "20020007309"  l       !
           !    I    l"20020010642"
                                 "20020016750" "20020029339"  l       !
          i     1    1"20020032182"
                                 "20020035114" "20020038256"  1       I

           !    I    !"20020038259"
                                 "20020042914" "20020042921"  l       !
          i     1    1"20020049631"
                                 "20020056098" "20020059590"  l       !
           !    I    !"20020067376"
                                 "20020077177" "20020018006"  l       I
           !    I    !"20020018453"
                                 "20020098834" "20020115292"  1       I
           I    1          11
                     120020115320"
                                 "20020155122" "20030046182"  l       !
           !    I    !"20030014661"
                                 "20030095525" "20030126607"  1       I
           I    1    1"20030140011"
                                 "20030146940" "20030149628"  1       I

           !    I    !"2003orn2rn5"
                                 "20040003412" "20040098747"  l       !
           I    1    1"20040103439"
                                 "20040111831" "20040128137"  l       !
           !    I    !"20040133848"
                                 "20040148625" "20040204116"  1       I
           I    1    1"20040210824"
                                 "20040260689" "20050010949"  1       I

           !    I    !"20050025550"
                                 "20050015932" "20050086690"  l       !
           I    1    1"20050091118"
                                 "20050160458" "20050234895"  l       !
          I!.     1, !"20050246231"
                                 "20060155598"
                                             I "20060224987"            l             I
           :    :    1"20070008332"
                                 "3586771"
                                         I "4650977"        I l
                                                    I "4706121"       I
          •.!,    I: 1"4992940"
                            I "5041312"
                                     I "5064999"I "5119188"
                                                         I    l       I
           :    1    !"5236199"
                            I "5321749"
                                     I "5353016"I "5410326"
                                                         I    l       !
           !      I  1"5479268"
                            I "5532735"
                                     I "5553242"I "5559548"
                                                         I    l       I
           !    I    !"5598523"
                            I "5602596"
                                     I "5617570"I "5625781"
                                                         I    l       !
           I I 1"5710887"
          ::      l        :
                            I "5727129"
                                     I "5734719"I "5758126"
                                                         I    l       I ~             :




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                         !"5794210"
                                I "5796252"I "5801702"I "5809204"
                                                                I
                         !"5819220"
                                I "5822014"I "5828839"I "5832208"
                                                                I
                         !"5832459"
                                I "5838314"I "5848396"I "5851149"
                                                                I
                         !"5874906"
                                I "5878222"I "5890175"I "5893064"
                                                                I
                         !"5895454"
                                I "5896133"I "5900905"I "5902353"
                                                                I
                         !"5903729"
                                I "5911145"I "5918014"I "5918213").PN.
                         !OR("5925103"
                                    I "5931901"I "5935002"I "5946381"
                                                                  I
                         !"5956681"
                                  "5956693"  "5958012"  "5960411"
                         !"5961593"
                                  "5978381"  "5990927"  "6002853"
                         !"6005562"
                                  "6005631"  "6006257"  "6012049"
                         !"6014502"
                                  "6018372"  "6025837"  "6028600"
                         !"6031537"
                                  "6041312"  "6054989"  "6072483"
                         !"6072492"
                                  "6075575"  "6078866"  "6091417"
                         !"6094156"
                                  "6101473"  "6112186"  "6129274"
                         !"6138107"
                                  "6142371"  "6151050"  "6151059"
                         !"6151596"
                                  "6151630"  "6154205"  "6160552"
                         !"6167382"
                                  "6172677"  "6177936"  "6193152"
                         !"6198481"
                                  "6199050"  "6199077"  "6199098"
                         !"6205432"
                                  "6205582"  "6211878"  "6212265"
                         !"6223215"
                                  "6226623"  "6226642"  "6229540"
                         !"6237030"
                                  "6243093"  "6253189"  "6260192"
                         !"6266060"
                                  "6269343"  "6269361"  "6269403"
                         !"6271832"
                                  "6282516"  "6285357"  "6285987"
                         !"6286017"
                                  "6286043"  "6288716"  "6292779"
                         !"6292782"
                                  "6292786"  "6292809"  "6295057"
                         !"6298330"
                                  "6300947"  "6301566"  "6312336"
                         !"6314406"
                                  "6317706"  "6330005"  "6330543"
                         !"6333753"
                                  "6334108"  "6334145"  "6336131"
                         !"6337715"
                                  "6345279"  "6356905"  "6381583"
                         !"6388714"
                                  "6396531"  "6397387"  "6401132"
                         !"6407779"
                                  "6411307"  "6411337"  "6415270"
                         !"6417873"
                                  "6418441"  "6421066"  "6421071"
                         !"6421724"
                                  "6438540"  "6445398"  "6460181"
                         !"6476825"
                                  "6477575"  "6484149"  "6487189"
                         !"6487586"
                                  "6490555"  "6509913"  "6516311"
                         !"6522342"
                                  "6532312"  "6535888"  "6570582"
                         !"6571279"
                                  "6583800"I "6606103"  "6606280"
                         !"6606347").PN.
                                    OR  ("6608633"I "665247" I
                         1"6615248"
                                I "6618039"I "6631523"I "6636246"
                                                                I




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                                 !"6647373"
                                       I "6662224"
                                               I "6680714"
                                                       I "6684062"
                                                               I
                                 !"6692358"
                                       I "6704727"
                                               I "6711552"
                                                       I "6714534"
                                                               I
                                 !"6728731"
                                       I "6769989"
                                               I "6804786"
                                                       I "6826572"
                                                               I
                                 !"6829646"
                                       I "6857102"
                                               I "6868525"
                                                       I "6907556"
                                                               I
                                 !"6925595"
                                       I "692861
                                             O"I "6938073"
                                                       I "6973669"
                                                               I
                                 !"6978263"
                                       I "7013435"
                                               I "7020845"
                                                       I "7051281"
                                                               I
                                 !"7174512"
                                       I "7293276"
                                               I "7383515").PN.
             !S85 1131 ·!touch
                            withslide
                                    withfunction                        IU&flGll.JB;
                                                                                   !OR                1_ON!2009/11/20
             i          I        i                                      lUSPAT;
                                                                        ~
                                                                             USOCR i  1
                                                                                                      I   l15:14
                                                                                                              ~




          ':::::::::_i:::::::::,ffi6
                   113 !("4366475"
                           !"5402151" I"5563632"
                                         1
                                              I"5596346"
                                        "4686332"  1
                                                      I"5638060"
                                                "4821030"1
                                                              I IU&flGll.JB;
                                                        "4914624" lusPAT;
                                                                   1   usocR !OR
                                                                             i                        l::::::.OFF
                                                                                                      :        j2009/11/20
                                                                                                               j15:14
                        1

                   I       !"5687331"I "5736974"
                                             I "5736976"
                                                     I "5761485"
                                                             I    l          i                                 !
                   I       !"5838973").PN.                        i          !                                l
           lii .........
                   1175604 !objectnear3type                       IU&flGll.JB;!OR                     l"""'oF=F
                                                                                                           ="'j2=00=9/1=1/=20=
          i        I !                                            jUSPAT;
                                                                       USOCR i                        :       i15:14
                                                                                                              ~~~




          .:_l:,ffi8
                  .5    1        !(file
                                      item
                                         object)
                                             near3
                                                 type
                                                    withopen
                                                           near3        IU&flGll.JB;!OR               .OFF !2009/11/20
                                                                                                      1


                        1
                                 !respective                            iusPAT;
                                                                             USOCR i                  1
                                                                                                           !15:14
          .:l:ffi9 997 open$3
                        1  withdifferent
                                 1   withprogram                        lU&PGPUB;
                                                                                !OR                   1   OFF !2009/11/20
             :          1

                        1        11
                                                                        iusPAT; i
                                                                             USOCR                    11
                                                                                                              i15:14
          :!S90!2   !.multiple
                            near3
                                filenear3
                                       selection
                                              withopen      !U&PGPUB;  iOR                             .ON
                                                                                                       !    !2009/11/20
          ! i        ,==========iusPAT;
                                 11

                                                                 USOCR i                              11

                                                                                                            j15:14
          lffi1 112 !applying
                            with
                               command with(plurality
                                                 multiple)
                                                       with IU&flGll.JB;!OR                           !.ON j2009/11/20
          i     I    ifiles                                 iusPAT;
                                                                 USOCR i                              11
                                                                                                            i15:14

          .:.1:.ffi2
                  30944.(flick
                       1 stroke)
                        1      with(open
                                      application
                                             command)                   I~~~;         IOR             1.0FF   1;~~
                                                                                                            """""""~~
                                                                                                               9t/20
                                                                                                               1
                        11       1
                                                                        iJPO;  i
                                                                           DERWENT                    1     i
             .893 1261 .(flick)
                       !     with(open
                                    application
                                           command)                     !U&flGll.JB;IOR               !.0N    j2009/11/20
                                                                             EPO;I
          •:::::l::::




                        I        11111
                                                                        IU8PAT;                       11111
                                                                                                              1_15:14
             1

                        I        ----------~JPO;                                 i
                                                                             DERWENT                          ;
             .ffi4 .131
          ·•:_1         1        _:L
                                 ! ~~~of     ,pen
                                                application
                                                       command)
                                                            and         I~~~;         IOR             .0N
                                                                                                      1       1"""';~0~}~~11
                                                                                                                    /~20~
             11         11
                                 11
                                                                        jJPO;
                                                                           DERWENT
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          !S95 15                     !(flick)
                                            with(open
                                                    application
                                                           command)
                                                                  and   IU&PCRJB;!OR                  !::ON !2009/11/20
          i i                         i®aY<="2002"and
                                                    "715"/$.ccls.       ILJ3>AT;
                                                                             EPO;:                    •     i15:14
              i           I           i                                 lJPO;    i
                                                                           DERWENT                          !

          .::l,S96
                 139 1,(flick)
                           and@ay<="2002"
                                    and
                                      "715"/$.ccls.                     I~~~;         IOR             ION 1;~~
                                                                                                            9t1/20
                                                                                                            1
          I   I    .•============~JPO;                          i
                                                           DERWENT                                    :;m===,!====
          !S9
            7 1981 .::.
                   (fIickgesture)
                              and@ay
                                  <="2002"
                                        and   "/$.eels.IU&PCRJB;!OR
                                           "715                                                       I::.
                                                                                                      ON 12009;11
                                                                                                                /20
              !    •                                   ILJ3>AT;
                                                            EPO;I                                     •    115:14
              I                                        !JPO;    i
                                                           DERWENT                                               !
          •:::::l::_S98
                  12372!(flick
                            gesture
                                slide)
                                    and@ay<="2002"
                                             and
                                               "715"/$.IU&PCRJB;!OR                                   l::.ON !2009/11/20
          •       i    •.
                        ccls.                          ILJ3>AT;
                                                            EPO;I                                     •      i15:14
                  I    .                               lJPO;    i
                                                          DERWENT                                            !
              !S99 178 !(flick
                            gesture
                                slide)
                                    and@ay<="2002"
                                             and                        IU&PCRJB;ioR                  1::"""'oN------!2-00-9;1-112_
              i i      !"715"/702,864.cds.                              ILJ3>AT;
                                                                             EPO;I                    •      115:14
          i               i           i                                 lJPO;    i
                                                                           DERWENT
                                                                                                      --·---=
                                                                                                                 ~
                oo ,6588!::::.finger
              !s1         1    near3
                                  (flick
                                       gesture
                                           slide)
                                               and@ay<=
                                                    "2002" ju&PGPUB;
                                                                   ioR                                   ON !2009/11/20
                                                                                                      l:::::




                        :                                  jUSPAT;
                                                               EPO;!                                        !15:14
                                                           ~JPO;
                                                              DERWENT
                                                                   i
                          11111




                                                                                                                 1
                                                           ~                          i               1          ~


                    8101:87
          •::::::l:::::   1           !finger
                                           near3
                                               (flick
                                                    gesture
                                                        slide)
                                                            and@ay<=
                                                                 "2002" 1us-PGPUB;
                                                                                 !OR                  !ON !2009/11/20
                                      iand"715"/$.ccls.                 jUSPAT;
                                                                             EPO;i                    i   !15:14
                                                                                                          i
                          11111




                                      i
                                      )
                                                                        jJPO;
                                                                        ,
                                                                           DERWENT
                                                                                 i    1
                                                                                                      i
                                                                                                      1          ~




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              1
                          ~=                                                                                     ,uu,,===·


          .::_l::S102
                 ,0   I::_"                        I~~~;
                       5543591,5943052,5907327,4686332"
                          1               .pn.                                        IOR             !ON             9t 1/20
                                                                                                                      1
                          11

                                                                        jJPO;
                                                                           DERWENT
                                                                               !                      F""""""=   j

          .::_l::S103
                 ,8   i::("554359=1"
                          1   ,='59=430=52="
                                    "=590=73=27'=' =1~~~;
                                          "4=68=633=2"=).p=n. IOR                                     l::ON 1·=;~0=}~=111=20~

                          11                                            lJPO;
                                                                        ~
                                                                           DERWENT
                                                                               i~                                !~

          .::l::S104
                 11134531::(glide
                 :·       flick
                              touch
                                  swipe)
                                      withscreen                        I~~~;         IOR             l::ON 1"""";~0=}~=11
                                                                                                                  /=20=
                          1                                             jJPO;
                                                                           DERWENT
                                                                               !                                 !
          !S105116322
                   i(glide
                        flick
                            touch
                               swipe)
                                   withscreen
                                           with(applications
                                                         jUS-PGPUB;
                                                                 iOR                                             12009/
                                                                                                                     11
                                                                                                                      /20
                                      j::functions)                     juSPAT;
                                                                            EPO;i                                !15:14
          .::_I::         •.


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              .           111


                                                                        iJPO;
                                                                           DERWENT
                                                                                !                                I




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           !S106j92        !(glide
                                flick
                                    touch
                                        swipe)
                                            withscreen
                                                    with(applications
                                                                  IUS-PGPUB;
                                                                          iOR                         l:_ON 12009/11/20
           i    !          itunctions)
                                    and
                                      "715"/$.ccls.
                                               and@AY="2002"ll&AT;EPO;i                               •     j15:14
           i      I                                               iJPO;   i
                                                                     DERWENT                                       I
          •:::•:.i::::::S107
                  i439 i(glide
                             flick
                                 touch
                                     swipe)
                                         withscreen
                                                 with(applications
                                                               IUS-PGPUB;ioR                          l:::ON 12009/11/20
                  i      l_lunctions)
                                 and
                                   "715"/$.ccls.
                                            and@AY<="2002"     ll&AT;EPO;i                            •      115:14
                  I        •·= ===========~JPO;                       DERWENT
                                                                            !                         ;nnn==ml          ===


           !S108io         !(glide
                                flick
                                    swipe)
                                        withscreen
                                                with(applications ~US-PGPUB;!OR                       !:!::ONj2009/11/20
           I      I        !:._functions)
                                    and
                                      "715"/$.ccls.
                                               and@AY<="2002"     il&AT;EPO;i                         •      !15:14
           i      I        :                                      !JPO;
                                                                      DERWENT
                                                                            !                                      I
          :::::::i::::::.S109
                   !11 !(glideflick
                                  swipe)
                                      withscreen
                                              and"715"/$.ccls.
                                                         and !US-PGPUB; !OR                           i::::::ON
                                                                                                              12009/11/20
                   I      l::_@AY<="2002"                           EPO;i
                                                               jUSPAT;                                        115:14
                   I                                           lJPO;
                                                                  DERWENT
                                                                        !                                          i
           [s1'1'o'"""[21'g""""""ffo'iide"t'1ick
                              gesture
                                    swipe)
                                         withscreen
                                                 and"715"/$.ccls.
                                                            jUS-PGPUB;      !OR                       l::::::"""'oN=-==1"'12=00""""9
           •    '      !and@AY<="2002"                      !USPAT;     EPO;i                                  j15:14
                __ ,______________                          iJPO;    DERWENT!                                      !..........
                                                                                                                        ---
                                                                                                                   1~~~
                                                            ,.......___                               ,......--


          .::_l::.S111
                  302 l::.(glide
                  1         flick
                                swipe)
                                    withscreen
                                            and@AY<="2002"              I~~~;         IOR             l::.ON                  9~11/20
                                                                                                                              1
                  11
                                                                        iJPO;
                                                                        ~
                                                                           DERWENT
                                                                               i      i
                                                                                                                   1
                                                                                                                   ~

           !S11218         !(glide
                                flick
                                    swipe)
                                        withscreen
                                                withicon
                                                       and              jUS-PGPUB;
                                                                                 !OR                  !ON j2009/11/20
                  I:       i@AY<="2002"                                 ~USPAT;
                                                                             EPO;i                    i   115:14
                  i
                  l        i
                           )
                                                                        !JPO;
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                                                                                 i    I
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          .::::::_!::::::_S113
                  !16 !("20010011308"I "20030142138"
                                                 I "20040034801"
                                                            I ius-PGPUB;
                                                                       !OR                            i::::::_ON
                                                                                                              12009/11/20
                  !       !"20050253817"
                                    I "20050253817"
                                                I "20050264833"    EPO;i
                                                           I jUSPAT;                                          j15:14
                  I       !"5821933"
                                I "5907327"
                                          I "6633310").PN.    jJPO;    i
                                                                  DERWENT                             __           j


          .::_l::_S114
                 ,452 i(glide
                  1        flick
                               swipe)
                                   withlinger          I~~~;
                                           and@AY<="2002"                             IOR             ION          1-;~~-
                                                                                                                    9~-11/-20~
                                                                                                                    1
                  11                                                    lJPO;
                                                                        ~
                                                                           DERWENT
                                                                               i      1
                                                                                                                   !~
          ::::::l::::,S115
                   13 i(glide flick
                                  swipe)
                                      withlinger
                                              and@AY<=
                                                   "2002"
                                                       and !US-PGPUB;
                                                                    iOR                               ION !2009/11/20
                  1      l::"715"/$.ccls.                       EPO;i
                                                           !USPAT;                                        115:14
                   1
                                                           jJPO;    i
                                                              DERWENT                                              i
           !S116!13        !("5250929"
                                   I "5568604"
                                           I "5579036"
                                                   I "5612719"
                                                            I  jUS-PGPUB;
                                                                       !OR                            !OFF j2009/11/20
           i !             !"5661476"
                                  I "5748185"
                                          I "5767457"
                                                  I "5883617"
                                                          I    jUSPAT; i
                                                                    USOCR                             i    j15:14
          !       I        !"5928304"
                                  I "5943043"
                                          I "5943044"
                                                  I "5995083"
                                                          I    !       i                              i    I
           !      I        !"6049328").PN.                     i       !                              !    !



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           1s117111441715/716.ccls                                      IU&PCf'lJB;
                                                                                 !OR                     iiOFF 12009/11/20
                                                                        lUSPAT;
                                                                        ~
                                                                            USOCR iI                     :     !15:14
                                                                                                                   ~


           1s11818                  j.715/716.ccls.
                                            anddvdnear
                                                    menu                jUS-PGPUB;
                                                                                iOR                      !OFF ~2009/11/20
           i      i                 :                                   ~USPAT;
                                                                             USOCR
                                                                                i                             115:14
          !S119ho                   !715/716.ccls.
                                            and
                                              dvdnear
                                                   menu                 IU&PCf'lJB;
                                                                                  !OR                    I.ON 12009/11/20
          I    i                    I                                   jUSPAT;
                                                                            USOCR l                      :    i15:14
                  ~-.=-~=--==--==                                                     """'--=""""=~===


           1s1201429 1,715/716.ccls.
                             and
                               dvd                                      IU&PCf'lJB;
                                                                                  IOR                    1,oN !2009/11/20
           :      I                 :                                   iusPAT;
                                                                             USOCR:                      :    !15:14
                                                                                                                   ---=


          1s1211587 1715/
                        716.
                           eels.
                              andmenu                 IU&PCf'lJB;
                                                               !OR        I.ON                                     12009111120
          ~; l                                        jUSPAT;
                                                           USOCRl         :                                        i15:14
          i!s122155 !715/716.c-cls-.
                              a-nd=m-enu=a-nd-the=m-e
                                          ----IU&PCf'lJB;      IOR        I.ON                                     !2009/11/20
          !     !   !                                 iusPAT;
                                                           USOCRi         .                                        115:14
          1s123[311 j."""'71=5/7=16=.cc=ls.=an=d
                                 =me=nu=an=d
                                      =effe=ct=s
                                           ====!US-PGPUB;       """'ioR===i.ON                                     12009111120
          i     i   :                                 jUSPAT;
                                                           USOCRi         :                                        !15:14
          .:[S124
               16                   1::.715/716.ccls.
                                              andmenu
                                                   withtheme            !US-PGPUB;
                                                                                ioR                      l::.ON!2009/11/20
           I
                  1

                  1                 ~~--------iusPAT;                       USOCR:                             !15:14
           1s125[1                  i::."7200836".pn.                   !US-PGPUB;iOR                    l::ON 12009111120
           i      i                        ========jUSPAT;                   USOCRi                      ~=i,=15=:14==~
           1S126
               11                   1"20080120546".pn.                  iU&PCf'lJB;
                                                                                  iOR                    l::ON 12009/11/20
           !   I                    :                                   iusPAT;
                                                                             USOCRI                            i15:14
           !S1271504 i:::,715/864.ccls.                                 !US-PGPUB;
                                                                                ioR                      !:::,ON12009/11/20
           i    i                   ,====                               ~USPAT; I
                                                                            USOCR                               !15:14
           !S128!69 !715/864.ccls.
                               and keyboard
                                          andback
                                                and
                                                  icons
                                                     and jUS-PGPUB;iOR      l::.ON12009/11/20
          i I         !tiles                             iusPAT;
                                                              USOCR!              115:14
          .fs1"2'g"""
                 i2•gmmmmm
                      !'i1·s1ss4·.'ccis·."'and"keyboard"and"bac•knan•dnicon·s"an•dnnnnm
                                                         [u&.PGru's;nnnnnm
                                                                   !'6Rnnnnnnnnnnnnnmn
                                                                            1::.·6Nnnnnnnn
                                                                                  !2009/1'1i2•onnmnnm
           i      !                 !tiles
                                         andremovable                   jUSPAT;
                                                                            USOCR
                                                                                l                                  i15:14
          i::S130
               144                  !715/864.ccls.
                                            andkeyboard
                                                    and
                                                      icons
                                                         andtiles
                                                                and lUS-PGPUB;
                                                                            iOR                          i::   ON 12009/
                                                                                                                     11/20
          ::
           i      i11               i@ay<="2002"                    !usPAT;
                                                                         USOCR
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            31 12                   i"6346935".
                                           pn.                          IU&PCf'lJB;foR                   1:::.
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          1.:::.1:::::S132
                 121 !(glide flick
                                 touch
                                     swipe)
                                         with(coordinat$7)
                                                      withscreen
                                                               ~U&PGPUB;!OR                                      12009/
                                                                                                                     11
                                                                                                                      /20
                 I      !with
                            (applications
                                      functions)
                                             and"715"/$.ccls.
                                                        and jUSPAT; EPO;i                                        !15:14
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                 I      i@AY<="2002"                           iJPO;
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                                                                        !                                        i
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          1S1331439!(touch
                         finger)
                              with(glide
                                       flick
                                           touch
                                               swipe)
                                                    withscreen
                                                             lU&PGPUB;!OR      ·:::ON
                                                                               l:     12009/11/20
                   !with
                       (applications
                                 functions)
                                          and"715"/$.ccls.
                                                     and ~USPAT;  EPO;!        :      !15:
                                                                                        14            1


                   l@AY<="2002"                              ~JPO;
                                                                DERWENT
                                                                      !               i
                                                                      ~==~="""===·
          1S134lo i(touchlinger)
                              with(glide
                                       flick
                                           swipe)
                                               withocreen
                                                        with IU&PCPUB;iOR      l:::ON ~2009/11/20
          ! I !(applications functions)
                                     and  "715"/$.ccls.
                                                  and        IUSPAT;
                                                                  EPO;!        i      ~15:14
          I    I   i@AY<="2=00=2"========!JPO;                        I
                                                                DERWENT               !
          is13513 !(touchlinger)
                              with(glide
                                       flick
                                           swipe)
                                               withocreen
                                                        and IU&PCPUB; !OR      l::ON 12009/11/20
          I I i"715"/$.ccls. and@AY<="2002"                       EPO;I
                                                             ILJ3>AT;          i      115:14
          :i  !               I     ---=---==~JPO;                             I
                                                                           DERWENT                         !
          1S136
              12              i"6140936".pn.                            IU&PCPUB;
                                                                               !OR                    I.ON 12009/11/20
                                                                                                            1514
           I      I           I                                         l~Ab;E:~T     I               .    1 :


           1s13112            1"6346935".pn.                            lU&PGPUB;
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                                                                        jUSPAT;
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          !       I                                                     ~JPO;
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          .:.1:.S138
                 1195 .lileswith
                      1      applications
                                    withlistwithonly                    !~~~;         !OR             I.ON       1~~~9t/20
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                  I           '~--===-===-~
                              1                                         lJPO;
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                  i                                                                   I               ~~,:==-=

          .:.1:.S139
                 ,102 !:.(file
                  1        nearlist)with(application
                                                near
                                                   list)                I~~~;         IOR             1:.0N          19i11/20
                  ~-------------,lJ_PO_;_DE_RW_EN_Ti
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          .::.1::.S140
                  535 .(file
                  1        near
                             view)
                              i:withapplication                         I~~~;         IOR             1
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                  111                                                   jJPO;  I
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                  ~-"""=-===-===-=

          iS141116 sort
                     withapplication
                              l:near
                                   files                                        IOR
                                                                        IU&PCPUB;                     ON 12009/11/20
                                                                                                      1


                  1                                                     lUSPAT;
                                                                            EPO;!                           !15:14
                  i           1111

                                                                        ~JPO;
                                                                           DERWENT
                                                                                i                     11111




                                                                                                                 I
          !S1421632 !(programs
                            application)
                                   withfiles
                                           with(sort
                                                  show
                                                     list) )u&PGPUB;
                                                                   !OR                                !ON 12009/11/20
          i    I    jwith
                        only                                   EPO;!
                                                           !USPAT;                                    !   !15:14
          i:;  II   !;                                     IJPO;   !l
                                                              DERWENT   ~
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          !:::::!:::::.S143
                  157 !(programs application)
                                        withfiles
                                                with(sort
                                                       show
                                                          list) !US-PGPUB;
                                                                         !OR                          !:!::ON12009/11/20
                  i      !with
                             only
                                and
                                  "715"/$.ccls.                      EPO;!
                                                                ILJ3lAT;                              •      !15:14
                  I      i ___________
                         ____                                   iJPO;    i
                                                                   DERWENT                                   !___    _
          .::l:S144
                 .0  j          lseperate
                                     withlistwithdata
                                                    near
                                                      type              I~~~;         IOR             ION        j;~~ 9i11/20
                                                                                                                      1
          :         :11


                              ---------~JPO;                     DERWENT!                             -:  -i ___            www




          !S14516088ilistwithdataneartype                    IU&Pffi.JB;!OR                           l:::ONj2009/11/20
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                    ii.
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                                                             pPO;
                                                                   EPO;
                                                             ilJ3lAT;
                                                                 DERWENT
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                                                                                                      .     115:14
                                                                                                                 !
          !s1461684 !listwithd-ata-ne-ar-ty-pe-an-d
                                          "-71-5"/-$.c-cls-.
                                                   ---IU&Pffi.JB;       !OR                           .::ON l-200-9/-11/-20-
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                     I::,       I::
                                                                        iJPO;
                                                                              EPO;
                                                                        ilJ3lAT;
                                                                            DERWENT
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                                !application
                                       nearlistand
                                                 filenear
                                                       list             lUS-
                                                                           PG
                                                                            PUB; !OR                  !::::::ON
                                                                                                              12009/11/20
                                                                        lUSPAT;
                                                                             EPO;!                            j15:14
                                                                        iJPO;
                                                                            DERWENT
                                                                                 !                            j
               1213 !application
           1s148           nearlistand
                                     filenear
                                           listand                      lUS-PGPUB;
                                                                                 !OR                  !::::::ON
                                                                                                              12009/11/20
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               l    l@aY<
                        ="2002"                                         jUSPAT;
                                                                             EPO;!                            !15:14
          !          I                                                  lJPO;
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                                                                           DERWENT
                                                                                 !i                           :~

          .:.1:.S149
                 12 1:."20030160832".pn.                                !~~~;         IOR             1:.0FF1;~~:11120
                     I                                                  lJPO;
                                                                           DERWENT
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                     i          ,===========~                                         I               ==,:====


          .:.1:.S150
                 4858 1:.:~:,;~~i,~lick
                     1            gesture
                                        ~ide
                                           swipe
                                              across)
                                                  and                   I~~~;         IOR             1:.0N 1;~\0~05/23

                     ~-~-----------~iJPO_;_D_ERW_EN_T!
                     11

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          .::.1::.S151
                  4625 l::.touch
                     1       with(flick
                                      slide
                                          swipe
                                             across)
                                                 and@ay<"2002"          I~~~;         IOR             l::.ON1;~\0~05/23
                     11
                                                                        lJPO;
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                                                                                                      ~=,==-=

          1S15212801
                  ltouch
                      with(flick
                               slide
                                   swipe)
                                       and@ay<"2002" lUS-PGPUB;
                                                              !OR                                     !:::::ION
                                                                                                              j2010/05/23
                                                     lUSPAT;
                                                          EPO;!                                               117:19
                                                     jJPO;
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                                                        DERWENT
                                                              !~                                              !~

          .::.1::.S153
                 12777l::.touch
                            with( ~ide
                                     swipe)
                                         and@ay<"2002"                  ,~~~;         IOR             l::.ON1;~\0~05/23
                     i                                                  jJPO;  I
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                                                             Itouch
                                                                  with( swipe
                                                                           ) and
                                                                               @ay<
                                                                                 "2002"                         !US-PGPUB;
                                                                                                                         !OR            l:::::,ON
                                                                                                                                                !2010/05/23
              l:S154
                   154                                                                                          lusPAT;
                                                                                                                     EPO;!                      !17:20
          :                       1.
                                                                                                                jJPO;
                                                                                                                   DERWENT
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                                                                                                                                              ~--WWW




                      !touch
              1S15511011  near2
                             (flick
                                  slide
                                      swipe
                                         across)
                                             and@ay<"2002"
                                                      IU&Pffi.JB;iOR                                                                    l::::_ON
                                                                                                                                               j2010/05/23
                      !                               lUSPAT;
                                                           EPO;!                                                                               j17:20
                                                             i     --------~JPO;                      DERWENT
                                                                                                            i                                 I
              !S15612                                        !touch
                                                                 near2(flick
                                                                           slide
                                                                               swipe
                                                                                  across)
                                                                                      withactivate
                                                                                               and!US-PGPUB;!OR                         i::::::ON
                                                                                                                                                j"""20_10_/05-/2-3
                                                                                                                                                        -
              I                   I                          !:!@ay<
                                                                 "2002"                            !USPAT;
                                                                                                        EPO;!                                   j17:21
              !                   i                          .     _________                       pPO;
                                                                                                      DERWENT
                                                                                                            j                                 !
              !S157129 !touch
                           near2
                              (flick
                                   slide
                                       swipe
                                          across)
                                              withfunction
                                                        andiu&PGPUB;  !OR                                                               i::::::ON
                                                                                                                                                1:-"""20"""'10"""';05"""
              1    1                                       1                                                                                    1
                       :@ay<
                       1
                           "2002"                          :,USP
                                                              "T·,EPO·,l.                                          1
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              I                   i                          -=                          _________              IJPO~□rnNENT i                I_·--=
              1:.!S158
                   12                                        l::"5053758".pn.                                   I~~~;         !OR       l:!ON 1;~;~05/23
              :                   I~-~·-=                                                                       ~JPO;      !
                                                                                                                     DERWENT            ;     ~
           [_s159
                1,32 !touch
                         near2
                             (flick
                                  glide
                                      slide
                                          swipe
                                             across)
                                                 with                                                           lu&PGPUB;  !OR          !ON 12010/05/23
           :
          ::
                :l   !function
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                           and@ay<"2002"                                                                        iusPAT;
                                                                                                                \
                                                                                                                      EPO;!\            !\  j17:36
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                                                                                                                lJPO·
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                                                                                                                     DERWENT             !i !~

          •.
          1:.s160
               13                                            1:.touch
                                                                  near2
                                                                     (glide)
                                                                          withfunction
                                                                                    and
                                                                                      @ay<
                                                                                        "2002"                  !~~~;         !OR       1:.0N 1;~;~~05/23
          .                       I                                                                             IJPO;
                                                                                                                   DERWENT
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                                  i                          ,=====-==--=~                                                    :               ~

              !S161Is                                        !::::::.neonode.as.                                iu&PGPUB;!OR            !::::::_ON
                                                                                                                                                12010/05/23
          j        I                                                                                            IUSPAT;
                                                                                                                     EPO;!                      j17:56
              i                   I                                                                             iJPO;    !
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                  \O"""'""jtouch
                            withglide
                                    withactivat$7.clm.
                                                 lusPAT;
                                                       UPAD
                                                          !OR                                                                           I
                                                                                                                          ION 12011106/06
                                                                                                                                    08:36
              !L18 19 1touch
                          withglide
                                  .elm.                                                              lusPAT;
                                                                                                          UPAD
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              !L20 191 !glide
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                                  .elm.
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                        with
                           unlock.elm.               IU6PAT;
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                         un=loc=kw=it=h
                               to=uc=h.=clm=.
                                      =1usPAT;
                                            UPAD
                                               """'ioR====,==10N=12011106/06
                                                                      08:40


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                    andSettings\
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                                                  Application/Control No.                 Applicant( s)/Patent Under
                                                                                          Reexamination
          Index of Claims                         10315250                                GOERTZ, MAGNUS

                                                  Examiner                                Art Unit

                                                  Ryan F Pitaro                           2174


  ✓           Rejected                         Cancelled                N     Non-Elected                   A            Appeal

  -           Allowed                          Restricted                     Interference                  0           Objected

 □    Claims renumbered in the same order as presented by applicant                   □   CPA         □     T.D.          □    R.1.47

          CLAIM                                                              DATE
      Final        Original    11/09/2007 06/23/2008 12/21/2008 07/06/2009 11/20/2009 05/23/2010   06/06/2011
                      1            ✓          ✓          ✓          ✓          ✓          ✓            =
                      2            ✓          ✓          ✓          ✓          ✓          ✓            =
                      3            ✓          ✓          ✓          ✓          ✓          ✓            =
                      4            ✓          ✓          ✓          ✓          ✓          ✓            =
                      5            ✓          ✓          ✓          ✓          ✓          ✓            =
                      6            ✓          ✓          ✓          ✓          ✓          ✓            =
                      7            ✓          ✓          ✓          ✓          ✓          ✓            =
                      8            ✓          ✓          ✓          ✓          ✓          ✓            =
                      9            ✓          ✓          ✓          ✓          ✓          ✓            =
                      10           ✓          ✓          ✓          ✓          ✓          ✓            =
                      11           ✓          ✓          ✓          ✓          ✓          ✓            =
                      12           ✓          ✓          ✓          ✓          ✓          ✓            =
                      13           ✓          ✓          ✓          ✓          ✓          ✓            =
                      14           ✓          ✓          ✓          ✓          ✓          ✓            =
                      15           ✓          ✓          ✓          ✓          ✓          ✓            ✓

                      16           ✓          ✓          ✓          ✓          ✓          ✓            ✓

                      17           ✓          ✓          ✓          -           -          -            -
                      18           ✓          ✓          ✓          ✓          ✓          ✓            =
                      19                                 N          -                                   -
                      20                                 N          -                                   -
                      21                                 N          -                                   -
                      22                                 N          -                                   -
                      23                                 N          -                                   -
                      24                                 N          -                                   -
                      25                                 N          -                                   -
                      26                                 N          -                                   -
                      27                                 N          -                                   -
                      28                                 N          -                                   -
                      29                                 N          -                                   -
                      30                                 N          -                                   -
                      31                                 N          -                                   -
                      32                                 N          -                                   -
                      33                                 N          -                                   -
                      34                                 N          -                                   -
                      35                                 N          -                                   -
                      36                                 N          -                                   -
U.S. Patent and Trademark Office                                                                                Part of Paper No. : 2011 0606A
              Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 178 of 745

                                                 Application/Control No.                  Applicant( s)/Patent Under
                                                                                          Reexamination
          Index of Claims                        10315250                                 GOERTZ, MAGNUS

                                                 Examiner                                 Art Unit

                                                 Ryan F Pitaro                            2174


  ✓           Rejected                         Cancelled                N     Non-Elected                   A            Appeal

  -           Allowed                          Restricted                     Interference                  0           Objected

 □    Claims renumbered in the same order as presented by applicant                   □   CPA         □     T.D.          □    R.1.47

          CLAIM                                                              DATE
      Final        Original    11/09/2007 06/23/2008 12/21/2008 07/06/2009 11/20/2009 05/23/2010   06/06/2011
                      37                                 N          -                                   -
                      38                                 N          -                                   -
                      39                                 N          -                                   -
                      40                                 N          -                                   -
                      41                                 N          -                                   -
                      42                                 N          -                                   -
                      43                                 N          -                                   -
                      44                                 N          -                                   -
                      45                                 N          -                                   -
                      46                                 N          -                                   -
                      47                                 N          -                                   -
                      48                                                                               =
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U.S. Patent and Trademark Office                                                                                Part of Paper No. : 2011 0606A
                Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 179 of 745

                                        Application/Control No.       Applicant( s)/Patent Under
                                                                      Reexamination
           Search Notes                 10315250                      GOERTZ, MAGNUS

                                        Examiner                      Art Unit

                                        Ryan F Pitaro                 2174




                                                   SEARCHED

      Class                                Subclass                         Date                Examiner
 Update                   Search                                          11/8/2007           RFP
 Update                   Search                                         6/17/2008            RFP
 Update                   Search                                         12/21/2008           RFP
 Update                   Search                                         4/22/2009            RFP
 Update                   Search                                         11/20/2009           RFP
 Update                   Search                                         5/22/2010            RFP
 Update                   Search                                          6/5/2011            RFP



                                                  SEARCH NOTES

                                   Search Notes                             Date                Examiner
 Update Search                                                            11/8/2007           RFP
 Update Search                                                           6/17/2008            RFP
 EAST                                                                    12/21/2008           RFP
 Internet                                                                12/21/2008           RFP
 Safari Online Books                                                     12/21/2008           RFP
 IEEE                                                                    12/21/2008           RFP
 ACM                                                                     12/21/2008           RFP
 Update Search                                                           4/22/2009            RFP
 Update Search                                                           11/20/2009           RFP
 Update Search                                                           5/22/2010            RFP
 Internet Search                                                         5/22/2010            RFP
 Update Search                                                            6/5/2011            RFP
 STIC Search                                                              6/5/2011            RFP
 Fast and Focus Search                                                    6/5/2011            RFP



                                          INTERFERENCE SEARCH

      Class           I
                                           Subclass               I
                                                                            Date          I
                                                                                                Examiner
 Interference         I   Search                                  I       6/5/2011        I   RFP




U.S. Patent and Trademark Office                                                      Part of Paper No. : 2011 0606A
                   Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 180 of 745
Doc code: IDS                                                                                                                                                  PTO/SB/08a (01-10)
                                                                                                                           Approved for use through 07/31/2012. 0MB 0651-0031
Doc description: Information Disclosure Statement (IDS) Filed                                         U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
                      Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it contains a valid 0MB control number.


                                                               Application Number                         10315250
                                                               Filing Date                                2002-12-10
IN FORMATION DISCLOSURE                                        First Named Inventor             I Magnus Goertz
STATEMENT BY APPLICANT                                         Art Unit                                   2174
( Not for submission under 37 CFR 1.99)
                                                               Examiner Name                    I PITARO, RYAN F
                                                               Attorney Docket Number                     NEONODE.P004




                                                                           U.S.PATENTS                                                     IRemove I
                                                                                                                                 Pages,Columns,Lines where
Examiner Cite                                      Kind                            Name of Patentee or Applicant
                    Patent Number                        Issue Date                                                              Relevant Passages or Relevant
Initial* No                                        Code1                           of cited Document
                                                                                                                                 Figures Appear



 /R.P./      1      4790028                        B1        1988-12-06            Ramage




                                                             1991-10-01
  /R.P./ 2          5053758                        B1                              Cornett et al.




  iR.P.i 3          5283558                        B1        1994-02-01            Chan


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Examiner               Publication                 Kind Publication                Name of Patentee or Applicant
         Cite No                                                                                                                 Relevant Passages or Relevant
Initial*               Number                      Code1 Date                      of cited Document
                                                                                                                                 Figures Appear



 /R.P./      1        20010002694                  A1        2001-06-07            Nakazawa et al.




 /R.P./     2         20010022579                  A1        2001-09-20            Hirabayashi




            3         20010026268                  A1        2001-10-04            Ito
/R.P./




EFS Web 2.1.17
                     Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 181 of 745
                                                           Application Number                   10315250
                                                           Filing Date                          2002-12-10
IN FORMATION DISCLOSURE                                    First Named Inventor         I MagnusGoertz
STATEMENT BY APPLICANT                                     Art Unit                             2174
( Not for submission under 37 CFR 1.99)
                                                           Examiner Name                I PITARO,RYAN F
                                                           Attorney Docket Number               NEONODE.P004




    /R.P./   4          20010028344              A1      2001-10-11         Iwamotoet al.




    /R.P./ 5            20010055006              A1      2001-12-27         Sano et al.


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                                                         FOREIGN PATENT DOCUMENTS                                            IRemovel

                                                                                                                           Pages,Columns,Lines
                                                                                              Name of Patentee or
Examiner Cite       Foreign Document            Country            Kind Publication                                        where Relevant
                                                                                              Applicant of cited                                T5
Initial* No         Number3                     Code 2 i           Code4 Date                                              Passages or Relevant
                                                                                              Document
                                                                                                                           Figures Appear


             1                                                                                                                                           □


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                    Include name of the author (in CAPITAL LETTERS}, title of the article (when appropriate}, title of the item
Examiner Cite
                    (book, magazine, journal, serial, symposium, catalog, etc}, date, pages(s), volume-issue number(s),                                 T5
Initials* No
                    publisher, city and/or country where published.


             1                                                                                                                                           □


If you wish to add additional non-patent literature document citation information please click the Add button I Add I
                                                               EXAMINER SIGNATURE
Examiner Signature I        /Ryan
                                Pitaro/                                                          I Date Considered          06/06/2011
*EXAMINER: Initial if reference considered, whether or not citation is in conformance with MPEP 609. Draw line through a
citation if not in conformance and not considered. Include copy of this form with next communication to applicant.


1 See Kind Codes of USPTO Patent Documents at www.USPTO.GOV or MPEP 901 .04. 2 Enter office that issued the document, by the two-letter code (WIPO
Standard ST.3). 3 For Japanese patent documents, the indication of the year of the reign of the Emperor must precede the serial number of the patent document.
4 Kind of document by the appropriate symbols as indicated on the document under WIPO Standard ST.16 if possible. 5 Applicant is to place a check mark here i1

English language translation is attached.




EFS Web 2.1.17
       Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 182 of 745



Attorney's      Docket     No.: NEONODE. P004                    PATENT


         IN THE UNITED         STATES         PATENT        AND TRADEMARK                OFFICE

In Re Patent Application          of:                  )
                                                       )         Examiner:        Ryan F. Pitaro
                      Magnus Goertz                    )
                                                       )        Art Unit:         2174
Application      No: 10/315,250                        )
                                                       )
Filed:         December       10, 2002                 )
                                                       )
For:           USER INTERFACE FOR                      )
               MOBILE HANDHELD                         )
               COMPUTER UNIT                           )
___________                                            )
Commissioner   for Patents
P. 0. Box 1450
Alexandria,  VA 22313-1450


                               SUMMARY             OF INTERVIEW

Sir:
                          Applicant     expresses          appreciation      to the      Examiner    for
the courtesy         of an interview     granted     to applicant's        representative      Marc A.
Berger       (Reg.    No. 44,029).           The    interview      was     held   by telephone       on
Thursday,       May 5, 2011.           The substance          of the interview        is contained    in
the Interview         Summary,        Form    PTOL-413,         prepared      and entered      by the
Examiner       on May 11, 2011.
                                                       Respectfully       submitted,
                                                       SOQUEL GROUP LLC


Dated:     May 29, 2011                                /Marc A. Berger/
                                                       Marc A. Berger
                                                       Reg. No. 44,029
P.O. Box 691
Soquel, CA 95073
(831) 426-8200
Customer No. 75660
               Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 183 of 745
                                       Electronic Acknowledgement Receipt

                           EFSID:                           10190005


                  Application Number:                       10315250


            International Application Number:


                 Confirmation Number:                       1226




                    Title of Invention:                     User interface




          First Named Inventor/Applicant Name:              Magnus Goertz


                   Customer Number:                         75660


                           Filer:                           Marc Aron Berger


                   Filer Authorized By:


                Attorney Docket Number:                     NEONODE.P004


                       Receipt Date:                        29-MAY-2011


                       Filing Date:                         10-DEC-2002


                       Time Stamp:                          02:18:45


                    Application Type:                       Utility under 35 USC 111(a)


Payment information:
Submitted   with Payment
                                                          I no
File Listing:
 Document                                                                                      File Size(Bytes)/                     Multi         Pages
                       Document Description                      File Name
  Number                                                                                       Message Digest                       Part /.zip   (if appl.)

                                                                                                          40187
                  Applicant summary of interview with           NEONODE-
      1                                                                                                                                 no            1
                               examiner                 P004_SummaryOflnterview.pdt
                                                                                          6af1 a452601 0a27c2e 1f40a8043afc23d5d2
                                                                                                           aa83



Warnings:

Information:
             Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 184 of 745
                                                     Total Files Size (in bytes)                   40187


This Acknowledgement Receipt evidences receipt on the noted date by the USPTO of the indicated documents,
characterized by the applicant, and including page counts, where applicable. It serves as evidence of receipt similar to a
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New Applications Under 35 U.S.C. 111
If a new application is being filed and the application includes the necessary components for a filing date (see 37 CFR
1.53(b)-(d) and MPEP 506), a Filing Receipt (37 CFR 1.54) will be issued in due course and the date shown on this
Acknowledgement Receipt will establish the filing date of the application.

National Stage of an International Application under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
U.S.C. 371 and other applicable requirements a Form PCT/DO/EO/903 indicating acceptance of the application as a
national stage submission under 35 U.S.C. 371 will be issued in addition to the Filing Receipt, in due course.

New International Application Filed with the USPTO as a Receiving Office
If a new international application is being filed and the international application includes the necessary components for
an international filing date (see PCT Article 11 and MPEP 181 O), a Notification of the International Application Number
and of the International Filing Date (Form PCT/RO/1OS) will be issued in due course, subject to prescriptions concerning
national security, and the date shown on this Acknowledgement Receipt will establish the international filing date of
the application.
Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 185 of 745                       10315250


         PLUS Search Results for S/N 10315250, Searched Thu May 12 15:25:52 EDT 2011
         The Patent Linguistics Utility System (PLUS) is a USPTO automated search system
 for U.S. Patents from 1971 to the present PLUS is a query-by-example search system which
 produces a list of patents that are most closely related linguistically to the application
 searched. This search was prepared by the staff of the Scientific and Technical Information
 Center, SIRA.

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 5608624   99
 5625814   99
 6023779   99
 4490810   99
 5654529   99
 5949408   99
 4922237   99
 5257015   99
 5382962   99
 5496992   99
 5515052   99
 5536930   99
 5550650   99
 5615384   99
 5677952   99
 5923866   99
 5933478   99
 5970427   99
 5974238   99
 5983354   99
 6052120   99
 6084691   99
 6084584   99
 6094156   99
 6098095   99
 6106564   99
 6122216   99
 6128661   99
 6151015   99
 6166734   99
 6201199   99
 6236917   99
 6336137   99
 6377685   99
 6442570   99
 6468219   99
 6717572   99
 6889362   99
 6912659   99
 6965921   99
 7054487   99
 7123742   99
 7130980   99
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                Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 186 of 745
                    UNITED STA IBS      p AIBNT       AND TRADEMARK OFFICE
                                                                                   UNITED STA TES DEPARTMENT OF COMMERCE
                                                                                   United States Patent and Trademark Office
                                                                                   Address:COMMISSIONER FOR PATENTS
                                                                                        P.O. Box 1450
                                                                                        Alexandria., Virginia 22313-1450
                                                                                        www.uspto.gov




   APPLICATION NO.             FILING DATE                 FIRST NAMED INVENTOR   ATTORNEY DOCKET NO.               CONFIRMATION NO.

       10/315,250               12/10/2002                     Magnus Goertz         NEONODE.P004                           1226

       75660            7590             05/11/2011
                                                                                                       EXAMINER
       Soquel Group, LLC
       P.O. Box 691                                                                                 PITARO, RY AN F
       Soquel, CA 95073
                                                                                       ART UNIT                       PAPER NUMBER

                                                                                          2171



                                                                                       MAIL DATE                     DELIVERY MODE

                                                                                       05/11/2011                          PAPER


Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.




PTOL-90A (Rev. 04/07)
                    Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 187 of 745
                                                                 Application No.                Applicant(s)

                                                                 10/315,250                     GOERTZ, MAGNUS
                            Interview Summary
                                                                 Examiner                       Art Unit

                                                                 RYAN F. PITARO                 2171


   All participants (applicant, applicant's representative, PTO personnel):

  (1) RYAN F. PITARO.                                              (3)__      .

  (2) Marc Berger.                                                 (4)__      .

      Date of Interview: 05 Mav 2011.

      Type: a)~ Telephonic b)D Video Conference
            c)D Personal [copy given to: 1)0 applicant        2)0 applicant's representative]

   Exhibit shown or demonstration conducted:      d)D Yes       e)D No.
       If Yes, brief description: __ .

   Claim(s) discussed:             1-
   Identification of prior art discussed: NakaHma.Hoshino.Hirshberg.Carlson. Venolia.

   Agreement with respect to the claims f)~ was reached. g)D was not reached. h)D N/A.


   Substance of Interview including description of the general nature of what was agreed to if an agreement was
   reached, or any other comments: Differences between the prior art of record and the claimed application were
   discussed in view of the claim amendments. Agreement was reached that the prior art fails to teach the claimed
   amendments.

   (A fuller description, if necessary, and a copy of the amendments which the examiner agreed would render the claims
   allowable, if available, must be attached. Also, where no copy of the amendments that would render the claims
   allowable is available, a summary thereof must be attached.)

 THE FORMAL WRITTEN REPLY TO THE LAST OFFICE ACTION MUST INCLUDE THE SUBSTANCE OF THE
 INTERVIEW. (See MPEP Section 713.04). If a reply to the last Office action has already been filed, APPLICANT IS
 GIVEN A NON-EXTENDABLE PERIOD OF THE LONGER OF ONE MONTH OR THIRTY DAYS FROM THIS
 INTERVIEW DATE, OR THE MAILING DATE OF THIS INTERVIEW SUMMARY FORM, WHICHEVER IS LATER, TO
 FILE A STATEMENT OF THE SUBSTANCE OF THE INTERVIEW. See Summary of Record of Interview
 requirements on reverse side or on attached sheet.




  /Ryan F Pitaro/
  Primary Examiner, Art Unit 2171
U.S. Patent and Trademark Office
                                                                                                                        I
PTOL-413 (Rev. 04-03)                                  Interview Summary                                   Paper No. 20110509
                   Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 188 of 745
                                                      Summary of Record of Interview Requirements
Manual of Patent Examining Procedure (MPEP), Section 713.04, Substance of Interview Must be Made of Record
A complete written statement as to the substance of any face-to-face, video conference, or telephone interview with regard to an application must be made of record in the
application whether or not an agreement with the examiner was reached at the interview.

                                                      Title 37 Code of Federal Regulations (CFR) § 1.133 Interviews
                                                                               Paragraph (b)

In every instance where reconsideration is requested in view of an interview with an examiner, a complete written statement of the reasons presented at the interview as
warranting favorable action must be filed by the applicant. An interview does not remove the necessity for reply to Office action as specified in§§ 1.111, 1.135. (35 U.S.C. 132)


                                                              37 CFR §1.2 Business to be transacted in writing.
All business with the Patent or Trademark Office should be transacted in writing. The personal attendance of applicants or their attorneys or agents at the Patent and
Trademark Office is unnecessary. The action of the Patent and Trademark Office will be based exclusively on the written record in the Office. No attention will be paid to
any alleged oral promise, stipulation, or understanding in relation to which there is disagreement or doubt.



          The action of the Patent and Trademark Office cannot be based exclusively on the written record in the Office if that record is itself
incomplete through the failure to record the substance of interviews.
          It is the responsibility of the applicant or the attorney or agent to make the substance of an interview of record in the application file, unless
the examiner indicates he or she will do so. It is the examiner's responsibility to see that such a record is made and to correct material inaccuracies
which bear directly on the question of patentability.

           Examiners must complete an Interview Summary Form for each interview held where a matter of substance has been discussed during the
interview by checking the appropriate boxes and filling in the blanks. Discussions regarding only procedural matters, directed solely to restriction
requirements for which interview recordation is otherwise provided for in Section 812.01 of the Manual of Patent Examining Procedure, or pointing
out typographical errors or unreadable script in Office actions or the like, are excluded from the interview recordation procedures below. Where the
substance of an interview is completely recorded in an Examiners Amendment, no separate Interview Summary Record is required.

           The Interview Summary Form shall be given an appropriate Paper No., placed in the right hand portion of the file, and listed on the
"Contents" section of the file wrapper. In a personal interview, a duplicate of the Form is given to the applicant (or attorney or agent) at the
conclusion of the interview. In the case of a telephone or video-conference interview, the copy is mailed to the applicant's correspondence address
either with or prior to the next official communication. If additional correspondence from the examiner is not likely before an allowance or if other
circumstances dictate, the Form should be mailed promptly after the interview rather than with the next official communication.

            The Form provides for recordation of the following information:
            - Application Number (Series Code and Serial Number)
            - Name of applicant
            - Name of examiner
               Date of interview
            - Type of interview (telephonic, video-conference, or personal)
            - Name of participant(s) (applicant, attorney or agent, examiner, other PTO personnel, etc.)
            - An indication whether or not an exhibit was shown or a demonstration conducted
            - An identification of the specific prior art discussed
            - An indication whether an agreement was reached and if so, a description of the general nature of the agreement (may be by
               attachment of a copy of amendments or claims agreed as being allowable). Note: Agreement as to allowability is tentative and does
               not restrict further action by the examiner to the contrary.
            - The signature of the examiner who conducted the interview (if Form is not an attachment to a signed Office action)

            It is desirable that the examiner orally remind the applicant of his or her obligation to record the substance of the interview of each case. It
should be noted, however, that the Interview Summary Form will not normally be considered a complete and proper recordation of the interview
unless it includes, or is supplemented by the applicant or the examiner to include, all of the applicable items required below concerning the
substance of the interview.
           A complete and proper recordation of the substance of any interview should include at least the following applicable items:
            1) A brief description of the nature of any exhibit shown or any demonstration conducted,
           2) an identification of the claims discussed,
           3) an identification of the specific prior art discussed,
           4) an identification of the principal proposed amendments of a substantive nature discussed, unless these are already described on the
                Interview Summary Form completed by the Examiner,
           5) a brief identification of the general thrust of the principal arguments presented to the examiner,
                      (The identification of arguments need not be lengthy or elaborate. A verbatim or highly detailed description of the arguments is not
                      required. The identification of the arguments is sufficient if the general nature or thrust of the principal arguments made to the
                      examiner can be understood in the context of the application file. Of course, the applicant may desire to emphasize and fully
                      describe those arguments which he or she feels were or might be persuasive to the examiner.)
           6) a general indication of any other pertinent matters discussed, and
            7) if appropriate, the general results or outcome of the interview unless already described in the Interview Summary Form completed by
                the examiner.
            Examiners are expected to carefully review the applicant's record of the substance of an interview. If the record is not complete and
accurate, the examiner will give the applicant an extendable one month time period to correct the record.

                                                                    Examiner to Check for Accuracy

          If the claims are allowable for other reasons of record, the examiner should send a letter setting forth the examiner's version of the
statement attributed to him or her. If the record is complete and accurate, the examiner should place the indication, "Interview Record OK" on the
paper recording the substance of the interview along with the date and the examiner's initials.
                   Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 189 of 745
Doc code: IDS                                                                                                                                                  PTOISB/08a (01-10)
                                                                                                                          Approved for use through 07/31/2012. 0MB 0651-0031
Doc description: Information Disclosure Statement (IDS) Filed                                         U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
                      Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it contains a valid 0MB control number.



                                                               Application Number                         10315250
                                                               Filing Date                                2002-12-10
INFORMATION DISCLOSURE                                         First Named Inventor             I Magnus Goertz
STATEMENT BY APPLICANT                                         Art Unit                                   2174
( Not for submission under 37 CFR 1.99)
                                                               Examiner Name                    I PITARO. RYAN F
                                                               Attorney Docket Number                     NEONODE.P004




                                                                           U.S.PATENTS                                                     IRemove I
                                                                                                                                 Pages,Columns,Lines where
Examiner Cite                                      Kind                            Name of Patentee or Applicant
                    Patent Number                        Issue Date                                                              Relevant Passages or Relevant
Initial* No                                        Code1                           of cited Document
                                                                                                                                 Figures Appear



               1    4790028                        B1        1988-12-06            Ramage




               2    5053758                        B1        1991-10-01            Cornett et al.




               3    5283558                        B1        1994-02-01            Chan


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                                                    U.S.PATENT APPLICATION PUBLICATIONS                                                    IRemove I
                                                                                                                                 Pages,Columns,Lines where
Examiner               Publication                 Kind Publication                Name of Patentee or Applicant
         Cite No                                                                                                                 Relevant Passages or Relevant
Initial*               Number                      Code1 Date                      of cited Document
                                                                                                                                 Figures Appear



               1      20010002694                  A1        2001-06-07            Nakazawa et al.




               2      20010022579                  A1        2001-09-20            Hirabayashi




               3      20010026268                  A1        2001-10-04            Ito




EFSWeb2.1.17
                     Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 190 of 745
                                                          Application Number                   10315250
                                                          Filing Date                          2002-12-10
INFORMATION DISCLOSURE                                    First Named Inventor         I MagnusGoertz
STATEMENT BY APPLICANT                                    Art Unit                             2174
( Not for submission under 37 CFR 1.99)
                                                          Examiner Name                I PITARO.RYAN F
                                                          Attorney Docket Number               NEONODE.P004




            4           20010028344             A1       2001-10-11         Iwamotoet al.




               5        20010055006             A1       2001-12-27         Sano et al.


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Examiner Cite       Foreign Document           Country             Kind Publication                                       where Relevant
                                                                                             Applicant of cited                                T5
Initial* No         Number3                    Code 2 i            Code4 Date                                             Passages or Relevant
                                                                                             Document
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Standard ST.3). 3 For Japanese patent documents,the indicationof the year of the reign of the Emperor must precede the serial number of the patent document.
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Englishlanguage translationis attached.




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                  Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 191 of 745
                                                  Application Number             10315250
                                                  Filing Date                    2002-12-10
INFORMATION DISCLOSURE                            First Named Inventor    I MagnusGoertz
STATEMENT BY APPLICANT                            Art Unit                       2174
( Not for submission under 37 CFR 1.99)
                                                  Examiner Name           I PITARO.RYANF
                                                  Attorney Docket Number         NEONODE.P004



                                                  CERTIFICATION STATEMENT

Please see 37 CFR 1.97 and 1.98 to make the appropriate selection(s):


     That each item of information contained in the information disclosure statement was first cited in any communication
D    from a foreign patent office in a counterpart foreign application not more than three months prior to the filing of the
     information disclosure statement. See 37 CFR 1.97(e)(1).


OR

     That no item of information contained in the information disclosure statement was cited in a communication from a
     foreign patent office in a counterpart foreign application, and, to the knowledge of the person signing the certification
     after making reasonable inquiry, no item of information contained in the information disclosure statement was known to
D    any individual designated in 37 CFR 1.56(c) more than three months prior to the filing of the information disclosure
     statement. See 37 CFR 1.97(e)(2).



D    See attached certification statement.
[8] The fee set forth in 37 CFR 1.17 (p) has been submitted herewith.
D    A certification statement is not submitted herewith.
                                                             SIGNATURE
 A signature of the applicant or representative is required in accordance with CFR 1.33, 10.18. Please see CFR 1.4(d) for the
form of the signature.

Signature              /Marc A. Berger/                              Date (YYYY-MM-DD)          2010-12-21
Name/Print             MarcA. Berger                                 Registration Number       44029



This collection of information is required by 37 CFR 1.97 and 1.98. The information is required to obtain or retain a benefit by the
public which is to file (and by the USPTO to process) an application. Confidentiality is governed by 35 U.S.C. 122 and 37 CFR
1.14. This collection is estimated to take 1 hour to complete, including gathering, preparing and submitting the completed
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VA 22313-1450.




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                   Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 192 of 745

                                                    Privacy Act Statement




The Privacy Act of 1974 (P.L. 93-579) requires that you be given certain information in connection with your submission of the
attached form related to a patent application or patent. Accordingly, pursuant to the requirements of the Act, please be advised
that: (1) the general authority for the collection of this information is 35 U.S.C. 2(b)(2); (2) furnishing of the information solicited
is voluntary; and (3) the principal purpose for which the information is used by the U.S. Patent and Trademark Office is to
process and/or examine your submission related to a patent application or patent. If you do not furnish the requested
information, the U.S. Patent and Trademark Office may not be able to process and/or examine your submission, which may
result in termination of proceedings or abandonment of the application or expiration of the patent.

The information provided by you in this form will be subject to the following routine uses:

     1.       The information on this form will be treated confidentially to the extent allowed under the Freedom of Information Act
          (5 U.S.C. 552) and the Privacy Act (5 U.S.C. 552a). Records from this system of records may be disclosed to the
          Department of Justice to determine whether the Freedom of Information Act requires disclosure of these records.

     2.      A record from this system of records may be disclosed, as a routine use, in the course of presenting evidence to a
          court, magistrate, or administrative tribunal, including disclosures to opposing counsel in the course of settlement
          negotiations.

     3.       A record in this system of records may be disclosed, as a routine use, to a Member of Congress submitting a
          request involving an individual, to whom the record pertains, when the individual has requested assistance from the
          Member with respect to the subject matter of the record.

     4.       A record in this system of records may be disclosed, as a routine use, to a contractor of the Agency having need for
          the information in order to perform a contract. Recipients of information shall be required to comply with the
          requirements of the Privacy Act of 1974, as amended, pursuant to 5 U.S.C. 552a(m).

     5.        A record related to an International Application filed under the Patent Cooperation Treaty in this system of records
          may be disclosed, as a routine use, to the International Bureau of the World Intellectual Property Organization, pursuant
          to the Patent Cooperation Treaty.

     6.       A record in this system of records may be disclosed, as a routine use, to another federal agency for purposes of
          National Security review (35 U.S.C. 181) and for review pursuant to the Atomic Energy Act (42 U.S.C. 218(c)).

     7.       A record from this system of records may be disclosed, as a routine use, to the Administrator, General Services, or
          his/her designee, during an inspection of records conducted by GSA as part of that agency's responsibility to
          recommend improvements in records management practices and programs, under authority of 44 U.S.C. 2904 and
          2906. Such disclosure shall be made in accordance with the GSA regulations governing inspection of records for this
          purpose, and any other relevant (i.e., GSA or Commerce) directive. Such disclosure shall not be used to make
          determinations about individuals.



     8.       A record from this system of records may be disclosed, as a routine use, to the public after either publication of
          the application pursuant to 35 U.S.C. 122(b) or issuance of a patent pursuant to 35 U.S.C. 151. Further, a record
          may be disclosed, subject to the limitations of 37 CFR 1.14, as a routine use, to the public if the record was filed in
          an application which became abandoned or in which the proceedings were terminated and which application is
          referenced by either a published application, an application open to public inspections or an issued patent.



     9.       A record from this system of records may be disclosed, as a routine use, to a Federal, State, or local law
          enforcement agency, if the USPTO becomes aware of a violation or potential violation of law or regulation.




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                Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 193 of 745



                            Electronic Patent Application Fee Transmittal

Application Number:                            10315250


Filing Date:                                   10-Dec-2002




Title of Invention:                            User interface




First Named Inventor/Applicant Name:           Magnus Goertz


Filer:                                         Marc Aron Berger


Attorney Docket Number:                        NEONODE.P004


Filed as Large Entity


Utility under 35 USC 111 (a) Filing Fees

                                                                                      Sub-Total in
                        Description                    Fee Code   Quantity   Amount
                                                                                        USO($)


Basic Filing:


Pages:


Claims:


Miscellaneous-Filing:


Petition:


Patent-Appeals-and-Interference:


Post-Allowance-and-Post-Issuance:


Extension-of-Time:
            Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 194 of 745
                                                                                          Sub-Total in
                        Description                  Fee Code      Quantity      Amount
                                                                                            USO($)


Miscellaneous:


           Submission- Information Disclosure Stmt     1806           1            180          180


                                                              Total in USD ($)            180
                Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 195 of 745
                                         Electronic Acknowledgement Receipt

                             EFSID:                    9089252


                     Application Number:               10315250


             International Application Number:


                     Confirmation Number:              1226




                       Title of Invention:             User interface




        First Named Inventor/Applicant Name:           Magnus Goertz


                      Customer Number:                 75660


                              Filer:                   Marc Aron Berger


                      Filer Authorized By:


                   Attorney Docket Number:             NEONODE.P004


                         Receipt Date:                 21-DEC-2010


                          Filing Date:                 10-DEC-2002


                         Time Stamp:                   16:55:29


                       Application Type:               Utility under 35 USC111(a)


Payment information:
Submitted    with Payment                              yes

Payment Type                                          Credit Card

Payment was successfully received in RAM              $180

RAM confirmation       Number                          4428

Deposit Account

Authorized    User

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               Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 196 of 745
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                Information Disclosure Statement (IDS)   NEONODE_P004_IDS_21-21-20
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If a new application is being filed and the application includes the necessary components for a filing date (see 37 CFR
1.53(b)-(d) and MPEP 506), a Filing Receipt (37 CFR 1.54) will be issued in due course and the date shown on this
Acknowledgement Receipt will establish the filing date of the application.

National Stage of an International A~~lication under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
U.S.C. 371 and other applicable requirements a Form PCT/DO/EO/903 indicating acceptance of the application as a
national stage submission under 35 U.S.C. 371 will be issued in addition to the Filing Receipt, in due course.

New International A~~lication Filed with the USPTO as a Receiving Office
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an international filing date (see PCT Article 11 and MPEP 181 O), a Notification of the International Application Number
and of the International Filing Date (Form PCT/RO/1OS) will be issued in due course, subject to prescriptions concerning
national security, and the date shown on this Acknowledgement Receipt will establish the international filing date of
the application.
Doc code: RCEX Case 6:20-cv-00507-ADA Document                                             81-7 Filed 05/19/23 Page 197 of 745                                  PTO/SB/30EFS (07-09)
Doc description: Request for Continued Examination (RCE)                                                                       Approved for use through 07/3112012. 0MB 0651-0031
                                                                                                          U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
                    Under the Paperwork       Reduction Act of 1995, no persons are required to respond to a collection of information unless it contains a valid 0MB control number.




                              REQUEST FOR CONTINUED EXAMINATION(RCE)TRANSMITTAL
                                           (Submitted Only via EFS-Web)
 Application                                   Filing                                   Docket Number                                                       Art
                   10315250                               I 2002-12-10                                            NEONODE.P004                                      I 2174
 Number                                   I    Date                                     (if applicable)                                                 I   Unit
 First Named                                                                            Examiner
                  Magnus Goertz                                                                                  Ryan F. Pitaro
 Inventor                                                                               Name

 This is a Request for Continued Examination (RCE) under 37 CFR 1.114 of the above-identified application.
 Request for Continued Examination (RCE) practice under 37 CFR 1.114 does not apply to any utility or plant application filed prior to June 8,
 1995, or to any design application. The Instruction Sheet for this form is localed at WWW.USPTO.GOV

                                                        SUBMISSION            REQUIRED          UNDER 37 CFR 1.114

 Note: If the RCE is proper, any previously filed unentered amendments and amendments enclosed with the RCE will be entered in the order
 in which they were filed unless applicant instructs otherwise. If applicant does not wish to have any previously filed unentered amendment(s)
 entered, applicant must request non-entry of such amendment(s).
        Previously submitted. If a final Office action is outstanding, any amendments filed after the final Office action may be considered as a
 □ submission even if this box is not checked.

          D    Consider the arguments in the Appeal Brief or Reply Brief previously filed on


          D    Other

 lg] Enclosed
          lg] Amendment/Reply

          □ Information Disclosure Statement (IDS)

          □ Affidavit(s)/ Declaration(s)


          □ Other

                                                                               MISCELLANEOUS

        Suspension of action on the above-identified application is requested under 37 CFR 1.103(c) for a period of months
 □      (Period of suspension shall not exceed 3 months; Fee under 37 CFR 1.17(i) required)


 □ Other

                                                                                        FEES

         The RCE fee under 37 CFR 1.17(e) is required by 37 CFR 1.114 when the RCE is filed.
 □       The Director is hereby authorized to charge any underpayment of fees, or credit any overpayments, to
         Deposit Account No

                                      SIGNATURE               OF APPLICANT,             ATTORNEY,          OR AGENT          REQUIRED

  lg]     Patent Practitioner Signature

  □       Applicant Signature




EFS - Web 2.1.15
Doc code: RCEX Case 6:20-cv-00507-ADA Document                                     81-7 Filed 05/19/23 Page 198 of 745                                 PTO/SB/30EFS (07-09)
Doc description: Request for Continued Examination (RCE)                                                              Approved for use through 07/3112012. 0MB 0651-0031
                                                                                                 U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
                 Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it contains a valid 0MB control number.



                                                   Signature of Registered U.S. Patent Practitioner

 Signature    /Marc A. Berger/                                                                                    Date (YYYY-MM-DD}                2010-06-30


 Name         Marc A. Berger                                                                                      Registration Number                44029

 This collection of information is required by 37 CFR 1.114. The information is required to obtain or retain a benefit by the public which is to
 file (and by the USPTO to process) an application. Confidentiality is governed by 35 U.S.C. 122 and 37 CFR 1.11 and 1.14. This collection is
 estimated to take 12 minutes to complete, including gathering, preparing, and submitting the completed application form to the USPTO. Time
 will vary depending upon the individual case. Any comments on the amount of time you require to complete this form and/or suggestions for
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 P.O. Box 1450, Alexandria, VA 22313-1450.
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                 Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 199 of 745



                                               Privacy Act Statement




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is to process and/or examine your submission related to a patent application or patent. If you do not furnish the requested
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The information provided by you in this form will be subject to the following routine uses:

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         Act (5 U.S.C. 552) and the Privacy Act (5 U.S.C. 552a). Records from this system of records may be disclosed to the
         Department of Justice to determine whether the Freedom of Information Act requires disclosure of these records.

    2.       A record from this system of records may be disclosed, as a routine use, in the course of presenting evidence to a
         court, magistrate, or administrative tribunal, including disclosures to opposing counsel in the course of settlement
         negotiations.

    3.       A record in this system of records may be disclosed, as a routine use, to a Member of Congress submitting a
         request involving an individual, to whom the record pertains, when the individual has requested assistance from the
         Member with respect to the subject matter of the record.

    4.        A record in this system of records may be disclosed, as a routine use, to a contractor of the Agency having need
         for the information in order to perform a contract. Recipients of information shall be required to comply with the
         requirements of the Privacy Act of 1974, as amended, pursuant to 5 U.S.C. 552a(m).

    5.       A record related to an International Application filed under the Patent Cooperation Treaty in this system of records
         may be disclosed, as a routine use, to the International Bureau of the World Intellectual Property Organization,
         pursuant to the Patent Cooperation Treaty.

    6.       A record in this system of records may be disclosed, as a routine use, to another federal agency for purposes of
         National Security review (35 U.S.C. 181) and for review pursuant to the Atomic Energy Act (42 U.S.C. 218(c)).

    7.        A record from this system of records may be disclosed, as a routine use, to the Administrator, General Services,
         or his/her designee, during an inspection of records conducted by GSA as part of that agency's responsibility to
         recommend improvements in records management practices and programs, under authority of 44 U.S.C. 2904 and
         2906. Such disclosure shall be made in accordance with the GSA regulations governing inspection of records for this
         purpose, and any other relevant (i.e., GSA or Commerce} directive. Such disclosure shall not be used to make
         determinations about individuals.

    8.        A record from this system of records may be disclosed, as a routine use, to the public after either publication of
         the application pursuant to 35 U.S.C. 122(b) or issuance of a patent pursuant to 35 U.S.C. 151. Further, a record may
         be disclosed, subject to the limitations of 37 CFR 1.14, as a routine use, to the public if the record was filed in an
         application which became abandoned or in which the proceedings were terminated and which application is
         referenced by either a published application, an application open to public inspections or an issued patent.

    9.       A record from this system of records may be disclosed, as a routine use, to a Federal, State, or local law
         enforcement agency, if the USPTO becomes aware of a violation or potential violation of law or regulation.




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        Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 200 of 745



Attorney's       Docket   No.: NEONODE.P004                 PATENT


         IN THE UNITED           STATES     PATENT       AND TRADEMARK          OFFICE

In Re Patent Application          of:                )
                                                     )      Examiner:    Ryan F. Pitaro
                     Magnus Goertz                   )
                                                     )     Art Unit:     2174
Application       No: 10/315,250                     )
                                                     )
Filed:           December    10, 2002                )
                                                     )
For:             USER INTERFACE FOR                  )
                 MOBILE HANDHELD                     )
                 COMPUTER UNIT                       )
___________                                          )
Mail Stop AMENDMENT
Commissioner   for Patents
P. 0. Box 1450
Alexandria, VA 22313-1450



                 AMENDMENT        AND     RESPONSE        TO OFFICE     ACTION

                                 UNDER      37 C.F.R.     §1.111



Sir:
                          In response     to the Final Office Action    dated   May 28,
2010, applicant       respectfully      requests    that the above-identified    application
be amended         as follows.




Atty.   Docket   No. NEONODE.P004             -1-
        Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 201 of 745




IN THE CLAIMS:

                              Please substitute          the following        claims for the pending
claims with the same number:


1. (currently          amended)                    A      non-transitory              computer            readable
medium       storing     a computer           program         with computer          program        code, which,
when read by a mobile                   handheld        computer         unit,     allows    the computer           to
present      a user interface           for the mobile            handheld         computer     unit, the user
interface        comprising:
                              a    touch      sensitive        area     in    which        representations           g

representation          of at least one g function                 are displayed,           and each function
of said at least one function                  being mapped             to a corresponding              location     in
the touch         sensitive        area at which             the representation             of the function          is
displayed,        and being is provided,                wherein        the representation             consists      of
only     one option        for activating            the function        and wherein           the function          is
activated        by a multi-step           operation         comprising       (i) an object         touching       the
corresponding           touch sensitive          area at a location              where the representation
is provided        and then (ii) the object                  gliding   along the touch sensitive               area
away from the touched                  location.


2. ( currently         amended)                    The computer           readable         medium     of claim 1,
wherein          one function         from     the     at least        one function,         when       activated,
causes the user interface                  to display         icons representing            different     services
or settings        for a currently         active application.


3. (previously          presented)                 The computer           readable         medium     of claim 2,
wherein          the   user       interface     is characterised             in,    that    a selection        of a




Atty.   Docket    No. NEONODE.P004                     -2-
        Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 202 of 745




preferred         service         or     setting     is done         by    tapping      on   a   display     icon
corresponding            to the preferred            service or setting.


4. ( currently         amended)                      The computer           readable    medium       of claim 1,
wherein          one function            from      at least      one the function,           when     activated,
causes the user interface                    to display a keyboard            and a text field.


S. (previously           presented)                  The computer           readable    medium       of claim 4,
wherein       said text          field    is used for inputting             and editing      of text    through
said keyboard.


6. ( currently         amended)                      The computer           readable    medium       of claim 1,
wherein          one function            from      the    at least    one function,          when     activated,
causes      the        user      interface       to display       a list     with    a library      of available
applications           and files on the mobile handheld                    computer      unit.


7. (previously           presented)                  The computer           readable    medium       of claim 6,
wherein          the    user      interface        is characterised          in, that    a selection       of an
application        or file is done by gliding                   the object    along said touch sensitive
area so that a representation                       of a desired one of said application                or file is
highlighted,           raising     said object           from   said touch      sensitive     area, and then
tapping     on said touch sensitive                  area.


8. (previously           presented)                  The computer           readable    medium       of claim 7,
wherein      the user interface                 is characterised          in, that at any given time said
list presents          only files or only applications,                    and that an area of said list
presents         a field through             which       said list can be changed            from    presenting




Atty.   Docket    No. NEONODE.P004                        -3-
        Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 203 of 745




files    to      presenting             applications,          or    from     presenting         applications        to
presenting           files.


9. (previously            presented)                 The computer           readable       medium       of claim 7,
wherein        the user interface             is characterised           in, that, one item in said list is
highlighted            by a moveable            marking,            and the user interface              enables     list
navigation           whereby       gliding     the object           along the touch sensitive              area in a
direction        towards        the top of said list or towards                       the bottom        of said list
causes said marking                     to move in the same direction                    without      scrolling     the
list.


10. (previously               presented)             The computer           readable       medium       of claim 9,
wherein          the    user     interface       is characterised              in, that,     if the     number       of
applications           or files in said list exceeds the number                        of applications        or files
that can be presented                    on said touch sensitive               area as content,            and if the
object     is (i) glided along said touch sensitive                         area to the top or bottom                of
said touch sensitive               area, then (ii) raised above said touch sensitive                              area,
then (iii) replaced             on said touch sensitive                area, and then (iv) again glided
along      said        touch     sensitive       area     to the        top     or    bottom       of said       touch
sensitive        area,        said list navigation             pages the content             of said list up or
down by one whole page.


11. (previously               presented)             The computer              readable      medium         of claim
10,     wherein         the user interface              is characterised             in, that    if the object        is
raised        from      any     first     position      on said        touch     sensitive       area      and    then
replaced         on any second               position     on said touch              sensitive     area,    said list
navigation         can be continued             from said second position.




Atty.   Docket    No. NEONODE.P004                       -4-
        Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 204 of 745




12. (previously            presented)          The computer           readable     medium     of claim 1,
wherein      the user interface           is characterised          in, that an active       application,
function,        service     or setting      is advanced          one step     by gliding      the object
along      the touch         sensitive    area    from     left    to right,      and that     the    active
application,        function,     service     or setting     is closed or backed             one step by
gliding the object along the touch sensitive                       area from right to left.


13. (currently        amended)                 The computer           readable     medium     of claim 1,
wherein      the user interface             is characterised        in, that      said representations
representation             of said   at least     one      function     [[are]]     is located       at the
bottom      of said touch sensitive           area.


14. (previously            presented)          The computer           readable     medium     of claim 1,
wherein      the touch sensitive          area is 2-3 inches in diagonal              dimension.


15. (previously            presented)          An enclosure         adapted       to cover the mobile
handheld         computer       unit according        to Claim 1, characterised              in, that said
enclosure        is provided     with an opening         for said touch sensitive            area.


16. (previously            presented)          The      enclosure       according       to    Claim      15,
characterised         in, that said enclosure           is removable      and exchangeable.


17. (cancelled)


18. (previously            presented)          The computer           readable     medium     of claim 1,
characterised         in, that said computer             program       code is adapted        to function
as a shell upon an operating                system.




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19. - 47.        (cancelled)


                         Please add the following     new claims.


48. (new)                The computer      readable   medium   of claim 1, wherein   the
representation        is finger-sized.


49. (new)                The computer      readable   medium   of claim 1, wherein   the
location     where the representation        is provided   does not provide touch
functionality      for a different   function.




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                                            REMARKS


                         Applicant    has carefully    studied    the outstanding       Office
Action.     The present      amendment       is intended    to place the application          in
condition        for allowance   and is believed      to overcome    all of the objections
and rejections        made by the Examiner.           Favorable    reconsideration      and
allowance        of the application   are respectfully      requested.
                         Applicant    has amended       claim 1, 2, 4, 6 and 13 and
added new claims 48 and 49 to properly                  claim the present     invention.           No
new matter         has been introduced.       Support      for the new and amended
claims is provided        hereinbelow.      Claims 1 - 16,        18, 48 and 49 are
presented        for examination.
                          In Paragraphs     2 and 3 of the Office Action,         the
Examiner         has rejected    claim 1 under 35 U.S.C. §103(a)           as being
unpatentable         over Nakajima     et al., U.S. Patent No. 6,346,935
(''Nakajima")        in view of Hoshino et al., U.S. Publ. No. 2004/0021643
(''Hoshino")       in view of Hirshberg,     U.S. Publ. No. 2002/0027549
("Hirshberg").
                          In Paragraph     4 of the Office Action,       the Examiner      has
rejected     claims 2 - 11, 14 - 16 and 18 under 35 U.S.C. §103(a)                       as
being unpatentable          over Nakajima      and Hoshino in view of Hirshberg               in
view of Pogue, Palm Pilot: The Ultimate               Guide, 2 nd Edition ("Pogue").
                          In Paragraph     5 of the Office Action,       the Examiner      has
rejected     claims 12 and 13 under 35 U.S.C. §103(a)                 as being
unpatentable         over Nakajima     in view of Pogue, in view of Hoshino,             in view
of Hirshberg,        in view of O'Rourke,     US Patent No. 7,225,408            ("O'Rourke").




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Brief Discussion              of Prior Art
                             Nakajima,       Rogue and O'Rourke          are discussed     in
applicant's        response filed on July 13, 2009.               Hoshino is discussed          in
applicant's        response filed on February               22, 2010.
                             Hirshberg      describes      a touch screen user interface             for a
compact          multi-functional        keypad that is operated         using a finger.
Hirshberg         addresses      the problem       of how to provide       the 40 - 60 different
keys required          for a full alphanumeric             keypad on a small surface that
cannot reasonably             accommodate          so many keys (Hirschberg/            par.
[0050]).          Hirshberg    describes       grouping      several characters    (typically        4 - 6
characters)         in a single key.        As such, the number          of required     keys is
reduced,         and can fit in the available             display area on a handheld       device
(Hirshberg/         par. [0051]).
                             To enter a character,           a user first touches a key
representing          several characters,         and then drags his finger in a specific
direction        to select one of the several characters.                Thus, at par. [0055],
Hirshberg         recites:

                 In multi-function key [sic] the first touch on the key activate
                 [sic] the key and the relative trace ... is selecting the appropriate
                 function among the functions associated with the selected key.


Response           to Examiner's          Arguments
                             In rejecting     independent       claim 1 in Paragraph           3 of the
Office Action, the Examiner                 has cited par. [0031]        of Hirshberg     as teaching
a multi-step         operation      comprising      an object touching       a corresponding
location     and then the object gliding along the touch sensitive                       area away
from the touched             location.
                             Applicant      respectfully     submits    that Hirshberg     teaches a
touch and glide operation                only for keys that comprise          several characters.



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On the contrary,           for single character          keys Hirshberg          teaches      using a
conventional         touch operation         without      a glide (Hirshberg/            pars. [0055]       and
[0074]).         Thus, at par. [0055],           Hirshberg        recites:

                 In the case of one function             a regular     touch operation           activate
                 [sic] the function.
Further,     at par. [0074],        Hirshberg         recites:

                 ... a single-function mode wherein a single function is elected on
                 contact with a given key, independent of the direction of motion.
In distinction,       the claimed         invention      uses a multi-step         touch-and-glide
operation        for representations         that consist of only one option for activating
a function.
                             In order to further         distinguish         the claimed     invention
over Hirshberg,         applicant       has amended          claim 1 to include the limitation
that the representation             of the function        consists of only one option for
activating        the function.
                             The rejections      of the claims 1 - 16 and 18 in
paragraphs         2 - 5 of the Office Action will now be dealt with specifically.
                             As to amended        independent          claim 1 for a computer
readable         medium,      applicant     respectfully     submits,         as indicated
hereinabove,         that the limitation         in claim 1 of
                             "wherein      the    representation              consists      of    only      one
option      for activating         the function           and wherein          the function      is activated
by a multi-step              operation       comprising          (i) an object     touching        the touch
sensitive        area at a location        where the representation                is provided      and then
(ii) the object       gliding      along      the touch sensitive                area    away      from     the
touched          location"
is neither       shown nor suggested             in Nakajima,         Hoshino,     Hirshberg,       Pogue
or O'Rourke.




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                          Because claims 2 - 16, 18, 48 and 49 depend from
claim 1 and include additional                features,     applicant      respectfully      submits
that claims 2 - 16,          18, 48 and 49 are not anticipated                     or rendered
obvious      by Nakajima,          Hoshino,     Hirshberg,       Pogue, O'Rourke,          or a
combination         of Nakajima,       Hoshino,        Hirshberg,      Pogue and O'Rourke.
                          Accordingly         claims     1, 2 - 16,       18, 48 and 49 are
deemed to be allowable.


Support          for New and Amended                Claims       in Original       Specification
                          Independent          claim 1 for a computer            readable      medium
has been amended             to include the limitation            of a representation         consisting
of only one option for activating                a function.        This limitation       is supported        in
the original       specification     at least by the Abstract,             by representations          21 -
23 of FIG. 1, by FIG. 2 and its description                     at pars. [0045]          - [0047]   and
by par. [0068].
                          Applicant      notes that each representation                  21 - 23,
shown in FIG. 1 of the original                specification,       consists   of only one option
for activating       its corresponding         function.        Indeed,    element       21 consists of
the one option of displaying              icons as appropriate            for a currently      active
application,       as described       at par. [0048]         and shown in FIG. 3 of the
original    specification.         Element     22 consists       of the one option of opening                 a
keypad and text window,                as described        at par. [0052]       and shown in FIG. 5
of the original       specification.      Element         23 consists      of the one option of
opening      a list of computer         system     applications        and files, as described           at
par. [0058]        and shown in FIG. 6 of the original                  specification.       Moreover,
each of these one-option               elements        is activated     by a multi-step       touch-and-
glide operation,        as described         at pars. [0016]          and [0047]      of the original
specification.



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                          New dependent        claim 48 includes         the limitation      that the
representation        of the function      is finger-sized.      This limitation      is supported
in the original       specification   at least at par. [0047]           and FIG. 2, which
shows that a representation             21, 22 or 23 is activated           by a user's thumb;
and at FIG. 5, which shows that representations                       21, 22 and 23 are
approximately         the same size as the numeral             keys of keyboard           221.
                          New dependent        claim 49 includes         the limitation      that the
location     where the representation           is provided     does not provide          touch
functionality       for a different   function.       This limitation      is supported     in the
original    specification     at least at FIG. 1, which shows that the locations                     of
the representations          21, 22, 23 are non-overlapping.
                          For the foregoing       reasons,     applicant     respectfully
submits      that the applicable      objections       and rejections       have been overcome
and that the claims are in condition              for allowance.
                          If any matters     can be resolved          by telephone,       applicant
requests         that the Patent and Trademark            Office please contact       the
applicant        at the telephone     number      listed below.


                                                       Respectfully     submitted,


Dated:      June 30, 2010                              /Marc A. Berger/
                                                       Marc A. Berger
                                                       Reg. No. 44,029
P.O. Box 691
Soquel, CA 95073
(831) 426-8200




Atty.   Docket    No. NEONODE.P004             -11-
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                            Electronic Patent Application Fee Transmittal

Application Number:                            10315250


Filing Date:                                   10-Dec-2002




Title of Invention:                            User interface




First Named Inventor/Applicant Name:           Magnus Goertz


Filer:                                         Marc Aron Berger


Attorney Docket Number:                        NEONODE.P004


Filed as Large Entity


Utility under 35 USC 111 (a) Filing Fees

                                                                                      Sub-Total in
                        Description                    Fee Code   Quantity   Amount
                                                                                        USO($)


Basic Filing:


Pages:


Claims:


Miscellaneous-Filing:


Petition:


Patent-Appeals-and-Interference:


Post-Allowance-and-Post-Issuance:


Extension-of-Time:
            Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 212 of 745
                                                                                      Sub-Total in
                       Description               Fee Code      Quantity      Amount
                                                                                        USO($)


Miscellaneous:


             Request for continued examination     1801           1            810          810


                                                          Total in USD ($)            810
                Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 213 of 745
                                         Electronic Acknowledgement Receipt

                             EFSID:                    7922718


                     Application Number:               10315250


             International Application Number:


                     Confirmation Number:              1226




                       Title of Invention:             User interface




        First Named Inventor/Applicant Name:           Magnus Goertz


                      Customer Number:                 75660


                              Filer:                   Marc Aron Berger


                      Filer Authorized By:


                   Attorney Docket Number:             NEONODE.P004


                         Receipt Date:                 30-JUN-2010


                          Filing Date:                 10-DEC-2002


                         Time Stamp:                   10:48:58


                       Application Type:               Utility under 35 USC111(a)


Payment information:
Submitted    with Payment                              yes

Payment Type                                          Credit Card

Payment was successfully received in RAM              $810

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Authorized    User

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                      Amendment/Req. Reconsideration-After Non-Final Reject                                  1                                     1



                                               Claims                                                        2                                     6



                       Applicant Arguments/Remarks Made in an Amendment                                      7                                    11


Warnings:
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This Acknowledgement Receipt evidences receipt on the noted date by the USPTO of the indicated documents,
characterized by the applicant, and including page counts, where applicable. It serves as evidence of receipt similar to a
Post Card, as described in MPEP 503.

New A~~lications Under 35 U.S.C. 111
If a new application is being filed and the application includes the necessary components for a filing date (see 37 CFR
1.53(b)-(d) and MPEP 506), a Filing Receipt (37 CFR 1.54) will be issued in due course and the date shown on this
Acknowledgement Receipt will establish the filing date of the application.

National Stage of an International A~~lication under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
U.S.C. 371 and other applicable requirements a Form PCT/DO/EO/903 indicating acceptance of the application as a
national stage submission under 35 U.S.C. 371 will be issued in addition to the Filing Receipt, in due course.

New International A~~lication Filed with the USPTO as a Receiving Office
If a new international application is being filed and the international application includes the necessary components for
an international filing date (see PCT Article 11 and MPEP 181 O), a Notification of the International Application Number
and of the International Filing Date (Form PCT/RO/1OS) will be issued in due course, subject to prescriptions concerning
national security, and the date shown on this Acknowledgement Receipt will establish the international filing date of
the application.
                        Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 215 of 745
                                                                                                                                                         PTO/SB/06 (07-06)
                                                                                                                     Approved for use through 1/31/2007. 0MB 0651-0032
                                                                                               U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
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     PATENT APPLICATION FEE DETERMINATION RECORD                                                       Application or Docket Number         Filing Date
                                     Substitute   for Form PTO-875                                              10/315,250                 12/10/2002          □   To be Mailed


                             APPLICATION AS FILED - PART I                                                                                                OTHER THAN
                                                    (Column 1)                     (Column 2)               SMALL       ENTITY       IZI   OR             SMALL   ENTITY

                      FOR                         NUMBER FILED                  NUMBER EXTRA              RATE($)           FEE($)              RATE($)             FEE($)

 0     BASIC FEE                                       N/A                            N/A                   N/A                                    N/A
       (37 CFR 1.16(a), (b), or (c))

 □     SEARCH FEE                                      N/A                            N/A                   N/A                                    N/A
       (37 CFR 1.16(k), (i), or (m))

 □     EXAMINATION FEE                                 N/A                            N/A                   N/A                                    N/A
       (37 CFR 1.16(0), (p), or (q))
 TOTAL CLAIMS
                                                          minus 20 =        *                             X $       =                      OR   X $        =
 (37 CFR 1.16(i))
 INDEPENDENT CLAIMS
                                                             minus 3 =      *                             X $       =                           X $        =
 (37 CFR 1.16(h))
                                              If the specification and drawings exceed 100
                                              sheets of paper, the application size fee due
 □APPLICATION SIZE FEE                        is $250 ($125 for small entity) for each
      (37 CFR 1.16(s))
                                              additional 50 sheets or fraction thereof. See
                                              35 U.S.C. 41 (a)(1)(G) and 37 CFR 1.16(s).

 □     MULTIPLE DEPENDENT CLAIM PRESENT (37 CFR 1.16U))

 * If the difference in column 1 is less than zero, enter "0" in column 2.                                 TOTAL                                 TOTAL

                         APPLICATION AS AMENDED- PART II
                                                                                                                                                      OTHER THAN
                                     (Column 1)                       (Column 2)          (Column 3)            SMALL     ENTITY           OR             SMALL   ENTITY
                                 CLAIMS                          HIGHEST
                                 REMAINING                       NUMBER                   PRESENT                        ADDITIONAL                               ADDITIONAL
I-      06/30/2010               AFTER                           PREVIOUSLY                EXTRA
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~       1.16(i))                 • 19                 Minus      **    47             =   0               X $26 =                0         OR   X $        =
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        □      FIRSTPRESENTATION
                               OF MULTIPLEDEPENDENTCLAIM(37 CFR 1.16(j))                                                                   OR

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                                     (Column 1)                       (Column 2)          (Column 3)
                                   CLAIMS                          HIGHEST
                                  REMAINING                        NUMBER                 PRESENT                        ADDITIONAL                               ADDITIONAL
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<(      □      FIRSTPRESENTATION
                               OF MULTIPLEDEPENDENTCLAIM(37 CFR 1.16(j))                                                                   OR

                                                                                                          TOTAL                                 TOTAL
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                                                                                                          FEE                                   FEE
 * If the entry     in column 1 is less than the entry in column 2, write "0" in column 3.
                                                                                                           Legal Instrument Examiner:
 ** If the "Highest Number Previously Paid For" IN THIS SPACE is less than 20, enter "20".
                                                                                                           /EFREM WARREN/
 *** If the "Highest Number Previously Paid For" IN THIS SPACE is less than 3, enter "3".
 The "Highest Number Previously Paid For" (Total or Independent) is the highest number found in the appropriate box in column 1.
This collection of information Is required by 37 CFR 1.16. The information Is required to obtain or retain a benefit by the public which Is to file (and by the USPTO to
process) an application. Confidentiality is governed by 35 U.S.C. 122 and 37 CFR 1.14. This collection is estimated to take 12 minutes to complete, including gathering,
preparing, and submitting the completed application form to the USPTO. Time will vary depending upon the individual case. Any comments on the amount of time you
require to complete this form and/or suggestions for reducing this burden, should be sent to the Chief Information Officer, U.S. Patent and Trademark Office, U.S.
Department of Commerce, P.O. Box 1450, Alexandria, VA 22313-1450. DO NOT SEND FEES OR COMPLETED FORMS TO THIS
ADDRESS. SEND TO: Commissioner for Patents, P.O. Box 1450, Alexandria, VA 22313-1450.
                                            If you need assistance in completing the form, ca/11-800-PTO-9199 and select option 2.
                Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 216 of 745
                    UNITED STA IBS      p AIBNT       AND TRADEMARK OFFICE
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                                                                                        Alexandria., Virginia 22313-1450
                                                                                        www.uspto.gov




   APPLICATION NO.             FILING DATE                 FIRST NAMED INVENTOR   ATTORNEY DOCKET NO.               CONFIRMATION NO.

       10/315,250               12/10/2002                     Magnus Goertz         NEONODE.P004                           1226

       75660            7590             05/28/2010
                                                                                                       EXAMINER
       Soquel Group, LLC
       P.O. Box 691                                                                                 PITARO, RY AN F
       Soquel, CA 95073
                                                                                       ART UNIT                       PAPER NUMBER

                                                                                          2174



                                                                                       MAIL DATE                     DELIVERY MODE

                                                                                       05/28/2010                          PAPER


Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.




PTOL-90A (Rev. 04/07)
                        Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 217 of 745
                                                                                    Application No.                               Applicant(s)

                                                                                     10/315,250                                   GOERTZ, MAGNUS
                      Office Action Summary                                         Examiner                                      Art Unit
                                                                                    RYAN F. PITARO                                2174
                 -- The MAILING DA TE of this communication appears on the cover sheet with the correspondence address --
  Period for Reply
        A SHORTENED STATUTORY PERIOD FOR REPLY IS SET TO EXPIRE ;l_MONTH(S) OR THIRTY (30) DAYS,
        WHICHEVER IS LONGER, FROM THE MAILING DATE OF THIS COMMUNICATION.
        - Extensions of time may be available under the provisions of 37 CFR 1.136(a). In no event, however, may a reply be timely filed
          after SIX (6) MONTHS from the mailing date of this communication.
        - If NO period for reply is specified above, the maximum statutory period will apply and will expire SIX (6) MONTHS from the mailing date of this communication.
        - Failure to reply within the set or extended period for reply will, by statute, cause the application to become ABANDONED (35 U.S.C. § 133).
          Any reply received by the Office later than three months after the mailing date of this communication, even if timely filed, may reduce any
          earned patent term adjustment. See 37 CFR 1.704(b).

  Status

           1)IZI Responsive to communication(s) filed on 22 February 2010.
       2a)IZ! This action is FINAL.                                2b)0 This action is non-final.
           3)0    Since this application is in condition for allowance except for formal matters, prosecution as to the merits is
                  closed in accordance with the practice under Ex parte Quayle, 1935 C.D. 11, 453 O.G. 213.

  Disposition of Claims
        4)[8J Claim(s) 1-16 and 18 is/are pending in the application.
                 4a) Of the above claim(s) __                 is/are withdrawn from consideration.
           5)0    Claim(s) __          is/are allowed.
           6)[8J Claim(s) 1-16 and 18 is/are rejected.
           7)0    Claim(s) __          is/are objected to.
           8)0    Claim(s) __          are subject to restriction and/or election requirement.

  Application Papers
           9)0 The specification is objected to by the Examiner.
        10)0 The drawing(s) filed on __                    is/are: a)O accepted or b)O objected to by the Examiner.
                 Applicant may not request that any objection to the drawing(s) be held in abeyance. See 37 CFR 1.85(a).
                  Replacement drawing sheet(s) including the correction is required if the drawing(s) is objected to. See 37 CFR 1.121(d).
        11)0 The oath or declaration is objected to by the Examiner. Note the attached Office Action or form PT0-152.

  Priority under 35 U.S.C. § 119
        12)0 Acknowledgment is made of a claim for foreign priority under 35 U.S.C. § 119(a)-(d) or (f).
              a)O All        b)O Some* c)O None of:
                  1.0       Certified copies of the priority documents have been received.
                  2.0       Certified copies of the priority documents have been received in Application No. __                                     .
                  3.0       Copies of the certified copies of the priority documents have been received in this National Stage
                            application from the International Bureau (PCT Rule 17.2(a)).
              *Seethe attached detailed Office action for a list of the certified copies not received.




  Attachment(s)
  1) [8JNotice of References Cited (PTO-892)                                                       4)   0   Interview Summary (PTO-413)
  2)   0  Notice of Draftsperson's Patent Drawing Review (PTO-948)                                          Paper No(s)/Mail Date. __      .
  3)   [8JInformation Disclosure Statement(s) (PTO/SB/08)                                          5)   0   Notice of Informal Patent Application
          Paper No(s)/Mail Date 3/16/2010.                                                         6)   0   Other: __     .
U.S. Patent and Trademark Office
PTOL-326 (Rev. 08-06)                                                  Office Action Summary                                  Part of Paper No./Mail Date 20100523
     Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 218 of 745


Application/Control Number: 10/315,250                                                                   Page 2
Art Unit: 2174



                                      Response to Amendment



1.     This action is in response to the amendment filed 2/22/2010. This action is final.



                                 Claim Rejections - 35 USC§ 103

2.     The following is a quotation of 35 U.S.C. 103(a) which forms the basis for all

obviousness rejections set forth in this Office action:

       (a) A patent may not be obtained though the invention is not identically disclosed or described as set
       forth in section 102 of this title, if the differences between the subject matter sought to be patented and
       the prior art are such that the subject matter as a whole would have been obvious at the time the
       invention was made to a person having ordinary skill in the art to which said subject matter pertains.
       Patentability shall not be negatived by the manner in which the invention was made.

3.     Claim 1 is rejected under 35 U.S.C. 103(a) as being unpatentable over Nakajima

et al ("Nakajima", 6,346,935) in view of Hoshino et al ("Hoshino", US 20040021643) in

view of Hirshberg ("Hirshberg", US 2002/0027549).



       As per claim 1, Nakajima teaches a computer readable medium storing a

computer program with computer program code, which, when read by a mobile

handheld computer unit, allows the computer to present a user interface for the mobile

handheld computer unit, the user interface comprising: a touch sensitive area in which

representations of a plurality of functions are displayed (Column 15 lines 1-9, function

signs), and each function of said plurality of functions being mapped to a corresponding

location in the touch sensitive area at which the representation of the function is

displayed (Column 15 lines 1-9, stops moving finger). Nakajima teaches gliding over the
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icon Column 15 lines 1-15, stops moving finger then glides finger to lightly press surface

but fails to distinctly point out touching the icon and gliding away. However, Hoshino

teaches an icon being activated by an object touching the corresponding location and

then gliding along the touch sensitive area away from the location ([0092]-[0093], drag

and drop operation may be used in combination with a push in operation for activating a

function). Therefore it would have been obvious at the time of the invention to combine

the teaching of Hoshino with the medium of Nakajima. Motivation to do so would have

been to apply a known technique to a known system in order to yield advantageous and

predictable results.

       Nakajima-Hoshino fails to distinctly point out an object touching a location then

the object gliding along the area away from the location to activate a function. However,

Hirshberg teaches a multi-step operation comprising an object touching the

corresponding location and then the object gliding along the touch sensitive area away

from the touched location ([0031 ]).

       Therefore it would have been obvious to an artisan at the time of the invention to

combine the teaching of Hirshberg with the medium of Nakajima-Hoshino.

       Motivation to do so would have been to provide a compact multifunctional keypad

which would not require great precision of use and which could be conveniently and

effectively operated by use of the finger.
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4.       Claims 2-11,14-16,18 rejected under 35 U.S.C. 103(a) as being unpatentable

over Nakajima et al ("Nakajima", 6,346,935) and Hoshino et al ("Hoshino", US

20040021643) in view of Hirshberg ("Hirshberg", US 2002/0027549) in view of Rogue

("Rogue", Palm Pilot: The Ultimate Guide, 2nd Edition).



         As per claim 2, Nakajima-Hoshino-Hirshberg fails to particularly disclose a

function to display a plurality of functions. However, Rogue teaches a computer

readable medium of claim 1, wherein one function from the plurality of functions, when

activated, causes the user interface to display icons representing different services or

settings for a currently active application (Figure 1.2-1.3, Preferences ).Therefore it

would have been obvious to an artisan at the time of the invention to combine the

teaching of Rogue with the medium of Nakajima. Motivation to do so would have been

to provide a way to reduce screen clutter and only access the applications when

needed.



         As per claim 3, Nakajima-Hoshino-Hirshberg-Rogue teaches a computer

readable medium of claim 2, wherein the user interface is characterised in, that a

selection of a preferred service or setting is done by tapping on a display icon

corresponding to the preferred service or setting (Nakajima, Column 18 lines 30-40,

tap).
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         As per claim 4, Nakajima-Hoshino-Hirshberg-Rogue teaches a computer

readable medium of claim 1, wherein one function from the plurality of functions, when

activated, causes the user interface to display a keyboard and a text field (Rogue,

Figure 2.5, power stroke up, Figure 2.6).



         As per claim 5, Nakajima-Hoshino-Hirshberg-Rogue teaches a wherein said text

field is used for inputting and editing of text through said keyboard (Nakajima, Figure

2.6).




         As per claim 6, Nakajima-Hoshino-Hirshberg-Rogue fails to teach a computer

readable medium of claim 1, OFFICIAL NOTICE is taken that file listing is well know in

the art. It is extremely common to see a list of functions and files listed, as in directories.

Therefore it would have been obvious to an artisan at the time of the invention to

combine the teaching with the medium of Nakajima-Hoshino -Rogue. Motivation to do

so would have been to provide a user with a list of options.



         As per claim 7, Nakajima-Hoshino-Hirshberg-Rogue teaches a computer

readable medium of claim 6, wherein the user interface is characterised in, that a

selection of an application or file is done by gliding the object along said touch sensitive

area so that a representation of a desired one of said application or file is highlighted,
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raising said object from said touch sensitive area, and then tapping on said touch

sensitive area (Nakajima, Column 18 lines 40-56).



       As per claim 8, Nakajima-Hoshino-Hirshberg-Rogue fails to teach presenting only

files or only applications. However OFFICIAL NOTICE is taken that file sorting is well

know in the art. It is extremely common to sort a list of functions and files listed by data

type. Therefore it would have been obvious to an artisan at the time of the invention to

combine the teaching with the medium of Nakajima-Rogue. Motivation to do so would

have been to provide a user with a specific list of filtered options.



       As per claim 9, Nakajima-Hoshino-Hirshberg-Rogue teaches a computer

readable medium of claim 7, wherein the user interface is characterised in, that, one

item in said list is highlighted by a moveable marking, and gliding the object along the

touch sensitive area in a direction towards the top of said list or towards the bottom of

said list, causes said marking to move in the same direction without scrolling the list

(Rogue, Figure 1.4, using the menu).



       As per claim 10, Nakajima-Hoshino-Hirshberg-Rogue teaches a computer

readable medium of claim 9, wherein the user interface is characterised in, that, if the

number of applications or files in said list exceeds the number of applications or files

that can be presented on said touch sensitive area as content, and if the object is (i)

glided along said touch sensitive area to the top or bottom position of said touch
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sensitive area, then (ii) raised above said touch sensitive area, then (iii) replaced on

said touch sensitive area, and then (iv) again glided along said touch sensitive area to

the top or bottom of said touch sensitive area, said list navigation pages the content of

said list up or down one whole page (Nakajima, Column 14 lines 45-57 and Column 2

lines 15-23, wherein Nakajima is an absolute pointing device and a swipe from the top

of the page to the bottom will result in a refresh by a whole page ).



       As per claim 11, Nakajima-Hoshino-Hirshberg-Rogue teaches a computer

readable medium of claim 10, wherein the user interface is characterised in, that if the

object is raised from any first position on said touch sensitive area and then replaced on

any second position on said touch sensitive area, said navigation can be continued from

said second position (Nakajima, Column 14 lines 45-57).



       As per claim 14, while Nakajima-Hoshino-Hirshberg-Rogue fails to teach a touch

sensitive area is 2-3 inches. OFFICIAL NOTICE is taken that screen sizes vary and

screens with a touch sensitive area of 2-3 inches diagonally is well known in the art.

Therefore it would have been obvious to an artisan at the time of the invention to

combine the screen size with the medium of Nakajima-Hoshino -Rogue. Motivation to

do so would have been to provide adequate size to operate the touch screen while

keeping it small enough to fit in a pocket.
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         As per claim 15, Nakajima-Hoshino-Hirshberg-Rogue teaches a enclosure

adapted to cover the mobile handheld computer unit according to Claim 1,

characterised in, that said enclosure is provided with an opening for said touch sensitive

area (Rogue, Figure 1.1).



         As per claim 16, Nakajima-Hoshino-Hirshberg-Rogue fails to teach an enclosure

is removable and exchangeable. OFFICIAL NOTICE is taken that an enclosure is

removable and exchangeable is well known in the art. Therefore it would have been

obvious to an artisan at the time of the invention to combine the exchangeable

enclosure with the medium of Nakajima-Rogue. Motivation to do so would have been to

provide a way to style your mobile device so that it can be personalized to a user's

taste.




         As per claim 18, Nakajima-Hoshino-Hirshberg-Rogue teaches a computer

readable medium according to Claim 1, characterised in, that said computer program

product is adapted to function as a shell upon an operations system (Rogue, 1.1 Palm

Pilot Basics).
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5.     Claims 12 and 13 are rejected under 35 U.S.C. 103(a) as being unpatentable

over Nakajima et al ("Nakajima", 6,346,935) in view of Rogue ("Rogue", Palm Pilot: The

Ultimate Guide, 2nd Edition), Hoshino et al ("Hoshino", US 20040021643) and Hirshberg

("Hirshberg", US 2002/0027549) in view of O'Rourke (O'Rourke, US 7,225,408).




      As per claim 12, Nakajima-Hoshino-Hirshberg-Rogue teaches a computer

readable medium of claim 1, wherein the user interface is characterized in, that an

active application, function, service or setting is moved on one step by gliding the object

along the touch sensitive area from left to right (Nakajima, Column 14 lines 45-57).

However, Nakajima-Hoshino-Hirshberg-Rogue t fails to distinctly point out closing or

backing one step. However, O'Rourke teaches that the active application, function,

service or setting is closed or backed one step (Figure 13, right and left arrows).

Therefore it would have been obvious to an artisan at the time of the invention to

combine the glide functionality with the forward and backward functionality of O'Rourke.

Motivation to do so would have been to provide an easy way to traverse the GUI.
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       As per claim 13, Nakajima-Hoshino-Hirshberg-Rogue t-O'Rourke teaches a

computer readable medium of claim 1, wherein the user interface is characterized in,

that said representations of said plurality of functions are located at the bottom of said

touch sensitive area (O'Rourke, Figure 13, icons at bottom right) .




                                Response to Arguments

       Applicant's arguments with respect to claims 1-16, 18 have been considered but

are moot in view of the new ground(s) of rejection.



       The Examiner notes that the factual assertions set forth under OFFICIAL

       NOTICE in the previous office action have not been contested.




                                        Conclusion

       Applicant's amendment necessitated the new ground(s) of rejection presented in

this Office action. Accordingly, THIS ACTION 15 MADE FINAL. See MPEP

§ 706.07(a). Applicant is reminded of the extension of time policy as set forth in 37

CFR 1.136(a).
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       A shortened statutory period for reply to this final action is set to expire THREE

MONTHS from the mailing date of this action. In the event a first reply is filed within

TWO MONTHS of the mailing date of this final action and the advisory action is not

mailed until after the end of the THREE-MONTH shortened statutory period, then the

shortened statutory period will expire on the date the advisory action is mailed, and any

extension fee pursuant to 37 CFR 1.136(a) will be calculated from the mailing date of

the advisory action. In no event, however, will the statutory period for reply expire later

than SIX MONTHS from the date of this final action.



       Any inquiry concerning this communication or earlier communications from the

examiner should be directed to RYAN F. PITARO whose telephone number is

(571 )272-4071. The examiner can normally be reached on 9:00am - 5:30pm Mondays

through Fridays.

       If attempts to reach the examiner by telephone are unsuccessful, the examiner's

supervisor, Dennis Chow can be reached on 571-272-7767. The fax phone number for

the organization where this application or proceeding is assigned is 571-273-8300.
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       Information regarding the status of an application may be obtained from the

Patent Application Information Retrieval (PAIR) system. Status information for

published applications may be obtained from either Private PAIR or Public PAIR.

Status information for unpublished applications is available through Private PAIR only.

For more information about the PAIR system, see http://pair-direct.uspto.gov. Should

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/Ryan F Pitaro/
Examiner, Art Unit 2174
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                                                                                     Application/Control   No.          Applicant(s)/Patent Under
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                                                                                     10/315,250                         GOERTZ, MAGNUS
                  Notice of References Cited
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                                                                                                                                            Page 1 of 1
                                                                                     RYAN F. PITARO                      2174
                                                                          U.S. PATENT DOCUMENTS
                         Document Number                    Date
 *                Country Code-Number-Kind Code          MM-YYYY                                      Name                                  Classification

 *       A      US-2002/0027549                         03-2002          Hirshberg, David                                                     345/168

 *       B      US-7,159,763                            01-2007          Yap et al.                                                           235/375

 *       C      US-7,006,077                            02-2006          Uusimaki, Matti                                                      345/173

 *       D      US-6,597,345                            07-2003          Hirshberg, David                                                     345/168

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*A copy of this reference 1snot being furnished with this Office action. (See MPEP § 707.05(a).)
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U.S. Patent and Trademark Office
PT0-892 (Rev. 01-2001)                                                  Notice of References Cited                      Part of Paper No. 20100523
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                                                  Application/Control No.                 Applicant(s)/Patent Under
                                                                                          Reexamination
          Index of Claims                         10315250                                GOERTZ, MAGNUS

                                                  Examiner                                Art Unit

                                                  Ryan F Pitaro                           2174


  ✓           Rejected                         Cancelled                N    Non-Elected                 A           Appeal

  =           Allowed                         Restricted                      Interference               0         Objected

 □    Claims renumbered in the same order as presented by applicant                  □    CPA        □   T.D.        □    R.1.47

          CLAIM                                                              DATE
      Final        Original    11/09/2007 06/23/2008 12/21/2008 07/06/2009 11/20/2009 05/23/2010
                      1            ✓          ✓          ✓          ✓          ✓          ✓

                      2            ✓          ✓          ✓          ✓          ✓          ✓


                      3            ✓          ✓          ✓          ✓          ✓          ✓

                      4            ✓          ✓          ✓          ✓          ✓          ✓


                      5            ✓          ✓          ✓          ✓          ✓          ✓

                      6            ✓          ✓          ✓          ✓          ✓          ✓

                      7            ✓          ✓          ✓          ✓          ✓          ✓

                      8            ✓          ✓          ✓          ✓          ✓          ✓

                      9            ✓          ✓          ✓          ✓          ✓          ✓

                      10           ✓          ✓          ✓          ✓          ✓          ✓


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                      12           ✓          ✓          ✓          ✓          ✓          ✓


                      13           ✓          ✓          ✓          ✓          ✓          ✓

                      14           ✓          ✓          ✓          ✓          ✓          ✓

                      15           ✓          ✓          ✓          ✓          ✓          ✓

                      16           ✓          ✓          ✓          ✓          ✓          ✓

                      17           ✓          ✓          ✓          -          -           -
                      18           ✓          ✓          ✓          ✓          ✓          ✓


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                                                 Application/Control No.                  Applicant(s)/Patent Under
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          Index of Claims                        10315250                                 GOERTZ, MAGNUS

                                                 Examiner                                 Art Unit

                                                 Ryan F Pitaro                            2174


  ✓           Rejected                         Cancelled                N    Non-Elected                 A           Appeal

  =           Allowed                         Restricted                      Interference               0         Objected

 □    Claims renumbered in the same order as presented by applicant                  □    CPA        □   T.D.        □    R.1.47

          CLAIM                                                              DATE
      Final        Original    11/09/2007 06/23/2008 12/21/2008 07/06/2009 11/20/2009 05/23/2010
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                     39                                  N          -
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                                        Application/Control No.       Applicant(s)/Patent Under
                                                                      Reexamination
           Search Notes                 10315250                      GOERTZ, MAGNUS

                                        Examiner                      Art Unit

                                        Ryan F Pitaro                 2174




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      Class                                Subclass                          Date             Examiner
 Update                   Search                                          11/8/2007         RFP
 Update                   Search                                         6/17/2008          RFP
 Update                   Search                                         12/21/2008         RFP
 Update                   Search                                         4/22/2009          RFP
 Update                   Search                                         11/20/2009         RFP
 Update                   Search                                         5/22/2010          RFP



                                                  SEARCH NOTES

                                   Search Notes                              Date             Examiner
 Update Search                                                            11/8/2007         RFP
 Update Search                                                           6/17/2008          RFP
 EAST                                                                    12/21/2008         RFP
 Internet                                                                12/21/2008         RFP
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 IEEE                                                                    12/21/2008         RFP
 ACM                                                                     12/21/2008         RFP
 Update Search                                                           4/22/2009          RFP
 Update Search                                                           11/20/2009         RFP
 Update Search                                                           5/22/2010          RFP
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                                                             Application Number                         10315250
                                                             Filing Date                                2002-12-10
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STATEMENT BY APPLICANT                                       Art Unit                                   2174
( Not for submission under 37 CFR 1.99)
                                                             Examiner Name                    I Ryan F. Pitaro
                                                             Attorney Docket Number                     NEONODE.P004




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IN FORMATION DISCLOSURE                                    First Named Inventor         I MagnusGoertz
STATEMENT BY APPLICANT                                     Art Unit                             2174
( Not for submission under 37 CFR 1.99)
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Doc code: IDS                                                                                                                                                  PTOISB/08a (01-10)
                                                                                                                           Approved for use through 07/31/2012. 0MB 0651-0031
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                                                               Application Number                         10315250
                                                               Filing Date                                2002-12-10
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                     Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 236 of 745
                                                           Application Number                    10315250
                                                            Filing Date                          2002-12-10
INFORMATION DISCLOSURE                                      First Named Inventor        I MagnusGoertz
STATEMENT BY APPLICANT                                     Art Unit                              2174
( Not for submission under 37 CFR 1.99)
                                                            Examiner Name               I Ryan F. Pitaro
                                                           Attorney Docket Number                NEONODE.P004




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Standard ST.3). 3 For Japanese patent documents, the indication of the year of the reign of the Emperor must precede the serial number of the patent document.
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English language translation is attached.




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                  Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 237 of 745
                                                  Application Number             10315250
                                                  Filing Date                    2002-12-10
INFORMATION DISCLOSURE                            First Named Inventor    I MagnusGoertz
STATEMENT BY APPLICANT                            Art Unit                       2174
( Not for submission under 37 CFR 1.99)
                                                  Examiner Name           I Ryan F. Pitaro
                                                  Attorney Docket Number         NEONODE.P004



                                                  CERTIFICATION STATEMENT

Please see 37 CFR 1.97 and 1.98 to make the appropriate selection(s):


      That each item of information contained in the information disclosure statement was first cited in any communication
D     from a foreign patent office in a counterpart foreign application not more than three months prior to the filing of the
      information disclosure statement. See 37 CFR 1.97(e)(1).


 OR

      That no item of information contained in the information disclosure statement was cited in a communication from a
      foreign patent office in a counterpart foreign application, and, to the knowledge of the person signing the certification
      after making reasonable inquiry, no item of information contained in the information disclosure statement was known to
D     any individual designated in 37 CFR 1.56(c) more than three months prior to the filing of the information disclosure
      statement. See 37 CFR 1.97(e)(2).



D     See attached certification statement.
[8]   Fee set forth in 37 CFR 1.17 (p) has been submitted herewith.
D     None
                                                             SIGNATURE
 A signature of the applicant or representative is required in accordance with CFR 1.33, 10.18. Please see CFR 1.4(d) for the
form of the signature.

Signature              /Marc A. Berger/                               Date (YYYY-MM-DD)         2010-03-16
Name/Print             MarcA. Berger                                  Registration Number      44029



This collection of information is required by 37 CFR 1.97 and 1.98. The information is required to obtain or retain a benefit by the
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          to the Patent Cooperation Treaty.

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          National Security review (35 U.S.C. 181) and for review pursuant to the Atomic Energy Act (42 U.S.C. 218(c)).

     7.       A record from this system of records may be disclosed, as a routine use, to the Administrator, General Services, or
          his/her designee, during an inspection of records conducted by GSA as part of that agency's responsibility to
          recommend improvements in records management practices and programs, under authority of 44 U.S.C. 2904 and
          2906. Such disclosure shall be made in accordance with the GSA regulations governing inspection of records for this
          purpose, and any other relevant (i.e., GSA or Commerce) directive. Such disclosure shall not be used to make
          determinations about individuals.



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          enforcement agency, if the USPTO becomes aware of a violation or potential violation of law or regulation.




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                            Electronic Patent Application Fee Transmittal

Application Number:                            10315250


Filing Date:                                   10-Dec-2002




Title of Invention:                            User interface




First Named Inventor/Applicant Name:           Magnus Goertz


Filer:                                         Marc Aron Berger


Attorney Docket Number:                        NEONODE.P004


Filed as Large Entity


Utility under 35 USC 111 (a) Filing Fees

                                                                                      Sub-Total in
                        Description                    Fee Code   Quantity   Amount
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Basic Filing:


Pages:


Claims:


Miscellaneous-Filing:


Petition:


Patent-Appeals-and-Interference:


Post-Allowance-and-Post-Issuance:


Extension-of-Time:
            Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 240 of 745
                                                                                          Sub-Total in
                        Description                  Fee Code      Quantity      Amount
                                                                                            USO($)


Miscellaneous:


           Submission- Information Disclosure Stmt     1806           1            180          180


                                                              Total in USD ($)            180
                Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 241 of 745
                                         Electronic Acknowledgement Receipt

                             EFSID:                    7214152


                     Application Number:               10315250


             International Application Number:


                     Confirmation Number:              1226




                       Title of Invention:             User interface




        First Named Inventor/Applicant Name:           Magnus Goertz


                      Customer Number:                 75660


                              Filer:                   Marc Aron Berger


                      Filer Authorized By:


                   Attorney Docket Number:             NEONODE.P004


                         Receipt Date:                 16-MAR-2010


                          Filing Date:                 10-DEC-2002


                         Time Stamp:                   04:13:59


                       Application Type:               Utility under 35 USC111(a)


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the application.
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Attorney's       Docket   No.: NEONODE.P004                PATENT


         IN THE UNITED         STATES       PATENT       AND TRADEMARK             OFFICE

In Re Patent Application         of:                 )
                                                     )     Examiner:        Ryan F. Pitaro
                     Magnus Goertz                   )
                                                     )     Art Unit:        2174
Application       No: 10/315,250                     )
                                                     )
Filed:           December    10, 2002                )
                                                     )
For:             USER INTERFACE FOR                  )
                 MOBILE HANDHELD                     )
                 COMPUTER UNIT                       )
___________                                          )
Mail Stop AMENDMENT
Commissioner   for Patents
P. 0. Box 1450
Alexandria, VA 22313-1450



                 AMENDMENT       AND      RESPONSE        TO OFFICE        ACTION

                                UNDER       37 C.F.R.     §1.111



Sir:
                          In response     to the Office Action     dated    November    24,
2009, applicant       respectfully      requests    that the remarks       below be taken
into consideration.




Atty.   Docket   No. NEONODE.P004             -1-
        Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 244 of 745




IN THE CLAIMS:

                               Please substitute         the following       claims for the pending
claims with the same number:


1. (currently           amended)                  A computer             readable         medium             storing      a
computer          program        with computer           program        code, which,            when read by a
mobile      handheld           computer       unit,   allows       the computer             to present           a user
interface         for    the    mobile       handheld        computer         unit,       the        user     interface
comprising:
                               a touch       sensitive      area    in which         representations              of at
least one function              are displayed,           and each function            of said at least one
function     being mapped             to a corresponding                location     in the touch sensitive
area at which            the representation              of the function           is displayed,            and being
activated        by a multi-step          operation         comprising       (i) an object             touching        the
corresponding            location     and then           (ii) the object          gliding       along       the touch
sensitive        area away from the touched                  location.


2. (previously           presented)               The computer            readable        medium            of claim 1,
wherein          one function        from      the    at least      one function,               when        activated,
causes the user interface                 to display         icons representing             different         services
or settings        for a currently        active application.


3. (previously           presented)               The computer            readable        medium            of claim 2,
wherein          the    user     interface      is characterised            in,    that     a selection            of a
preferred         service       or   setting      is done          by    tapping       on        a     display     icon
corresponding            to the preferred         service or setting.




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4. (previously           presented)                  The computer              readable    medium      of claim 1,
wherein       one function           from at least one function,                      when activated,      causes
the user interface             to display a keyboard                  and a text field.


S. (previously           presented)                  The computer              readable    medium      of claim 4,
wherein       said text          field   is used for inputting                 and editing     of text    through
said keyboard.


6. (previously           presented)                  The computer              readable    medium      of claim 1,
wherein          one function            from     the    at least        one function,         when     activated,
causes        the      user      interface       to display          a list    with    a library      of available
applications           and files on the mobile handheld                       computer      unit.


7. (previously           presented)                  The computer              readable    medium      of claim 6,
wherein          the    user      interface       is characterised              in, that    a selection        of an
application         or file is done by gliding                  the object       along said touch sensitive
area so that a representation                      of a desired one of said application                   or file is
highlighted,           raising     said object          from        said touch     sensitive    area, and then
tapping       on said touch sensitive                area.


8. (previously           presented)                  The computer              readable    medium      of claim 7,
wherein       the user interface                is characterised             in, that at any given time said
list presents          only files or only applications,                       and that an area of said list
presents         a field through             which      said list can be changed               from    presenting
files    to      presenting          applications,             or     from     presenting       applications      to
presenting          files.




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9. (previously           presented)                 The computer     readable         medium       of claim 7,
wherein      the user interface              is characterised      in, that, one item in said list is
highlighted            by a moveable          marking,        and the user interface              enables      list
navigation         whereby        gliding     the object       along the touch sensitive              area in a
direction        towards       the top of said list or towards                   the bottom        of said list
causes said marking                    to move in the same direction                without      scrolling     the
list.


10. (previously            presented)               The computer     readable         medium       of claim 9,
wherein          the    user    interface      is characterised           in, that,     if the     number       of
applications           or files in said list exceeds the number                   of applications        or files
that can be presented                   on said touch sensitive           area as content,            and if the
object     is (i) glided along said touch sensitive                   area to the top or bottom                 of
said touch sensitive              area, then (ii) raised above said touch sensitive                          area,
then (iii) replaced            on said touch sensitive            area, and then (iv) again glided
along      said        touch    sensitive      area     to the     top     or    bottom       of said       touch
sensitive        area,     said list navigation              pages the content          of said list up or
down by one whole page.


11. (previously            presented)               The computer          readable      medium         of claim
10,     wherein         the user interface            is characterised          in, that    if the object         is
raised      from        any    first     position     on said     touch     sensitive       area      and    then
replaced         on any second             position     on said touch           sensitive     area,    said list
navigation         can be continued           from said second position.


12. (previously            presented)               The computer     readable         medium       of claim 1,
wherein      the user interface              is characterised       in, that an active             application,
function,        service       or setting      is advanced        one step by gliding               the object



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        Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 247 of 745




along      the touch        sensitive     area   from     left to right,      and that      the active
application,       function,     service    or setting      is closed or backed           one step by
gliding the object along the touch sensitive                  area from right to left.


13. (previously         presented)           The computer          readable     medium     of claim 1,
wherein      the user interface          is characterised     in, that said representations          of
said at least one function              are located at the bottom            of said touch sensitive
area.


14. (previously         presented)           The computer          readable     medium     of claim 1,
wherein      the touch sensitive          area is 2-3 inches in diagonal           dimension.


15. (previously         presented)           An enclosure          adapted     to cover the mobile
handheld         computer       unit according       to Claim 1, characterised            in, that said
enclosure        is provided     with an opening for said touch sensitive                 area.


16. (previously         presented)           The       enclosure      according      to    Claim   15,
characterised        in, that said enclosure           is removable     and exchangeable.


17. (cancelled)


18. (previously         presented)           The computer          readable     medium     of claim 1,
characterised        in, that said computer             program     code is adapted        to function
as a shell upon an operating               system.


19. - 47.        ( cancelled)




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                                             REMARKS


                          Applicant    expresses      appreciation      to the Examiner       for
the courtesy        of an interview     granted      to applicant's     representative      Marc A.
Berger (Reg. No. 44,029)              and to Yossi Shain.       The interview        was held by
telephone        on Monday,      February    22, 2010.      The substance       of the interview
concerned         the amendments        to claim 1.
                          Applicant    has carefully     studied      the outstanding      Office
Action.     The present      amendment        is intended     to place the application           in
condition        for allowance    and is believed      to overcome       all of the objections
and rejections        made by the Examiner.             Favorable      reconsideration     and
allowance        of the application     are respectfully      requested.
                          Applicant    has amended        claim 1 to properly        claim the
present      invention.     No new matter         has been introduced.         Claims 1 - 16
and 18 are presented             for examination.
                          In Paragraphs      2 and 3 of the Office Action,           the
Examiner         has rejected    claim 1 under 35 U.S.C. §103(a)              as being
unpatentable         over Nakajima      et al., U.S. Patent No. 6,346,935
("Nakajima")         in view of Hoshino et al., U.S. Publ. No. 2004/0021643
(''Hoshino").
                          In Paragraph      4 of the Office Action,        the Examiner       has
rejected     claims 2 - 11, 14 - 16 and 18 under 35 U.S.C. §103(a)                          as
being unpatentable          over Nakajima         in view of Hoshino,       and in view of
Rogue, Palm Pilot: The Ultimate              Guide, 2 nd Edition ("Rogue").
                          In Paragraph      5 of the Office Action,        the Examiner       has
rejected     claims 12 and 13 under 35 U.S.C. §103(a)                     as being
unpatentable         over Nakajima      in view of Rogue, in view of Hoshino,               and in
view of O'Rourke,         US Patent No. 7,225,408            ("O'Rourke").



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Brief Discussion              of Prior Art
                              Nakajima,      Rogue and O'Rourke           are discussed       in
applicant's        response      filed on July 13, 2009.
                              Hoshino describes          a touch screen user interface             with
two distinct        user operations;          namely,     (1) touch,    and (2) drag.        Since a
drag operation          begins with an initial touch,           in order to distinguish
between          these operations         (1) and (2), it is necessary           to discriminate
between          a touch operation        and the initial touch of a drag operation.                  To
do so, Hoshino uses a pressure                  sensor,     in addition     to a touch sensor.            The
pressure         sensor discriminates          between      three states;     namely,      (a) no
touch,     (b) a light touch, and ( c) a hard touch, corresponding                         to respective
pressure         levels 0, Pl and P2 (Hoshino/              pars. 10, 57, 79 - 81, 91 and 92;
step 103 of FIG. 7, step 205 of FIG. 12, step 305 of FIG. 15, step 406 of
FIG. 18 and step 506 of FIG. 21).
                              Hoshino associates         a drag operation        with a soft initial
touch, and associates              a touch operation         with a hard touch.           Hoshino is
thereby      able to discriminate            between      a touch operation        and the initial
touch of a drag operation.                 Hoshino activates        a function     in response       to a
hard touch,         but does not activate          a function      in response      to a soft touch.


Response           to Examiner's          Arguments
                              In rejecting     independent      claim 1 in Paragraph          3 of the
Office Action,        the Examiner           has cited pars. 92 and 93 of Hoshino as
teaching         a function     being activated        in response      to an object touching             a
corresponding          location     and then gliding        along the touch sensitive              area
away from the location.               Applicant     respectfully       submits    that,   unlike the
claimed      invention,        Hoshino activates         the function     solely in response         to a



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push-in     operation;        i.e., a hard touch, and not in response                   to a drag
operation.         Indeed,      at par. 92 Hoshino recites

                 When P > = P2, an operation for activating the function may be
                 performed in a manner similar to steps 104 - 107 in FIG. 7.
Applicant        notes that in FIG. 7, from step 100 (START) through                            step 107,
function     activation       occurs solely in response to a hard touch on an
associated         icon, irrespective        of whether         or not a drag is performed.
                             In distinction,       the claimed       invention      activates   a function
in response to a multi-step                touch-and-glide          operation.       Thus in particular,
referring        to the illustration      below, the claimed            invention     responds      to a
(hard)     touch followed         by a glide differently           than Hoshino.         Specifically,
the claimed         invention     activates        a function     after the glide, whereas
Hoshino activates            the function      after the (hard) touch.




            Function     activation    operation    of claimed    invention   vs. that of Hoshino



                           The table below summarizes                    some of the salient
distinctions        between      the claimed        invention      and Hoshino.

            Some distinctions            between claimed invention and Hoshino
                                       Claimed invention               Hoshino
Objective                             Novel touch-and-       Discriminate between two
                                      glide user interface   conventional operations;
                                      operation              namely, (1) touch, and
                                                             (2) draq-and-drop
Hardware                              Touch screen           Touch screen with
                                                             pressure sensor
Function          Activation          In response to both    In response to hard touch
                                      steps of a multi-step
                                      operation; namely,
                                      (1) touch, followed
                                      by (2) a glide



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                           In order to further           distinguish     the claimed       invention
over the prior art, applicant            has amended           claim 1 to include the limitation
of a multi-step        operation      comprising         (1) a touch, followed         by (2) a glide
away from the touched               position.
                           The rejections        of the claims 1 - 16 and 18 in
paragraphs         2 - 5 of the Office Action will now be dealt with specifically.
                           As to amended          independent          claim 1 for a computer
readable         medium,    applicant     respectfully       submits,      as indicated
hereinabove,         that the limitation        in claim 1 of
                           "each     function      ...     being       activated      by    a     multi-step
operation         comprising       (i) an object         touching       the corresponding               location
and then (ii) the object             gliding    along the touch sensitive              area away from
the touched         location"
is neither       shown nor suggested            in Nakajima,        Hoshino,       Rogue or O'Rourke.
                           In Paragraph         3 of the Office Action, the Examiner                     has
indicated        that it would have been obvious               to combine          the teaching         of
Hoshino with the medium                of Nakajima.          Applicant      respectfully        disagrees.
Hoshino does not teach gliding a finger away from an icon.                                 Instead,
Hoshino teaches a drag-and-drop                   operation        for moving       an icon.      In
Nakajima         the icons are either carve-outs              in a frame surrounding              a touch
pad, or icons on an overlay              of the touch pad.             It is not possible to move
the icons of Nakajima.             As such, even the combination                    of Hoshino and
Nakajima         does not suggest the touch-and-glide                    operation     of the claimed
invention.
                           Moreover,      for the sake of argument,                even if one were
somehow          able to introduce      the drag operation              of Hoshino into Nakajima,
the lack of a pressure          sensor in Nakajima             would cause Nakajima                to
activate     a function     upon the initial touch of the drag, and ignore the drag



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        Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 252 of 745




altogether.        In fact Hoshino, at pars. 7 - 9, teaches away from trying to
support      a drag-and-drop        operation       on a touch screen that does not have
a pressure sensor.
                          The table below summarizes                 reasons why it is non-
obvious to combine           Nakajima     and Hoshino.

  Some reasons why it is non-obvious                    to combine  Nakajima with Hoshino
               Nakajima                                               Hoshino
Touch sensitive surface is opaque                       Requires dynamic video display to
and static                                              animate drag-and-drop   of icons
Icon is stationary (carve-out in                        Requires software generated icon
frame surrounding screen, or on
overlay sheet)
Touch screen does not have                              Requires pressure sensor.
pressure sensor

                          Because claims 2 - 16 and 18 depend from claim 1 and
include additional        features,     applicant      respectfully    submits    that claims 2 -
16 and 18 are not anticipated                or rendered      obvious by Nakajima,           Hoshino,
Rogue, O'Rourke,          or a combination          of Nakajima,       Hoshino,   Rogue and
O'Rourke.
                          Accordingly     claims 1 - 16 and 18 are deemed to be
allowable.


Support          for Amended        Claims    in Original       Specification
                          Independent        claim 1 for a computer          readable    medium
has been amended            to include the limitation          of a multi-step     operation
comprising         (1) a touch, followed       by (2) a glide.        This limitation   is
supported         in the original   specification       at least by the Abstract,       by FIG. 2,
where the arrow at A indicates               a touch and the arrow at B indicates              a
glide, and by the description            thereof       at par. 47.




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        Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 253 of 745




                         For the foregoing       reasons,   applicant     respectfully
submits      that the applicable     objections      and rejections     have been overcome
and that the claims are in condition             for allowance.
                         If any matters   can be resolved           by telephone,    applicant
requests         that the Patent and Trademark         Office please contact        the
applicant        at the telephone    number     listed below.


                                                     Respectfully     submitted,


Dated:      February     22, 2010                    /Marc A. Berger/
                                                     Marc A. Berger
                                                     Reg. No. 44,029
P.O. Box 691
Soquel, CA 95073
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Atty.   Docket    No. NEONODE.P004            -11-
               Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 254 of 745
                                      Electronic Acknowledgement Receipt

                           EFSID:                          7053773


                  Application Number:                      10315250


            International Application Number:


                 Confirmation Number:                      1226




                    Title of Invention:                    User interface




          First Named Inventor/Applicant Name:             Magnus Goertz


                   Customer Number:                        75660


                           Filer:                          Marc Aron Berger


                   Filer Authorized By:


                Attorney Docket Number:                    NEONODE.P004


                      Receipt Date:                        22-FEB-2010


                       Filing Date:                        10-DEC-2002


                      Time Stamp:                          08:32:48


                    Application Type:                      Utility under 35 USC 111 (a)


Payment information:
Submitted   with Payment
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File Listing:
 Document                                                                                      File Size(Bytes)/                      Multi         Pages
                      Document Description                      File Name
  Number                                                                                       Message Digest                        Part /.zip   (if appl.)

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Warnings:

Information:
             Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 255 of 745
                                                     Total Files Size (in bytes)                   98239


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New Applications Under 35 U.S.C. 111
If a new application is being filed and the application includes the necessary components for a filing date (see 37 CFR
1.53(b)-(d) and MPEP 506), a Filing Receipt (37 CFR 1.54) will be issued in due course and the date shown on this
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National Stage of an International Application under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
U.S.C. 371 and other applicable requirements a Form PCT/DO/EO/903 indicating acceptance of the application as a
national stage submission under 35 U.S.C. 371 will be issued in addition to the Filing Receipt, in due course.

New International Application Filed with the USPTO as a Receiving Office
If a new international application is being filed and the international application includes the necessary components for
an international filing date (see PCT Article 11 and MPEP 181 O), a Notification of the International Application Number
and of the International Filing Date (Form PCT/RO/1OS) will be issued in due course, subject to prescriptions concerning
national security, and the date shown on this Acknowledgement Receipt will establish the international filing date of
the application.
                        Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 256 of 745
                                                                                                                                                         PTO/SB/06 (07-06)
                                                                                                                     Approved for use through 1/31/2007. 0MB 0651-0032
                                                                                               U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
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     PATENT APPLICATION FEE DETERMINATION RECORD                                                       Application or Docket Number         Filing Date
                                     Substitute   for Form PTO-875                                              10/315,250                 12/10/2002          □   To be Mailed


                             APPLICATION AS FILED - PART I                                                                                                OTHER THAN
                                                    (Column 1)                     (Column 2)               SMALL       ENTITY       IZI   OR             SMALL   ENTITY

                      FOR                         NUMBER FILED                  NUMBER EXTRA              RATE($)           FEE($)              RATE($)             FEE($)

 0     BASIC FEE                                       N/A                            N/A                   N/A                                    N/A
       (37 CFR 1.16(a), (b), or (c))

 □     SEARCH FEE                                      N/A                            N/A                   N/A                                    N/A
       (37 CFR 1.16(k), (i), or (m))

 □     EXAMINATION FEE                                 N/A                            N/A                   N/A                                    N/A
       (37 CFR 1.16(0), (p), or (q))
 TOTAL CLAIMS
                                                          minus 20 =        *                             X $       =                      OR   X $        =
 (37 CFR 1.16(i))
 INDEPENDENT CLAIMS
                                                             minus 3 =      *                             X $       =                           X $        =
 (37 CFR 1.16(h))
                                              If the specification and drawings exceed 100
                                              sheets of paper, the application size fee due
 □APPLICATION SIZE FEE                        is $250 ($125 for small entity) for each
      (37 CFR 1.16(s))
                                              additional 50 sheets or fraction thereof. See
                                              35 U.S.C. 41 (a)(1)(G) and 37 CFR 1.16(s).

 □     MULTIPLE DEPENDENT CLAIM PRESENT (37 CFR 1.16U))

 * If the difference in column 1 is less than zero, enter "0" in column 2.                                 TOTAL                                 TOTAL

                         APPLICATION AS AMENDED- PART II
                                                                                                                                                      OTHER THAN
                                     (Column 1)                       (Column 2)          (Column 3)            SMALL     ENTITY           OR             SMALL   ENTITY
                                 CLAIMS                          HIGHEST
                                 REMAINING                       NUMBER                   PRESENT                        ADDITIONAL                               ADDITIONAL
I-      02/22/2010               AFTER                           PREVIOUSLY                EXTRA
                                                                                                          RATE($)
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z                                AMENDMENT                       PAID FOR
w       Total      (37 CFR
~       1.16(i))                 • 17                 Minus      **    47             =   0               X $26 =                0         OR   X $        =
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<(
        D Application Size Fee (37 CFR 1.16(s))
        □      FIRSTPRESENTATION
                               OF MULTIPLEDEPENDENTCLAIM(37 CFR 1.16(j))                                                                   OR

                                                                                                          TOTAL                                 TOTAL
                                                                                                          ADD'L                  0         OR   ADD'L
                                                                                                          FEE                                   FEE
                                     (Column 1)                       (Column 2)          (Column 3)
                                   CLAIMS                          HIGHEST
                                  REMAINING                        NUMBER                 PRESENT                        ADDITIONAL                               ADDITIONAL
                                                                                                          RATE($)                               RATE($)
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~       Independent                                   Minus                                               X $       =                      OR   X $        =
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<(      □      FIRSTPRESENTATION
                               OF MULTIPLEDEPENDENTCLAIM(37 CFR 1.16(j))                                                                   OR

                                                                                                          TOTAL                                 TOTAL
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                                                                                                          FEE                                   FEE
 * If the entry     in column 1 is less than the entry in column 2, write "0" in column 3.
                                                                                                           Legal Instrument Examiner:
 ** If the "Highest Number Previously Paid For" IN THIS SPACE is less than 20, enter "20".
                                                                                                           /DESHONNE T. MARTINO/
 *** If the "Highest Number Previously Paid For" IN THIS SPACE is less than 3, enter "3".
 The "Highest Number Previously Paid For" (Total or Independent) is the highest number found in the appropriate box in column 1.
This collection of information Is required by 37 CFR 1.16. The information Is required to obtain or retain a benefit by the public which Is to file (and by the USPTO to
process) an application. Confidentiality is governed by 35 U.S.C. 122 and 37 CFR 1.14. This collection is estimated to take 12 minutes to complete, including gathering,
preparing, and submitting the completed application form to the USPTO. Time will vary depending upon the individual case. Any comments on the amount of time you
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                                            If you need assistance in completing the form, ca/11-800-PTO-9199 and select option 2.
                Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 257 of 745
                    UNITED STA IBS      p AIBNT       AND TRADEMARK OFFICE
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   APPLICATION NO.             FILING DATE                 FIRST NAMED INVENTOR   ATTORNEY DOCKET NO.               CONFIRMATION NO.

       10/315,250               12/10/2002                     Magnus Goertz         NEONODE.P004                           1226

       75660            7590             11/24/2009
                                                                                                       EXAMINER
       Soquel Group, LLC
       P.O. Box 691                                                                                 PITARO, RY AN F
       Soquel, CA 95073
                                                                                       ART UNIT                       PAPER NUMBER

                                                                                          2174



                                                                                       MAIL DATE                     DELIVERY MODE

                                                                                       11/24/2009                          PAPER


Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.




PTOL-90A (Rev. 04/07)
                        Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 258 of 745
                                                                                    Application No.                               Applicant(s)

                                                                                     10/315,250                                   GOERTZ, MAGNUS
                      Office Action Summary                                         Examiner                                      Art Unit
                                                                                    RYAN F. PITARO                                2174
                 -- The MAILING DA TE of this communication appears on the cover sheet with the correspondence address --
  Period for Reply
        A SHORTENED STATUTORY PERIOD FOR REPLY IS SET TO EXPIRE ;l_MONTH(S) OR THIRTY (30) DAYS,
        WHICHEVER IS LONGER, FROM THE MAILING DATE OF THIS COMMUNICATION.
        - Extensions of time may be available under the provisions of 37 CFR 1.136(a). In no event, however, may a reply be timely filed
          after SIX (6) MONTHS from the mailing date of this communication.
        - If NO period for reply is specified above, the maximum statutory period will apply and will expire SIX (6) MONTHS from the mailing date of this communication.
        - Failure to reply within the set or extended period for reply will, by statute, cause the application to become ABANDONED (35 U.S.C. § 133).
          Any reply received by the Office later than three months after the mailing date of this communication, even if timely filed, may reduce any
          earned patent term adjustment. See 37 CFR 1.704(b).

  Status

           1)IZI Responsive to communication(s) filed on 13 July 2009.
       2a)0       This action is FINAL.                            2b)[8J This action is non-final.
           3)0    Since this application is in condition for allowance except for formal matters, prosecution as to the merits is
                  closed in accordance with the practice under Ex parte Quayle, 1935 C.D. 11, 453 O.G. 213.

  Disposition of Claims
        4)[8J Claim(s) 1-16 and 18 is/are pending in the application.
                 4a) Of the above claim(s) __                 is/are withdrawn from consideration.
           5)0    Claim(s) __          is/are allowed.
           6)0    Claim(s) 1-16.18 is/are rejected.
           7)0    Claim(s) __          is/are objected to.
           8)0    Claim(s) __          are subject to restriction and/or election requirement.

  Application Papers
           9)0 The specification is objected to by the Examiner.
       10)0 The drawing(s) filed on __                     is/are: a)O accepted or b)O objected to by the Examiner.
                 Applicant may not request that any objection to the drawing(s) be held in abeyance. See 37 CFR 1.85(a).
                  Replacement drawing sheet(s) including the correction is required if the drawing(s) is objected to. See 37 CFR 1.121(d).
       11)0 The oath or declaration is objected to by the Examiner. Note the attached Office Action or form PT0-152.

  Priority under 35 U.S.C. § 119
       12)0 Acknowledgment is made of a claim for foreign priority under 35 U.S.C. § 119(a)-(d) or (f).
             a)O All         b)O Some* c)O None of:
                  1.0       Certified copies of the priority documents have been received.
                  2.0       Certified copies of the priority documents have been received in Application No. __                                     .
                  3.0       Copies of the certified copies of the priority documents have been received in this National Stage
                            application from the International Bureau (PCT Rule 17.2(a)).
             *Seethe attached detailed Office action for a list of the certified copies not received.




  Attachment(s)
  1) [8JNotice of References Cited (PTO-892)                                                       4)   0   Interview Summary (PTO-413)
  2)   0    Notice of Draftsperson's Patent Drawing Review (PTO-948)                                        Paper No(s)/Mail Date. __      .
  3)   0    Information Disclosure Statement(s) (PTO/SB/08)                                        5)   0   Notice of Informal Patent Application
            Paper No(s)/Mail Date __     .                                                         6)   0   Other: __     .
U.S. Patent and Trademark Office
PTOL-326 (Rev. 08-06)                                                  Office Action Summary                                  Part of Paper No./Mail Date 20091120
         Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 259 of 745


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                                         Response to Amendment



1.        This action is in response to the amendment filed 7/13/2009. This action is non-

final.



                                    Claim Rejections - 35 USC§ 103

2.        The following is a quotation of 35 U.S.C. 103(a) which forms the basis for all

obviousness rejections set forth in this Office action:

          (a) A patent may not be obtained though the invention is not identically disclosed or described as set
          forth in section 102 of this title, if the differences between the subject matter sought to be patented and
          the prior art are such that the subject matter as a whole would have been obvious at the time the
          invention was made to a person having ordinary skill in the art to which said subject matter pertains.
          Patentability shall not be negatived by the manner in which the invention was made.

3.        Claim 1 is rejected under 35 U.S.C. 103(a) as being unpatentable over Nakajima

et al ("Nakajima", 6,346,935) in view of Hoshino et al ("Hoshino", US 20040021643).



          As per claim 1, Nakajima teaches a computer readable medium storing a

computer program with computer program code, which, when read by a mobile

handheld computer unit, allows the computer to present a user interface for the mobile

handheld computer unit, the user interface comprising: a touch sensitive area in which

representations of a plurality of functions are displayed (Column 15 lines 1-9, function

signs), and each function of said plurality of functions being mapped to a corresponding

location in the touch sensitive area at which the representation of the function is

displayed (Column 15 lines 1-9, stops moving finger). Nakajima teaches gliding over the
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icon Column 15 lines 1-15, stops moving finger then glides finger to lightly press surface

but fails to distinctly point out touching the icon and gliding away. However, Hoshino

teaches an icon being activated by an object touching the corresponding location and

then gliding along the touch sensitive area away from the location ([0092]-[0093], drag

and drop operation may be used in combination with a push in operation for activating a

function). Therefore it would have been obvious at the time of the invention to combine

the teaching of Hoshino with the medium of Nakajima. Motivation to do so would have

been to apply a known technique to a known system in order to yield advantageous and

predictable results.




4.     Claims 2-11, 14-16, 18 rejected under 35 U.S.C. 103(a) as being unpatentable

over Nakajima et al ("Nakajima", 6,346,935) and Hoshino et al ("Hoshino", US

20040021643) in view of Rogue ("Rogue", Palm Pilot: The Ultimate Guide, 2nd Edition).



       As per claim 2, Nakajima-Hoshino fails to particularly disclose a function to

display a plurality of functions. However, Rogue teaches a computer readable medium

of claim 1, wherein one function from the plurality of functions, when activated, causes

the user interface to display icons representing different services or settings for a

currently active application (Figure 1.2-1.3, Preferences ).Therefore it would have been
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obvious to an artisan at the time of the invention to combine the teaching of Rogue with

the medium of Nakajima. Motivation to do so would have been to provide a way to

reduce screen clutter and only access the applications when needed.



       As per claim 3, Nakajima-Hoshino-Rogue teaches a computer readable medium

of claim 2, wherein the user interface is characterised in, that a selection of a preferred

service or setting is done by tapping on a display icon corresponding to the preferred

service or setting (Nakajima, Column 18 lines 30-40, tap).



       As per claim 4, Nakajima-Hoshino-Rogue teaches a computer readable medium

of claim 1, wherein one function from the plurality of functions, when_activated, causes

the user interface to display a keyboard and a text field (Rogue, Figure 2.5, power

stroke up, Figure 2.6).



       As per claim 5, Nakajima-Hoshino-Rogue teaches a wherein said text field is

used for inputting and editing of text through said keyboard (Nakajima, Figure 2.6).




       As per claim 6, Nakajima-Hoshino-Rogue fails to teach a computer readable

medium of claim 1, OFFICIAL NOTICE is taken that file listing is well know in the art. It

is extremely common to see a list of functions and files listed, as in directories.

Therefore it would have been obvious to an artisan at the time of the invention to
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combine the teaching with the medium of Nakajima-Hoshino -Rogue. Motivation to do

so would have been to provide a user with a list of options.



       As per claim 7, Nakajima-Hoshino -Rogue teaches a computer readable medium

of claim 6, wherein the user interface is characterised in, that a selection of an

application or file is done by gliding the object along said touch sensitive area so that a

representation of a desired one of said application or file is highlighted, raising said

object from said touch sensitive area, and then tapping on said touch sensitive area

(Nakajima, Column 18 lines 40-56).



       As per claim 8, Nakajima-Hoshino -Rogue fails to teach presenting only files or

only applications. However OFFICIAL NOTICE is taken that file sorting is well know in

the art. It is extremely common to sort a list of functions and files listed by data type.

Therefore it would have been obvious to an artisan at the time of the invention to

combine the teaching with the medium of Nakajima-Rogue. Motivation to do so would

have been to provide a user with a specific list of filtered options.



       As per claim 9, Nakajima-Hoshino -Rogue teaches a computer readable medium

of claim 7, wherein the user interface is characterised in, that, one item in said list is

highlighted by a moveable marking, and gliding the object along the touch sensitive

area in a direction towards the top of said list or towards the bottom of said list, causes
     Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 263 of 745


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said marking to move in the same direction without scrolling the list (Rogue, Figure 1.4,

using the menu).



       As per claim 10, Nakajima-Hoshino -Rogue teaches a computer readable

medium of claim 9, wherein the user interface is characterised in, that, if the number of

applications or files in said list exceeds the number of applications or files that can be

presented on said touch sensitive area as content, and if the object is (i) glided along

said touch sensitive area to the top or bottom position of said touch sensitive area, then

(ii) raised above said touch sensitive area, then (iii) replaced on said touch sensitive

area, and then (iv) again glided along said touch sensitive area to the top or bottom of

said touch sensitive area, said list navigation pages the content of said list up or down

one whole page (Nakajima, Column 14 lines 45-57 and Column 2 lines 15-23, wherein

Nakajima is an absolute pointing device and a swipe from the top of the page to the

bottom will result in a refresh by a whole page ).



       As per claim 11, Nakajima-Hoshino -Rogue teaches a computer readable

medium of claim 10, wherein the user interface is characterised in, that if the object is

raised from any first position on said touch sensitive area and then replaced on any

second position on said touch sensitive area, said navigation can be continued from

said second position (Nakajima, Column 14 lines 45-57).
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         As per claim 14, while Nakajima-Hoshino -Rogue fails to teach a touch sensitive

area is 2-3 inches. OFFICIAL NOTICE is taken that screen sizes vary and screens with

a touch sensitive area of 2-3 inches diagonally is well known in the art. Therefore it

would have been obvious to an artisan at the time of the invention to combine the

screen size with the medium of Nakajima-Hoshino -Rogue. Motivation to do so would

have been to provide adequate size to operate the touch screen while keeping it small

enough to fit in a pocket.




         As per claim 15, Nakajima-Hoshino-Rogue teaches a enclosure adapted to cover

the mobile handheld computer unit according to Claim 1, characterised in, that said

enclosure is provided with an opening for said touch sensitive area (Rogue, Figure 1.1).



         As per claim 16, Nakajima-Hoshino-Rogue fails to teach an enclosure is

removable and exchangeable. OFFICIAL NOTICE is taken that an enclosure is

removable and exchangeable is well known in the art. Therefore it would have been

obvious to an artisan at the time of the invention to combine the exchangeable

enclosure with the medium of Nakajima-Rogue. Motivation to do so would have been to

provide a way to style your mobile device so that it can be personalized to a user's

taste.
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       As per claim 18, Nakajima-Hoshino-Rogue teaches a computer readable medium

according to Claim 1, characterised in, that said computer program product is adapted

to function as a shell upon an operations system (Rogue, 1.1 Palm Pilot Basics).




5.     Claims 12 and 13 are rejected under 35 U.S.C. 103(a) as being unpatentable

over Nakajima et al ("Nakajima", 6,346,935) in view of Rogue ("Rogue", Palm Pilot: The

Ultimate Guide, 2nd Edition) and Hoshino et al ("Hoshino", US 20040021643) in view of

O'Rourke (O'Rourke, US 7,225,408).




       As per claim 12, Nakajima-Hoshino-Rogue teaches a computer readable medium

of claim 1, wherein the user interface is characterized in, that an active application,

function, service or setting is moved on one step by gliding the object along the touch

sensitive area from left to right (Nakajima, Column 14 lines 45-57). However, Nakajima-
     Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 266 of 745


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Rogue fails to distinctly point out closing or backing one step. However, O'Rourke

teaches that the active application, function, service or setting is closed or backed one

step (Figure 13, right and left arrows). Therefore it would have been obvious to an

artisan at the time of the invention to combine the glide functionality with the forward

and backward functionality of O'Rourke. Motivation to do so would have been to provide

an easy way to traverse the GUI.



       As per claim 13, Nakajima-Hoshino-Rogue-O'Rourke teaches a computer

readable medium of claim 1, wherein the user interface is characterized in, that said

representations of said plurality of functions are located at the bottom of said touch

sensitive area (O'Rourke, Figure 13, icons at bottom right).




                                Response to Arguments

       Applicant's arguments with respect to claims 1-16, 18 have been considered but

are moot in view of the new ground(s) of rejection.



       The Examiner notes that the OFFICIAL NOTICE set forth in the previous office

       action has not been contested.
     Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 267 of 745


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                                      Conclusion

      Any inquiry concerning this communication or earlier communications from the

examiner should be directed to RYAN F. PITARO whose telephone number is

(571 )272-4071. The examiner can normally be reached on 9:00am - 5:30pm Mondays

through Fridays.

       If attempts to reach the examiner by telephone are unsuccessful, the examiner's

supervisor, Dennis Chow can be reached on 571-272-7767. The fax phone number for

the organization where this application or proceeding is assigned is 571-273-8300.

       Information regarding the status of an application may be obtained from the

Patent Application Information Retrieval (PAIR) system. Status information for

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/Ryan F Pitaro/
Examiner, Art Unit 2174
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             jl29 j2                    jmultiple
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           \47 jO                                                                                   j(glide
                                                                                                         flick
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                                                                                                                         with(applications!US-PGPUB;
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              ~L48~11 ~(glide
                          flick
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                                          and"715"/$.ccls.
                                                     and !US-PGPUB; IOR                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               1ON !2009/11/20   I
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           \49 j219 j(glide
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                                 swipe)
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                                             and"715"/$.jUS-PGPUB;!OR                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               I
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               IL5oi302 i(glide
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               lL52 !16                                 !("20010011308"
                                                                 I "20030142138"
                                                                           I "20040034801"
                                                                                     I jUS-PGPUB;
                                                                                               !OR                                                                                                                                                                            ION j2009/11/20
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               !~                                       !"715"/$.ccls.
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               !L55 113 !("5250929"
                               I "5568604"
                                       I "5579036"
                                               I "5612719"
                                                       I  jUS-PGPUB;
                                                                  !OR                                                                                                                                                                                                           !OFF j2009/11/20I
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               lL56 11144!715/716.ccls.                                                                                                                                                      !US-PGPUB;
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               jl58 j10                                 j715/716.ccls.
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             1L591429 !715/716.ccls.anddvd                                                                                                                                                   ius-PGPUB;
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           \60 !587 )15/716.ccls.andmenu                                                                                                                                                     lUS-PGPUB;
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            lL61 155 1715/716.ccls.
                            andmenu and
                                      theme                                                                                                                                                  lUS-PGPUB;
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               !L62 !311 ~715/716.ccls.andmenuandeffects
                                                       1US-PGPUB;
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            jl68 j29              j715/864.ccls.
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                          Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 278 of 745




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              Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 280 of 745

                                                  Application/Control No.                   Applicant(s)/Patent Under
                                                                                            Reexamination
          Index of Claims                         10315250                                  GOERTZ, MAGNUS

                                                  Examiner                                  Art Unit

                                                  Ryan F Pitaro                             2174


  ✓           Rejected                         Cancelled                N    Non-Elected                   A           Appeal

  =           Allowed                         Restricted                      Interference                 0         Objected

 □    Claims renumbered in the same order as presented by applicant                     □   CPA        □   T.D.        □    R.1.47

          CLAIM                                                              DATE
      Final        Original    11/09/2007 06/23/2008 12/21/2008 07/06/2009 11/20/2009
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U.S. Patent and Trademark Office                                                                               Part of Paper No. : 20091120
              Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 281 of 745

                                                 Application/Control No.                    Applicant(s)/Patent Under
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          Index of Claims                        10315250                                   GOERTZ, MAGNUS

                                                 Examiner                                   Art Unit

                                                 Ryan F Pitaro                              2174


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 □    Claims renumbered in the same order as presented by applicant                     □   CPA        □   T.D.        □    R.1.47

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                                        Application/Control No.       Applicant(s)/Patent Under
                                                                      Reexamination
           Search Notes                 10315250                      GOERTZ, MAGNUS

                                        Examiner                      Art Unit

                                        Ryan F Pitaro                 2174




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 Update                   Search                                         6/17/2008          RFP
 Update                   Search                                         12/21/2008         RFP
 Update                   Search                                         4/22/2009          RFP
 Update                   Search                                         11/20/2009         RFP



                                                  SEARCH NOTES

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 Update Search                                                            11/8/2007         RFP
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 Internet                                                                12/21/2008         RFP
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 IEEE                                                                    12/21/2008         RFP
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U.S. Patent and Trademark Office                                                      Part of Paper No.: 20091120
        Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 283 of 745



Attorney's        Docket    No.: NEONODE.P004              PATENT


         IN THE UNITED           STATES     PATENT       AND TRADEMARK           OFFICE

In Re Patent Application           of:               )
                                                     )     Examiner:      Ryan F. Pitaro
                       Magnus Goertz                 )
                                                     )     Art Unit:      2174
Application        No: 10/315,250                    )
                                                     )
Filed:           December       10, 2002             )
                                                     )
For:             USER INTERFACE FOR                  )
                 MOBILE HANDHELD                     )
                 COMPUTER UNIT                       )
___________                                          )
Mail Stop AMENDMENT
Commissioner   for Patents
P. 0. Box 1450
Alexandria, VA 22313-1450



                 AMENDMENT         AND     RESPONSE       TO OFFICE      ACTION

                                  UNDER      37 C.F.R.    §1.111



Sir:
                           In response     to the Office Action     dated July 8, 2009,
applicant        respectfully   requests   that the remarks        below be taken   into
consideration.




Atty.   Docket    No. NEONODE.P004             -1-
        Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 284 of 745




IN THE CLAIMS:

                               Please substitute         the following        claims for the pending
claims with the same number:


1. (previously          presented)                A computer              readable         medium            storing      a
computer          program        with computer           program         code, which,            when read by a
mobile      handheld           computer       unit,    allows       the computer            to present           a user
interface         for   the     mobile       handheld         computer         unit,       the       user     interface
comprising:
                               a touch       sensitive       area    in which         representations              of at
least one function              are displayed,           and each function             of said at least one
function     being mapped             to a corresponding                 location     in the touch sensitive
area at which            the representation              of the function            is displayed,           and being
activated         by an object           touching         the   corresponding              location          and   then
gliding along the touch sensitive                     area away from the touched                       location.


2. (previously          presented)                The computer             readable        medium           of claim 1,
wherein          one function        from      the    at least       one function,               when       activated,
causes the user interface                 to display         icons representing              different        services
or settings        for a currently        active application.


3. (previously          presented)                The computer             readable        medium           of claim 2,
wherein          the    user     interface      is characterised             in,    that     a selection           of a
preferred         service       or   setting      is done           by     tapping      on       a     display      icon
corresponding           to the preferred          service or setting.




Atty.   Docket    No. NEONODE.P004                     -2-
        Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 285 of 745




4. (previously           presented)                  The computer              readable    medium      of claim 1,
wherein       one function           from at least one function,                      when activated,      causes
the user interface             to display a keyboard                  and a text field.


S. (previously           presented)                  The computer              readable    medium      of claim 4,
wherein       said text          field   is used for inputting                 and editing     of text    through
said keyboard.


6. (previously           presented)                  The computer              readable    medium      of claim 1,
wherein          one function            from     the    at least        one function,         when     activated,
causes        the      user      interface       to display          a list    with    a library      of available
applications           and files on the mobile handheld                       computer      unit.


7. (previously           presented)                  The computer              readable    medium      of claim 6,
wherein          the    user      interface       is characterised              in, that    a selection        of an
application         or file is done by gliding                  the object       along said touch sensitive
area so that a representation                      of a desired one of said application                   or file is
highlighted,           raising     said object          from        said touch     sensitive    area, and then
tapping       on said touch sensitive                area.


8. (previously           presented)                  The computer              readable    medium      of claim 7,
wherein       the user interface                is characterised             in, that at any given time said
list presents          only files or only applications,                       and that an area of said list
presents         a field through             which      said list can be changed               from    presenting
files    to      presenting          applications,             or     from     presenting       applications      to
presenting          files.




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9. (previously           presented)                 The computer     readable         medium       of claim 7,
wherein      the user interface              is characterised      in, that, one item in said list is
highlighted            by a moveable          marking,        and the user interface              enables      list
navigation         whereby        gliding     the object       along the touch sensitive              area in a
direction        towards       the top of said list or towards                   the bottom        of said list
causes said marking                    to move in the same direction                without      scrolling     the
list.


10. (previously            presented)               The computer     readable         medium       of claim 9,
wherein          the    user    interface      is characterised           in, that,     if the     number       of
applications           or files in said list exceeds the number                   of applications        or files
that can be presented                   on said touch sensitive           area as content,            and if the
object     is (i) glided along said touch sensitive                   area to the top or bottom                 of
said touch sensitive              area, then (ii) raised above said touch sensitive                          area,
then (iii) replaced            on said touch sensitive            area, and then (iv) again glided
along      said        touch    sensitive      area     to the     top     or    bottom       of said       touch
sensitive        area,     said list navigation              pages the content          of said list up or
down by one whole page.


11. (previously            presented)               The computer          readable      medium         of claim
10,     wherein         the user interface            is characterised          in, that    if the object         is
raised      from        any    first     position     on said     touch     sensitive       area      and    then
replaced         on any second             position     on said touch           sensitive     area,    said list
navigation         can be continued           from said second position.


12. (previously            presented)               The computer     readable         medium       of claim 1,
wherein      the user interface              is characterised       in, that an active             application,
function,        service       or setting      is advanced        one step by gliding               the object



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along      the touch        sensitive     area   from     left to right,      and that      the active
application,       function,     service    or setting      is closed or backed           one step by
gliding the object along the touch sensitive                  area from right to left.


13. (previously         presented)           The computer          readable     medium     of claim 1,
wherein      the user interface          is characterised     in, that said representations          of
said at least one function              are located at the bottom            of said touch sensitive
area.


14. (previously         presented)           The computer          readable     medium     of claim 1,
wherein      the touch sensitive          area is 2-3 inches in diagonal           dimension.


15. (previously         presented)           An enclosure          adapted     to cover the mobile
handheld         computer       unit according       to Claim 1, characterised            in, that said
enclosure        is provided     with an opening for said touch sensitive                 area.


16. (previously         presented)           The       enclosure      according      to    Claim   15,
characterised        in, that said enclosure           is removable     and exchangeable.


17. (cancelled)


18. (previously         presented)           The computer          readable     medium     of claim 1,
characterised        in, that said computer             program     code is adapted        to function
as a shell upon an operating               system.


19. - 47.        ( cancelled)




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                                                 REMARKS


                          Applicant     expresses          appreciation      to the Examiner          for
the courtesy         of an interview      granted         to applicant's     representative       Marc A.
Berger (Reg. No. 44,029).               The interview          was held by telephone            on
Monday,          July 13, 2009.
                          As discussed          during the interview,          applicant   wishes to
point out that the signs 19a,              etc. of FIG. 5 of Nakajima                are not on the
touch surface.         They are merely           signs, outside of the touch surface                  7B,

that indicate        the functions     assigned          to adjacent    regions of the touch
surface.
                          As such, applicant             respectfully      submits   that the present
claim language         "at least one function              being mapped        to a corresponding
location     in the touch sensitive         area at which the representation                  of the
function     is displayed,        and being activated           by an object touching           the
corresponding          location    and then gliding          along the touch sensitive           area
away from the touched               location"     is not anticipated         by Nakajima.


                          For the foregoing          reasons,      applicant     respectfully
submits      that the applicable        objections         and rejections       have been overcome
and that the claims are in condition                     for allowance.


                                                            Respectfully     submitted,


Dated:      July 13, 2009                                  /Marc A. Berger/
                                                           Marc A. Berger
                                                           Reg. No. 44,029
P.O. Box 691
Soquel, CA 95073
(831) 426-8200



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               Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 289 of 745
                                      Electronic Acknowledgement Receipt

                           EFSID:                   5685763


                  Application Number:               10315250


            International Application Number:


                 Confirmation Number:               1226




                    Title of Invention:             User interface




          First Named Inventor/Applicant Name:      Magnus Goertz


                   Customer Number:                 75660


                           Filer:                   Marc Aron Berger


                   Filer Authorized By:


                Attorney Docket Number:             NEONODE.P004


                      Receipt Date:                 13-JUL-2009


                       Filing Date:                 10-DEC-2002


                      Time Stamp:                   11:05:02


                    Application Type:               Utility under 35 USC 111 (a)


Payment information:
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File Listing:
 Document                                                                               File Size(Bytes)/                    Multi         Pages
                      Document Description               File Name
  Number                                                                                Message Digest                      Part /.zip   (if appl.)

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               Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 290 of 745
                                            Multipart Description/PDF files in .zip description

                                    Document Description                                  Start                End


                      Amendment/Req. Reconsideration-After Non-Final Reject                 1                   1



                                             Claims                                         2                   5



                       Applicant Arguments/Remarks Made in an Amendment                     6                   6


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If a new application is being filed and the application includes the necessary components for a filing date (see 37 CFR
1.53(b)-(d) and MPEP 506), a Filing Receipt (37 CFR 1.54) will be issued in due course and the date shown on this
Acknowledgement Receipt will establish the filing date of the application.

National Stage of an International A~~lication under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
U.S.C. 371 and other applicable requirements a Form PCT/DO/EO/903 indicating acceptance of the application as a
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and of the International Filing Date (Form PCT/RO/1OS) will be issued in due course, subject to prescriptions concerning
national security, and the date shown on this Acknowledgement Receipt will establish the international filing date of
the application.
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   APPLICATION NO.             FILING DATE                 FIRST NAMED INVENTOR   ATTORNEY DOCKET NO.               CONFIRMATION NO.

       10/315,250               12/10/2002                     Magnus Goertz         NEONODE.P004                           1226

       75660            7590             07/08/2009
                                                                                                       EXAMINER
       Soquel Group, LLC
       P.O. Box 691                                                                                 PITARO, RY AN F
       Soquel, CA 95073
                                                                                       ART UNIT                       PAPER NUMBER

                                                                                          2174



                                                                                       MAIL DATE                     DELIVERY MODE

                                                                                       07/08/2009                          PAPER


Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.




PTOL-90A (Rev. 04/07)
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                                                                                    Application No.                               Applicant(s)

                                                                                     10/315,250                                   GOERTZ, MAGNUS
                      Office Action Summary                                         Examiner                                      Art Unit
                                                                                    RYAN F. PITARO                                2174
                 -- The MAILING DA TE of this communication appears on the cover sheet with the correspondence address --
  Period for Reply
        A SHORTENED STATUTORY PERIOD FOR REPLY IS SET TO EXPIRE ;l_MONTH(S) OR THIRTY (30) DAYS,
        WHICHEVER IS LONGER, FROM THE MAILING DATE OF THIS COMMUNICATION.
        - Extensions of time may be available under the provisions of 37 CFR 1.136(a). In no event, however, may a reply be timely filed
          after SIX (6) MONTHS from the mailing date of this communication.
        - If NO period for reply is specified above, the maximum statutory period will apply and will expire SIX (6) MONTHS from the mailing date of this communication.
        - Failure to reply within the set or extended period for reply will, by statute, cause the application to become ABANDONED (35 U.S.C. § 133).
          Any reply received by the Office later than three months after the mailing date of this communication, even if timely filed, may reduce any
          earned patent term adjustment. See 37 CFR 1.704(b).

  Status

           1)1Zl Responsive to communication(s) filed on 22 April 2009.
       2a)0       This action is FINAL.                            2b)0 This action is non-final.
           3)0    Since this application is in condition for allowance except for formal matters, prosecution as to the merits is
                  closed in accordance with the practice under Ex parte Quayle, 1935 C.D. 11, 453 O.G. 213.

  Disposition of Claims
        4)[8J Claim(s) 1-16 and 18 is/are pending in the application.
                 4a) Of the above claim(s) __                 is/are withdrawn from consideration.
           5)0    Claim(s) __          is/are allowed.
           6)[8J Claim(s) 1-16.18 is/are rejected.
           7)0    Claim(s) __          is/are objected to.
           8)0    Claim(s) __          are subject to restriction and/or election requirement.

  Application Papers
           9)0 The specification is objected to by the Examiner.
        10)0 The drawing(s) filed on __                    is/are: a)O accepted or b)O objected to by the Examiner.
                 Applicant may not request that any objection to the drawing(s) be held in abeyance. See 37 CFR 1.85(a).
                  Replacement drawing sheet(s) including the correction is required if the drawing(s) is objected to. See 37 CFR 1.121(d).
        11)0 The oath or declaration is objected to by the Examiner. Note the attached Office Action or form PT0-152.

  Priority under 35 U.S.C. § 119
        12)0 Acknowledgment is made of a claim for foreign priority under 35 U.S.C. § 119(a)-(d) or (f).
              a)O All        b)O Some* c)O None of:
                  1.0       Certified copies of the priority documents have been received.
                  2.0       Certified copies of the priority documents have been received in Application No. __                                     .
                  3.0       Copies of the certified copies of the priority documents have been received in this National Stage
                            application from the International Bureau (PCT Rule 17.2(a)).
              *Seethe attached detailed Office action for a list of the certified copies not received.




  Attachment(s)
  1) [8JNotice of References Cited (PTO-892)                                                       4) 0   Interview Summary (PTO-413)
  2)   0  Notice of Draftsperson's Patent Drawing Review (PTO-948)                                        Paper No(s)/Mail Date. __      .
  3)   [8JInformation Disclosure Statement(s) (PTO/SB/08)                                          5) 0   Notice of Informal Patent Application
          Paper No(s)/Mail Date 5/4/2009.                                                          6) 0   Other: __     .

U.S. Patent and Trademark Office
PTOL-326 (Rev. 08-06)                                                  Office Action Summary                                Part of Paper No./Mail Date 20090706A
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                                         Response to Amendment



1.        This action is in response to the amendment filed 4/22/2009. This action is non-

final.




                                         Claim Rejections - 35 USC§ 102



2.        The following is a quotation of the appropriate paragraphs of 35 U.S.C. 102 that

form the basis for the rejections under this section made in this Office action:

          A person shall be entitled to a patent unless -

          (e) the invention was described in (1) an application for patent, published under section 122(b), by
          another filed in the United States before the invention by the applicant for patent or (2) a patent
          granted on an application for patent by another filed in the United States before the invention by the
          applicant for patent, except that an international application filed under the treaty defined in section
          351 (a) shall have the effects for purposes of this subsection of an application filed in the United States
          only if the international application designated the United States and was published under Article 21 (2)
          of such treaty in the English language.


3.        Claim 1 is rejected under 35 U.S.C. 102(e) as being anticipated by Nakajima et al

("Nakajima", 6,346,935).



          As per claim 1, Nakajima teaches a computer readable medium storing a

computer program with computer program code, which, when read by a mobile

handheld computer unit, allows the computer to present a user interface for the mobile

handheld computer unit, the user interface comprising: a touch sensitive area in which
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representations of a plurality of functions are displayed (Column 15 lines 1-9, function

signs), and each function of said plurality of functions being mapped to a corresponding

location in the touch sensitive area at which the representation of the function is

displayed (Column 15 lines 1-9, stops moving finger), and being activated by an object

touching the corresponding location and then gliding along the touch sensitive area

away from the location (Column 15 lines 1-15, stops moving finger then glides finger to

lightly press surface).




                                 Claim Rejections - 35 USC§ 103

4.     The following is a quotation of 35 U.S.C. 103(a) which forms the basis for all

obviousness rejections set forth in this Office action:

       (a) A patent may not be obtained though the invention is not identically disclosed or described as set
       forth in section 102 of this title, if the differences between the subject matter sought to be patented and
       the prior art are such that the subject matter as a whole would have been obvious at the time the
       invention was made to a person having ordinary skill in the art to which said subject matter pertains.
       Patentability shall not be negatived by the manner in which the invention was made.

5.     Claims 2-11,14-16,18 rejected under 35 U.S.C. 103(a) as being unpatentable

over Nakajima et al ("Nakajima", 6,346,935) in view of Rogue ("Rogue", Palm Pilot: The

Ultimate Guide, 2nd Edition).
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       As per claim 2, Nakajima fails to particularly disclose a function to display a

plurality of functions. However, Rogue teaches a computer readable medium of claim 1,

wherein one function from the plurality of functions, when activated, causes the user

interface to display icons representing different services or settings for a currently active

application (Figure 1.2-1.3, Preferences ).Therefore it would have been obvious to an

artisan at the time of the invention to combine the teaching of Rogue with the medium of

Nakajima. Motivation to do so would have been to provide a way to reduce screen

clutter and only access the applications when needed.



       As per claim 3, Nakajima-Rogue teaches a computer readable medium of claim

2, wherein the user interface is characterised in, that a selection of a preferred service

or setting is done by tapping on a display icon corresponding to the preferred service or

setting (Nakajima, Column 18 lines 30-40, tap).



       As per claim 4, Nakajima-Rogue teaches a computer readable medium of claim

1, wherein one function from the plurality of functions, when_activated, causes the user

interface to display a keyboard and a text field (Figure 2.5, power stroke up, Figure 2.6).



       As per claim 5, Nakajima-Rogue teaches a wherein said text field is used for

inputting and editing of text through said keyboard (Nakajima, Figure 2.6).
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       As per claim 6, Nakajima-Rogue fails to teach a computer readable medium of

claim 1, OFFICIAL NOTICE is taken that file listing is well know in the art. It is extremely

common to see a list of functions and files listed, as in directories. Therefore it would

have been obvious to an artisan at the time of the invention to combine the teaching

with the medium of Nakajima-Rogue. Motivation to do so would have been to provide a

user with a list of options.



       As per claim 7, Nakajima-Rogue teaches a computer readable medium of claim

6, wherein the user interface is characterised in, that a selection of an application or file

is done by gliding the object along said touch sensitive area so that a representation of

a desired one of said application or file is highlighted, raising said object from said touch

sensitive area, and then tapping on said touch sensitive area (Nakajima, Column 18

lines 40-56).



       As per claim 8, Nakajima-Rogue fails to teache presenting only files or only

applications. However OFFICIAL NOTICE is taken that file sorting is well know in the

art. It is extremely common to sort a list of functions and files listed by data type.

Therefore it would have been obvious to an artisan at the time of the invention to

combine the teaching with the medium of Nakajima-Rogue. Motivation to do so would

have been to provide a user with a specific list of filtered options.
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       As per claim 9, Nakajima-Rogue teaches a computer readable medium of claim

7, wherein the user interface is characterised in, that, one item in said list is highlighted

by a moveable marking, and gliding the object along the touch sensitive area in a

direction towards the top of said list or towards the bottom of said list, causes said

marking to move in the same direction without scrolling the list (Rogue, Figure 1.4,

using the menu).



       As per claim 10, Nakajima-Rogue teaches a computer readable medium of claim

9, wherein the user interface is characterised in, that, if the number of applications or

files in said list exceeds the number of applications or files that can be presented on

said touch sensitive area as content, and if the object is (i) glided along said touch

sensitive area to the top or bottom position of said touch sensitive area, then (ii) raised

above said touch sensitive area, then (iii) replaced on said touch sensitive area, and

then (iv) again glided along said touch sensitive area to the top or bottom of said touch

sensitive area, said list navigation pages the content of said list up or down one whole

page (Nakajima, Column 14 lines 45-57 and Column 2 lines 15-23, wherein Nakajima is

an absolute pointing device and a swipe from the top of the page to the bottom will

result in a refresh by a whole page ).



       As per claim 11, Nakajima-Rogue teaches a computer readable medium of claim

10, wherein the user interface is characterised in, that if the object is raised from any

first position on said touch sensitive area and then replaced on any second position on
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said touch sensitive area, said navigation can be continued from said second position

(Nakajima, Column 14 lines 45-57).



       As per claim 14, while Nakajima-Rogue-O'Rourke fails to teach a touch sensitive

area is 2-3 inches. OFFICIAL NOTICE is taken that screen sizes vary and screens with

a touch sensitive area of 2-3 inches diagonally is well known in the art. Therefore it

would have been obvious to an artisan at the time of the invention to combine the

screen size with the medium of Nakajima-Rogue. Motivation to do so would have been

to provide adequate size to operate the touch screen while keeping it small enough to fit

in a pocket.




       As per claim 15, Nakajima-Rogue teaches a enclosure adapted to cover the

mobile handheld computer unit according to Claim 1, characterised in, that said

enclosure is provided with an opening for said touch sensitive area (Rogue, Figure 1.1).



       As per claim 16, Nakajima-Rogue fails to teach an enclosure is removable and

exchangeable. OFFICIAL NOTICE is taken that an enclosure is removable and

exchangeable is well known in the art. Therefore it would have been obvious to an

artisan at the time of the invention to combine the exchangeable enclosure with the

medium of Nakajima-Rogue. Motivation to do so would have been to provide a way to

style your mobile device so that it can be personalized to a user's taste.
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      As per claim 18, Nakajima-Rogue teaches a computer readable medium

according to Claim 1, characterised in, that said computer program product is adapted

to function as a shell upon an operations system (Rogue, 1.1 Palm Pilot Basics).




6.     Claims 12 and 13 are rejected under 35 U.S.C. 103(a) as being unpatentable

over Nakajima et al ("Nakajima", 6,346,935) in view of Rogue ("Rogue", Palm Pilot: The

Ultimate Guide, 2nd Edition) in view of O'Rourke (O'Rourke, US 7,225,408).




      As per claim 12, Nakajima-Rogue teaches a computer readable medium of claim

1, wherein the user interface is characterized in, that an active application, function,

service or setting is moved on one step by gliding the object along the touch sensitive

area from left to right (Nakajima, Column 14 lines 45-57). However, Nakajima-Rogue
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fails to distinctly point out closing or backing one step. However, O'Rourke teaches that

the active application, function, service or setting is closed or backed one step (Figure

13, right and left arrows). Therefore it would have been obvious to an artisan at the time

of the invention to combine the glide functionality with the forward and backward

functionality of O'Rourke. Motivation to do so would have been to provide an easy way

to traverse the GUI.



       As per claim 13, Nakajima-Rogue-O'Rourke teaches a computer readable

medium of claim 1, wherein the user interface is characterized in, that said

representations of said plurality of functions are located at the bottom of said touch

sensitive area (O'Rourke, Figure 13, icons at bottom right) .




                                Response to Arguments

              Applicant's arguments filed 4/22/2009 have been fully considered but they

are not persuasive.

       The Applicant argues the following main points with regards to claim 1. As

summarized by the table on page 10 of the amendment, Nakamura differs for the

following reasons:
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          •   Glide is over non-touch sensitive portion of screen

          •   Glide is followed by touch

          •   Glide is toward touch point

          •   Glide is along periphery of touch sensitive area

          •   Glide movement is guided by inner periphery of raised frame

          •   Only the touch point is process by the user interface

          •   Frame-guided touch has the same effect as touch alone



          The Examiner disagrees; the Applicant has mis-categorized the inner

       periphery of the frame of Nakajima. The purpose of the frame is to allow the user

      to more easily glide the finger along the edge of the frame if desired. However,

      this does not limit the users of Nakajima to only use the edge of the frame as

      argued by the applicant. The frame of a usual touch tablet interferes with the

       movement of the user's finger, in other words the effective operational area (the

      touchable area) of the touch tablet is limited and produces waste of the

      operational area. So while the Applicant has stated that the glide is over a non-

      touch sensitive portion of the screen, this is in fact incorrect. The glide can now

      start at the absolute edge of the screen since there is no frame to restrict the

       user from the edges of the absolute pointing device. The glide as pointed out in

      the office action is indeed a touch and glide action (Column 15 lines 1-9), the

       users then stops on the sign (icon) of a desired function and the glides the finger.
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      This two step action is indicative of both the touch and glide being processed to

      execute the desired function. Whether or not the frame guided touch has a

      similar effect as touch alone is erroneous. Like the current application Nakajima

      eliminates the accidental touch performing a function, hence the reason for the

      touch then glide. While the two means may produced similar ends each has their

      advantages and cannot be combined as one.



      The Examiner notes that the OFFICIAL NOTICE set forth in the previous office

      action has not been contested.




                                       Conclusion

      Any inquiry concerning this communication or earlier communications from the

examiner should be directed to RYAN F. PITARO whose telephone number is

(571 )272-4071. The examiner can normally be reached on 9:00am - 5:30pm Mondays

through Fridays.

       If attempts to reach the examiner by telephone are unsuccessful, the examiner's

supervisor, Dennis Chow can be reached on 571-272-7767. The fax phone number for

the organization where this application or proceeding is assigned is 571-273-8300.
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       Information regarding the status of an application may be obtained from the

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/Ryan F Pitaro/
Examiner, Art Unit 2174
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                                                                                                                        Reexamination
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                  Notice of References Cited
                                                                                  Examiner                              Art Unit
                                                                                                                                            Page 1 of 1
                                                                                  RYAN F. PITARO                        2174

                                                                        U.S. PATENT DOCUMENTS
                       Document Number                   Date
 *                CountryCode-Number-KindCode          MM-YYYY                                          Name                                 Classification

 *       A      US-2005/0035956                       02-2005          Sinclair et al.                                                         345/184

         B      US-

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                                                                    FOREIGN PATENT DOCUMENTS
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*A copy of this referenceIs not beingfurnishedwith this Office action. (See MPEP § 707.05(a).)
Dates in MM-YYYY format are publicationdates.Classificationsmay be US or foreign.
U.S. Patent and Trademark Office
PT0-892 (Rev. 01-2001)                                               Notice of References Cited                         Part of Paper No. 20090706A
              Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 305 of 745

                                                  Application/Control No.               Applicant(s)/Patent Under
                                                                                        Reexamination
          Index of Claims                         10315250                              GOERTZ, MAGNUS

                                                  Examiner                              Art Unit

                                                  Ryan F Pitaro                         2174


  ✓           Rejected                         Cancelled                N    Non-Elected               A            Appeal

  =           Allowed                         Restricted                     Interference              0          Objected

 □    Claims renumbered in the same order as presented by applicant                 □   CPA        □   T.D.          □    R.1.47

          CLAIM                                                              DATE
      Final        Original    11/09/2007 06/23/2008 12/21/2008 07/06/2009
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                                                 Ryan F Pitaro                          2174


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                                        Application/Control No.       Applicant(s)/Patent Under
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           Search Notes                 10315250                      GOERTZ, MAGNUS

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                                        Ryan F Pitaro                 2174




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 Update                   Search                                         6/17/2008            RFP
 Update                   Search                                         12/21/2008           RFP
 Update                   Search                                         4/22/2009            RFP



                                                  SEARCH NOTES

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 Update Search                                                            11/8/2007           RFP
 Update Search                                                           6/17/2008            RFP
 EAST                                                                    12/21/2008           RFP
 Internet                                                                12/21/2008           RFP
 Safari Online Books                                                     12/21/2008           RFP
 IEEE                                                                    12/21/2008           RFP
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               lffi !~112=1,...........,tou=ch=w=ith=sli=de=wi=th=fun=ct=ion=====1US-PGPUB;
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               I i       !                                  !usPAT;
                                                                 uoocRj            1    111:14                                                                                                                                                                     I

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            lS7 113 1("4366475"
                            I "4686332"
                                    I "4821030"
                                            I "4914624"
                                                    I !US-PGPUB;
                                                               !OR                                                                                                                                          !OFF i2008/12/08                                       I


                !,  !"5402151"
           .:::,1::::      I "5563632"
                                   I "5596346"
                                           I "5638060"
                                                   I   !USPAT;
                                                           UOOCR
                                                               !                                                                                                                                            I    117:18    I
                !   !"5687331"
                           I "5736974"
                                   I "5736976"
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                                                   I   !       !                                                                                                                                            !    i         I
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                I   !1,"5838973").PN.                  I
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               1S8 1168267
                       !Object
                           newwwar3=tywwwpe~~~~~~=!US-PGPUB;
                                                         ~OR                                                                                                                                                             "'"'I
                                                                                                                                                                                                            !OFF 12008/12/08
               !   !                                            !       ==========!USPAT;                                                                       ~
                                                                                                                                                            UOOCR                                           i    117:21     I
               jS9 !5                                           !(file
                                                                     item
                                                                        object)
                                                                            near3
                                                                                type
                                                                                   withopen
                                                                                          near3                                                         !US-PGPUB;
                                                                                                                                                                !OR                                         !OFF 12008/12/08
                                                                                                                                                                                                                         ......                                    1


               ! !                                              !respective                                                                             !USPAT; !
                                                                                                                                                            UOOCR                                           !    117:21     I
               jS10 !905 !open$3
                             withdifferent
                                       withprogram                                                                                                      !US-PGPUB;
                                                                                                                                                                !OR                                         !OFF 12008/12/08
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               ~    1    !                                                                                                                              !USPAT" !
                                                                                                                                                            UOOCR                                           i    117:23      I
               jS11 !2                                          !multiple
                                                                      near3
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                                                                                 selection
                                                                                      withopen                                                          !US-PGPUB;
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                                                                              with(plurality
                                                                                        multiple)
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             !S13 129188
                       i(flick
                             stroke)
                                  with(open
                                         application
                                                command) 1US-PGPUB;    jOR                                                                                                                                  iOFF !2008/12/10                                       I


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                                       application
                                              command)                                                                                                  IUS-RRJB;!OR                                        ION !2008/12/10
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           :1s15!127 !(flick)
                           with(open            application            command)                and                             !US-PGPUB;        !OR                                                        !ON 12008/12/10                                        I


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                                                                                     command)
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                !817 )39         !(flick)
                                       and@ay<="2002"
                                               and"715"/$.ccls.                                          !US-PGPUB;
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                  1961 1(flick
                            gesture)
                                 and@ay<="2002"
                                           and
                                             "715"/$.ccls.
                                                        !US-PGPUB;jOR ION                                                                                                I
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                  ~\\ !\                                      EPO;I
                                                        !USPAT;       !,                                                                                        116:58   I!
                                                        ~Dr\      ~   '                                                                                         l
                  !~   !~                               !Jrv;
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                   1    i                               1DERWENT  1    1                                                                                         i         I
             j819 !2324!(flick
                            gestwwwure=swwwlide=)
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                                                     ~!US-PGPUB;  jOR  !ON                                                                                               "'"'I
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             I !        !eels.                          !USPAT;
                                                              EPO;!    !                                                                                         116:58    I
           !:~     !~   !~                              !Jm·
                                                        ~ rv,
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            !820 !77             !(flick
                                      gesture
                                          slide)
                                              and@ay<="2002"
                                                      and                                                !US-PGPUB;!OR                                           I
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                                 !"?15"/702,864.ccls.
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                                  gesture
                                      slide)
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                1822186 !finger
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                                      gesture
                                          slide)
                                              and@ay<="2002"
                                                         !US-PGPUB;
                                                                 jOR                                                                                             I
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             !824 is             i(''5543591"
                                         "5943052"
                                               "5907327"
                                                     "4686332").pn.
                                                                 !US-PGPUB;jOR                                                                                   I
                                                                                                                                                    1ON i2oos112110
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           •lsff"'""!~8
                     =!,...........,(gl=ide=fl=ick=sw=ipe=)
                                         w=it=h
                                            sc=re=en=w=ith=ico=n=an=d
                                                        ==1US-PGPUB; ,..........!OR~==!ON
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                                                                                   ="2002"                         luSPAT;
                                                                                                                       EID;    I     I     113:26    I
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                                                                                            I "20030142138"
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                                                                                                                   I 1US-PGPUB;
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                                                                                                                               jOR                  I1
                                                                                                                                     !ON ii,21300:380/12/17
                                                                                !"20050253817"
                                                                                           I "20050253817"
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                                                                                                                  I USPAT  EPO i     !
             I                                I                                        I "5907327"
                                                                                1"5821933"       I "663331
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             i~5 !451 !(glide
                           flick
                               swipe)
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Doc description:InformationDisclosureStatement(IDS) Filed                                         U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
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                                                             Application Number                          10315250
                                                              Filing Date                                2002-12-10
IN FORMATION DISCLOSURE                                       First Named Inventor             I MagnusGoertz
STATEMENT BY APPLICANT                                       Art Unit                                    2174
( Not for submission under 37 CFR 1.99)
                                                              Examiner Name                    I Ryan F. Pitaro
                                                             Attorney Docket Number                      NEONODE.P004




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                     Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 319 of 745
                                                           Application Number                   10315250
                                                           Filing Date                          2002-12-10
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                   Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 320 of 745
Doc code: IDS                                                                                                                                               PTOISB/08a (04-09)
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Doc description:InformationDisclosureStatement(IDS) Filed                                          U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
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                                                               Examiner Name                    I Ryan F. Pitaro
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                     Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 321 of 745
                                                           Application Number                    10315250
                                                            Filing Date                          2002-12-10
INFORMATION DISCLOSURE                                      First Named Inventor        I MagnusGoertz
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                                                  Application Number             10315250
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( Not for submission under 37 CFR 1.99)
                                                  Examiner Name           I Ryan F. Pitaro
                                                  Attorney Docket Number         NEONODE.P004



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[8]   Fee set forth in 37 CFR 1.17 (p) has been submitted herewith.
D     None
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 A signature of the applicant or representative is required in accordance with CFR 1.33, 10.18. Please see CFR 1.4(d) for the
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Signature              /Marc A. Berger/                               Date (YYYY-MM-DD)         2009-05-04
Name/Print             MarcA. Berger                                  Registration Number      44029



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          requirements of the Privacy Act of 1974, as amended, pursuant to 5 U.S.C. 552a(m).

     5.        A record related to an International Application filed under the Patent Cooperation Treaty in this system of records
          may be disclosed, as a routine use, to the International Bureau of the World Intellectual Property Organization, pursuant
          to the Patent Cooperation Treaty.

     6.       A record in this system of records may be disclosed, as a routine use, to another federal agency for purposes of
          National Security review (35 U.S.C. 181) and for review pursuant to the Atomic Energy Act (42 U.S.C. 218(c)).

     7.       A record from this system of records may be disclosed, as a routine use, to the Administrator, General Services, or
          his/her designee, during an inspection of records conducted by GSA as part of that agency's responsibility to
          recommend improvements in records management practices and programs, under authority of 44 U.S.C. 2904 and
          2906. Such disclosure shall be made in accordance with the GSA regulations governing inspection of records for this
          purpose, and any other relevant (i.e., GSA or Commerce) directive. Such disclosure shall not be used to make
          determinations about individuals.

8.       A record from this system of records may be disclosed, as a routine use, to the public after either publication of the
     application pursuant to 35 U.S.C. 122(b) or issuance of a patent pursuant to 35 U.S.C. 151. Further, a record may be
     disclosed, subject to the limitations of 37 CFR 1.14, as a routine use, to the public if the record was filed in an application
     which became abandoned or in which the proceedings were terminated and which application is referenced by either a
     published application, an application open to public inspections or an issued patent.

     9.       A record from this system of records may be disclosed, as a routine use, to a Federal, State, or local law
          enforcement agency, if the USPTO becomes aware of a violation or potential violation of law or regulation.




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                                       EUROPEAN             PATENT SPECIFICATION

        @) Date of publication   of patent specification:   06.10.93       @      Int. Cl.5: G06K           11/08

        @   Application number: 88301738.6

        @   Date of filing: 29.02.88




        @   Touch panel control device with touch time and finger direction discrimination.



        @   Date of publication of application:                                       Inventor: Mori, Shigeta Pioneer Elec. Corp.
            06.09.89 Bulletin 89/36                                                   Kawagoe Works
                                                                                      No. 25-1, Aza Nishimachi
        @) Publication of the grant of the patent:                                    Oaza Yamada
            06.10.93 Bulletin 93/40                                                   Kawagoe-shi Saitama(JP)
                                                                                      Inventor: Kaneko, Michihiro Pioneer Elec.
        @   Designated Contracting States:                                            Corp. Kawagoe Work
            DE FR GB                                                                  No. 25-1, Aza Nishimachi
                                                                                      Oaza Yamada
        @   References cited:                                                         Kawagoe-shi Saitama(JP)
            EP-A- 0 150 904                                                           Inventor: Go, Yasunao Pioneer Elec. Corp.
            WO-A-85/05477                                                             Kawagoe Works
                                                                                      No. 25-1, Aza Nishimachi
            IBM TECHNICAL DISCLOSURE BULLETIN, vol.                                   Oaza Yamada
            20, no. 4, September 1977, pages 1609-1611,                               Kawagoe-shi Saitama(JP)
            New York, US; T.F. CUMMINGS: "Transparent
            keyless keyboard for variable terminal ap-
            plications"                                                           @   Representative: Brunner, Michael John et al
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        Note: Within nine months from the publication of the mention of the grant of the European patent, any person
0       may give notice to the European Patent Office of opposition to the European patent granted. Notice of opposition
D.      shall be filed in a written reasoned statement. It shall not be deemed to have been filed until the opposition fee
w       has been paid (Art. 99(1) European patent convention).
                                                      Rank Xerox (UK) Business Services
                                                               {3.10/3.6/3.3.1,
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                                                EP O 330 767 B1


     Description

        The invention relates to a touch panel control device for acoustic equipment.
        Acoustic entertainment devices for vehicles, such as a cassette tape player, compact disk player and
 5 radio tuner are installed in considerably small space such as an in-dash console, and therefore must be
   small in size. Accordingly, the switches or push-buttons of the acoustic devices must also be small. These
   small switches or push-buttons are difficult to operate. Furthermore, the acoustic devices are used in
   different modes and operated in various manners. Therefore they employ a variety of switches, push-
   buttons, etc. Since the operator cannot easily locate them while driving, his attention to the road may be
10 distracted when operating the acoustic devices causing a dangerous condition.
        In this connection, a method has been disclosed in unexamined published Japanese Patent Application
   no. JP-A-61089720 in which, instead of switches or push-buttons for operating acoustic devices, there is
   provided a touch panel, the different controls of the devices being effected by touching different positions
   on the touch panel.
15      The conventional touch panel method will be described with reference to Figure 1. A touch panel 80
   having interior detecting electrodes is scanned with a scanner 20 to detect when and at what point the
   touch panel 80 has been touched. The detection output data of the scanner 20 is applied to a first memory
   30, where the detection output data of a scan is temporarily stored. The detection output data of one scan
   read out of the first memory 30 is supplied to a recognizing block 40. A touch on the touch panel is pattern-
20 recognized by the recognizing block 40 for each scan of the scanner 20.
        The output pattern data of the recognizing block 40 is applied to a second memory 50 and a data
   comparator 60. The second memory 50 temporarily stores the recognized pattern data produced during one
   scan and supplied thereto from the recognizing block 40. The data comparator 60 compares the output
   pattern data of the recognising block with the pattern data of the preceding scan read out of the second
25 memory 50, to thereby detect any change in the pattern data. The comparison output data of the data
   comparator 60 is supplied to a decision block 70 which outputs control data corresponding to the
   comparison output data. In response to the comparison output data, the decision block 70 refers to a data
   table (not shown) and outputs predetermined control data according to the touch on the touch panel 80. A
   similar system is shown and described in WO-A-8505477 and the present invention is characterised
30 thereover.
        As is apparent from the above description, in the conventional touch panel control device, the touch
   data of the present scan is merely compared with that of the preceding scan. Therefore, if the scanning
   speed is increased, the control device may judge no change in the touch position between two successive
   scans because the distance the finger can move over a scanning period is related to the scanning speed. If,
35 on the other hand, the scanning speed is decreased, the following error may be encountered. If a finger
   finely touches and is removed from the panel and the part of the panel touched has not yet been scanned
   (for instance the right part of the panel in the case of scanning the panel in the left-to-right direction), then
   that touch on the panel may not be detected.
        Preferably, the entire panel surface should be scanned in about 10ms to prevent a detection miss.
40 However. if the scanning speed is set to about 10ms, there may be an erroneous detection because, as
   mentioned above, finger speed cannot follow a rapid scanning speed.
        Accordingly, an object of this invention is to eliminate the above-described difficulties with a conven-
   tional touch panel control device.
        According to the invention there is provided a touch panel control device for outputting commands,
45 according to how a finger touches a touch panel, the device comprising
        touch position detecting means in a matrix form on said touch panel, for detecting a touch on the touch
   panel and providing output signals;
        means for detecting the co-ordinates of the touch position from the said output signals of the said touch
   position detecting means and providing an output representative thereof;
50      scanning means for periodically providing a scanning signal to the touch position detecting means to
   enable touch detection;
        duration timer means for providing a time measurement signal on receipt of a trigger signal from the
   touch position detecting means;
        co-ordinate memory means for storing the co-ordinates of a current touch position on the touch panel
55 detected by the co-ordinate detecting means;
        co-ordinate comparing means for comparing, for each scan, the coordinates of the previously stored
   current touch position in the memory means with those of current touch position;
   characterised by


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        an operation discriminator for determining, according to the relationship between the timer measure-
   ment signals received from the timer means and the results of the comparison from the co-ordinate
   comparing means, which of a plurality of predetermined outputs to issue, whereby, by the user touching
   and/or moving a finger across the touch panel, an operational mode for an electronic device can be
 5 commanded, said operation discriminator including means for determining which output to issue from a
   plurality of predetermined outputs based upon the direction and distance the finger moves in a predeter-
   mined period of time and means for determining which output to issue from the said plurality of
   predetermined outputs based on the time duration that the finger touches the touch panel while moving less
   than a predetermined distance.
10      In the drawings:-
       Fig. 1 is a block diagram showing a conventional touch panel control device;
       Fig. 2 is a front view showing a touch panel in a touch panel control device according to the invention;
       Fig. 3 is a block diagram showing the touch panel control device according to the invention;
       Fig. 4 is a circuit diagram of one example of a touch position detecting means in the touch panel control
15     device of the invention.
       Fig. 5 is a timing chart for a description of the operation of the touch position detecting means shown in
       Fig. 4;
       Figs. 6, 7 and 8 are three parts of a flow chart for describing the operation of the touch panel control
       device of the invention; and
20     Figs. 9(a) and 9(b) are illustrations of displays on the touch panel.
        In Fig. 2, reference numeral 1 designates a touch panel. Along the four sides of the touch panel are
   LEDs (light emitting diodes) 101 through 114 and light receiving means, namely, photo-transistors 201
   through 214. They are alternately arranged in such a manner that the photo-transistors 201 through 214
   receive light beams from the LEDs 101 through 114. respectively. The photo-transistors 201 through 214
25 provide high level (H) outputs upon reception of the light beams. The LEDs and the photo-transistors are
   alternately arranged along the side of the touch panel to eliminate the possibility that a photo-transistor
   might erroneously detect the light beam emitted by an adjacent LED rather than its corresponding LED.
        The control system (Fig. 3) includes a touch operation discriminator 2. The discriminator 2 determines
   which finger movement is being performed by determining the direction of finger movement (ie. operation
30 by the user) and the time period over which the finger touches the touch panel. A respective operation
   output is applied to a command discriminator 12. The command discriminator 12 supplies an operation
   command to a system controller 13 in response to the operation discriminated by the operation discrimina-
   tor 2. The operation command controls the operation of an electronic device such as a cassette player,
   radio tuner, or compact disk player, and data representing the operating condition thereof is fed back to the
35 command discriminator 12.
        The operation discriminator 2 also applies a scanning pulse signal (STB signal) to a timing circuit 3 with
   a period of about 10ms as shown in the timing chart of Fig. 5. The scanning time is not necessarily 10ms. It
   should be determined on the basis of the speed of the finger scanning the panel. During the generation of
   the STB signal, the timing circuit 3 produces pulses for activating the LEDs 101 through 114 in Fig. 2 so
40 that turn-on input voltages are successively applied to the input terminals 301 through 314 of the LEDs 101
   through 114. The light from the LEDs 101 through 114 is applied to the photo-transistors 201 through 214,
   respectively, the outputs of which are provided at an output terminal 400 in Fig. 4. The timing of these serial
   outputs is as indicated in Fig. 5. The serial outputs are applied to a serial-to-parallel converter 4, where they
   are converted into parallel outputs, which are latched by a data latch 5. One scanning operation is
45 completed when the timing circuit 3 has applied the input voltages to all the LEDs. During a waiting time T,
   the data latched by the data latch 5 is transferred to the operation discriminator 2.
        The timing chart of Fig. 5 represents the case where the finger touches the touch panel at a point
   marked with a circle in Fig. 2. In this case, the outputs of the LEDs 106 and 111 are blocked and therefore
   the outputs of photo-transistors 206 and 211 are maintained at a low level (L). Therefore, the data latched
50 by the data latch circuit 5 is:
   1 1 1 1 1 O 1 1 in the X-direction
   1 1 O 1 1 1 in the Y direction
   As apparent from the above, the coordinates of the touch position can be detected from the position of the
   "0" levels in the data latch.
55      During the waiting time T, the output of the data latch circuit 5 are simultaneously applied to a NOR
   gate 8, the output of which is raised to H when the finger touches the panel.
        With further reference to Fig. 3. there is shown a coordinate memory 6 for storing the coordinates of a
   touch position at the start of a touch detecting operation or at the end of an operation (ie. it retains the touch


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   position until the next operation); and a timer 7 which is reset in synchronism with the storing operation of
   the coordinate memory 6, to start its time counting operation. The control system further comprises an
   arithmetic circuit (not shown) for comparing the coordinates of the present touch position with those stored
   in the coordinate memory 6, to detect the direction of movement of the finger on the panel 1; a touch
 5 memory 10 for storing the touch and non-touch on the touch panel 1; and a command memory 11 for
   storing the user operation determining output which is discriminated by the operation discriminator 2 and
   applied to the command discriminator 12.
         The operation discriminator 2 supplies a CMD signal representing the operation given to the touch
   panel 1 to the command discriminator 12. In response to the CMD signal the command discriminator 12
10 applies a command to the system controller 13 for operating the acoustic device.
         In general, the following commands are required for acoustic devices used in vehicles:
       (1) Tape deck
             Fast forward, rewind, stop, repetitive playback, jump for station and playback.
       (2) Tuner
15           Up sweep, down sweep, preset channel up, preset channel down, channel preset, and auto tuning
       (3) Compact disk
             Playback, partial repeat, whole repeat, skip, stop, jump for music, and disk take-out.
         As is apparent from the above, six or seven different commands are required for each acoustic device
   used in vehicles.
20       These commands can be issued by utilisation of, for example, seven finger movements or operations
   on the touch panel; movements of the finger upwardly, downwardly, right and left (in, D, R, & L),keeping the
   finger at a point (KEEP), touching the panel briefly (HIT) and touching the panel briefly twice (2HIT). The
   above described operations are discriminated by the discriminator 2 which provides outputs to the
   command discriminator 12 which gives appropriate commands to the acoustic devices.
25       The above-described operations can be discriminated not only by the contents of the arithmetic circuit,
   but also based on the touch memory circuit 10 in which the touch condition of the preceding scan is stored,
   the content of the command memory 11 which stores the command or output given to the command
   discriminator 12 before the scan, and the time determined by the timer 7.
         For instance, the commands can be issued as follows:
30     (1) When the co-ordinate changes are at least four a second, the commands corresponding to U, D, R
       and L operations (movements) are outputted separately;
       (2) The command KEEP is outputted when the finger is kept on the touch panel for at least one second
       and moves three co-ordinate positions or less.
       (3) The command HIT is outputted when the finger is kept on the panel for 0.5 second or less, and
35     moves three coordinates or less.
       (4) The command 2HIT is outputted when, within two seconds after the issue of the command HIT, the
       finger is moved (operated) in the same manner as in the case of outputting the command HIT.
         A method of discriminating the above-described finger operations will be described with reference to
   the flow charts of Figs. 6, 7. and 8.
40       In these figures, steps 1 through 7 form a routine for starting, when the finger touches the panel,
   storage of the co-ordinates of that position and the operation of the timer. After the operation discriminator 2
   outputs a scan instruction signal (STB) in step 1 , in step 2 it is determined whether or not the finger touches
   the panel. When it is determined that the finger has touched the touch panel in step 3 the coordinates of
   that position are read. In step 4, the content of the touch memory 10, which stores the touch condition of
45 the touch condition of the preceding scan, is read to determine whether or not the finger has touched the
   panel for the first time. If it is determined that the content of the touch memory 10 has been cleared, then in
   step 5 a "1" is written into the touch memory. In step 6 the above-described coordinates of the position are
   stored in the coordinate memory 6, and in step 7 the timer is reset and started.

50   (1) Discrimination of the finger operations U, D, R and L

         Discrimination of the finger operations U. D, Rand L is achieved in steps 8 through 17.
         In step 8, the coordinates stored in the coordinate memory 10 are compared with the present
     coordinates to obtain the variations in the X- and Y-directions. In step 9, by referring to the command
55   memory 11 which stores the operation content outputted previously, it is determined whether or not the
     upward, downward, rightward or leftward operation has been applied to the command discriminator 12. If it
     is determined that one of such operations has been applied thereto, then it is unnecessary to discriminate
     the movement in that direction again, and steps 11 and 11' are effected in which the movement in a


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     direction perpendicular to the direction of that movement is detected so that the finger movement may not
     be regarded as "the finger is moved four coordinates twice", when the finger is moved eight coordinates or
     more. If no command is applied to the command discriminator 12, then in step 10 it is determined, from the
     above-described variations, whether the finger is moved horizontally or vertically.
5         In step 12, it is determined whether, in each of the X- and Y-directions, the finger is moved in the
     positive ( +) direction or in the negative (-) direction, so that in step 13 the operation content corresponding
     to the direction of movement is provided.
          In step 14, the operation content thus provided is applied to the command discriminator 12 (in this
     operation, the command discriminator 12 supplies the instruction to the system controller 13 which has
10   been predetermined for the electronic equipment in use), and in step 15 the operation content is stored in
     the command memory 11 .
          In step 16, the coordinates stored in the coordinate memory are rewritten into those of the touch
     position obtained at the time of outputting the operation content, and in step 17, the timer is reset so that
     the following discrimination is carried out.
15
     (2) Discrimination of the finger operation KEEP

         The finger operations KEEP and HIT are distinguished from each other according to how long the finger
     touches the touch panel. Therefore, if the finger operation KEEP is determined merely from the time count
20   data of the timer 7, then the determination may include the finger operation HIT. That is, in the following
     case:


                                         0 to 0.5 second         HIT
                                         0.5 to 1 second         Not applicable
25
                                         More than 1 second      KEEP


     while the finger operation KEEP is discriminated the finger operation HIT may occur. In the case where the
     touch time is 0.5 to 1 second, no action is taken, as was listed above. This is to prevent an erroneous
30   operation which may be caused when the finger operations are not strictly defined. Therefore, the step may
     be eliminated as the case may be.
         Therefore, in a routine consisting of steps 18 through 25 as shown in Fig. 7, when at step 20 the time
     count data of the timer exceeds one (1) second and in step 22 it is determined that the finger operation
     KEEP has not been supplied as the operation content to the command discriminator 12, then it is supplied
35   as the operation content to the command discriminator 12 in step 24. The reason why, in step 22, it is
     detected whether or not the finger operation KEEP has been supplied as the operation content is to prevent
     the difficulty that, when the finger touches the touch panel for more than two seconds, the finger operation
     KEEP may be provided as the operation content two or more times.
         When in step 18 the touch time is shorter than 0.5 second, in step 19 the finger operation HIT is
40   provided as the operation content; however, it is not applied to the command discriminator 12 yet in the
     flow chart.

     (3) Discrimination of the finger operations HIT and 2HIT

45        The finger operations HIT and 2HIT can be identified as shown in the flow chart of Fig. 8.
         When in step 2 of Fig. 6 it is determined that the finger is not in touch with the touch panel, then in step
     26 it can be determined by referring to the touch memory 10, adapted to store the touch or non-touch
     detected in the preceding scan, whether or not the touch was just now released. When it is determined that
     the touch was released just now, then the content of the touch memory 11 is "1 ". In step 27, the content of
50   the touch memory 11 is cleared, and in step 29 it is determined whether or not the operation content is of
     the finger operation HIT. That is, if in step 19 of Fig. 7 the finger operation HIT is provided as the operation
     content, then step 30 is effected. In step 30, when it is determined from the content of the command
     memory 11 that nothing is provided, then the operation content, or HIT, is applied to the command
     discriminator 12. If the finger operation HIT is applied as the operation content in the command memory 11,
55   then it is the second finger operation HIT, and therefore the finger operation 2HIT is applied as the
     operation content to the command discriminator 12. If the storage data of the command memory 11 is other
     than that, then in a routine of steps 36 through 38 the command memory and the operation content are
     cleared and the timer is stopped.


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        When in step 26 it is determined that the content of the touch memory 10 has been cleared since the
   preceding scan, then step 28 is effected. If, in step 28, the timer shows the lapse of two seconds, i.e.
   nothing is operated for two seconds, then the routine of steps 36, 37 and 38 is effected.
        The operation discriminator 2 can apply the seven operating modes to the command discriminator 12 in
 5 the above described manner.
        In the operation discriminator 2, the above-described operation contents are converted into commands
   (outputs) suitable for the operations of the acoustic devices to be controlled in such a manner that any one
   of the commands can be used for a plurality of acoustic devices - for instance the finger operation R is
   used for the "up direction sweep" of a tuner and also for the "fast forward" of a tape deck. The commands
10 are applied to the system controller 13 by the command discriminator 12. In response to the commands,
   the system controller 13 controls the operations of the acoustic devices.
        In the above-described embodiment, the seven finger operations are discriminated, and in response to
   the seven finger operations thus discriminated the command discriminator outputs the commands. If the
   seven finger operations are utilised in combination, then more commands can be issued.
15      For instance, in the case of a tape deck, the finger operations may be combined as follows: When, after
   the "fast forward" operation is selected by the finger operation R, the finger operation U is carried out, a so-
   called "FF Scan" operation can be performed in which the "fast forward" operation of the tape is carried out
   to detect an intermusic region, and after the sound reproduction is performed, the "fast forward" operation
   is carried out again. When the finger operation R is followed by the finger operation D, the "FF music
20 search" operation is carried out.
        In this case, the system controller 13 applies data representing the operating condition of the acoustic
   device to the command discriminator 12 at all times, and the command provided by the command
   discriminator is determined according to the operating condition.
        In the case of the tape deck described above, normally the finger operation R is used for the command
25 "fast forward", and the finger operation U is for the command "volume up". However, during the "fast
   forward" operation. the finger operation U is used to output the command "FF scan".
        If a plurality of operation outputs are combined to provide a command in the above-described manner,
   then the finger operations can be applied to a variety of operation modes of acoustic devices mounted in a
   vehicle.
30      The touch panel 1 may comprise a picture display unit such as a cathode ray tub (CRT). The system
   controller 13 applies display mode data to a CRT driver 14 in correspondence to an acoustic device in use,
   thereby to control the display on the touch panel 1 .
        Figs. 9(a) and 9(b) show examples of a CRT display. More specifically, the part (a) of Fig. 9 shows a
   CRT display in the "tape deck" mode, and the part (b) of Fig. 9 shows a CRT display in a "tuner" mode.
35      In Fig. 9. the finger operations U,D, R and L are indicated by the arrows which are extended upwardly.
   downwardly, rightwardly and leftwardly, respectively, and finger operations HIT, 2HIT and KEEP are
   indicated by one dot, two dots and a bar, respectively; and the compound finger operations are indicated by
   the bent arrows - for instance the compound finger operation R U is indicated by the arrow which is
   extended rightwardly and then upwardly.
40      Therefore, merely by moving the finger according to the indications or marks displayed on the touch
   panel, the commands corresponding to the finger operations can be applied to the system controller 13.
        The contents of the display on the display unit can be changed according to the operation conditions of
   an acoustic device to be controlled. For instance, for the "fast forward" operation of a tape deck, the mark
   "1>1>" is caused to flicker or its colour is changed, so that the operator can detect whether or not the finger
45 operation on the touch panel has been carried out correctly, to thereby prevent erroneous operation.
        As shown in Fig. 9 the display mark "2nd" is provided for the finger operation KEEP. It can be utilized
   in the case where the number of finger operations is smaller than the number of commands to be issued.
   That is, in this case, the first picture display is switched over to the second picture display by one finger
   operation (KEEP in this case) so that the command discriminator 12 can provide commands different from
50 those used when the first picture display is employed. That is, more intricate operations of electronic
   devices can be controlled.
        As is apparent from the above description, the predetermined commands can be issued according to
   the distance of movement of the finger over the touch panel, the period of time for which the finger touches
   the touch panel, and the number of time the touch panel is touched with the finger, and one and the same
55 touch panel can be used for a plurality of acoustic devices such as a cassette tape player and a radio tuner
   installed in a vehicle. Therefore, the limited space in the vehicle can be efficiently utilized, and the touch
   panel control device installed will never obstruct the operator's driving.



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         Furthermore, since the touch panel serves as the display unit, the probability of erroneous operation is
     decreased.

     Claims
5
     1.   A touch panel control device for outputting commands, according to how a finger touches a touch panel
          (1), the device comprising
               touch position detecting means (101,114,201,214) in a matrix form on said touch panel (1), for
          detecting a touch on the touch panel and providing output signals;
10              means (4,5) for detecting the co-ordinates of the touch position from the said output signals of the
          said touch position detecting means and providing an output representative thereof;
               scanning means (2,3) for periodically providing a scanning signal to the touch position detecting
          means to enable touch detection;
               duration timer means (7) for providing a time measurement signal on receipt of a trigger signal
15        from the touch position detecting means;
               co-ordinate memory means (6) for storing the co-ordinates of a current touch position on the touch
          panel detected by the co-ordinate detecting means (4,5);
               co-ordinate comparing means for comparing, for each scan, the coordinates of the previously
          stored current touch position in the memory means with those of a current touch position;
20        characterised by
               an operation discriminator (2) for determining, according to the relationship between the timer
          measurement signals received from the timer means (7) and the results of the comparison from the co-
          ordinate comparing means, which of a plurality of predetermined outputs to issue, whereby, by the user
          touching and/or moving a finger across the touch panel (1), an operational mode for an electronic
25        device can be commanded, said operation discriminator including means for determining which output
          to issue from a plurality of predetermined outputs based upon the direction and distance the finger
          moves in a predetermined period of time and means for determining which output to issue from the
          said plurality of predetermined outputs based on the time duration that the finger touches the touch
          panel while moving less than a predetermined distance.
30
     2.   A device according to claim 1, further including a command discriminator for receiving the outputs from
          the operation discriminator and for issuing respective operational commands to the electronic device.

     3.   A device as claimed in claim 1 or claim 2, wherein the touch position detecting means comprises light
35        emitting elements (101-114) and light receiving elements (201-214) arranged along the sides of the
          touch panel (1) in such a manner that said light receiving elements receive light beams emitted by
          respective light emitting elements.

     4.   A device as claimed in claim 2, in which the touch panel (1) comprises a picture display unit, the
40        display of which is changeable according to the operating conditions of the electronic device to be
          controlled.

     Patentanspri.iche

45   1.   Eine BerUhrungsschalttafel-Steuereinrichtung zum Ausgeben von Befehlen entsprechend einer Art und
          Weise, wie ein Finger eine BerUhrungsschalttafel (1) berUhrt, wobei die Vorrichtung umfaBt:
          die BerUhrstellen nachweisende Vorrichtungen (101, 114, 201, 214), die in der Form einer Matrix auf
          der BerUhrungsschalttafel (1) angeordnet sind, um eine BerUhrung auf der BerUhrungsschalttafel
          nachzuweisen und Ausgabesignale zu schaffen;
50        Vorrichtungen (4, 5) zum Feststellen der Koordinaten der BerUhrungsstellen aus den Ausgabesignalen
          der, die BerUhrungsstellen nachweisenden Vorrichtungen und zum Schaffen einer Ausgabedarstellung
          davon;
          abrasternde Vorrichtungen (2, 3), um periodisch ein Abrastersignal tur die, die BerUhrungslagen
          nachweisenden Vorrichtungen bereitzustellen, um einen BerUhrungsnachweis zu ermoglichen;
55        eine ZeitdauermeBvorrichtung (7), um ein ZeitmeBsignal nach Empfang eines Auslosesignals von den,
          die BerUhrungslage nachweisenden Vorrichtungen zu schaffen;
          eine Koordinatenspeichervorrichtung (6) zum Speichern der Koordinaten einer vorliegenden BerUh-
          rungsstelle auf der BerUhrungsschalttafel, die von den, die Koordinaten feststellenden Vorrichtungen (4,


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          5) festgestellt wurden;
          eine die Koordinaten vergleichende Vorrichtung zum Vergleichen der Koordinaten der vorher gespei-
          cherten vorliegenden Beriihrungsstelle in der Speichervorrichtung mit denen einer gegenwartig vorlie-
          genden BerOhrungsstelle bei jedem Abrastervorgang;
5         gekennzeichnet durch
          eine Betriebsunterscheidungsvorrichtung    (2), um entsprechend der gegenseitigen Beziehung zwischen
          den von der ZeitmeBvorrichtung (7) empfangenen ZeitmeBsignalen und den Ergebnissen des Ver-
          gleichs von der die Koordinaten vergleichenden Vorrichtung zu bestimmen, welche Ausgaben aus einer
          Vielzahl von vorbestimmten Ausgaben auszugeben sind, wodurch, wenn der Benutzer die BerUhrungs-
10        schalttafel (1) berUhrt und/oder einen Finger darUber bewegt, eine Betriebsweise flir eine elektronische
          Vorrichtung angewiesen werden kann, wobei die Betriebsunterscheidungsvorrichtung        eine Vorrichtung
          einschlieBt, um zu bestimmen, welche Ausgabe von einer Vielzahl von vorbestimmten Ausgaben auf
          der Grundlage der Richtung und Entfernung des sich bewegenden Fingers wahrend einer vorbestimm-
          ten Zeitdauer auszugeben ist, und die weiter eine Vorrichtung einschlieBt, um zu bestimmen, welche
15        Ausgabe aus der Vielzahl von vorbestimmten Ausgaben auf der Grundlage der Zeitdauer, in der der
          Finger die BerUhrungsschalttafel berUhrt, wenn er weniger als eine vorbestimmte Strecke sich bewegt,
          auszugeben ist.

     2.   Eine Vorrichtung nach Anspruch 1, die weiter eine Befehlsunterscheidungsvorrichtung einschlieBt, um
20        die Ausgaben von der Betriebsunterscheidungsvorrichtung zu empfangen und entsprechende Betriebs-
          anweisungen an die elektronische Vorrichtung auszusenden.

     3.   Eine Vorrichtung nach Anspruch 1 oder 2, wobei die, die BerUhrungsstelle nachweisenden Vorrichtun-
          gen Licht emittierende Elemente (101-114) und Licht empfangende Elemente (201-214) umfassen, die
25        entlang der Seiten der BerUhrungsschalttafel in einer solchen Weise angeordnet sind, daB die Licht
          empfangenden Elemente Lichtstrahlen empfangen, die von den entsprechenden Licht emittierenden
          Elementen emittiert wurden.

     4.   Eine Vorrichtung nach Anspruch 2, in der die Beriihrungsschalttafel (1) eine Bildanzeigeeinheit umfaBt,
30        deren Anzeige sich gemaB dem Betriebszustand der zu steuernden elektronischen Vorrichtung andern
          kann.

     Revendications

35   1.   Dispositif de commande de panneau tactile destine a emettre des commandes conformement a la
          fagon dont un doigt effleure un panneau tactile (1), le dispositif comprenant :
                 un moyen de detection de position d'effleurement (101, 114, 201, 214) sous forme matricielle situe
          sur ledit panneau tactile (1) pour detecter un effleurement sur le panneau tactile et pour produire des
          signaux de sortie ;
40               un moyen (4, 5) pour detecter les coordonnees de la position d'effleurement a partir desdits
          signaux de sortie dudit moyen de detection de position d'effleurement et pour produire une sortie
          representative de celles-ci ;
                 un moyen de balayage (2, 3) pour produire periodiquement un signal de balayage pour le moyen
          de detection de position d'effleurement afin de permettre une detection d'effleurement ;
45               un moyen de minuterie de duree (7) pour produire un signal de mesure de temps suite a la
          reception d'un signal de declenchement en provenance du moyen de detection de position d'effleure-
          ment;
                 un moyen de memoire de coordonnees (6) pour stocker les coordonnees d'une position d'effleure-
          ment courante sur le panneau tactile detecte par le moyen de detection de coordonnees (4, 5) ;
50               un moyen de comparaison de coordonnees pour comparer, pour chaque balayage, les coordon-
          nees de la position d'effleurement courante stockees prealablement dans le moyen de memoire a
          celles d'une position d'effleurement courante ;
                 caracterise par :
                 un discriminateur de fonctionnement (2) pour determiner, conformement a la relation qui lie les
55        signaux de mesure de minuterie regus depuis le moyen de minuterie (7) et les resultats de la
          comparaison en provenance du moyen de comparaison de coordonnees, laquelle d'une pluralite de
          sorties predeterminees ii convient de delivrer, d'ou ii resulte que, du fait de l'effleurement de
          l'utilisateur eVou du deplacement d'un doigt sur le panneau tactile (1), un mode de fonctionnement pour


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          un dispositif electronique peut etre commande, ledit discriminateur de fonctionnement incluant un
          moyen pour determiner quelle sortie ii convient de delivrer parmi une des sorties predeterminees sur la
          base de la direction et de la distance selon lesquelles le doigt se deplace pendant une periode
          temporelle predeterminee et un moyen pour determiner quelle sortie ii convient de delivrer parmi
5         lesdites pluralites de sorties predeterminees sur la base de la duree temporelle pendant laquelle le
          doigt affleure le panneau tactile tout en se deplagant sur une distance inferieure     a  une distance
          predeterminee.

     2.   Dispositif selon la revendication 1, incluant en outre un discriminateur de commande pour recevoir les
10        sorties en provenance du discriminateur de fonctionnement et pour delivrer des commandes de
          fonctionnement respectives au dispositif electronique.

     3.   Dispositif selon la revendication 1 ou 2, dans lequel le moyen de detection de position d'effleurement
          comprend des elements emetteurs de lumiere (101-114) et des elements recepteurs de lumiere (201-
15        214) agences le long des cotes du panneau tactile (1) d'une maniere telle que lesits elements
          recepteurs de lumiere regoivent des faisceaux lumineux emis par les elements emetteurs de lumiere
          respectifs.

     4.   Dispositif selon la revendication 2, dans lequel le panneau tactile (1) comprend une unite d'affichage
20        d'image dont l'affichage peut etre modifie en relation avec les conditions de fonctionnement du
          dispositif electronique qui doit etre commande.




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                                             FIG.                     1
                ----'-----.
                                           80                         20
                   TOUCH PANEL                            SCANNER



                                                                                    30
                                                                              40
                                                                      RECOGNIZING
                                 50                                   BLOCK


                              . 60              DATA
                                                COMPARATOR


                                 70                DECISION
                                                   BLOCK



                                                 CONTROLDATA




                                             FIG.                     2
                       (101) (202) (103) (204)(105)(206)(107) (208)                      /
                                                                                         (109)

     ( 110)                                                                              (210)

     { 211)   u◄.._,1,---;..--+----,---t-~1-+--r-r--                                     ( 111)

     ( 112) ---               ........
                                    -+---4---f..--4------,f---r-r--                      (212)

     ( 213) LJ ◄---+--~---+---t--+---1~~-r--­                                            (113)

     ( 114 ) • ...-~-'--~--t--t---t--t--+--                                              (214)


                        (201) {102) (203} (104) (205)(106) (207) (108)




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                        Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 334 of 745




                                                                FIG.             3
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                                               EP O 330 767 B1



                                           FIG. 4
                                                                             Vee
                 (301)                     (101)
                                           -                  (201)
                                                                ~
                                                                                         400
                 {302)
                                           <!~l                  ..
                                                              {202)
                 {303)                     (103)              (203)
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                 {304)
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                 {314)                 I   (114)              (214)
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                                           FIG. 5
             -----10m                          sec   -----1

STB SIG.J                                                             c:T:::,,------
(201)     -111,,..-      ___________                                               n____ _
c~o2> __    n                                                                       n__ _
(203)     ___ nL,.
                ___________                                                            n__ _
(204)     ___ n.____________                                                            n___
(205)     ____ n                                                                         n_
(206)

(207)     _____ n____________                                                                  n
(208)

(209)

(210)

('.211)
(212)
(213)
(214)



(400)     _j                      U                u                                       L..J



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Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 336 of 745


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                       FIG.       6
 INITIALIZE



              STEP1               STEP 8 6x-x-xo
                                              6Y-Y-Yo




              STEP3

                                                  STEP 10
              =1



  TCHM-1      STEP 5

              STEP6
  Cxo,Yo>
        -
  PST

                   STEP13
                       CMO-L                                                   CM0-0




                                                    CMO              STEP 14
                                                    OUT


                                               CMDM-CMO
                                                                     STEP 15


                                              (xo ,)'t)   >~(x ,y)   STEP 16


                                                  TIMER
                                                                     STEP17
                                                  RESET

                                 A




                                  13
      Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 337 of 745


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                                 FIG. 7

                                  .::::Q.Ssec


                                                            STEP l9 CMO-HIT
                                    <lsec


                                                     CMD _   o STEP21
                                   =KEEP



        STEP23     CMO-KEEP


         STEP 24


        STEP25 CMOM-CMO




      FIG. 9/a)                                              FIG. 9(b)
        REW     Vol.      FF                                 P.SET    Vol.       P.SET
  •     SCAN    UP        SCAN                          •    SCAN                SCAN Loc.S
                                  11:1                -t1]   DOWN     UP          UP
 -to
 ••
          Lt__t
        <1<1-             t>t>
                                 BLK.                  ••
                                                               Lf            _J
                                                                                         STEREO
                (5'?) -          SKIP                        FREQ-~          -   FREQ
<l t>                                                 BSM    DOWN                UP

         -117
         REW Vol.          FF
                                 REPEAT
                                                      -        ll7
                                                              SEEK  Vol. SEEK MHz
                                                                                         80.0
Znd      MS     DOWN       MS                         Znd
                                                              DOWN DOWN UP




                                                14
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                        FIG. 8

                   =O

STEP 27 TCHM-TOi


                                                                <2sec

                   =HIT
                    STEP 33
                        CM0-2HITS           CMDM-        0
 STEP31

                                      STEP 34
                                                       STEP37
STEP32 CMDM-HIT                                 CM0-     0
                              STEP35
                        CM0M-2HITS

                                                 TIMER
                                                 STOP




                                 15
                Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 339 of 745



                            Electronic Patent Application Fee Transmittal

Application Number:                            10315250


Filing Date:                                   10-Dec-2002




Title of Invention:                            User interface




First Named Inventor/Applicant Name:           Magnus Goertz


Filer:                                         Marc Aron Berger


Attorney Docket Number:                        NEONODE.P004


Filed as Large Entity


Utility under 35 USC 111 (a) Filing Fees

                                                                                      Sub-Total in
                        Description                    Fee Code   Quantity   Amount
                                                                                        USO($)


Basic Filing:


Pages:


Claims:


Miscellaneous-Filing:


Petition:


Patent-Appeals-and-Interference:


Post-Allowance-and-Post-Issuance:


Extension-of-Time:
            Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 340 of 745
                                                                                          Sub-Total in
                        Description                  Fee Code      Quantity      Amount
                                                                                            USO($)


Miscellaneous:


           Submission- Information Disclosure Stmt     1806           1            180          180


                                                              Total in USD ($)            180
                Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 341 of 745
                                         Electronic Acknowledgement Receipt

                             EFSID:                    5265128


                     Application Number:               10315250


             International Application Number:


                     Confirmation Number:              1226




                       Title of Invention:             User interface




        First Named Inventor/Applicant Name:           Magnus Goertz


                      Customer Number:                 75660


                              Filer:                   Marc Aron Berger


                      Filer Authorized By:


                   Attorney Docket Number:             NEONODE.P004


                         Receipt Date:                 04-MAY-2009


                          Filing Date:                 10-DEC-2002


                         Time Stamp:                   09:58:36


                       Application Type:               Utility under 35 USC111(a)


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               Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 342 of 745
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New A~~lications Under 35 U.S.C. 111
If a new application is being filed and the application includes the necessary components for a filing date (see 37 CFR
1.53(b)-(d) and MPEP 506), a Filing Receipt (37 CFR 1.54) will be issued in due course and the date shown on this
Acknowledgement Receipt will establish the filing date of the application.

National Stage of an International A~~lication under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
U.S.C. 371 and other applicable requirements a Form PCT/DO/EO/903 indicating acceptance of the application as a
national stage submission under 35 U.S.C. 371 will be issued in addition to the Filing Receipt, in due course.

New International A~~lication Filed with the USPTO as a Receiving Office
If a new international application is being filed and the international application includes the necessary components for
an international filing date (see PCT Article 11 and MPEP 181 O), a Notification of the International Application Number
and of the International Filing Date (Form PCT/RO/1 OS) will be issued in due course, subject to prescriptions concerning
national security, and the date shown on this Acknowledgement Receipt will establish the international filing date of
the application.
        Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 343 of 745



Attorney's       Docket   No.: NEONODE.P004                 PATENT


         IN THE UNITED           STATES     PATENT       AND TRADEMARK            OFFICE

In Re Patent Application          of:                )
                                                     )      Examiner:      Ryan F. Pitaro
                     Magnus Goertz                   )
                                                     )     Art Unit:       2174
Application       No: 10/315,250                     )
                                                     )
Filed:           December    10, 2002                )
                                                     )
For:             USER INTERFACE FOR                  )
                 MOBILE HANDHELD                     )
                 COMPUTER UNIT                       )
___________                                          )
Mail Stop AMENDMENT
Commissioner   for Patents
P. 0. Box 1450
Alexandria, VA 22313-1450



                 AMENDMENT        AND     RESPONSE        TO OFFICE        ACTION

                                 UNDER      37 C.F.R.     §1.111



Sir:
                          In response     to the Office Action     dated   December      23,
2008, applicant       respectfully      requests    that the above-identified       application
be amended         as follows:




Atty.   Docket   No. NEONODE.P004             -1-
        Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 344 of 745




IN THE CLAIMS:

                                Please cancel claims 17 and 19 - 47 without                                        prejudice.
                                Please substitute             the following        claims for the pending
claims with the same number:


1. (currently           amended)                     A computer                readable          medium             storing      a
computer          program         with computer               program         code, which,             when read by a
mobile      handheld            computer          unit,     allows       the computer             to present              a user
interface         for    the     mobile          handheld          computer         unit,        the        user     interface
comprising:
                                a touch          sensitive        area     in which         representations                 of a
plurality        of     functions        at      least     one     function       are       displayed,              and    each
function     of said plurality                of functions         at least one function                    being mapped
to a corresponding                    location       in the        touch       sensitive         area       at which          the
representation             of the function                is displayed,         and being              activated          by an
object      touching           the     corresponding              location      and then          gliding          along      the
touch sensitive           area away from the touched                          location.


2. ( currently          amended)                     The computer               readable         medium            of claim 1,
wherein      one function              from the plurality             of functions          at least one function,
when      activated,           causes      the user interface                 to display         icons representing
different        services or settings              for a currently            active application.


3. (previously           presented)                  The computer               readable         medium            of claim 2,
wherein          the     user        interface      is characterised              in,     that     a selection              of a
preferred          service       or      setting         is done         by     tapping       on        a     display       icon
corresponding            to the preferred                service or setting.




Atty.   Docket    No. NEONODE.P004                          -2-
        Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 345 of 745




4. ( currently         amended)                   The computer              readable    medium     of claim 1,
wherein       one function           from the pluFality of functions                at least one function,
when      activated,        causes        the user interface              to display     a keyboard       and a
text field.


S. (previously           presented)               The computer              readable    medium     of claim 4,
wherein       said text          field   is used for inputting              and editing     of text    through
said keyboard.


6. ( currently         amended)                   The computer              readable    medium     of claim 1,
wherein       one function           from the pluFality of functions                at least one function,
when activated,             causes the user interface                to display a list with a library         of
available        applications        and files on the mobile handheld                   computer      unit.


7. (previously           presented)               The computer              readable    medium     of claim 6,
wherein          the    user     interface     is characterised              in, that    a selection       of an
application        or file is done by gliding                the object       along said touch sensitive
area so that a representation                   of a desired one of said application                   or file is
highlighted,           raising     said object       from        said touch     sensitive    area, and then
tapping       on said touch sensitive             area.


8. (previously           presented)               The computer              readable    medium     of claim 7,
wherein       the user interface             is characterised             in, that at any given time said
list presents          only files or only applications,                    and that an area of said list
presents         a field through          which    said list can be changed                 from   presenting
files    to      presenting          applications,          or     from     presenting      applications      to
presenting         files.




Atty.   Docket    No. NEONODE.P004                    -3-
        Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 346 of 745




9. (currently            amended)                     The computer         readable     medium       of claim 7,
wherein          the user interface            is characterised         in, that, one item in said list is
highlighted            by a moveable             marking,       and the user interface              enables     list
navigation             whereby      gliding     the object      along the touch sensitive               area in a
direction         towards        the top of said list or towards                 the bottom         of said list
causes said marking                      to move in the same direction                without      scrolling    the
list.


10. (currently            amended)                    The computer         readable     medium       of claim 9,
wherein          the     user      interface     is characterised           in, that,     if the     number      of
applications            or files in said list exceeds the number                  of applications          or files
that can be presented                     on said touch sensitive           area as content,            and if the
object      is   ill    glided     along said touch            sensitive     area to the top or bottom
position         of said touch             sensitive    area,    then      .U.Uraised above said touch
sensitive         area, then (iii) replaced               on said touch sensitive            area, and then
.liYJ.again glided along said touch sensitive area to the top or bottom of
said touch             sensitive     area, said list navigation              pages the content             of said
touch sensithfe area ·1,ill be replaced list up or down by one whole page.


11. (currently            amended)                    The computer          readable      medium         of claim
10,     wherein          the user interface             is characterised        in, that    if the object          is
raised      from         any     first     position     on said     touch     sensitive     area        and    then
replaced         on any second               position     on said touch         sensitive       area,    said list
navigation         can be continued              from said second position.


12. (currently            amended)                    The computer         readable     medium       of claim 1,
wherein          the user interface            is characterised          in, that an active         application,
function,        service or setting            is moved on advanced              one step by gliding the



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object along the touch sensitive              area from left to right, and that the active
application,        function,    service    or setting     is closed or backed            one step by
gliding the object along the touch sensitive                   area from right to left.


13. (currently         amended)              The computer          readable   medium       of claim 1,
wherein      the user interface        is characterised        in, that said representations         of
said plurality        of functions    at least one function           are located at the bottom
of said touch sensitive           area.


14. (previously         presented)           The computer          readable   medium       of claim 1,
wherein      the touch sensitive          area is 2-3 inches in diagonal            dimension.


15. (previously         presented)           An enclosure          adapted    to cover the mobile
handheld         computer       unit according       to Claim 1, characterised            in, that said
enclosure         is provided    with an opening for said touch sensitive                 area.


16. (previously         presented)           The       enclosure      according      to    Claim   15,
characterised         in, that said enclosure          is removable     and exchangeable.


17. (cancelled)


18. (currently         amended)              [[A]]      The    computer        readable       medium
according         to Claim      17 of claim      1, characterised        in, that    said computer
program          product code is adapted         to function       as a shell upon an operations
operating        system.


19. - 47.         (cancelled)




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                                            REMARKS


                         Applicant    has carefully       studied    the outstanding      Office
Action.      The present     amendment        is intended      to place the application         in
condition        for allowance    and is believed      to overcome      all of the objections
and rejections        made by the Examiner.             Favorable     reconsideration     and
allowance        of the application    are respectfully       requested.
                         Applicant    has cancelled        claims 17 and 19 - 47, and
amended          claims 1, 2, 4, 6, 9 - 13 and 18 to properly              claim the present
invention.        No new matter       has been introduced.           Claims 1 - 16 and 18
are presented         for examination.
                          In Paragraphs      3 and 4 of the Office Action,          the
Examiner         has rejected     claim 1 under 35 U.S.C. §102(e)            as being
anticipated        by Nakajima     et al., US Patent No. 6,346,935            ("Nakajima").
                          In Paragraphs      5 and 6 of the Office Action,          the
Examiner         has rejected     claims 2 - 11 and 14 - 18 under 35 U.S.C.
§103(a)      as being unpatentable         over Nakajima         in view of Rogue, "Palm
Pilot: The Ultimate        Guide, 2 nd Edition ("Rogue").            Applicant   has canceled
claim 17 without         acquiescence      to the Examiner's         reasons for rejection
and respectfully        submits    that rejection      of those claims is thus rendered
moot.
                          In Paragraph     7 of the Office Action,         the Examiner       has
rejected     claims 12 and 13 under 35 U.S.C. §103(a)                    as being
unpatentable         over Nakajima       in view     of Rogue, and further       in view of
O'Rourke,         US Patent No. 7,225,408           (''O'Rourke").




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Distinctions          between       Claimed     Invention         and U.S. Patent              No.
6,346,935          to Nakajima         et al., Rogue,        Palm Pilot: The Ultimate
Guide,      2 nd Edition,       and U.S. Patent          No. 7,225,408              to O'Rourke
                          Aspects of the subject           invention        concern a touch-based
user interface        with functionalities      for running           interactive    applications
using touch-based             icons, for inputting       text using a touch-based              keypad,
and for managing              files using a touch-based         file listing.       User inputs
include finger taps and movements.                      One such movement                is a "rubbing"       /
"swiping"        / "touch-and-glide"         movement,       whereby        a finger touches a
touch-sensitive         screen at a location           where an icon for a function             is
displayed,        and then rubs / swipes / glides, along the touch screen away
from the location         without      lifting the finger.      The touch-and-glide
movement           of the subject     claimed    invention      is illustrated       in FIGS. 2, 7 and
10 of the original        specification      by a left-arrow          and a thumb         touching       a
touch-sensitive         screen.
                          The touch-and-glide            movement          of the subject       claimed
invention        is used to activate      functions      ( original     specification/      Abstract;
page 2, lines 25 - 28; page 5, lines 24 - 27; FIG. 2; original                              claim 1),
and to scroll a selector           forward    and backward            within a list to select a
desired item in the list, and to page up and page down within a list
(original    specification/       page 3, lines 28 - page 4, line 2; page 7, lines 7 -
10; page 7, line 27 - page 9, line 14; FIGS. 7 and 10; original                               claims 7, 9
and 10).         The touch-and-glide          movement        of the subject         claimed     invention
activates        a function     that corresponds        to the icon displayed            at the touch
point.
                          Nakajima       teaches several touch pads for operating                        a
notebook         personal computer.           The touch pads are designed                  efficiently       so
as to avoid waste of their touch-sensitive                   areas caused by raised frames



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that surround         the touch-sensitive        areas.      As shown in FIG. 13 of
Nakajima,         and described         at col. 2, lines 52 - 65, for prior art touch pads,
the regions of a touch-sensitive               area that border the inner periphery           of
the frame,        along a strip of width G, are blocked by the frame from access
by a finger,        F. As such, these border regions of the prior art touch-
sensitive        area are wasted.
                          The touch pads of Nakajima              have frames with inner
peripheries        that are designed        to enable a user to access border regions of
the touch-sensitive            areas.     Examples of such designs are shown in FIGS.
5, 6 and 9 of Nakajima.             A no-sensor          area, denoted    Ans in FIG. 9,
separates         an effective    sensor area, denoted          Ls in FIG. 9, from the inner
periphery        of frame 6E. Recesses and curvatures                 in the inner periphery       of
the frame make it possible for a finger to touch all portions                     of effective
sensor area Ls, including               the edges and corners thereof.          Moreover,    the
inner periphery         of frame 6E serves as a convenient                guide, to assist the
finger in moving to a desired edge and corner of effective                      sensor area Ls.
In distinction,       these edge and corner regions are inaccessible                 with the
prior art touch pad shown in FIG. 13 of Nakajima.
                          The edge and corner regions of the touch-sensitive
areas, when touched,             trigger    activation     of functions   corresponding     to the
touched      regions.      FIGS. 16 and 21 of Nakajima,              and the description     at
col. 17, line 60 - col. 18, line 30, show an exemplary                      correspondence
between          border regions 2202 - 2207 of a touch-sensitive                area 2101, and
operations        that they trigger        when double-tapped.
                          Rogue is a user's guide for the PalmPilot device.                  Rogue
teaches how to operate             the PalmPilot's        touch-based     user interface,    and
the various        functions     that are available.




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                         O'Rourke       describes       a medical     information      system and a
user interface       for medical staff to access, process and update patient
record information            via portable    palmtop      devices,    and to transfer      such
information        between      portable     devices.     The user interface        of O'Rourke          is
illustrated      in FIGS. 9 - 20 of O'Rourke.


Response          to Examiner's        Arguments
                         In rejecting        independent     claim 1, the Examiner,             citing
Nakajima         col. 15, lines 1 - 15, has indicated           that Nakajima         teaches
activating       a function     by an object touching         a location     corresponding        to
the function       and then gliding along the touch sensitive                 area away from
the location.
                         Applicant      respectfully      submits     that the frame-guided
movement          of Nakajima      is of a fundamentally         different    nature than the
touch-and-glide         movement        of the subject      claimed      invention.     The frame-
guided movement           of Nakajima         glides over a non-touch          sensitive    portion
of the screen.        Specifically,     as shown in FIG. 9 of Nakajima                and described
at col. 16, line 4 - page 17, line 17, the gliding movement                           occurs over
the no-sensor        area Ans.        As recited by Nakajima           at col. 9, line 55:
"Between         the inner periphery         of the frame 6E and the effective             sensor
area Ls, there is an area including               no sensors,       that is, the non-sensor
area Ans."        Gliding an object over the no-sensor                 area Ans ensures that
the edges and corners             of the effective       sensor area Ls are accessible            and
not wasted,        which is the first objective          of Nakajima       (Nakajima/      col. 2,
lines 52 - 65; col. 16, lines 19 - 24).




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                          The following       table summarizes           some of the relevant
distinctions.

TABLE I: Partial list of distinctions between frame-guided                        movements           of
Nakajima and touch-and-glide       movements of the claimed                      invention
   Frame-guided      movement              Touch-and-glide                        movement
         of Nakamura                         of the claimed                      invention
Glide is over non-touch sensitive                        Glide is over touch-sensitive
portion of screen                                        portion of screen
Glide followed by touch                                  Touch followed by glide
Glide is toward touch point                              Glide is away from touch point
Glide is along periphery of touch-                       Glide is along interior of touch-
sensitive area                                           sensitive area
Glide movement is guided by inner                        Glide movement is unguided
periphery of raised frame
Only the touch point is processed                        Both the touch point and the glide
by the user interface                                    are processed by the user interface
Frame-guided touch has the same                          Touch-and-glide   has a different
effect as a touch alone                                  effect than a touch alone


                           In rejecting     dependent         claim 2, the Examiner,        citing
Rogue, Figure 1.2, has indicated                  that Rogue teaches a function            which,
when activated,          causes the user interface             to display icons representing
different        services or setting      for a currently       active application.      Applicant
respectfully        submits    that the PalmPilot applications            buttons     is used to
display icons representing              installed    programs,      and does not relate to a
currently        active application.       Moreover,        the Palm Pilot applications      button
is used to launch a not-currently                 active application.
                           In rejecting     dependent         claims 6 and 8, the Examiner,
citing Rogue, Sidebar              1, Categories,        has indicated   that Rogue teaches a
function     which, when activated,             causes the user interface           to display a list
of available        applications     and files.     Applicant     respectfully   submits     that the
PalmPilot category            pages described        in Rogue do not display files.          They
only display installed          applications,       as indicated     by Rogue in Sidebar         1.




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Moreover,         Rogue does not describe changing                 the display from displaying
only applications           to displaying    only files. and vice versa.
                             In rejecting   dependent         claim 9, the Examiner,             citing
Rogue, Figure 1.4, has indicated                that Rogue teaches a gliding                 input that
causes a marking             to move up and down a list without                 scrolling    the list.
Applicant        respectfully     submits    that the PalmPilot menus, as described                        in
Rogue, are navigated              via tapping     and not via gliding.
                             In rejecting   dependent         claims 10 and 11, the
Examiner,         citing Nakajima,      col. 14, lines 45 - 57, has indicated                 that
Nakajima         teaches a compound          movement,          used to advance an entire
page of a list, by (i) gliding an object along a touch-sensitive                            area to the
top or bottom            of the touch-sensitive          area, (ii) raising the object from the
touch-sensitive           area, (iii) replacing     the object on the touch-sensitive                     area,
and (iv) gliding the object again along the touch-sensitive                          area to the top
of bottom         of the touch-sensitive        area.      Applicant      respectfully      submits       that
Nakajima         describes      an up/down      scroll function,       which is not the glide-
raise-replace-glide           movement       of the subject       claimed      invention.
Moreover,         the up/down       scroll function        causes a list to advance           by one
line, and not by an entire page.                Applicant       further    respectfully      submits
that Nakajima            does not describe a list navigation              movement        that
continues        when the object is (i) raised from a first position                     on the touch-
sensitive        area, and (ii) replaced        at a second position          of the touch-
sensitive        area.
                             In order to further         clarify these distinctions,         applicant
has amended              claim 10 to elaborately          list the four stages of the compound
glide-raise-replace-glide            list navigation        movement.
                             In rejecting   dependent         claim 12, the Examiner,             citing
Nakajima,         col. 14, lines 45 - 57 and O'Rourke,                 Figure 13, has indicated



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that Nakajima          and O'Rourke         teach advancing         an active application      /
function     / service/        setting    forward     and backward       one step by gliding an
object along a touch-sensitive               area respectively          from left to right and
from right to left.           Applicant    respectfully      submits    that the forward      and
backward         operations      described      in Nakajima       and O'Rourke      are performed
by tapping        on arrowheads,          and not by gliding an object left to right, or
right to left.       Use of touch-based          scroll bars is described          in Rogue with
reference        to Figure 1.2: "To scroll ... tap one of the up/down                   triangle
buttons      on the scroll bar ... ". Moreover,              the cited location of Nakajima
recites "The double-headed                 arrow 18a ... is a sign of an up/down             scroll
function     ... the user can understand               ... the region assigned       the function
... "; i.e., tapping       on sign 18a causes a scroll up.
                           The rejections        of the claims 1 - 18 in paragraphs                3 - 7
of the Office Action will now be dealt with specifically.
                           As to amended            independent      claim 1 for a computer
readable         medium,      applicant    respectfully      submits,    as indicated
hereinabove,         that the limitation        in claim 1 of
                           "each function        ... being activated        by an object      touching
the corresponding             location    and then gliding        along the touch sensitive           area
away from the touched               location"
is neither       shown nor suggested            in Nakajima,        Rogue or O'Rourke.
                           Additionally,      as indicated        hereinabove,     the limitation      in
amended          dependent      claim 2 of
                           "one     function               when    activated,      causes    the      user
interface        to display    icons representing           different   services    or settings       for a
currently        active application"
is neither       shown nor suggested            in Nakajima,        Rogue or O'Rourke.




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                           Additionally,        as indicated        hereinabove,       the limitation      in
amended          dependent         claim 6 of
                           "one       function             when      activated,       causes     the      user
interface        to display    a list with a library           of available       applications    and files
on the mobile handheld                computer       unit"
is neither       shown nor suggested              in Nakajima,        Rogue or O'Rourke.
                           Additionally,        as indicated        hereinabove,       the limitation      in
dependent         claim 8 of
                           "said      list presents        only     files or only      applications,      and
that an area of said list presents                    a field through          which said list can be
changed          from    presenting         files     to     presenting        applications,      or     from
presenting        applications       to presenting         files"
is neither       shown nor suggested              in Nakajima,        Rogue or O'Rourke.
                           Additionally,        as indicated        hereinabove,       the limitation      in
amended          dependent         claim 9 of
                           "list    navigation       whereby         gliding    the    object    along     the
touch sensitive          area in a direction          towards        the top of said list or towards
the bottom         of said list causes said marking                  to move in the same direction
without      scrolling    the list"
is neither       shown nor suggested              in Nakajima,        Rogue or O'Rourke.
                           Additionally,        as indicated        hereinabove,       the limitation      in
amended          dependent         claim 10 of
                           "if the object is (i) glided along said touch sensitive                       area
to the top or bottom                of said touch sensitive            area, then (ii) raised           above
said touch sensitive           area, then (iii) replaced              on said touch sensitive            area,
and then (iv) again glided                 along said touch sensitive                 area to the top or
bottom      of said touch sensitive              area, said list navigation           pages the content
of said list up or down by one whole page"



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is neither       shown nor suggested                  in Nakajima,      Rogue or O'Rourke.
                              Additionally,       as indicated        hereinabove,        the limitation      in
amended          dependent          claim 11 of
                              "if the object           is raised     from     any first   position      on said
touch      sensitive     area and then replaced                     on any second          position     on said
touch      sensitive      area,       said     list    navigation       can be continued              from   said
second position"
is neither       shown nor suggested                  in Nakajima,      Rogue or O'Rourke.
                              Additionally,       as indicated        hereinabove,        the limitation      in
amended          dependent          claim 12 of
                              "an    active     application,         function,     service     or setting          is
advanced          one step by gliding                 the object     along     the touch sensitive           area
from      left    to right,     and that         the active         application,     function,    service       or
setting     is closed or backed one step by gliding                           the object along the touch
sensitive        area from right to left"
is neither       shown nor suggested                  in Nakajima,      Rogue or O'Rourke.
                              Because claims 2 - 16 and 18 depend from claim 1 and
include additional            features,       applicant        respectfully    submits     that claims 2 -
16 and 18 are not anticipated                     or rendered         obvious by Nakajima,             Rogue,
O'Rourke,         or a combination            of Nakajima,          Rogue or O'Rourke.
                              Accordingly       claims 1 - 16 and 18 are deemed to be
allowable.




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Support          for Amended       Claims   in Original      Specification
                          Dependent     claim 10 has been amended              to include the
limitations       of the object    being (i) glided along the touch sensitive             area to
the top or bottom          position   of the touch sensitive         area, then (ii) raised
above said touch sensitive            area, then (iii) replaced        on said touch sensitive
area, and then (iv) again glided along said touch sensitive                     area to the top
or bottom        of said touch sensitive      area.    These limitations      are supported     in
the original       specification   at least at page 7, line 32 - page 8, line 10; and
FIG. 9.


                          For the foregoing      reasons,    applicant     respectfully
submits       that the applicable     objections      and rejections     have been overcome
and that the claims are in condition             for allowance.


                                                      Respectfully     submitted,


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                                  Electronic Patent Application Fee Transmittal

Application Number:                                        10315250


Filing Date:                                               10-Dec-2002




Title of Invention:                                        User interface




First Named Inventor/Applicant Name:                       Magnus Goertz


Filer:                                                     Marc Aron Berger


Attorney Docket Number:                                    NEONODE.P004


Filed as Large Entity


Utility under 35 USC 111 (a) Filing Fees

                                                                                                  Sub-Total in
                            Description                            Fee Code   Quantity   Amount
                                                                                                    USO($)


Basic Filing:


Pages:


Claims:


Miscellaneous-Filing:


Petition:


                Petition fee- 37 CFR 1.17(h) (Group Ill)              1464       1         130        130


Patent-Appeals-and-Interference:


Post-Allowance-and-Post-Issuance:


Extension-of-Time:
             Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 359 of 745
                                                                                   Sub-Total in
                    Description                 Fee Code   Quantity      Amount
                                                                                     USO($)


Miscellaneous:


                                                      Total in USD ($)             130
                Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 360 of 745
                                         Electronic Acknowledgement Receipt

                             EFSID:                    5194866


                     Application Number:               10315250


             International Application Number:


                     Confirmation Number:              1226




                       Title of Invention:             User interface




        First Named Inventor/Applicant Name:           Magnus Goertz


                      Customer Number:                 75660


                              Filer:                   Marc Aron Berger


                      Filer Authorized By:


                   Attorney Docket Number:             NEONODE.P004


                         Receipt Date:                 22-APR-2009


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                       Application Type:               Utility under 35 USC111(a)


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                      Amendment/Req. Reconsideration-After Non-Final Reject                                  1                                  1



                                               Claims                                                        2                                  5



                       Applicant Arguments/Remarks Made in an Amendment                                      6                                 15


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National Stage of an International A~~lication under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
U.S.C. 371 and other applicable requirements a Form PCT/DO/EO/903 indicating acceptance of the application as a
national stage submission under 35 U.S.C. 371 will be issued in addition to the Filing Receipt, in due course.

New International A~~lication Filed with the USPTO as a Receiving Office
If a new international application is being filed and the international application includes the necessary components for
an international filing date (see PCT Article 11 and MPEP 181 O), a Notification of the International Application Number
and of the International Filing Date (Form PCT/RO/1OS) will be issued in due course, subject to prescriptions concerning
national security, and the date shown on this Acknowledgement Receipt will establish the international filing date of
the application.
                        Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 362 of 745
                                                                                                                                                         PTO/SB/06 (07-06)
                                                                                                                     Approved for use through 1/31/2007. 0MB 0651-0032
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     PATENT APPLICATION FEE DETERMINATION RECORD                                                       Application or Docket Number         Filing Date
                                     Substitute   for Form PTO-875                                              10/315,250                 12/10/2002          □   To be Mailed


                             APPLICATION AS FILED - PART I                                                                                                OTHER THAN
                                                    (Column 1)                     (Column 2)               SMALL       ENTITY       IZI   OR             SMALL   ENTITY

                      FOR                         NUMBER FILED                  NUMBER EXTRA              RATE($)           FEE($)              RATE($)             FEE($)

 0     BASIC FEE                                       N/A                            N/A                   N/A                                    N/A
       (37 CFR 1.16(a), (b), or (c))

 □     SEARCH FEE                                      N/A                            N/A                   N/A                                    N/A
       (37 CFR 1.16(k), (i), or (m))

 □     EXAMINATION FEE                                 N/A                            N/A                   N/A                                    N/A
       (37 CFR 1.16(0), (p), or (q))
 TOTAL CLAIMS
                                                          minus 20 =        *                             X $       =                      OR   X $        =
 (37 CFR 1.16(i))
 INDEPENDENT CLAIMS
                                                             minus 3 =      *                             X $       =                           X $        =
 (37 CFR 1.16(h))
                                              If the specification and drawings exceed 100
                                              sheets of paper, the application size fee due
 □APPLICATION SIZE FEE                        is $250 ($125 for small entity) for each
      (37 CFR 1.16(s))
                                              additional 50 sheets or fraction thereof. See
                                              35 U.S.C. 41 (a)(1)(G) and 37 CFR 1.16(s).

 □     MULTIPLE DEPENDENT CLAIM PRESENT (37 CFR 1.16U))

 * If the difference in column 1 is less than zero, enter "0" in column 2.                                 TOTAL                                 TOTAL

                         APPLICATION AS AMENDED- PART II
                                                                                                                                                      OTHER THAN
                                     (Column 1)                       (Column 2)          (Column 3)            SMALL     ENTITY           OR             SMALL   ENTITY
                                 CLAIMS                          HIGHEST
                                 REMAINING                       NUMBER                   PRESENT                        ADDITIONAL                               ADDITIONAL
I-      04/22/2009               AFTER                           PREVIOUSLY                EXTRA
                                                                                                          RATE($)
                                                                                                                         FEE($)
                                                                                                                                                RATE($)
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z                                AMENDMENT                       PAID FOR
w       Total      (37 CFR
~       1.16(i))                 • 17                 Minus      **    47             =   0               X $26 =                0         OR   X $        =
0       Independent
z       137 CFR 1.16/h\\         *    1               Minus      ***8                 =   0               X $110 =               0         OR   X $        =
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<(
        D Application Size Fee (37 CFR 1.16(s))
        □      FIRSTPRESENTATION
                               OF MULTIPLEDEPENDENTCLAIM(37 CFR 1.16(j))                                                                   OR

                                                                                                          TOTAL                                 TOTAL
                                                                                                          ADD'L                  0         OR   ADD'L
                                                                                                          FEE                                   FEE
                                     (Column 1)                       (Column 2)          (Column 3)
                                   CLAIMS                          HIGHEST
                                  REMAINING                        NUMBER                 PRESENT                        ADDITIONAL                               ADDITIONAL
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                                    AFTER                        PREVIOUSLY                EXTRA                         FEE($)                                     FEE($)
                                 AMENDMENT                        PAID FOR
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z       Total      (37 CFR
                                 *                    Minus      **                   =                   X $       =                      OR   X $        =
w       1.16(i\\

~       Independent                                   Minus                                               X $       =                      OR   X $        =
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<(      □      FIRSTPRESENTATION
                               OF MULTIPLEDEPENDENTCLAIM(37 CFR 1.16(j))                                                                   OR

                                                                                                          TOTAL                                 TOTAL
                                                                                                          ADD'L                            OR   ADD'L
                                                                                                          FEE                                   FEE
 * If the entry     in column 1 is less than the entry in column 2, write "0" in column 3.
                                                                                                           Legal Instrument Examiner:
 ** If the "Highest Number Previously Paid For" IN THIS SPACE is less than 20, enter "20".
                                                                                                           /MYRTLE B. LEIGH/
 *** If the "Highest Number Previously Paid For" IN THIS SPACE is less than 3, enter "3".
 The "Highest Number Previously Paid For" (Total or Independent) is the highest number found in the appropriate box in column 1.
This collection of information Is required by 37 CFR 1.16. The information Is required to obtain or retain a benefit by the public which Is to file (and by the USPTO to
process) an application. Confidentiality is governed by 35 U.S.C. 122 and 37 CFR 1.14. This collection is estimated to take 12 minutes to complete, including gathering,
preparing, and submitting the completed application form to the USPTO. Time will vary depending upon the individual case. Any comments on the amount of time you
require to complete this form and/or suggestions for reducing this burden, should be sent to the Chief Information Officer, U.S. Patent and Trademark Office, U.S.
Department of Commerce, P.O. Box 1450, Alexandria, VA 22313-1450. DO NOT SEND FEES OR COMPLETED FORMS TO THIS
ADDRESS. SEND TO: Commissioner for Patents, P.O. Box 1450, Alexandria, VA 22313-1450.
                                            If you need assistance in completing the form, ca/11-800-PTO-9199 and select option 2.
                Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 363 of 745
                    UNITED STA IBS      p AIBNT       AND TRADEMARK OFFICE
                                                                                   UNITED STA TES DEPARTMENT OF COMMERCE
                                                                                   United States Patent and Trademark Office
                                                                                   Address:COMMISSIONER FOR PATENTS
                                                                                        P.O. Box 1450
                                                                                        Alexandria., Virginia 22313-1450
                                                                                        www.uspto.gov




   APPLICATION NO.             FILING DATE                 FIRST NAMED INVENTOR   ATTORNEY DOCKET NO.               CONFIRMATION NO.

       10/315,250               12/10/2002                     Magnus Goertz         NEONODE.P004                           1226

       75660            7590             12/23/2008
                                                                                                       EXAMINER
       Soquel Group, LLC
       P.O. Box 691                                                                                 PITARO, RY AN F
       Soquel, CA 95073
                                                                                       ART UNIT                       PAPER NUMBER

                                                                                          2174



                                                                                       MAIL DATE                     DELIVERY MODE

                                                                                       12/23/2008                          PAPER


Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.




PTOL-90A (Rev. 04/07)
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                                                                                    Application No.                               Applicant(s)

                                                                                     10/315,250                                   GOERTZ, MAGNUS
                      Office Action Summary                                         Examiner                                      Art Unit
                                                                                    RYAN F. PITARO                                2174
                 -- The MAILING DA TE of this communication appears on the cover sheet with the correspondence address --
  Period for Reply
        A SHORTENED STATUTORY PERIOD FOR REPLY IS SET TO EXPIRE ;l_MONTH(S) OR THIRTY (30) DAYS,
        WHICHEVER IS LONGER, FROM THE MAILING DATE OF THIS COMMUNICATION.
        - Extensions of time may be available under the provisions of 37 CFR 1.136(a). In no event, however, may a reply be timely filed
          after SIX (6) MONTHS from the mailing date of this communication.
        - If NO period for reply is specified above, the maximum statutory period will apply and will expire SIX (6) MONTHS from the mailing date of this communication.
        - Failure to reply within the set or extended period for reply will, by statute, cause the application to become ABANDONED (35 U.S.C. § 133).
          Any reply received by the Office later than three months after the mailing date of this communication, even if timely filed, may reduce any
          earned patent term adjustment. See 37 CFR 1.704(b).

  Status

           1)1Zl Responsive to communication(s) filed on 15 October 2008.
       2a)0       This action is FINAL.                            2b)[8J This action is non-final.
           3)0    Since this application is in condition for allowance except for formal matters, prosecution as to the merits is
                  closed in accordance with the practice under Ex parte Quayle, 1935 C.D. 11, 453 O.G. 213.

  Disposition of Claims
        4)[8J Claim(s) 1-18 is/are pending in the application.
                 4a) Of the above claim(s) __                 is/are withdrawn from consideration.
           5)0    Claim(s) __          is/are allowed.
           6)[8J Claim(s) 1-18 is/are rejected.
           7)0    Claim(s) __          is/are objected to.
           8)0    Claim(s) __          are subject to restriction and/or election requirement.

  Application Papers
           9)0 The specification is objected to by the Examiner.
       10)0 The drawing(s) filed on __                     is/are: a)O accepted or b)O objected to by the Examiner.
                 Applicant may not request that any objection to the drawing(s) be held in abeyance. See 37 CFR 1.85(a).
                  Replacement drawing sheet(s) including the correction is required if the drawing(s) is objected to. See 37 CFR 1.121(d).
       11)0 The oath or declaration is objected to by the Examiner. Note the attached Office Action or form PT0-152.

  Priority under 35 U.S.C. § 119
       12)0 Acknowledgment is made of a claim for foreign priority under 35 U.S.C. § 119(a)-(d) or (f).
              a)O All        b)O Some* c)O None of:
                  1.0       Certified copies of the priority documents have been received.
                  2.0       Certified copies of the priority documents have been received in Application No. __                                     .
                  3.0       Copies of the certified copies of the priority documents have been received in this National Stage
                            application from the International Bureau (PCT Rule 17.2(a)).
              *Seethe attached detailed Office action for a list of the certified copies not received.




  Attachment(s)
  1) [8JNotice of References Cited (PTO-892)                                                       4) 0   Interview Summary (PTO-413)
  2)   0    Notice of Draftsperson's Patent Drawing Review (PTO-948)                                      Paper No(s)/Mail Date. __      .
  3)   0    Information Disclosure Statement(s) (PTO/SB/08)                                        5) 0   Notice of Informal Patent Application
            Paper No(s)/Mail Date __     .                                                         6) 0   Other: __     .

U.S. Patent and Trademark Office
PTOL-326 (Rev. 08-06)                                                  Office Action Summary                                  Part of Paper No./Mail Date 20081221
     Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 365 of 745


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                                      Response to Amendment



1.     This action is in response to the amendment filed 10/15/2008. In the amendment

claims 1-18 were amended. This action is non-final.



                         Continued Examination Under 37 CFR 1.114

2.     A request for continued examination under 37 CFR 1.114, including the fee set

forth in 37 CFR 1.17(e), was filed in this application after final rejection. Since this

application is eligible for continued examination under 37 CFR 1.114, and the fee set

forth in 37 CFR 1.17(e) has been timely paid, the finality of the previous Office action

has been withdrawn pursuant to 37 CFR 1.114. Applicant's submission filed on

10/15/2008 has been entered.



                                      Claim Rejections - 35 USC§ 102



3.     The following is a quotation of the appropriate paragraphs of 35 U.S.C. 102 that

form the basis for the rejections under this section made in this Office action:

       A person shall be entitled to a patent unless -

       (e) the invention was described in (1) an application for patent, published under section 122(b), by
       another filed in the United States before the invention by the applicant for patent or (2) a patent
       granted on an application for patent by another filed in the United States before the invention by the
       applicant for patent, except that an international application filed under the treaty defined in section
       351 (a) shall have the effects for purposes of this subsection of an application filed in the United States
       only if the international application designated the United States and was published under Article 21 (2)
       of such treaty in the English language.
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4.     Claim 1 is rejected under 35 U.S.C. 102(e) as being anticipated by Nakajima et al

("Nakajima", 6,346,935).



       As per claim 1, Nakajima teaches a computer readable medium storing a

computer program with computer program code, which, when read by a mobile

handheld computer unit, allows the computer to present a user interface for the mobile

handheld computer unit, the user interface comprising: a touch sensitive area in which

representations of a plurality of functions are displayed (Column 15 lines 1-9, function

signs), and each function of said plurality of functions being mapped to a corresponding

location in the touch sensitive area at which the representation of the function is

displayed (Column 15 lines 1-9, stops moving finger), and being activated by an object

touching the corresponding location and then gliding along the touch sensitive area

away from the location (Column 15 lines 1-15, stops moving finger then glides finger to

lightly press surface).




                            Claim Rejections - 35 USC§ 103
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5.     The following is a quotation of 35 U.S.C. 103(a) which forms the basis for all

obviousness rejections set forth in this Office action:

       (a) A patent may not be obtained though the invention is not identically disclosed or described as set
       forth in section 102 of this title, if the differences between the subject matter sought to be patented and
       the prior art are such that the subject matter as a whole would have been obvious at the time the
       invention was made to a person having ordinary skill in the art to which said subject matter pertains.
       Patentability shall not be negatived by the manner in which the invention was made.

6.     Claims 2-11, 14-18 rejected under 35 U.S.C. 103(a) as being unpatentable over

Nakajima et al ("Nakajima", 6,346,935) in view of Rogue ("Rogue", Palm Pilot: The

Ultimate Guide, 2nd Edition).



       As per claim 2, Nakajima fails to particularly disclose a function to display a

plurality of functions. However, Rogue teaches a computer readable medium of claim 1,

wherein one function from the plurality of functions, when activated, causes the user

interface to display icons representing different services or settings for a currently active

application (Figure 1.2, Tap the application button to display your application launching

screen).Therefore it would have been obvious to an artisan at the time of the invention

to combine the teaching of Rogue with the medium of Nakajima. Motivation to do so

would have been to provide a way to reduce screen clutter and only access the

applications when needed.



       As per claim 3, Nakajima-Rogue teaches a computer readable medium of claim

2, wherein the user interface is characterised in, that a selection of a preferred service

or setting is done by tapping on a display icon corresponding to the preferred service or

setting (Nakajima, Column 18 lines 30-40, tap).
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       As per claim 4, Nakajima-Rogue teaches a computer readable medium of claim

1, wherein one function from the plurality of functions, when_activated, causes the user

interface to display a keyboard and a text field (Figure 2.5, power stroke up, Figure 2.6).



       As per claim 5, Nakajima-Rogue teaches a wherein said text field is used for

inputting and editing of text through said keyboard (Nakajima, Figure 2.6).




       As per claim 6, Nakajima-Rogue teaches a computer readable medium of claim

1, wherein one function from the plurality of functions, when activated, causes the user

interface to display a list with a library of available applications and files on the mobile

handheld computer unit (Rogue, Sidebar 1, Categories).



       As per claim 7, Nakajima-Rogue teaches a computer readable medium of claim

6, wherein the user interface is characterised in, that a selection of an application or file

is done by gliding the object along said touch sensitive area so that a representation of

a desired one of said application or file is highlighted, raising said object from said touch

sensitive area, and then tapping on said touch sensitive area (Nakajima, Column 18

lines 40-56).
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       As per claim 8, Nakajima-Rogue teaches a computer readable medium of claim

7, wherein the user interface is characterised in, that at any given time said list presents

only files or only applications, and that an area of said list presents a field through which

the said list can be changed from presenting files to presenting applications, or from

presenting applications to presenting files (Rogue, Sidebar 1, Categories).



       As per claim 9, Nakajima-Rogue teaches a computer readable medium of claim

7, wherein the user interface is characterised in, that, one item in said list is highlighted

by a moveable marking, and gliding the object along the touch sensitive area in a

direction towards the top of said list or towards the bottom of said list, causes said

marking to move in the same direction without scrolling the list (Rogue, Figure 1.4,

using the menu).



       As per claim 10, Nakajima-Rogue teaches a computer readable medium of claim

9, wherein the user interface is characterised in, that, if the number of applications or

files in said list exceeds the number of applications or files that can be presented on

said touch sensitive area as content, and if the object is glided along said touch

sensitive area to the top or bottom position of said touch sensitive area, then raised,

replaced on said touch sensitive area, and again glided along said touch sensitive area

to the top or bottom of said touch sensitive area, the content of said touch sensitive area

will be replaced one whole page (Nakajima, Column 14 lines 45-57).
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       As per claim 11, Nakajima-Rogue teaches a computer readable medium of claim

10, wherein the user interface is characterised in, that if the object is raised from any

first position on said touch sensitive area and then replaced on any second position on

said touch sensitive area, said navigation can be continued from said second position

(Nakajima, Column 14 lines 45-57).



       As per claim 14, while Nakajima-Rogue-O'Rourke fails to teach a touch sensitive

area is 2-3 inches. OFFICIAL NOTICE is taken that screen sizes vary and screens with

a touch sensitive area of 2-3 inches diagonally is well known in the art. Therefore it

would have been obvious to an artisan at the time of the invention to combine the

screen size with the medium of Nakajima-Rogue. Motivation to do so would have been

to provide adequate size to operate the touch screen while keeping it small enough to fit

in a pocket.




       As per claim 15, Nakajima-Rogue teaches a enclosure adapted to cover the

mobile handheld computer unit according to Claim 1, characterised in, that said

enclosure is provided with an opening for said touch sensitive area (Rogue, Figure 1.1).



       As per claim 16, Nakajima-Rogue fails to teach an enclosure is removable and

exchangeable. OFFICIAL NOTICE is taken that an enclosure is removable and

exchangeable is well known in the art. Therefore it would have been obvious to an
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artisan at the time of the invention to combine the exchangeable enclosure with the

medium of Nakajima-Rogue. Motivation to do so would have been to provide a way to

style your mobile device so that it can be personalized to a user's taste.



      As per claim 17, Nakajima-Rogue teaches a a computer readable medium, with a

computer program product stored therein, characterised in, that said computer program

product comprises computer readable code, which, when read by a computer, will make

it possible for said computer to present a user interface according to Claim 1 (Rogue,

1.1 Palm Pilot Basics).




      As per claim 18, Nakajima-Rogue teaches a computer readable medium

according to Claim 17, characterised in, that said computer program product is adapted

to function as a shell upon an operations system (Rogue, 1.1 Palm Pilot Basics).




7.     Claims 12 and 13 are rejected under 35 U.S.C. 103(a) as being unpatentable

over Nakajima et al ("Nakajima", 6,346,935) in view of Rogue ("Rogue", Palm Pilot: The

Ultimate Guide, 2nd Edition) in view of O'Rourke (O'Rourke, US 7,225,408).
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       As per claim 12, Nakajima-Rogue teaches a computer readable medium of claim

1, wherein the user interface is characterized in, that an active application, function,

service or setting is moved on one step by gliding the object along the touch sensitive

area from left to right (Nakajima, Column 14 lines 45-57). However, Nakajima-Rogue

fails to distinctly point out closing or backing one step. However, O'Rourke teaches that

the active application, function, service or setting is closed or backed one step (Figure

13, right and left arrows). Therefore it would have been obvious to an artisan at the time

of the invention to combine the glide functionality with the forward and backward

functionality of O'Rourke. Motivation to do so would have been to provide an easy way

to traverse the GUI.



       As per claim 13, Nakajima-Rogue-O'Rourke teaches a computer readable

medium of claim 1, wherein the user interface is characterised in, that said

representations of said plurality of functions are located at the bottom of said touch

sensitive area (O'Rourke, Figure 13, icons at bottom right) .
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                               Response to Arguments

      Applicant's arguments with respect to claims 1-18 have been considered but are

moot in view of the new ground(s) of rejection.




                                      Conclusion

      Any inquiry concerning this communication or earlier communications from the

examiner should be directed to RYAN F. PITARO whose telephone number is

(571 )272-4071. The examiner can normally be reached on 9:00am - 5:30pm Mondays

through Fridays.

       If attempts to reach the examiner by telephone are unsuccessful, the examiner's

supervisor, Stephen Hong can be reached on 571-272-4124. The fax phone number for

the organization where this application or proceeding is assigned is 571-273-8300.
     Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 374 of 745


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       Information regarding the status of an application may be obtained from the

Patent Application Information Retrieval (PAIR) system. Status information for

published applications may be obtained from either Private PAIR or Public PAIR.

Status information for unpublished applications is available through Private PAIR only.

For more information about the PAIR system, see http://pair-direct.uspto.gov. Should

you have questions on access to the Private PAIR system, contact the Electronic

Business Center (EBC) at 866-217-9197 (toll-free). If you would like assistance from a

USPTO Customer Service Representative or access to the automated information

system, call 800-786-9199 (IN USA OR CANADA) or 571-272-1000.


/R. F. P./                                           /Stephen S. Hong/
Examiner, Art Unit 2174                              Supervisory Patent Examiner, Art
                                                     Unit 2178
                         Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 375 of 745
                                                                                     Application/Control No.          Applicant(s)/Patent Under
                                                                                                                      Reexamination
                                                                                     10/315,250                       GOERTZ, MAGNUS
                  Notice of References Cited
                                                                                     Examiner                         Art Unit
                                                                                                                                         Page 1 of 1
                                                                                     RYAN F. PITARO                   2174
                                                                          U.S. PATENT DOCUMENTS
                         DocumentNumber                     Date
 *                Country Code-Number-Kind Code          MM-YYYY                                     Name                                 Classification

 *       A      US-7,225,408                            05-2007          O'Rourke, Kevin                                                    715/743

 *       B      US-2002/0171691                         11-2002          Currans et al.                                                     345/864

 *       C      US-6,346,935                            02-2002          Nakajima et al.                                                    345/173

 *       D      US-6,085,204                            07-2000          Chijiwa et al.                                                     715/246

 *       E      US-5,053,758                            10-1991          Cornett et al.                                                     345/174

 *       F      US-7,286,063                            10-2007          Gauthey et al.                                                     341/34

         G      US-

         H      US-

          I     US-

         J      US-

         K      US-

         L      US-

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                                                                       FOREIGN PATENT DOCUMENTS
                         DocumentNumber                     Date
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                                                                          NON-PATENT DOCUMENTS

 *                                             Includeas applicable:Author, Title Date, Publisher,Editionor Volume, Pertinent Pages)


         u      Venoila et al, T-Cube: A Fast, Self Disclosing Pen-Based Alphabet, 1994, pages 265-270




         V      Karlson et al, Applens and LaunchTile:Two Designs for One-Handed Thumb Use on Small Devices, CHI 2005




        w       Dulberg et al, An Imprecise Mouse Gesture for the FAst Activation of Controls, Interact 1999, pages 1-8




         X      Rogue, Palm Pilot: The Ultimate Guide, 2nd Edition, 1998, O'Reilly and Associates, Inc. pages 1-17


*A copy of this reference 1snot being furnished with this Office action. (See MPEP § 707.05(a).)
Dates in MM-YYYY format are publication dates. Classifications may be US or foreign.

U.S. Patent and Trademark Office
PT0-892 (Rev. 01-2001)                                                  Notice of References Cited                    Part of Paper No. 20081221
              Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 376 of 745

                                                  Application/Control No.            Applicant(s)/Patent Under
                                                                                     Reexamination
          Index of Claims                         10315250                           GOERTZ, MAGNUS

                                                  Examiner                           Art Unit

                                                  Ryan F Pitaro                      2174


  ✓           Rejected                         Cancelled           N        Non-Elected             A          Appeal

  =           Allowed                         Restricted                    Interference            0         Objected

 □    Claims renumbered in the same order as presented by applicant              □   CPA        □   T.D.        □    R.1.47

          CLAIM                                                         DATE
      Final        Original    11/09/2007 06/23/2008 12/21/2008
                      1            ✓          ✓          ✓

                     2             ✓          ✓          ✓


                      3            ✓          ✓          ✓

                     4             ✓          ✓          ✓


                     5             ✓          ✓          ✓

                     6             ✓          ✓          ✓

                      7            ✓          ✓          ✓

                     8             ✓          ✓          ✓

                     9             ✓          ✓          ✓

                     10            ✓          ✓          ✓


                     11            ✓          ✓          ✓

                     12            ✓          ✓          ✓


                     13            ✓          ✓          ✓

                     14            ✓          ✓          ✓

                     15            ✓          ✓          ✓

                     16            ✓          ✓          ✓

                     17            ✓          ✓          ✓

                     18            ✓          ✓          ✓


                     19                                  N
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                                                 Application/Control No.            Applicant(s)/Patent Under
                                                                                    Reexamination
          Index of Claims                        10315250                           GOERTZ, MAGNUS

                                                 Examiner                           Art Unit

                                                 Ryan F Pitaro                      2174


  ✓           Rejected                         Cancelled          N        Non-Elected             A          Appeal

  =           Allowed                         Restricted                   Interference            0         Objected

 □    Claims renumbered in the same order as presented by applicant             □   CPA        □   T.D.        □    R.1.47

          CLAIM                                                        DATE
      Final        Original    11/09/2007 06/23/2008 12/21/2008
                     37                                  N
                     38                                  N
                     39                                  N
                     40                                  N
                     41                                  N
                     42                                  N
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                                        Application/Control No.       Applicant(s)/Patent Under
                                                                      Reexamination
           Search Notes                 10315250                      GOERTZ, MAGNUS

                                        Examiner                      Art Unit

                                        Ryan F Pitaro                 2174




                                                   SEARCHED

      Class                                Subclass                          Date             Examiner
 Update                   Search                                          11/8/2007         RFP
 Update                   Search                                         6/17/2008          RFP
 Update                   Search                                         12/21/2008         RFP



                                                  SEARCH NOTES

                                   Search Notes                              Date             Examiner
 Update Search                                                            11/8/2007         RFP
 Update Search                                                           6/17/2008          RFP
 EAST                                                                    12/21/2008         RFP
 Internet                                                                12/21/2008         RFP
 Safari Online Books                                                     12/21/2008         RFP
 IEEE                                                                    12/21/2008         RFP
 ACM                                                                     12/21/2008



                                          INTERFERENCE SEARCH

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U.S. Patent and Trademark Office                                                      Part of Paper No. : 20081221
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                Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 387 of 745
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                                                                                   United States Patent and Trademark Office
                                                                                   Address:COMMISSIONER FOR PATENTS
                                                                                        P.O. Box 1450
                                                                                        Alexandria., Virginia 22313-1450
                                                                                        www.uspto.gov




   APPLICATION NO.             FILING DATE                 FIRST NAMED INVENTOR   ATTORNEY DOCKET NO.               CONFIRMATION NO.

       10/315,250               12/10/2002                     Magnus Goertz         NEONODE.P004                           1226

       75660            7590             10/15/2008
                                                                                                       EXAMINER
       Soquel Group, LLC
       P.O. Box 691                                                                                 PITARO, RY AN F
       Soquel, CA 95073
                                                                                       ART UNIT                       PAPER NUMBER

                                                                                          2174



                                                                                       MAIL DATE                     DELIVERY MODE

                                                                                       10/15/2008                          PAPER


Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.




PTOL-90A (Rev. 04/07)
                   Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 388 of 745
                                                                              Application    No.                       Applicant(s)
                 Advisory Action                                              10/315,250                                GOERTZ, MAGNUS
        Before the Filing of an Appeal Brief                                  Examiner                                 Art Unit
                                                                              RYAN F. PITARO                           2174
              --The MAILING DA TE of this communication appears on the cover sheet with the correspondence address --
 THE REPLY FILED 08 September 2008 FAILS TO PLACE THIS APPLICATION IN CONDITION FOR ALLOWANCE.
 1. D The reply was filed after a final rejection, but prior to or on the same day as filing a Notice of Appeal. To avoid abandonment of this
        application, applicant must timely file one of the following replies: (1) an amendment, affidavit, or other evidence, which places the
        application in condition for allowance; (2) a Notice of Appeal (with appeal fee) in compliance with 37 CFR 41.31; or (3) a Request
        for Continued Examination (RCE) in compliance with 37 CFR 1.114. The reply must be filed within one of the following time
        periods:
    a)  D     The periodfor reply expires ___       monthsfrom the mailing date of the final rejection.
    b)  D     The period for reply expires on: (1) the mailing date of this Advisory Action, or (2) the date set forth in the final rejection,whichever is later. In
              no event, however,will the statutory periodfor reply expire later than SIX MONTHSfrom the mailing date of the final rejection.
              ExaminerNote: If box 1 is checked,check either box (a) or (b). ONLY CHECK BOX (b) WHEN THE FIRST REPLYWAS FILEDWITHIN TWO
              MONTHSOF THE FINAL REJECTION.See MPEP 706.07(f).
 Extensionsof time may be obtained under 37 CFR 1.136(a). The date on which the petition under 37 CFR 1.136(a)and the appropriateextensionfee
 have been filed is the date for purposesof determiningthe period of extensionand the correspondingamount of the fee. The appropriateextensionfee
 under 37 CFR 1.17(a)is calculatedfrom: (1) the expirationdate of the shortenedstatutory period for reply originallyset in the final Office action; or (2) as
 set forth in (b) above, if checked. Any reply received by the Office later than three months after the mailing date of the final rejection,even if timely filed,
 may reduce any earned patent term adjustment. See 37 CFR 1.704(b).
 NOTICE OF APPEAL
 2. D The Notice of Appeal was filed on __              . A brief in compliance with 37 CFR 41.37 must be filed within two months of the date of
        filing the Notice of Appeal (37 CFR 41.37(a)), or any extension thereof (37 CFR 41.37(e)), to avoid dismissal of the appeal. Since a
        Notice of Appeal has been filed, any reply must be filed within the time period set forth in 37 CFR 41.37(a).
 AMENDMENTS
 3. [8J The proposed amendment(s) filed after a final rejection, but prior to the date of filing a brief, will not be entered                because
       (a) [8JThey raise new issues that would require further consideration and/or search (see NOTE below);
       (b)D They raise the issue of new matter (see NOTE below);
       ( c) D They are not deemed to place the application in better form for appeal by materially reducing or simplifying the issues for
               appeal; and/or
       (d) D They present additional claims without canceling a corresponding number of finally rejected claims.
                NOTE: The newlv added claim amendments would require further search and consideration as discussed in an interview.
                (See 37 CFR 1.116 and 41.33(a)).
 4. D The amendments are not in compliance with 37 CFR 1.121. See attached Notice of Non-Compliant Amendment (PTOL-324).
 5. D    Applicant's reply has overcome the following rejection(s): __        .
 6. D    Newly proposed or amended claim(s) __            would be allowable if submitted in a separate, timely filed amendment canceling the
       non-allowable claim(s).
 7. [8J For purposes of appeal, the proposed amendment(s): a)~           will not be entered, orb) D will be entered and an explanation of
       how the new or amended claims would be rejected is provided below or appended.
       The status of the claim(s) is (or will be) as follows:
       Claim(s) allowed: __      .
       Claim(s) objected to: __     .
       Claim(s) rejected: __      .
       Claim(s) withdrawn from consideration: __          .
 AFFIDAVIT OR OTHER EVIDENCE
 8. D The affidavit or other evidence filed after a final action, but before or on the date of filing a Notice of Appeal will not be entered
       because applicant failed to provide a showing of good and sufficient reasons why the affidavit or other evidence is necessary and
       was not earlier presented. See 37 CFR 1.116(e).
 9. D The affidavit or other evidence filed after the date of filing a Notice of Appeal, but prior to the date of filing a brief, will not be
       entered because the affidavit or other evidence failed to overcome §1! rejections under appeal and/or appellant fails to provide a
       showing a good and sufficient reasons why it is necessary and was not earlier presented. See 37 CFR 41.33(d)(1 ).
 10. D The affidavit or other evidence is entered. An explanation of the status of the claims after entry is below or attached.
 REQUEST FOR RECONSIDERATION/OTHER
 11. D The request for reconsideration has been considered but does NOT place the application in condition for allowance because:

 12.   D   Note the attached Information Disclosure Statement(s). (PTO/SB/08) Paper No(s). __
 13.   D   Other: __     .

  /Stephen S. Hong/
  Supervisory Patent Examiner, Art Unit 2178


U.S. Patent and TrademarkOffice
PTOL-303(Rev. 08-06)                             Advisory Action Before the Filing of an Appeal Brief                                Part of Paper No. 20081006
                 Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 389 of 745
Continuation   Sheet (PTOL-303)                                            Application   No.




                                                  2
        Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 390 of 745



Attorney's        Docket    No.: NEONODE.P004                  PATENT


         IN THE UNITED           STATES      PATENT      AND TRADEMARK            OFFICE

In Re Patent Application           of:               )
                                                     )         Examiner:   Ryan F. Pitaro
                       Magnus Goertz                 )
                                                     )         Art Unit:   2174
Application        No: 10/315,250                    )
                                                     )
Filed:           December       10, 2002             )
                                                     )
For:        USER INTERFACE FOR                       )
            MOBILE HAN DH ELD                        )
           COMPUTER UNIT                             )
___________                                          )
Mail Stop AMENDMENT
Commissioner   for Patents
P. 0. Box 1450
Alexandria, VA 22313-1450



                 AMENDMENT         AND     RESPONSE       TO OFFICE        ACTION

                                  UNDER      37 C.F.R.    §1.116



Sir:
                           In response     to the Office Action      dated July 11, 2008,
applicant        respectfully   requests    that the above-identified      application     be
amended          as follows:




                                           DO NOT ENTER: /R.P.i

                                                 i 0/06/2008




Atty.   Docket    No. NEONODE.P004             -1-
Doc code: RCEX Case 6:20-cv-00507-ADA Document                                             81-7 Filed 05/19/23 Page 391 of 745                                  PTO/SB/30EFS (09-08)
Doc description: Request for Continued Examination (RCE)                                                                       Approved for use through 10/3112008. 0MB 0651-0031
                                                                                                          U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
                    Under the Paperwork       Reduction Act of 1995, no persons are required to respond to a collection of information unless it contains a valid 0MB control number.




                              REQUEST FOR CONTINUED EXAMINATION(RCE)TRANSMITTAL
                                           (Submitted Only via EFS-Web)
 Application                                   Filing                                   Docket Number                                                       Art
                   10/315,250                             I 2002-12-10                                            NEONODE.P004                                      I 2174
 Number                                   I    Date                                     (if applicable)                                                 I   Unit
 First Named                                                                            Examiner
                  Magnus Goertz                                                                                  Ryan F. Pitaro
 Inventor                                                                               Name

 This is a Request for Continued Examination (RCE) under 37 CFR 1.114 of the above-identified application.
 Request for Continued Examination (RCE) practice under 37 CFR 1.114 does not apply to any utility or plant application filed prior to June 8,
 1995, or to any design application. The Instruction Sheet for this form is localed at WWW.USPTO.GOV

                                                        SUBMISSION            REQUIRED          UNDER 37 CFR 1.114

 Note: If the RCE is proper, any previously filed unentered amendments and amendments enclosed with the RCE will be entered in the order
 in which they were filed unless applicant instructs otherwise. If applicant does not wish to have any previously filed unentered amendment(s)
 entered, applicant must request non-entry of such amendment(s).
        Previously submitted. If a final Office action is outstanding, any amendments filed after the final Office action may be considered as a
 jg] submission even if this box is not checked.

          D    Consider the arguments in the Appeal Brief or Reply Brief previously filed on


          D    Other


 □ Enclosed

          □ Amendment/Reply

          □ Information Disclosure Statement (IDS)

          □ Affidavit(s)/ Declaration(s)


          □ Other

                                                                               MISCELLANEOUS

        Suspension of action on the above-identified application is requested under 37 CFR 1.103(c) for a period of months
 □      (Period of suspension shall not exceed 3 months; Fee under 37 CFR 1.17(i) required)


 □ Other

                                                                                        FEES

         The RCE fee under 37 CFR 1.17(e) is required by 37 CFR 1.114 when the RCE is filed.
 □       The Director is hereby authorized to charge any underpayment of fees, or credit any overpayments, to
         Deposit Account No

                                      SIGNATURE               OF APPLICANT,             ATTORNEY,          OR AGENT          REQUIRED

  jg]     Patent Practitioner Signature

  □       Applicant Signature




EFS - Web 2.1.5
Doc code: RCEX Case 6:20-cv-00507-ADA Document                                     81-7 Filed 05/19/23 Page 392 of 745                                 PTO/SB/30EFS (09-08)
Doc description: Request for Continued Examination (RCE)                                                              Approved for use through 10/3112008. 0MB 0651-0031
                                                                                                 U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
                 Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it contains a valid 0MB control number.



                                                   Signature of Registered U.S. Patent Practitioner

 Signature    /Marc A. Berger/                                                                                    Date (YYYY-MM-DD}                2008-10-15


 Name         Marc A. Berger                                                                                      Registration Number                44029

 This collection of information is required by 37 CFR 1.114. The information is required to obtain or retain a benefit by the public which is to
 file (and by the USPTO to process) an application. Confidentiality is governed by 35 U.S.C. 122 and 37 CFR 1.11 and 1.14. This collection is
 estimated to take 12 minutes to complete, including gathering, preparing, and submitting the completed application form to the USPTO. Time
 will vary depending upon the individual case. Any comments on the amount of time you require to complete this form and/or suggestions for
 reducing this burden, should be sent to the Chief Information Officer, U.S. Patent and Trademark Office, U.S. Department of Commerce,
 P.O. Box 1450, Alexandria, VA 22313-1450.
                              If you need assistance in completing the form, ca/11-800-PTO-9199 and select option 2.




EFS - Web 2.1.5
                  Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 393 of 745



                                               Privacy Act Statement




The Privacy Act of 1974 (P.L. 93-579) requires that you be given certain information in connection with your submission of the
attached form related to a patent application or patent. Accordingly, pursuant to the requirements of the Act, please be
advised that: (1) the general authority for the collection of this information is 35 U.S.C. 2(b )(2); (2) furnishing of the information
solicited is voluntary; and (3} the principal purpose for which the information is used by the U.S. Patent and Trademark Office
is to process and/or examine your submission related to a patent application or patent. If you do not furnish the requested
information, the U.S. Patent and Trademark Office may not be able to process and/or examine your submission, which may
result in termination of proceedings or abandonment of the application or expiration of the patent.

The information provided by you in this form will be subject to the following routine uses:

    1.       The information on this form will be treated confidentially to the extent allowed under the Freedom of Information
         Act (5 U.S.C. 552) and the Privacy Act (5 U.S.C. 552a). Records from this system of records may be disclosed to the
         Department of Justice to determine whether the Freedom of Information Act requires disclosure of these record s.

    2.       A record from this system of records may be disclosed, as a routine use, in the course of presenting evidence to a
         court, magistrate, or administrative tribunal, including disclosures to opposing counsel in the course of settlement
         negotiations.

    3.       A record in this system of records may be disclosed, as a routine use, to a Member of Congress submitting a
         request involving an individual, to whom the record pertains, when the individual has requested assistance from the
         Member with respect to the subject matter of the record.

    4.        A record in this system of records may be disclosed, as a routine use, to a contractor of the Agency having need
         for the information in order to perform a contract. Recipients of information shall be required to comply with the
         requirements of the Privacy Act of 1974, as amended, pursuant to 5 U.S.C. 552a(m).

    5.       A record related to an International Application filed under the Patent Cooperation Treaty in this system of records
         may be disclosed, as a routine use, to the International Bureau of the World Intellectual Property Organization,
         pursuant to the Patent Cooperation Treaty.

    6.       A record in this system of records may be disclosed, as a routine use, to another federal agency for purposes of
         National Security review (35 U.S.C. 181) and for review pursuant to the Atomic Energy Act (42 U.S.C. 218(c)).

    7.        A record from this system of records may be disclosed, as a routine use, to the Administrator, General Services,
         or his/her designee, during an inspection of records conducted by GSA as part of that agency's responsibility to
         recommend improvements in records management practices and programs, under authority of 44 U.S.C. 2904 and
         2906. Such disclosure shall be made in accordance with the GSA regulations governing inspection of records for this
         purpose, and any other relevant (i.e., GSA or Commerce} directive. Such disclosure shall not be used to make
         determinations about individuals.

    8.        A record from this system of records may be disclosed, as a routine use, to the public after either publication of
         the application pursuant to 35 U.S.C. 122(b) or issuance of a patent pursuant to 35 U.S.C. 151. Further, a record may
         be disclosed, subject to the limitations of 37 CFR 1.14, as a routine use, to the public if the record was filed in an
         application which became abandoned or in which the proceedings were terminated and which application is
         referenced by either a published application, an application open to public inspections or an issued patent.

    9.       A record from this system of records may be disclosed, as a routine use, to a Federal, State, or local law
         enforcement agency, if the USPTO becomes aware of a violation or potential violation of law or regulation.




EFS - Web 2.1.5
                Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 394 of 745



                            Electronic Patent Application Fee Transmittal

Application Number:                            10315250


Filing Date:                                   10-Dec-2002




Title of Invention:                            User interface




First Named Inventor/Applicant Name:           Magnus Goertz


Filer:                                         Marc Aron Berger


Attorney Docket Number:                        NEONODE.P004


Filed as Large Entity


Utility under 35 USC 111 (a) Filing Fees

                                                                                      Sub-Total in
                        Description                    Fee Code   Quantity   Amount
                                                                                        USO($)


Basic Filing:


Pages:


Claims:


Miscellaneous-Filing:


Petition:


Patent-Appeals-and-Interference:


Post-Allowance-and-Post-Issuance:


Extension-of-Time:
            Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 395 of 745
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                       Description               Fee Code      Quantity      Amount
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Miscellaneous:


             Request for continued examination     1801           1            810          810


                                                          Total in USD ($)            810
                Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 396 of 745
                                         Electronic Acknowledgement Receipt

                             EFSID:                    4121130


                     Application Number:               10315250


             International Application Number:


                     Confirmation Number:              1226




                       Title of Invention:             User interface




        First Named Inventor/Applicant Name:           Magnus Goertz


                      Customer Number:                 75660


                              Filer:                   Marc Aron Berger


                      Filer Authorized By:


                   Attorney Docket Number:             NEONODE.P004


                         Receipt Date:                 15-0CT-2008


                          Filing Date:                 10-DEC-2002


                         Time Stamp:                   17:33:26


                       Application Type:               Utility under 35 USC111(a)


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Payment Type                                          Credit Card

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Authorized    User

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Warnings:
Information:
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characterized by the applicant, and including page counts, where applicable. It serves as evidence of receipt similar to a
Post Card, as described in MPEP 503.

New A~~lications Under 35 U.S.C. 111
If a new application is being filed and the application includes the necessary components for a filing date (see 37 CFR
1.53(b)-(d) and MPEP 506), a Filing Receipt (37 CFR 1.54) will be issued in due course and the date shown on this
Acknowledgement Receipt will establish the filing date of the application.

National Stage of an International A~~lication under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
U.S.C. 371 and other applicable requirements a Form PCT/DO/EO/903 indicating acceptance of the application as a
national stage submission under 35 U.S.C. 371 will be issued in addition to the Filing Receipt, in due course.

New International A~~lication Filed with the USPTO as a Receiving Office
If a new international application is being filed and the international application includes the necessary components for
an international filing date (see PCT Article 11 and MPEP 181 O), a Notification of the International Application Number
and of the International Filing Date (Form PCT/RO/1OS) will be issued in due course, subject to prescriptions concerning
national security, and the date shown on this Acknowledgement Receipt will establish the international filing date of
the application.
          Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 398 of 745



              UNITED     STATES PATENT AND TRADEMARK                OFFICE
                                                                                    Ul\TfED STATES DEPA RTME'IT OF COMMERCE
                                                                                    United States Patent and Trademark Office
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                                                                                         PO Box 1450
                                                                                         Alexandria, Virgmia 22313-1450
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    APPLICATION NUMBER           FILING OR 3 71 (C) DATE             FIRST NAMED APPLICANT                  ATTY. DOCKET NO./TITLE

        10/315,250                    12/10/2002                         Magnus Goertz        NEONODE. P004
                                                                                           CONFIRMATION NO.1226
75660                                                                              POA ACCEPTANCE LETTER
Soquel Group, LLC
P.O. Box 691                                                                       1111111111111111111111
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                                                                                                                lllll111111111111111
Soquel, CA 95073
                                                                                                            Date Mailed: 09/11/2008




                         NOTICE OF ACCEPTANCE OF POWER OF ATTORNEY
This is in response to the Power of Attorney filed 09/03/2008.
The Power of Attorney in this application is accepted. Correspondence in this application will be mailed to the
above address as provided by 37 CFR 1.33.




                /sleutchit/


Office of Data Management, Application Assistance Unit (571) 272-4000, or (571) 272-4200, or 1-888-786-0101




                                                           page 1 of 1
          Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 399 of 745



              UNITED     STATES PATENT AND TRADEMARK                OFFICE
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    APPLICATION NUMBER           FILING OR 3 71 (C) DATE             FIRST NAMED APPLICANT                  ATTY. DOCKET NO./TITLE

        10/315,250                    12/10/2002                         Magnus Goertz            3682-32
                                                                                          CONFIRMATION NO.1226
60956                                                                              POWER OF ATTORNEY NOTICE
Professional Patent Solutions
P.O. BOX 654                                                                       1111111111111111111111
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HERZELIYA PITUACH, 46105
ISRAEL
                                                                                                            Date Mailed: 09/11/2008




                     NOTICE REGARDING CHANGE OF POWER OF ATTORNEY
This is in response to the Power of Attorney filed 09/03/2008.
  • The Power of Attorney to you in this application has been revoked by the assignee who has intervened as
    provided by 37 CFR 3.71. Future correspondence will be mailed to the new address of record(37 CFR 1.33).




                /sleutchit/


Office of Data Management, Application Assistance Unit (571) 272-4000, or (571) 272-4200, or 1-888-786-0101




                                                           page 1 of 1
                          Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 400 of 745
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           POWER OF ATTORNEY
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                   OR                                                                                                                  MagnusGaaltt
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    REVOCATION OF POWER OF ATTORNEY                                                                                                    USERIN'TE!lf'ACE
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     WITH A NEW POWER OF ATTORNEY
                                                                                                    Art Unit                           2174
                  AND
                                                                                                    Examiner Name                      Pllmv, Ryon F.
 CHANGE OF CORRESPONDENCE ADDRESS
"'--                                                                                                Attorney Doc:ut Number             NEOl'IOOE.Poo4                                           .J


I hereby revoke all previous powers of attomey ghten in the above-identified application.
D ·A Power of Attorney Is submilfed                        herewith.



                                                                                                                         I                                                                  I
       OR
         I hereby appoint Practitioner(&) associated with the follawlng CustClmer                         75660
~        Number as my/ouraHomey(&) or agent{s) to prosecute the applk:atlon
         ldentlfled above, and to tran&ael all business In the United States Patent
         and Trademark Office connected therewith:
       OR
         I hereby appoint Practilicner(s) named below as my/our attomey(s) or agem(s) lo pn:,secute the application ldemffied above. and
□        to transact anbusiness in the United States Patent and Trademark Office connected therewith:

                                  Practitioner(s) Name                                                                            Registration Number




Please reccgnize or change the correspondence address for the above-identified appl lealion to:

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            The address associated with lhe abov&-mentioned Customer Number.
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lam the:
□        Appllcant/lnventDr;
       OR
         Assignee of record of the entire interest. See 37 CFR 3.71.
IRJ      Shltement under 37 CFR 3. 73(b) (Form PTO/SB/98) submitted hen,wilh or filed on
                                                -              ~                      of Appllcant or Asslgne& of Record
Signature                            l.       h...'   ~~                         ~"'-                                        I Date                I n>AUgUSl41U<>
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ADDRESS. SEND TO: Commlsalonerfor                 Pawnts. P.O. Box 1'80, Ataundrla,              VA 22313-1450.
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                  Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 401 of 745




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                                                          STATEMENT                UNDER 37 CFR 3.73fb)

Applicant/Patent        Owner: ...JNeo~!daowade~._,Ac.B"'-----------------------------------
Appllcatlon No./Patent No.: __,_,10...,13..,1,...5..,25...._.0
                                        ________              Filed/Issue Date:                           December 10 2002

 Entitled:         USER INTERFACE

  ...e...oo.a.u.ode11.m~A:1,1R;i._
..1N                   _______________                                   -''   a     CPIPOcattoD
(Name of Assignee)                                                                 lType d Assignee, e.9-, ca,por&tion, partriership. univamity, gowmment      agency, etc.)

states that it is:
1 . @ the assignee of the entire right, title, and interest; or

2. Dan        assignee of less than the entire right, title and interest
         (The extent (by percentage) of its ownership interest i.._ ____                                  %)

in the patent application/patent            identified above by virtue of either:

A.0An       assignment from the inventor(s) of the patent appllcationlpatent                               identified above. The assignment was recorded
        in the United States Patent and Trademark Office at Reel _____                                        _, Frame ____        __, or for which a copy
        thereof is attached.
OR
B.IZ)A chain of title from the inventor(s). of the patent application/patent                              identified above, to the current assignee as follows:


             1. From: Magnus Goertz                            To: _,.:...;Nc.=.eon=ode="-:',,s_we-=den=.;;.,;;_A,;,,;;B;...,_,,,~--------------
                  The document was recorded in the United States Patent and Trademark Office at
                   Reel 018163      Frame 0611                     or for which a copy thereof is attached.

           2. From:       Neonode        Sweden AB                                    To: ___
                                                                                           N_eo_n_o_d_e_A_.B=-------------------
                  The document was recorded in the United States Patent and Trademark Office at
                   Reel       018137                 Frame        0448                            or for which a copy thereof is attached.

           3. From: .....,..-------......,..-'--,---,--......,..,....,.-~-To: -----,=-.....,..--------------------
                The document was recorded In the United States Patent and Trademark Office at
                 Reef ------~                          Frame _______          _. or for which a copy thereof is attached.

       D     Additional documents in the chain of title are listed on a supplemental                              sheet

0 As required by 37 CFR 3.73(b)(1 ){i), the documen1ary evidence of the chain of title from the original owner to the
assignee was, or concurrently is being, submitted for recardation pursuant to 37 CFR 3.11.

     [NOTE: A separate copy (i.e., a true copy of the original assignment document(&)) mus1 be submitted to Assignment
         Divisicn in accordance with 37 CFR Part 3, to record the assignment In the records of the USPTO. See MPEP
         302.08]

The undersigned(~~                                                                        to act on behaffofthe         assignee
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                         ~                                                                                                                 28August2Qpa
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                                           Printed or Typed Name                                                                          Telephone Number

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                                                   Title
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FORMS TO THIS ADDRESS. SEND TO: Commissioner ror PatenlS, p_Q_ SOil 1450, Alexandria, VA 2Z313-145G.

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        Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 402 of 745



Attorney's        Docket    No.: NEONODE.P004              PATENT


         IN THE UNITED           STATES     PATENT       AND TRADEMARK          OFFICE

In Re Patent Application           of:               )
                                                     )     Examiner:     Ryan F. Pitaro
                       Magnus Goertz                 )
                                                     )     Art Unit:     2174
Application        No: 10/315,250                    )
                                                     )
Filed:           December       10, 2002             )
                                                     )
For:             USER INTERFACE FOR                  )
                 MOBILE HANDHELD                     )
                 COMPUTER UNIT                       )
___________                                          )
Mail Stop AMENDMENT
Commissioner   for Patents
P. 0. Box 1450
Alexandria, VA 22313-1450



                 AMENDMENT         AND     RESPONSE       TO OFFICE     ACTION

                                  UNDER      37 C.F.R.    §1.116



Sir:
                           In response     to the Office Action    dated July 11, 2008,
applicant        respectfully   requests   that the above-identified     application     be
amended          as follows:




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        Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 403 of 745




IN THE DESCRIPTION:
                               Please amend the specification            as follows.


Page 1, ninth full paragraph:
                               Since the users have gotten             used to small handheld
units, it is hard to move towards                   larger units.      This has led to foldable
keyboards,          different      kinds [[if]]    of joy sticks and different         kinds of touch
sensitive        displays and pads intended                 to help in providing      a user interface
that is suitable             for small handheld        compute      computer      units.


Page 2, first full paragraph:
                               It is a problem      to provide a user-friendly             interface   that
is adapted         to handle       _g_large   amount        of information      and different     kinds of
traditional       computer-related             applications      on a small handheld          computer
unit.


Page 3, sixth full paragraph:
                               In order to provide a task and file management                      in a
user interface          for a handheld          mobile computer,        the present        invention
teaches that, if the third function                   is activated,    the display area is adapted
to display a list with a library of available                    applications     and files on the
computer          [[unit]]      unit.   A selection     of an application        will start the
application,        and a selection           of a file will open the file in an application
intended         for the file.


Page 7, fifth full paragraph:
                               It should [[b]]     be understood        that all lists in the
computer          unit, such as a list of contact              information      in an address book, a



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        Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 404 of 745




list of e-mail       messages     in a mailbox,         or a telephone     log, can be managed
in the above described            manner.


Page 7, sixth full paragraph:
                          The list 231 can be adapted             to present     only files or only
applications.        In this case, the top area of the list 231 can present a field
233 through         which the content        [[if]]     of the list 231 can be altered.        If the
list only presents        files, then the field 233 can display a representation                     of a
task manager          and a selection    of the field 233 will cause the list 231 to
alter to present only applications,               and if the list 231 only presents
applications,        then the field 233 displays a representation                 of a file manager
and a selection         of the field 233 will cause the list 231 to alter and present
only files.


Page 7, eighth full paragraph:
                           Figure 9 shows that if the number               of applications     and/or
files in the list 231 exceeds the number                   of applications     and/or   files that
can be presented          on the display area 3, and if the object 4 is moved to
the top or bottom          position   of the display area, then lifted,            replaced on the
display area, and then again moved to the top or bottom                           of the display
area, then the content           of the display area will be replaced              one whole
page, meaning          that if the object 4 is positioned           N at the bottom         3b of the
display area 3, then lifted,          replaced on the display area 3, and then again
moved M to the bottom              3b of the display area 3, then the content                 31 of
the display area 3 will be replaced                   P by the following     applications    and/or
files 32 in the list 231.         In the same way, but not shown in the figure,                      if
the object        is position   positioned    at the top of the display area, then lifted,
replaced         on the display area 3, and then again moved to the top of the



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        Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 405 of 745




display area, the content           of the display area will be replaced             by the
preceding        applications   and/or    files in the list.


Publication       No. US 2004/0109013          Al,    paragraph      [0069]:
                          As shown in figure         13, the present     invention    relates to a
user interface       for a hand held mobile unit that preferably                 can be
manageable         with one hand.        Hence the present        invention      teaches that the
user interface       is adapted   to a touch sensitive         area [[I]]      1 with a size that
is in the order of 2-3 inches, meaning                the diagonal     distance    W between
two corners        of the touch sensitive      area 1.




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        Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 406 of 745




IN THE CLAIMS:

                              Please substitute         the following           claims for the pending
claims with the same number:


1. (currently          amended)                 A computer              readable           medium             storing      a
computer         program        with computer           program         code, which,             when read by a
mobile      handheld          computer     unit,     allows        the computer              to present           a user
interface        for    the    mobile     handheld           computer           unit,     the         user     interface
comprising:
                              a touch     sensitive         area      that     is simultaneously                 divided
into a menu area and a display                     area, the mobile              handheld             computer          unit
being adapted            to run several         applications          simultaneously,                and to present
an active application               on top of any other application                     on said display area,
characterised           in, that:
                                                said       menu       area      simultaneously                 presents
in which         representations         of a first        function      that       is a general             application
dependent          function,        a second function            that is a keyboard                  function,     and a
third    function       that    is a task and file manager                      plurality        of functions           are
displayed,        and
                                                 each       function         of said        first,      second,         and
third    functions       simultaneously          represented           in said menu area plurality                        of
functions        being mapped          to a corresponding              location         in the touch sensitive
area at which            the representation            of the function              is displayed,            and being
activated         by     the    single     step       of     a     blunt       an       object         touching         the
corresponding            location      and then        gliding      along       the touch             sensitive     area
away from the location                 moving      in a direction            from a starting             point that is
the     representation          of the corresponding                  one of said first,                second,         and
third    functions        in said menu area to said display                         area being detected                  by



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said touch sensitive             area, thereby          allowing     lov, precision          navigation       of the
user interface           using the blunt             object,     so that the user interface                can be
operated         by one hand, where the blunt object is a finger.


2. (currently          amended)                  The computer              readable        medium     of claim 1,
wherein          one function         from     the     plurality    of functions.            when    the      mobile
handheld          computer          unit runs an operating             system,        the user interface              is
characterised           in, that,       if said first function         is activated,           causes the user
interface        is adapted          to display        icons     representing         different      services        or
settings      depending         on the current           for a currently            active     application,        that
one      of   said      icons       al1v•wys represents            a "help"         service,      regardless         of
application,           and that,        if no application          is current        active      on the       mobile
handheld          computer       unit, said icons are adapted                      to represent      services        or
settings      of the operating           system of the mobile handheld                       computer      unit.


3. (currently          amended)                    The computer            readable        medium     of claim 2,
wherein          the    user    interface       is characterised             in,    that     a selection        of a
preferred        service or setting           is done by tapping             on a corresponding            display
icon corresponding              to the preferred             service or setting.


4. ( currently         amended)                    The computer            readable        medium     of claim 1,
wherein       the user interface             is characterised        in,
                                that,     if said second one function                  from the plurality            of
functions.        when     [[is]]     activated,       said display         area is adapted          causes the
user interface          to display a keyboard                and a text field,
                                that,     if a te>ct passage               in said active         application         is
highlighted,           said te>ct passage            is displayed          in said te>ct field        for editing




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through      said keyboard              and that said highlighted            test passage              is replaced
by said edited te>ct passage ·1whensaid second function                                is deactivated,           and
                                that,     if no te>ct passage           in said acthfe          application          is
highlighted,           said te>ct field       is available     for inputting           and editing         of te>ct
through      said keyboard.


S. (currently          amended)                  The computer           readable       medium          of claim 4,
wherein      the user interface              is characterised          in, that    if no text          passage      in
said active        application          is highlighted,      said text field is used for inputting
and editing        of text through          said keyboard,       then
                                said first function        can be activated,           or
                                said second function           can be closed,               in which a choice
of saving         or deleting       said inputted           te>ct is given,        #here
                                                                                   1
                                                                                                the     choice      of
saving said inputted             te>ct results in an activation            of said first function,
in vurhich said first function               will present      services      or settings             available     for
said inputted          te>ct.


6. ( currently         amended)                  The computer           readable       medium          of claim 1,
wherein          the    user    interface      is characterised          in, that,          if said     third     one
function     from the plurality             of functions,     when [[is]]         activated,          said display
area is adapted            causes the user interface             to display a list with a library                   of
available        applications       and files      on the      mobile       handheld          computer           unit,
that     a selection        of an application          will start       said application,             and that       a
selection        of a file will open said file in an application                  intended       for said file.


7. ( currently         amended)                  The computer           readable       medium          of claim 6,
wherein          the    user    interface      is characterised          in, that       a selection             of an
application        or file is done by moving                 gliding     the blunt          object     along said



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         Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 409 of 745




touch       sensitive        area so that        a representation                   of a desired                one of said
application          or file is highlighted,             Femoving           raising      said object              from         said
touch sensitive              area, and then tapping                on said touch sensitive                        area, and
that     said desiFed one of said application                         OF file is highlighted                     by placing
some kind of maFking on said FepFesentation                                  of said application                 OF file.


8. (currently         amended)                    The computer               readable         medium             of claim 7,
wherein       the user interface              is characterised             in, that at any given time said
list is adapted             to pFesent presents           only sai€l- files or only sai€l- applications,
and that          a top an area of said list presents                            a field        through          which         t1,e

content       of said          list   can     be alteFed          changed           from      presenting               files     to
presenting           applications.           or from       presenting            applications              to    presenting
files,      that,      if     said    list    only       pFesents          files,      said        field        displays          a
FepFesentation              of a task manageF and a selection                           of said field            11,ill cause
said list to alteF to pFesent only applications,                                    and that,        if said list only
pFesents          applications,         said     field         displays      a      FepFesentation                of     a      file
manageF           and a selection             of said field         will     cause       said list to alteF and
pFesent only files.


9. (currently         amended)                    The computer               readable         medium             of claim 7,
wherein       the user interface              is characterised             in, that,       [[a]]    one item in said
list is highlighted             by a moveable             marking.          and nmi'igation                in said list is
peFfoFmed by mo•ving gliding                      the blunt         object          along     the touch              sensitive
area in a direction               towards      the top of said list or towards                         the bottom                of
said list, that             the movement          of the blunt             object      will cause causes said
marking        to move in the same direction                       without          scrolling      the list, and that
the      speed       of movement              of said      maFking          is loweF than                  the       speed       of
mo•vement of the blunt object.



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        Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 410 of 745




10. (currently            amended)                 The computer        readable       medium          of claim 9,
wherein          the     user      interface     is characterised       in, that,          if the     number        of
applications            aflefor     files in said list exceeds           the number               of application
applications            [[and]]      or files that can be presented               on said display             touch
sensitive        area as content,              and if the blunt object           is moved           glided    along
said touch             sensitive     area to the top or bottom                 position          of said display
touch      sensitive        area,      then     lifted   raised,    replaced      on said display             touch
sensitive        area, and again moved glided along said touch sensitive                                     area to
the top or bottom                 of said display touch sensitive              area, the content             of said
display     touch         sensitive      area will be replaced           one whole            page,        meaning
that     if the blunt object             is positioned          at the bottom       of said display            area,
replaced on said display area, and then again moved to the bottom                                            of said
display      area,        the content          of said display       area      ·t,ill be replaced            by the
follo·o•1.'ingapplications             and/or     files in said list, and if the blunt                     object   is
positioned         at the top of said display                   area, then      lifted,     replaced        on said
display     area, and then again mm,'ed to the top of said display                                     area, the
content      of said display area will be replaced                    by the preceding              applications
and/or      files in the list.


11. (currently            amended)                 The computer          readable          medium          of claim
10, wherein             the user interface          is characterised        in, that if the blunt object
is remm,ed             raised from any first             position   on said display           touch sensitive
area and then               replaced       on any second            position     on said display              touch
sensitive         area,      said      navigation         can    be continued             from      said     second
position.


12. (currently            amended)                 The computer        readable       medium          of claim 1,
wherein      the user interface                is characterised       in, that an active             application,



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function,        service    or setting       is moved       on one step by moving                   gliding    the
blunt     object     along the touch sensitive                   area from tAe left of said display
area to tAe right            of said display             area,     and that      the active        application,
function,        service or setting         is closed or backed one step by moving                       gliding
the     blunt     object    along     the touch          sensitive     area from          tAe right     of said
display area to tAe left of said display area.


13. (currently         amended)                 The computer            readable        medium      of claim 1,
wherein          the user interface           is characterised          in, that        said menu       area      is
positioned         representations          of said plurality        of functions        are located at the
bottom      of said touch sensitive              area, that said representation                    of said first
function         is positioned       at the       left     side     of said      menu      area,     that     said
representation         of said second function                   is positioned     at the middle of said
menu        area,     and     that     said     representation           of      said    third     function       is
positioned        at the right side of said menu area.


14. (currently         amended)                 The computer            readable        medium      of claim 1,
wherein         the user interface          is characterised          in, that said user interface                is
adapted         to a touch sensitive          area with a si:z:e that is 2-3 inches in diagonal
dimension,          and that said user interface                  is adapted     to be operated          by one
hand V1i'henthe mobile               handheld       computer          unit is held in the one hand,
wherein      said blunt object is a fleshy part of the thumb                            of the one hand.


15. (currently         amended)                 An enclosure           adapted      to cover the mobile
handheld         computer      unit according            to Claim 1, characterised                in, that said
enclosure         is provided        with    an opening            for said display         touch     sensitive
area, and that a representation                  of said menu area is printed                    on top of said
enclosure.



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16. (previously            presented)             The          enclosure      according         to     Claim         15,
characterised         in, that said enclosure                  is removable      and exchangeable.


17. (previously            presented)             A      computer           readable      medium,            with       a
computer           program         product      stored         therein,     characterised            in, that       said
computer           program         product      comprises          computer       readable           code,    which,
when        read     by a computer,             will     make      it possible     for said computer                   to
present a user interface                according        to Claim 1.


18. ( original)                 A computer        readable         medium       according        to Claim            17,
characterised             in,    that   said     computer          program       product        is adapted             to
function      as a shell upon an operations                      system.


19. (withdrawn)                 An apparatus,          comprising:
                                a computing          device configured          to provide           a plurality       of
features      and/or        services    to a user, said computing                 device including              a user
interface        that comprises:
                                a touchscreen          for displaying        to the user, individually                 at
differing        times,         a plurality      of     display      screens      corresponding              to     said
plurality     of features          and/or      services        and for allowing         the user to navigate
among        said various           differing     features         and/or     services      and among               said
plurality     of display screens;              and
                                user interface         software      responsive         to interaction            of an
object      with said touchscreen                so as to allow the user to navigate                          among
said     plurality     of features            and/or      services        and among         said       plurality       of
display screens, said user interface                       software        configured     to:
                                                  when said touchscreen                  is displaying            a first
display      screen of said plurality                  of display     screens,     cause said computing



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device      to display         a second          display       screen     of said        plurality     of display
screens in response to a first sweeping                         movement           of the object along said
touchscreen           in a first        direction,     said computing              device       displaying     said
second display screen after the object has traversed                                   a first predetermined
extent of said touchscreen                 along said first direction;                 and
                                                  when        said touchscreen               is displaying     said
second display              screen,     cause said computing                  device to display          said first
display screen in response                  to a second sweeping                 movement            of the object
along said touchscreen                  in a second direction             opposite       said first direction,
said computing              device     displaying       said first       display       screen only after        the
object     has traversed           a second predetermined                     extent    of said touchscreen
along said second direction.


20. (withdrawn)               An      apparatus       according          to    claim      19,     wherein      said
touchscreen          has a left edge and a right                       edge when said touchscreen                 is
properly         oriented     for viewing      by the user and said first direction                      proceeds
from a location             at or proximate          said left edge toward               said right edge and
said second direction                 proceeds       from a location          at or proximate           said right
edge toward said left edge.


21. (withdrawn)               An      apparatus       according          to    claim      20,     wherein      said
touchscreen          has a width extending                   from said left edge to said right edge
and each of said first                 and second            extents     is substantially         equal to said
width.


22. (withdrawn)               An      apparatus       according          to    claim      21,     wherein      said
touchscreen          has a diagonal         dimension          of two inches to three inches.




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23. (withdrawn)             An    apparatus          according          to     claim         19,    wherein           said
computing          device is sized to be cradled in a hand of an adult human user
and so that, when so cradled,                  all points on said touchscreen                       are touchable
by the thumb             of the adult human user, the object                      being the thumb                   of the
hand.


24. (withdrawn)             An apparatus            according         to claim         19,     wherein        each of
the first        and second       sweeping          movements            does not drag any graphical
feature      displayed        on said touchscreen               during         that     one of the first              and
second sweeping             movements.


25. (withdrawn)             An apparatus,           comprising:
                            a computing             device      configured             to    provide        first     and
second       menu-area           functions     to a user,             said first        menu-area            function
having a first-function            display screen and said second menu-area                                  function
having      a second-function            display      screen differing            from said first-function
display      screen,       said computing            device          including         a user       interface         that
comprises:
                                               a touchscreen                 simultaneously           divided         into
a menu region and a display region, said menu region containing                                              first and
second representations              corresponding             respectively        to said first and second
menu-area          functions,      said display             region     for displaying              to the     user at
differing        times    said first-function           and second-function                    display       screens;
and
                                               user          interface         software            responsive           to
interaction        of an object      with said touchscreen                     so as to allow the user to
select      at    differing      times       each     of     said      first     and        second     menu-area
functions,        said user interface         software        configured         to:



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                                                                     display         said         first-function
display     screen         in response     to a first         sweeping       movement            of the object
along said touchscreen,                the first sweeping           movement         starting      at said first
representation             in said     menu      region       and    proceeding           into    said    display
region;     and
                                                                     display       said     second-function
display screen in response                to a second sweeping                movement            of the object
along said touchscreen,                the second sweeping                 movement         starting      at said
second       representation            in said    menu         region      and     proceeding          into   said
display region.


26. (withdrawn)              An apparatus        according       to claim 25, wherein:
                             said touchscreen             has a first      edge and a second                  edge
spaced from said first edge;
                             said first    and second          representations            are each located
proximate         said first     edge and spaced from                   one another         along said first
edge; and
                             the first and second sweeping                  movements            each proceed
in a direction       toward      said second edge.


27. (withdrawn)              An apparatus        according          to claim 25, wherein              said first-
function         display     screen       contains        a    plurality     of     icons        corresponding
respectively        to a plurality         of applications,           said user        interface         software
configured        to activate        any one of said plurality             of applications         in response
to the user tapping            the object on said touchscreen                     at a corresponding           one
of said plurality          of icons.




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28. (withdrawn)                  An      apparatus          according            to     claim        27,     wherein        said
second-function                display screen contains                  a set of application                functions,      said
set varying         as a function               of which        one of said plurality                 of applications         is
active when the user makes the second movement.


29. (withdrawn)                  An      apparatus            according           to        claim      27,      wherein        a
particular        application            of said         plurality     of applications               has a plurality          of
application        screen displays,               said user interface                 software       configured        so that
when       said         particular        application           is active,            the     user     forwardly         steps
through          said        plurality     of application              screen         displays        by sweeping           the
object     across            said touchscreen               in a first       direction          and        reversely     steps
through          said        plurality     of application              screen         displays        by sweeping           the
object     across            said touchscreen              in a second            direction          opposite      said first
direction.


30. (withdrawn)                  An apparatus             according        to claim           25,     wherein      said first
display screen contains                   a soft-interface             telephony            keypad.


31. (withdrawn)                  An apparatus,             comprising:
                                 a    computing             device       configured             to     run     a   software
application         configured             to     display       a plurality            of predetermined                display
screens,      said computing               device including              a user interface              that comprises:
                                                         a touchscreen                for displaying          to the     user,
individually            at    differing         times,      said      plurality        of predetermined                display
screens       and for allowing                   the     user to navigate                among         said     plurality     of
predetermined                display screens;             and
                                                         user        interface          software           responsive         to
interaction        of an object            with said touchscreen                       so as to allow the user to



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navigate         among said plurality           of predetermined              display screens,         said user
interface        software     configured      to:
                                                                       activate            said            software
application         in response        to a particular        interaction         of the object        with said
touchscreen;
                                                                       forwardly           step       in      series
through          ones    of     said    plurality      of    predetermined               display     screens       in
response          to    corresponding         respective            individual        instances       of     a first
sweeping           movement         of the      object       along       said     touchscreen          in a first
direction;        and
                                                                        reversely          step       in      series
through          ones    of     said    plurality      of    predetermined               display     screens       in
response          to corresponding           respective         individual        instances         of a second
sweeping          movement         of the object            along     said touchscreen              in a second
direction        different    from said first direction.


32. (withdrawn)               An   apparatus         according          to    claim       31,      wherein       said
particular        interaction      of the object        with said touchscreen                   to activate      said
software         application       is a third       sweeping        movement           of the object           along
said touchscreen              in a third    direction       different        from each of said first and
second directions.


33. (withdrawn)               An apparatus          according        to claim      32,     wherein         said first
and second directions               are opposite        one another           and said third direction              is
perpendicular           to each of said first and second directions.


34. (withdrawn)               An apparatus,         comprising:




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                             a computing              device       configured          to        run     software         for
providing         to a user a plurality            of services and/or            functions,            said computing
device including:
                                                    a touchscreen              for   display           to the     user      a
graphical         user interface        and for allowing               the user to navigate                  among    said
plurality        of services and/or         functions;          and
                                                    user       interface         software              responsive          to
interaction        of an object         with said touchscreen                  so as to allow the user to
navigate          among      said      plurality      of services          and/or        functions,           said    user
interface        software     configured       to:
                                                                          present,          in     response          to     a
sweeping           movement         of the         object      across      said      touchscreen,             a display
screen containing             a plurality      of display icons corresponding                          respectively        to
ones        of    said     plurality      of       services       and/or        functions,             the     sweeping
movement           being spatially         uncorrelated           with information               displayed       on said
touchscreen;          and
                                                                          when        said         touchscreen             is
displaying         said plurality        of display           icons,    launch       one of said plurality                 of
services         and/or     functions       in response           to the user tapping                   the object        on
said     touchscreen           at   a location          where           said    touchscreen              displays         the
corresponding             one of said plurality            of display icons.


35. (withdrawn)              An     apparatus          according          to     claim       34,        wherein       said
computing          device contains           a software          application         and said user interface
is configured         to present        said plurality          of display icons only if said software
application        is active during the sweeping                       movement        of the object.




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36. (withdrawn)             An apparatus          according          to claim 35, wherein             when said
software         application        is active     during       the    sweeping         of the      object,     said
display      icons      correspond        to services          and/or        functions      specific     to said
software         application.


37. (withdrawn)             An apparatus,          comprising:
                            a computing          device containing             software     for providing         to
a user a plurality              of services        and/or      functions,        said computing              device
including:
                                                 a touchscreen              for displaying        to the user,
individually        at differing       times,    ones of various             display     screens      associated
with said plurality          of services and/or             functions       and for allowing        the user to
navigate         among said plurality           of display screens so as to provide                     the user
with access to said plurality                 of services       and/or       functions     and for allowing
the user to control             functioning      of ones of said plurality               of services      and/or
functions;        and
                                                 user interface            software    responsive       to a set
of movements            of an object with respect to said touchscreen                            so as to allow
the user to navigate             among said plurality               of display screens and to control
functioning         of ones of said plurality               of services       and/or     functions,     said set
of      movements          including      a     plurality      of     sweeping         movements             having
differing        directionalities      along said touchscreen,                 wherein      said plurality        of
sweeping           movements           being       spatially         uncorrelated         with      information
displayed          on    said       touchscreen,        said        user     interface      software          being
configured         to distinguish        the plurality         of sweeping        movements            from     one
another      as a function            of the      differing      directionalities         so as to provide
differing    responses          as a function       of said differing         directionalities.




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38. (withdrawn)              An     apparatus            according           to    claim      37,    wherein       two
sweeping          movements           of     the    plurality         of     sweeping         movements          have
opposing         directionality       and said user interface                      software     is configured       to
provide      two opposing            responses            corresponding             respectively       to said two
sweeping         movements.


39. (withdrawn)              An apparatus           according         to claim 38, wherein              one of the
two opposing           responses        is moving           forward        in a series of display           screens
and the other          of the two opposing                      responses         is moving     backward       in the
series of display screens.


40. (withdrawn)              An apparatus            according          to claim        37,     wherein     each of
the plurality        of sweeping           movements             does not drag any graphical                feature
displayed        on said touchscreen               during        that one of the plurality             of sweeping
movements.


41.     (withdrawn)          An apparatus,          comprising:
                             a computing           device         configured        to provide       a plurality    of
features,        settings,    applications          and/or         services        to a user, said computing
device including         a user interface            that comprises:
                                                   a touchscreen              for displaying         to the user a
list of items         corresponding            to at least            one of a plurality               of features,
settings,        applications       and/or     services           and for allowing            the user to select
any one of said items using said list; and
                                                   user          interface         software         responsive      to
interaction        of an object        with said touchscreen                      so as to allow the user to
navigate         among       said list and to select                any one of said items,                said user
interface        software         configured        to     move       a highlight          marking,       having      a



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displayed         location    on said touchscreen,              in a desired          direction     within      said
list in response to the user:
                                                                     (a)             contacting                 said
touchscreen          with     the object      at a first       location      that     is a function         of the
desired direction,           not said displayed            location of said highlight             marking;
                                                                     (b) while         keeping       the object
in      contact      with       said     touchscreen,          moving         the      object       along       said
touchscreen          in the desired direction              to a second location;          and
                                                                     ( c)      immediately             following
said moving          of the object        along said touchscreen               to said second location,
lifting    the object        from said touchscreen             so as to establish            a new location
of said highlight           marking.


42.     (withdrawn)          An apparatus         according         to claim 41,        wherein       said user
interface        software      is configured       to, after        the user has marked               a desired
one of said items             by performing         steps (a) through                (c) so as to highlight
said desired         one with          the highlight        marking,        select    said desired          one in
response          to the     user      tapping     the     object    on said         touchscreen         without
regard to said display location                  of the highlight        marking.


43.     (withdrawn)          An apparatus,         comprising:
                             a computing         device configured             to provide         a plurality     of
features,        settings,    applications        and/or      services      to a user, said computing
device including            a user interface       that comprises:
                                                 a touchscreen           for displaying         to the user a
list of items        corresponding           to at least one of said plurality                     of features,
settings,        applications       and/or    services       and for allowing           the user to select
any one of said items using said list; and



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                                             user      interface      software          responsive         to
interaction        of an object     with said touchscreen             so as to allow the user to
scroll    said list and to select            any one of said plurality              items,     said user
interface        software    configured      to scroll said list in a desired                direction     in
response to the user:
                                                                (a)             contacting               said
touchscreen          with   the object     at a first     location       that   is a function        of the
desired      direction      of said scroll and that           is not based on any soft scroll
control     displayed       on said touchscreen;        and
                                                                (b) while        keeping      the object
in      contact      with    said   touchscreen,          moving         the     object      along       said
touchscreen          in the desired       direction     to a second         location,     wherein        said
moving of the object causes said list to scroll in the desired direction.


44. (withdrawn)             An apparatus      according       to claim 43,         wherein     said user
interface        software    is configured    to activate      a selected one of said items in
response          to a user tapping       the object     on said touchscreen              following       the
user lifting       the object     from the touchscreen             after the user performs               step
(b).



45. (withdrawn)             An apparatus      according       to claim 43, wherein            said items
are files.


46. (withdrawn)             An apparatus      according       to claim 43, wherein            said items
are email messages.


47. (withdrawn)             An apparatus      according       to claim 43, wherein            each item
is contact        information    for a corresponding          contact.



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                                                REMARKS


                          Applicant     expresses         appreciation      to the Examiner             for
the courtesy        of an interview      granted         to applicant's     representative          Marc A.
Berger (Reg. No. 44,029).               The interview         was held by telephone               on
Thursday,         September       4, 2008.      The substance          of the interview       is
contained        in the Interview      Summary,           Form PTOL-413,         prepared         and
entered      by the Examiner.          Claims 1 - 15 have been amended                       in
accordance         with the conclusions          of the interview.
                          Applicant     has carefully        studied      the outstanding          Office
Action.     The present          amendment        is intended     to place the application               in
condition        for allowance     and is believed         to overcome        all of the objections
and rejections         made by the Examiner.                Favorable      reconsideration         and
allowance        of the application      are respectfully         requested.
                          Applicant     has withdrawn           claims 19 - 47,            and amended
claims 1 - 15 to properly             claim the present          invention.       No new matter
has been added.           Claims 1 - 18 are presented                  for examination.
                          In paragraphs          1 - 8 of the Office Action,          the Examiner
has rejected        claims 1, 4 - 7, 12,          15 and 17 under 35 U.S.C. §103(a)                           as
being unpatentable            over Carlson,       F., Visual Ouickstart          Guide:      Palm
Organizers         ("Carlson")     in view of Milic-Frayling           et al., US Publication            No.
2004/0100510           ("Milic-Frayling"),        and further      in view of Conrad et al., US
Patent No. 5,956,030              ("Conrad").
                          In paragraph          9 of the Office Action,         the Examiner            has
rejected     claims 2 and 3 under 35 U.S.C. §103(a)                       as being unpatentable
over Carlson in view of Milic-Frayling,                   in view of Conrad, and further                 in
view of Kopitzke         et al., US Patent No. 6,988,246                  (''Kopitzke").




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                          In paragraph       10 - 13 of the Office Action,             the Examiner
has rejected        claims 8 - 11 under 35 U.S.C. §103(a)                     as being
unpatentable          over Carlson in view of Milic-Frayling,            in view of Conrad,
and further        in view of Wynn et al., US Patent No. 6,734,883                       (''Wynn").
                          In paragraph       14 of the Office Action,           the Examiner           has
rejected     claim 13 under 35 U.S.C. §103(a)                 as being unpatentable               over
Carlson,     in view of Milic-Frayling,         and further     in view of Conrad.
                          In paragraphs        15 and 16 of the Office Action,              the
Examiner         has rejected    claims 14 and 16 under 35 U.S.C. §103(a)                         as
being unpatentable           over Carlson,      in view of Milic-Frayling,          in view of
Conrad, and further           in view of Strietelmeier,        Palm ml00,          The Gadqeteer
(''Strietelmeier").
                          In paragraphs        17 and 18 of the Office Action,              the
Examiner         has rejected    claim 18 under 35 U.S.C. §103(a)                  as being
unpatentable          over Carlson,   in view of Milic-Frayling,          in view of Conrad,
and further        in view of Chew et al., US Patent No. 6,727,917                       ("Chew").


Distinctions          between     Claimed       Invention      and Carlson,            F., Visual
Ouickstart         Guide:     Palm Organizers,         US Publication            No.
2004/0100510              of Milic-Fraylinq        et al., US Patent            No. 5,956,030            to
Conrad       et al., US Patent        No. 6,988,246           to Kopitzke         et al., US
Patent      No. 6,734,883         to Wynn       et al., Strietelmeier,            Palm m100,
The Gadgeteer,            and US Patent         No. 6,727,917          to Chew et al.
                          Aspects of the subject        invention      concern      a touch-based
user interface        with functionalities      for running     interactive       applications
using touch-based           icons, for inputting      text using a touch-based               keypad,
and for managing            files using a touch-based         file listing.     User inputs
include finger taps and thumb                movements.       One such movement                is a



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thumb      touch-and-glide,       where the thumb           touches a touch screen at a
location     where an icon for a function             is displayed,     and glides along the
touch screen away from the location,                   as illustrated     in FIG. 2 of the
subject application.
                          Carlson describes       how to use the Palm Organizer                   touch-
based user interface.          Through       a series of pictures,        Carlson shows how to
run applications,        view documents,         access menus, and use an onscreen
keyboard.
                          Milic-Frayling     describes     an interactive         user interface        for
presenting        search results on small display screens of handheld                        devices.
Search results are annotated               to highlight    search hits, and text is wrapped
so as to avoid the need for horizontal                 scrolling.
                          Conrad describes        a window          management        system for
keeping open windows            offscreen      in a drawer area (Conrad/              elements      D1
- D4 of FIG. 1), and available             for popping      them back onscreen               by clicking
on a title bar or drawer         handle of the offscreen              window      (Conrad/     FIGS. 2
- 4 ). Conrad also describes "spring                  loaded" enclosures          for opening
temporary         windows    for enclosure      identifiers,    during a drag operation
(Conrad/         FIGS. SA - 8D and 9A - 9E).
                          Kopitzke   describes        a touch-sensitive          user interface    for
use in an aircraft       with multiple       cabin systems.          A main menu (Kopitzke/
FIG. 4) provides         an overview       of cabin status,         and information      and data
regarding        the cabin systems.        The main menu includes touch input keys
for bringing       up menus for each of the individual                aircraft    cabin systems,
for monitoring        and controlling       their operation.         Cabin systems       include
inter alia an audio system           (Kopitzke/        FIG. 5), a video system,          a lighting
system      (Kopitzke/      FIG. 6), a climate        control   system,     a doors & hatches




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system       (Kopitzke/         FIG. 7), a water supply system               (Kopitzke/      FIG. 8), an
electric     power supply system,              and a data communication               system.
                              Wynn describes         a user interface        for spinning     through        a
list of items.        The user interface           displays a preview         list of items and a
postview         list of items on opposite           sides of a currently        selected     item in the
list (Wynn/         FIG. 7).
                              Strietelmeier     describes      the mechanical        casing, hardware
components           and software        applications        of the Palm m 100 Organizer,              in
comparison          with the Palm Ille,         the Palm V and the Handspring                 Visor.
                              Chew describes         a user interface        for running     and
interacting        with multiple       applications        on small handheld         device display
screens.         Chen describes        a user interface         display having a top portion
with a navigation             bar (Chew/       element      302 of FIG. 3) for navigating
between          different     applications,    a middle portion           for graphically    displaying
outputs      of a currently         active application,        and a bottom        portion    with an
application         menu bar (Chew/            element      304 of FIG. 3) for entering            inputs
to the currently             active application.
                              The touch-based         user interface        of the subject claimed
invention         is generally     operated      by the thumb.        The touch-based           user
interface        of Carlson is generally         operated       by a stylus.      Although,     the user
interface        of Carlson may also be operated                 by the thumb,        the natures       of
the two user interfaces              are distinct.         The subject     claimed    invention
teaches "rubbing",              "touch-and-glide"          movements        to operate     a user
interface,        whereby       the thumb      touches a touch-sensitive             screen and rubs,
or glides, along the screen without                   lifting the thumb.         In distinction,       tap
movements            and one-stroke        pen drags are used to operate                  the touch-
based user interface              of Carlson.      In terms of motor skill, the touch-and-
glide movements               of the subject     claimed       invention     are akin to pressing



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with the thumb          on a mechanical           slider button,       such as the slider button
with HI/LO/OFF           settings     on a hair-dryer         handle, and sliding the button                up
or down while it is pressed.
                            The touch-and-glide             movements         of the subject claimed
invention        are illustrated     in FIGS. 2, 7 and 10 by a left-arrow                    and a thumb
touching         a touch-sensitive       screen.
                            The touch-and-glide             movements         of the subject claimed
invention        are used to activate           functions     ( original    specification/      Abstract;
page 2, lines 25 - 28; page 5, lines 24 - 27; FIG. 2; original                                claim 1),
and to scroll a selector            forward      and backward         within a list to select a
desired item in the list, and to page up and page down within                                  a list
(original    specification/         page 3, lines 28 - page 4, line 2; page 7, lines 7 -
10; page 7, line 27 - page 9, line 14; FIGS. 7 and 10; original                                 claims 7, 9
and 10).
                            The touch-and-glide             movements         of the subject       claimed
invention        activate   a function     located at the touch point.               The one-stroke
pen drag movement                of Carlson activates          a pre-designated         program,
irrespective        of where the pen drag begins;                 namely,      the onscreen
keyboard         or a custom       pre-designated           program        that may be substituted
therefor.
                            Other conventional            finger-based        touch screens, such as
the large touch screens used for self-serve                       check-in      at airport     terminals,
use touch-sensitive           input keys.         In distinction,      the touch-and-glide              inputs
of the subject         claimed      invention     are of particular         advantage        for small
handheld         devices,   where screen space is minimal.




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Response           to Examiner's       Arguments
                          In rejecting     independent           claim 1, the Examiner         has
cited the "one-stroke          pen drag" (Carlson/            page 30; FIG. 2. 22) as teaching
that "any one of said three functions                    can be activated     when said touch
sensitive        area detects a movement             of an object     with its starting      point
within the representation             of said function       on said menu area and with a
direction        from said menu area to said display area".                  In rejecting
dependent         claim 9, the Examiner           has cited dragging         a vertical    scroll bar
(Carlson/        page 27).    In rejecting     dependent          claim 12, the Examiner             has
cited dragging         a horizontal    scroll bar (Carlson/          page 246; FIG. 14.2).
                          Applicant      respectfully      submits    that the one-stroke            drag
of Carlson is very distinct           from the location-based            touch-and-glide
movement           of the subject     invention      (original    specification/    FIG. 2).    The
following        table summarizes        some of the relevant           distinctions.

TABLE I: Partial list of distinctions between one-stroke drag of Carlson and
location-based   touch-and-qlide    movement of the claimed invention
           One-stroke    drag               Location-based   touch-and-glide
Default function is the onscreen                         The function displayed           at the touch
keyboard; may be customized to                           point is activated.
activate a different pre-designated
function.
At any given time, may be used for                       At any given time, may be used for
activating only one pre-designated                       activating whichever function is
function.                                                touched, from among a plurality of
                                                         functions.
The starting location has no bearing                     The starting location determines which
on the function that is activated.                       of the plurality of functions is activated.
Performed by a stylus.                                   Performed by the thumb.
Requires the user interface to                           Requires the user interface to recognize
recognize a vertical drag.                               a glide and identify the function
                                                         displayed at the starting location of the
                                                         glide.
Requires one hand to hold the                            The same hand may be used to hold
device and another hand to perform                       the device and perform the thumb
the stylus movement.                                     movement.
Not used for scrolling through a list.                   Used for scrolling through a list.



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                         Applicant      further     respectfully     submits       that the scroll
slider drag of Carlson is very distinct                  from the location-based          touch-and-
glide movement          of the subject      invention.        The following        table summarizes
some of the relevant            distinctions.

TABLE II: Partial list of distinctions               between scroll slider drag of Carlson
and location-based    touch-and-glide                movement of the claimed invention
          Scroll slider drag                           Location-based     touch-and-glide
Requires the user interface to                           Requires the user interface to
recognize a horizontal drag or a                         recognize a glide in any of a
vertical drag.                                           plurality of directions.
Performed by a stylus.                                   Performed by the thumb.
Requires one hand to hold the                            The same hand may be used to
device and another hand to perform                       hold the device and perform the
the stylus movement.                                     thumb movement.
Not used for scrolling through a list.                   Used for scrolling through a list.

                         In order to clarify these distinctions,                  applicant     has
amended          claim 1 to include the limitation            of each of the plurality           of
functions        being mapped to a corresponding                location     in the touch sensitive
area, and being activated             by an object touching            the corresponding
location and then gliding along the touch sensitive                        area away from the
location.
                         Applicant      has carefully        reviewed      all of the cited prior
art.    None of the cited prior art teaches the location-based                         touch-and-
glide thumb         movement       of the subject         claimed    invention.      Specifically,
Milic-Frayling       and Conrad do not use touch screens.                     Kopitzke        uses touch
input keys.        Wynn mentions         touch sensitive        displays with stylus pens.
Strietelmeier        mentions     writing   with a stylus.          Chew uses a stylus to tap
on a touch screen.
                         The rejections         of the claims 1 - 18 in paragraphs                    1 - 18
of the Office Action will now be dealt with specifically.




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                              As to amended         independent           claim 1 for a computer
readable         medium,       applicant     respectfully       submits         that the limitation        in
claim 1 of
                              "each     function       of     said      plurality      of    functions      being
mapped       to a corresponding               location      in the touch sensitive              area at which
the representation             of the function         is displayed,         and being activated            by an
object      touching       the     corresponding            location      and       then    gliding    along     the
touch sensitive         area away from the location"
is neither       shown nor suggested               in Carlson,       Milic-Frayling,         Conrad,
Kopitzke,        Wynn, Strietelmeier            or Chew.
                              Because claims 2 - 18 depend from claim 1 and include
additional        features,      applicant     respectfully       submits        that claims 2 - 18 are
not anticipated         or rendered          obvious       by Carlson,       Milic-Frayling,          Conrad,
Kopitzke,        Wynn, Strietelmeier,            Chew, or a combination                    of Carlson,    Milic-
Frayling,        Conrad,      Kopitzke,      Wynn, Strietelmeier             and Chew.
                              Accordingly      claims 1 - 18 are deemed to be allowable.


Support          for Amended           Claims      in Original          Specification
                              Independent       claim 1 has been amended                      to include the
limitation       of each of a plurality         of functions           being mapped to a
corresponding          location       in a touch sensitive           area, and being activated                  by
an object touching             the corresponding             location     and then gliding along the
touch sensitive         area away from the location.                     This limitation        is supported
in the original        specification       at least at page 2, lines 25 - 28, at page 5,
lines 19 - 27, at FIGS. 1, 2, 7 and 10, and in the Abstract.




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                        For the foregoing      reasons,   applicant    respectfully
submits      that the applicable    objections     and rejections     have been overcome
and that the claims are in condition           for allowance.


                                                   Respectfully     submitted,


Dated:      September    8, 2008                   /Marc A. Berger/
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                           EFSID:                   3900808


                  Application Number:                10315250


            International Application Number:


                 Confirmation Number:                1226




                    Title of Invention:             User interface




          First Named Inventor/Applicant Name:      Magnus Goertz


                   Customer Number:                 60956


                           Filer:                   Marc Aron Berger


                   Filer Authorized By:


                Attorney Docket Number:             3682-32


                      Receipt Date:                 08-SEP-2008


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If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
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             SENDER'$ NAME:                    Marc Berger
                                               Soquel Group LLC
                                               29 Aharoni Street, Suite #13
                                               Rehovot 76282
                                               ISRAEL


             TRANSMISSION DATE: September 3, 2008


             PLEASE DELIVER TO:

                       Recipient:           Examiner Ryan F. Pitaro, Al) 2174
                       Finn:                United States Patent & Trademark Office
                       Fax No.:             571-273-8300
                       City/St.ate/Country: Alexandria, VA USA


             COMMENTS:
             Interview agenclafor US Serial No. 10/315,250


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                                                                          September 3, 2008
                                                                         BY FACSIMILE

              Examiner Ryan F. Pitaro
              United States Patent & Trademark Office
              Alexandria, VA
              USA


              Dear Examiner Pitaro,

              RE: Interview agenda for US Serial No. 10/315,250
                       USER INTERFACE FOR MOBIT.,EHANDHELD COMPUTER UNIT
                       Filed on December 10, 2002
                       In the name .ofNeonode AB


                    This letter regards the agenda for our telephone interview, which is
              scheduled for Thursday, September 4, 2008 at 10:30 AM.

                    The above referenced application was recently transferred to me,
              and I am attaching the Power of Attorney I received and mailed to the
              USPTO.
                     For the interview, I would like to discuss the attached draft
              proposed amendment. Specifically, I would like to discuss the touch-and-
              glide thumb movement, variously referred to as "swiping'', urubbing'',
              "gliding" and "sliding". This movement is described in claim 1 as "an
              object touching a location in the touch sensitive area at which the
              representation of the function is displayed and then gliding along the
              touch sensitive area away from the location.''

                     I understand that you have seen· a demonstration of Neonode's
              touch--sensitive user interface.  I believe that the touch ..and-glide
              movement of the claimed invention is different than the input movements
              disclosed in the cited prior art of Carlson, Milic-Frayling, Conrad,
              Kopitzke, Wynn, Strietelmeier and Chew.


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              InterviewAgenda for TJSSeriaJNo. 10/315,250                                  September 3, 2008




                     The tables provided in the draft response summarize some of the
              distinguishing features of the touch-and-glide movement. In this regard, I
              would like to point out the following distinctions.

                  a.        The touch-and-glide movement activates the function displayed
                             at the touch point.
                  b.        At any given time, the touch-and-glide movement may be used
                            for activating any one of a plurality of different functions.
                  c.        The touch-and-glide movement may also be used for scrolling
                            up or down through a list.
                  d.        Processing the touch-and-glide movement requires that the user
                            interface recognize a glide and identify the function displayed at
                            the starting location of the glide.
                  e.        Processing the touch-and-glide movement requires that the user
                            interface recognize a glide in any of a plurality of directions.
                  f.        The same hand may be used to hold the device and perform the
                            touch-and-glide thumb movement.

                       This is what I would like to discuss during our telephone interview.

                    I am also attaching a clean version of the proposed amended
              claims, without markings, for ease of reference.

                    I appreciate your courteay of granting the interview, and I look
              forward to speaking with you.

                                                                   Sincerely yours,

                                                                   ua.k
                                                                   Marc A. Berger
                                                                   U.S. Reg. No. 44,   9



             Encl. Power of Attorney (2 pages)
                   Draft proposed amendment - not to be entered (29 pages)
                   Clean version of amended claims without markings (S pages)




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           Attorney's Docket No.: NEONODE.P004                 PATENT                   SEPO3 2008

                  IN THE UNITED STATES PATENT AND TRADEMARK OFFICE

           In Re Patent Application      of:             )
                                                         ) Examiner:    Ryan F. Pitaro
                              Magnus Goertz              )
                                                         ) Art Unit:    2174
           Application No: 10/315,250                    )
                                                         )
           Filed:          December 10, 2002             )
                                                         )
           For:        USER INTERFACE FOR                )
                       MOBILE HANDHELD                   )
                       COMPUTER UNIT                     )

          Mail Stop AMENDMENT
          Commissioner for Patents
          P. o. Box 1450
          Alexandria, VA 22313-1450



                                 DRAFT PROPOSEDAMENDMENT                  --
                                      NOT TO BE ENTERED

          Sir:
                                 In response to the Office Action dated July 11~ 2008,
          applicant respectfully     requests that the above-identified        application be
          amended as follows:




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          IN THE DESCRIPTION:
                              Please amend the specification as follows.


          Page 1, ninth full paragraph:
                              Since the users have gotten used to small handheld
          units, it is hard to move towards larger units. This has led to foldable
          keyboards, different kinds [[if]] .Qfjoy sticks and different kinds of touch
          sensitive displays and pads intended to help in providing a user interface
          that is suitable for small handheld compute computer units,


          Page 2, first full paragraph:
                              It is a problem to provide a user-friendly   interface that
          is adapted to handle~ large amount of information and different kinds of
          traditional computer-related    applications on a $mall handheld computer
          unit.


          Page 3, sixth full paragraph:
                              In order to provfde a task and file management In a
          user interface for a handheld mobile computer, the present invention
          teaches that, If the third function Is activated, the display area is adapted
          to display a list with a library of available applications and files on the
          computer [[unit]]   ..!d.!l1t:.
                                      A selection of an application will start the
          appllcatlon, and a selection of a file will open the file in an appllcation
          intended for the file.


          Page 7, fifth full paragraph:
                              It should [[b]] .b§ understood that all lists in the
          computer unit, such as a list ofcontact    information in an address book, a



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          list of e-mail messages in a mailbox, or a telephone log, can be managed
          in the above described manner.


          Page 7, sixth full paragraph:
                            .. The list 231 can be adapted to present only files or only
          applications.   In this case, the top   area of the list 231 can present a field
          233 through which the content [[if]]          of the list 231 can be altered.    If the
          list only presents files, then the field 233 can display a representation of a
          task manager and a selection of the field 233 will cause the list 231 to
          alter to present only applfcatlons, and if the list: 231 only presents
          applications, then the field 233 displays a representation of a file manager
          and a selection of the field 233 will cause the list 231 to alter and present
          only files.


          Page 7, eighth full paragraph:
                              Figure 9 shows that If the number of applications and/or
         files In the lfst 231 exceeds the number of applications and/or files that
         can be presented on the display area 3, and if the object 4 Is moved to
         the top or bottom position of the display area, then lifted, replaced on the
         dJsplay area, and then again moved to the top or bottom of the display
          area, then the content of the display area will be replaced one whole
          page, meaning that If the object 4 rs positioned N at the bottom 3b of the
         dlsplay area 3, then lifted, replaced on the display area 3, and then again
          moved M to the bottom 3b of the display area 3, then the content 31 of
         the display area 3 will be replaced P by the following applications and/or
         files 32 in the list 231. In the same way, but not shown in the figure, if
         the object is ~osition positioned at the top of the display area, then lifted,
          replaced on the display area 3, and then again moved to the top of the



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          display area, the content of the display area will be replaced by the
          preceding applications and/or files in the list.


          Publication No.   us 2004/0109013    Al, paragraph [0069]:
                             As shown in figure 13, the present invention relates to a
          user interface for a hand held mobile unit that preferably can be
          manageable with one hand. Hence the present invention teaches that the
          user interface is adapted to a touch sensitive area [[I]]   1..with a size that.
          is in the order of 2-3 inches, meaning the diagonal distance W between
          two corners of the touch sensitive area 1.




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          IN THE CLAIMS:
                               Please substitute the following claims for the pending
          claims with the same number:


          1. (currently amended)             A computer      readable   medium       storing     a
          computer program with computer program code, which, when read by a
          mobile handheld computer         unit, allows the computer to present a user
          interface for the      mobile handheld      computer    unit, the     user interface
         comprising:
                               a touch sensitive area that is Siffiul'i:aAeeusly divided
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                                           area, the mobile haFllSlhelEI
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         thlrel f'uRctieA that is a ~sit    and file manager plurality        of functions     are
         displayed. and
                                             each function    of said first,     seeeRa, aAel
         thlfEf functieAs siFAultaReeusly pepresented ifl saiel rAenu aFea plurality of
         .functions being activated by t:Ae single st:ep-of a blunt ffil object touching
         a location in the touch sensitive area at which the representation               of the
         function js dispjayed and then gliding along the touch sensitive area away
         from the location moving rn a diFeetioA f'feffi a starting 13elAtt~et. is t:l=le
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         touch scRsitive area, tl=tereey allewing lov~·preeision Aa1v
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          interface     uslA§ the       ~h:1F1teb3ect, so that       the. user interface         can    ee
          operated b'f       OAC   t:lana, ·1vhercthe bluRt eejee:4:is a finger.


          2, {currently amended)                   The computer readable medium of c;laim 1,
          wherein one function            from the p!urality of functions.         when the Fr1eeile
          1,aAdheld computcF UFtlt FUASaA e1:1erating system, ~!=le1::1seriAterface is
          characterised IA, t'9at, if said first function is activated,              causesthe user
          interface is aElaf3:l:eato display icons representing             different    services or
          settings depending on the eurreAf: for a currentl)l'. active application, ti:iat
          eAe ef said ieens always               represeAts   a "l=lelp;f service,     r=egaFdlesa e;j:i
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          settiA€1Sef tl=le e~eFating system of the mobile J:laAEIJ:lelel
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                                                                                 unit.


          3, {currently amended)                   The computer readable medium of claim 2,
         wherein       the user interface         is characterised    in, that     a selection of a
          preferred service or setting Is done by tapping on a eorr:espoF1aiF1g
                                                                              djsprav
         rcon corres~onding to the preferred service or setting.


         4. {currently amended)                    The computer readable medium of claim 1,
         wherein t:l=letiscr IRterface Is eharacterise::d iA,
                                     tl9at, If: saiel seeeAe one function from       the plurality of
         fyoctJQOS, when [[is]l          activated, said displa•t area is-aeaptea causes the
         user interface to display a keyboard and a text field,
                                      that,   iF a te~Et passage in said active apJ)lieatier-:1is
         highlighted,        said text passage Js-El-ispla•,<eel
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         s~(currently amended)                        The computer readable medium of claim 4,
         wherein t:l=lcuser interface is characterised                     In, that if   Ae   te~     ~eissage in
         said active applicatioR          is higt:llighteel, said text field is used for inputting
         and editing of text through said keyboard, then
                                said AFst f1::1netieAeaA be acti¥ateel, or
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         ef sEl-¥fA~---e,r~eletlng satd li,p~er               tC)ct Is €1i'tl'eR,whefe         the el'laiee ef
         sai.•ing said inputted text Fesults in an activation of said first fuAetloA,
         in which saia :first fuFtctieR ·,viii present services or settings available for
         said inputted text.


         6. (currently amended)                       The computer readable medium of claim 1 1
         wherein tfqe useF IAt:eFFOeeIs ef:ltapae~eriseaIA, t~at,                          If salel thiFe one
         function from the plurality of functions, when [[Is]] activated, saiel eUs19la·1
         area is adaf3ted   causesthe user interface to display a fist with a library of
         avallable applications      and files on the mobile handheld computer                               unit,
         bt=iat!e seleet:lel'l ef SA a19191ieatleR
                                                 wlll st:aFt said 8fJJ91ieat:leR,aAEt t:l=latia
         soleetion of a file will-epeA said file in an applieatieR intendeel F8f'said f:ile.


         7. (currently amended)                       The computer readable medium of                    claim 6,
         wherein the user interface               is characterised           in, that     a selection of an
         application or file is done by moving gliding the &k:tffi object along said
         touch sensitive area so that a representation                         of a desired one of said
         application or file is highlighted,             r-effiO'll'iA§I   caiaing said object from said



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         touch sensitive area, and then tapping on said touch sensitive area,--a-A-EJ
         that sa~elsesH=eEIene ef said application                       eF   file is highlighted       B't plaeing
         same 'kind of marl<IA~ -OFIsaid re19Fesentationof said ,a13plieat:ieF1
                                                                             er file.


         8. (currently amended)                         The computer readable medium of claim 7,
         wherein the user interface is characterised in, that at any given tjme said
         list Is adapted to preseAt present.s only sa-ifl.files or only 5i;:l-ieapplications,
         and that a top an area of said list presents a field through which tf:le
         coF1tci;t ef said list can be alteped changed from presenting files to
         presenting        applications.         or   from     presenting       applications       to   presenting
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         saiEi list to alter to preseAt               eAl'f a13131ieati0Rs,
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         manager and a seleetieA of soiei fiela will cause said list to al:eeFanel
         present only Files.


         9. (currently amended)                         The computer readable medium of claim 7,
         wherein the user interface                   Is characterised        In, that,    [[a]]   navigation In
         said list Is performed by FliOVifl§ gliding the el-ttFtt object along the touch
         s~nsJtive area In a direction towards the top of said list or towards the
         bottom of said list, that the mo'll1emeAt ef t~e eh:lfit eejeet will cause said
         Ff18Flt:iA€1te MO'll'e ifl     tl=le same airection, ana t~at the speea ef' mevement
         of said marldng is lo·n<erthaR the speed of movemcr,t ef the bluRt object.


          10. (currently amended)                       The computer readable medium of claim 9,
         wherein the user interface                   ls characterised         In, that,    If the number of
         applications a-AG-forfiles in said list exceeds the number of application



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           ac;iplications [[and]]   or files that can be presented on said Elis13laytou~b
           sensitjye area as content, and if the ~ object is ffl0¥cd glided along
           said touch sensitive area to the top or bottom position of said disp,ay
          touch sen~itive area, then Hfree- raised, replaced on said Effs19faytouch
           sensitive area, and again me 1u•eelglidg:d along said touch sensjtive area to
           the top or bottom of said d1splay touch sensitive area, the content of said
           display touch sensitive area will be replaced one whole page, FflSBAing
           that. if the e~unt 019:Jectis l:l8SitieAed at the eottom ef saiet eisplay area,
           reµ,laced ef'l-Saieleispla1,· aFea, aAd theFl a§JaiAmoved te t~e bottom ofi said
           displa·,· aFea, the eeAteRt of saiet Elisplav area will t,::>ereplaces 1:1',«
                                                                                       the
           follewiFl€J applieatiens aAd,'or files iA saiel 11st, ane if the eluF1t eb;eet is
           positioned at the tap ef said dlsr:,lai,1 area, theA lifteel, replacca 8A said
           dlsJ>lay area, aRd t:heR a§Jain ffiO¼'edta the tep of sale elisplay aFea, t:he •
                                                               by the preeediA~ a~plieatiens
           eentcnt ef sale! Elispla'f' _area will be FCt;')/aceEI
           and/or file5 IA tl=,eHst.


           11. (currently amended)              The computer readable medium of clafm
           10, wherein the user interface is characterised in, that if the ek:tflt object
           is rccmo•~edraised from any first position on said .display touch S'l;!nsjtjve •
           area and then replaced on any second position on said display touch
           sensitive     area,   said   navigation    can be continued   from   said second
           position.


           12. (currently amended)              The computer readable medium of claim 1,
           wherein the user Interface is characterised in, that an active application,
           function, service or setting is moved on one step by FAe•,ing gliding the
           ~       object along the touch sensitive area from       ~    left of said displa·, .
           at=ea to t-l=teright of saiel eHsplay area, and that the active application,



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          function, service or SE:lttingis closed or backed one step by ffiO¥ing gliding
          the &ltJffi object along the touch sensitive area from £f:te riglit of said
          Elis19lswarea to N:le-left of saiel Elispla,i ar:ea,


           13. (currently amended)               The computer readable medium of claim 1,
          wherein the user interface· Is characterised in, that said menu area Is
          positiOF=iearepresentations of said plurality of functions are locatedat the
          bottom of said touch sensitive area, that said FCprcseAt:atieA af saieJfirst
          1"unctioA is J:)e~itioneel at the lett side of said menu                area, that said
          represeneat:lefl ef salel seeeAEI funetion is 19ositieneel at tt:ie ff'liddle of said
          menu area,       and     that    saiEI refljreseA:t-atiofl af   saiei t~irel    funetieA     Is
          ~esitieAeel at tt:le Fight siele of said menu area.


          14. (currently amended)                The computer readable medium of claim 1,
          wherein the     ciseF   ln:t:er:faee is characterised in, that said user interfaee is
          adapted to a touch sensitive area ·,vitl=it
                                                   a siz:e t~at: is 2-3 inches In diagonal
          dimension, and ttlat said user interf.aee is adapted te             ee ei:ieFat:eEfa·t eAe
          haFld when the FF1el:iilel'=laAElt.:iele
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                        b-Junto~ect Is a fleshy part ef' tl"le tl"ltJFFlbef t:l=leer,c l=laRa.
          wl=leFeln--sa.4d


          15. (currently amended)                An enclosure adapted to cover the mobile
          handheld computer unit according to Claim 1, characterised in, that said
          enclosure rs provided           with an opening for said e:JisJ9la'(touch sensitive
          area, aRel tJ:lat □ representation      of said menu area is printea on tei:, af saiEI
          eRclosure.


          16. (previously presented)             The enclosure        according    to      Claim     15,
          characterised In, that said enclosure Is removable and exchangeable,



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           17. (previously presented)              A computer                readable   medium,        with      a
           computer       program       product stored 1therein, characterised                in, that said
           computer program             product compri~es computer                 readable code, which,
                                                                I

           when read by a computer,               will make it possible for said computer                       to
                                                                !
           present a user Interface according toj Claim l.


           18. (origim.jl)           A computer    readable medium according to Claim 17,
                                                                II
           characterised          in, that   said computer               program   product   is adapted to
                                                                I
          function as a shell upon an operationf system.
                                                                I
                                                                I

                                                                :
           19. (withdrawn)           An apparatus, comprising:
                                     a computing deviceI configured to provide a plurality of
          features and/or services to a user, s~id computing device Including a user
                                                                I
                                                                I
           Interface that comprises:
                                     a touchscreen for ~isplaying to the user, individually at
                                                                I
          differing     times,      a pl1..1rality of display screens correspor,ding                   to said
           plurality of features and/or services land for allowing the user to navigate
                                                                I

          among said various differing             featuri,es and/or services and among said
           plurality of display screens; and            I
                                     user interface softrare responsive to interaction of an .
          object with satd touchscreen so as ~o allow the user to navigate among
                              .                                 i    •
          said plurality          of features   and/or     services
                                                            I
                                                                    and among said plurallty                    of
                                                                I

          . display ~creens, said user interface s ftware configured to:
                   ,
                                                                1
                                                   when· I said touchscreen is dlsplaylng a first
          display screen of said plurality of d,splay screens, cause said computing
          device to display a second displa~ screen of said plurality                            of display
                                                                I
          screens In response to a first sweepl~g movement of the object along said
          touchscreen in a first direction,               sa1id computing          device displaying said



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           second display screen after the object has traversed a first predetermined
           extent of said touchscreen along said first direction; and
                                             when said touchscreen      is displaying said
           second display screen, cause said computing device to display said first
           display screen In response to a second sweeping movement of the object
           along said touchscreen in a second direction opposite said first direction,
          said computing device dlsplaying said .first display screen only after the
           object has traversed a second predetermined extent of said touchscreen·
           along sa;d second direction.


           20~ (withdrawn)    An apparatus     according   to   claim   19,   wherein   said
          touchscreen has a left edge and a right edge when said touchscreen is
           properly oriented for viewing by the user and said first direction proceeds
          from a location at or proximate said left edge toward said right edge and
          said second direction proceeds from a location at or proximate said right
           edge toward said left edge.


           21. (withdrawn)    An apparatus     according   to claim     20,   wherein   said
          touchscreen has a width extending from said le~ edge to said right edge
           and each of said first and second extents is substantially         equal to said
          width.


           22. (withdrawn)    An apparatus     according   to claim     21,   wherein   said
          touchscreen has a diagonal dimension of two inches to three inches.


           23. (withdrawn)    An apparatus     according   to claim     19,   wherein   said
          computing   device is sized to be cradled in a hand of an adult human user
          and so that, when so cradled, all points on said touchscreen are touchable



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           by the thumb of the adult human user, the object being the thumb of the
           hand.


            24. (withdrawn)   An apparatus according to claim 19, wherein each of
           the first and second sweeping movements does not drag any graphical
           feature displayed on said touchscreen during that one of the first and
           second sweeping movements.


           25. (withdrawn)    An apparatus, comprising:
                              a computing          device configured        to provide    first    and
           second menu-area          f1.,1nctionsto a · user, said first      menu-area        function
           having a first-function     display screen and said second menu-area function
           having a second-function          display screen differing from said first-function
           display screen, said computing            device including       a user Interface that
           comprises:
                                                 a touchscreen simultaneously          divided into
           a menu region and a display region, said menu region containing first and
           second representations corresponding respectively to said first and second
           menu~area functions,        said display region for displaying to the user at
           differing times said first-function          and second-function       display screens;
           and
                                                 user      interface   software      responsive      to
           interaction of an object with said touchscreen so as to allow the user to
           select at differing       times    each of said first       and second        menu-area
           functions, said user Interface software configured to:
                                                                  display     said    first-function
           display screen in response to a first sweeping movement                    of the object
           along said touchscreen, the first sweeping movement starting at said first



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           representation     in said menu region and proceeding                into said display
           region; and
                                                                  display said second-function
           display screen in response to a second sweeping movement of the object
           along said touchscreen,          the second sweeping movement starting at said
           second representation         in said menu region and proceeding                   into said
           display region.


           26. (withdrawn)         An apparatus according to claim 25, wherein:
                                   said touchscreen has a first edge and a second edge
           spaced from said first edge;
                                   said first and second representations        are each located
           proximate said first edge and spaced from one another along said first
           edge; and
                                   the first and second sweeping movements each proceed
           in a direction toward said second edge.


           27. (withdrawn)         An apparatus according to claim 25, wherein said first-
          function      display    screen    contains     a plurality   of   icons corresponding
           respectively to a plurality        of applications,    said user interface software
           configured to activate any one of said plurality of applications In response
           to the user tapping the object on said touchscreen at a corresponding one
           of said plurality of icons.


           28. (withdrawn)         An apparat~s     according     to claim     27,   wherein       said
           second-functron display screen contains a set of application functions, said
           set varying· as a function of which one of said plurality of applications is
           active when the user makes the second movement.



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          29. (withdrawn)        An      apparatus      according       to    claim      27,     wherein        a
          particular application         of said plurality of applications              has a plurality of
          application screen displays, said user interface software configured so that
          when said particular            application    is active 1 the        user forwardly            steps
          through       said plurality    of application      screen displays           by sweeping the
          object across said touchscreen             in a first direction         and reversely steps
          through said plurality          of application      screen displays by sweeping the
          object across said touchscreen             in a second direction opposite said first
          direction.•


          30. (withdrawn)        An apparatus according to claim 25, wherein said first
          display screen contains a soft-interface telephony keypad.


          31. (withdrawn)        An apparatus, comprising:,
                                 a computing         device     configured        to     run    a software
          application .configured         to display a plurality         of predetermined               display
          screens, said computing device including a user interface that comprises:
                                                  a touchscreen for displaying to the user,
          individually     at differing    times, said plurality         of· predetermined              display
         screens and for allowing the user to navigate among said plurality of
          predetermined display screens; and
                                                  user      interf~ce        software      responsive          to
          interaction of an object with said touchscreen so as to allow the user to
         navigate among said plurality of predetermined display screens, said user
          interface software configured to:
                                                                    activate            said        software
         application in response to a particular interaction of the object with said
         touchscreen;



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                                                                 forwardly                step       In     series
           through    ones of said      plurality     of predetermined               display        screens     in
           response to corresponding          respecti,ve individual           instances             of a first
           sweeping movement         of the object along said touchscreen                             in   a first
           direction; and
                                                                 reversely                step       rn series
          through     ones of said      plurality     of predetermined              display         screens in
          response to corresponding         respective individual          instances of a second
          sweeping movement         of the object along said touchscreen                          in a second
          direction different from said first direction.

                                                                                                                              I.

          32. (withdrawn)      An apparatus          according   to claim                31,     wherein     said
          particular Interaction of the object with said touchscreen to activate· said
          software application     Js a third sweeping movement                     of the object along
          said touchscreen in a third direction different from each of said. first and
          second directions.


          33. (withdrawn)      An apparatus according to claim 32, wherein said first
          and second directions are opposite one another and said third direction isJ


          perpendicular to eq<::hof said first and second directions.


          34. (withdrawn)      An apparatus, comprising:
                              • a computing         device configured          to        run software          for
          providing to a user a plurality of services and/or functions, said computing
          device Including:
                                               a touchscreen       for display to the user a
          graphical user interface and for allowing the user to navigate among said
          plurality of services and/or functions; and



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                                                  user      interface    software          responsive       to
              interaction of an object with said touchscreen so as to allow the user to
              navigate among said plurality         of services and/or          functions,         said user
              interface software configured to:
                                                                     present,    in       response     to   a
             sweeping movement         of the object across said touchscreen,                      a display
             screen contalnJng a plurality of display icons corresponding respectively to
             ones of said      plurality    of   services     and/or    functions,          the    sweeping
             movement being spatially uncorrelated with information                   displayed on said
             touchscreen; and
                                                                     when   said          touchscreen       is
             displaying said plurality of display icons, launch one of said plurality of
             services and/or functions in response to the user tapping the object on
             said touchscreen     at a location       where said touchscreen                    displays the
             corresponding one of said plurality of display icons.


             35. (withdrawn)    An apparatus        according to claim           34,        wherein     said
             computing device contain$ a software appllcatlon and sard user interface
             Is conflgured to present said plurality of display Icons only if said software
             application ls active during the sweeping movement of the object.


             36. (withdrawn)    An apparatus accorclfng to claim 35, wherein when said
             software application    is active during the sweeping .of the . object, said
             display icons correspond       to services and/or          functions         specific to said
             software application.


             37. (withdrawn)    An apparatus, comprising:




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                                a computing device containing software for providing to
           a user a plurality    of services and/or functions,          said computing           device
           including:
                                                a touchscreen for displaying to the user,
          individually at differing times, ones of various display screens associated
          with said plurality of services and/or functions and for allowing the ·user to
          navigate among said plurality of display screens so as to provide the user
          with access to said plurality of services and/or functions and .for allowing
          the user to control functioning of ones of said plurality of services and/or
          functions; and
                                                user interfc:1cesoftware responsive to a set
          of movements of an object with respect to said touchscreen so as to allow
          the user to navigate among said plurality of display screens and to control
          functioning of ones of said plurality of services and/or functions, said set
          of movements        includfng   a plurallty       of sweeping       movements          having
          differing directlonalities   along said touchscreen, wherein said plurality of
          sweeping       movements      being   spatially     uncorrelatecl      with       information
          displayed      on said touchscreen,        said    user    Interface    software        being
          configured to distinguish the plurality of sweeping movements from one
          another as a function        of the differing directionalities         so as to provide
          differing responses as a function of said differing· directionalities.


          38. (withdrawn)     An apparatus        according     to   claim     37,      wherein     two
          sweeping movements           of the plurality      of sweeping         movements        have
          opposing directionality      and said user interface software is configured to
          provide two opposing responses corresponding respectively to said two
          sweeping movements.




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          39. (withdrawn)      An apparatus according to claim 38, wherein one of the
          two opposing responses is moving forward in a series of display screens
          and the other of the two opposrng responses is moving backward in the
          series of display screens.


          40. (withdrawn}    An apparatus according to cl~im 37, wherein each of
          the plurality of sweeping movements does not drag any graphlcal feature
          displayed on said touchscreen during that one of the plurcllity of sweeping
          movements,


          41. (withdrawn)    An apparatus, comprising:
                             a computing device configured to provide a plurality of
          features, settings, applications and/or services to a user, said computing
          device including a user interface that comprises:
                                              a touchscreen for displaying to the user a
          list of Items corresponding        to at least one of a plurality         of features,
          settings, applications and/or services and for alfowing the user to select
          any one of said items using said list; and
                                              user     interface    software    responslve      to
          interaction of an object with said touchscreen so as to allow the user to
          navigate among said list and to select any one of said items, said user
          Interface software    configured     to move a highlight        markfng,       having a
          displayed location on said touchscreen, in a desired direction wlthrn said
          list in response to the user:
                                                              (a)        contacting          said
          touchscreen with the object at a first locatlon that is a function of the
          desired direction, not said displayed location of said highlight marking;




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                                                               (b) while keeping the object
           in contact   with     said   touchscreen,      moving     the   object   along    said
          touchscreen in the desired direction to a second location; and
                                                              (c)     immediately     following
          said moving of the object along said touchscreen to said second location,
          lifting the object from said touchscreen so as to establish a new location
          of safd highlight marking.


          42, (withdrawn)      An apparatus according to claim 41, wherein said user
          interface software is configured to, a~er the user has marked a desired
          one of said items by performing steps {a) through (c) so as to highlight
          said desired one with the highlight marking, select said des;red one In
          response to the user tapping the object on said touchscreen                   without
          regard to said display location of the highlight marking.


          43. (withdrawn)      An apparatus, comprising:
                               a computing devfce configured to provide a plurality of
          features, settings, applications and/or services to a user,. said computing
          device including a user interface that comprises:
                                             a touchscreen for dfsplaying to the user a
          list of items corresponding     to at least one of said plurc1lity of features,
          settings, applications and/or services and for allowing the user to select
          any one of said items using said list; and
                                             user      Interface    software    responsive    to
          interaction of an object with said touchscreen so as to allow the user to
          scroll said list and to select any one of said plurality             items, said user
          Interface software configured to scroll said list in a desired direction In
          response to the user:



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                                                           (a)           contacting                   said
          _touchscreen with the object at a first location that Is a function of the
           desired direction of said scroll and that is not based on any soft scroll
           control displayed on said touchscreen; and
                                                          (b} while keeping the· object
          in contact     with    said   touchscreen,   moving      the    object          along      said
          touchscreen in the desired direction to a second location, wherein said
          moving of the object causes sajd list to scroll in the desired direction.


          44. (withdrawn)       An apparatus according to claim 43, wherein said user
          interface software is configured to activate a selected orie of said items in
          response to a user tapping the object on said touchscreen following the
          user lif'.ting the object from the touchscreen after the user performs step
         • (b).


          45. (withdrawn)       An apparatus according to claim 43, wherein said items
          are files.

          46. (withdrawn)       An apparatus according to claim 43, wherern said items
          are email messages.


          47. (withdrawn)       An apparatus according to claim 43, wherein each item
          Is contact information for a correspond111gcontact.




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                                               REMARKS


                              Applicant has carefuUy studied the outstanding Office
          Action. The present amendment is intended to place the application fn
          condition for allowance and Is believed to overcome all of the objections
          and rejections made by the Examiner. Favorable reconsideration and
          allowance of the application are respectfully requested.
                              Applicant has withdrawn claims 19 - 47, and amended
          claims 1 - 15 to properly claim the present invention.              No new matter
          has been added. Claims 1 - 18 are presented for examination.
                              In paragraphs 1 - 8 of the Office Action, the Examiner
          has rejected claims 1, 4 - 7, 12, 15 and 17 under 35            u.s.c.         §103(a) as
          being unpatentable over Carlson, F., Visual Ouickstart         Gulde; Palm
          Organjzers ("Carlson") in view of Mlllc-Frayling et al., US Publication No,
          2004/0100510 ("Millc-Fraylfng"),      and further in view of Conrad et al., US
          Patent No. 5,956,030 ("Conrad"),
                              In paragraph 9 of the Office Action, the Examiner has
          rejected claims   2 and 3 under 35 u.s.c. §103(a) as being unpatentable
          over Carlson in view of Milic--Frayling, in view of Conrad, and furtherJn
          view of KopJtzke et al.,   us   Patent No. 6,988,246 ("Kopitzke'').
                              In paragraph 10 - 13 of the Office Action, the Examiner
          has rejected claims 8 - 11 under 35          u.s.c. §103{a)   as being
          unpatentable over Carlson In view of Milic-Frayllng, in view of Conrad,
          and further in view of Wynn et al., US Patent No. 6,734,883 (''Wynn").
                              In paragraph 14 of the Office Action, the Examiner has
          rejected claim 13 under 35 U.S.C. §103(a)as           being unpatentable over
          Carlson, in view of Mllic--Frayling, and further In view of Conrad.




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                                 In paragraphs lS and 16 of the Office Action, the
          Examiner has rejected claims 14 and 16 under 35 U.S.C. §103(a) as
          being unpatentable over Carlson, in view of Milic-Frayling, in view of
          Conrad, and further in view of Strietelmeier, Palm m100, The Gadqeteer
          (''Strietelmeier").
                                 In paragraphs 17 and 18 of the Office Action, the
          Examiner has rejected claim 18 under 35 U.S.C. §103(a) as being
          unpatentable over Carlson, in view of Millc-Frayling, in view of Conrad,
          and further in view of Chew et al., US Patent No. 6,727,917 ("Chew").


          Qistinctipns between Claimed Invention and Carlson, F., Visual
          Quickstart Gyide: Palm Organi2:ersrus Publication No.
          2004101oos10 of Milic-.Fraylinq et al., us Patent No. s,9s&,o3o to
          Conrad et aJ., us Patent No. §,9ss.24s to Kopig;ke et al .. us
          Patent No. §.734,883 to wvnn et al., Strietelmeier. Palm m100,
          The Gadqeteer, and usPatent No. 6,727.917 to Chew et al.
                                 Aspects of the subject invention concern a to1.1ch-based
          user interface with functionalities for running interactive applications
          using touch-based Icons, for Inputting text using a touch-based keypad,
          and for managing files using a touch-based file listi_ng. User inputs
          Include finger taps an~ thumb movements.         One such movement is a
          thumb touch-and-glide,       where the thumb touches a touch screen at a
          location where an icon for a function is displayed, and glides along the
          touch screen away from the location, as illustrated In FIG. 2 of the
          subject application.
                                 Carlson describes how to use the Palm Organizer touch-
          based user interface,      Through a series of pictures, Carlson shows how to




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           run applications, view documents, access menus, and use an onscreen
           keyboard.
                             Millc-Frayling describes an interactive user interface for
          presenting search results on small display screens of handheld devices.
          Search results are annotated to highlight search hits, and text is wrapped
          so as to avoid the need for horizontal scrolling.
                            Conrad describes a window management system for
          keeping ppen windows offscreen In a drawer area (Conrad/ elements D1
          - D4 of FIG. 1), and available for popping them back onscreen by clicking
          on a title bar or drawer handle of the offscreen window (Conrad/ FIGS. 2
          - 4). Conrad also describes ''spring loaded" enclosures for opening
          temporary windows for enclosure Identifiers, during a drag operation
          (Conrad/ FIGS. 8A - 80 and 9A - 9E).
                            Kopitzke describes a touch~sensitive user interface for
          use in an aircraft with multiple cabin systems.     A main menu (Kopitzke/
          FlG.: 4) provides an overview of cabin status, and information    and data
          regarding the cabin systems.    The main menu includes touch input keys
          for bringing up menus for each of the Individual aircraft cabin systems,
          for monitoring and controlling their operation.     Cabin systems include
          Inter alia an audio system (Kopltzke/ FIG. 5), a video system, a lighting
          system (Kopitzke/ FIG. 6}, a climate control system, a doors & hatches
          system (Kopltzke/ FIG. 7), a w~ter supply system (Kopitzke/      FIG. 8), an
          electric power supply system, and a data communication       system.
                            Wynn describes a user interface for spinning through a
          list of items. The user interface displays a preview list of items and a
          postview list of items on opposite sides of a currently selected item in the
          list (Wynn/ FIG. 7).




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                                                               Strietelmeier                    describes the mechanical casing, hardware
                    components and software applications of the Palm m100 Organizer, in
                   comparison wfth the Palm Hie, the Palm V and the Handspring Visor.
                                                               Chew descrities a vser interface for running ~nd
                   interacting with multiple applications on small handheld device display
                   screens. Chen describes a user interface display having a top portron
                   with a navigation bar (Chew/ element 302 of FIG. 3) for navigating
                   between different applications, a middle portion for graphically displaying
                   outputs of a currently active application, and a bottom portion with an
                   application menu bar (Chew/ element 304 of FIG. 3) for entering inputs
                   to the currently active applicatio11.
                                                               The touch-based user interface of the subject claimed
                   invention is generally operated by the thumb. The touch ..based user
                   interface of Carlson is ·generally operated by a stylus.                                                                      Although, the user
                   interface of Carlson may also be operated by the thumb, the natures of
                   the two user ;nterfaces are distinct.                                                     The subject claimed invention
                   teaches "rubbing", "touch-and-glide"                                                      movements to operate a user
                   interface, whereby the thumb touches a touch-sensitive                                                                            screen and rubs,
                   or glides, along the screen without lifting the thumb.                                                                       In distinction, tap
                   movements and one-stroke pen drags are used to operate the touch·
                   based user Interface of Car-Ison. In terms of moto_r skill, the touch-and-
                   glide movements of the subject claimed invention are akin to pressing
                   with the thumb on a mechanical slider button, such as the slider button
                   with HI/LO/OFF settings on a hair-dryer handle, and sliding the button up
                   or down while it is pressed.
                                                               The touch-and-glide                            movements of tli!e subject claimed
                   invention are illustrated in FIGS. 2, 7 and 10 by a leff-arrow and a thumb
                   touching a touch-sensitive                                     screen.



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                                The touch-and•glide    movements of the subject claimed
          Invention are used to activate functions (original specification/     Abstract;
          page 2, lines 25 - 28; page 5, lines 24 - 27; FIG. 2; original claim 1),
          and to scroll a selector forward and backward within a list to select a
          desired item in the list, and to page up and page down within a list
          (original specification/    page 3, lines 28 - page 4, line 2; page 7, lines 7 -
          10; page 7, llne 27 - page 9, line 14~ FIGS. 7 and 10; original claims 7, 9
          and 10).
                              The touch ..and-glide movements of the subject claimed
          invention activate a function located at the touch point. The one ..stroke
          pen drag movement of Carlson activates a pre-designated program,
          irrespective of where the pen drag begins; namely, the onscreen
          keyboard or a custom pre-designated program that may be substituted
          therefor.
                              Other conventional finger-based touch screens, such as
          the large touch screens used for self-serve check.-in at airport terminals,
          use touch-sensitive     Input keys. In distinction, the touch-and•glide     inputs
          of the subject claimed invention are of particular advantage for small
          handheld devices, where screen space ls minimal.


          Response
                 to t;xaminer's Arguments
                              In rejecting Independent claim 1, the Examiner has
          cited the "one-stroke      pen drag" (Carlson/ page 30; FIG. 2.22) as teaching
          that l\any one of said three functions can be activated when said touch
          sensitive area detects a movement of an object with Its starting paint
          within the representation of said function on said menu area and with a
          direction from said menu area to said display area".       In rejecting
          dependent clalrn 9, the Exan:iiner has cited dragging a vertical scroll bar



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           (Carlson/ page 27). In rejecting dependent claim 12, the Examiner has
          cited dragging a horizontal scroll bar (Carlson/ page ~46; FIG. 14.2).
                              Applicant respectfully submits that the one-stroke drag
         . of Carlson is very distinct from the location•based touch-and-glide
          movement      or the subject invention (original specification/ FJG. 2)_. The
          following table summarizes some of the relevant distinctions.

           TABLE I: Partial list of distinctions between one-stroke drag of Carlson
           and location ..based touch~and-glide movement of the claimed invention
                     One ..stroke draci             Loc:::ation...based touch-and-glide
                                                                                 '.,
           Default function is the onscreen        The function displayed at the touch
           keyboard; may be customized to           point is activated.
          activate a different pre-designated
          function.
          At any given time, may be used for At any given time, may be used for
          activating only one pre-designated       activating whichever function is
          function.                                touched, from among a plurality of
                                                   functions.
          The starting location has no bearing The starting location determines
          on the function that Is activated.       which of the plurallty of functions is
                                                   activated.
          Performed bv a stvlus.                    Performed bv the thumb.
          Requires the user interface to           Requires the user interface to
          recognize a vertical drag.               recognize a glide and l_dentlfy the
                                                   function displayed at the starting
                                                   location of the glide.
          Requires one hand to hold the            The same hand may be used to
          device and another hand to perform hold the device and perform the
          the stvlus movement.                     thumb movement.
          Not used .for scrollina through a list. Used for scrollina throuah a list.
                              Applicant further respectfully submits that the scroll
          slider drag of Carlson is very distinct from the location-based touch-and-
          glloe movement of the subject invention.      The following table summarizes
          some of the relevant distinctions.




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          TABl-E II: Partial list of distinctions between scroll slider drag of Carlson
          and location-based touch-and ...alide movement of the claimed invention
                    Scroll sUder- draa              Location-based touch-and-alide                     ., 1>,,
                                                             "                    "
          Requires the user interface to           Requires the user interface to
          recognize a horizontal drag or a         recognize a glide in any of a
          vertical draa.                           oluralltv of directions.
          Performed bv a stvlus.                   Performed bv the thumb.
          Requires one heind to hold the           The same hand may be used to
          device and another hand to perform hold the device and perform the
          the stvlus movement.                     thumb movement.
          Not used for scrollin0 throuah a list. Used for scrollinci throuch a list.
                               In order to clarify these distinctions, applicant has
          amended claim 1 to include the limitation of each function of said
          plun~lity of functions being ~ctivated by an object touching-a location in
          the touch sensitive area at which the representation of the function is
          displayed and then girding the object along the touch sensitive area away
          from the location.
                               Applicant has carefully reviewed all of the cited prior
          art. None of the cited prior art teaches the location-based touch-and-
          glide thumb movement of the subject claimed invention.                    Specifically,
          Milic-Frayling and Conrad do not use touch screens.                 Kopitzke uses touch
          input keys. Wynn mentions touch sensitive displays with stylus pens.
          Strietelmeier mentions writing with a stylus. Chew uses a stylus to tap
          on a touch screen.
                               The rejections of the claims 1 - 18 In paragr~phs 1 - 18
          of the Office Action will now be dealt with specifically.
                               As to amended Independent claim 1 for a computer
          readable medium, applicant respectfully submits that the limitation in
          claim 1 of
                               ""each    function     of   said   plurality    of   functions       being
          activated    by an object     touching    a location    in the touch sensitive        area at




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           which the represen_tatlon of the function is displayed and gliding along the
           touch sensitive area away from the location"
           is neither shown nor suggested in Carlson, Mllic-Frayling, Conrad,
           Kopit;zke, Wynn, Strietelmeier   or Chew.
                              Because claims 2 - 18 depend from claim 1 and include
           additional features, applicant respectfully submits that claims 2 - 18 are
           not anticipated or rendered obvious by Carlson, Milic-Frayling, Conrad,
           Kopitzke, Wynn, Strietelmeier,   Chew, or a combination of Carlson, Mllic-
           Frayling, Conrad, Kopitzke, Wynn, Strietelmeier and Chew.
                              Accordingly claims 1 - 18 are deemed to be allowable.


          Support for Amended cra;msin Original Specification
                              Independent claim 1 has been amended to include the
          limitation of an object touching a location in the touch sensitive area at
          which the representation    of the function is displayed and gliding along the
          touch sensitive area away from the location. Ttlis limitation is supported
          In the original specification at least at FIGS. 2, 7 .and 10.


                              For the foregoing reasons, applicant respectfully
          submits that the applicable objections and rejections have been overcome
          and that the claims are in condition for allowance.


                                                     Respectfully submitted,


          Dated: ______           , 2008
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                          CLEAN \[ERSION OF PROPOSED AMENDED CLAIMS
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              1.                  A computer         readable medium storing           a computer
             program with computer program code, which, when read by a mobile
             handheld     computer    unitr   allows the computer           to present      a user
             interface for the mobile handheld computer unit, the user interface
             comprising    a touch     sensitive         area in which    representations       of a
             plurality of functions are displayed, and each function of said plurality
             of functions being activated by an object touching a location in the
             touch sensitive area at which the representation                of the function      is
             displayed and then gliding along the touch sensitive area away from
             the location ..


             2.                   The computer readable medium of claim 1, wherein
             one function from the plurality of functions, when activated,                  causes
             the user Interface to display icons representing              dffferent   services or
             settings for a currently active application,


                                  The computer readable. medium of claim 2, wherein
             the user Interface is characterised             in, that a selection of a preferred
             service or setting is done by tapping on a display icon corresponding to
             the preferred service or setting.           •




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              4.                     The computer readable medium of claim 1, wherein
              one function from the plurality               of functions, when activated,         causes
              the user interface to display a keyboard and a text field.


              5.                     The computer readable medium of claim 4, wherein
              said text field is used for inputting             and editing of text through said
              keyboard.


              6.                     The computer readable medium of claim 1, wherein
             one function from the plurality                of functions, when activated, causes
              the user interface          to     display    a list with      a library      of available
              applications and files on the mobile handheld computer unit.


              7.                     The computer readable medium of claim 6, wherein
             the user interface is characterised in, that a selection of an application
             or file is done by gliding the object along said touch sensitive area so
             that a representation             of a desired one of sc:tid application          or file is
              highlighted,   raising said object from said touch sensitive                    area, and
             then tapping on said touch sensitive area.


             8.                      The computer readable medium of claim 7, wherein
             the user Interface Is characterised              in, that at any given time said list
              presents only files or only applications, and that a-an area of said list
              presents     a field    through       which     said . list   can     be changed        from
              presenting     files   to    presenting        applications,     or    from    presenting
             applications to presenting files.



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              9.                  The computer readable medium of claim 7, wherein
              the user interface is characterised     in, that, navigation       in said list is
              performed by gliding the object along the to1..1chsensitive area in a
              direction towards the top of said list or towards the bottom of said list.


              10.                 The computer readable medium of claim 9, wherein
              the   user   interface   is characterised   in,   that,   if the     number    of
              applications or files in said list exceeds the number of applications or
              files that can be presented on said touch sensitive area as content,
              and if the object is glided along said touch sensitive area to the top or
              bottom position of said touch sensitive area, then raised, replaced on
              said touch sensitive area, and again glided along said touch sensitive
              area to the top or bottom of said touch sensitive area, the content of
              said touch sensitive area will be replaced one whole page.


              11.                 The computer readable medium of claim 10, wherein
              the user interface Is characterised in, that if the object is raised fron,
              any first position on said touch sensitive area and then replaced on
              any second position on said touch sensitive area, said navigation can
              be continued from said second position.




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                  12.                The computer readable medium of claim 1, wherein
              the user interface        ls characterised    in, that   an active   application,
              function, service or setting is moved on one step by gliding the object
              along the touch sensitive area from left to right, and that the active
              application, function, service or setting is closed or backed one step by
              gliding the object along the touch sensitive area from right to left.


                  13.                The computer readable medium of claim 1, wherein
              the ·user interface is characterised In, that said represent21tions of said
              plurality of functions are located at the bottom of said touch sensitive
              area.


              14.                    The computer readable medium of claim 1, wherein
              the touch sensitive area is 2-3 inches in diagonal dimension.


                                     An enclosure adapted to cover the mobile handheld
              computer         unit according   to Claim 1, characterised      in, that     said
              enclosure is provided with an opening for said touch sensitive area.


              16.                    The enclosure according to Claim 15, characterised
              in, that said enclosure is removable and exchangeable.




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             17,               A computer     readable   medium,   with   a computer
             program product stored therein, characterised in, that said comp1,1ter
             program product comprises computer readable code, which, when read
             by a computer,   will make it possible for said computer to present a
             user interface according to Claim 1.


             18.               A computer readable medium according to Claim 17,
            characterised   In, that said computer program    product is adapted to
            function as a shell upon an operations system.




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        10/315,250                    12/10/2002                         Magnus Goertz            3682-32
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                                                           page 1 of 1
          Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 478 of 745



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          Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 479 of 745



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    APPLICATION NUMBER           FILING OR 3 71 (C) DATE             FIRST NAMED APPLICANT                   ATTY. DOCKET NO./TITLE

        10/315,250                    12/10/2002                         Magnus Goertz            3682-32
                                                                                           CONFIRMATION NO.1226
23117                                                                              POA ACCEPTANCE LETTER
NIXON & VANDERHYE, PC
901 NORTH GLEBE ROAD, 11TH FLOOR
ARLINGTON, VA 22203
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                                                                                                             Date Mailed: 08/05/2008




                         NOTICE OF ACCEPTANCE OF POWER OF ATTORNEY
This is in response to the Power of Attorney filed 03/13/2008.
The Power of Attorney in this application is accepted. Correspondence in this application will be mailed to the
above address as provided by 37 CFR 1.33.




                /jelliott/


Office of Data Management, Application Assistance Unit (571) 272-4000, or (571) 272-4200, or 1-888-786-0101




                                                           page 1 of 1
          Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 480 of 745



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        10/315,250                    12/10/2002                         Magnus Goertz            3682-32
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23117                                                                              POWER OF ATTORNEY NOTICE
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ARLINGTON, VA 22203
                                                                                                             Date Mailed: 08/05/2008




                     NOTICE REGARDING CHANGE OF POWER OF ATTORNEY
This is in response to the Power of Attorney filed 03/13/2008.
  • The Power of Attorney to you in this application has been revoked by the assignee who has intervened as
    provided by 37 CFR 3.71. Future correspondence will be mailed to the new address of record(37 CFR 1.33).




                /jelliott/


Office of Data Management, Application Assistance Unit (571) 272-4000, or (571) 272-4200, or 1-888-786-0101




                                                           page 1 of 1
                         Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 481 of 745
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   APPLICATION NO.             FILING DATE                     FIRST NAMED INVENTOR   ATTORNEY DOCKET NO.               CONFIRMATION NO.

       10/315,250               12/10/2002                         Magnus Goertz            3682-32                             1226

       23117            7590                 07/11/2008
                                                                                                           EXAMINER
       NIXON & VANDERHYE, PC
       901 NORTH GLEBE ROAD, 11TH FLOOR                                                                 PITARO, RY AN F
       ARLINGTON, VA 22203
                                                                                           ART UNIT                       PAPER NUMBER

                                                                                              2174



                                                                                           MAIL DATE                     DELIVERY MODE

                                                                                           07/11/2008                          PAPER


Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.




PTOL-90A (Rev. 04/07)
                        Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 484 of 745
                                                                                    Application No.                               Applicant(s)

                                                                                     10/315,250                                   GOERTZ, MAGNUS
                      Office Action Summary                                         Examiner                                      Art Unit
                                                                                    RYAN F. PITARO                                2174
                 -- The MAILING DA TE of this communication appears on the cover sheet with the correspondence address --
  Period for Reply
        A SHORTENED STATUTORY PERIOD FOR REPLY IS SET TO EXPIRE ;l_MONTH(S) OR THIRTY (30) DAYS,
        WHICHEVER IS LONGER, FROM THE MAILING DATE OF THIS COMMUNICATION.
        - Extensions of time may be available under the provisions of 37 CFR 1.136(a). In no event, however, may a reply be timely filed
          after SIX (6) MONTHS from the mailing date of this communication.
        - If NO period for reply is specified above, the maximum statutory period will apply and will expire SIX (6) MONTHS from the mailing date of this communication.
        - Failure to reply within the set or extended period for reply will, by statute, cause the application to become ABANDONED (35 U.S.C. § 133).
          Any reply received by the Office later than three months after the mailing date of this communication, even if timely filed, may reduce any
          earned patent term adjustment. See 37 CFR 1.704(b).

  Status

           1)1Zl Responsive to communication(s) filed on 3/14/2008.
       2a)IZ! This action is FINAL.                                2b)0 This action is non-final.
           3)0    Since this application is in condition for allowance except for formal matters, prosecution as to the merits is
                  closed in accordance with the practice under Ex parte Quayle, 1935 C.D. 11, 453 O.G. 213.

  Disposition of Claims
        4)[8J Claim(s) 1-47 is/are pending in the application.
                 4a) Of the above claim(s) 19-47 is/are withdrawn from consideration.
           5)0    Claim(s) __          is/are allowed.
           6)0    Claim(s) 1-18 is/are rejected.
           7)0    Claim(s) __          is/are objected to.
           8)0    Claim(s) __          are subject to restriction and/or election requirement.

  Application Papers
           9)0 The specification is objected to by the Examiner.
       10)0 The drawing(s) filed on __                     is/are: a)O accepted or b)O objected to by the Examiner.
                 Applicant may not request that any objection to the drawing(s) be held in abeyance. See 37 CFR 1.85(a).
                  Replacement drawing sheet(s) including the correction is required if the drawing(s) is objected to. See 37 CFR 1.121(d).
       11)0 The oath or declaration is objected to by the Examiner. Note the attached Office Action or form PT0-152.

  Priority under 35 U.S.C. § 119
       12)0 Acknowledgment is made of a claim for foreign priority under 35 U.S.C. § 119(a)-(d) or (f).
             a)O All         b)O Some* c)O None of:
                  1.0       Certified copies of the priority documents have been received.
                  2.0       Certified copies of the priority documents have been received in Application No. __                                     .
                  3.0       Copies of the certified copies of the priority documents have been received in this National Stage
                            application from the International Bureau (PCT Rule 17.2(a)).
             *Seethe attached detailed Office action for a list of the certified copies not received.




  Attachment(s)
  1)   0    Notice of References Cited (PTO-892)                                                   4) 0   Interview Summary (PTO-413)
  2)   0    Notice of Draftsperson's Patent Drawing Review (PTO-948)                                      Paper No(s)/Mail Date. __      .
  3)   0    Information Disclosure Statement(s) (PTO/SB/08)                                        5) 0   Notice of Informal Patent Application
            Paper No(s)/Mail Date __     .                                                         6) 0   Other: __     .

U.S. Patent and Trademark Office
PTOL-326 (Rev. 08-06)                                                  Office Action Summary                                  Part of Paper No./Mail Date 20080623
     Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 485 of 745


Application/Control Number: 10/315,250                                               Page 2
Art Unit: 2178

                                   DETAILED ACTION




                               Response to Amendment



       This communication is responsive to the Amendment filed 3/14/2008.

       Claims 1-18 are pending in this application. Claims 1, 15 and 17 are

independent claims.




                                  Election/Restrictions

       Newly submitted claims 19-47 are directed to an invention that is independent or

distinct from the invention originally claimed for the following reasons: Claims 19-47 are

directed to distinct individual instances of sweeping motions of a particular kind in order

to navigate among said predetermined display screens whereas the claimed invention is

more directed to a simplified touch interface.

       Since applicant has received an action on the merits for the originally presented

invention, this invention has been constructively elected by original presentation for

prosecution on the merits. Accordingly, claims 19-47 are withdrawn from consideration

as being directed to a non-elected invention. See 37 CFR 1.142(b) and MPEP §

821.03.
     Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 486 of 745


Application/Control Number: 10/315,250                                                                   Page 3
Art Unit: 2178




                                 Claim Rejections - 35 USC§ 103

       The following is a quotation of 35 U.S.C. 103(a) which forms the basis for all

obviousness rejections set forth in this Office action:

       (a) A patent may not be obtained though the invention is not identically disclosed or described as set
       forth in section 102 of this title, if the differences between the subject matter sought to be patented and
       the prior art are such that the subject matter as a whole would have been obvious at the time the
       invention was made to a person having ordinary skill in the art to which said subject matter pertains.
       Patentability shall not be negatived by the manner in which the invention was made.

       Claims 1, 4-7, 12, 15 and 17 are rejected under 35 U.S.C. 103(a) as being

unpatentable over Carlson ("Carlson", Carlson, Jeff. Visual Quickstart Guide Palm

Organizers. Peachpit Press. 2000. Berkeley, CA.) in view of Milic-Frayling et al ("Milic-

Frayling", US 2004/0100510) in view of Conrad et al ("Conrad", US 5,956,030).



1.     As per claim 1, Carlson teaches a computer readable medium storing a computer

program with computer program code, which code, when read by a mobile computer

unit allows the computer to present a user interface for a mobile                 1ThiLM.l$Im
                                                                                        computer             unit

(Introduction, page xiii), where said computer unit comprises a touch sensitive area

(page 26, the screen is touch sensitive), that is simultaneously divided into a menu area

(page 12, fig. 1.10 silk screen graffiti area) and a display area, the computer unit is

being adapted to run several applications simultaneously (page 47, all of the

applications are running concurrently), and to present an active application on top of

any other application on said display area, characterised in, that said menu area is

adapted to present a representation of a first, a second and a third predefined function,

that said first function is a general application dependent function (page 28, the Menu
     Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 487 of 745


Application/Control Number: 10/315,250                                                 Page 4
Art Unit: 2178

icon, fig. 2.4 ), that said second function is a keyboard function (page 30, either the abc

or 123 dots in the lower corner of the Graffiti area), that said third function is a task and

file manager (page 47, the Applications screen & fig. 2.35), and that any one of said

three functions can be activated when said touch sensitive area detects a movement of

an object with its starting point within the representation of said function on said menu

area and with a direction from said menu area to said display area (page 40, bottom-to-

top screen stroke shortcut fig. 2.22 & page 30, drag the stylus vertically across the

screen from bottom to top), said user interface allowing low precision navigation using a

blunt object, whereby said user interface can be operated by one hand (page 12, "The

stylus is the main method of interacting with the PalmPilot" and it inherently involves

one hand to use the stylus. Also, if a finger was used, that would also be considered

using one hand), where said blunt object is a finger (page 12, "The stylus is the main

method of interacting" though anything including fingers can work). Carlson fails to

distinctly point out simultaneously displaying a first, second, and third function. Milic-

Frayling teaches the menu area being adapted to simultaneously present

representations of a first function, a second function, and a third function (Figure 1 view

Tools toolbar, with keyboard, file manager, etc.). Therefore it would have been obvious

to an artisan at the time of the invention to combine the teaching of Milic-Frayling with

the interface of Carlson. Motivation to do so would have been to provide away to quickly

access common functions and provide a user with a large enough space. The modified

Carlson still does not explicitly point out activation by a single step of an object moving

in a direction on the touch sensitive area. However, Conrad teaches activating by the
        Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 488 of 745


Application/Control Number: 10/315,250                                                    Page 5
Art Unit: 2178

single step of an object moving in a direction from a starting point that is representation

of the function in the menu area to the display area (Figure 2, Column 2 lines 15-62).

Therefore it would have been obvious to an artisan at the time of the invention to

combine the teaching of Venolia with the modified Carlson. Motivation to do so would

have been to provide easy access to windows.



2.       As per claim 4, the modified Carlson teaches the user interface according to

claim 1, characterised in,

         that, if said second function is activated, said display area is adapted to display a

keyboard and a text field,

         that, if a text passage in said active application is highlighted, said text passage

is displayed in said text field for editing through said keyboard and that said highlighted

text passage is replaced by said edited text passage when said second function is

deactivated, and

         that, if no text passage in said active application is highlighted, said text field is

available for inputting and editing of text through said keyboard (Carlson, page 30, fig

2.7).

3.       As per claim 5, the modified Carlson teaches the user interface according to

claim 4, characterized in, that if no text passage in said active application is highlighted,

and said text field is used for inputting and editing of text through said keyboard

(Carlson, page 30, fig 2.7), then

         said first function can be activated, or
     Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 489 of 745


Application/Control Number: 10/315,250                                                   Page 6
Art Unit: 2178

       said second function can be closed, in which a choice of saving or deleting said

inputted text is given, where the choice of saving said inputted text results in an

activation of said first function,

       in which said first function will present services or settings available for said

inputted text (Carlson, page 28, fig. 2.4 Beam Memo).

4.     As per claim 6, the modified Carlson teaches the user interface according to

claim 1, characterised in, that, if said third function is activated, said display area is

adapted to display a list with a library of available applications and files on said

computer unit, that a selection of an application will start said application, and that a

selection of a file will open said file in an application intended for said file (Carlson, page

47, fig. 2.35).

5.     As per claim 7, the modified Carlson teaches the user interface according to

claim 6, characterised in, that a selection of an application or a file is done by moving

said object so that the representation of desired application or file is highlighted,

removing said object from said touch sensitive area, and then tapping on said touch

sensitive area, and that an application or file is highlighted by placing some kind of

marking on the representation of said application or file (Carlson, pages 26 & 27).

6.     As per claim 12, the modified Carlson teaches the user interface according to

Claim 1, characterised in, that an active application, function, service or setting is

moved on one step by moving said object from the left of said display area to the right of

said display area, and that the active application, function service or setting is closed or
     Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 490 of 745


Application/Control Number: 10/315,250                                                   Page 7
Art Unit: 2178

backed one step by moving said object from the right of said display area to the left of

said display area (Carlson, page 246, fig. 14.2, Drag to scroll through file).

7.     As per claim 15, the modified Carlson teaches an enclosure adapted to cover a

computer unit, said computer unit being adapted to present a user interface according

Claim 1, characterised in, that said enclosure is provided with an opening for said

display area, and that a representation of said menu area is printed on top of said

enclosure (Carlson, page 12, Silkscreen Graffiti area & fig. 1.10).

8.     As per claim 17, the modified Carlson teaches a computer readable medium,

with a computer program product stored therein, characterised in, that said computer

program product comprises computer readable code, which, when read by a computer,

will make it possible for said computer to present a user interface according to Claim 1

(Carlson, page 25, Palm OS).




       Claims 2 and 3 are rejected under 35 U.S.C. 103(a) as being unpatentable over

Carlson ("Carlson", Carlson, Jeff. Visual Quickstart Guide Palm Organizers. Peachpit

Press. 2000. Berkeley, CA.), Milic-Frayling et al ("Milic-Frayling", US 2004/0100510)

and Conrad et al ("Conrad", US 5,956,030) in view of Kopitzke et al. ("Kopitzke", US#

6,988,246 B2).



9.     As per claim 2, the modified Carlson teaches the user interface according to

claim 1, characterized in, that, if said first function is activated, said display area is

adapted to display icons representing different services or settings depending on the
     Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 491 of 745


Application/Control Number: 10/315,250                                                     Page 8
Art Unit: 2178

current active application (Carlson, page 28, the Menu icon, fig. 2.4), and that, if no

application is currently active on said computer unit, said icons are adapted to represent

services or settings of the operations system of said computer unit (Carlson, page 4 7,

fig. 2.36, 12:11 am).

       However the modified Carlson does not teach expressly the user interface

according to claim 1, characterized in, that, if said first function is activated, said display

area is adapted to display icons representing different services or settings depending on

the current active application, that one of said icons always represents a "help"-service,

regardless of application.

       Kopitzke teaches the user interface according to claim 1, characterized in, that

said display area is adapted to display icons representing different services or settings

depending on the current active application, that one of said icons always represents a

"help"-service, regardless of application (column 4, lines 36-53 & fig. 1, Help key or

button 6).

       The modified Carlson and Kopitzke are analogous art because they are in the

same field of endeavor, namely graphical user interfaces with touch sensitive displays.

   At the time of the invention it would have been obvious to a person of ordinary skill in the art

   to provide the help function as taught by Kopitzke within the user interface of the modified

   Carlson in order to provide context sensitive information.

       As per claim 3, the modified Carlson teaches the user interface according to

claim 2, characterised in, that a selection of a preferred service or setting is done by
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tapping on corresponding icon (Carlson, page 26, fig. 2.1 Tapping just about any

interface element in the Palm OS evokes a response).




       Claims 8-11 and 13 is rejected under 35 U.S.C. 103(a) as being unpatentable

over Carlson ("Carlson", Carlson, Jeff. Visual Quickstart Guide Palm Organizers.

Peachpit Press. 2000. Berkeley, CA.), Milic-Frayling et al ("Milic-Frayling", US

2004/0100510) and Conrad et al ("Conrad", US 5,956,030) in view of Wynn et al.

("Wynn", US# 6,734,883 B1).

10.    As per claim 8, the modified Carlson teaches the user interface according to

claim 7. However the modified Carlson does not teach expressly the user interface,

characterized in, that said list is adapted to present only said files or only said

applications, that the top area of said list presents a field through which the content of

said list can be altered, that, if said list only presents files, said field displays a

representation of a task manager and a selection of said field will cause said list to alter

to present only applications, and that, if said list only presents applications, said field

displays a representation of a file manager and a selection of said field will cause said

list to alter and present only files.

       Wynn teaches a user interface control, characterized in, that said list is adapted

to present only said files or only said applications, that the top area of said list presents

a field through which the content of said list can be altered (column 3, lines 4-8, dialog

box 32), that, if said list only presents files, said field displays a representation of a task
      Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 493 of 745


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manager and a selection of said field will cause said list to alter to present only

applications, and that, if said list only presents applications, said field displays a

representation (column 3, lines 4-8, label 31) of a file manager and a selection of said

field will cause said list to alter and present only files (column 3, lines 15-31).

       The modified Carlson and Wynn are analogous art because they are in the same

field of endeavor, namely scrolling within graphical user interfaces with touch sensitive

displays.

       At the time of the invention it would have been obvious to a person of ordinary

skill in the art to have the selection list format as taught by Wynn within the user

interface of the modified Carlson in order to provide a conventional list format.



11.    As per claim 9, the modifiedCarlson teaches the user interface according to claim

7, characterised in, that, a navigation in said list is performed by moving said object in a

direction towards the top of said list or towards the bottom of said list, that the

movement of said object will cause said marking to move in the same direction

(Carlson, page 27, a quicker way to view the full list is to tap and hold on the dark solid

portion of the scroll bar, then drag it vertically).

       However the modified Carlson does not teach expressly that the speed of the

movement of said marking is lower than the speed of the movement of said object.

       Wynn teaches a user interface control, characterised in, that, a navigation in said

list is performed by moving said object in a direction towards the top of said list or

towards the bottom of said list, that the movement of said object will cause said marking
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to move in the same direction (column 3, lines 32-39 & figs. 5) and that the speed of the

movement of said marking is lower than the speed of the movement of said object

(column 4, lines 24-30).

      At the time of the invention it would have been obvious to a person of ordinary skill in the art

      to have the scrolling function as taught by Wynn within the user interface of the

      modifiedCarlson in order to provide a conventional selection list.




12.      As per claim 10, the modified Carlson in view of Wynn teaches the user interface

according to claim 9, characterised in, that, if the number of applications and/or files in

said list exceeds the number of applications and files that can be presented on said

display area, and if said object is moved to the top or bottom position of said display

area, then lifted, replaced on said display area, and again moved to the top or bottom of

said display area, the content of said display area will be replaced one whole page,

meaning that if said object is positioned at the top of said display area, then lifted,

replaced on said display area, and then again moved to the top of said display area, the

content of said display area will be replaced by the preceding applications and/or files in

said list (Carlson, page 253, fig. 14.15 Full Page Up).

         The modified Carlson in view of Wynn does not disclose expressly the user

interface, characterised in that if said object is positioned at the bottom of said display

area, then lifted, replaced on said display area, and then again moved to the bottom of

said display area, the content of said display area will be replaced by the following

applications and/or files in said list.
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       At the time of the invention, it would have been an obvious matter of design

choice to a person of ordinary skill in the art to modify the Full Page Up function

(Carlson, page 253, fig 14.15) to work as a Full Page Down function by tapping on the

bottom of the display area because Applicant has not disclosed that if said object is

positioned at the bottom of said display area, then lifted, replaced on said display area,

and then again moved to the bottom of said display area, the content of said display

area will be replaced by the following applications and/or files in said list provides an

advantage, is used for a particular purpose, or solves a stated problem. One of ordinary

skill in the art, furthermore, would have expected Applicant's invention to perform

equally well with the modified Full Page Up function as taught by Carlson because it

would only need to be implemented to scroll down instead of up, when the display area

is tapped on the bottom, instead of the top.

13.    As per claim 11, the modified Carlson in view of Wynn teaches the user interface

according to claim 10, characterised in, that if said object is removed from any first

position on said display area and then replaced on any second position on said display

area, said navigation can be continued from said second position (Carlson, page 253,

fig. 14.15).




       Claim 13 is rejected under 35 U.S.C. 103(a) as being unpatentable over Carlson

("Carlson", Carlson, Jeff. Visual Quickstart Guide Palm Organizers. Peachpit Press.
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2000. Berkeley, CA.) Milic-Frayling et al ("Milic-Frayling", US 2004/0100510) and

Conrad et al ("Conrad", US 5,956,030).



14.    As per claim 13, the modified Carlson teaches the user interface according to

Claim 1, characterised in, that said menu area is positioned at the bottom of said touch

sensitive area, that said representation of said first function is positioned at the left side

of said menu area, and that said representation of said second function is positioned at

the middle of said menu area.

       The modified Carlson does not teach expressly that said representation of said

third function is positioned at the right side of said menu area.

       At the time the invention was made, it would have been an obvious matter of

design choice to a person of ordinary skill in the art to place the third function on the

right side of the display area instead of the left, because Applicant has not disclosed

that said representation of said third function is positioned at the right side of said menu

area provides an advantage, is used for a particular purpose or solves a stated problem.

One of ordinary skill in the art, furthermore would have expected Applicant's invention to

perform equally well with the third function on the left side of the display area because

the placement of the representation would not change its functionality.



       Claims 14 and 16 are rejected under 35 U.S.C. 103(a) as being unpatentable

over Carlson ("Carlson", Carlson, Jeff. Visual Quickstart Guide Palm Organizers.

Berkeley, CA: Peachpit Press, 2000), Milic-Frayling et al ("Milic-Frayling", US
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2004/0100510) and Conrad et al ("Conrad", US 5,956,030) in view of Strietelmeier

("Strietelmeier", Strietelmeier, Julie. "Palm m100." The Gadgeteer. 2000.

<http://www.the-gadgeteer.com/review/palm_m100_review>).



15.    As per claim 14, the modified Carlson teaches the user interface according to

Claim 1, characterised in, that said user interface is adapted to a touch sensitive area

and that said user interface is adapted to be operated by one hand, where said object

can be a finger (page 12, stylus ... includes fingers).

       However the modified Carlson does not teach expressly a touch sensitive area

with a size that is in the order of 2-3 inches.

       Strietelmeier teaches a user interface, characterised in, a touch sensitive area

with a size that is in the order of 2-3 inches (page 4 ).

       The modified Carlson and Strietelmeier are analogous art because they are in

the same field of endeavor, namely palm-sized computer organizers.

       At the time of the invention it would have been obvious to a person of ordinary

skill in the art to have the dimensions of a touch sensitive area as taught by

Strietelmeier within the user interface of the modified Carlson in order to provide a touch

sensitive area with the manufacturer's dimensions.




15. However, the modified Carlson does not disclose the enclosure characterised in,

that saia   r¥fuMfr
                ..
                4iiffii9f!fu,i+Aifflr!
                                 and exchangeable.
      Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 498 of 745


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       Strietelmeier teaches an enclosure characterised in, that saia t¼fu~@:Mhi:M

1Mfu,i+Mim
       and exchangeable         (page 3, you can also remove the entire face plate ...

there will be different face plates available).

       At the time of the invention it would have been obvious to a person of ordinary

skill in the art to have the customizable enclosures as taught by Strietelmeier within the

enclosure of the modified Carlson in order to tailor an enclosure to a user's preferences.



17.    Claim 18 is rejected under 35 U.S.C. 103(a) as being unpatentable over Carlson

("Carlson", Carlson, Jeff. Visual Quickstart Guide Palm Organizers. Berkeley, CA:

Peach pit Press, 2000), Milic-Frayling et al ("Milic-Frayling", US 2004/0100510) and

Conrad et al ("Conrad", US 5,956,030) in view of Chew et al. ("Chew", US# 6,727,917).



18.    As per claim 18, the modified Carlson teaches a computer readable medium

according to claim 17.

       However the modified Carlson does not teach expressly, that said computer

program product is adapted to function as a shell upon an operations system.

       Chew teaches a user interface for a palm-sized computer device, characterized

in, that said computer program product is adapted to function as a shell upon an

operations system (column 2, lines 1-5).

       The modified Carlson and Chew are analogous art because they are in the same

field of endeavor, namely graphical user interfaces for hand-held personal computing

devices with touch sensitive displays.
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       At the time of the invention it would have been obvious to a person of ordinary

skill in the art to further modify the modified Carlson program to function as shell as

taught by Chew in order to efficiently display information.



                                Response to Arguments

       The Examiner reviewed the demonstration as encouraged by the Applicant. In

light of the video demonstration, the Examiner can now see the difference between the

prior art of record and the present application. With that being said the Examiner feels

that the limitations, as claimed, were reasonably interpreted and the current limitations

are still too broad to suggest without research what was shown in the video

demonstration. For instance Conrad teaches as pointed out by applicant clicking a

window in a menu title bar, dragging the cursor and placing it in the display region (page

19 of 32), which is exactly activating by a single step of an object moving in a direction

from a starting point that is a representation of the function in the menu area to the

display area. The function being activating or parking the window in the display area.

The combination of the references is what teaches the limitations of claim 1, not Conrad

or Palm OS alone.
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                                           Conclusion

       THIS ACTION 15 MADE FINAL. Applicant is reminded of the extension of time

policy as set forth in 37 CFR 1.136(a).

       A shortened statutory period for reply to this final action is set to expire THREE

MONTHS from the mailing date of this action. In the event a first reply is filed within

TWO MONTHS of the mailing date of this final action and the advisory action is not

mailed until after the end of the THREE-MONTH shortened statutory period, then the

shortened statutory period will expire on the date the advisory action is mailed, and any

extension fee pursuant to 37 CFR 1.136(a) will be calculated from the mailing date of

the advisory action. In no event, however, will the statutory period for reply expire later

than SIX MONTHS from the mailing date of this final action.

       Any inquiry concerning this communication or earlier communications from the

examiner should be directed to RYAN F. PITARO whose telephone number is

(571 )272-4071. The examiner can normally be reached on 9:00am - 5:30pm Mondays

through Fridays.

       If attempts to reach the examiner by telephone are unsuccessful, the examiner's

supervisor, David Wiley can be reached on 571-272-3923. The fax phone number for

the organization where this application or proceeding is assigned is 571-273-8300.
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       Information regarding the status of an application may be obtained from the

Patent Application Information Retrieval (PAIR) system. Status information for

published applications may be obtained from either Private PAIR or Public PAIR.

Status information for unpublished applications is available through Private PAIR only.

For more information about the PAIR system, see http://pair-direct.uspto.gov. Should

you have questions on access to the Private PAIR system, contact the Electronic

Business Center (EBC) at 866-217-9197 (toll-free). If you would like assistance from a

USPTO Customer Service Representative or access to the automated information

system, call 800-786-9199 (IN USA OR CANADA) or 571-272-1000.


/R. F. P./                                           /Stephen S. Hong/
Primary Examiner, Art Unit 2174                      Supervisory Patent Examiner, Art
                                                     Unit 2178
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                                        Application/Control No.       Applicant(s)/Patent Under
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           Search Notes                 10315250                      GOERTZ, MAGNUS

                                        Examiner                      Art Unit

                                        Ryan F Pitaro                 2174




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      Class                                Subclass                          Date            Examiner
 Update                   Search                                         11/8/2007         RFP
 Update                   Search                                         6/17/2008         RFPF



                                                  SEARCH NOTES

                                   Search Notes                              Date            Examiner
 Update Search                                                           11/8/2007         RFP
 Update Search                                                           6/17/2008         RFP



                                          INTERFERENCE SEARCH

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U.S. Patent and Trademark Office                                                     Part of Paper No. : 20080623
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          Index of Claims                         10315250                           GOERTZ, MAGNUS

                                                  Examiner                           Art Unit

                                                  Ryan F Pitaro                      2174


  ✓           Rejected                         Cancelled           N        Non-Elected             A           Appeal

  =           Allowed                          Restricted                   Interference            0         Objected

 □    Claims renumbered in the same order as presented by applicant              □   CPA        □   T.D.        □    R.1.47

          CLAIM                                                         DATE
      Final        Original    11/09/2007 06/23/2008
                      1            ✓          ✓

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                                                 Application/Control No.            Applicant(s)/Patent Under
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          Index of Claims                        10315250                           GOERTZ, MAGNUS

                                                 Examiner                           Art Unit

                                                 Ryan F Pitaro                      2174


  ✓           Rejected                         Cancelled          N        Non-Elected             A           Appeal

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 □    Claims renumbered in the same order as presented by applicant             □   CPA        □   T.D.        □    R.1.47

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PAGE 2/2 • RCVD AT 5/14/2008 11 :20:5_7 AM [Eastern Dayllg.hl Time]• SVR:USPTO.£FXRF-6/2                                                                                      • DNIS:2738300 • CSID:+972 g 954 197 5 • DURATION (mm-ss):0 _
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                                                                                        PATENT

            IN THE UNITED STATES PATENT AND TRADEMARK OFFICE

In re application of: Magnus Goertz
Serial No.: 10/315,250
Filed: December 10, 2002
Title: User Interface
Attorney Docket No.: 12511-00003 (New)
                     (3682-32) (Previous)
Group Art Unit: 2174
Examiner: Ryan F. Pitaro
Confirmation No.: 1226

Commissioner for Patents                                                          March 14, 2008
Alexandria, VA 22313-1450



          AMENDMENT AND RESPONSE TO NON-FINAL OFFICE ACTION

       This is in response to the Office Action (paper no. 20071109) regarding the above-
identified patent application that was mailed from the U.S. Patent and Trademark Office on
November 14, 2007.

       A Status of the Claims starts on the following page 2.

       Remarks concerning the Office Action start on the following page 15.




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                                      STATUS OF THE CLAIMS

1. (Currently Amended) A computer readable medium storing a computer program with
   computer program code, which-e-e-de,when read by a mobile handheld computer unit, allows
   the computer to present a user interface for the mobile handheld computer unit, the user
   interface comprising:
   a touch sensitive area that is simultaneously divided into a menu area and a display area,
   the mobile handheld computer unit being adapted to run several applications simultaneously,
       and to present an active application on top of any other application on the-said display
       area, characterised in, that
       fue-said menu area simultaneously presenting presents representations of a first function
           that is a general application dependent function, a second function that is a keyboard
           function, and a third function that is a task and file manager, and
       each of the three said first. second, and third functions simultaneously represented in fue
           said menu area being activated by the single step of a&-ablunt object moving in a
           direction from a starting point that is the representation of the corresponding one of
           said first. second. and third function~ in fue-said menu area to the-said display area
           being detected by the-said touch sensitive area, thereby allowing low precision
           navigation of the user interface using a-the blunt object, so that the user interface can
           be operated by one hand, where the blunt object is a finger.

2. (Currently Amended) The computer readable medium of claim 1, wherein the mobile
   handheld computer unit runs an operating system, the user interface is characterized
   characterised in, that, if said first function is activated, said display area the user interface is
   adapted to display icons representing different services or settings depending on the current
   active application, that one of said icons always represents a "help"-service, regardless of
   application, and that, if no application is current active on sai:4-the mobile handheld computer
   unit, said icons are adapted to represent services or settings of the operating system of saia
   the mobile handheld computer unit.
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3. (Previously Presented) The computer readable medium of claim 2, wherein the user
   interface is characterised in, that a selection of a preferred service or setting is done by
   tapping on a corresponding icon.

4. (Previously Presented) The computer readable medium of claim 1, wherein the user
   interface is characterised in,
   - that, if said second function is activated, said display area is adapted to display a keyboard
       and a text field,
   - that, if a text passage in said active application is highlighted, said text passage is displayed
       in said text field for editing through said keyboard and that said highlighted test passage
       is replaced by said edited text passage when said second function is deactivated, and
   - that, if no text passage in said active application is highlighted, said text field is available
       for inputting and editing of text through said keyboard.

5. (Previously Presented) The computer readable medium of claim 4, wherein the user
   interface is characterised in, that if no text passage in said active application is highlighted,
   said text field is used for inputting and editing of text through said keyboard, then
   - said first function can be activated, or
   - said second function can be closed, in which a choice of saving or deleting said inputted
       text is given, where the choice of saving said inputted text results in an activation of said
       first function,
   in which said first function will present services or settings available for said inputted text.

6. (Currently Amended) The computer readable medium of claim 1, wherein the user
   interface is characterised in, that, if said third function is activated, said display area is
   adapted to display a list with a library of available applications and files on saitlthe mobile
   handheld computer unit, that a selection of an application will start said application, and that
   a selection of a file will open said file in an application intended for said file.


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7. (Currently Amended) The computer readable medium of claim 6, wherein the user
   interface is characterised in, that a selection of an application or file is done by moving s-aia
   the blunt object so that the-_giJepresentationof st.desired one of said application or file is
   highlighted, removing said object from said touch sensitive area, and then tapping on said
   touch sensitive area, and that ffil-saiddesired one of said application or file is highlighted by
   placing some kind of marking on the-said representation of said application or file.

8. (Currently Amended) The computer readable medium of claim 7, wherein the user
   interface is characterised in, that said list is adapted to present only said files or only said
   applications, that the-st.top area of said list presents a field through which the content of said
   list can be altered, that, if said list only presents files, said field displays a representation of a
   task manager and a selection of said field will cause said list to alter to present only
   applications, and that, if said list only presents applications, said field displays a
   representation of a file manager and a selection of said field will cause said list to alter and
   present only files.

9. (Currently Amended) The computer readable medium of claim 7, wherein the user
   interface is characterised in, that, a navigation in said list is performed by moving said-the
   blunt object in a direction towards the top of said list or towards the bottom of said list, that
   the movement of said-the blunt object will cause said marking to move in the same direction,
   and that the speed of movement of said marking is lower than the speed of movement of s-aia
   the blunt object.

10. (Currently Amended) The computer readable medium of claim 9, wherein the user
   interface is characterised in, that, if the number of applications and/or files in said list
   exceeds the number of application and files that can be presented on said display area as
   content, and if ea-id-theblunt object is moved to the top of bottom position of said display
   area, then lifted, replaced on said display area, and again moved to the top of bottom of said
   display area, the content of said display area will be replaced one whole page, meaning that if
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   s-aicl-theblunt object is positioned at the bottom of said display area, replaced on said display
   area, and then again moved to the bottom of said display area, the content of said display area
   will be replaced by the following applications and/or files in said list, and if sa-i-4--the
                                                                                             blunt
   object is positioned at the top of said display area, then lifted, replaced on said display area,
   and then again moved to the top of said display area, the content of said display area will be
   replaced by the preceding applications and/or files in the list.

11. (Currently Amended) The computer readable medium of claim 10, wherein the user
   interface is characterised in, that if said-the blunt object is removed from any first position on
   said display area and then replaced on any second position on said display area, said
   navigation can be continued from said second position.

12. (Currently Amended) The computer readable medium of claim 1, wherein the user
   interface is characterised in, that an active application, function, service or setting is moved
   on one step by moving said-the blunt object from the left of said display area to the right of
   said display area, and that the active application, function, service or setting is closed or
   backed one step by moving s-aid-theblunt object from the right of said display area to the left
   of said display area.

13. (Previously Presented) The computer readable medium of claim 1, wherein the user
   interface is characterised in, that said menu area is positioned at the bottom of said touch
   sensitive area, that said representation of said first function is positioned at the left side of
   said menu area, that said representation of said second function is positioned at the middle of
   said menu area, and that said representation of said third function is positioned at the right
   side of said menu area.

14. (Currently Amended) The computer readable medium of claim 1, wherein the user
   interface is characterised in, that said user interface is adapted to a touch sensitive area with a
   size that is on the order of 2-3 inches in diagonal dimension, and that said user interface is

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   adapted to be operated by one hand when the mobile handheld computer unit is held in the
   one hand, wherein said blunt object eafl-Beisa fiRge-Ffleshypart of the thumb of the one hand.

15. (Currently Amended) An enclosure adapted to cover a computer unit, said computer unit
   being adapted to read computer program code of a computer program stored on a computer
   readable medium, .vhich code, when read, presents a user interface the mobile handheld
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   computer unit according to Claim 1, characterised in, that said enclosure is provided with an
   opening for said display area, and that a representation of said menu area is printed on top of
   said enclosure.

16. (Previously Presented) The enclosure according to claim 15, characterised in, that said
   enclosure is removable and exchangeable.

17. (Original) A computer readable medium, with a computer program product stored therein,
   characterised in, that said computer program product comprises computer readable code,
   which, when read by a computer, will make it possible for said computer to present a user
   interface according to Claim 1.

18. (Original) A computer readable medium according to claim 17, characterized in, that said
   computer program product is adapted to function as a shell upon an operating system.

19. (New) An apparatus, comprising:
   a computing device configured to provide a plurality of features and/or services to a user,
       said computing device including a user interface that comprises:
       a touchscreen for displaying to the user, individually at differing times, a plurality of
           display screens conesponding to said plurality of features and/or services and for
           allowing the user to navigate among said various differing features and/or services
           and among said plurality of display screens; and




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       user interface software responsive to interaction of an object with said touchscreen so as
           to allow the user to navigate among said plurality of features and/or services and
           among said plurality of display screens, said user interface software configured to:
           when said touchscreen is displaying a first display screen of said plurality of display
                screens, cause said computing device to display a second display screen of said
                plurality of display screens in response to a first sweeping movement of the object
                along said touchscreen in a first direction, said computing device displaying said
                second display screen after the object has traversed a first predetermined extent of
                said touchscreen along said first direction; and
           when said touchscreen is displaying said second display screen, cause said computing
                device to display said first display screen in response to a second sweeping
                movement of the object along said touchscreen in a second direction opposite said
                first direction, said computing device displaying said first display screen only
                after the object has traversed a second predetermined extent of said touchscreen
                along said second direction.

20. (New) An apparatus according to claim 19, wherein said touchscreen has a left edge and a
   right edge when said touchscreen is properly oriented for viewing by the user and said first
   direction proceeds from a location at or proximate said left edge toward said right edge and
   said second direction proceeds from a location at or proximate said right edge toward said
   left edge.

21. (New) An apparatus according to claim 20, wherein said touchscreen has a width extending
   from said left edge to said right edge and each of said first and second extents is substantially
   equal to said width.

22. (New) An apparatus according to claim 21, wherein said touchscreen has a diagonal
   dimension of two inches to three inches.


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23. (New) An apparatus according to claim 19, wherein said computing device is sized to be
   cradled in a hand of an adult human user and so that, when so cradled, all points on said
   touchscreen are touchable by the thumb of the adult human user, the object being the thumb
   of the hand.

24. (New) An apparatus according to claim 19, wherein each of the first and second sweeping
   movements does not drag any graphical feature displayed on said touchscreen during that one
   of the first and second sweeping movements.

25. (New) An apparatus, comprising:
   a computing device configured to provide first and second menu-area functions to a user,
       said first menu-area function having a first-function display screen and said second
       menu-area function having a second-function display screen differing from said first-
       function display screen, said computing device including a user interface that comprises:
       a touchscreen simultaneously divided into a menu region and a display region, said menu
          region containing first and second representations corresponding respectively to said
          first and second menu-area functions, said display region for displaying to the user at
          differing times said :first-function and second-function display screens; and
       user interface software responsive to interaction of an object with said touchscreen so as
          to allow the user to select at differing times each of said first and second menu-area
           functions, said user interface software configured to:
          display said first-function display screen in response to a first sweeping movement of
              the object along said touchscreen, the first sweeping movement starting at said
              first representation in said menu region and proceeding into said display region;
              and
          display said second-function display screen in response to a second sweeping
              movement of the object along said touchscreen, the second sweeping movement
              starting at said second representation in said menu region and proceeding into said
              display region.
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26. (New) An apparatus according to claim 25, wherein:
   said touchscreen has a first edge and a second edge spaced from said first edge;
   said first and second representations are each located proximate said first edge and spaced
       from one another along said first edge; and
   the first and second sweeping movements each proceed in a direction toward said second
       edge.

27. (New) An apparatus according to claim 25, wherein said first-function display screen
   contains a plurality of icons corresponding respectively to a plurality of applications, said
   user interface software configured to activate any one of said plurality of applications in
   response to the user tapping the object on said touchscreen at a conesponding one of said
   plurality of icons.

28. (New) An apparatus according to claim 27, wherein said second-function display screen
   contains a set of application functions, said set varying as a function of which one of said
   plurality of applications is active when the user makes the second movement.

29. (New) An apparatus according to claim 27, wherein a particular application of said plurality
   of applications has a plurality of application screen displays, said user interface software
   configured so that when said particular application is active, the user forwardly steps through
   said plurality of application screen displays by sweeping the object across said touchscreen in
   a first direction and reversely steps through said plurality of application screen displays by
   sweeping the object across said touchscreen in a second direction opposite said first
   direction.

30. (New) An apparatus according to claim 25, wherein said first display screen contains a soft-
   interface telephony keypad.




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31. (New) An apparatus, comprising:
   a computing device configured to run a software application configured to display a plurality
       of predetennined display screens, said computing device including a user interface that
       comprises:
       a touchscreen for displaying to the user, individually at differing times, said plurality of
           predetermined display screens and for allowing the user to navigate among said
           plurality of predetermined display screens; and
       user interface software responsive to interaction of an object with said touchscreen so as
           to allow the user to navigate an10ng said plurality of predetennined display screens,
           said user interface software configured to:
           activate said software application in response to a particular interaction of the object
                 with said touchscreen;
           forwardly step in series through ones of said plurality of predetermined display
                 screens in response to corresponding respective individual instances of a first
                 sweeping movement of the object along said touchscreen in a first direction; and
           reversely step in series through ones of said plurality of predetermined display
                 screens in response to corresponding respective individual instances of a second
                 sweeping movement of the object along said touchscreen in a second direction
                 different from said first direction.

32. (New) An apparatus according to claim 31, wherein said particular interaction of the object
   with said touchscreen to activate said software application is a third sweeping movement of
   the object along said touchscreen in a third direction different from each of said first and
   second directions.

33. (New) An apparatus according to claim 32, wherein said first and second directions are
   opposite one another and said third direction is perpendicular to each of said first and second
   directions.

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34. (New) An apparatus, comprising:
   a computing device configured to run software for providing to a user a plurality of services
       and/or functions, said computing device including:
       a touchscreen for displaying to the user a graphical user interface and for allowing the
          user to navigate among said plurality of services and/or functions; and
       user interface software responsive to interaction of an object with said touchscreen so as
           to allow the user to navigate among said plurality of services and/or functions, said
           user interface software configured to:
          present, in response to a sweeping movement of the object across said touchscreen, a
              display screen containing a plurality of display icons conesponding respectively
              to ones of said plurality of services and/or functions, the sweeping movement
              being spatially uncorrelated with infonnation displayed on said touchscreen; and
           when said touchscreen is displaying said plurality of display icons, launch one of said
              plurality of services and/or functions in response to the user tapping the object on
              said touchscreen at a location where said touchscreen displays the conesponding
              one of said plurality of display icons.

35. (New) An apparatus according to claim 34, wherein said computing device contains a
   software application and said user interface is configured to present said plurality of display
   icons only if said software application is active during the sweeping movement of the object.

36. (New) An apparatus according to claim 35, wherein when said software application is active
   during the sweeping of the object, said display icons correspond to services and/or functions
   specific to said software application.

37. (New) An apparatus, comprising:
   a computing device containing software for providing to a user a plurality of services and/or
       functions, said computing device including:


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       a touchscreen for displaying to the user, individually at differing times, ones of various
           display screens associated with said plurality of services and/or functions and for
           allowing the user to navigate among said plurality of display screens so as to provide
           the user with access to said plurality of services and/or functions and for allowing the
           user to control functioning of ones of said plurality of services and/or functions; and
       user interface software responsive to a set of movements of an object with respect to said
           touchscreen so as to allow the user to navigate among said plurality of display screens
           and to control functioning of ones of said plurality of services and/or functions, said
           set of movements including a plurality of sweeping movements having differing
           directionalities along said touchscreen, wherein said plurality of sweeping movements
           being spatially uncorrelated with information displayed on said touchscreen, said user
           interface software being configured to distinguish the plurality of sweeping
           movements from one another as a function of the differing directionalities so as to
          provide differing responses as a function of said differing directionalities.

38. (New) An apparatus according to claim 37, wherein two sweeping movements of the
   plurality of sweeping movements have opposing directionality and said user interface
   software is configured to provide two opposing responses corresponding respectively to said
   two sweeping movements.

39. (New) An apparatus according to claim 38, wherein one of the two opposing responses is
   moving forward in a series of display screens and the other of the two opposing responses is
   moving backward in the series of display screens.

40. (New) An apparatus according to claim 37, wherein each of the plurality of sweeping
   movements does not drag any graphical featme displayed on said touchscreen during that one
   of the plurality of sweeping movements.




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41. (New) An apparatus, comprising:
   a computing device configured to provide a plmality of features, settings, applications and/or
       services to a user, said computing device including a user interface that comprises:
       a touchscreen for displaying to the user a list of items conesponding to at least one of a
           plmality of features, settings, applications and/or services and for allowing the user to
           select any one of said items using said list; and
       user interface software responsive to interaction of an object with said touchscreen so as
           to allow the user to navigate among said list and to select any one of said items, said
           user interface software configured to move a highlight marking, having a displayed
           location on said touchscreen, in a desired direction within said list in response to the
           user:
           (a) contacting said touchscreen with the object at a first location that is a function of
               the desired direction, not said displayed location of said highlight marking;
           (b) while keeping the object in contact with said touchscreen, moving the object
               along said touchscreen in the desired direction to a second location; and
           (c) immediately following said moving of the object along said touchscreen to said
               second location, lifting the object from said touchscreen so as to establish a new
              location of said highlight marking.

42. (New) An apparatus according to claim 41, wherein said user interface software is
   configured to, after the user has marked a desired one of said items by performing steps (a)
   through (c) so as to highlight said desired one with the highlight marking, select said desired
   one in response to the user tapping the object on said touchscreen without regard to said
   display location of the highlight marking.

43. (New) An apparatus, comprising:
   a computing device configured to provide a plurality of features, settings, applications and/or
       services to a user, said computing device including a user interface that comprises:

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       a touchscreen for displaying to the user a list of items con-esponding to at least one of
           said plurality of features, settings, applications and/or services and for allowing the
           user to select any one of said items using said list; and
       user interface software responsive to interaction of an object with said touchscreen so as
           to allow the user to scroll said list and to select any one of said plurality items, said
           user interface software configured to scroll said list in a desired direction in response
           to the user:
           (a) contacting said touchscreen with the object at a first location that is a function of
               the desired direction of said scroll and that is not based on any soft scroll control
               displayed on said touchscreen; and
           (b) while keeping the object in contact with said touchscreen, moving the object
               along said touchscreen in the desired direction to a second location, wherein said
               moving of the object causes said list to scroll in the desired direction.

44. (New) An apparatus according to claim 43, wherein said user interface software is
   configured to activate a selected one of said items in response to a user tapping the object on
   said touchscreen following the user lifting the object from the touchscreen after the user
   perfonns step (b).

45. (New) An apparatus according to claim 43, wherein said items are files.

46. (New) An apparatus according to claim 43, wherein said items are email messages.

47. (New) An apparatus according to claim 43, wherein each item is contact information for a
   con-esponding contact.




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                                           REMARKS
        Claims 1-47 are presently pending. Claims 1, 2 and 6-12, 14 and 15 have been amended
for form and not for reasons relating to patentability of the claims in view of the references of
record. Claims 19-47 are new.
        Applicant respectfully requests reconsideration of the application in view of the
foregoing amendments and the remarks appearing below.

The Current Patent Application
        Before addressing in detail the specific rejections made in the current Office Action,
Applicant would like to emphasize that the unique touchscreen-based user interface of the
current patent application allows a user to navigate among, for example, applications, display
screens, services, functions and settings using "low-precision" navigation techniques. These
techniques are very different from conventional touchscreen interfaces, such as the touchscreen-
based user interface of the Palm operating system described in the Carlson publication, which is
addressed in detail below in the context of the rejections set forth in the present Office Action.
Such conventional touchscreen-based user interfaces typically require the precise locating of a
pointing object, for example a stylus, within clearly identified bounds of a displayed graphical
feature, such as a page-up or page-down icon, scroll bar, button, menu item, application icon,
etc., to effect a desired action.
        Low-precision navigation user interfaces made in accordance with the current application
can be implemented on very small touchscreens, for example, on the order of 2 inches to 3-
inches in diagonal dimension, yet still allow very easy and accurate navigation with, for
example, a user's thumb (even when gloved), despite the fact that the (gloved) thumb covers a
significant portion of the small screen during a navigation operation. For a demonstration of a
number of features disclosed in the current patent application and covered by the claims therein
and in the present Response, the Examiner is encouraged to access http://www.neonode.com/en-
us/on-stage/products/n2/introduction/ and watch the video demonstration of the N2 mobile
phone/personal digital assistant device made by N eonode AB. The N2 device and its

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predecessor NI device each incorporate many of the low-precision navigation features originally
disclosed in the current application. Applicant encourages the Exan1iner to view the
demonstration video at the above-identified URL prior to reviewing Applicant's arguments
below. If the Examiner is unable to view the demonstration video, Applicant respectfully
requests that the Examiner contact the below-signed attorney to arrange an alternative
demonstration of the N2 and/or Nl devices.

Reiections under 35 U.S.C. § 103

Carlson/Milic-Frayling/Conrad
        Claims 1, 4-7, 12, 15 and 17 stand rejected under 35 U.S.C. § 103(a) as being obvious in
view of a combination of Carlson, Jeff, Visual Ouickstart Guide Palm Organizers, Peach pit
Press, Berkley, California, 2000 ("the Carlson publication"), U.S. Patent Application Publication
No. 2004/0100510 to Milic-Frayling et al. ("the Milic-Frayling publication") and U.S. Patent
No. 5,956,030 to Conrad et al. ("the Conrad patent"). Applicant respectfully disagrees.
       The Carlson publication describes features and functionality of the Palm operating
system (OS) (circa version 3.5) for personal organizer devices. Particular aspects of the
Palm OS are described below in connection with specific rejections in which the U.S. Patent and
Trademark Office (USPTO) raises those particular aspects. At a high level, however, Applicant
notes that the Palm OS provides a user interface for use with a stylus or other object that
primarily functions as either a pointer (e.g., when selecting a button, when selecting a menu
choice, when dragging a slider-type icon or when highlighting text) or as a writing implement
(e.g., when using the Palm GRAFFITI® handwriting recognition software to input letters and
numerals). It is noted that, prior to the Palm OS, both of these functionalities were well known
to be implemented in conventional mouse-based and tablet-based user interfaces. An exception
to these functionalities in the context of the Palm OS is the ability to activate a single user-
selected one of a predetermined set of features, namely, the backlight, keyboard, Graffiti-help,
turn-off-and-lock, and beam-data features. See FIG. 2.22 and accompanying text of the Carlson
publication directed to customizing buttons and selecting preferences for a description of this
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functionality. In this exception, the Palm OS provides a single bottom-of-screen-to-top-of-
screen stroke shortcut for quickly activating the chosen feature from the set of features.
       The Milic-Frayling publication discloses a Web browser adapted for use on small
displays, such as touchscreens, as typically found on handheld devices. Generally, the Milic-
Frayling browser includes a page-display region and software that selects Web page content for
displaying in the page-display region and fom1ats that content for the small page display region.
The browser has a menu bar beneath the display region. Referring to FIG. 2 of the Milic-
Frayling publication, the menu bar contains a number of buttons including what appears to be a
home button, a back button, a reload-page button, a "View Tools" button and a folder button,
among others. It appears that a user can select any one of these buttons by tapping with a stylus
on the touchscreen at the location of the desired button. See, for example, paragraph [0041] of
the Milic-Frayling publication.
       The Conrad patent discloses a system for managing windows on a computer screen. The
system allows a user to, effectively, close windows by dragging them to a drawer region. When
a window is in the drawer region of the screen, it is represented by a "drawer identifier" (see,
e.g., drawer identifiers Dl through D4 in each of FIGS. 1-3 of the Comad patent) that takes up
much less screen-space than the window when open. When a window is in a drawer state, a user
can open the window by clicking on the drawer identifier or dragging a cursor or an object, such
as a file or folder, to the drawer identifier. An open window may be put into the drawer state by
double clicking in a menu bar of the open window.
       Turning now to the specific claim rejections, claim 1, as amended for clarity and not
patentability, requires among other things that "each of said first, second, and third functions
simultaneously represented in said menu area being activated by the single step of a blunt object
moving in a direction from a starting point that is the representation of the corresponding one of
said first, second, and third functions in said menu area to said display area being detected by
said touch sensitive area." In rejecting independent claim 1, the USPTO asse1is that the Carlson
publication teaches this step by viliue of the Palm OS's bottom-of-screen-to-top-of-screen


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single-stroke shortcut described above that allows a user to activate a single pre-selected feature
of a small set of available features.
        Two points regarding the Palm OS single-stroke shmicut are in order. First, the stroking
movement is not linked at all to a corresponding representation of the feature activated by the
stroke. In other words, the shortcut stroke itself has no relation whatsoever to the presence of
representations in the menu area. Again, it is simply a shmicut set to the user's preference
without regard to any representations being in the menu area. Second, the shortcut stroke must
start in the Graffiti region. If the stroke is staiied over one of the icons to the left or right of the
Graffiti region, the feature set as a preference will not start. Furthermore, none of the features
(home, menu, calculator, find) having a representation outside the Graffiti region can be
activated using the shortcut stroke. Again, the only features that the Palm OS allows for
assigning to the shortcut stroke are the backlight, keyboai·d, Graffiti-help, tum-off-and-lock, and
beam-data features, and only one feature can ever be activated using the shortcut stroke without
the user changing the preference selected.
        In view of the foregoing, it is clear that the Cai·lson publication does not disclose or
suggest the limitation of claim 1 of "each of said first, second, and third functions simultaneously
represented in said menu area being activated by the single step of a blunt object moving in a
direction from a starting point that is the representation of the corresponding one of said first,
second, and third functions in said menu area to said display area being detected by said touch
sensitive area." Emphasis added. More pmiicularly, the Carlson publication does not disclose or
suggest that each of three functions having simultaneous representations in the menu area can be
activated by the single step movement nor that the movement starts on the corresponding
representation of the function to be activated.
        Also in rejecting independent claim 1, the USPTO asserts that "Conrad teaches activating
by a single step of an object moving in a direction from a starting point that is [the]
representation of the function in the menu area to the display area" and directs Applicai1tto
Figure 2 and col. 2, lines 15-62 of the Comad patent in support of this asserted teaching.
Applicm1t respectfully disagrees that the Conrad patent teaches this.
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       Applicant has reviewed the cited passage at col. 2, lines 15-62 of the Conrad patent and
fails to find any mention of activating by moving an object away from a menu area into a display
area. In fact, the Conrad patent appears to teach the opposite. The cited passage teaches opening
for viewing a window "parked" in the drawer region (which is at the bottom of the screen) in
three ways: 1) clicking in the drawer identifier (menu title bar); 2) dragging the cursor from the
display region above the drawer identifier into the identifier; and 3) dragging an object desired to
be placed in the parked window from the display region above the drawer identifier into the
identifier. None of these actions involves movement of an object from a representation of a
function in a menu area to a display area. In fact, all three disclosed movements are in the
opposite direction relative to the direction of movement in claim 1.
       This is further supported by Figures 1 and 2 of the Conrad patent. According to the
written description of Figures 1 and 2 appearing at col. 5, line 64 to col. 6, line 23, of the Conrad
patent, Figure 1 illustrates a path (6) along which a user moves a cursor (5) from a window
region (8) of a desktop (20) toward a drawer region (9) (specifically, drawer D2 in this exan1ple)
in anticipation of opening the window (200 in FIG. 2) corresponding to drawer D2. As
explained at col. 6, lines 21-23, of the Conrad patent in com1ectionwith FIG. 2, window 200 is
opened in response to tl1euser moving the cursor 5 into the drawer region 9, specifically drawer
D2. Window 200 is moved off screen, i.e., the drawer is closed, by the user moving the cursor 5
along the path (203) illustrated in Figure 2.
       Generally drawing parallels between tl1ewindow (drawer) opening and closing
functionality disclosed in the Conrad patent and the function-opening functionality of the
movement described in claim 1 (and setting aside the fact that the cursor (5) of the Conrad patent
is not a user's thumb), it is readily seen that the corresponding respective movements are
opposite one another. In Conrad, a window (drawer) is opened by moving a cursor toward and
into the drawer region from the window region, and in present claim 1, a function is activated by
moving an object (finger) from the menu area into the display area. Consequently, Applicant
respectfully submits that the Conrad patent, in fact, does not disclose or suggest the step of
activating a function by moving a blunt object "in a direction from a starting point that is the
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representation of the corresponding one of said first, second, and third functions in said menu
area to said display area." Furthermore, the Conrad patent is completely silent on the movement
being of a "blunt object" and "being detected by said touch sensitive area," as also required by
amended claim 1.
        For at least the foregoing reasons, Applicant respectfully submits that neither amended
independent claim 1, nor claims 4-7, 12, 15 and 17 that depend therefrom, are rendered obvious
in view of the applied combination.
        Regarding claim 4, this claim requires among other things the limitation of "if a text
passage in said active application is highlighted, said text passage is displayed in said text field
for editing through said keyboard." In contrast, the Palm OS does not display the highlighted
text as a function of the highlighting but rather as a function of which data field is active when
the keyboard is opened. For example, in the Palm address application, if an address field is
selected when the keyboard is opened, the keyboard displays the contents of that field, regardless
of whether or not it contains any text and whether or not text is highlighted. Since the Carlson
publication does not disclose or suggest the limitation of "if a text passage in said active
application is highlighted, said text passage is displayed in said text field for editing through said
keyboard," dependent claim 4 is not rendered obvious by the applied combination for at least this
additional reason.
       Regarding dependent claim 5, this claim requires among other things the limitation that
"said second function can be closed, in which a choice of saving or deleting said inputted text is
given, where the choice of saving said inputted text results in an activation of said first function."
[Emphasis added.] The keyboard function of the Palm OS does not give the user a choice of
saving or deleting in connection with the second function (i.e., keyboard) being closed. Rather,
when a user closes the keyboard of the Palm OS, the contents of the keyboard text field will
automatically be input to text field that was active when the user opened the keyboard. The Palm
OS does not provide any choices upon closing the keyboard. In addition, since there is no choice
of saving in the Palm OS, a fortiori, there also is no activation of a first function as a result of the
choice of saving as also required by the above-recited limitation of claim 5. Regarding the
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USPTO's asse1iion in item 3 on page 5 of the current Office Action that the "beam memo"
feature has relevance to the recited limitation, Applicant respectfully asserts that this feature
must be manually selected by the user, either using a drop-down menu in the memo application
of the Palm OS or using the shortcut stroke discussed above. For at least these additional
reasons, the applied combination cannot render obvious dependent claim 5.
       Regarding dependent claim 6, the claim requires among other things the limitation of "a
selection of an application will start said application, and that a selection of a file will open said
file in an application intended for said file." [Emphasis added.] In rejecting this claim, the
USPTO directs Applicant to page 47 and Figure 2.35 of the Carlson publication. However,
Figure 2.35 clearly shows that the Palm OS only displays applications in a list, not files.
Therefore, Carlson fails to disclose or suggest at least the limitation of claim 6 that the selection
of a file will open that file in an application intended for the file. Moreover, the USPTO is
reminded that there is no teaching or suggestion in any of the references of the applied
combination for opening a third function (file and task manager) as discussed above relative to
claim 1. For at least these additional reasons, dependent claim 6 is not rendered obvious by the
applied combination.
        Regarding claim 7, this claim requires among other things the limitation that "a selection
of an application or file is done by moving the blunt object so that a representation of a desired
one of said application or file is highlighted, removing said object from said touch sensitive area,
and then tapping on said touch sensitive area." [Emphasis added.] In rejecting this claim, the
USPTO directs Applicant to pages 26 and 27 of the Carlson publication. Applicant respectfully
disagrees that the Palm OS that is the subject of the Carlson publication works in the manner
expressed in the above excerpt from claim 7.
        An important distinction needs to be made here. Other than the Graffiti feature, the Palm
OS provides, for all intents and purposes, a pointer-based touchscreen interface in which a stylus
(or other fine-tipped object) is used to make menu selections, initiate applications, drag scroll-
bars, etc. by touching the stylus to the screen at precisely the desired location. (In this
connection, while a finger can be used in the Palm OS for at least some functions, there are many
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instances when the proper response can be had only by very carefully using one's fingernail, as
opposed to the fleshy tip of the finger. The Palm OS is certainly not designed for low-precision
navigation as is the interface of the present invention.)
       In the Palm OS, to select a desired option from a dropdown menu containing a list of
options, the user typically simply taps the stylus on the touchscreen precisely at the location of
the desired option. See page 26 of the Carlson publication that describes the "tap" function.
When the user taps the touchscreen at the desired option, the selected option is briefly
highlighted before the corresponding function is performed. If the user holds the stylus on the
touchscreen over an option, that option remains highlighted until the user either slides the stylus
on the touchscreen out of the region over the option or, with the stylus still over the option,
removes the stylus from the touchscreen. The former does not cause the function corresponding
to the initially highlighted option to be performed. In fact, in a list of options, the user may move
the stylus from one to another while still touching the touchscreen, and all that will happen is that
each will become highlighted whenever the stylus is over that option. However, the latter, i.e.,
the removing of the stylus from the region over the option, causes the coITesponding function to
be executed. In other words, an option is selected by the removal of the stylus from the screen
while the option is highlighted.
       Returning to the above-quoted excerpt from claim 7, that language clearly requires that
after the application or file is highlighted, the object is removed from the touch sensitive area.
Then, the selection of the application or file is made by then tapping on the touch sensitive area.
The Palm OS clearly does not work this way. In the Palm OS, when the user highlights an item,
it is selected by the mere removal of the object from touchscreen. There simply is no follow-on
tapping, because the removal of the object has already caused the selection. Therefore, the
Carlson publication does not teach at least the highlighting, object removal and tapping sequence
required by claim 7. For at least this additional reason, claim 7 is not rendered obvious by the
applied combination.
       Regarding dependent claim 12, this claim as an1ended requires among other things the
limitation that "an active application, function, service or setting is moved on one step by
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moving said blunt object from the left of said display area to the right of said display area, and
that the active application, function, service or setting is closed or backed one step by moving
said blunt object from the right of said display area to the left of said display area." [Emphasis
added.] In rejecting this claim, the USPTO directs Applicant to the horizontal scroll bar feature
in the TealDoc application described on page 246 of the Carlson publication. As seen in
FIG. 14.2 of the Carlson publication, the TealDoc application presents a horizontal conventional-
type scroll bar near the bottom of the display screen. As seen in that figure, the scroll slider the
user must drag with a fine-tipped object (e.g., stylus) is relatively very small. When the user
drags the slider with the fine-tipped object, the displayed text scrolls up or down, depending on
the direction the user drags the slider.
        Applicant respectfully asserts that the TealDoc scrolling feature does not correspond to
the limitation recited in claim 12. First, Applicant respectfully asserts that scrolling through a
document, which is a continuous, flowing process during the drag of the slider, cannot
reasonably be said to be "moving on one step" or "backed one step," each of which is inherently
a discrete action. Second, Applicant respectfully asserts that due to the very small size of the
TealDoc slider, the scrolling in fact caimot be accomplished using a blunt object. The slider is
very small and requires the user to precisely locate a fine-tipped object within the boundary of
the slider so that the user can drag the slider. Third, claim 12 requires that the object be moved
from the left of the touchscreen to the right of the touchscreen. The TealDoc scroll bar does not
start ai1ywhere near the left of the touchscreen, but rather it starts near the center of the
touchscreen. Because the Carlson publication does not disclose or suggest at least these
limitations of dependent claim 12, the foregoing reasons are additional reasons why the applied
combination cannot render obvious this claim.
        Regarding claim 15, this claim as amended requires among other things the limitation
that "said enclosure is provided with ai1opening for said display area, and that a representation
of said menu area is printed on top of said enclosure." [Emphasis added.] In rejecting this
claim, the USPTO directs Applicant to the portion of page 12 of the Carlson publication directed
to the silkscreened Graffiti area at the bottom of the touchscreen of the Palm device. Applicai1t
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respectfully disagrees that the silkscreened Graffiti area corresponds to the limitations of
claim 15.
         The Carlson publication, on page 12, states that the "Graffiti input area and the buttons
on either side of it are printed on a layer of glass by a silkscreening process." Upon review of a
Palm device, particularly a Palm Ilic device, it appears that the layer of glass is part of the entire
touchscreen (including both the menu area and display area). Therefore, it is Applicant's
position that it is not reasonable to refer to this layer of glass as an "enclosure ... provided with
an opening for said display area," as required by claim 15, because it is in fact part of the display
area and indeed paii of the entire touchscreen. Since the Palm glass layer is not an enclosure, the
Carlson publication also does not disclose or suggest an enclosure having a "of said menu area is
printed on top of said enclosure" as also required by claim 15. Because the Carlson publication
does not disclose or suggest at least these limitations of amended dependent claim 15, the
foregoing reasons are additional reasons why the applied combination cannot render obvious this
claim.
         For at least the foregoing reasons, Applicant respectfully requests withdrawal of the
present rejection.

Carlson/MUic-Frayling/Conrad/Kopitzke
         Claims 2 ai1d3 stand rejected under 35 U.S.C. § 103(a) as being obvious in view of a
combination of the Carlson publication, the Milic-Frayling publication, the Conrad patent and
U.S. Patent No. 6,988,246 to Kopitzke et al. ("the Kopitzke patent"). Applicant respectfully
disagrees.
         The teachings of each of the Carlson publication, the Milic-Frayling publication and the
Conrad patent are as described above relative to the rejection in view of the Carlson/Milic-
Frayling/Conrad combination.
         The Kopitzke patent discloses a device ai1da software application that together present a
touch sensitive user interface for monitoring systems aboard an aircraft. The application displays
various screens and menus that change depending on what system a user desires to monitor. The

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user interface displays an onscreen help key or button (6) that is displayed regardless of the
contents of the display area (2).
        Turning now to the rejected claims, it is noted that claims 2 and 3 both depend from
claim 1. As discussed above relative to the rejection in view of the Carlson/Milic-Frayling/
Conrad combination, claim 1 is not obvious in view of that combination because the combination
lacks a number of the limitations of claim 1. The Kopitzke patent does not disclose or suggest
the limitations missing from the Carlson/Milic-Frayling/Comad combination. Therefore,
claims 2 and 3 are not obvious in view of the present Carlson/Milic-Frayling/Comad/Kopitzke
combination.
        For at least this reason, Applicant respectfully requests withdrawal of the present
rejection.

Carlson/Milic-Frayling/Conrad/Wynn
        Claims 8-11 stand rejected under 35 U.S.C. § 103(a) as being obvious in view of a
combination of the Carlson publication, the Milic-Frayling publication, the Conrad patent and
U.S. Patent No. 6,734,883 to Wynn et al. ("the Wynn patent"). Applicant respectfully disagrees.
        The teachings of each of the Carlson publication, the Milic-Frayling publication and the
Conrad patent are as described above relative to the rejection in view of the Carlson/Milic-
Frayling/Conrad combination.
        The Wynn patent discloses a graphical user interface control that allows a user to "spin"
forward and backward through a list of items while the interface displays preview and postview
segments of the list. According to the Wynn patent, by providing visible access to the upcoming
and recently past selections, the user can operate the spin control at a higher speed, thereby
increasing efficiency.
        Turning now to the rejected claims, it is noted that claims 8-11 each depend from claim 1.
As discussed above relative to the rejection in view of the Carlson/Milic-Frayling/Comad
combination, claim 1 is not obvious in view of that combination because the combination lacks a
number of the limitations of claim 1. The Kopitzke patent does not disclose or suggest the

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limitations missing from the Carlson/Milic-Frayling/Conrad combination. Therefore, claims 8-
11 are not obvious in view of the present Carlson/Milic-Frayling/Conrad/Wynn combination.
        Looking now more specifically at the claims individually, dependent claim 8 requires
among other things that "a top area of said list presents a field through which the content of said
list can be altered, that, if said list only presents files, said field displays a representation of a task
manager and a selection of said field will cause said list to alter to present only applications, and
that, if said list only presents applications, said field displays a representation of a file manager
and a selection of said field will cause said list to alter and present only files." [Emphasis
added.] In rejecting this claim, the USPTO directs Applicant to col. 3, lines 4-8, of the Wynn
patent and asserts that the Wynn dialog box 32 is a field through which the content of a list can
be altered in the manner required by claim 8. Applicant respectfully disagrees.
        A careful reading of claim 8 counsels that the "field" of the claim is used to toggle the
content of the list between applications and files. When a representation of a task manager
appears in this field, the list displays files, and when a representation of a file manager appears in
the field, the list displays applications. When a user selects the field (which contains a
representation of either a task manager or file manager), the field toggles to the opposite
representation (i.e., from file manager to task manager, or vice versa) and the list toggles to the
opposite type list (i.e., from applications to files, or vice versa).
        In contrast Wynne et al. describe dialog box 32 (i.e., ''field") of the Wynn patent as being
a place for a user to either type in a choice or populate using a drop-down menu of choices.
Col. 3, lines 8-14. The Wynn patent also discloses that this dialog box, or field, has a label 31
identifying what the field is for, e.g., URLs, file to open, locations visited, etc. Col. 3, lines 6-32.
Applicant respectfully asserts that the Wynn patent does not disclose the "toggling" inherent in
claim 8 as noted above. Regardless of what a user inputs into dialog box 32 and regardless of
how label 31 is changed (which it is not for a given dialog box because it is simply a static label),
the character of the list co1Tespondingto the dialog box never toggles from application to file.
Because the Wynn patent does not disclose or suggest what the USPTO asse1is, for at least this


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additional reason, the Carlson/Milic-Frayling/Conrad/Wynn combination cannot render obvious
claim 8.
        In addition, the undersigned notes he is confused by the rejection in that the text of the
rejection in item 10 on page 9 of the current Office Action appears to assert that the dialog box
32 corresponds to the "field" of claim 8 and that this field displays a label (31), which
corresponds to the "representation" of claim 8. The undersigned respectfully asse1is this
construction of the Wynn teachings does not appear to make sense in the context of claim 8.
Claim 8 requires the field (dialog box) to display the representation (label). However, in the
Wynn patent, the dialog box does not display the label, rather the label is displayed adjacent to
the dialog box. Thus, the undersigned believes there is an internal discrepancy within the
rejection.
        Regarding dependent claim 9, this claim as amended requires among other things the
limitation that "a navigation in said list is perfonned by moving said blm1t object in a direction
towards the top of said list or towards the bottom of said list, that the movement of said blunt
object will cause said marking to move in the same direction, and that the speed of movement of
said marking is lower than the speed of movement of said blunt object." [Emphasis added.] In
rejecting this claim, the USPTO asserts that col. 3, lines 32-39, and Figure 5 of the Wynn patent
disclose moving of the blm1t object to navigate in the list and that col. 4, lines 24-30, discloses
the differing speed aspect of the claim. Applicant respectfully disagrees.
        As for the Wynn patent's teachings at col. 3, lines 32-39, all Wynn et al. disclose there is
that a user can select an item using a cursor-type pointer or an anow or tab key. There is no
mention whatsoever that the navigation is performed with a blunt object. As for the Wynn
patent's teachings at col. 4, lines 24-30, all that Wynn et al. state there is that conventional
graphical user interface controls can be difficult to operate rapidly due to the inability of the user
to scroll through a list and select a choice at the same speed as the computer can print the choices
to the screen. There is absolutely no mention of any relationship between the speed of moving a
blunt object along a touch sensitive region and the speed at which a marking in a list is moved.
Because the Wynn patent does not disclose or suggest at least these limitation of claim 9, the
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Carlson/Milic-Frayling/Conrad/Wynn combination cannot render obvious this claim for these
additional reasons.
       Regarding dependent claim 10, this claim as amended requires among other things the
limitation that "if said blunt object is positioned at the bottom of said display area, replaced on
said display area, and then again moved to the bottom of said display area, the content of said
display area will be replaced by the following applications and/or files in said list." [Emphasis
added.] In rejecting this claim, the USPTO asserts that the "Full Page Up" feature described on
page 253 of the Carlson publication c01Tespondsto the above-quoted excerpt from claim 10.
Applicant respectfully disagrees.
        As discussed above in detail relative to the rejection of claim 7 in view of the
Carlson/Milic-Frayling/Conrad combination, the Palm OS activates a selection upon removal of
an object from the touchscreen. This is typically done in the f01m of a tap (i.e., a rapid contact
and withdraw movement) using a stylus. In connection with the split-screen scroll options
described on page 253 of the Carlson publication, Carlson indeed describes the split-screen
regions as "letting you control the amount of scrolling based on where you !fil2." [Emphasis
added.] Thus, the mere movement of a blunt object to the bottom of the display area as required
by claim 10 will, in fact, not cause the scrolling effect. Rather, the scrolling will not occur until
the object is lifted. Since the Carlson publication does not disclose or suggest this feature of
claim 10 as asserted, the Carlson/Milic-Frayling/Conrad/Wynn combination cannot render
obvious this claim for this additional reason.
        For at least the foregoing reasons, Applicant respectfully requests withdrawal of the
present rejection.

Carlson/Milic-Frayling/Conrad/Design Choice
        Claim 13 stands rejected under 35 U.S.C. § 103(a) as being obvious in view of a
combination of the Carlson publication, the Milic-Frayling publication, the Conrad patent and
design choice of someone of ordinary skill in the mi at the time of the invention. Applicant
respectfully disagrees.

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       Claim 13 depends from claim 1. As discussed above relative to the rejection in view of
the Carlson/Milic-Frayling/Conrad combination, claim 1 is not obvious in view of that
combination because the combination lacks a number of the limitations of that claim. Since
claim 13 depends from claim 1, claim 13 is not obvious in view of the present Carlson/Milic-
Frayling/Conrad/Design Choice combination. Therefore, Applicant respectfully requests
withdrawal of the present rejection.

Carlson/Milic-Frayling/Conrad/Strietelmeier
       Claims 14 and 16 stand rejected under 35 U.S.C. § 103(a) as being obvious in view of a
combination of the Carlson publication, the Milic-Frayling publication, the Conrad patent and
Strietelmeier, Julie, "Palm ml00," The Gadgeteer, 2000 ("the Strietelmeier publication").
Applicant respectfully disagrees.
       The teachings of each of the Carlson publication, the Milic-Frayling publication and the
Conrad patent are as described above relative to the rejection in view of the Carlson/Milic-
Frayling/Conrad combination.
       The Strietelmeier publication describes features of the Palm ml 00 personal digital
assistant that runs the same stylus-based Palm OS 3.5 described in the Carlson publication
discussed above. The Strietelmeier publication lists that the area of the display of the mlO0
device is 2.675 in. x 1.965 in. (which yields a diagonal dimension of about 3.32 in.). The display
area of the mlO0 device is the smallest of the five devices listed in the Strietelmeier publication.
       Turning to the rejected claims, claim 14 depends from claim 1, and claim 16 incorporates
limitations from claim 1 via claim 15 from which claim 16 depends. As discussed above relative
to the rejection in view of the Carlson/Milic-Frayling/Conrad combination, claim 1 is not
obvious in view of that combination because the combination lacks a number of the limitations
of that claim. The Strietelmeier publication does not disclose or suggest the limitations missing
from the Carlson/Milic-Frayling/Conrad combination. Since claim 14 depends from claim 1 and
claim 16 incorporates limitations of claim 1, claim 14 and 16 are not obvious in view of the
present Carlson/Milic-Frayling/Comad/Strietelmeier combination.

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        In addition, specifically regarding claim 14, this claim as amended requires that the touch
sensitive area have "a size that is 2-3 inches in diagonal dimension, and that said user interface is
adapted to be operated by one hand when the mobile handheld computer unit is held in the one
hand, wherein said blunt object is a thumb of the one hand." [Emphasis added.] Regarding the
area of the touch sensitive area, the 3.32 in. diagonal dimension of the mlO0 device is larger than
the 3 in. upper end of the claimed range. While 0.32 in. may not on its face seem to be much of
a difference, Applicant notes that the difference is in fact substantial when the device is used in
the manner of claim 14, i.e., cradled in one hand and operated by the fleshy pmi of the thumb of
that smne hand for true single-hand operation. If the Exan1iner has access to any of the Palm
devices the Strietelmeier publication lists (i.e., the mlO0, III/Hix, V and Ille devices), Applicant
respectfully requests that the Examiner try to operate that Palm device in a truly one-handed
manner using the fleshy part of the holding hand to use the touchscreen. Applicant believes the
Examiner will find that it is challenging and awkward to access the touchscreen with the thumb
in any meaningful manner. Applicant respectfully requests that this experience be compared to
the video demonstration mentioned above that is available at the \vww.neonode.com Website.
        Regarding the limitations of claim 14 directed specifically to the holding of the computer
unit in one hand and navigating using the fleshy part of the thumb of that same hand, Applicant
again respectfully points out that the Palm OS is intended to be used with a stylus or other fine-
tipped object. The designers of the Palm OS clearly did not intend the use of a blunt object,
especially the fleshy part of a thumb. If the fleshy pmi of the thumb works at all on a device
running the circa-version-3.5 of the Palm OS, it is usually by mere luck that the user selects a
desired action using that part of the thumb. Since the Strietelmeier publication does not disclose
or suggest the features of claim 14 as asse1ied, the Carlson/Milic-Frayling/Conrad/
Strietelmeier combination cannot render obvious this claim for this additional reason.
        For at least the foregoing reasons, Applicm1trespectfully requests withdrawal of the
present rejection.



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Carlson/Milic-Fl'llyling/Conrad/Chew
       Claim 18 stands rejected under 35 U.S.C. § 103(a) as being obvious in view of a
combination of the Carlson publication, the Milic-Frayling publication, the Conrad patent and
U.S. Patent No. 5,956,030 to Chew et al. ("the Chew patent"). Applicant respectfully disagrees.
       Claim 18 incorporates limitations from claim 1 via its dependency from claim 17. As
discussed above relative to the rejection in view of the Carlson/Milic-Frayling/Comad
combination, claim 1 is not obvious in view of that combination because the combination lacks a
number of the limitations of that claim. Since claim 18 includes limitations of claim 1, claim 18
is not obvious in view of the present Carlson/Milic-Frayling/Comad/Chew combination.
Therefore, Applicant respectfully requests withdrawal of the present rejection.

New Claims 19-47
       Applicant has added new claims 19-47 on the belief they are enabled by the original
application and are patentable over the references of record. Applicant respectfully requests that
the Examiner take appropriate action on these new claims.

                                         CONCLUSION
       In view of the foregoing, Applicant submits that claims 1-47, as amended and newly
presented, are in condition for allowance. Therefore, prompt issuance of a Notice of Allowance
is respectfully solicited. If any issues remain, the Examiner is encouraged to call the
undersigned attorney at the number listed below.




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                                     Respectfully submitted,

                                     MAGNUS GOERTZ




                                          0
                                        Registration No.: 44,756

                                        Downs Rachlin Martin PLLC
                                        Tel: (802) 863-2375
                                        Attorneys for Applicant


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                             Electronic Patent Application Fee Transmittal
Application Number:                                 10315250


Filing Date:                                        10-Dec-2002




Title of Invention:                                 User interface




First Named Inventor/Applicant      Name:           Magnus Goertz


Filer:                                              Morgan Heller/Karen Jeffer


Attorney Docket Number:                             3682-32


Filed as Small Entity


Utility         Filing Fees

                                                                                               Sub-Total in
                         Description                      Fee Code        Quantity    Amount
                                                                                                 USO($)

Basic Filing:


Pages:


Claims:


                     Claims in excess of 20                   2202               27     25         675


                Independent claims in excess of 3             2201               5     105         525


Miscellaneous-Fi Iing:


Petition:


Patent-Appeals-and-Interference:


Post-Al Iowance-and-Post-lssu ance:
           Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 540 of 745
                                                                              Sub-Total in
                     Description               Fee Code   Quantity   Amount
                                                                                USO($)

Extension-of-Time:


            Extension - 1 month with $0 paid     2251        1         60         60


Miscellaneous:


                                                    Total in USD ($)          1260
            Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 541 of 745
                                 Electronic Acknowledgement Receipt

                       EFSID:                            3002818


               Application Number:                       10315250


        International Application Number:

               Confirmation Number:                      1226




                  Title of Invention:                    User interface




      First Named Inventor/Applicant Name:               Magnus Goertz


                  Customer Number:                       23117


                        Filer:                           Morgan Heller/Karen Jeffer


                Filer Authorized By:                     Morgan Heller


            Attorney Docket Number:                      3682-32


                    Receipt Date:                        14-MAR-2008


                     Filing Date:                        10-DEC-2002


                    Time Stamp:                          16:16:21


                  Application Type:                      Utility under 35 USC 111(a)


Payment information:
Submitted with Payment                                   yes
Payment Type                                            Credit Card
Payment was successfully received in RAM                $1260
RAM confirmation Number                                  1756
Deposit Account                                          041588
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The Director of the USPTO is hereby authorized to charge indicated fees and credit any overpayment as follows:
      Charge any Additional Fees required under 37 C.F.R. Section 1.21 (Miscellaneous fees and charges)
          Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 542 of 745
File Listing:
Document                                                                           File Size(Bytes)                       Multi       Pages
               Document Description                       File Name
 Number                                                                           /Message Digest                        Part /.zip (if appl.}

                                                                                               50721
     1            Power of Attorney                        POA.pdf                                                          no           2
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Warnings:
Information:

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     2            Extension of Time                PetitionExtensionTime.pdf                                                no           1
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                                      Multipart Description/PDF files in .zip description

                             Document Description                                              Start                              End


                      Amendment - After Non-Final Rejection                                         1                              1


                                        Claims                                                     2                              14


                Applicant Arguments/Remarks Made in an Amendment                                  15                              32

Warnings:
Information:

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     4         Fee Worksheet (PTO-06)                     fee-info.pdf                                                      no           2
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                                                 Total Files Size (in bytes):                                      1943140
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shown on this Acknowledgement Receipt will establish the filing date of the application.

National Stage of an International Application under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions
of 35 U.S.C. 371 and other applicable requirements a Form PCT/DO/EO/903 indicating acceptance of the
application as a national stage submission under 35 U.S.C. 371 will be issued in addition to the Filing Receipt,
in due course.

New International Application Filed with the USPTO as a Receiving Office
If a new international application is being filed and the international application includes the necessary
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Receipt will establish the international filing date of the application.
    Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 544 of 745




                                                                                           PATENT

              IN THE UNITED STATES PATENT AND TRADEMARK OFFICE


   Inventor: Magnus Goertz

   Assignee: Neonode AB

   Serial No.: 10/315,250

   Filed: December 10, 2002

   Title: User Interface


   Attorney Docket No.: 12511-00003 (New)
                        3682-32 (Previous)



   Commissioner for Patents
   P.O. Box 1450
   Alexandria, VA 22313-1450

                       REVOCATION OF POWER OF ATTORNEY AND
                           APPOINTMENT OF NEW ATTORNEY

        Assignee of record of the entire interest for the above-identified application hereby
   revokes any other previous powers of attorney, and appoints: Lawrence H. Meier, Esq.,
   Registration No. 31,446, and Morgan S. Heller II, Registration No. 44,756, attorneys with the
   firm of Downs Rachlin Martin PLLC, and members of the Bar of the State of Vermont, as its
   attorneys, with the full power of association, revocation and substitution, to transact all
   business in the U.S. Patent and Trademark Office in connection therewith.
        Please change the correspondence address for the above-identified application to the
   address associated with Customer Number 21918.



P225-02/04
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     Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 545 of 745




                                                                                  PATENT
                                    Respectfully submitted,

                                    NEONODEAB




   Date:      10/3/2008   By:____________                   _
                                    Name: Magnus Goertz
                                    Title: CTO
                                    Address: Biblioteksgatan 11, Ltr.
                                             Stockholm, Sweden 11146




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                                                                                                                                                  PTO/SB/22 (01-08)
                                                                                                            Approved for use through 03/31/2008, 0MB 0651-0031
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  PETITION FOR EXTENSION OF TIME UNDER 37 CFR 1.136(a)                                                   Docket Number (Optional)

                                             FY 2008                                                        12511-00003
            Fees pursuant to the Consolidated Appropriations Act, 2005 H.R. 4818).

  Application Number            10/315,250                                                               Filed    12/10/2002
  For    UserInterface
  ArtUnit        2174                                                                                    Examiner        RyanF. Pitaro
  This is a request under the provisions of 37 CFR 1.136(a) to extend the period for filing a reply in the above identified
  application,
  The requested extension and fee are as follows (check time period desired and enter the appropriate fee below):
                                                                                  Fee                      Small Entit'.)!'.
                                                                                                                         Fee
             CZ] One month (37 CFR U7(a)(1))                                    $120                               $60                     $      60.00

            □       Two months (37 CFR 1.17(a)(2))                              $460                              $230                     $


            □       Three months (37 CFR 1.17(a)(3))                           $1050                              $525                     $


            □       Four months (37 CFR 1.17(a)(4))                            $1640                              $820                     $


            □       Five months {37 CFR 1.17(a)(5))                            $2230                             $1115                     $

        Applicant claims small entity status. See 37 CFR 1.27.

        A check in the amount of the fee is enclosed.

        Payment by credit card. Form PTO-2038 is attached.

        The Director has already been authorized to charge fees in this application to a Deposit Account.

        The Director is hereby authorized to charge any fees which may be required, or credit any overpayment, to
        Deposit Account Number 04-1588                        , I have enclosed a duplicate copy of this sheet.
        WARNING: Information on this form may become public. Credit card information should not be included on this form.
        Provide credit card information and authori.:ation on PTO-2038.

   I am the                 applicant/inventor.

                            assignee of record of the entire interest. See 37 CFR 3.71.
                               Statement under 37 CFR 3.73(b) is enclosed (Form PTO/SB/96).
                            attorney or agent of record. Registration Number---'4'-'4-'-7-=--5"'"6
                                                                                          _____                                      _

                            attorney or agent undeJ 37. CFR 1.34.
                                 Registrationz~r,                  under 37 CFR 1.34


                                                                                                                           3/14/2008
                                                                                                                                    Date

                          MorganS. HellerII                                                                            802-863-2375
                                      Typed or printed name                                                                Telephone Number

 NOTE: Signatures of all the inventors or assignees of record of the entire interest or their representative(s) are required. Submit multiple forms if more than one
 signature is required, see below.

   [Z] Total of                                              forms are submitted.
This collection of information is required by 37 CFR 1.136(a), The information is required to obtain or retain a benefit by the public which is ta file (and by the
US PTO to process) an application. Confidentiality is governed by 35 U.S.C. 122 and 37 CFR 1. 11 and 1.14. This collection is estimated to take 6 minutes to
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     PATENT APPLICATION FEE DETERMINATION RECORD                                                       Application or Docket Number      Filing Date
                                     Substitute   for Form PTO-875                                              10/315,250              12/10/2002          □   To be Mailed


                             APPLICATION AS FILED - PART I                                                                                             OTHER THAN
                                                    (Column 1)                     (Column 2)               SMALL      ENTITY     IZI   OR             SMALL   ENTITY

                      FOR                         NUMBER FILED                  NUMBER EXTRA              RATE($)          FEE($)            RATE($)             FEE($)

 0     BASIC FEE                                       N/A                            N/A                   N/A                                 N/A
       (37 CFR 1.16(a), (b), or (c))

 □     SEARCH FEE                                      N/A                            N/A                   N/A                                 N/A
       (37 CFR 1.16(k), (i), or (m))

 □     EXAMINATION FEE                                 N/A                            N/A                   N/A                                 N/A
       (37 CFR 1.16(0), (p), or (q))
 TOTAL CLAIMS
                                                          minus 20 =        *                             X $      =                    OR   X $        =
 (37 CFR 1.16(i))
 INDEPENDENT CLAIMS
                                                             minus 3 =      *                             X $      =                         X $        =
 (37 CFR 1.16(h))
                                              If the specification and drawings exceed 100
                                              sheets of paper, the application size fee due
 □APPLICATION SIZE FEE                        is $250 ($125 for small entity) for each
      (37 CFR 1.16(s))
                                              additional 50 sheets or fraction thereof. See
                                              35 U.S.C. 41 (a)(1)(G) and 37 CFR 1.16(s).

 □     MULTIPLE DEPENDENT CLAIM PRESENT (37 CFR 1.16U))

 * If the difference in column 1 is less than zero, enter "0" in column 2.                                 TOTAL                              TOTAL

                         APPLICATION AS AMENDED- PART II
                                                                                                                                                   OTHER THAN
                                     (Column 1)                       (Column 2)          (Column 3)            SMALL    ENTITY         OR             SMALL   ENTITY
                                 CLAIMS                          HIGHEST
                                 REMAINING                       NUMBER                   PRESENT                       ADDITIONAL                             ADDITIONAL
I-      03/13/2008               AFTER                           PREVIOUSLY                EXTRA
                                                                                                          RATE($)
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z                                AMENDMENT                       PAID FOR
w       Total      (37 CFR
~       1.16(i))                 • 47                 Minus      **    20             =                   X $      =                    OR   X $        =
0       Independent
z       137 CFR 1.16/h\\         *   8                Minus      ***3                 =                   X $      =                    OR   X $        =
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        D Application Size Fee (37 CFR 1.16(s))
        □      FIRSTPRESENTATION
                               OF MULTIPLEDEPENDENTCLAIM(37 CFR 1.16(j))                                                                OR

                                                                                                          TOTAL                              TOTAL
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                                                                                                          FEE                                FEE
                                     (Column 1)                       (Column 2)          (Column 3)
                                   CLAIMS                          HIGHEST
                                  REMAINING                        NUMBER                 PRESENT                       ADDITIONAL                             ADDITIONAL
                                                                                                          RATE($)                            RATE($)
                                    AFTER                        PREVIOUSLY                EXTRA                        FEE($)                                   FEE($)
                                 AMENDMENT                        PAID FOR
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z       Total      (37 CFR
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                               OF MULTIPLEDEPENDENTCLAIM(37 CFR 1.16(j))                                                                OR

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                                                                                                          FEE                                FEE
 * If the entry     in column 1 is less than the entry in column 2, write "0" in column 3.
                                                                                                           Legal Instrument Examiner:
 ** If the "Highest Number Previously Paid For" IN THIS SPACE is less than 20, enter "20".
                                                                                                           /JAMES F. ELLIOTT/
 *** If the "Highest Number Previously Paid For" IN THIS SPACE is less than 3, enter "3".
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                Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 548 of 745
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   APPLICATION NO.             FILING DATE                     FIRST NAMED INVENTOR   ATTORNEY DOCKET NO.               CONFIRMATION NO.

       10/315,250               12/10/2002                         Magnus Goertz            3682-32                             1226

       23117            7590                 11/14/2007
                                                                                                           EXAMINER
       NIXON & VANDERHYE, PC
       901 NORTH GLEBE ROAD, 11TH FLOOR                                                                 PITARO, RY AN F
       ARLINGTON, VA 22203
                                                                                           ART UNIT                       PAPER NUMBER

                                                                                              2174



                                                                                           MAIL DATE                     DELIVERY MODE

                                                                                           11/14/2007                          PAPER


Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.




PTOL-90A (Rev. 04/07)
                        Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 549 of 745
                                                                                    Application No.                               Applicant(s)

                                                                                     10/315,250                                   GOERTZ, MAGNUS
                      Office Action Summary                                         Examiner                                      Art Unit
                                                                                    Ryan F. Pitaro                                2174
                 -- The MAILING DA TE of this communication appears on the cover sheet with the correspondence address --
  Period for Reply
        A SHORTENED STATUTORY PERIOD FOR REPLY IS SET TO EXPIRE ;l_MONTH(S) OR THIRTY (30) DAYS,
        WHICHEVER IS LONGER, FROM THE MAILING DATE OF THIS COMMUNICATION.
        - Extensions of time may be available under the provisions of 37 CFR 1.136(a). In no event, however, may a reply be timely filed
          after SIX (6) MONTHS from the mailing date of this communication.
        - If NO period for reply is specified above, the maximum statutory period will apply and will expire SIX (6) MONTHS from the mailing date of this communication.
        - Failure to reply within the set or extended period for reply will, by statute, cause the application to become ABANDONED (35 U.S.C. § 133).
          Any reply received by the Office later than three months after the mailing date of this communication, even if timely filed, may reduce any
          earned patent term adjustment. See 37 CFR 1.704(b).

  Status

           1)IZI Responsive to communication(s) filed on 23 August 2007.
       2a)0       This action is FINAL.                            2b)[8J This action is non-final.
           3)0    Since this application is in condition for allowance except for formal matters, prosecution as to the merits is
                  closed in accordance with the practice under Ex parte Quayle, 1935 C.D. 11, 453 O.G. 213.

  Disposition of Claims
        4)[8J Claim(s) 1-18 is/are pending in the application.
                 4a) Of the above claim(s) __                 is/are withdrawn from consideration.
           5)0    Claim(s) __          is/are allowed.
           6)[8J Claim(s) 1-18 is/are rejected.
           7)0    Claim(s) __          is/are objected to.
           8)0    Claim(s) __          are subject to restriction and/or election requirement.

  Application Papers
           9)0 The specification is objected to by the Examiner.
       10)0 The drawing(s) filed on __                     is/are: a)O accepted or b)O objected to by the Examiner.
                 Applicant may not request that any objection to the drawing(s) be held in abeyance. See 37 CFR 1.85(a).
                  Replacement drawing sheet(s) including the correction is required if the drawing(s) is objected to. See 37 CFR 1.121(d).
       11)0 The oath or declaration is objected to by the Examiner. Note the attached Office Action or form PT0-152.

  Priority under 35 U.S.C. § 119
       12)0 Acknowledgment is made of a claim for foreign priority under 35 U.S.C. § 119(a)-(d) or (f).
              a)O All        b)O Some* c)O None of:
                  1.0       Certified copies of the priority documents have been received.
                  2.0       Certified copies of the priority documents have been received in Application No. __                                     .
                  3.0       Copies of the certified copies of the priority documents have been received in this National Stage
                            application from the International Bureau (PCT Rule 17.2(a)).
              *Seethe attached detailed Office action for a list of the certified copies not received.




  Attachment(s)
  1) [8JNotice of References Cited (PTO-892)                                                       4) 0   Interview Summary (PTO-413)
  2)   0    Notice of Draftsperson's Patent Drawing Review (PTO-948)                                      Paper No(s)/Mail Date. __      .
  3)   0    Information Disclosure Statement(s) (PTO/SB/08)                                        5) 0   Notice of Informal Patent Application
            Paper No(s)/Mail Date __     .                                                         6) 0   Other: __     .

U.S. Patent and Trademark Office
PTOL-326 (Rev. 08-06)                                                  Office Action Summary                                  Part of Paper No./Mail Date 20071109
  Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 550 of 745

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                                           DETAILED ACTION




                                          Response to Amendment



          This communication is responsive to the Amendment filed 8/23/2007.

          Claims 1-18 are pending in this application. Claims 1, 15 and 17 are independent

claims.




                                     Claim Rejections - 35 USC§ 103

          The following is a quotation of 35 U.S.C. 103(a) which forms the basis for all

obviousness rejections set forth in this Office action:

          (a) A patent may not be obtained though the invention is not identically disclosed or described as set
          forth in section 102 of this title, if the differences between the subject matter sought to be patented and
          the prior art are such that the subject matter as a whole would have been obvious at the time the
          invention was made to a person having ordinary skill in the art to which said subject matter pertains.
          Patentability shall not be negatived by the manner in which the invention was made.

          Claims 1, 4-7, 12, 15 and 17 are rejected under 35 U.S.C. 103(a) as being

unpatentable over Carlson ("Carlson", Carlson, Jeff. Visual Ouickstart Guide Palm

Organizers. Peachpit Press. 2000. Berkeley, CA.) in view of Milic-Frayling et al ("Milic-

Frayling", US 2004/0100510) in view of Conrad et al ("Conrad", US 5,956,030).
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1.     As per claim 1, Carlson teaches a computer readable medium storing a computer

program with computer program code, which code, when read by a mobile computer unit

allows the computer to present a user interface for a mobile handheld computer unit

(Introduction, page xiii), where said computer unit comprises a touch sensitive area (page

26, the screen is touch sensitive), that is simultaneously divided into a menu area (page

12, fig. 1.10 silk screen graffiti area) and a display area, the computer unit is being

adapted to run several applications simultaneously (page 4 7, all of the applications are

running concurrently), and to present an active application on top of any other

application on said display area, characterised in, that said menu area is adapted to

present a representation of a first, a second and a third predefined function, that said first

function is a general application dependent function (page 28, the Menu icon, fig. 2.4),

that said second function is a keyboard function (page 30, either the abc or 123 dots in

the lower corner of the Graffiti area), that said third function is a task and file manager

(page 47, the Applications screen & fig. 2.35), and that any one of said three functions

can be activated when said touch sensitive area detects a movement of an object with its

starting point within the representation of said function on said menu area and with a

direction from said menu area to said display area (page 40, bottom-to-top screen stroke

shortcut fig. 2.22 & page 30, drag the stylus vertically across the screen from bottom to

top), said user interface allowing low precision navigation using a blunt object, whereby

said user interface can be operated by one hand (page 12, "The stylus is the main method

of interacting with the PalmPilot" and it inherently involves one hand to use the stylus.

Also, if a finger was used, that would also be considered using one hand), where said

blunt object is a finger (page 12, "The stylus is the main method of interacting" though
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anything including fingers can work). Carlson fails to distinctly point out simultaneously

displaying a first, second, and third function. Milic-Frayling teaches the menu area being

adapted to simultaneously present representations of a first function, a second function,

and a third function (Figure 1 view Tools toolbar, with keyboard, file manager, etc.).

Therefore it would have been obvious to an artisan at the time of the invention to

combine the teaching of Milic-Frayling with the interface of Carlson. Motivation to do so

would have been to provide away to quickly access common functions and provide a user

with a large enough space. The modified Carlson still does not explicitly point out

activation by a single step of an object moving in a direction on the touch sensitive area.

However, Conrad teaches activating by the single step of an object moving in a direction

from a starting point that is representation of the function in the menu area to the display

area (Figure 2, Column 2 lines 15-62). Therefore it would have been obvious to an artisan

at the time of the invention to combine the teaching ofVenolia with the modified

Carlson. Motivation to do so would have been to provide easy access to windows.



2.       As per claim 4, the modified Carlson teaches the user interface according to claim

1, characterised in,

         that, if said second function is activated, said display area is adapted to display a

keyboard and a text field,

         that, if a text passage in said active application is highlighted, said text passage is

displayed in said text field for editing through said keyboard and that said highlighted

text passage is replaced by said edited text passage when said second function is

deactivated, and
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         that, if no text passage in said active application is highlighted, said text field is

available for inputting and editing of text through said keyboard (Carlson, page 30, fig

2.7).

3.       As per claim 5, the modified Carlson teaches the user interface according to claim

4, characterized in, that if no text passage in said active application is highlighted, and

said text field is used for inputting and editing of text through said keyboard (Carlson,

page 30, fig 2. 7), then

         said first function can be activated, or

         said second function can be closed, in which a choice of saving or deleting said

inputted text is given, where the choice of saving said inputted text results in an

activation of said first function,

         in which said first function will present services or settings available for said

inputted text (Carlson, page 28, fig. 2.4 Beam Memo).

4.       As per claim 6, the modified Carlson teaches the user interface according to claim

1, characterised in, that, if said third function is activated, said display area is adapted to

display a list with a library of available applications and files on said computer unit, that

a selection of an application will start said application, and that a selection of a file will

open said file in an application intended for said file (Carlson, page 47, fig. 2.35).

5.       As per claim 7, the modified Carlson teaches the user interface according to claim

6, characterised in, that a selection of an application or a file is done by moving said

object so that the representation of desired application or file is highlighted, removing

said object from said touch sensitive area, and then tapping on said touch sensitive area,
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and that an application or file is highlighted by placing some kind of marking on the

representation of said application or file (Carlson, pages 26 & 27).

6.       As per claim 12, the modified Carlson teaches the user interface according to

Claim 1, characterised in, that an active application, function, service or setting is moved

on one step by moving said object from the left of said display area to the right of said

display area, and that the active application, function service or setting is closed or

backed one step by moving said object from the right of said display area to the left of

said display area (Carlson, page 246, fig. 14.2, Drag to scroll through file).

7.       As per claim 15, the modified Carlson teaches an enclosure adapted to cover a

computer unit, said computer unit being adapted to present a user interface according

Claim 1, characterised in, that said enclosure is provided with an opening for said display

area, and that a representation of said menu area is printed on top of said enclosure

(Carlson, page 12, Silkscreen Graffiti area & fig. 1.10).

8.       As per claim 17, the modified Carlson teaches a computer readable medium, with

a computer program product stored therein, characterised in, that said computer program

product comprises computer readable code, which, when read by a computer, will make it

possible for said computer to present a user interface according to Claim 1 (Carlson, page

25, Palm OS).




         Claims 2 and 3 are rejected under 35 U.S.C. 103(a) as being unpatentable over

Carlson ("Carlson", Carlson, Jeff. Visual Ouickstart Guide Palm Organizers. Peachpit

Press. 2000. Berkeley, CA.), Milic-Frayling et al ("Milic-Frayling", US 2004/0100510)
     Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 555 of 745

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and Conrad et al ("Conrad", US 5,956,030) in view of Kopitzke et al. ("Kopitzke", US#

6,988,246 B2).



9.       As per claim 2, the modified Carlson teaches the user interface according to claim

1, characterized in, that, if said first function is activated, said display area is adapted to

display icons representing different services or settings depending on the current active

application (Carlson, page 28, the Menu icon, fig. 2.4), and that, if no application is

currently active on said computer unit, said icons are adapted to represent services or

settings of the operations system of said computer unit (Carlson, page 47, fig. 2.36, 12:11

am).

         However the modified Carlson does not teach expressly the user interface

according to claim 1, characterized in, that, if said first function is activated, said display

area is adapted to display icons representing different services or settings depending on

the current active application, that one of said icons always represents a "help"-service,

regardless of application.

         Kopitzke teaches the user interface according to claim 1, characterized in, that

said display area is adapted to display icons representing different services or settings

depending on the current active application, that one of said icons always represents a

"help"-service, regardless of application (column 4, lines 36-53 & fig. 1, Help key or

button 6).

         The modified Carlson and Kopitzke are analogous art because they are in the

same field of endeavor, namely graphical user interfaces with touch sensitive displays.
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        At the time of the invention it would have been obvious to a person of ordinary

skill in the art to provide the help function as taught by Kopitzke within the user interface

of the modified Carlson in order to provide context sensitive information.

        As per claim 3, the modified Carlson teaches the user interface according to claim

2, characterised in, that a selection of a preferred service or setting is done by tapping on

corresponding icon (Carlson, page 26, fig. 2.1 Tapping just about any interface element in

the Palm OS evokes a response).




        Claims 8-11 and 13 is rejected under 35 U.S.C. 103(a) as being unpatentable over

Carlson ("Carlson", Carlson, Jeff. Visual Ouickstart Guide Palm Organizers. Peachpit

Press. 2000. Berkeley, CA.), Milic-Frayling et al ("Milic-Frayling", US 2004/0100510)

and Conrad et al ("Conrad", US 5,956,030) in view of Wynn et al. ("Wynn", US#

6,734,883 Bl).

10.     As per claim 8, the modified Carlson teaches the user interface according to claim

7. However the modified Carlson does not teach expressly the user interface,

characterized in, that said list is adapted to present only said files or only said

applications, that the top area of said list presents a field through which the content of

said list can be altered, that, if said list only presents files, said field displays a

representation of a task manager and a selection of said field will cause said list to alter to

present only applications, and that, if said list only presents applications, said field

displays a representation of a file manager and a selection of said field will cause said list

to alter and present only files.
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        Wynn teaches a user interface control, characterized in, that said list is adapted to

present only said files or only said applications, that the top area of said list presents a

field through which the content of said list can be altered (column 3, lines 4-8, dialog box

32), that, if said list only presents files, said field displays a representation of a task

manager and a selection of said field will cause said list to alter to present only

applications, and that, if said list only presents applications, said field displays a

representation (column 3, lines 4-8, label 31) of a file manager and a selection of said

field will cause said list to alter and present only files (column 3, lines 15-31).

        The modified Carlson and Wynn are analogous art because they are in the same

field of endeavor, namely scrolling within graphical user interfaces with touch sensitive

displays.

        At the time of the invention it would have been obvious to a person of ordinary

skill in the art to have the selection list format as taught by Wynn within the user

interface of the modified Carlson in order to provide a conventional list format.



11.     As per claim 9, the modifiedCarlson teaches the user interface according to claim

7, characterised in, that, a navigation in said list is performed by moving said object in a

direction towards the top of said list or towards the bottom of said list, that the movement

of said object will cause said marking to move in the same direction (Carlson, page 27, a

quicker way to view the full list is to tap and hold on the dark solid portion of the scroll

bar, then drag it vertically).

        However the modified Carlson does not teach expressly that the speed of the

movement of said marking is lower than the speed of the movement of said object.
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        Wynn teaches a user interface control, characterised in, that, a navigation in said

list is performed by moving said object in a direction towards the top of said list or

towards the bottom of said list, that the movement of said object will cause said marking

to move in the same direction (column 3, lines 32-39 & figs. 5) and that the speed of the

movement of said marking is lower than the speed of the movement of said object

(column 4, lines 24-30).

        At the time of the invention it would have been obvious to a person of ordinary

skill in the art to have the scrolling function as taught by Wynn within the user interface

of the modifiedCarlson in order to provide a conventional selection list.



12.     As per claim 10, the modified Carlson in view of Wynn teaches the user interface

according to claim 9, characterised in, that, if the number of applications and/or files in

said list exceeds the number of applications and files that can be presented on said

display area, and if said object is moved to the top or bottom position of said display area,

then lifted, replaced on said display area, and again moved to the top or bottom of said

display area, the content of said display area will be replaced one whole page, meaning

that if said object is positioned at the top of said display area, then lifted, replaced on said

display area, and then again moved to the top of said display area, the content of said

display area will be replaced by the preceding applications and/or files in said list

(Carlson, page 253, fig. 14.15 Full Page Up).

        The modified Carlson in view of Wynn does not disclose expressly the user

interface, characterised in that if said object is positioned at the bottom of said display

area, then lifted, replaced on said display area, and then again moved to the bottom of
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said display area, the content of said display area will be replaced by the following

applications and/or files in said list.

          At the time of the invention, it would have been an obvious matter of design

choice to a person of ordinary skill in the art to modify the Full Page Up function

(Carlson, page 253, fig 14.15) to work as a Full Page Down function by tapping on the

bottom of the display area because Applicant has not disclosed that if said object is

positioned at the bottom of said display area, then lifted, replaced on said display area,

and then again moved to the bottom of said display area, the content of said display area

will be replaced by the following applications and/or files in said list provides an

advantage, is used for a particular purpose, or solves a stated problem. One of ordinary

skill in the art, furthermore, would have expected Applicant's invention to perform

equally well with the modified Full Page Up function as taught by Carlson because it

would only need to be implemented to scroll down instead of up, when the display area is

tapped on the bottom, instead of the top.

13.       As per claim 11, the modified Carlson in view of Wynn teaches the user interface

according to claim 10, characterised in, that if said object is removed from any first

position on said display area and then replaced on any second position on said display

area, said navigation can be continued from said second position (Carlson, page 253, fig.

14.15).




          Claim 13 is rejected under 35 U.S.C. 103(a) as being unpatentable over Carlson

("Carlson", Carlson, Jeff. Visual Ouickstart Guide Palm Organizers. Peachpit Press.
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2000. Berkeley, CA.) Milic-Frayling et al ("Milic-Frayling", US 2004/0100510) and

Conrad et al ("Conrad", US 5,956,030).



14.     As per claim 13, the modified Carlson teaches the user interface according to

Claim 1, characterised in, that said menu area is positioned at the bottom of said touch

sensitive area, that said representation of said first function is positioned at the left side of

said menu area, and that said representation of said second function is positioned at the

middle of said menu area.

        The modified Carlson does not teach expressly that said representation of said

third function is positioned at the right side of said menu area.

        At the time the invention was made, it would have been an obvious matter of

design choice to a person of ordinary skill in the art to place the third function on the

right side of the display area instead of the left, because Applicant has not disclosed that

said representation of said third function is positioned at the right side of said menu area

provides an advantage, is used for a particular purpose or solves a stated problem. One of

ordinary skill in the art, furthermore would have expected Applicant's invention to

perform equally well with the third function on the left side of the display area because

the placement of the representation would not change its functionality.



        Claims 14 and 16 are rejected under 35 U.S.C. 103(a) as being unpatentable over

Carlson ("Carlson", Carlson, Jeff. Visual Ouickstart Guide Palm Organizers. Berkeley,

CA: Peachpit Press, 2000), Milic-Frayling et al ("Milic-Frayling", US 2004/0100510)
  Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 561 of 745

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and Conrad et al ("Conrad", US 5,956,030) in view of Strietelmeier ("Strietelmeier",

Strietelmeier, Julie. "Palm mlO0." The Gadgeteer. 2000.

<http://www.the-gadgeteer.com/review/palm _ml 00_review>).



15.     As per claim 14, the modified Carlson teaches the user interface according to

Claim 1, characterised in, that said user interface is adapted to a touch sensitive area and

that said user interface is adapted to be operated by one hand, where said object can be a

finger (page 12, stylus ... includes fingers).

        However the modified Carlson does not teach expressly a touch sensitive area

with a size that is in the order of 2-3 inches.

        Strietelmeier teaches a user interface, characterised in, a touch sensitive area with

a size that is in the order of 2-3 inches (page 4).

        The modified Carlson and Strietelmeier are analogous art because they are in the

same field of endeavor, namely palm-sized computer organizers.

        At the time of the invention it would have been obvious to a person of ordinary

skill in the art to have the dimensions of a touch sensitive area as taught by Strietelmeier

within the user interface of the modified Carlson in order to provide a touch sensitive

area with the manufacturer's dimensions.



16.     As per claim 16, the modified Carlson teaches the enclosure according to claim

15. However, the modified Carlson does not disclose the enclosure characterised in, that

said enclosure is removable and exchangeable.
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        Strietelmeier teaches an enclosure characterised in, that said enclosure is

removable and exchangeable (page 3, you can also remove the entire face plate ... there

will be different face plates available).

       At the time of the invention it would have been obvious to a person of ordinary

skill in the art to have the customizable enclosures as taught by Strietelmeier within the

enclosure of the modified Carlson in order to tailor an enclosure to a user's preferences.



17.     Claim 18 is rejected under 35 U.S.C. 103(a) as being unpatentable over Carlson

("Carlson", Carlson, Jeff. Visual Ouickstart Guide Palm Organizers. Berkeley, CA:

Peachpit Press, 2000), Milic-Frayling et al ("Milic-Frayling", US 2004/0100510) and

Conrad et al ("Conrad", US 5,956,030) in view of Chew et al. ("Chew", US# 6,727,917).



18.    As per claim 18, the modified Carlson teaches a computer readable medium

according to claim 17.

        However the modified Carlson does not teach expressly, that said computer

program product is adapted to function as a shell upon an operations system.

        Chew teaches a user interface for a palm-sized computer device, characterized in,

that said computer program product is adapted to function as a shell upon an operations

system (column 2, lines 1-5).

        The modified Carlson and Chew are analogous art because they are in the same

field of endeavor, namely graphical user interfaces for hand-held personal computing

devices with touch sensitive displays.
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Art Unit: 217 4

       At the time of the invention it would have been obvious to a person of ordinary

skill in the art to further modify the modified Carlson program to function as shell as

taught by Chew in order to efficiently display information.



                                 Response to Arguments

       Applicant's arguments with respect to claims 1-18 have been considered but are

moot in view of the new ground(s) of rejection.




                                           Conclusion

       Any inquiry concerning this communication or earlier communications from the

examiner should be directed to Ryan F. Pitaro whose telephone number is 571-272-4071.

The examiner can normally be reached on 7:00am - 4:30pm Mondays through Fridays.

       If attempts to reach the examiner by telephone are unsuccessful, the examiner's

supervisor, Kristine Kincaid can be reached on 571-272-4063. The fax phone number for

the organization where this application or proceeding is assigned is 571-273-8300.
 Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 564 of 745

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Art Unit: 217 4

       Information regarding the status of an application may be obtained from the

Patent Application Information Retrieval (PAIR) system. Status information for

published applications may be obtained from either Private PAIR or Public PAIR. Status

information for unpublished applications is available through Private PAIR only. For

more information about the PAIR system, see http://pair-direct.uspto.gov. Should you

have questions on access to the Private PAIR system, contact the Electronic Business

Center (EBC) at 866-217-9197 (toll-free). If you would like assistance from a USPTO

Customer Service Representative or access to the automated information system, call

800-786-9199 (IN USA OR CANADA) or 571-272-1000.


/SyD Luu/
Primary Examiner, Art Unit 2174


Ryan Pitaro
Patent Examiner
Art unit 2174

RFP
                         Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 565 of 745
                                                                                Application/Control     No.            Applicant(s)/Patent Under
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                                                                                10/315,250                             GOERTZ, MAGNUS
                  Notice of References Cited
                                                                                Examiner                               Art Unit
                                                                                                                                           Page 1 of 1
                                                                                Ryan F. Pitaro                         2174

                                                                      U.S. PATENT DOCUMENTS
                       Document Number                 Date
 *                CountryCode-Number-Kind
                                        Code         MM-YYYY                                          Name                                  Classification

 *       A      US-5,956,030                        09-1999          Conrad et al.                                                            715/769

 *       B      US-2004/0100510                     05-2004          Milic-Frayling    et al.                                                 345/864

         C      US-

         D      US-

         E      US-

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Dates in MM-YYYY format are publicationdates.Classificationsmay be US or foreign.
U.S. Patent and Trademark Office
PT0-892 (Rev. 01-2001)                                              Notice of References Cited                         Part of Paper No. 20071109
              Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 566 of 745

                                             Application/Control No.              Applicant(s)/Patent Under
                                                                                  Reexamination
          Index of Claims                     10315250                            GOERTZ, MAGNUS

                                              Examiner                            Art Unit

                                              Ryan F Pitaro                       2174


  ✓           Rejected                      Cancelled              N   Non-Elected               A           Appeal

  =           Allowed                       Restricted                 Interference              0          Objected

 □     Claims renumbered in the same order as presented by applicant          □   CPA        □       T.D.      □    R.1.47

          CLAIM                                                        DATE
      Final        Original    11/09/2007
                      1            ✓

                      2            ✓


                      3            ✓

                      4            ✓


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                      10           ✓


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                      13           ✓

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                      18           ✓




U.S. Patent and Trademark Office                                                                      Part of Paper No. : 20071109
                Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 567 of 745

                                        Application/Control No.       Applicant(s)/Patent Under
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           Search Notes                 10315250                      GOERTZ, MAGNUS

                                        Examiner                      Art Unit

                                        Ryan F Pitaro                 2174




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 Update               I Search                                    I      11/8/2007      I RFP


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                   CLAIMS AS AMENDED • PART II
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.,   In re Patent Application ~'\                             Atty   5042-2 (formerly 3682-
                                                              Dkt.   32)
                                                                      C#    M#
     GOERTZ                         f\\lu '2,3 1~~1w C/A.U.          2174; Cont. 1226
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     Serial No. 10/315,250                      g_-       Examiner: Pitaro, Ryan F.
                                              ~o
     Filed:   December 10,200         ,~~~                    Date: August 23, 2007
     Title:   USERINTERFACE


     Commissioner for Patents
     P.O. Box 1450
     Alexandria, VA 22313-1450

     Sir:
                                                               AMENDMENT
     This is a response/amendmenVletter in the above-identified application and includes an attachment which is hereby
     incorporated by reference and the signature below serves as the signature to the attachment in the absence of any other
     signature thereon.
     Fees are attached as calculated below:
      Total effective claims after amendment         18 minus highest number
      previously paid for        20     (at least 20) =  0    x $50.00                 $0.00 (1202)/$0.00 (2202) $      0.00
      Independent claims after amendment          1          minus highest number
      previously paid for  3       (at least 3) =             0   x $200.00                   $0.00 (1201)/$0.00 (2201) $      0.00
      If proper multiple dependent claims now added for first time, (ignore improper); add
                                                                                       $360.00 (1203)/$0.00 (2203) $
      Petition is hereby made to extend the current due date so as to cover the filing date of this
      paper and attachment(s)                                One Month Extension $120.00 (1251)/$0.00 (2251)
                                                            Two Month Extensions $450.00 (1252)/$0.00 (2252)
                                                         Three Month Extensions $1020.00 (1253/$0.00 (2253)
                                                             Four Month Extensions $1590.00 (1254/$0.00 (2254)
                                                         Five Month Extensions $2160.00 (1255/$1080.00 (2255) $              0.00

     Terminal disclaimer enclosed, add                                                 $130.00 (1814)/ $0.00 (2814)     $
      [gl Applicant claims "small entity" status.     D    Statement filed herewith
      Rule 56 Information Disclosure Statement Filing Fee                                             $180.00 (1806)    $      0.00

     Assignment Recording Fee                                                                          $40.00 (8021)    $      0.00
      Other: Attachments A and B attached to Amendment                                                                  $      0.00
                                                                                                          TOTAL FEE $          0.00

     The Commissioner is hereby authorized to charge any deficiency. or credit any overpayment, in the fee(s) filed, or
     asserted to be filed, or which should have been filed herewith (or with any paper hereafter filed in this application by this
     firm) to our Account No. 14-1140. A duplicate copy of this sheet is attached.

     901 North Glebe Road, 11th Floor                           NIXON & VANDERHYE P.C.
     Arlington, Virginia 22203-1808                             By Atty: Robert A. Molan, Reg. No. 29,834
     Telephone: (703) 816-4000

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     Facsimile: (703) 816-4100
     RAM:drt                                                    Signature:




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                   Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 570 of 745
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    In re Patent Application of

    GOERTZ                                                              Atty. Ref.: 5042-2
                                                                        (Formerly 3682-32)

    Serial No.: 10/315,250                                              Group: 2174; Conf. No. 1226

    Filed: December 10, 2002                                            Examiner: Pitaro, Ryan F.

    For: USER INTERFACE


                                      *   *    *   *   *   *    *   *    *   *     *

                                                                                 August 23, 2007

    Commissioner for Patents
    P.O. Box 1450
    Alexandria, VA 22313-1450


                                                    AMENDMENT

    Sir:

                    In response to the Office Action mailed May 24, 2007, please amend the above-identified

    application as follows:

                    Amendments to the Claims are reflected in the listing of claims which begins on page 2

    of this paper.

                    Remarks/Arguments begin on page 9 of this paper.




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AMENDMENTSTO THE CLAIMS

       This listing of claims will replace all prior versions, and listings, of claims in the

application.

        1. (Currently Amended) A computer readable medium storing a computer program with

computer program code, which code, when read by a mobile handheld computer unit, allows the

computer to present a user interface for a the mobile handheld computer unit., the user interface

comprising:

       a touch sensitive area that is simultaneously divided into a menu area and a display area,

       the computer unit being adapted to run several applications simultaneously, and to present

an active application on top of any other application on the display area, characterised in, that

       the menu area aeiHg adaJ3tedts simultaneously presenting representations of a first

function that is a general application dependent function, a second function that is a keyboard

function, and a third function that is a task and file manager, and

       each of the three functions simultaneously represented in the menu area being activated

by the single step of an object moving in a direction from a starting point that is the

representation of the function in the menu area to the display area being detected by the touch

sensitive area, thereby allowing low precision navigation of the user interface using a blunt

object, so that the user interface can be operated by one hand, where the blunt object is a finger.



        2. (Currently Amended) The computer readable medium of claim 1, wherein the user

interface aeesFdiHgts Claim 1, is characterized in, that, if said first function is activated, said


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display area is adapted to display icons representing different services or settings depending on

the current active application, that one of said icons always represents a "help"-service,

regardless of application, and that, if no application is currently active on said computer unit, said

icons are adapted to represent services or settings of the operations system of said computer unit.



       3. (Currently Amended) The computer readable medium of claim 2. wherein the user

interface aeeoFElingto Claim 2, i§__characterisedin, that a selection of a preferred service or

setting is done by tapping on corresponding icon.



       4. (Currently Amended) The computer readable medium of claim 1, wherein the user

interface aeeoroing to Claim 1, is characterised in,

       - that, if said second function is activated, said display area is adapted to display a

keyboard and a text field,

       - that, if a text passage in said active application is highlighted, said text passage is

displayed in said text field for editing through said keyboard and that said highlighted text

passage is replaced by said edited text passage when said second function is deactivated, and

       - that if no text passage in said active application is highlighted, said text field is

available for inputting and editing of text through said keyboard.



       5. (Currently Amended) The computer readable medium of claim 4, wherein the user

interface aeeoFElingto Claim 4, is characterised in, that if no text passage in said active


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application is highlighted, said text field is used for inputting and editing of text through said

keyboard, then

        - said first function can be activated, or

        - said second function can be closed, in which a choice of saving or deleting said

inputted text is given, where the choice of saving said inputted text results in an activation of said

first function,

        in which said first function will present services or settings available for said inputted

text.



        6. (Currently Amended) The computer readable medium of claim            L wherein the user
interface accafElingta Claim 1, is characterised in, that, if said third function is activated, said

display area is adapted to display a list with a library of available applications and files on said

computer unit, that a selection of an application will start said application, and that a selection of

a file will open said file in an application intended for said file.



        7. (Currently Amended) The computer readable medium of claim 6, wherein the user

interface accaFEiingta Claim 6, is characterised in, that a selection of an application or a file is

done by moving said object so that the representation of desired application or file is highlighted,

removing said object from said touch sensitive area, and then tapping on said touch sensitive

area, and that an application or file is highlighted by placing some kind of marking on the

representation of said application or file.


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          8. (Currently Amended) The computer readable medium of claim 7, wherein the user

interface acceming ta Claim 7, is characterised in, that said list is adapted to present only said

files or only said applications, that the top area of said list presents a field through which the

content of said list can be altered, that, if said list only presents files, said field displays a

representation of a task manager and a selection of said field will cause said list to alter to present

only applications, and that, if said list only presents applications, said field displays a

representation of a file manager and a selection of said field will cause said list to alter and

present only files.



          9. (Currently Amended) The computer readable medium of claim 7, wherein the user

interface aceeFeing ta Claim 7, is characterised in, that, a navigation in said list is performed by

moving said object in a direction towards the top of said list or towards the bottom of said list,

that the movement of said object wil1 cause said marking to move in the same direction, and that

the speed of the movement of said marking is lower than the speed of the movement of said

object.



          10. (Currently Amended) The computer readable medium of claim 9, wherein the user

interface aeeaming ta Claim 9, is characterised in, that, if the number of applications and/or files

in said list exceeds the number of applications and files that can be presented on said display

area, and if said object is moved to the top or bottom position of said display area, then lifted,


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replaced on said display area, and again moved to the top or bottom of said display area, the

content of said display area will be replaced one whole page, meaning that if said object is

positioned at the bottom of said display area, then lifted, replaced on said display area, and then

again moved to the bottom of said display area, the content of said display area will be replaced

by the following applications and/or files in said list, and if said object is positioned at the top of

said display area, then lifted, replaced on said display area, and then again moved to the top of

said display area, the content of said display area will be replaced by the preceding applications

and/or files in said list.



        11. (Currently Amended) The computer readable medium of claim 10, wherein the user

interface aeeaFElingta Claim 10, is characterised in, that if said object is removed from any first

position on said display area and then replaced on any second position on said display area, said

navigation can be continued from said second position.



        12. (Currently Amended) The computer readable medium of claim 1, wherein the user

interface aeeaFding ta Claim 1, is characterised in, that an active application, function, service or

setting is moved on one step by moving said object from the left of said display area to the right

of said display area, and that the active application, function, service or setting is closed or

backed one step by moving said object from the right of said display area to the left of said

display area.




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        13. (Currently Amended) The computer readable medium of claim 1, wherein the user

interface aeeeffiing te Claim 1, is characterised in, that said menu area is positioned at the bottom

of said touch sensitive area, that said representation of said first function is positioned at the left

side of said menu area, that said representation of said second function is positioned at the

middle of said menu area, and that said representation of said third function is positioned at the

right side of said menu area.



        14. (Currently Amended) The computer readable medium of claim 1, wherein the user

interface aeeereling te Claim 1, is characterised in, that said user interface is adapted to a touch

sensitive area with a size that is in the order of 2-3 inches, and that said user interface is adapted

to be operated by one hand, where said object can be a finger.



        15. (Currently Amended) An enclosure adapted to cover a computer unit, said computer

unit being adapted to read computer program code of a computer program stored on a computer

readable medium, which code, when read, present§. a user interface according to Claim 1,

characterised in, that said enclosure is provided with an opening for said display area, and that a

representation of said menu area is printed on top of said enc1osure.



        16. (Previously Presented) The enclosure according to Claim 15, characterised in, that

said enclosure is removable and exchangeable.




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       17. (Original) A computer readable medium, with a computer program product stored

therein, characterised in, that said computer program product comprises computer readable code,

which, when read by a computer, will make it possible for said computer to present a user

interface according to Claim 1.



       18. (Original) A computer readable medium according to Claim 17, characterised in,

that said computer program product is adapted to function as a shell upon an operations system.




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                                           REMARKS

       Reconsideration of this application is respectfully requested.

       Claims 1-18 are pending in the application. Upon entry of this amendment, claims 1-15

will be amended.

       In the outstanding Office Action of May 24, 2007, the Examiner rejected claims 1-16,

under 35 U.S.C. §101, as being directed to non-statutory subject matter, arguing that the claimed

user interface "is simply nonfunctional descriptive material per se, and therefore lacks actual data

structure to be considered statutory." 5/24/07 Office Action, p. 2. The Examiner's rejection is

respectfully traversed.

       Annex IV, titled "Computer-Related Non-Statutory Subject Matter", of the "Interim

Guidelines for Examination of Patent Applications for Patent Subject Matter Eligibility",

published in the November 22, 2005 Official Gazette of the United States Patent and Trademark

Office defines both "functional descriptive material" and "non-functional descriptive material".

"Functional descriptive material" is defined by Annex IV as material consisting of data structures

and computer programs which impart functionality when employed as a computer component. A

"data structure" is defined by Annex IV as a physical or logical relationship among data

elements, designed to support specific data manipulation functions, quoting The New IEEE

Standard Dictionary of Electrical and Electronics Terms 308 (5th ed. 1993). In contrast, "non-

functional descriptive material" is defined by Annex IV as including, but not being limited to,

music, literary works and a compilation or mere arrangement of data. A copy of Annex IV from




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the November 22, 2005 OG Notice is submitted with this Amendment as Attachment A to this

Amendment.

       Claim 1 of the present application, the only independent claim in the present application,

has now been amended to recite a computer readable medium storing a computer program with

computer program code, which code, when read by a mobile handheld computer unit, makes it

possible for the computer to present a user interface for the computer that is described in claim 1

of the present application. The user interface, which is divided into a menu area and a display

area, simultaneously presents, in the menu area, a first function that is a general application

dependent function, a second function that is a keyboard function, and a third function that is a

task and file manager. The touch sensitive user interface allows these functions to be activated

by a single step of an object moving in a direction from a starting point that is a representation of

the function in the menu area to the display area, thereby allowing a user to use the computer

with a single hand and activate the recited functions with a blunt object, such as a finger.

Clearly, in its amended form, claim 1 recites functional material. Claims 2-14 have been

amended to conform them to amended claim 1. In addition, claim 15 has been amended to recite

that the computer unit recited in the claim is adapted to read computer program code of a

computer program stored on a computer-readable medium, which code, when read, presents the

user interface of claim 1. As such, applicant believes that claims 1-16 now recite statutory

subject matter, and that the Examiner's rejection of claims 1-16 under §101 should now be

withdrawn. Support for the foregoing amendments to claims 1-15 appear at least at page 1, lines

12-15 of the specification of the present application.


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       In the outstanding Office Action, the Examiner also rejected , as being unpatentable under

35 U.S.C. §103(a), claims 1, 4-7, 12, 15 and 17 over Carlson ("Carlson", Carlson, Jeff. Visual

Ouickstart Guide Palm Organizers, Peachpit Press. 2000. Berkely, CA.) in view of Haitini et al.

(USP 5,900,875) and further in view of Venolia et al. ("Venolia", T-Cube: A Fast, Self-

Disclosing Pen-Based Alphabet), claims 2 and 3 over Carlson, Haitini et al. and Veno1ia et al. in

view of Kopitzke et al. (USP 6,988,246 B2), claim 8-11 over Carlson in view of Haitini et al. in

view of Venolia, in view of Wynn et al. (USP 6,734,833 B 1), claim 13 over Carlson in view of

Haitini in view of Venolia, claims 14 and 16 over Carlson, Haitini et al. and Venolia in view of

Strietelmeier ("Strietelmeier, Julia "Palm mlO0. The Gadgeteer. 2000. http://www.the-

gadgeteer.com/review/palm mlO0 review>), and claim 18 over Carlson in view of Chew et al.

(USP 6,727,917), Haitani et al. and Venolia et al. The Examiner's rejections are respectfully

traversed.

       Assuming, arguendo, that the Examiner properly combined the cited references, the

resulting combination would still not be the claimed invention because such references do not

disclose or suggest all of the limitations of the claimed invention. Specifically, claim 1 of the

present application, the only independent claim pending in the application and the one claim

from which claims 2 - 18 depend, either directly or indirectly, recites a user interface for a hand

held computer unit that includes a touch sensitive area simultaneously divided into a menu area

and a display area, with the menu area simultaneously presenting a first function that is a general

application dependent function, a second function that is a keyboard function, and a third

function that is a task and file manager. Claim 1 also recites that each of the three functions


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simultaneously presented in the menu area are activated by the single step of an object moving in

a direction from a starting point that is the representation of the function in the menu area to the

display area being detected by the touch sensitive area, thereby allowing low precision navigation

of the user interface using a blunt object, so that the user interface can be operated by one hand,

where the blunt object is a finger. One embodiment of the three functions recited in claim 1 is

described in the specification of the present application in reference to Figures 3, 5 and 6,

respectively, of the present application.

       The three functions simultaneously represented in the menu area and activated by a touch

sensitive area detecting the single step of an object moving in a direction from a starting point

that is the representation of the function in the menu area to a display area, as recited in

independent claim 1, are not described in the primary Carlson reference, the secondary Haitani

reference or the tertiary Venolia reference cited by the Examiner in the claim rejections set forth

in the outstanding Office Action. Given these deficiencies in the cited references, discussed

below, it must be concluded that claims 1 - 18 of the present application are not obvious over the

cited references.

       In the outstanding Office Action, the Examiner recognized that Carlson fails to disclose

the first, second and third functions recited in independent claim 1 of the present application,

5/24/07 Office Action, p. 4, as argued by applicant in the Amendment After Final Rejection

previously filed on March 15, 2007. In an effort to overcome this deficiency in the teaching of

Carlson, the Examiner points to the Haitani patent as disclosing a "menu area being adapted to

simultaneously present representations of a first function that is a general application-dependent


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function (Figure 1, items 151, 153), a second function that is a keyboard function (Figure 1, item

145) and a third function that is a task and file manager (Figure 1, item 141)." 5/24/07 Office

Action, p. 4. A review of Haitani reveals, however, that this patent does not disclose the first,

second and third functions recited in independent claim 1, as argued by the Examiner.

        Haitani discloses a portable computer system 100 that is shown in Figure 1 of Haitani.

The computer system 100 shown in Figure 1 includes a screen display area 181 that is used to

display information to a user. Haitani, col. 2, Ins. 40 - 42. Below the display area 181 is a user

input area 183. Haitani, col. 2, In. 45. The user input area 183 is used to input text in the

Graffiti® writing area 145 and interact with the application buttons 141 through 144. Haitani,

col. 2, Ins. 45 - 48. Both the screen display area and the user input area 183 are covered by a

digitizer pad that can detect user interaction with a stylus or finger. Haitani, col. 2, Ins. 42 - 44

and 48 - 49. Below the area 183 is a mechanical button input area 185 that includes seven

different mechanical buttons 121, 123, 125, 127, 129 and 131. Haitani, col. 2, Ins. 50-53. Thus,

it should first be noted that items 141, 145 and 151 and 153 are not all located in the same menu

area, as are the representations of the three functions recited in claim 1 of the present application.

       Haitani describes the seven mechanical buttons as including "[a] pair of scrolling buttons

131 that are used to scroll information in the display area 181 up and down." Haitani, col. 2, Ins.

64- 65. Haitani also states that "[t]he scrolling buttons 141 [sic] allow a user to view a list of

information that does not fit on the display." Haitani, col. 2, Ins. 65 - 67. This last statement

appears to conflict with the earlier description of item 141 as being one of the application buttons

141 through 144 located in Graffiti® writing area 145. Indeed, item 141 is not shown in Figure 1


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as a pair of buttons, but, rather, a single icon including an arrow symbol in a circle and the word

"applications" underneath the arrow symbol and circle. See Haitani, Figure 1.

       There is no description in Haitani of the items 151 and 153 shown in the screen display

area 181 of Figure 1 of Haitani and cited by the Examiner as being "a general application-

dependent function (Figure 1, items 151, 153)". 5/24/07 Office Action, p. 4. Thus, it is not clear

how the Examiner has concluded that items 151 and 153 in Figure 1 represent the first function

that is a general application-dependent function recited in claim 1 of the present application,

particularly when Haitani does not even discuss items 151 and 153.

       In addition, the "Graffiti® writing area" 145 shown in Figure 1 of Haitani is not the

second, keyboard function recited in claim 1 of the present application. The Graffiti® writing

area 145 is clearly not a keyboard, but rather an input area that is used to input written characters.

See, e.g., Attachment B to this Amendment.

       Finally, as discussed above, item 141 is not the third, task and file manager function

recited in claim 1, since it is described by Haitani as being part of the application buttons and

shown in Figure 1 of Haitani as an icon including an arrow symbol in a circle and the word

"applications" underneath the arrow symbol and circle.

       Putting aside claim 1's recitation that each of the three functions simultaneously

presented in the menu area are activated by the single step of an object moving in a direction

from a starting point that is the representation of the function in the menu area to the display area

so as to be detected by the touch sensitive area, it is clear from the foregoing discussion of




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Carlson and Haitani these a combination of these two references would not result in the invention

described in independent claim 1 of the present application.

       In the outstanding Office Action, the Examiner also recognized that Carlson, even as

modified by Haitani, still does not disclose the single step function activation feature recited in

claim 1. 5/24/07 Office Action, pp. 4 and 5. To compensate for this deficiency, the Examiner

next argues that "Venolia teaches activating by the single step of an object moving in a direction

from a starting point that is representation [sic] of the function in the menu area to the display

area (Column 2, flick gestures)", described in column 2 of Venolia. It should be noted here that

claim 1 of the present application recites not just a step of an object moving in a given direction

for activation, but, rather, that each of the three functions recited in claim 1 are activated by the

single step of an object moving in a direction from a starting point that is the representation of

the function in the menu area to the display area, which is detected by touching the sensitive area,

thereby allowing low precision navigation of a user interface using a blunt object, such as a

finger, so that the user interface can be operated by one hand.

       Contrary to the Examiner's assertion, Venolia does not disclose activating various

functions in a computer by the single step of moving an object in a direction from a starting point

that is a representation of a selected function in a menu area to a display area, as recited in

independent claim 1 of the present application. Rather, Venolia discloses a technique for

entering text to a pen-based computer based on a "new alphabet" where each letter in the

alphabet is a entered using a flick gesture. The flick gestures are self-disclosing using prime




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menus. There is an assignment of characters to the gestures used with the pen-based computer

disclosed in Venolia.

       The method of entering text using a pen and flick gestures described in Venolia is

identified as "T-Cube". Venolia does describe as part of T-Cube the use of a flick gesture with a

starting point and a direction. The user presses the pen in one of nine target cells so that a pie

menu appears offset from the pen. The direction of the flick of the pen can be vertical, horizontal

or directional, specifying one of eight directions. A combination of these eight directions and

nine starting cells in a pie menu yields 72 different gestures, with each gesture representing a

character, such as "w" or "7", or an operation, such as a backspace, return or shift. Thus, the pen

movements described in Venolia are not intended to activate a function, but, rather, to enter

characters in a small computer. The flick gestures described in Venolia do not describe a single

step of an object moving in a direction from a starting point that is the representation of one of

several functions in a menu area to a display area to activate a selected function, as recited in

independent claim 1 of the present application. Thus, it is clear that the combination of Carlson,

Haitani and Venolia does not result in the invention described in independent claim 1 of the

present application.

       The other additional references cited by the Examiner do not compensate for the

deficiencies in the Carlson, Haitani and Venolia references discussed above.

       Kopitzke et al. discloses a monitoring and control device includes a touch sensitive LCD

screen, with a basic layout including a display area and touch sensitive keys depicted with

associated system and function symbols. A main menu or any one of plural system menus can be


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selectively displayed in the display area. The system menus relate to cabin systems such as audio,

lighting, and water systems. The selected system menu displays status information and touch

input keys for the user to monitor the status and to select and control the operation of the system.

The main menu is a top level window providing essential information regarding all of the cabin

systems and allows a user to select any one of the system menus.

       Wynn et al. discloses a graphical user interface control for entering a user selection from

a list of possible selections in which the user can "spin" through a list of items shown on preview

and postview option lists. The control allows the user to spin forwards and backwards, with a

preview list of items and a postview list of items being displayed on opposing sides of the

currently selected item dialog box. By providing visibility to the upcoming and recently past

selections during the spin, a user can operate the spin control at a higher speed, thereby reducing

the amount of time necessary to find the desired item on the list.

       Chew et al. discloses a hand-held computing device user interface that displays

information for an active application program in a middle portion of the screen, and displays a

shell program controlled navigation bar at a top portion of the screen. The navigation bar

includes a navigation icon which, when tapped by the stylus, aids the user in navigating to other

application programs. The navigation bar also includes a title for the active application program

to save vertical real estate on the screen. The user interface also displays an application menu bar

at a bottom portion of the screen so that the user can manipulate data from the active application

by tapping menu items with a stylus without blocking view of the middle portion of the display.




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       The Gadgeteer article by Strietelmeier is a review of the Palm mlO0. The article talks

about the Palm mlO0 having a cheaper feel than the prior Palm me. It also talks about new

features on the mlO0, such as an integrated flip cover, a small window that allows viewing of

time and date when the up hardware scroll button is pressed, the removability of the flip cover

for use of different color face plates, large and separate up/down scroll buttons, a sma11erplastic

LCD display, an IR port for beaming files back and forth to other Palm devices, a battery door,

reset switch, stylus silo and hot sync port on the back of the unit, a louder internal speaker,

limited RAM of 2MB, use of AAA batteries to power the device, and changes to the mlO0

software, such as the addition of a notepad application and a clock application and the removal of

mail or expense applications.

       Thus, it is clear that independent claim 1 of the present application is not obvious over the

references of record cited by the Examiner in the outstanding Office Action of May 24, 2007.

And, because independent claim 1 is not obvious over such references, dependent claims 2-18,

which depend either directly or indirectly from claim 1, are also not obvious over such

references.

       In view of the foregoing, it is believed that all of the claims pending in the application,

i.e., claims 1 - 18, are now in condition for allowance, which action is earnestly solicited. If any




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issues remain in this application, the Examiner is urged to contact the undersigned at the

telephone number listed below.



                                                        Respectfully submitted,

                                                        NIXON & VANDERHYE P.C.

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United States Patent and Trademark Office OG Notices: 22 November 2005
                Interim      Guidelines    for Examination     of Patent     Applications
                                 for Patent    Subject  Matter   Eligibility

     In the mid-1990's,              the USPTO sought            to clarify          the legal         requirements
for statutory         subject        matter      with regard         to computer-related                 inventions.
See Examination           Guidelines          for Computer         Related       Inventions,           61 Fed. Reg.
7478 (1996).         Subsequent          to the publication             of those         guidelines,          the Court
of Appeals       for the Federal              Circuit      issued      opinions        in State        Street      Bank &
Trust     Co. v. Signature             Financial        Group Inc.,         149 F. 3d 1368, 47 USPQ2d 1596
 (Fed. Cir.      1998) and AT&T Corp. v. Excel Communications,                                   Inc.,       172 F.3d
1352, 50 USPQ2d 1447 (Fed. Cir.                       1999).     These decisions             explained          that,    to
be eligible        for patent          protection,         the claimed         invention         as a whole must
accomplish       a practical           application.          That is,       it must produce              a "useful,
concrete      and tangible           result."       State     Street,       149 F.3d at 1373-74,                  47 USPQ2d
at 1601-02.        Since     this      time,     the USPTO has seen increasing                       numbers       of
applications         outside       the realm of computer-related                       inventions          that    raise
subject      matter     eligibility           issues.      In order       to assist         examiners         in
identifying        and resolving            these     issues,      the USPTO is issuing                  these     interim
examination        guidelines          to assist        USPTO personnel            in the examination                 of
patent     applications          to determine           whether      the subject          matter       as claimed        is
eligible      for patent         protection.

     The principal         objective       of these       guidelines        is to assist         examiners        in
determining,         on a case-by-case            basis,     whether      a claimed      invention          falls
within    a judicial        exception        to statutory         subject      matter     (i.e.,      i·s
nothing    more than an abstract                idea,     law of nature,          or natural
phenomenon),         or whether        it is a practical            application       of a judicial
exception      to statutory          subject      matter.      The guidelines         explain       that      a
practical      application         of a 35 u.s.c.           Sec.    101 judicial       exception          is
claimed     if the claimed           invention       physically        transforms      an article           or
physical      object     to a different           state     or thing,       or if the claimed
invention      otherwise       produces        a useful,       concrete,       and tangible         result.

I.   INTRODUCTION

     These Examination     Guidelines       ("Guidelines")        are based on
the USPTO's current       understanding       of the law and are believed                             to be
fully    consistent   with binding      precedent      of the Supreme Court,                          the
Federal     Circuit and the Federal        Circuit's       predecessor    courts.

     These Guidelines     do not constitute          substantive      rulemaking       and hence                     do
not have the force       and effect     of law. These Guidelines             have been
designed    to assist    USPTO personnel        in analyzing       claimed     subject    matter
for compliance      with substantive       law. Rejections         will   be based upon the
substantive    law and it is these         rejections        which are appealable.
Consequently,     any failure     by USPTO personnel            to follow    the Guidelines
is neither    appealable     nor petitionable.

    The Guidelines        set forth    the procedures     USPTO personnel       will  follow
when examining       applications.       USPTO personnel      are to rely    on these
Guidelines      in the event       of any inconsistent      treatment     of issues   between
these    Guidelines     and any earlier      provided    guidance     from the USPTO.

    Inquiries     concerning    these Interim Guidelines    may be directed                                to    Linda
Therkorn,     Office   of the Deputy Commissioner      for Patent   Examination                                 Policy,
by telephone      at 571-272-8800,    or Ray Chen, Office     of the Solicitor,                                  by




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claim    would    be   found     to    be statutory.

    The Federal      Circuit      held that       the mere manipulations            of abstract      ideas
are not patentable.          Schrader,       22 F.3d at 292-93,           30 USPQ2d
at 1457-58.      If a claimed        process      manipulates      only numbers,        abstract
concepts     or ideas,      or signals       representing        any of the foregoing,           the
claim    is not being       applied     to appropriate         subject      matter.
Schrader,     22 F.3d at 294-95,            30 USPQ2d at 1458-59.            The
Federal    Circuit     also    recognizes       that    the fact     that    a nonstatutory
method is carried         out on a programmed             computer     does not make the
process    claim   statutory.        Grams, 888 F.2d at 841, 12 USPQ2d
at 1829 (claim       16 ruled       nonstatutory        even though       it was a
computer-implemented          process}.

     In addition,       the Federal    Circuit           has recently     noted   that      a
"structural       inquiry    is unnecessary"             when determining       whether         a
process     claim    is eligible    for patent            protection.     AT&T, 172
F.3d at 1359, 50 USPQ2d at 1452.

    Thus, a finding      that   a claim    fails  to recite      a computer-implemented
process    is not determinative        in whether    that   claim passes       muster   under
Sec. 101. Therefore,        USPTO personnel      should   no longer       rely   on the machine
implemented    test    to determine      whether  a claimed      invention     is directed
to statutory     subject    matter.

            e.   Per   Se Data        Transformation        Test

     Identifying         that     a claim transforms         data    from one value        to another     is
not by itself          sufficient         for establishing        that    the claim      is eligible
for patent        protection.         See, e.g.,      Benson,     409 U.S. 63, 175
USPQ 673 (finding             machine-implemented           method of converting           binary-coded
decimal      numbers       into pure binary          numbers    unpatentable).         In
Benson,      the claims         invention     was held to be merely            a series
of mathematical            calculations       having      "no substantial       practical
application."          Id. at 71, 175 USPQ at 676. Therefore,
claims     that    perform        data transformation         must still       be examined       for
whether      there     is a practical         application       of an abstract         idea that
produces       a useful,        concrete,     and tangible,       result.

                                                        ANNEX IV
                          Computer-Related             Nonstatutory     Subject    Matter

     Descriptive       material     can be characterized             as either     "functional
descriptive       material"      or "nonfunctional           descriptive       material."      In this
context,      "functional       descriptive      material"        consists     of data structures          and
computer      programs      which impart      functionality          when employed        as a computer
component.       {The definition          of "data    structure"         is "a physical      or logical        .
relationship        among data elements,           designed       to support     specific      data     .      .
manipulation        functions."       The New IEEE Standard.Dictionary                   of Electrical        and
Electronics       Terms 308 (5th ed. 1993) .) "Nonfunctional                     descriptive        material"
includes      but is not limited           to music,     literary        works and a compilation           or
mere arrangement          of data.

     Both types   of "descriptive      material",are         nonstatutory       when claimed
as descriptive     material     per se. Warmerdam,          33 F.3d at 1360,
31 USPQ2d at 1759. When functional            descriptive         material    is recorded        on
some computer-readable         medium it becomes        structurally       and functionally
interrelated    to the medium and will          be statutory         in most cases       since
use of technology      permits     the function      of the descriptive          material      to
be realized.    Compare In re Lowry, 32 F.3d 1579, 1583-84,                     32



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USPQ2d 1031, 1035 (Fed. Cir.            1994)     (claim    to data structure           stored    on a
computer      readable  medium that       increases      computer      efficiency       held
statutory)       and Warmerdam,     33 F.3d at 1360-61,           31 USPQ2d at
1759 (claim       to computer    having     a specific      data    structure      stored      in
memory held statutory         product-by-process          claim)      with Warmerdam,          33 F.3d
at 1361, 31 USPQ2d at 1760 (claim               to a data      structure       per se held
nonstatutory)       .

     When nonfunctional               descriptive        material        is recorded          on some
computer-readable              medium,      in a computer           or on an electromagnetic
carrier       signal,       it is not statutory              since      no requisite          functionality       is
present       to satisfy         the practical          application         requirement.           Merely
claiming        nonfunctional           descriptive       material,         i.e.,      abstract
ideas,      stored      in a computer-readable                 medium,      in a computer,           on an
electromagnetic             carrier      signal     does not make it statutory.                     See
Diehr,      450 U.S. at 185-86,               209 USPQ at 8 (noting                 that    the claims
for an algorithm              in Benson were unpatentable                  as abstract
ideas    because        "[t]he       sole practical          application          of the algorithm
was in connection               with the programming              of a general           purpose
computer.").          Such a result           would exalt         form over substance.                In
re Sarkar,         588 F.2d 1330, 1333, 200 USPQ 132, 137 (CCPA 1978)
 {"[E]ach       invention        must be evaluated             as claimed;         yet semantogenic
considerations            preclude       a determination           based      solely      on words appearing
in the claims.            In the final          analysis       under     Sec. 101, the claimed
invention,         as a whole,          must be evaluated·            for what it is. 11 ) (quoted
with approval           in Abele,        684 F.2d at 907, 214 USPQ at 687).
See also        In re Johnson,           589 F.2d 1070, 1077,               200 USPQ 199,
206 (CCPA 1978)              {"form of the claim             is often      an exercise           in
drafting").         Thus, nonstatutory              music is not a computer                   component     and
it does not become statutory                      by merely       recording         it on a compact         disk.
Protection         for this        type of work is provided                under       the copyright        law.

     When nonfunctional           descriptive       material        is recorded        on some
computer-readable           medium,      in a computer        or on an electromagnetic
carrier       signal,    it is not statutory             and should       be· rejected       under 35
U.S.C.      Sec. 101. In addition,             the examiner         should     inquire      whether      there
should      be a rejection        under     35 U.S.C.       Sec.    102 or 103. The examiner
should      determine      whether     the claimed        nonfunctiona·1         descriptive       material
be given patentable            weight.      The USPTO must consider               all claim
limitations         when determining         patentability          of an invention          over the
prior     art.    In re Gulack,        703 F.2d 1381, 1385,              217 USPQ 401,
403-04       (Fed. Cir.     1983).     The USPTO may not disregard                  claim    limitations
comprised        of printed     matter.       See Gulack,        703 F.2d at 1384,
217 USPQ at 403; see also Diehr,                   450 U.S.       at 191, 209 USPQ
at 10. However,          the examiner        need not give          patentable        weight    to printed
matter      absent    a new and unobvious            functional        relationship,,between             the
printed       matter    and the substrate.           See In re Lowry, 32 F.3d
1579, 1583-84,          32 USPQ2d 1031, 1035 (Fed. Cir.                    1994);     In re
Ngai,     367 F.3d 1336, 70 USPQ2d 1862 (Fed.                     Cir.    2004).

             {a) Functional         Descriptive       Material:     "Data Structures"
             Representing         Descriptive      Material     Per Se or Computer                   Programs
             Representing         Computer    Listings      Per Se                 •

    Data structures     not claimed       as embodied      in computer-readable
media are descriptive       material      per se and are not statutory
because   they are not capable        of causing      functional    change     in the
computer.    See, e.g.,    Warmerdarn,      33 F.3d at 1361, 31 USPQ2d
at 1760 (claim      to a data   structure      per se held nonstatutory).           Such
claimed   data structures     qo not define        any structural       and functional



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interrelationships           between      the data        structure     and other        claimed   aspects     of
the invention        which permit          the data       structure's      functionality         to be
realized.       In contrast,        a claimed        computer-readable          medium encoded         with a
data structure        defines       structural        and functional         interrelationships           between
the data structure           and the computer             software     and hardware         components     which
permit      the data    structure's          functionality          to be realized,         and is thus
statutory.

     Similarly,        computer      programs       claimed      as computer       listings      per
se, i.e.,        the descriptions           or expressions          of the programs,          are
not physical          "things."      They are neither            computer      components       nor
statutory       processes,         as they are not "acts"              being performed.           Such
claimed      computer       programs       do not define         any structural          and functional
interrelationships              between     the computer         program     and other      claimed
elements       of a computer         which permit         the computer         program's
functionality          to be realized.           In contrast,         a claimed      computer-readable
medium encoded           with a computer          program      is a computer         element     which
defines      structural         and functional         interrelationships            between      the
computer       program      and the rest         of the computer          which permit        the computer
program's        functionality         to be realized,           and is thus statutory.
See Lowry, 32 F.3d at 1583-84,                     32 USPQ2d at 1035. Accordingly,                    it is
important       to distinguish           claims     that    define     descriptive        material      per se
from claims         that    define     statutory       inventions.

      Computer       programs         are often         recited        as part      of a claim.       USPTO personnel
should      determine         whether         the computer          program       is being       claimed      as part
of an otherwise             statutory           manufacture         or machine.          In such a case,           the
claim remains           statutory           irrespective           of the fact         that    a computer
program      is included            in the claim.             The same result            occurs     when a
computer       program        is used in a computerized                      process      where the computer
executes       the instructions                 set forth        in the computer            program.       Only when
the claimed          invention          taken      as a whole is directed                  to a mere program
listing,       i.e.,      to only its description                      or expression,          is it descriptive
material       per se and hence nonstatutory.                            Since    a computer
program      is merely          a set of instructions                    capable      of being      executed       by a
computer,        the computer             program       itself       is not a process            and USPTO
personnel        should       treat       a claim       for a computer            program,       without      the
computer-readable               medium needed             to realize         the computer         program's
functionality,            as nonstatutory               functional          descriptive        material.         When a
computer       program        is claimed           in a process           where the computer             is
executing        the computer             program's         instructions,           USPTO personnel           should
treat     the claim         as a process             claim.      See paragraph           IV.B.2(b),        below.
When a computer             program         is recited         in conjunction            with a physical
structure,         such as a computer                 memory, USPTO personnel                  should      treat     the
claim as a product                claim.        See paragraph            IV.B.2(a),       below.

              (b)   Nonfunctional          Descriptive          Material

     Nonfunctional          descriptive         material·      that   does not constitute            a
statutory       process,        machine;      manufacture         or composition        of matter       and
should      be rejected         under    35 U.S.C.        Sec. 101. Certain          types     of descriptive
material,       such asmU:sic,           literature,         art,    photographs       and mere
arrangements         or compilations            of facts      or data,      without      any functional
interrelationship             is not a process,            machine,      manufacture        or composition
of matter.        USPTO personnel            should    be prudent        in applying        the foregoing
guidance.       Nonfunctional          descriptive         material      may be claimed         in
combination         with other        functional       descriptive         multi-media        material     on a
computer-readable             medium to provide            the necessary         functional       and
structural        interrelationship             to satisfy        the requirements          of 35 U.S.C.
Sec. 101. The presence                of the claimed          nonfunctional         descriptive        material



http://www.uspto.gov/web/offices/com/sol/og/2005/week47/patgupa.htm                                                        12/21/2006
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is not necessarily            determinative        of nonstatutory         subject     matter.    For
example,      a computer        that    recognizes      a particular       grouping      of musical
notes    read from memory and upon recognizing                       that  particular      sequence,
causes     another      defined      series    of notes     to be played,        defines     a
functional       interrelationship            among that      data     and the computing
processes      performed        when utilizing        that    data,     and as such is statutory
because     it implements          a statutory      process.

             (c)   Electro-Magnetic           Signals

    Claims   that  recite    nothing  but the physical          characteristics         of
a form of energy,       such as a frequency,       voltage,      or the strength          of a
magnetic   field,    define   energy  or magnetism,         per se, and as
such are nonstatutory        natural  phenomena.      O'Reilly,        56 U.S.
 (15 How.) at 112-14.       Moreover,  it does not appear            that    a claim    reciting
a signal   encoded    with functional     descriptive        material      falls    within     any
of the categories       of patentable    subject     matter     set forth        in Sec. 101.

     First,    a claimed      signal   is clearly     not a "process"           under Sec. 101
because     it is not a series         of steps.     The other      three     Sec.    101 classes              of
machine,      compositions       of matter    and manufactures         "relate      to
structural      entities      and can be grouped       as 'product'         claims     in order
to contrast      them with process         claims."    1 D. Chisum,         Patents      Sec. 1.02
 (1994).    The three      product   classes     have traditionally           required     physical
structure      or material.

     "The term machine         includes      every mechanical            device    or combination          of
mechanical     device     or combination          of mechanical          powers    and devices       to
perform    some function         and produce        a certain       effect     or result."
Corning    v. Burden,       56 U.S.     (15 How.) 252, 267 (1854).                 A
modern definition         of machine      would no doubt            include     electronic       devices
which perform       functions.       Indeed,      devices      such as flip-flops            and
computers     are referred        to in computer          science      as sequential         machines.      A
claimed    signal     has no physical          structure,        does not itself          perform    any
useful,    concrete      and tangible        result      and,    thus,     does not fit within           the
definition      of a machine.

     A "composition      of matter"     "covers   all    compositions       of two or more
substances     and includes        all composite    articles,       whether   they be results
of chemical      union,   or of mechanical       mixture,       or whether    they be gases,
fluids,     powders    or solids."     Shell   Development       Co. v.
Watson,     149 F. Supp. 279, 280, 113 USPQ 265, 266 (D.D.C.                    1957),
aff'd,     252 F.2d 861, 116 USPQ 428 (D.C. Cir.                1958).   A claimed     signal  is not
matter,     but a form of energy,        and therefore        is not a composition         of matter.

     The Supreme Court has read the term "manufacture"                              in accordance
with its dictionary             definition         to mean "the production             of articles
for use from raw or prepared                    materials      by giving       to these     materials        new
forms,     qualities,        properties,         or combinations,         whether      by hand-labor           or
by machinery."           Diamond v. Chakrabarty,               447 U.S. 303, 308,
206 USPQ 193, 196-97              (1980)       (quoting      American    Fruit    Growers,        Inc:
v. Brogdex        Co., 283 U.S. 1, 11, 8 USPQ 131,                    133 (1931),        which,      in
turn,     quotes      the Century        Dictionary).         Other   courts     have applied          similar
definitions.          See American        Disappearing         Bed Co. v.
Arnaelsteen,          182 F. 324, 325 (9th Cir.                1910),    cert.
denied,      220 U.S. 622 (1911).               These definitions         require       physical
substance,        which a claimed           signal      does not have.         Congress     can be
presumed      to be aware of an administrative                      or judicial       interpretation           of
a statute       and to adopt         that     interpretation         when it re-enacts            a statute
without      change.      Lorillard       v. Pons,        434 U.S.    575, 580



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 (1978).     Thus,    Congress  must be presumed   to have                   been aware      of      the
interpretation         of manufacture  in American    Fruit                  Growers
when it passed         the 1952 Patent  Act.

     A manufacture       is also defined             as the residual           class     of product.
1 Chisum,      Sec. 1.02[3]          (citing      w. Robinson,         The Law of
Patents     for Useful       Inventions         270 (1890)).         A product       is a
tangible     physical      article        or object,       some form of matter,             which a
signal    is not.      That the other           two product         classes,      machine     and
composition       of matter,        require       physical      matter       is evidence      that   a
manufacture       was also       intended       to require        physical       matter.    A signal,             a
form of energy,         does not fall          within      either      of the two definitions                    of
manufacture.        Thus, a signal           does not fall          within     one of the four
statutory      classes     of Sec. 101.

    On the other      hand,     from a technological             standpoint,    a signal     encoded
with functional       descriptive        material       is similar      to a computer-readable
memory encoded      with functional           descriptive       material,    in that     they both
create   a functional       interrelationship             with a computer.      In other     words,
a computer    is able to execute            the encoded        functions,    regardless      of
whether   the format      is a disk or a signal.

     These interim     guidelines      propose  that  such               signal   claims   are ineligible
for patent    protection       because    they do not fall                 within   any of the four
statutory    classes     of Sec. 101. Public       comment               is sought     for further
evaluation     of this    question.

                                                        ANNEX    5
                                          Mathematical          Algorithms

    Claims   to processes     that  do nothing      more               than solve
mathematical     problems    or manipulate     abstract                  ideas or concepts               are
complex    to analyze     and are addressed     herein.

     If the "acts"        of a claimed    process     manipulate        only numbers,
abstract     concepts      or ideas,    or signals      representing        any of the
foregoing,      the acts       are not being    applied      to appropriate          subject
matter.     Benson,     409 U.S. at 71-72,        175 USPQ at 676. Thus, a
process     consisting       solely   of mathematical        operations,       i.e.,     converting
one set of numbers           into another    set of numbers,           does not manipulate
appropriate       subject      matter  and thus cannot         constitute      a statutory
process.

    In practical         terms,     claims     define     nonstatutory          processes      if        they:

         consist       solely     of mathematical         operations          without   some
claimed      practical        application    (i.e.,       executing          a "mathematical
algorithm");         or

        simply  manipulate  abstract                ideas,   e.g.,     a bid (Schrader,         22 F.3d at
293-94,    30 USPQ2d at 1458-59)     or             a bubble     hiera~chy       (Warmerdam,     33 F.3d at
1360, 31 USPQ2d at 1759),      without                some claimed      practical     application.

    Cf.    Alappat,      33 F.3d at       1543 n.19,     31 USPQ2d at            1556 n.19          in     which      the
Federal     Circuit      recognized       the confusion:

     The Supreme Court has not been clear          .      as to whether      such subject
matter   is excluded     from the scope of Sec.       101 because    it represents    laws of
nature,    natural   phenomena,      or abstract ideas.   See Diehr,     450 U.S. at 186
 {viewed mathematical       algorithm    as a law of nature);     Gottschalk     v. Benson,



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Graffiti Writing Guide
Block Recognizer on the Pocket PC uses Palm Graffiti. Letters go in the left block and
numbers are written in the right block




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Nancy Clark, M.Ed.                               FSU College of Medicine                                                       1
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Graffiti 2
The latest version of Graffiti, that comes on the Palm Tungsten T3 and higher, is a slight
modification of the original Graffiti.
  Draw letters on LEFT side of Graffiti 2 writing area                Draw numbers on RIGHT side of Graffiti 2 writing            area

 Letter        Strokes            Letter          Strokes             Number           Strokes            Number             Strokes
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  Draw letters on LEFT side of Graffiti 2 writing area

 Letter        Strokes            Letter           Strokes

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Nancy Clark, M.Ed.                               FSU College of Medicine                                                           2
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Nancy Clark, M.Ed.                                    FSU College of Medicine                                                     4
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Nancy Clark, M.Ed.                       FSU College of Medicine                              5
                Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 600 of 745
                 UNITED STATES PATENT AND TRADEMARK OFFICE
                                                                                                  PARTMENTOF COMMERCE
                                                                                                  and Trademark Office
                                                                                                  ER FOR PATENTS
                                                                                                  ia 22313-1450




    APPLICATION NO.             FILING DATE            FIRST NAMED INVENTOR   ATTORNEY DOCKET NO.         CONFIRMATION NO.

       10/315,250                12/10/2002                Magnus Goertz            3682-32                       1226

       23117             7590             05/24/2007
                                                                                                EXAMINER
       NIXON & VANDERHYE, PC
       901 NORTH GLEBE ROAD, I ITH FLOOR                                                       PITARO, RYAN F
       ARLINGTON, VA 22203
                                                                                   ART UNIT                 PAPER NUMBER

                                                                                      2174



                                                                                   MAIL DATE                DELIVERY MODE

                                                                                   05/24/2007                     PAPER


Please find below and/or attached an Office communication concerning this application or proceeding .

. The time period for reply, if any, is set in the attached communication.




 PTOL-90A (Rev. 04/07)
            ;;
                             Case 6:20-cv-00507-ADA
                                           Best AvailableDocument
                                                          Copy    81-7 Filed 05/19/23 Page 601 of 745
                                                                                     Application No.                                  Applicant(s)

                                                                                      10/315,250                                      GOERTZ, MAGNUS
                          Office Action Summary                                      Examiner                                         Art Unit
                                                                                     RyanF.Pitaro                                     2174
           -- The MAILING DATE of this communicationappears on the cover sheet with the correspondenceaddress --
  Period for Reply                                                          '
         A SHORTENED STATUTORY PERIOD FOR REPLY IS SET TO EXPIRE'.] MONTH(S) OR THIRTY (30) DAYS,
         WHICHEVER IS LONGER, FROM THE MAILING DATE OF THIS COMMUNICATION.·
           Extensions of time may be available under the provisions of 37 CFR 1.136(a). In no event, however, may a reply be timely filed
           after SIX (6) MONTHS from the mailing date of ihis communication.
         - If NO period for reply is specified above, the maximum statutory period will apply and will expire SIX (SJ:MONTHS from the mailing date of this communication.
         - Failure to reply within the set or extended period for reply will, by statute, cause the application to become ABANDONED (35 U.S.C. § 133).
           Any reply received by the Office later than three months after the mailing date of this communication, eyen if timely filed, may reduce any
           earned patent term adjustment. See 37 CFR 1.704(b).

  Status

            1)[8] Responsive to communication(s) filed on 15 March 2007.
        2a)0          This action is FINAL.                          2b)[8] This action is non-final.
          3)0          Since this application is in condition for allowance except for formal ~atters, prosecution as to the merits is
                      closed in accordance with the practice under Ex parte Quayle, 1935.C.D. 11, 453 O.G. 213.

  Disposition of Claims
         4)~           Claim(s) 1-18 is/are pending in the application.
                      4a) Of the above claim(s) __      is/are withdrawn from consideration.
          5)0          Claim(s) __          is/are allowed.                                                         1

         6)[8] Claim(s) 1-18 is/are rejected.
         7)0           Claim(s) __          is/are objected to.
         8)0           Clair:i(s) __        are subject to restriction and/or election requirement.

  Application Papers

            9)0 The specification is objected to by the Examiner.
        10)0 The drawing(s) filed on __                      is/are: a)O accepted or b~O objecte~ to by the Examiner..
                       Applicant may not request that any objection to the drawing(s) be held in abeyanGe. See 37 CFR 1.85(a).
                       Replacement drawing sheet(s) including the correction is required if the drawing(s) is objected to. See 37 CFR 1.121(d).
        11)0 The oath or declaration is objected to by the Examiner. Note the attached Office Action or formPTO-152.

  Priority under 35 U.S.C. § 119
        12)0 Acknowledgment is made of a claim for foreign priority under 35 U.S.C. § 119(a)-(d) or (f).
            a)O All b)O Some* c)O None of:
               1.0 Certified copies of the priority documents have been received.
                       2.0     Certified copies of the priority documents have been received in Application No. __                                       .
                       3.0  Copies of the certified copies of the priority documents have been received in this National Stage
                            application from the International Bureau (PCT Rule 17.2(a)).
                   * See the attached detailed Office action for a list of the certified copies not received.




  Attachment(s)
  1)    !Z). Notice of References Cited (PT0-892)                                                    4)    D   lnterv.iew Summary (PT0-413)
  2)    D        Notice of Draftsperson's   Patent Drawing Review (PT0-948)                                    Paper No(s)/Mail Date. __    .
 • 3)   0        Information Disclosure Statement{s)   {PTO/SB/08)                                   5)    D Notice     of Informal Patent Application
                 Paper No(s)/Mail Date __     .                                                   , • 6)   0   Other; __      .

U.S. Patent and Trademark Office
PTOL-326 (Rev. 08-06)                                                   Office Action Summary                                     Part of Paper No./Mail Date 20070517
f ...1
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                                                DETAILED ACTION




                                            Response to Amendment             i

                                                                              :
                This communication is responsive to the Amendme~t filed 3/15/2007.

                Claims 1-18 are pending in this application. Claims 1, 15 and 17 are

         independent claims. In the Amendment the Specification a:nd the Claims were

         amended. Claims 1-18 were amended.



                                      • Claim Rejections - 35 USC§ 101



                35 U.S.C. 101 reads as follows:
                                                                              I.

                Whoever invents or discovers any new and useful process, machine, manufacture, or composition of
                matter, or any new and useful improvement thereof, may obtain a patent therefor, subject to the
                conditions and requirements of this title.                     •

                Claims 1-16 are rejected under 35 U.S.C. 101 beca~se the claimed invention is

         directed to non-statutory subject matter. A graphical user interface is simply non

         functional descriptive material per se, and therefore lacks 9 n actual data structure to be

         considered statutory. To be an actual data structure it must be a physical or logical

         relationship among data elements designed to support specific data manipulation

         functions.
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                                                                           I


                                 Claim Rejections - 35 USC§ 1:03·
                                                                           i
       The following is a quotation of 35 U.S.C. 103(a) whi~h forms the basis for all

obviousness rejections set forth in this Office action:
                                                                           I
       {a} A patent may not be obtained though the invention is not identically disclosed or described as set
       forth in section 102 of this title, if the differences between the subj~ct matter sought to be patented and
       the prior art are such that the subject matter as a whole would have been obvious at the time the
       invention was made to a person having ordinary skill in the art to which said_subject matter pertains.
       Patentability shall not be negatived by the manner in which the in~ention was made.

       Claims 1, 4-7, 12, 15 and 17 are rejected under 35 U.S.C. 103(a) as being

unpatentable over Carlson ("Carlson", Carlson, Jeff. Visua:I Quickstart Guide Palm

Organizers. Peachpit Press. 2000. Berkeley, CA.) in view of Haitani et al ("Haitani", US

5,900875) in view ?f Venolia et al ("Venolia", T-Cube: A Fa~t, Self-Disclosing Pen-

Based Alphabet).



1.     As per claim 1, Carlson teaches a user interface for
                                                         •
                                                            :a
                                                            I
                                                               mobile hand held computer .

unit (Introduction, page xiii), where said computer unit comprises a touch sensitive area
                                                                           I
(page 26, the screen is touch sensitive), that is simultaneously divided into a menu area
                                                                           '
(page 12, fig. 1.10 silk screen graffiti area) and a display area, the computer unit is

being adapted to run several applications simultaneously (page 47, all of the

applications are running concurrently), and to present an active application on top of

any other application on said display area, characterised in'.,that said menu area is

adapted to present a representation of a first, a second and a third predefined function,

that said first function is a general application dependent function (page 28, the Menu

icon, fig. 2.4), that said second function is a keyboard -function (page 30, either the abc
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       Application/Control Number: 10/315,250                                                 Page 4
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       or 123 dots in the lower comer of the Graffiti area), that sai~ third function is a task and
                                                                     !
       file manager (page 47, the Applications screen & fig. 2.35),!and that any one of said
                                                                     !1
       three functions can be activated when said touch sensitive area detects a movement of

       an object with its starting point within the representation of said function on said menu
                                                                      I
                                                                      !
       area and with a direction from said menu area to said displ~y area (page 40, bottom-to-
                                                                     t

       top screen stroke shortcut fig. 2.22 & page 30, drag the sty/us vertically across the
                                                                  . !
       screen from bottom to top), said user interface allowing low precision navigation using a
                                                     •             '
       blunt object, whereby said user interface can be operated 9y ·one hand (page 12, "The

       stylus is the main method of interacting with the PalmPilot"iand it inherently involves
                                                                     I

       one hand to use the stylus. Also, if a finger was used, that:would also be considered

       using one hand), where said blunt object is a finger (page 12, "The stylus is the main

       method of interacting" though anything including fingers can work). Carlson fails to
                                                                     I

                                                                     '
       distinctly point out simultaneously displaying a first, second, and third function.
                                                                     !
       However, Haitani teaches the menu area being atjapted to!simultaneously present
                                            •                        i

       representations of a first function that is a general applicatibn dependent function
                                                                  1
       (Figure 1 items 151,153), a second function that is a keyboard function (Figure 1 item
                                                                     i

       145) and a third function that is a task and file manager (Fibure 1 item 141). Therefore it

       would have been obvious to an artisan at the time of the invention to combine the

       teaching of Haitani with the interface of Carlson. Motivation to do so would have been to
              a   way
I'.~   provide away to view information that does_not fit.on the display. The modified Carlson

       still does not explicitly point out activation by a single step ~fan object moving in a

       direction on the touch sensitive area. However, Venolia teJches activating by the single
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step of an object moving·in a direction from a starting point 1that is representation of the
                                                                 i
                                                                 !
function in the menu area to the display area (Column 2, flick gestures). Therefore it
                                                                 !
                                                                 i
would have been obvious 'to an artisan at the time of the invention to combine the

teaching of Venolia with the modified Carlson. Motivation to do so would have been to
                                                                 I
provide a fast way of selecting functions. .                     !


2.      As per claim 4, the modified Carlson teaches the user interface according to

claim 1, characterised in,
                                                                 I

        that, if said second function is activated, said displa~ area is adapted to display.a
                                                                 l.
keyboard and a text field,

        that, if a text passage in said active application is highlighted, said text passage
                                                                 '
is displayed in said text field for editing through said keybo~ud and that said highlighted

text passage is replaced by said edited text passage whenlsaid second function is

deactivated, and
                                                                 i
        that, if no text passage in said active application is h:ighlighted, said text field is

available for inputting and editing of text through said keyboard (Carlson, page 30, fig

2.7}.                                                            l
                                                                 '.
                                                                 '
3.      As per claim 5, the modified Carlson teaches the us~r interface according to
                                                                 I



claim 4, characterized in, that if no text passage in said active application is highlighted,
                                                                     l



and said text field is used for inputting and editing of text th'.roughsaid keyboard
                                                                     '
                                                                     l


(Carlson, page 30, fig 2.7), then                                    '
                                                                     l




        said first function can be activated, or
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       said second function can be closed, in which a choide of saving or deleting said
                                                               I
                       •                                       i
                                                               i
inputted text is given, where the choice of saving said inpu,ted text results in an

activation of said first function,                             Ii'

       in which said first function will present services or settings available for said

inputted text {Carlson, page 28, fig. 2.4 Beam Memo).
                                                               l
4.    As per claim 6, the modified Carlson teaches the us~r interface according to
                                                                 'j
claim 1, characterised in, that, if said third function is activated, said display area is

adapted to display a list with a library of available applications and files on said
                                                               I
                                                               i            .
computer unit, that a selection of an application will start said application, and that a
                                                               I


selection of a file will open said file in an application intend~d for said file (Carlson, page

47, fig. 2.35).

5.     As per claim 7, the modified Carlson teaches the us~r interface acc·ording to

claim 6, characterised in, that a selection of an application or a file is done by moving
                                                               I
                                                               l
said object so that the representation of desired applicatiori or file is highlighted,

removing said object from said touch sensitive area, and then _tappingon said touch
                                                               I        .

sensitive area, and that an application or file is highlighted py placing some kind of
                                                               I

marking on the representation of said application or file (Carlson, pages 26 & 27).

6.     As per claim 12, the modified Carlson teaches the u~er interface according to

Claim 1, characterised in, that an active application, functidn, service or setting is

moved on one step by moving said object from the left of said display area to the right of

said display area, and that the active application, function ~ervice or setting is closed or
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backed one step by moving said object from the right of sa\d display area to the left of

said display area (Carlson, page 246, fig. 14.2, Drag to scr711through file).

7.     As per claim 15, the modified Carlson teaches an enclosure adapted to cover a

computer unit, said computer unit being adapted to present a user interface according
                                                                I

Claim 1, characterised in, that said enclosure is provided ~ith an opening for said
                                                                !
display area, and that a representation of said menu area is printed on top of said

enclosure (Carlson, page 12, Silkscreen Graffiti area & fig. '1.10).

8.     As per claim 17, the .modified Carlson teaches a computer readable medium,

with a computer program product stored therein, characterised in, that said computer

program product comprises computer readable code, which, when read by a computer,

will make it possible for said computer to present a user .interface according to Claim 1

(Carlson, page 25, Palm OS).




       Claims 2 and 3 are rejected under 35 U.S.C. 103(a) as being unpatentable over
                                                                I                       .




Carlson ("Carlson", Carlson, Jeff. Visual Quickstart Guide Palm Organizers. Peachpit

Press. 2000. Berkeley, CA.), Haitani et al ("Haitani", US 5,900875), and Venolia et al

("Venolia", T-Gube: A Fast, Self-Disclosing Pen-Based Alphabet) in view of Kopitzke et
                                                                I                   .




al. ("Kopitzke", US# 6,988,246 B2).

9.     As per claim 2, the modified Carlson teaches the us~r interface according to

claim 1, characterized in, that, if said first function is activated, said display area is

adapted to display icons representing different services or settings depending on the

current active application {Carlson, page 28, the Menu icon, fig. 2.4), and that, if no
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application is currently active on said computer unit, said ic.ons are adapted to represent

services or settings of the operations system of said compoter unit (Carlson, page 47,

fig. 2.36, 12:1.1am).

       However the modified Carlson does not teach expre:ssly the user interface
                                                                i


according to claim 1, characterized in, that, if said first func~ion is activated, said display
                                                               I
                                                                i
area is adapted to display icons representing different servjces or settings depending on

the current active ·application, that one of said icons always. represents a "help"-service,

regardless of application.

       Kopitzke teaches the user interface according to claim 1, characterised in, that

said display area is adapted to display icons representing different services or settings

depending on the current active application, that one of said icons always represents a

"help"-service, regardless of application (column 4, lines 36-53 & fig. 1, Help key or

button 6}.

       The modified Carlson and Kopitzke are analogous art because they are in the

same field of endeavor, namely graphical user interfaces with touch sensitive displays.

       At the time of the invention it would have been obvious to a person of ordinary

skill in the art to provide the help function as taught by Kopitzke within the user interface

of the modified Carlson in order to provide context sensitive information.

       As per claim 3, the modified Carlson teaches the us~r interface according to
                                                                i

claim 2, characterised in, that a selection of a preferred service or setting is done by

tapping on corresponding icon (Carlson, page 26, fig. 2.1 T~pping just about any

interface element in the Palm OS evokes a response).
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       Claims 8-11 and 13 is rejected under 35 U.S.C. 103~a)as being unpatentable
                                                                 \

over Carlson {"Carlson", Carlson, Jeff. Visual Quickstart G~ide Palm Organizers.
                                                                 /



Peachpit Press. 2000. Berkeley, CA.), Haitani et al ("Haitahi", US 5,900875), and -

Venolia et al {"Venolia", T-Cube: A Fast, Self-Disclosing P~n-Based Alphabet) in view of
                                                                 ''
Wynn et al. ("Wynn", US# 6,734,883 81).

10.    As per claim 8, the modified Carlson teaches the us~r interface according to
                                                                 ;
                                                                 I
claim 7. However the modified Carfson does not teach expressly the user interface,

characterised in, that said list is adapted to· present only said files or only said

applications, that the top area of said list presents a field through which the content of

said list can be altered, that, if said list only presents files, said field displays a
                                                                 i                 •   .
representation of a task manager and a selection of said field will cause said list to alter

to present only applications, and that, if said list only preserts applications, said field
                                                                 1
~isplays a representation of a file manager arid a selection of said field will cause said

list to alter and present only files.

       Wynn teaches a user interface control, characterised in, that said list is adapted

to present only said files or only said applications, that the top area of said list presents
                                                                 1
a field through which the content of said list can be altered (column 3, lines 4-8, dialog

box 32), that, if said list only presents files, said field displays a representation of a task

manager and a selection of said field will cause said list to alter to present only
                                                                 I
applications, and that, if said list only presents applications; said field displays a

representation (column 3, lines 4-8, label 31) of a file man~ger and a selection of said

field will cause said list to alter and present only files (colurhn 3, lines 15-31).
                                                                  '
                                                                  I.
                                                                       .
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       The modified Carlson and Wynn are analogous art Jecause they are in the same
                                                                 ;
                                                                 i
field of endeavor, namely scrolling within graphical user int¢rfaces with touch sensitive
                                                                 i
displays.
                                                                 :    .
       At the time of the invention it would have been obviqus to a person of ordinary
                                                                 i
skill in the art to have the selection list format as taught by Wynn within the user
                                                                 I
                                                                 I

interface of the modified Carlson in order to provide a conv¢ntional list format.
                                                                 I
                                                                 j

11.    As per claim 9, the modifiedCarlson teaches the user interface according to claim

7, characterised ih, that, a navigation in said list is performed by moving said object in a

direction towards the top of said list or towards the bottom· of said list, that the

movement of said object will cause said marking to move in the same direction

(Carlson, page 27, a quicker way to view the full list is to ta~ and hold on the dark solid

portion of the scroll bar, then drag it vertically).

       However the modified Carlson does not teach expre_sslythat the speed of the

movement of said marking is lower than the speed of the rr\ovement of said object.
                                                                 I

       Wynn teaches a user interface control, characterised in, that, a navigation in said
                                                             .   I
list is p_erformedby moving said object in a direction towar~s the top of said list or
                                                                 I
towards the bottom of said list, that the movement of said object will cause said marking
                                                                 '
to move in the same direction (column 3, lines 32-39 & figs:. 5) and that the speed of the

movement of said marking is lower than the speed of the movement of said object

(column 4, lines 24-30).
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       At the time ofthe invention it would have been obviQus to a person of ordinary

skill in the art to have the scrolling function as taught by Wynn within the user interface

of the modifiedCarlson in order to provide a conventional si3lection list.

12.    As per claim 10, the modified Carlson in view of Wynn teaches the user interface

according to claim 9, characterised in, that, if the number   ofapplications   and/or files in
                                                               j
                                                               l

said list exceeds the number of applications and files that can be presented on said

display area, and if said object is moved to the top or bottor-1position of said display

area, then lifted, replaced on said display area, and again moved to the top or bottom of

said display area, the content of said display area. will be replaced one whole page,

meaning that if said object is positioned at the top of said display area, then lifted,

replaced on said display area, and then again moved to thJ top of said display area, the

content of said display area will be replaced by the preceding applications and/or files in

said list {Carlson, page 253, fig. 14.15 Full Page Up).

       The modified Carlson in view of Wynn does not disclose expressiy the user
                                                               l
interface, characterised in that if said object is positioned at the bottom of said display

area, then lifted, replaced on said display area, and then again moved to the bottom of
                                                               I
said display area, the content of said display area will be replaced by the following

applications and/or files in said list.

       At the time of the invention, it would have been an obvious matter of design

choice to a person of ordinary skill in the art to modify the Full Page Up function
                                                               !
{Carlson, page 253, fig 14.15) to work as a Full Page Dow~ function by tapping on the

bottom of the display area because Applicant has not disclosed that if said object is
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14.    As per claim 13, the modified Carlson teaches the user interface according to

Claim 1, characterised in, that said menu area is positione~ at the bottom of said touch
                                                                 I
                                                                 i
sensitive area, that said representation of said first function' is positioned at the left side

of said menu area, and that said representation of said sec,ond function is positioned at
                                                                 !

the middle of said menu area.

       The modified Carlson does not_teach expressly that !said representation of said

third function is positioned at the right side ofsaid meriu ar~a.

       At the time the invention was made, it would have been an obvious matter of

design choice to a person of ordinary skill in the art to place the third function on the

right side of the display area instead of the left, because Applicant has not disclosed
                                                                 i
that said representation of said third function is positioned at the right side of said menu

area provides an advantage, is used for a particular purpose or solves a stated problem.

One of ordinary skill in the art, furthermore would have expected Applicant's invention to ·

perform equally well with the third function on the left side of the display area because

the placement of the representation would not change its functionality.


                                                                 I
       Claims 14 and 16 are rejected under 35 U.S.C. 103(a) as being unpatentable
                                                             •   i
over Carlson ("Carlson", Carlson, Jeff. Visual Quickstart Guide Palm Organizers.

Berkeley, CA: Peachpit Press, 2000), Haitani et al (''.Haitani", US 5,900875), and

Venolia et al {"Venolia", T-Cube: A Fast, Self-Disc,osing Pen.-Based Alphabet) in view of

Strietelmeier {"Strietelmeier", Strietelmeier, Julie. "Palm m100." The Gadgeteer. 2000.
                                                                 I
<http://www.the-gadgeteer.com/review/palm       _ m 1 00 _review>). •
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positioned at the bottom of said display area, then lifted, replaced on said display area,
                                                              i

and then again moved to the bottom of said display area, the content of said display
                                                              ;
                                                              l

area will be replaced by the following applications and/or fi{es in said list provides an

advantage, is used for a particular purpose, or solves a sta.ted problem. One of ordinary

skill in the art, furthermore, would have ·expected Applicant/s invention to perform
                                                              !
equally well with the modified Full Page Up function as taught by Carlson because it
                                                              i
would only need to be implemented to scroll down instead of up, when the display area

is tapped on the bottom, instead of the top.

13.    As per claim 11, the modified Carlson in view of Wyr:in teaches the user interface

according to claim 10, characterised in, that if said object is removed fro_many first

position on said display area and then replaced on any second position on said display

area, said navigation can be continued from said second position (Carlson, page 253,

fig. 14.15).




       Claim 13 is rejected under 35 U.S.C. 103(a) as being unpatentable over Carlson

("Carlson", Carlson, Jeff. Visual Quickstart Guide Palm Organizers. Peachpit Press.

2000. Berkeley, CA.) in view of Haitani et al ("Haitani", us:5,900875} in view of Venolia

et al ("Venolia", T-Cube: A Fast, Self-Disclosing Pen-Based Alphabet).
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Art Unit: 2174



                                                             ;

15.    As per claim 14, the modified Carlson teaches the user interface according to
                                                             I             .              .

Claim 1, characterised in, that said user interface is adapte:d to a touch sensitive area
                     '                                       I


and that said user interface is adapted to be operated by one hand, where said object
                                                             I



can be a finger (page 12, stylus ... includes fingers).      t
                                                             I
       However the modified Carlson does not teach expre:ssly a touch sensitive area

with a size that is in the order of 2-3 inches.

       Strietelmeier teaches a user interface, characteris~d in, a touch sensitive area

with a size that is in the order of 2-3 inches (page 4).

       The modified Carlson and Strietelmeier are analogous art because they are in

the same field of endeavor, namely palm-sized computer organizers.

       At the time of the invention it would have been obvious to a person of ordinary

skill in the art to have the dimensions of a touch sensitive ~rea as taught by .
                                                             !
Strietelmeier within the user interface of the modified Carlson in order to provide a touch

sensitive area with the manufacturer's dimensions.



16.    As per claim 16, the modified Carlson teaches the enclosure according to claim
                                                             I
15. However, the modified Carlson does not disclose the enclosure characterised in,

that said enclosure is removable and exchangeable.
                                                             ;


       Strietelmeier teaches an enclosure characterised in, that said enclosure is

removable and exchangeable (page 3, you can also remove the entire face plate ...

there will be different face plates available).
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Art Unit: 2174

       At the time of the invention it would have been obvious to a person of ordinary
                                                              I

skill in the art to have the customizable enclosures as taught by Strietelmeier within the
                                                              !'
enclosure of the modified Carlson in order to tailor an enclosure to a user's preferences.
                                                             '


17.    Claim 18 is rejected under 35 U.S.C. 103(a) as bein~ unpatentable over Carlson
                                                              i
("Carlson", Carlson, Jeff. Visual Quickstart Guide Palm Organizers. Berkeley, CA:

Peachpit Press, 2000) in view of Chew et al. ("Chew", US# 6,727,917), Haitani et al

("Haitani", US 5,900875), and Venolia et al ("Venolia", T-Cube: A Fast, Self-Disclosing

Pen-Based Alphabet).

       As per claim 18, the modified Carlson teaches a computer readable medium

according to claim 17.

       However the modified Carlson does not teach expressly, that said computer

program product is adapted to function as a shell upon an operations system.

       Chew teaches a user int~rface for a palm-sized computer device, characterised
                                                              I
in, that said computer program product is adapted to function as a shell upon an

operations system (column 2, lines 1-5).
                                                              i
       The modified Carlson and Chew are analogous art because they are in the same

field of endeavor, namely graphical user interfaces for hand-held personal computing

devices with touch sE:msitivedisplays.

       At the time of the invention it would have been obvi~us to a person of ordinary

skill in the art to further modify the modified Carlson program to function as shell as

taught by Chew in order to efficiently display information.
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Art Unit: 2174




                               Response to Arguments

      Applicant's arguments with·respect to claims 1-18 have been considered but are

moot in view of the new ground(s) of rejection.




                                          CQnclusion

      Any inquiry concerning this communication or earlie'. communications from the

examiner should be directed to Ryan F. Pitaro whose telephone number is 571-272-

4071. The examiner can normally be reached on 7:00am - 4:30pm Mondays through

Fridays.

       If attempts to reach the examiner by telephone are unsuccessful, the examiner's

supervisor, Kristine Kincaid can be reached on 57.1-272-4063. The fax phone number

for the organization where this application or proceeding is 1assigned is 571-273-8300.
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     Art Unit: 2174

            Information regarding the status of an application mf y be obtained from the
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     Patent Application Information Retrieval (PAIR) system. Status information for
                                            .            .     l              ,
     published applications may be obtained from either Private PAIR or .Public PAIR.

     Status information for unpublished applications is available; through Private PAIR only.

     For more information about the PAIR system, see http://pajr-direct.uspto.gov. Should
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     you have questions on access to the Private PAIR system,;contact the Electronic
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     Business Center (EBC) at 866-217-9197 (toll-free). If you ~ould like assistance from a

     USPTO-Customer Service Representative or access to the. automated information
                                                                 !

     system, call 800-786-9199 (IN USA OR.CANADA) or 571-272-1000.


     Ryan Pitaro
     Patent Examiner
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                                                               , KRISTINE
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     Art unit 2174
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                                                                        U.S. PATENT DOCUMENTS
                      Document Number                     Date
 *               Country Code-Number-KindCode          MM-YYYY                                      Name                                          Classification

 *      A      US-5,900,875 A                         05-1999          Haitani et al.                             .                                 715/840
 *      B      US-2002/0046353 A 1                    04-2002          Kishimoto, Toyoaki                    i                                      713/202
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 *      C       US-2002/0002326                       01-2002          Causey et al.                                                                600/300
        D       US-                                                                                          ':
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                                                                        NON-PATENT DOCUMENTS

 *                                            Include as applicable: Author, Title Date, Publisher, Edition.or Volume, Pertinent Pages}



         u      Venolia et al, "T-Cube: A Fast, Self-Disclosing Pen-Based Alphabet, April 24, .1994, Pages 265-270


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A copy of this reference 1snot being furnished with this Office action. (See MPEP § 707.0S(a).)
Dates in MM-YYYY forma,tare publication dates. Classificationsmay be US or foreign.
U.S. Patent and Trademark Office
PTO-892 (Rev. 01°2001}                                                Notice of References Cited                             Part of Paper No. 20070517
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                                                              10/315,250             'i           GOERTZ, MAGNUS

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                                                              Ryan F. Pitaro
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   • APPLICATION NO.             FILING DATE                 FIRST NAMED INVENTOR   ATJ'ORNEY DOCKET NO.                CONFIRMATION NO.

       I0/3 I 5,250               I 2/I0/2002                    MagnusGoertz             3682-32                               1226

       23117              7590                  03/20/2007
                                                                                                              EXAMINER
       NIXON & VANDERHYE, PC
       901 NORTH GLEBE ROAD, I ITH FLOOR                                                               PURCELi., IAN M
       ARLINGTON, VA 22203
                                                                                          ART UNIT                        PAPER NUMBER

                                                                                            2174



                                                                                         MAIL DATE                       DELIVERY MODE

                                                                                         0:,/20/2007                           PAPER


Please find below and/or attached an Office communication concerning this application or proceeding.




JYfOL-90A (Rev. 10/0<i)
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                                                                    Application No.                   Applicant(s)

                                                                    10/315,250                        GOERTZ, MAGNUS
                          Interview Summary
                                                                    Examiner                          Art Unit

                                                                    Ian M. Purcell                    2174


  All participants (applicant, applicant's representative, PTO personnel):

 (1) Ian M. Purcell.                                                  (3)Robert A. Molan.

 (2) Kristine Kincaid.                                                (4)__      .

     Date of Interview: 13 March 2007.

     Type: a)O Telephonic      b)O Video Conference
           c)[8] Personal [copy given to: 1)0 applicant           2)[8] applicant's representative]

   Exhibit shown or demonstration conducted:         d)O Yes       e)[8] No.
      If Yes, brief description: __ .

   Claim(s) discussed: Claim 1.

   Identification of prior art discussed: Carlson.

  Agreement with respect to the claims f)O was reached. g)[8] was not reached. h)O N/A.


  Substance of Interview including description of the general nature of what was agreed to if an agreement was
  reached, or any other comments: Discussed the proposed amendments to independent claim 1. The examiner will
  provide possible amendments to the claim language in order to clarify the claimed invention.

  (A fuller description, if necessary, and a copy of the amendments which the examiner agreed would render the claims
  allowable, if available, must be attached. Also, where no copy of the amendments that would render the claims
  allowable is available, a summary thereof must be attached.)

 THE FORMAL WRITTEN REPLY TO THE LAST OFFICE ACTION MUST INCLUDE THE SUBSTANCE OF THE
 INTERVIEW. (See MPEP Section 713.04). If a reply to the last Office action has already been filed, APPLICANT IS
 GIVEN A NON-EXTENDABLE PERIOD OF THE LONGER OF ONE MONTH OR THIRTY DAYS FROM THIS
 INTERVIEW DATE, OR THE MAILING DATE OF THIS INTERVIEW SUMMARY FORM, WHICHEVER IS LATER, TO
 FILE A STATEMENT OF THE SUBSTANCE OF THE INTERVIEW. See Summary of Record of Interview
 requirements on reverse side or on attached sheet.



                                                                                     ~~
                                                                                           KINCAID
                                                                                     KRISTINE
                                                                                 SUPERVISORY
                                                                                         PATENT
                                                                                              EXAMINER
                                                                                  TECHNOLOGY
                                                                                           CENTER
                                                                                               2100




  Examiner Note: You must sign this form unless it is an
  Attachment to a signed Office action.                                              Examiner's signature, if required
U.S. Patentand TrademarnOffice
PTOL-413 (Rev. 04-03)                                      Interview Summary                                     PaperNo.20070313
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                                                   Summary of Record of Interview Requirements
Manual of Patent Examining Procedure (MPEP),Section 713.04, Substance of Interview Must be Made of Record
A completewritten statementas to the substanceof any face-to-face,video conference,or telephoneinterviewwith regardto an applicationmust be made of recordin the
applicationwhether or not an agreementwith the examinerwas reached at the interview.

                                                   Title 37 Code of Federal Regulations (CFR) § 1.133 Interviews
                                                                             Paragraph(b)
In every instancewhere reconsiderationis requestedin view of an interviewwith an examiner,a completewritten statementof the reasons presentedat the interviewas
warrantingfavorableactionmust be filed by the applicant. An interviewdoes not removethe necessityfor reply to Officeactionas specifiedin §§ 1.111,1.135.(35 U.S.C.132)

                                                           37 CFR §1.2 Businessto be transactedin writing.
All businesswith the Patentor TrademarkOffice should be transactedin writing. The personalattendanceof applicantsor their attorneysor agents at the Patent and
TrademarkOffice is unnecessary. The action of the Patent and TrademarkOffice will be based exclusivelyon the written record in the Office. No attentionwill be paid to
any allegedoral promise,stipulation',or understandingin relationto which there is disagreementor doubt.


           The action of the Patentand TrademarkOffice cannot be based exclusivelyon the written record in the Office if that record is itself
incompletethroughthe failure to recordthe substance of interviews.
           It is the responsibilityof the applicantor the attorney or agent to make the substanceof an interviewof record in the applicationfile, unless
the examiner indicateshe or she will do so. It is the examiner's responsibilityto see that such a record is made and to correct material inaccuracies
which bear directly on the questionof patentability.
           Examinersmust completean InterviewSummary Form for each interviewheld where a matter of substance has been discussedduring the
interviewby checkingthe appropriateboxes and filling in the blanks. Discussionsregardingonly proceduralmatters, directed solely to restriction
requirementsfor which interviewrecordationis otherwise providedfor in Section812.01 of the Manual of Patent ExaminingProcedure,or pointing
out typographicalerrors or unreadablescript in Office actions or the like, are excludedfrom the interview recordationproceduresbelow. Where the
substanceof an interviewis completelyrecorded in an ExaminersAmendment,no separate InterviewSummary Record is required.
           The InterviewSummaryForm shall be given an appropriatePaper No., placed in the right hand portion of the file, and listed on the
"Cqntents"section of the file wrapper. In a personal interview,a duplicateof the Form is given to the applicant(or attorney or agent) at the
conclusionof the interview. In the case of a telephone or video-conferenceinterview,the copy is mailed to the applicant'scorrespondenceaddress
either with or prior to the next official communication.If additionalcorrespondencefrom the examiner is not likely before an allowanceor if other
circumstancesdictate,the Form should be mailed promptly after the interviewrather than with the next official communication.

           The Form providesfor recordationof the following information:
              ApplicationNumber(Series Code and Serial Number)
              Name of applicant
              Name of examiner
              Date of interview
              Type of interview(telephonic,video-conference,or personal)
              Name of participant(s)(applicant,attorney or agent, examiner,other PTO personnel,etc.)
              An indicationwhether or not an exhibit was shown or a demonstrationconducted
              An identificationof the specific prior art discussed
              An indicationwhether an agreementwas reachedand if so, a descriptionof the general nature of the agreement(may be by
              attachmentof a copy of amendmentsor claims agreed as being allowable). Note: Agreementas to allowabilityis tentative and does
              not restrictfurther action by the examiner to the contrary.
              The signatureof the examinerwho conductedthe interview(if Form is not an attachmentto a signed Office action)

           It is desirablethat the examinerorally remind the applicant of his or her obligationto record the substanceof the interviewof each case. It
should be noted, however,that the InterviewSummary Form will not normallybe considereda complete and proper recordationof the interview
unless it includes,or is supplementedby the applicant or the examinerto include,all of the applicableitems required below concerningthe
substanceof the interview.

          A completeand proper recordationof the substanceof any interviewshould includeat least the followingapplicable items:
          1) A brief descriptionof the nature of any exhibit shown or any demonstrationconducted,
          2) an identificationof the claims discussed,
          3) an identificationof the specific prior art discussed,
          4) an identificationof the principalproposed amendmentsof a substantivenature discussed, unlessthese are already described on the
             InterviewSummaryForm completedby the Examiner,
          5) a brief identificationof the general thrust of the principalargumentspresentedto the examiner,
                   (The identificationof argumentsneed not be lengthy or elaborate. A verbatim or highly detailed descriptionof the argumentsis not
                   required. The identificationof the arguments is sufficient if the general nature or thrust of the principal argumentsmade to the
                   examinercan be understoodin the context of the applicationfile. Of course, the applicantmay desire to emphasizeand fully
                   describethose argumentswhich he or she feels were or might be persuasiveto the examiner.)
          6) a general indicationof any other pertinent matters discussed,and
          7) if appropriate,the general results or outcome of the interviewunless alreadydescribed in the InterviewSummary Form completedby
             the examiner.

         Examinersare expectedto carefully review the applicant's record of the substanceof an interview. If the record is not complete and
accurate,the examinerwill give the applicantan extendableone month time periodto correct the record.

                                                               Examinerto Check for Accuracy

         If the claims are allowablefor other reasons of record,the examinershould send a letter setting forth the examiner'sversion of the
statementattributedto him or her. If the record is complete and accurate,the examinershould place the indication,"Interview Record OK" on the
paper recordingthe substanceof the interviewalong with the date and the examiner'sinitials.




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                   E UNITED STATES PATENT AND TRADEMARK OFFICE

In re Patent Application of

GOERTZ                                                         Atty. Ref.: 5042-2
                                                               (Formerly 3682-32)

Serial No.: 10/315,250                                         Group: 2174

Filed: December 10, 2002                               Examiner: Purcell, Ian M.

For: USERINTERFACE


                          *    *   *       *   *   *   *   *    *   *     *

                                                                        March 15, 2007

Commissioner for Patents
P.O. Box 1450
Alexandria, VA 22313-1450


                         AMENDMENT AFTER FINAL REJECTION

Sir:

        In response to the Final Office Action mailed November 15, 2006, please amend the

above-identified application as follows:

        Amendments to the Claims are reflected in the listing of claims which begins on page 2

of this paper.

        Remarks/Arguments begin on page 9 of this paper.




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GOERTZ
                           '161UU1'
Serial No.:
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AMENDMENTS TO THE CLAIMS

        This listing of claims will replace all prior versions, and listings, of claims in the

application.

        1. (Currently Amended) A user interface for a mobile handheld computer unit, where

said eomputer unit eomprises comprising:

        a touch sensitive area, vrhieh toaeh sensitive area is that is simultaneously divided into a

menu area and a display area,

        ,vhere said the computer unit is-being adapted to run several applications simultaneously,

and to present an active application on top of any other application on said-the display area,

characterised in, that

       said-the menu area is-being adapted to simultaneously present a-representation§ of a-fu:st,

a seeond and a third predefined funetion, that said £!..firstfunction that is a general application

dependent function, that said £!..Secondfunction that is a keyboard function, that said and a third

function that is a task and file manager, and

       that any one of said each of the three functions simultaneously represented in the menu

area eae--beingactivated vrhen said by the single step of an object moving in a direction from a

starting point that is the representation of the function in the menu area to the display area being

detected by the touch sensitive area.1deteets a movement of an objeet moving with its starting

point within the representation of said funetion on said menu area and 1.vith a direetion from said

menu area to said display area, said 1:1:ser
                                          interfaee thereby allowing low precision navigation of

the user interface using a blunt object, whereby said so that the user interface can be operated by


                                                 -2-
                                                                                                 1182121
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GOERTZ
Serial No.: 10/315,250


one hand, where said-the blunt object eaa be is a finger.



        2. (Previously Presented) The user interface according to Claim 1, characterized in, that,

if said first function is activated, said display area is adapted to display icons representing

different services or settings depending on the current active application, that one of said icons

always represents a "help" -service, regardless of application, and that, if no application is

currently active on said computer unit, said icons are adapted to represent services or settings of

the operations system of said computer unit.



       3. (Previously Presented) The user interface according to Claim 2, characterised in, that

that-a selection of a preferred service or setting is done by tapping on corresponding icon.



       4. (Previously Presented) The user interface according to Claim 1, characterised in,

       - that, if said second function is activated, said display area is adapted to display a

keyboard and a text field,

       - that, if a text passage in said active application is highlighted, said text passage is

displayed in said text field for editing through said keyboard and that said highlighted text

passage is replaced by said edited text passage when said second function is deactivated, and

       - that if no text passage in said active application is highlighted, said text field is

available for inputting and editing of text through said keyboard.




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GOERTZ
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         5. (Previously Presented) The user interface according to Claim 4, characterised in, that

if no text passage in said active application is highlighted, said text field is used for inputting and

editing of text through said keyboard, then

         - said first function can be activated, or

         - said second function can be closed, in which a choice of saving or deleting said

inputted text is given, where the choice of saving said inputted text results in an activation of said

first function,

         in which said first function will present services or settings available for said inputted

text.



         6. (Previously Presented) The user interface according to Claim 1, characterised in, that,

if said third function is activated, said display area is adapted to display a list with a library of

available applications and files on said computer unit, that a selection of an application will start

said application, and that a selection of a file will open said file in an application intended for

said file.



         7. (Previously Presented) The user interface according to Claim 6, characterised in, that

a selection of an application or a file is done by moving said object so that the representation of

desired application or file is highlighted, removing said object from said touch sensitive area, and

then tapping on said touch sensitive area, and that an application or file is highlighted by placing

some kind of marking on the representation of said applica~ion or file.


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        8. (Previously Presented) The user interface according to Claim 7, characterised in, that

said list is adapted to present only said files or only said applications, that the top area of said list

presents a field through which the content of said list can be altered, that, if said list only presents

files, said field displays a representation of a task manager and a selection of said field will cause

said list to alter to present only applications, and that, if said list only presents applications, said

field displays a representation of a file manager and a selection of said field will cause said list to

alter and present only files.



        9. (Previously Presented)      The user interface according to Claim 7, characterised in,

that, a navigation in said list is performed by moving said object in a direction towards the top of

said list or towards the bottom of said list, that the movement of said object will cause said

marking to move in the same direction, and that the speed of the movement of said marking is

lower than the speed of the movement of said object.



        10. (Previously Presented)      The user interface according to Claim 9, characterised in,

that, if the number of applications and/or files in said list exceeds the number of applications and

files that can be presented on said display area, and if said object is moved to the top or bottom

position of said display area, then lifted, replaced on said display area, and again moved to the

top or bottom of said display area, the content of said display area will be replaced one whole

page, meaning that if said object is positioned at the bottom of said display area, then lifted,

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replaced on said display area, and then again moved to the bottom of said display area, the

content of said display area will be replaced by the following applications and/or files in said list,

and if said object is positioned at the top of said display area, then lifted, replaced on said display

area, and then again moved to the top of said display area, the content of said display area will be

replaced by the preceding applications and/or files in said list.



        11. (Previously Presented) The user interface according to Claim 10, characterised in,

that if said object is removed from any first position on said display area and then replaced on

am::
  second position on said display area, said navigation can be continued from said second

position.



        12. (Previously Presented) The user interface according to Claim 1, characterised in,

that an active application, function, service or setting is moved on one step by moving said object

from the left of said display area to the right of said display area, and that the active application,

function, service or setting is closed or backed one step by moving said object from the right of

said display area to the left of said display area.



        13. (Previously Presented) The user interface according to Claim 1, characterised in,

that said menu area is positioned at the bottom of said touch sensitive area, that said

representation of said first function is positioned at the left side of said menu area, that said




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representation of said second function is positioned at the middle of said menu area, and that said

representation of said third function is positioned at the right side of said menu area.



        14. (Previously Presented) The user interface according to Claim 1, characterised in,

that said user interface is adapted to a touch sensitive area with a size that is in the order of 2-3

inches, and that said user interface is adapted to be operated by one hand, where said object can

be a finger.



        15. (Previously Presented) An enclosure adapted to cover a computer unit, said

computer unit being adapted to present a user interface according to Claim 1, characterised in,

that said enclosure is provided with an opening for said display area, and that a representation of

said menu area is printed on top of said enclosure.



        16. (Previously Presented) The enclosure according to Claim 15, characterised in, that

said enclosure is removable and exchangeable.



        17. (Original) A computer readable medium, with a computer program product stored

therein, characterised in, that said computer program product comprises computer readable code,

which, when read by a computer, will make it possible for said computer to present a user

interface according to Claim 1.



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       18. (Original) A computer readable medium according to Claim 17, characterised in,

that said computer program product is adapted to function as a shell upon an operations system.




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                                            REMARKS

        Reconsideration of this application is respectfully requested. To this end, petition is

hereby made for a one month extension of time to respond to the Final Office Action mailed

November 15, 2006. In addition, a Request for Continued Examination is being filed with this

Amendment After Final Rejection.

        The Examiner and his Supervisory Primary Examiner, Kristine Kincaid, are thanked for

allowing the undersigned to interview this application on March 13, 2007. The remarks in this

Amendment, in essence, constitute the substance of the interview.

        Claims 1-18 are pending in the application. Upon entry of this Amendment, independent

claim 1 will be amended.

        In the outstanding Final Office Action of November 15, 2006, the Examiner again

rejected claims 1, 4-7, 12, 15 and 17 under 35 U.S.C. §102(b) as being anticipated by Carlson

(Carlson, Jeff, Visual Quickstart Guide Palm Organizers, Peachpit Press, 2000, Berkeley, CA;

hereinafter "Carlson"). The Examiner further rejected, as being unpatentable under 35 U.S.C.

§103(a), claims 2 and 3 over Carlson in view ofKopitzke (USP 6,988,246; hereinafter

"Kopitzke"); claims 8-11 and 13 over Carlson in view of Wynn et al. (USP 6,734883; hereinafter

Wynn); claim 13 over Carlson alone; claims 14 and 16 over Carlson in view of Strietelmeier

(Strietelmeier, Julie, Palm mlO0, The Gadgeteer, 2000, http://www.the-

gadgeteer.com/review/palm_mlOO_review; hereinafter Strietelmeier); and claim 18 over Carlson

in view of Chew et al. (USP 6,727,917; hereinafter Chew). The Examiner's rejections are again

respectfully traversed.


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       For a claimed invention to be anticipated by a prior art reference, every element of the

claim must be disclosed in the reference. For a claimed invention to be obvious over a

combination of prior art references, there must be some suggestion, motivation or teaching in the

prior art that would have led one of ordinary skill in the art to combine the references to produce

the claimed invention. E.g., Ashland Oil, Inc. v. Delta Resins & Refracs., 776 F.2d 281, 293

(Fed. Cir. 1985). Here, the claimed invention of the present application is neither anticipated nor

obvious over the cited references because such references do not disclose or suggest all of the

limitations of the claimed invention. Even assuming, arguendo, that the Examiner properly

combined the cited references, the resulting combination still would not be the claimed invention

given the deficiencies noted below in the primary Carlson reference.

       Amended independent claim 1 describes a user interface for a hand held computer unit

that includes a touch sensitive area simultaneously divided into a menu area and a display area,

with the menu area simultaneously presenting a first function that is a general application

dependent function, a second function that is a keyboard function, and a third function that is a

task and file manager. Amended independent claim 1 has been amended to clarify that each of

the three functions simultaneously represented in the menu area are activated by the touch

sensitive area detecting the single step of an object moving in a direction from a starting point

that is the representation of the function in the menu area to the display area. This single step

function launching movement is not described in the primary Carlson reference.

       The Examiner is thanked for discussing with the undersigned in connection with the

Interview mentioned above the clarification of claim 1 by reciting a single step function



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launching movement and noting that the recitation of this single step in claim 1 would likely

overcome the cited primary Carlson reference.

        The user interface described in claim 1 of the present application is designed to be used

with a user's hand and fingers, rather than any tools, such as the stylus used with a Palm Pilot.

This user interface is designed to be navigated with a finger, and preferably using only one hand,

holding the device with that hand and navigating with a user's finger. This allows the launching

of the functions described in claim 1 with a finger, through the recognition of the finger's

movement across a touch sensitive area in a direction from a starting point that is the

representation of the function in the menu area to the display area. Claim 1 has been amended to

better describe this single step function launching movement.

       The Palm Pilot device described in the cited Carlson reference is, in contrast, designed to

navigate on small icons and buttons with a relatively sharp tip from a stylus or pen. The Carlson

reference purports to be a guide to Palm organizers. The Examiner looks to pages 30 and 40 of

the Carlson reference as purporting to show the single step function launching movement recited

in claim 1 and discussed above. In particular, the Examiner looks to Figure 2.22, on page 40 of

Carlson, and the excerpt from page 30, titled "To activate the keyboard". In this excerpt from

page 30, Carlson teaches that there are four ways of accessing the Palm Pilot keyboard function,

one of which includes "drag[ing] the stylus vertically across the screen from bottom to top." The

stylus is purported to be shown in Figure 2.22, page 40, of Carlson. However, alongside the

representation of the stylus in this Figure is a menu including several entries, one of which is the

keyboard function, and another of which, i.e., the "backlight" function, appears to be highlighted.


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          There are several reasons why the disclosure on pages 30 and 40 of Carlson do not show

the function launching feature recited in claim 1 of the present application. First, claim 1

describes three broad based functions using the function launching features described in claim 1,

to wit, a first general application-dependent function, a second keyboard function, and a third

task and file manager function. The scope of these functions can be appreciated by the

embodiment of the invention described in the specification of the present application and, in

particular, the examples of these three functions shown in Figures 3, 5 and 6, respectively, of the

present application. This is in sharp contrast to the limited keyboard function described in the

Carlson reference with respect to the dragging of the stylus across the screen from to top on page

30 of Carlson.

          Second, it is clear from page 40 of Carlson that what is described in Figure 2.22 is a two-

step sequence in which a function is highlighted before the stylus is dragged. The grouping of

possibilities shown to the right of the stylus in Figure 2.22 includes the keyboard function. This

is in contrast to the single step function-launching movement described in claim 1, where a

function is launched by the single step of an object, such as a finger, moving from a function icon

in the menu area to the display area. It is this simple function-launching movement that allows

the user interface and computer unit described in claim 1 to be operated by a single hand and

finger.

          Finally, even in describing the step of dragging a stylus vertically across a screen from

bottom to top to activate a keyboard function, there is nothing.in Carlson which teaches placing

the stylus in the first instance on an icon describing or corresponding to the keyboard function


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and moving the stylus, or some other object, from that keyboard icon across the screen. Indeed,

Figure 2.22 shows the pen-dragging function from the writing area to the top of the screen with

the pen or stylus beginning at a location that is not a selected feature, such as those shown in

Figure 2.22 that include the keyboard function.

       Independent claim 17 describes a computer readable medium, with a computer program

product stored therein that makes it possible for a computer to present a user interface according

to Claim 1. Independent claims 1 and 17, and thus dependent claims 4-7, 12, and 15, which

depend either directly or indirectly from claim 1, are not anticipated by Carlson because Carlson

does not disclose the foregoing function launching feature described in amended claim 1.

       Independent claims 1 and 17, and dependent claims 4-7, 12, and 15, are also not

anticipated by Carlson because Carlson also does not disclose the recited first, second and third

predefined functions simultaneously represented in the menu area, much less activating any one

of these three functions by moving an object from a starting point that is within the

representation of the function in the menu area in a direction from the menu area to the display

area, as discussed above.

       Claim 1 describes the first function as a general application dependent function which, in

the embodiment of the invention described in the application, are services or functions dependent

upon a current active application. One of the services is described as a help service, regardless of

the application. Others are described as "save to disk", "send as SMS", or "delete", or settings

such as "resolution", "colour", or "brightness". If no application is active, the services or settings




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can be of the operations system, such as background picture, clock, alarm, users, help, etc. See,

e.g., Application, pages 5-6.

          The Examiner looks to page 28 of Carlson and a "menu" icon shown in Figure 2.4 on

page 28 of Carlson as meeting the first function feature recited in claim 1; however, what page 28

of Carlson shows is instructions for accessing menus in applications.

          Claim 1 also describes the second function as a keyboard function. The Examiner looks

to page 30 of Carlson as showing the keyboard function. Page 30 of Carlson does describe an

"onscreen keyboard".

          Claim 1 describes the third function as a task and file manager. The Examiner looks to

page 47 of Carlson, and particularly the applications screen in Figure 2.35 of Carlson as meeting

this function. In the embodiment of the invention described in the present application, the third

function is described as displaying a list with a library of available applications and files on the

computer unit. See, e.g., Application, page. 7.

          Assuming, arguendo, that the selected portions of Carlson show functions generally

corresponding to the functions described in claim 1, because Carlson shows multiple screens for

the menu shown on page 28, the keyboard shown on page 30, and the applications shown on

page 47, Carlson also does not disclose a menu area simultaneously presenting a representation

of the first, second and third predefined functions recited in claim 1. In view of the foregoing,

clearly, Carlson does not anticipate independent claims 1 and 17 or dependent claims 4-7, 12,

and 15.




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        Finally, because Carlson does not anticipate the claimed invention as recited in

independent claims 1 and 17 (which references claim 1), given the deficiencies noted above in

the teachings of the primary Carlson reference, the remaining claims rejected in the outstanding

Office Action under §103(a), i.e., claims 2, 3, 8-11, 13, 14, 16 and 18, which depend either

directly or indirectly from claim 1 or claim 17, are also not obvious over Carlson alone or in

combination with the other references cited by the Examiner.

        In view of the foregoing, it is believed that all of the claims pending in the application,

i.e., claims 1   18, are now in condition for allowance, which action is earnestly solicited. If any

issues remain in this application, the Examiner is urged to contact the undersigned at the

telephone number listed below.

        The Commissioner is hereby authorized to charge any deficiency. or credit any

overpayment, in the fee(s) filed, or asserted to be filed, or which should have been filed herewith

(or with any paper hereafter filed in this application by this firm) to our Account No. 14-1140.

                                                         Respectfully submitted,

                                                         NIXON & V ANDERHYE P.C.

                                                         By:~A-~
                                                                       Robert A. Molan
                                                                       Reg. No. 29,834

RAM:jsm

901 North Glebe Road, 11th Floor
Arlington, VA 22203
Telephone: (703) 816-4000
Facsimile: (703) 816-4100



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                   Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 639 of 745
                                                                                                                                    Modified PTO/SB/30(09-04)
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                               .REQUEST                                               A    lication Number            10/315,250
                                       FOR
                                                                                                                      December 10, 2002
        CONTINUED EXAMINATION                                 kfv~J:J
                                                                                      First Named Inventor            GOERTZ
                TRANSMITTA
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                                                                                                                      Purcell, Ian M.
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 Commissioner for Patents                                                             Examiner Name
                                                                                                                      5042-2 (formerly 3682-32)
 P.O. Box 1450
 Alexandria, VA 22313-1450                                   •~,.J                    Attorney Docket Number

This is a Request for Continued Examination (RCE) under 37 C.F.R. §1.114 of the above-identified application.
Requestfor continuedExamination (RCE) practiceunder37 C.F.R.§ 1.114doesnotapplyto any utilityor plantapplication
                                                                                                               filedpriorto June8,
1995,or to anydesignaoolication.See InstructionSheetfor RCEs(notto be submittedto the USPTO)on page2.

1. !Submission required under 37 C.F.R.                  § 1.114.     I
   a.   D     Previously submitted (Note:Anypreviously   filedunentered
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                     doesnotwishto havepreviously  filedunentered
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              amendment(s).
      i.      D Consider the amendment(s)/reply under 37 C.F.R. § 1.116 previously filed on ----------
      ii.     □ Consider the arguments in the Appeal Brief or Reply Brief previously filed on
      iii.    D other
   b. ~       Enclosed -------------------0-3/_1_6/_2_f:J07                                   tlB£RHE
      i.      ~ Amendment After Final Rejection                                                        08060053 10315250
      ii.     D Affidavit(s)/Declaration(s)                                         u1n::ca01
                                                                                                                     395.00OP
      iii.    D Information Disclosure Statement (IDS)
      iv.     D Other
2. ! Miscellaneous        I
   a.   D     Suspension of action on the above-identified application is requested under 35 C.F.R. § 1.103(c) for
              a period of _______           months. (Period of suspensionshall not exceed 3 months; Fee under 37 C.F.R. § 1.17(i) required)
   b.   0     Other
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3. ! Fees !TheRCEfeeunder37C.F.R.§ 1.17(e)is requiredby37C.F.R.§ 1.114whentheRCEis filed.
   a. ~ Applicant claims "small entity" status.
   b. ~ Fees are attached as calculated below:
      i. ~ RCE fee required under 37 C.F.R. § 1.17(e)                         $790.00 (1801)/$395.00 (2801) $ 395.00
      ii. ~ Petition is made to extend the due date 1 months (less O months previously paid)                    $ 60.00
      iii. D Other                                                                                              $
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   c. ~ Check in the amount of$ 455.00                        enclosed.
   d. D Payment by credit card (credit card payment form attached) in the amount of$ 0.00
   e. ~ The Director is hereby authorized to charge any deficiency in the fee(s) filed or which should have been filed
           herewith (or with any paper hereafter filed in this application by this firm), to Deposit Account No. 14-1140

                                        SIGNATURE OF APPLICANT, ATTORNEY, OR AGENT REQUIRED

  Name (Print Type)                            Robert A. Molan                              Registration No.   /Attorney/Agent)   I 29,834
  Signature                12...    P, • - ~       A , 11,.....- ()~ ""--                   Date        J   March 15, 2007

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   ,.           Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 640 of 745
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    APPLICATIONNO.            FILINGDATE          FIRSTNAMEDINVENTOR    IATTORNEYDOCKETNO.            I   CONFIRMATION
                                                                                                                     NO.
       10/315,250              12/10/2002            Magnus Goertz                3682-32                         1226

       23117           7590          11/15/2006                                                EXAMINER
       NIXON & VANDERHYE, PC                                                                PURCELL,IAN M
       901 NORTH GLEBE ROAD, 11TH FLOOR
       ARLINGTON, VA 22203                                                       ARTUNIT                    PAPERNUMBER
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                                                                        DATE MAILED: 11/15/2006




Please find below and/or attached an Office communication concerning this application or proceeding.




PTO-90C (Rev. 10/03)
                        Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 642 of 745
                                                                                 Application No.                             Applicant(s)

                                                                                  10/315,250                                 GOERTZ, MAGNUS
                    Office Action Summary                                        Examiner                                    Art Unit
                                                                                 Ian M. Purcell                              2174
                •• The MAILINGDATE of this comrf1unicationappears on the cover sheet with the correspondenceaddress ••
  Period for Reply
       A SHORTENED STATUTORY PERIOD FOR REPLY IS SET TO EXPIRE J MONTH(S) OR THIRTY (30) DAYS,
       WHICHEVER IS LONGER, FROM THE MAILING DATE OF THIS COMMUNICATION.
        - Extensionsof time may be availableunder the provisionsof 37 CFR 1:136(a). In no event, however,may a reply be timely filed
          after SIX (6) MONTHSfrom the mailingdate of this communication.
        - If NO periodfor reply is specifiedabove,the maximumstatutory periodwill apply and will expire SIX (6) MONTHSfrom the mailing date of this communication.
        - Failureto replywithin the set or extendedperiod for reply will, by statute,cause the applicationto becomeABANDONED (35 U.S.C. § 133).
          Any reply receivedby the Office later than three months after the mailing date of this communication,even if timely filed, may reduce any
          earned patentterm adjustment. See 37 CFR 1.704(b).

  Status
           1)[8'.I Responsive to communication(s) filed on 22 August 2006.
       2a)[8J This action is FINAL.                             2b)O This action is non-final.
        3)0      Since this application is in condition for allowance except for formal matters, prosecution as to the merits is
                 closed in accordance with the practice under Ex parte Quayle, 1935 G.D. 11,453 O.G. 213.

  Dispositionof Claims
        4)[8'.I Claim(s) 1-18 is/are pending in the application.
                4a) Of the above claim(s) __               is/are withdrawn from consideration.
        5)0      Claim(s) __         is/are allowed.
        6)[8'.I Claim(s) 1-18 is/are rejected.
        7)0      Claim(s) __         is/are objected to.
        8)0.     Claim(s) __         are subject to restriction and/or election requirement.

  ApplicationPapers
        9)0 The specification is objected to by the Examiner.
       10)0 The drawing(s) filed on __      is/are: a)O accepted or b)O obje.cted to by the Examiner.
                 Applicant may not request that any objection to the drawing(s) be held in abeyance. See 37 CFR 1.85(a).
                 Replacement drawing sheet(s) including the correction is required if the drawing(s) is objected to. See 37 CFR 1.121 (d).
       11)0 The oath or declaration is objected to by the Examiner. Note the attached Office Action or form PTO-152.

  Priority under 35 U.S.C. § 119
       12)0 Acknowledgment is made ·of a claim for foreign priority under 35 U.S.C. § 119(a)-(d) or (f).
              a)O All     b)O Some • c)O None of:
                 1.0     Certified copies of the priority documents have been received.
                 2.0     Certified copies of the priority documents have been received in Application No. __                                  .
                 3.0     Copies of the certified copies of the priority documents have been received in this National Stage
                         application from the International Bureau (PCT Rule 17.2(a)).
              *Seethe attached detailed Office action for a list of the c_ertifiedcopies not received.




  Attachment(s)
  1)   0    Notice of References Cited (PTO-892)                                              4) 0    Interview Summary (PTO-413)
  2)   0    Notice of Draftsperson's Patent Drawing Review (PTO-948)                                  Paper No{s)/Mail Date. __      .
  3)   0    lnfonnation Disclosure Statement(s) (PTO/SB/08)                                   5) 0    Notice of lnfom,al Patent Application
            Paper No(s)/Mail Date __     .                                                    6) 0    Other: __     .

U.S. Patentand TrademarkOffice
PTOL-326 (Rev. 08-06)                                               Office Action Summary                               Part of Paper No./Mail Date 20061109
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                                     DETAILED ACTION



1.     This communication is responsive to the Amendment filed 8/22/2006.

       Claims 1-18 are pending in this application. Claims 1, 15 and 17 are

independent claims. In the Amendment the Specification and the Claims were

amended. Claims 1-16 were amended.

       The text of those sections of Title 35, U.S. Code not included in this action can

be found in a prior Office action.



                            Claim Rejections - 35 USC§ 102

2.     Claims 1, 4-7, 12, 15 and 17 are rejected under 35 U.S.C. 102(b) as being

anticipated by Carlson ("Carlson", Carlson, Jeff. Visual Quickstart Guide Palm

Organizers. Peachpit Press. 2000. Berkeley, CA.).

3.     As per claim 1, Carlson teaches a user interface for a mobile handheld computer

unit (Introduction, page xiii),where said computer unit comprises a touch sensitive area

(page 26, the screen is touch sensitive), which touch sensitive area is divided into a

menu area (page 12, fig. 1.10 silk screen graffiti area) and a display area, where said

computer unit is adapted to run several applications simultaneously (page 47, all of the

applications are running concurrently), and to present an active application on top of

any other application on said display area, characterised in, that said menu area is

adapted to present a representation of a first, a second and a third predefined function,

that said first function is a general application dependent function (page 28, the Menu
      Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 644 of 745


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icon, fig. 2.4), that said second function is a keyboard function (page 30, either the abc

or 123 dots in the lower comer of the Graffiti area), that said third function is a task and

file manager (page 47, the Applications screen & fig. 2.35), and that any one of-said

three functions can be activated when said touch sensitive area detects a movement of

an object with its starting point within the representation of said function on said menu

area and with a direction from said menu area to said display area (page 40, bottom-to-

top screen stroke shortcut fig. 2.22 & page 30, drag the stylus vertically across the

screen from bottom to top), said user interface allowing low precision navigati~n using a

blunt object, whereby said user interface can be operated by one hand (page 12, "The

stylus is the main method of interacting with the PalmPilot" and it inherently involves

.one hand to use the stylus. Also, if a finger was used, that would also be considered

using one hand), where said object can be a finger (page 12, "The stylus is the main

method of interacting'' though anything including fingers can work).

4.    As per claim 4, Carlson teaches the user interface according to claim 1,

characterised in,

      that, if said second function is activated, said display area is adapted to display a

keyboard and a text field,

      that, if a text passage in said active application is highlighted, said text passage

is displayed in said text field for editing through said keyboard and that said highlighted

text passage is replaced by said edited text passage when said second function is

deactivated, and
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       that, if no text passage in said active application is highlighted, said text field is

available for inputting and editing of text through said keyboard (page 30, fig 2.7).

5.     As per claim 5, Carlson teaches the user interface according to claim 4,

characterized in, that if no text passage in said active application is highlighted, and said

text field is used for inputting and editing of text through said keyboard (page 30, fig

2.7), then

       said first function can be activated, or

       said second function can be closed, in which a choice of saving or deleting said

inputted text is given, where the choice of saving said inputted text results in an

activation of said first function,

       in which said first function will present services or settings available for said

inputted text (page 28, fig. 2.4 Beam Memo).

6.     As per claim 6, Carlson teaches the user interface according to claim 1,

characterised in, that, if said third function is activated, said display area is adapted to

display a list with a library of available applications and files on said computer unit, that

a selection of an application will start said application, and that a selection of a file will

open said file in an application intended for said file (page 47, fig. 2.35).

7.     As per claim 7, Carlson teaches the user interface according to claim 6,

characterised in, that a selection of an application or a file is done by moving said object

so that the representation of desired application or file is highlighted, removing said

object from said touch sensitive area, and then tapping on said touch sensitive area,
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and that an application or file is highlighted by placing some kind of marking on the

representation of said application or file (pages 26 & 27).

8.     As per claim 12, Carlson teaches the user interface according to Claim 1,

characterised in, that an active application, function, service or setting is moved on one

step by moving said object from the left of said display area to the right of said display

area, and that the active application, function service or setting is closed or backed one

step by moving said object from the right of said display area   to the left of said display
area (page 246, fig. 14.2, Drag to scroll through file).

9.     As per claim 15, Carlson teaches an enclosure adapted to cover a computer unit,

said computer unit being adapted to present a user interface according Claim 1,

characterised in, that said enclosure is provided with an opening for said display area,

and that a representation of said menu area is printed on top of said enclosure (page

12, Silkscreen Graffiti area & fig. 1.10).

10.    As per claim 17, Carlson _teachesa computer readable medium, with a computer

program product stored therein, characterised in, that said computer program product

comprises computer readable code, which, when read by a computer, will make it

possible for said computer to present a user interface according to Claim 1 (page 25,

Palm OS).
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                             Claim Rejections - 35 USC§ 103


11.    Claims 2 and 3 are rejected under 35 U.S.C. 103(a) as being unpatentable over

Carlson ("Carlson", Carlson, Jeff. Visual Quickstart Guide Palm Organizers. Peachpit

Press. 2000. Berkeley, CA.) in view of Kopitzke et al. ("Kopitzke", US# 6,988,246 82).

12.    As per claim 2, Carlson teaches the u~er interface according to claim 1,

characterized in, that, if said first function is activated, said display area is adapted to

display icons representing different services or settings depending on the current active

application (page 28, the Menu icon, fig. 2.4), and that, if no application is currently

active on said computer unit, said icons are adapted to represent services or settings of

the operations system of said computer unit (page 47, fig. 2.36, 12:11 am).

       However Carlson does not teach expressly the user interface according to claim

1, characterized in, that, if said first function is activated, said display area is adapted to

display icons representing different services or settings depending on ttie current active

application, that one of said icons always represents a "help"-service, regardless of

application.

       Kopitzke teaches the user interface according to claim 1, characterised in, that

said display area is adapted to display icons representing different services or settings

depending on the current active application, that one of said icons always represents a

"help"-service, regardless of application (column 4, lines 36-53 & fig. 1, Help key or

button 6).

       Carlson and Kopitzke are analogous art because they are in the same field of

endeavor, namely graphical user interfaces with touch sensitive displays.
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       At the time of the invention it would have been obvious to a person of ordinary

skill in the art to provide the help function as taught by Kopitzke within the user interface

of Carlson in order to provide context sensitive information.

       As per claim 3, the modified Carlson teaches the user interface according to

claim 2, characterised in, that a selection of a preferred service or setting is done by

tapping on corresponding icon (Carlson, page 26, fig. 2.1 Tapping just about any

interface element in the Palm OS evokes a response).

13.    Claims 8-11 and 13 is rejected under 35 U.S.C. 103(a) as being unpatentable

over Carlson ("Carlson", Carlson, Jeff. Visual Quickstart Guide Palm Organizers.'

Peachpit Press. 2000. Berkeley, CA.) in view of Wynn et al. ("Wynn", US# 6,734,883

B1).

14.    As per claim 8, Carlson teaches the user interface according to claim 7.

However Carlson does not teach expressly the user interface, characterised in, that said

list is adapted to present only said files or only said applications, that the top area of

said list presents a field through which the content of said list can be altered, that, if said

list only presents files, said field displays a representation of a task manager and a

selection of said field will cause said list to alter to present only applications, and that, if

said list only presents applications, said field displays a representation of a file manager

and a selection of said field will cause said list to alter and present only files.

       Wynn teaches a user interface control, characterised in, that said list is adapted

to present only said files or only said applications, that the top area of said list presents

a field through which the content of said list can be altered (column 3, lines 4-8, dialog
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box 32), that, if said list only presents files, said field displays a representation of a task

manager and a selection of said field will cause said list to alter to present only

applications, and that, if said list only presents applications, said field displays a

representation (column 3, lines 4-8, /abe/31) of a file manager and a selection of said

field will cause said list to alter and present only files (column 3, lines 15-31).

       Carlson and Wynn are analogous art because they are in the same field of

endeavor, namely scrolling within graphical user interfaces with touch sensitive

displays.

       At the time of the invention it would have been obvious to a person of ordinary

skill in the art to have the selection list format as taught by Wynn within the user

interface of Carlson in order to provide a conventional list format.

15.    As per claim 9, Carlson teaches the user interface according to claim 7,

characterised in, that, a navigation in said list is performed by moving said object in a

direction towards the top of said list or towards the bottom of said list, that the

movement of said object will cause said marking to move in the same direction (page

27, a quicker way to view the full list is to tap and hold on the dark solid portion of the •

scroll bar, then drag it vertically).

       However Carlson does not teach expressly that the speed of the movement of

said marking is lower than the speed of the movement of said object.

       Wynn teaches a user interface control, characterised in, that, a navigation in said

_listis performed by moving said object in a direction towards the top of said list or

towards the bottom of said list, that the movement of said object will cause said marking
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 to move in the same direction (column 3, lines 32-39 & figs. 5) and that the speed of the

 movement of said marking is lower than the speed of the movement of said object

 (column 4, lines 24-30).

        At the time of the invention it would have been obvious to a person of ordinary

 skill in the art to have the scrolling function as taught by Wynn within the user interface

 of Carlson in order to provide a conventional selection list.

 16.    As per claim 10, the modified Carlson in view of Wynn teaches the user interface

· according to claim 9, characterised in, that, if the number of applications and/or files in

 said list exceeds the number of applications and files that can be presented on said

 display area, and if said object is moved to the top or bottom position of said display

 area, then lifted, replaced on said display area, and again moved to the top or bottom of

 said display area, the content of said display area will be replaced one whole page,

 meaning that if said object is•positioned at the top of said display area, then lifted,

 replaced on said display area, and then again moved to the top of said display area, the

 conte.nt of said display area will be replaced by the preceding applications and/or files in

 said list (Carlson, page 253, fig. 14.15 Full Page Up).

        The modified Carlson in view of Wynn does not disclose expressly the user

 interface, characterised in that if said object is positioned at the bottom of said display

 area, then lifted, replaced on said display area, and then again moved to the bottom of

 said display area, the content of said display area will be replaced by the following

 applications and/or files in said list.
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       At the time of the invention, it would have been an obvious matter of design .

choice to a person of ordinary skill in the art to modify the Full Page Up function

(Carlson, page 253, fig 14.15) to work as a Full Page Down function by tapping on the

bottom of the display area because Applicant has n·otdisclosed that if said object is

positioned at the bottom of said display area, then lifted, replaced on said display area,

and then again moved to the bottom of said.display area, the content of said display

area will be replaced by the following applications and/or files in said list provides an

advantage, is used for a particular purpose, or solves a stated problem. One of ordinary

skill in the art, furthermore, would have expected Applicant's invention to perform

equally well with the modified Full Page Up function as taught by Carlson because it

would only need to be implemented to scroll down instead of up, when the display area

is tapped on the bottom, instead of the top.

17.    As per claim 11, the modified Carlson in view of Wynn teaches the user interface

according to claim 10, characterised in, that if said object is removed from any first

position on said display area and then replaced on any second position on said display

area, said navigation can be continued from said second position (Carlson, page 253,

fig. 14.15).

       Claim 13 is rejected under 35 U.S.C. 103(a) as being unpatentable over Carlson

("Carlson", Carlson, Jeff. Visual Quickstart Guide Palm Organizers. Peachpit Press.

2000. Berkeley, CA.)

18.    As per claim 13, Carlson teaches the user interface according to Claim 1,

characterised in, that said menu area is positioned at the bottom of said touch sensitive
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area, that said representation of said first function is positioned at the left side of said

menu area, and that said representation of said second function is positioned at the

middle of said menu area.

       Carlson does not teach expressly that said representation of said third function is

positioned at the right side of said menu area.

       At the time the invention was made, it would have been an obvious matter of

design choice to a person of ordinary skill in the art to place the third function on the

right side of the display area instead of the left, because Applicant has not disclosed

that said representation of said third function is positioned at the right side of said menu

area provides an advantage, is used for a particular purpose or solves a stated problem.

One of ordinary skill in the art, furthermore would have expected Applicant's invention to

perform equally well with the third function on the left side of the display area because

the placement of the representation would not change its functionality.

19.    Claims 14 and 16 are rejected under 35 U.S.C. 103(a) as being unpatentable

over Carlson ("Carlson", Carlson, Jeff. Visual Quickstart Guide Palm Organizers.

Berkeley, CA: Peachpit Press, 2000) in view of Strietelmeier ("Strietelmeier",

Strietelmeier, Julie. "Palm m100." The Gadgeteer. 2000.

<http://www.the-gadgeteer.com/review/palm _m 100_review>).

20.    As per claim 14, Carlson teaches the user interface according to Claim 1,

characterised in, that said user interface is adapted to a touch sensitive area and that

said user interface is adapted to be operated by one hand, where said object can be a

finger (page 12, stylus ... includes fingers).
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        However Carlson does not teach expressly a touch sensitive area with a size that

 is in the order of 2-3 inches.

        Strietelmeier teaches a user interface, characterised in, a touch sensitive area

 with a size that is in the order of 2-3 inches (page 4).

        Carlson and Strietelmeier are analogous art because they are in the same field of

. endeavor, namely palm-sized computer organizers.

        At the time of the invention it would have been obvious to a person of ordinary

 skill in the art to have the dimensions of a touch sensitive area as taught by

 Strietelmeier within the user interface of Carlson in order to provide a touch sensitive

 area with the manufacturer's dimensions.

 21.    As per claim 16, Carlson teaches the enclosure according to claim 15. However,

 Carlson does not disclose the enclosure characterised in, that said enclosure is

 removable and exchangeable.

        Strietelmeier teaches an enclosure characterised in, that said enclosure is

 removable and exchangeable (page 3, you can also remove the entire face plate ...

 there will be different face plates available).

        At the time of the invention it would have been obvious to a person of ordinary

 skill in the art to have the customizable enclosures as taught by Strietelmeier within the

 enclosure of Carlson in order to tailor an enclosure to a user's preferences,

 22.    Claim 18 is rejected under 35 U.S.C. 103(a) as being unpatentable over Carlson

 ("Carlson", Carlson, Jeff. Visual Quickstart Guide Palm Organizers. Berkeley, CA:

 Peachpit Press, 2000) in view of Chew et al. ("Chew", US# 6,727,917).
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       As per claim 18, Carlson teaches a computer readable medium according to
                ...
claim 17.

       However Carlson does not teach expressly, that said computer program product·

·is adapted to function as a shell upon an operations system.

       Chew teaches a user interface for a palm-sized computer device, characterised

in, that said computer program product is adapted to function as a shell upon an

operations system (column 2, lines 1-5).

       Carlson and Chew are analogous art because they are in the same field of

endeavor, namely graphical user interfaces for hand-held personal computing devices

with touch sensitive displays.

       At the time of the invention it would have been obvious to a person of ordinary

skill in the art to modify the Carlson's program to function as shell as taught by Chew in

order to efficiently display information.



                                 Response to Arguments

23.    Applicant's arguments with respect to claims 2, 4, 6,-8, 10, 12, 14-16, 18, 20, 22-

24 in the Amendment have been fully considered but they are not persuasive.

       Applicant argued the following:

       (a) Carlson does not teach using a blunt object, whereby the user can operate

the interface with one hand, where said object can be a finger.

       (b) Carlson does not disclose the recited firs\ second, and third predefined

functions represented in a menu area, or activating anyone one of these three functions
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by moving an object from a starting point within the representation of the function on the

menu in a direction from the menu area to the display area.



         The Examiner disagrees for the following reasons:

         Per (a), The stylus is the main method of interacting, however anything including

fingers can work (page 12). It is simply an allegation that Carlson is portraying the use

of a finger in "a somewhat joking way". It is more likely that Carlson is portraying the

use of a toe in "a somewhat joking way". However, joking or not, Carlson teaches the

use of a finger or a toe as said object. Furthermore, Carlson states on page 26, ."three

basic methods of interacting within the Palm ... depend on the stylus." As disclosed

earlier, Carlson teaches that a finger can work as the stylus (page 12, Stylus).

Moreover, the basic methods of interacting depend on the stylus, does not imply that all

methods of interacting depend on the stylus.

         Per (b), during patent examination, the pending claims must be "given >their<

broadest reasonable interpretation consistent with the specification."> In re Hyatt, 211

F.3d 1367, 1372, 54 USPQ2d 1664, 1667 (Fed. Cir. 2000). Despite the claims being

interpreted in light of the specification, limitations from the specification are not being

read into the claims. See In re Van Geuns, 988 F.2d 1181, 26 USPQ2d 1057 (Fed. Cir.

1993).

     Applicant always has the opportunity to amend the claims during prosecution, and

broad interpretation by the examiner reduces the possibility that the claim, once issued,
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will be interpreted more broadly than is justified. In re Prater, 415 F.2d 1393, 1404-05,

162 USPQ 541, 550-51 (CCPA 1969).

       In this case, Carlson teaches the recited first (page 28, the Menu icon, fig. 2.4),

second (page 30, either the abc or 123 dots in the lower comer of the Graffiti area) and

third predefined functions (page 47, the Applications screen & fig. 2.35) represented in a

menu area (page 12, fig. 1.10 silk screen graffiti area). Furthermore, Carlson teaches

activating anyone one of these three functions by moving an object from a starting

point within the representation of the function on the menu in a direction from the menu

area to the display area. Carlson teaches activating the second function by moving an

object from a starting point within the representation of the function on the menu in a

direction from the menu area to the display area (page 40, bottom-to-top screen stroke

shortcut, fig. 2.22 & page 30, to activate the keyboard ... drag the stylus vertically

across the screen from bottom to top).



                                       Conclusion

       Any inquiry concerning this communication or earlier communications from the

examiner should be directed to Ian M. Purcell whose telephone number is (571) 272-

5755. The examiner can normally be reached on Monday - Friday 8:30 - 5:00.

       If attempts to reach the examiner by telephone are unsuccessful, the examiner's

supervisor, Kristine Kincaid can be reached on (571) 272-4063. The fax phone number

for the organization where this application or proceeding is assigned is 571-273-8300.
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       Information regarding the status of an application may be obtained from the

Patent Application Information Retrieval (PAIR) system. Status information for

published applications may be obtained from either Private PAIR or Public PAIR.

Status information for unpublished applications is available through Private PAIR only.

For more information about the PAIR system, see http://pair-direct.uspto.gov. Should

you have questions on access to the Private PAIR system, contact the Electronic

Business Center (EBC) at 866-217-9197 (toll-free). If you would like assistance from a

USPTO Customer Service Representative or access to the automated information

system, call 800-786-9199 (IN USA OR CANADA) or 571-272-1000.


                                                     Ian M. Purcell
                                                     Examiner


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                          Index of Claims                                                                     Reexamination



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                                                                    10/315,250                                GOERTZ, MAGNUS
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                          111                                       Ian M. Purcell                            2174

                                                 (Through numeral)
                          ✓   Rejected       -       Cancelled                N   Non-Elected
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                                                                                                                 Appeal


                          =   Allowed                  Restricted             I   Interference            0     Objected


             Claim                  Date               Claim           Date                    Claim                 Date

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U.S. Patent and Trademark Office                                                                                     Part of Paper No. 20060308
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                                           TES PATENT AND TRADEMARK OFFICE

    In re Patent Application of

    GOERTZ                                                      Atty. Ref.: 3682-32

    Serial No.: 10/315,250                                      Group: 2174

    Filed: December 10, 2002                            Examiner: Purcell, Ian M.

    For: USER INTERFACE


                              *   *    *    *   *   *   *   *    *   *     *

                                                                         August 22, 2006

    Commissioner for Patents
    P.O. Box 1450
    Alexandria, VA 22313-1450


                                             AMENDMENT

    Sir:

            In response to the Office Action dated March 23, 2006, please amend the above-identified

    application as follows:

            Amendments to the Title begin on page 2 of this paper.

            Amendments to the Specification begin on page 3 of this paper.

            Amendments to the Claims are reflected in the listing of claims which begins on page 4

    of this paper.

            Remarks/Arguments begin on page 10 of this paper.




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AMENDMENTS TO THE TITLE

      Please amend the title as follows:

            USER INTERFACE FOR MOBILE HAND HELD COMPUTER UNIT




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AMENDMENTS TO THE SPECIFICATION

              On page 5 of the application, please add the following new paragraph after line 3,

as follows:

              Figure 14 shows a computer readable medium in the form of a solid state memory.




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AMENDMENTS TO THE CLAIMS

       This listing of claims will replace all prior versions, and listings, of claims in the

application.

        1. (Currently Amended) l:Jsef-Auser interface for a mobile handheld computer unit,

where said computer unit comprises a touch sensitive area, which touch sensitive area is divided

into a menu area and a display area, where said computer unit is adapted to run several

applications simultaneously, and to present an active application on top of any other application

on said display area, characterised in, that said menu area is adapted to present a representation of

a first, a second and a third predefined function, that said first function is a general application

dependent function, that said second function is a keyboard function, that said third function is a

task and file manager, and that any one of said three functions can be activated when said touch

sensitive area detects a movement of an object with its starting point within the representation of

said function on said menu area and with a direction from said menu area to said display area,

said user interface allowing low precision navigation using a blunt object, whereby said user

interface can be operated by one hand, where said object can be a finger.



       2. (Currently Amended) l:Jsef-The user interface according to Claim 1, eharaeteriseEl

characterized in, that, if said first function is activated, said display area is adapted to display

icons representing different services or settings depending on the current active application, that

one of said icons always represents a "help" -service, regardless of application, and that, if no

application is currently active on said computer unit, said icons are adapted to represent services


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or settings of the operations system of said computer unit, sueh as background pictl:l:fe,clock,

users, help, e~e.



       3. (Currently Amended) Yser-The user interface according to Claim 2, characterised in,

that that-a selection of a preferred service or setting is done ~tapping   on corresponding icon.



       4. (Currently Amended) Yser-The user interface according to Claim 1, characterised in,

       - that, if said second function is activated, said display area is adapted to display a

keyboard and a text field,

       - that, if a text passage in said active application is highlighted, said text passage is

displayed in said text field for editing through said keyboard and that said highlighted text

passage is replaced by said edited text passage when said second function is deactivated, and

       - that if no text passage in said active application is highlighted, said text field is

available for inputting and editing of text through said keyboard.



        5. (Currently Amended) Yser-The user interface according to Claim 4, characterised in,

that if no text passage in said active application is highlighted, said text field is used for inputting

and editing of text through said keyboard, then

        - said first function can be activated, or

        - said second function can be closed, in which a choice of saving or deleting said

inputted text is given, where the choice of saving said inputted text results in an activation of said


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first function,

        in which said first function will present services or settings available for said inputted

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        6. (Currently Amended) Ysef-The user interface according to Claim 1, characterised in,

that, if said third function is activated, said display area is adapted to display a list with a library

of available applications and files on said computer unit, that a selection of an application will

start said application, and that a selection of a file will open said file in an application intended

for said file.



        7. (Currently Amended) Ysef-The user interface according to Claim 6, characterised in,

that a selection of an application or a file is done by moving said object so that the representation

of desired application or file is highlighted, removing said object from said touch sensitive area,

and then tapping on said touch sensitive area, and that an application or file is highlighted by

placing some kind of marking on the representation of said application or file, suoh as

pesitieniag a frame are1:1ndthe represeatation of said 01919lieation
                                                                   or file or in1,'erting the

representation of said 019plieationer file.



         8. (Currently Amended) Ysef-The user interface according to Claim 7, characterised in,


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that said list is adapted to present only said files or only said applications, that the top area of said

list presents a field through which the content if.of said list can be altered, that, if said list only

presents files, said field displays a representation of a task manager and a selection of said field

will cause said list to alter to present only applications, and that, if said list only presents

applications, said field displays a representation of a file manager and a selection of said field

will cause said list to alter and present only files.



        9. (Currently Amended) Ysef-The user interface according to Claim 7, characterised in,

that, a navigation in said list is performed by moving said object in a direction towards the top of

said list or towards the bottom of said list, that the movement of said object will cause said

marking to move in the same direction, and that the speed of the movement of said marking is

lower than the speed of the movement of said object.



        10. (Currently Amended) Ysef-The user interface according to Claim 9, characterised in,

that, if the number of applications and/or files in said list exceeds the number of applications and

files that can be presented on said display area, and if said object is moved to the top or bottom

position of said display area, then lifted, replaced on said display area, and again moved to the

top or bottom of said display area, the content of said display area will be replaced one whole

page, meaning that if said object is positioned at the bottom of said display area, then lifted,

replaced on said display area, and then again moved to the bottom of said display area, the

content of said display area will be replaced by the following applications and/or files in said list,

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and if said object is positioned at the top of said display area, then lifted, replaced on said display

area, and then again moved to the top of said display area, the content of said display area will be

replaced by the preceding applications and/or files in said list.



        11. (Currently Amended) Yser-The user interface according to Claim 10, characterised

in, that if said object is removed from any first position on said display area and then replaced on

any second position on said display area, said navigation can be continued from said second

position.



        12. (Currently Amended) Yser-The user interface according to Claim 1, characterised in,

that an active application, function, service or setting is moved on one step by moving said object

from the left of said display area to the right of said display area, and that the active application,

function, service or setting is closed or backed one step by moving said object from the right of

said display area to the left of said display area.



        13. (Currently Amended) Yser-The user interface according to Claim 1, characterised in,

that said menu area is positioned at the bottom of said touch sensitive area, that said

representation of said first function is positioned at the left side of said menu area, that said

representation of said second function is positioned at the middle of said menu area, and that said

representation of said third function is positioned at the right side of said menu area.




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        14. (Currently Amended) Yset=-Theuser interface according to Claim 1, characterised in,

that said user interface is adapted to a touch sensitive area with a size that is in the order of 2-3

inches, and that said user interface is adapted to be operated by one hand, where said object can

be a finger, sl:lehas the thl:lma, or a user of saiel eompl:lterl:lmt.



        15. (Currently Amended) An enclosure adapted to cover a computer unit, said computer

unit being adapted to present a user interface according to Claim 1, characterised in, that said

enclosure is provided with an opening for said display area, and that a representation of said

menu area is printed on top of said enclosure.



        16. (Currently Amended) Eaelosere The enclosure according to Claim 15, characterised

in, that said enclosure is removable and exchangeable.



        17. (Original) A computer readable medium, with a computer program product stored

therein, characterised in, that said computer program product comprises computer readable code,

which, when read by a computer, will make it possible for said computer to present a user

interface according to Claim 1.



        18. (Original) A computer readable medium according to Claim 17, characterised in,

that said computer program product is adapted to function as a shell upon an operations system.




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                                           REMARKS

       Reconsideration of this application is respectfully requested.

       Claims 1-18 are pending in the application. Upon entry of this Amendment, claims 1-16

will be amended to, inter alia, conform such claims to U.S. claim practice.

       In the outstanding Office Action of March 23, 2006, the Examiner objected to the title of

the invention as not being descriptive. The title of the invention has now been amended.

Accordingly, the Examiner's objection to the title of the invention should now be withdrawn.

       The Examiner objected to claims 3 and 8 because of certain informalities noted in these

claims. The proposed amendments by the Examiner have now been made and, as such, the

Examiner's objection to claims 3 and 8 should now be withdrawn.

       The Examiner also objected to claim 11 under 37 CFR §l.75(c) as being of improper

dependent form for failing to further limit the subject matter of a previous claim. In particular,

the Examiner contends that claim 11 fails to further limit claim 10. Claim 11 has now been

amended to clarify that the first and second positions on the display area can be any positions, as

opposed to the top or bottom positions recited in claim 10. As such, the Examiner's objection to

claim 11 should now be withdrawn.

       The Examiner rejected claims 2, 5, 7 and 14 under 35 U.S.C. §112, second paragraph, as

being indefinite, contending that the phrase "such as" and the following text in these claims

renders the claims indefinite. Claims 2, 5, 7 and 14 have now been amended to delete the "such

as" phrases. Accordingly, the Examiner's rejection of claims 2, 5, 7 and 14 under§ 112, second

paragraph, should now be withdrawn.


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       The Examiner also rejected claims 1, 4-7, 12, 15 and 17 under 35 U.S. C. § 102(b) as being

anticipated by Carlson (Carlson, Jeff, Visual Quickstart Guide Palm Organizers, Peachpit Press,

2000, Berkeley, CA; hereinafter "Carlson"). The Examiner further rejected, as being

unpatentable under 35 U.S.C. §103(a), claims 2 and 3 over Carlson in view ofKopitzke (USP

6,988,246; hereinafter "Kopitzke"); claims 8-11 and 13 over Carlson in view of Wynn et al.

(USP 6,734883; hereinafter Wynn); claim 13 over Carlson alone; claims 14 and 16 over Carlson

in view of Strietelmeier (Strietelmeier, Julie, Palm ml 00, The Gadgeteer, 2000, http://www.the-

gadgeteer.com/review/palm_m100_review; hereinafter Strietelmeier); and claim 18 over Carlson

in view of Chew et al. (USP 6,727, 917; hereinafter Chew). The Examiner's rejections are

respectfully traversed.

       For a claimed invention to be anticipated by a prior art reference, every element of the

claim must be disclosed in the reference. For a claimed invention to be obvious over a

combination of prior art references, there must be some suggestion, motivation or teaching in the

prior art that would have led one of ordinary skill in the art to combine the references to produce

the claimed invention. E.g., Ashland Oil, Inc. v. Delta Resins & Refracs., 776 F.2d 281,293

(Fed. Cir. 1985). Here, the claimed invention of the present application is neither anticipated nor

obvious over the cited references because such references do not disclose or suggest all of the

limitations of the claimed invention. Even assuming, arguendo, that the Examiner properly

combined the cited references, the resulting combination still would not be the claimed invention

given the deficiencies noted below in the primary Carlson reference.

       Amended independent claim 1 now recites a "user interface allowing low precision


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navigation using a blunt object, whereby said user interface can be operated by one hand, where

said object can be a finger." Independent claim 17 describes a computer readable medium, with

a computer program product stored therein that makes it possible for a computer to present a user

interface according to Claim 1. Independent claims 1 and 17, and thus dependent claims 4-7, 12,

and 15, which depend either directly or indirectly from claim 1, are not anticipated by Carlson

because Carlson does not disclose this feature of the claimed invention.

       The user interface described in the claims of the present invention is designed to be used

with a user's hand and fingers, rather than any tools, such as the stylus used with a Palm Pilot.

The user interface described in the claims of the present invention is designed to be navigated

with a finger, and preferably using only one hand, holding the device with that hand and

navigating with a user's thumb. This allows low precision navigation, with a blunt object, such

as a finger, through the recognition of the finger's movements across a touch sensitive area. The

claims of the present application describe movement patterns that allow such low resolution

navigation using a blunt object, such as a finger. For example, claim 14 recites the feature of a

one hand device and navigation through a finger.

       The Palm Pilot device described in the cited Carlson reference is, in contrast, designed to

navigate on small icons and buttons with a relatively sharp tip from a stylus or pen. The use of a

stylus allows high precision navigation and, thus, the possibility of pressing a single button on a

Palm Pilot screen. The Carlson reference purports to be a guide to Palm organizers. Although

the Examiner notes that Carlson states, on page 12, that "anything that isn't sharper than a No. 2

pencil can work (that includes fingers and toes too!)", the navigation system in a Palm organizer


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is, in fact, designed to use the stylus mentioned in the Carlson reference. Using a Palm organizer

with a blunt object, such as a thumb, would give very limited use because of the lack of precision

available from using a thumb. Indeed, Carlson, in mentioning the use of a "finger or toe", does

so in a somewhat joking way, noting later that the "three basic methods of interacting within the

Palm OS, all ... depend on the stylus (or a similar writing instrument)." See, e.g., Carlson, page

26, paragraph titled "Navigating the Palm OS".

       This is in sharp contrast to the menus and movements described in the claims of the

present application, which allow the use of a blunt object, such as a finger, for all navigation and

use of the claimed user interface. Thus, the movement patterns described in the claims of the

present application allow the use of the user interface with one hand only and navigation of the

user interface with the thumb of that hand.

       Independent claim 1 of the present application also recites:

               [a] menu area ... adapted to present a representation of a first, a
               second and a third predefined function, that said first function is a
               general application dependent function, that said second function is
               a keyboard function, that said third function is a task and file
               manager, and that any one of said three functions can be activated
               when said touch sensitive area detects a movement of an object
               with its starting point within the representation of said function on
               said menu area and with a direction from said menu area to said
               display area.

Independent claims 1 and 17, and dependent claims 4-7, 12, and 15, are also not anticipated by

Carlson because Carlson also does not disclose the recited first, second and third predefined

functions represented in a menu area, or activating any one of these three functions by moving an

object from a starting point within the representation of the function on the menu area in a


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direction from the menu area to the display area. One embodiment of this feature is depicted in

Figures 1 and 2 of the present application.

       Claim 1 describes the first function as a general application dependent function which, in

the embodiment of the invention described in the application, are services or functions dependent

upon a current active application. One of the services is described as a help service, regardless of

the application. Others are described as "save to disk", "send as SMS", or "delete", or settings

such as "resolution", "colour", or "brightness". If no application is active, the services or settings

can be of the operations system, such as background picture, clock, alarm, users, help, etc. See,

e.g., Application, pages 5-6.

       The Examiner looks to page 28 of Carlson and a "menu" icon shown in Figure 2.4 on

page 28 of Carlson as meeting the first function feature recited in claim 1; however, what page 28

of Carlson shows is instructions for accessing menus in applications. In any event, no where

does page 28 of Carlson show such menus as being selected by movement of an object, such as a

finger, from a menu area to a display area, as recited in claim 1. Rather, Carlson discusses at

page 28 using a stylus to tap "menu icons" and "words" to see drop-down menus.

       Claim 1 also describes the second function as a keyboard function. The Examiner looks

to page 30 of Carlson as showing the keyboard function. Page 30 of Carlson does describe an

"onscreen keyboard". While page 30 of Carlson does mention accessing the keyboard by

"drag[ging] the stylus vertically across the screen from bottom to top", it also mentions other

methods, such as tapping on "abc" or "123" dots, selecting "Keyboard" from an Edit menu, or

writing certain characters in a Graffiti area. In any event, no where does cited page 30 of Carlson


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show such keyboard as being selected by movement of an object, such as a finger, from a menu

area to a display area, as recited in claim 1.

       Claim 1 describes the third function as a task and file manager. The Examiner looks to

page 47 of Carlson, and particularly the applications screen in Figure 2.35 of Carlson as meeting

this function. In the embodiment of the invention described in the present application, the third

function is described as displaying a list with a library of available applications and files on the

computer unit. See, e.g., Application, page. 7. While page 4 7 of Carlson shows applications and

application icons, it describes launching applications by bringing up the Application screen by

tapping the "silkscreened Applications icon" first and then tapping a program's name or icon to

launch it. Nowhere does cited page 47 of Carlson show the applications as being selected by

movement of an object, such as a finger, from a menu area to a display area, as recited in claim 1.

        Since Carlson shows different screens for the menu shown on page 28, the keyboard

shown on page 30, and the applications shown on page 4 7, Carlson also does not disclose a menu

area presenting a representation of first, second and third predefined functions, as recited in claim

1. In view of the foregoing, clearly, Carlson does not anticipate independent claims 1 and 17 or

dependent claims 4-7, 12, and 15.

        Finally, because Carlson does not anticipate the claimed invention as recited in

independent claims 1 and 17 (which references claim 1), given the deficiencies noted above in

the teachings of the primary Carlson reference, the remaining claims rejected in the outstanding

Office Action under§ 103(a), i.e., claims 2, 3, 8-11, 13, 14, 16 and 18, which depend either




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directly or indirectly from claim 1 or claim 17, are also not obvious over Carlson alone or in

combination with the other references cited by the Examiner.

       In view of the foregoing, it is believed that all of the claims pending in the application,

i.e., claims 1 - 18, are now in condition for allowance, which action is earnestly solicited. If any

issues remain in this application, the Examiner is urged to contact the undersigned at the

telephone number listed below.

                                                        Respectfully submitted,

                                                        NIXON & VANDERHYE P.C.

                                                        By:   ~A-~
                                                                      Robert A. Molan
                                                                      Reg. No. 29,834

RAM:jsm

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  Serial No. 10/315,250           _~li1A~        ~      Examiner: PURCELL, Ian M.
  Filed:     December 10, 2002                                 Date: August 22, 2006
  Title:     USERINTERFACE


  Commissioner for Patents
  P.O. Box 1450
  Alexandria, VA 22313-1450

  Sir:
                                            RESPONSE/AMENDMENT/LETTER
  _Thisis a response/amendmenVletter in the above-identified application and includes an attachment which is hereby
  incorporated by reference and the signature below serves as the signature to the attachment in the absence of any other
  signature thereon.
   D       Correspondence Address Indication Form Attached.
  Fees are attached as calculated below:
  ·Total effective claims after amendment         18           minus highest number
   previously paid for        20     (at least 20) =            0   x $50.00               $0.00 (1202)/$0.00 (2202) $
   Independent claims after amendment          O               minus highest number
   previously paid for  3       (at least 3) =                  O x $200.00                $0.00 (1201 )/$0.00 (2201) $
   If proper multiple dependent claims now added for first time, (ignore improper); add
                                                                                  $360.00 (1203)/$180.00 (2203) $
   Petition is hereby made to extend the current due date so as to cover the filing date of this
   paper and attachment(s)                               One Month Extension $120.00 (1251)/$60.00 (2251)
                                                      Two Month Extensions $450.00 (1252)/$225.00 (2252)
                                                    Three Month Extensions $1020.00 (1253/$510.00 (2253)
                                                       Four Month Extensions $1590.00 (1254/$795.00 (2254)
                                                      Five Month Extensions $2160.00 (1255/$1080.00 (2255) $               450.00
   Terminal disclaimer enclosed, add                                                   $130.00 (1814)/ $65.00 (2814)   $
   D     Applicant claims "small entity" status.      D   Statement filed herewith
   Rule 56 Information Disclosure Statement Filing Fee                                              $180.00 (1806)     $     0.00

   Assignment Recording Fee                                                                           $40.00 (8021)    $     0.00
   Other:                                                                                                              $     0.00
                                                                                            TOTAL FEE ENCLOSED $           450.00
  The Commissioner is hereby authorized to charge any deficiency. or credit any overpayment, in the fee(s) filed, or
  asserted to be filed, or which should have been filed herewith (or with any paper hereafter filed in this application by this
  firm) to our Account No. 14-1140. A duplicate copy of this sheet is attached.

  901 North Glebe Road, 11th Floor                               NIXON & VANDERHYE P.C.
  Arlington, Virginia 22203-1808                                 By Atty: Robert A. Molan, Reg. No. 29,834
  Telephone: (703) 816-4000
  Facsimile: (703) 816-4100
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                                                                                              +140=                   OR       +280=
  • Hthe entry In column 1 is less than the entry in column2, write "O"iAcolumn3.             TOTAL                    ._"'!T!!!'!OT.!!!!!:AL'!'!"t---1
  .. II the "Highest Number Previously Paid For" IN THIS SPACEis less than 20, enter "20." AODIT.FEE             OR AODrT.FEE._ __                 .,.
  -Uthe "HighestNumbet PreviOuslyPaid For" 11'!1     THIS SPACEis less than 3, enter "3."
  . The "H!9hest NumberPreviously Paid For" (Totalor Independent)Is the hi!tlest numberfound in the appropriatebOxIn column 1.

FORMPTo.e75 (Re-,.11,\)1)                                                                Patentand TrademadiOffice,U.S. DEPARTMENTOF COMMERCE
                    Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 677 of 745
    In re i;:'atentApplication of:                                             Attention:
    GOERTZ                                                                     Atty. Dkt.    3682-32
    Serial No. 10/315,250/
•• Fileti      April 29, 2004                                                  Date:    July 27, 2006
  • For:.      User Interface

   Commissioner for Patents
   P.O. Box 1450
   Alexandria, VA 22313-1450
   The attached completes filing of the above-identified patent application:
   D     Correspondence Address Indication Form Attached.
   D  Signed Rule 63 Declaration alone,     D
                                           Copy of Declaration from prior application alone, OR
   D  Signed Declaration plus attached copy of originally filed specification/drawings.
   0  NOTICE TO FILE MISSING PARTS OF APPLICATION FILING DATE GRANTED form.
   ~ Record the attached change of name from Neonode Sweden AB to Neonode AB, Stockholm,
   Sweden and return to the undersigned.
   □-·Attached is a Power of Attorney.
   D     Priority is hereby claimed under 35 U.S.C. § 119 based on the following foreign applications:
          Application Number                         Country                      Day/Month/Year Filed

     respectively.
   ,0    Certified copy(ies) of foreign application(s) is/are attached.
 '.'(]   Certified copy(ies) filed on __     in prior application no. __   , filed __  .
   D     Applicant claims "small entity" status.      0 "Small entity" statement attached.
·.;~     Please enter the attached preliminary amendment prior to calculation of filing fee.
   ~ Also attached:       D Information Disclosure Statement;      D     Nucleotide and/or Amino Acid
        Sequence Submission; ~ Other: Notification of Change of Entitlement to Small Entity
        Status Pursuan tto 37 CFR 1.27(g)(2)
   Fees due are calculated below:
   Basicfilingfee                                                      $300.00(1011)/$)150.00(2011)        $
   Search Fee                                                          $500.00 (1111)/$250.00 (2111)       $
   Examination Fee                                                     $200.00 (1311)/$100.00 (2311)       $
   ApplicationSize Fee for each add'I50 sheetsthat exceeds100 sheets)
   Total pages: 0-100 =      0.00                                O      $0.00(1081)/          $0.00 (2081) $
   Totaleffectiveclaims o     - 20 (at least20) =    O   x $50.00= $0.00(1202)/$0.00   (2202)              $
   Independentclaims O        - 3 (at least 3) =     0   x $200.00 = $0.00 (1201)/$0.00(2201)              $
   If any propermultipledependentclaimsnow added for first time (ignore improper),add
                                                                            $360.00(1203)/$180.00(2203) $
   Petitionis herebymadeto extendthe currentdue date so as to cover the filing date of this paperand
   attachment(s)                                 One Month Extension $120.00 (1251)/$60.00 (2251)
                                                  Two Month Extensions $450.00 (1252)/$225.00 (2252)
                                               Three Month Extensions $1020.00 (1253/$510.00 (2253)
                                                 Four Month Extensions $1590.00 (1254/$795.00 (2254)
                                               Five Month Extensions $2160.00 (1255)/$1080.00 (2255) $
   Surcharge if Declarationor filing fee first now submitted:            $130.00 (1051)/$65.00 (2051)      $
   English translation of specification and claims                                       $130.00 (1053)    $
   Assignment Recording Fee                                                                  $40.00 (8021) $    40.00
                                                                                        TOTAL FEE DUE $         40.00
       □ CREDIT CARD PAYMENT FORM ATTACHED.
   Any future submission requiring an extension of time is hereby stated to include a petition for such time extension.
   The Commissioner is hereby authorized to charge any deficiency. or credit any overpayment, in the fee(s) filed, or
   asserted to be filed, or which should have been filed herewith (or with any paper hereafter filed in this application
   by this firm) to our Account No. 14-1140. A duplicate copy of this sheet is attached.
   901 North Glebe Road, 11th Floor                         NIXON & VANDERHYE P.C.
   Arlington, Virginia 22203-1808                           By Atty: Robert A. Molan, Reg. No. 29,834
   Telephone: (703) 816-4000
   Facsimile: (703) 816-4100
   RAM:jsm                                                 Signature:



                                                                                                                           1098992
         Case 6:20-cv-00507-ADA
               o~-/,            Document 81-7 Filed 05/19/23 Page 678 of 745
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IN THE UNITED STATES PATENT AND TRADEMARK OFFICE

In re Patent Application of

GOERTZ                                                            Atty. Ref.:.    3682-32

Serial No.          10/315,250                                    Group:          2174

Filed:       December 10, 2002                                    Examiner:       Purcell, Ian M.

For:      User Interface
                                  *   *   *   *   *   *   *   *     *    *    *

                                                                  July 27, 2006


Commissioner for Patents
P.O. Box 1450
Alexandria, VA 22313-1450

Sir:

               NOTIFICATION OF CHANGE OF ENTITLEMENT TO
             SMALL ENTITY STATUS PURSUANT TO 37 CFR 1.27(g)(2)

         Notification pursuant to 37 CFR 1.27(g)(2) is hereby given of a change in

entitlement to small entity status in the present application. In particular, Applicant

states that this application is no longer entitled to small entity status.

         While it is believed that no additional large entity fees are due at this time,

nonetheless, the Commissioner is hereby authorized to charge any deficiency in the




                                                                                                1098996
     Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 679 of 745


GOERTZ
Application Serial No. 10/315,250


fee(s) filed, or asserted to be filed, or which should have been filed herewith (or with

any paper previously filed in this application by this firm) to our Account No. 14-1140.



                                          Respectfully submitted,

                                          NIXON & VANDERHYE P.C.



                                          By:~A-~
                                                             Robert A. Molan
                                                             Reg. No. 29,834
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901 North Glebe Road, 11th Floor
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                                                                                     1098996
            Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 680 of 745


                UNITED        SrAms PA TENT AND TRADEMARK      OFFICE
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                                                                                 www.uspto.gov


    APPLICATIONNO.             FILINGDATE          FIRSTNAMED INVENTOR   ATTORNEYDOCKETNO.               CONFIRMATIONNO.

       10/315,250               12/10/2002            Magnus Goertz              3682-32                         1226

       23117           7590           03/23/2006                                                 EXAMINER

       NIXON & VANDERHYE, PC                                                               PURCELL,IAN M
       901 NORTH GLEBE ROAD, 11TH FLOOR
                                                                                ART UNIT                   PAPERNUMBER
       ARLINGTON, VA 22203
                                                                                   2174

                                                                         DATE MAILED: 03/23/2006




Please find below and/or attached an Office communication concerning this application or proceeding.




PTO-90C (Rev. 10/03)
                        Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 681 of 745
                                                                                 Application No.                              Applicant(s)

                                                                                  10/315,250                                  GOERTZ, MAGNUS
                     Office Action Summary                                       Examiner                                     Art Unit
                                                                                 Ian M. Purcell                               2174
               -- The MAILING DA TE of this communication appears on the cover sheet with the correspondence address --
  Period for Reply
       A SHORTENED STATUTORY PERIOD FOR REPLY IS SET TO EXPIRE J.MONTH(S) OR THIRTY (30) DAYS,
       WHICHEVER IS LONGER, FROM THE MAILING DATE OF THIS COMMUNICATION.
         Extensionsof lime may be availableunder the provisionsof 37 CFR 1.136(a). In no event, however,may a reply be timely filed
         after SIX (6) MONTHSfrom the mailing date of this communication.
       - If NO period for reply is specifiedabove, the maximumstatutory period will apply and will expire SIX (6) MONTHSfrom the mailing date of this communication.
         Failureto replywithin the set or extended period for reply will, by statute,cause the applicationto becomeABANDONED (35 U.S.C. § 133).
         Any reply receivedby the Office later than three months after the mailing date of this communication,even If timely filed, may reduce any
         earnedpatentterm adjustment. See 37 CFR 1.704(b).

  Status
         1)[8J Responsive to communication(s) filed on 10 December 2002.
      2a)O This action is FINAL.                                2b)[8J This action is non-final.
         3)0    Since this application is in condition for allowance except for formal matters, prosecution as to the merits is
                closed in accordance with the practice under Ex parte Quayle, 1935 C.D. 11, 453 O.G. 213.

  Dispositionof Claims
       4)[8J Claim(s) 1-18 is/are pending in the application.
             4a) Of the above claim(s) __                   is/are withdrawn from consideration.
         5)0 Claim(s) __     is/are allowed.
       6)[8J Claim(s) 1-18 is/are rejected.
       7)0 Claim(s) __       is/are objected to.
         8)0    Claim(s) __          are subject to restriction and/or election requirement.

  ApplicationPapers
       9)[8J The specification is objected to by the Examiner.
      10)[8JThe drawing(s) filed on 10 December 2002 is/are: a)O accepted or b)[8J objected to by the Examiner.
                Applicant may not request that any objection to the drawing(s) be held in abeyance. See 37 CFR 1.85(a).
                Replacement drawing sheet(s) including the correction is required if the drawing(s) is objected to. See 37 CFR 1.121 (d).
      11)0 The oath or declaration is objected to by the Examiner. Note the attached Office Action or form PTO-152.

  Priority under 35 U.S.C. § 119
      12)0 Acknowledgment is made of a claim for foreign priority under 35 U.S.C. § 119(a)-(d) or (f).
            a)O All b)O Some* c)O None of:
               1.0 Certified copies of the priority documents have been received.
               2.0 Certified copies of the priority documents have been received in Application No. __                                         .
                3.0      Copies of the certified copies of the priority documents have been received in this National Stage
                         application from the International Bureau (PCT Rule 17.2(a)).
            * See the attached detailed Office action for a list of the certified copies not received.




  Attachment(s)
  1) [8J Notice of References Cited (PTO-892)                                                  4) 0   Interview Summary (PTO-413)
  2) 0   Notice of Draflsperson's Patent Drawing Review (PTO-948)                                     Paper No(s)/Mail Date. __      .
  3) 0   Information Disclosure Statement(s) (PTO-1449 or PTO/SB/08)                           5) 0   Notice of Informal Patent Application (PTO-152)
        Paper No(s)/Mail Date __      .                                                        6) 0   Other: __     .
U.S. Patentand Trademar1<
                        Office
PTOL-326 (Rev. 7-05)                                                Office Action Summary                                Part of Paper No./Mail Date 20060308
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                                    DETAILED ACTION

                                          Drawings

1.     The drawings are objected to as failing to comply with 37 CFR 1.84(p)(5)

because they include the following reference character(s) not mentioned in the

description:

       (a.) Fig. 14 is not mentioned in the Brief Description of the Drawings.

       Corrected drawing sheets in compliance with 37 CFR 1.121 (d), or amendment to

the specification to add the reference character(s) in the description in compliance with

37 CFR 1.121(b) are required in reply to the Office action to avoid abandonment of the

application. Any amended replacement drawing sheet should include all of the figures

appearing on the immediate prior version of the sheet, even if only one figure is being

amended. Each drawing sheet submitted after the filing date of an application must be

labeled in the top margin as either "Replacement Sheet" or "New Sheet" pursuant to 37

CFR 1.121 (d). If the changes are not accepted by the examiner, the applicant will be

notified and informed of any required corrective action in the next Office action. The

objection to the drawings will not be held in abeyance.



                                        Specification

2.     The title of the invention is not descriptive. A new title is required that is clearly

indicative of the invention to which the claims are directed.
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                                           Claim Objections

3.     Claim 3 objected to because of the following informalities:

       (a.) Claim 3 states "characterised in, that that a selection of a preferred service or

setting is done tapping" and should be changed to --characterised in, that a selection of

a preferred service or setting is done by tapping -

       (b.) Claim 8 states "content if said list" should be changed to -content of said list -

       Appropriate correction is required.

4.     Claim 11 is objected to under 37 CFR 1.75(c), as being of improper dependent

form for failing to further limit the subject matter of a previous claim. Applicant is

required to cancel the claim(s), or amend the claim(s) to place the claim(s) in proper

dependent form, or rewrite the claim(s) in independent form. Claim 11 fails to further

limit claim 10.



                                 Claim Rejections ~ 35 USC § 112

5.     The following is a quotation of the second paragraph of 35 U.S.C. 112:

       The specification shall conclude with one or more claims particularly pointing out and distinctly
       claiming the subject matter which the applicant regards as his invention.



       Claims 2, 5, 7 and 14 rejected under 35 U.S.C. 112, second paragraph, as being

indefinite for failing to particularly point out and distinctly claim the subject matter which

applicant regards as the invention.

       Regarding claims 2, 5, 7 and 14 the phrase "such as" renders the claim indefinite

because it is unclear whether the limitations following the phrase are part of the claimed

invention. See MPEP § 2173.05(d).
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                                   Claim Rejections - 35 USC§ 102

6.     The following is a quotation of the appropriate paragraphs of 35 U.S.C. 102 that

form the basis for the rejections under this section made in this Office action:

       A person shall be entitled to a patent unless -

       (b) the invention was patented or described in a printed publication in this or a foreign country or in public
       use or on sale in this country, more than one year prior to the date of application for patent in the United
       States.

7.     Claims 1, 4-7, 12, 15 and 17 are rejected under 35 U.S.C. 102(b) as being

anticipated by Carlson ("Carlson", Carlson, Jeff. Visual Quickstart Guide Palm

Organizers. Peachpit Press. 2000. Berkeley, CA.).

8.     As per claim 1, Carlson teaches a user interface for a mobile handheld computer

unit (Introduction, page xiii), where said computer unit comprises a touch sensitive area

(page 26, the screen is touch sensitive), which touch sensitive area is divided into a

menu area (page 12, fig. 1.10 silk screen graffiti area) and a display area, where said

computer unit is adapted to run several applications simultaneously (page 4 7, all of the

applications are running concurrently), and to present an active application on top of

any other application on said display area, characterised in, that said menu area is

adapted to present a representation of a first, a second and a third predefined function,

that said first function is a general application dependent function (page 28, the Menu

icon, fig. 2.4), that said second function is a keyboard function (page 30, either the abc

or 123 dots in the lower corner of the Graffiti area), that said third function is a task and

file manager (page 47, the Applications screen & fig. 2.35), and that any one of said

three functions can be activated when said touch sensitive area detects a movement of
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an object with its starting point within the representation of said function on said menu

area and with a direction from said menu area to said display area (page 40, bottom-to-

top screen stroke shortcut fig. 2.22 & page 30, drag the stylus vertically across the

screen from bottom to top).

9.     As per claim 4, Carlson teaches the user interface according to claim 1,

characterised in, that, if said second function is activated, said display area is adapted

to display a keyboard and a text field, that, if a text passage in said active application is

highlighted, said text passage is displayed in said text field for editing through said

keyboard and that said highlighted text passage is replaced by said edited text passage

when said second function is deactivated, and that, if no text passage in said active

application is highlighted, said text field is available for inputting and editing of text

through said keyboard (page 30, fig 2.7).

10.    As per claim 5. User interface according to claim 4, characterized in, that if no

text passage in said active application is highlighted, and said text field is used for

inputting and editing of text through said keyboard (page 30, fig 2.7), then said first

function can be activated, or said second function can be closed, in which a choice of

saving or deleting said inputted text is given, where the choice of saving said inputted

text results in an activation of said first function, in which said first function will present

services or settings available for said inputted text, such as saving said inputted text for

later use, using said inputted text as telephone number in a telephone application, or

sending said inputted text as message in communications application (page 28, fig. 2.4

Beam Memo).
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11.    As per claim 6, Carlson teaches the user interface according to claim 1,

characterised in, that, if said third function is activated, said display area is adapted to

display a list with a library of available applications and files on said computer unit, that

a selection of an application will start said application, and that a selection of a file will

open said file in an application intended for said file (page 47, fig. 2.35).

12.    As per claim 7, Carlson teaches the user interface according to claim 6,

characterised in, that a selection of an application or a file is done by moving said object

so that the representation of desired application or file is highlighted, removing said

object from said touch sensitive area, and then tapping on said touch sensitive area,

and that an application or file is highlighted by placing some kind of marking on the

representation of said application or file, such as positioning a frame around the

representation of said application or file or inverting the representation of said

application or file (pages 26 & 27).

13.    As per claim 12, Carlson teaches the user interface according to Claim 1,

characterised in, that an active application, function, service or setting is moved on one

step by moving said object from the left of said display area to the right of said display

area, and that the active application, function service or setting is closed or backed one

step by moving said object from the right of said display area to the left of said display

area (page 246, fig. 14.2, Drag to scroll through file).

14.    As per claim 15, Carlson teaches an enclosure adapted to cover a computer unit,

said computer unit being adapted to present a user interface according Claim 1,

characterised in, that said enclosure is provided with an opening for said display area,
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and that a representation of said menu area is printed on top of said enclosure (page

12, Silkscreen Graffiti area & fig. 1.10).

15.    As per claim 17, Carlson teaches a computer readable medium, with a computer

program product stored therein, characterised in, that said computer program product

comprises computer readable code, which, when read by a computer, will make it

possible for said computer to present a user interface according to Claim 1 (page 25,

Palm OS).



                                 Claim Rejections - 35 USC§ 103

16.    The following is a quotation of 35 U.S.C. 103(a) which forms the basis for all

obviousness rejections set forth in this Office action:

       (a) A patent may not be obtained though the inventionis not identically disclosedor described as set
       forth in section 102 of this title, if the differencesbetweenthe subject matter sought to be patented and
       the prior art are such that the subject matter as a whole would have been obvious at the time the
       inventionwas made to a person having ordinaryskill in the art to which said subject matter pertains.
       Patentabilityshall not be negativedby the mannerin which the inventionwas made.



17.    Claims 2 and 3 are rejected under 35 U.S.C. 103(a) as being unpatentable over

Carlson ("Carlson", Carlson, Jeff. Visual Quickstart Guide Palm Organizers. Peachpit

Press. 2000. Berkeley, CA.) in view of Kopitzke et al. ("Kopitzke", US# 6,988,246 B2).

18.    As per claim 2, Carlson teaches the user interface according to claim 1,

characterised in, that, if said first function is activated, said display area is adapted to

display icons representing different services or settings depending on the current active·

application (page 28, the Menu icon, fig. 2.4), and that, if no application is currently

active on said computer unit, said icons are adapted to represent services or settings of
      Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 688 of 745


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the operations system of said computer unit, such as background picture, clock (page

47, fig. 2.36, 12:11 am), users, help, etc.

       However Carlson does not teach expressly the user interface according to claim

1, characterised in, that, if said first function is activated, said display area is adapted to

display icons representing different services or settings depending on the current active

application, that one of said icons always represents a "help"-service, regardless of

application.

       Kopitzke teaches the user interface according to claim 1, characterised in, that

said display area is adapted to display icons representing different services or settings

depending on the current active application, that one of said icons always represents a

"help"-service, regardless of application (column 4, lines 36-53 & fig. 1, Help key or

button 6).

       Carlson and Kopitzke are analogous art because they are in the same field of

endeavor, namely graphical user interfaces with touch sensitive displays.

       At the time of the invention it would have been obvious to a person of ordinary

skill in the art to provide the help function as taught by Kopitzke within the user interface

of Carlson in order to provide context sensitive information.

       As per claim 3, the modified Carlson teaches the user interface according to

claim 2, characterised in, that a selection of a preferred service or setting is done by

tapping on corresponding icon (Carlson, page 26, fig. 2.1 Tapping just about any

interface element in the Palm OS evokes a response).
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19.    Claims 8-11 and 13 is rejected under 35 U.S.C. 103(a) as being unpatentable

over Carlson ("Carlson", Carlson, Jeff. Visual Quickstart Guide Palm Organizers.

Peachpit Press. 2000. Berkeley, CA.) in view of Wynn et al. ("Wynn", US# 6,734,883

B1).

20.    As per claim 8, Carlson teaches the user interface according to claim 7.

       However Carlson does not teach expressly the user interface, characterised in,

that said list is adapted to present only said files or only said applications, that the top

area of said list presents a field through which the content of said list can be altered,

that, if said list only presents files, said field displays a representation of a task manager

and a selection of said field will cause said list to alter to present only applications, and

that, if said list only presents applications, said field displays a representation of a file

manager and a selection of said field will cause said list to alter and present only files.

       Wynn teaches a user interface control, characterised in, that said list is adapted

to present only said files or only said applications, that the top area of said list presents

a field through which the content of said list can be altered (column 3, lines 4-8, dialog

box 32), that, if said list only presents files, said field displays a representation of a task

manager and      aselection of said field will cause said list to alter to present only
applications, and that, if said list only presents applications, said field displays a

representation (column 3, lines 4-8, label 31) of a file manager and a selection of said

field will cause said list to alter and present only files (column 3, lines 15-31).
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       Carlson and Wynn are analogous art because they are in the same field of

endeavor, namely scrolling within graphical user interfaces with touch sensitive

displays.

       At the time of the invention it would have been obvious to a person of ordinary

skill in the art to have the selection list format as taught by Wynn within the user

interface of Carlson in order to provide a conventional list format.

21.    As per claim 9, Carlson teaches the user interface according to claim 7,

characterised in, that, a navigation in said list is performed by moving said object in a

direction towards the top of said list or towards the bottom of said list, that the

movement of said object will cause said marking to move in the same direction (page

27, a quicker way to view the full list is to tap and hold on the dark solid portion of the

scroll bar, then drag it vertically).

       However Carlson does not teach expressly that the speed of the movement of

said marking is lower than the speed of the movement of said object.

       Wynn teaches a user interface control, characterised in, that, a navigation in said

list is performed by moving said object in a direction towards the top of said list or

towards the bottom of said list, that the movement of said object will cause said marking

to move in the same direction (column 3, lines 32-39 & figs. 5) and that the speed of the

movement of said marking is lower than the speed of the movement of said object

(column 4, lines 24-30).
       Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 691 of 745


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       At the time of the invention it would have been obvious to a person of ordinary

skill in the art to have the scrolling function as taught by Wynn within the user interface

of Carlson in order to provide a conventional selection list.

22.    As per claim 10, the modified Carlson in view of Wynn teaches the user interface

according to claim 9, characterised in, that, if the number of applications and/or files in

said list exceeds the number of applications and files that can be presented on said

display area, and if said object is moved to the top or bottom position of said display

area, then lifted, replaced on said display area, and again moved to the top or bottom of

said display area, the content of said display area will be replaced one whole page,

meaning that if said object is position at the top of said display area, then lifted, replaced

on said display area, and then again moved to the top of said display area, the content

of said display area will be replaced by the preceding applications and/or files in said list

(Carlson, page 253, fig. 14.15 Full Page Up).

       The modified Carlson in view of Wynn does not disclose expressly the user

interface, characterised in that if said object is position at the bottom of said display

area, then lifted, replaced on said display area, and then again moved to the bottom of

said display area, the content of said display area will be replaced by the following

applications and/or files in said list.

       At the time of the invention, it would have been an obvious matter of design

choice to a person of ordinary skill in the art to modify the Full Page Up function

(Carlson, page 253, fig 14.15) to work as a Full Page Down function by tapping on the

bottom of the display area because Applicant has not disclosed that if said object is
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position at the bottom of said display area, then lifted, replaced on said display area,

and then again moved to the bottom of said display area, the content of said display

area will be replaced by the following applications and/or files in said list provides an

advantage, is used for a particular purpose, or solves a stated problem. One of ordinary

skill in the art, furthermore, would have expected Applicant's invention to perform

equally well with the modified Full Page Up function as taught by Carlson because it

would only need to be implemented to scroll down instead of up, when the display area

is tapped on the bottom, instead of the top.

23.    As per claim 11, the modified· Carlson in view of Wynn teaches the user interface

according to claim 10, characterised in, that if said object is removed from a first

position on said display area and then replaced on a second position on said display

area, said navigation can be continued from said second position (Carlson, page 253,

fig. 14.15).

       Claim 13 is rejected under 35 U.S.C. 103(a) as being unpatentable over Carlson

("Carlson", Carlson, Jeff. Visual Quickstart Guide Palm Organizers. Peachpit Press.

2000. Berkeley, CA.)

24.    As per claim 13, Carlson teaches the user interface according to Claim 1,

characterised in, that said menu area is positioned at the bottom of said touch sensitive

area, that said representation of said first function is positioned at the left side of said

menu area, and that said representation of said second function is positioned at the

middle of said menu area.
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       Carlson does not teach expressly that said representation of said third function is

positioned at the right side of said menu area.

       At the time the invention was made, it would have been an obvious matter of

design choice to a person of ordinary skill in the art to place the third function on the

right side of the display area instead of the left, because Applicant has not disclosed

that said representation of said third function is positioned at the right side of said menu

area provides an advantage, is used for a particular purpose or solves a stated problem.

One of ordinary skill in the art, furthermore would have expected Applicant's invention to

perform equally well with the third function on the left side of the display area because

the placement of the representation would not change its functionality.

25.    Claims 14 and 16 are rejected under 35 U.S.C. 103(a) as being unpatentable

over Carlson ("Carlson", Carlson, Jeff. Visual Quickstart Guide Palm Organizers.

Berkeley, CA: Peachpit Press, 2000) in view of Strietelmeier ("Strietelmeier",

Strietelmeier, Julie. "Palm m100." The Gadgeteer. 2000.

<http://www.the-gadgeteer.com/review/palm_m1 00_review>).

26.    As per claim 14, Carlson teaches the user interface according to Claim 1,

characterised in, thatsaid user interface is adapted to a touch sensitive area and that

said user interface is adapted to be operated by one hand, where said object can be a

finger, such as the thumb, of a user of said computer unit (page 12, stylus ... includes

fingers).

       However Carlson does not teach expressly a touch sensitive area with a size that

is in the order of 2-3 inches.
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       Strietelmeier teaches a user interface, characterised in, a touch sensitive area

with a size that is in the order of 2-3 inches (page 4).

       Carlson and Strietelmeier are analogous art because they are in the same field of

endeavor, namely palm-sized computer organizers.

       At the time of the invention it would have been obvious to a person of ordinary

skill in the art to have the dimensions of a touch sensitive area as taught by

Strietelmeier within the user interface of Carlson in order to provide a touch sensitive

area with the manufacturer's dimensions.

27.    As per claim 16, Carlson teaches an enclosure according to claim 15. However,

Carlson does not disclose an enclosure characterised in, that said enclosure is

removable and exchangeable.

       Strietelmeier teaches an enclosure characterised in, that said enclosure is

removable and exchangeable (page 3, you can also remove the entire face plate ...

there will be different face plates available).

       At the time of the invention it would have been obvious to a person of ordinary

skill in the art to have the customizable enclosures as taught by Strietelmeier within the

enclosure of Carlson in order to tailor an enclosure to a user's preferences.

28.    Claim 18 is rejected under 35 U.S.C. 103(a) as being unpatentable over Carlson

("Carlson", Carlson, Jeff. Visual Quickstart Guide Palm Organizers. Berkeley, CA:

Peachpit Press, 2000) in view of Chew et al. ("Chew", US# 6,727,917).

       As per claim 18, Carlson teaches a computer readable medium according to

claim 17.
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       However Carlson does not teach expressly, that said computer program product

is adapted to function as a shell upon an operations system.

       Chew teaches a user interface for a palm-sized computer device, characterised

in, that said computer program product is adapted to function as a shell upon an

operations system (column 2, lines 1-5).

       Carlson and Chew are analogous art because they are in the same field of

endeavor, namely graphical user interfaces for hand-held personal computing devices

with touch sensitive displays.

       At the time of the invention it would have been obvious to a person of ordinary

skill in the art to modify the Carlson's program to function as shell as taught by Chew in

order to efficiently display information.




                                            Conclusion

29.    The prior art made of record and not relied upon is considered pertinent to

applicant's disclosure.

       Hirayama et al. (US # 5,406,307) teaches a method of activating functions.

       Lui et al. (US # 6,833,827) teaches a keyboard function, a general application

function and a file and task manager function.

       Yonezawa (US# 6,542,191 B1) teaches a save function.

       Friend et al. (US# 6,052,279) teaches a customizable hand-held computer.
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30.   Any inquiry concerning this communication or earlier communications from the

examiner should be directed to Ian M. Purcell whose telephone number is (571) 272-

5755. The examiner can normally be reached on Monday - Friday 8:30 - 5:00.

       If attempts to reach the examiner by telephone are unsuccessful, the examiner's

supervisor, Kristine Kincaid can be reached on (571) 272-4063. The fax phone number

for the organization where this application or proceeding is assigned is 571-273-8300.

       Information regarding the status of an application may be obtained from the

Patent Application Information Retrieval (PAIR) system. Status information for

published applications may be obtained from either Private PAIR or Public PAIR.

Status information for unpublished applications is available through Private PAIR only.

For more information about the PAIR system, see http://pair-direct.uspto.gov. Should

you have questions on access to the Private PAIR system, contact the Electronic

Business Center (EBC) at 866-217-9197 (toll-free).


                                                     Ian M. Purcell
                                                     Examiner



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                 Notice of References Cited
                                                                                    Examiner                         Art Unit
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                                                                                    Ian M. Purcell                   2174
                                                                        U.S. PATENT DOCUMENTS
                       DocumentNumber                     Date
  *              CountryCode-Number-KindCode           MM-YYYY                                       Name                                Classification

  *      A     US-6,988,246 B2                        01-2006          Kopitzke et al.                                                     715/810
  *      B     US-6,727,917 B1                        04-2004          Chew et al.                                                         715/765

  *      C     US-6,734,883 B1                        05-2004          Wynn et al.                                                         715/830

  *      D     US-6,052,279                           04-2000          Friend et al.                                                       361/686

  *      E     US-6,542,191 B1                        04-2003          Yonezawa, Hiroki                                                   348/333.01

  *      F     US-6,833,827 B2                        12-2004          Lui et al.                                                          345/173

  *     G      US-5,406,307                           04-1995          Hirayama et al.                                                     715/800
         H     US-
         I     US-
         J     US-
         K     US-
         L     US-
        M      US-
                                                                    FOREIGN PATENT DOCUMENTS
                       DocumentNumber                     Date
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                                                                        NON-PATENT DOCUMENTS

  *                                          Include as applicable:Author, Title Date, Publisher,Edition or Volume, Pertinent Pages)


               Carlson, Jeff. Visual Quickstart Guide Palm Organizers. Peachpit Press. 2000. Berkeley, CA. Pages xiii, 12, 25, 26, 28-30, 40,
         u
               47, 246 and 253.



               Strietelmeier, Julie. "Palm m100." The Gadgeteer. 2000.
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               <http://www.the-gadgeteer .com/review/palm_ m 100_review> Pages 1-8.



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•A copy of this reference1snot being furnishedwith this Office action. (See MPEP § 707.0S(a).)
Dates in MM-YYYYformat are publicationdates. Classificationsmay be US or foreign.
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PTO-892 (Rev. 01-2001)                                               Noticeof ReferencesCited                        Part of Paper No. 20060308
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                           Index of Claims                                                                   Reexamination
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                                                                                                             Art Unit

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                                                  (Through numeral)
                          ✓      Rejected     -       Cancelled              N Non-Elected               A
                                                                                                                Appeal

                          =      Allowed      +       Restricted             I   Interference            0     Objected

             Claim                     Date           Claim           Date                   Claim                  Date
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                    1      ✓                                51                                    101
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                    3     ✓                                 53                                    103
                   4      ✓                                 54                                    104
                    5     ✓                                 55                                    105
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                                         FILING DATE
                                          12/10/2002                                                                              ATTORNEY DOCKET
     SERIAL NUMBER                                                            CLASS            GROUP ART UNIT
                                                                                                                                         NO.
       10/315,250                                                              345                 2174
                                                                                                                                       3682-32
                                      RULE


~PP LICANTS

         Magnus Goertz, Stockholm, SWEDEN;




** FOREIGN APPLICATIONS********************                      Nlt\J~



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** 01/16/2003

Foreign Priority claimed            □ yes ~ no                                                  SHEETS                       TOTAL          INDEPENDENT
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ADDRESS
23117
NIXON & VANDERHYE, PC
901 NORTH GLEBE ROAD, 11TH FLOOR
ARLINGTON , VA
122203

TITLE
User interface

                                                                                                     I □ All Fees
                                                                                                     I □ 1.16 Fees (Filing)
    FILING FEE             FEES: Authority has been given in Paper
                           No. ____       to charge/credit DEPOSIT ACCOUNT
                                                                                                     I □ 1.17 Fees ( Processing Ext. of time )
     RECEIVED              No. ____       for following:                                             I □ 1.18 Fees (Issue)
                                                                                                     I □ Other
       440

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                                                                                          Art Unit

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                                                                                   SEARCH NOTES
                         SEARCHED
                                                                           (INCLUDING SEARCH STRATEGY)
          Class       Subclass       Date      Examiner                                               DATE         EXMR



           715          864        3/13/2006      IP
                                                                See EAST Search History              3/16/2006       IP

           715          702        3/8/2006       IP




                 INTERFERENCE SEARCHED

          Class       Subclass       Date      Examiner




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                                         EAST Search History
 Ref        Hits SearchQuery                                  DBS      Default  Plurals Time Stamp
 #                                                                     Operator
 S2           1 ("20040109013").PN.                           US-PGPUB; OR      OFF    2006/03/15 10:39
                                                              USPAT
 S3           2 goertz-magnus.in.                             US-PG
                                                                  PUB; OR       ON     2006/03/08 17:25
                                                              USPAT
 S4           1 (((handheldadj computer)orpda) near2          US-PG
                                                                  PUB; OR       ON     2006/03/05 18:56
                enclosure).ti.                                USPAT
 S5          22 (((handheldadj computer)orpda) near2          US-PG
                                                                  PUB; OR       ON     2006/03/05 18:56
                enclosure)                                    USPAT
 56          50 ("5671420""5978568""5905862""4949248"             PUB; OR
                                                              US-PG             ON     2006/03/08 16:39
                "5367573""5692191""5983259""6035303"          USPAT
                "6098158""4336458""4357021""4368669"
                "4503533""4506336""4782463""5016308"
                "5178418""5301269""5392212""5428744"
                "5442788""5524199""5524200""5526018"
                "5533148""5544301""5546534""5555369"
                "5555368""5559903""5561811""5568770"
                "5570109""5596639""5598534""5636133"
                "5642495""5664208""5677710""5733278"
                "5740455""5781901""5793498""5796402"
                "5796397""5864848""5870611""5881286"
                "5881242""5897644").pn.
 57         245 715/864.ccls.                                 US-PG
                                                                  PUB; OR       ON     2006/03/09 15:23
                                                              USPAT
 S8        5702 S7 ((menu and display)with area)              US-PG
                                                                  PUB; OR       ON     2006/03/08 17:28
                                                              USPAT
 S9         245 S8 and S7                                     US-PG
                                                                  PUB; OR       ON     2006/03/08 17:28
                                                              USPAT
 S10        464 S7 ((menu and display)adj area)               US-PG
                                                                  PUB; OR       ON     2006/03/08 17:28
                                                              USPAT
 S11        245 S10and S7                                         PUB; OR
                                                              US-PG             ON     2006/03/08 17:30
                                                              USPAT
 S12      12754 (touch adj sensitive)or (tactile adj based)   US-PG
                                                                  PUB; OR       ON     2006/03/08 17:31
                                                              USPAT
 S13         54 S12and S7                                     US-PG
                                                                  PUB; OR       ON     2006/03/08 18:00
                                                              USPAT
 S14        106 715/702.ccls.                                 US-PG
                                                                  PUB; OR       ON     2006/03/08 18:00
                                                              USPAT
 515          1 514 and 57                                    U5-PGPUB; OR      ON     2006/03/08 18:01
                                                              USPAT
 516         25 514 and S12                                   US-PGPUB; OR      ON     2006/03/08 18:01
                                                              USPAT
 S17         20 ("5327161"I "5406307"I "5473745" I           US-PGPUB; OR       ON     2006/03/08 18:11
                "5594471"I "5617526"I "5745109"I "5757368" U5PAT;
                I "5757371"I "5910802").PN.OR ("6304261"). , USOCR
                URPN.
 S18         14 ("4475239"I "4839634"I :'4855725"I            US-PG
                                                                  PUB; OR       ON     2006/03/0909:11
                "4965558"I "5075675"I "5347628").PN.OR        U5PAT;
                ("6100878").URPN.                             USOCR




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C:\Documentsand Settings\ipucell\MyDocuments\EAST\Workspaces\10315250.wsp
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                                         EASTSearch History
 S19         92   ("3761877" I "3772685" I "3832693"I         US-PGPUB; OR    ON   2006/03/0909:14
                  "3990070"I "4058849" I "4125873"I "4190833" USPAT;
                  I "4363029" I "4639720").PN.OR ("4839634"). USOCR
                  URPN.
 S20        134 ("3699439" I "3832693" I "4016542"I          U5-PGPUB; OR     ON   2006/03/09 09:52
                  "4055726"I "4071691" I "4112415" I "4129747" U5PAT;
                  I "4177354" I "4184147" I "4198539" I        U5OCR
                  "4262281" I "4293734" I "4302011"I "4318096"
                  I "4353552" I "4365235" I "4371746"I
                  "4456787"I "4475239"I "4520357"I "4641354"
                  I "4672677" I "4679241" I "4680430"I
                  "4680804"I "4764885" I "4786765" I "4831556"
                  I "4839634" I "4972496" I "5050105" I
                  "5053758"I "5151950").PN.OR ("5347295").
                  URPN.
 521         46   ("3603983" I "3617666" I "3864024"I          U5-PGPUB; OR   ON   2006/03/09 09:55
                  "3911215"I "4017858" l "4180711" I "4220815" U5PAT;
                  I "4373124" I "4594482" I "4604605" I        U5OCR
                  "4607147"I "4626961" I "4707570"I "4734218"
                  I "4737310" I "4740781" I "4745241" I
                  "4778619" I "4780531" I "4815826"I "4838660"
                  I "4839634" I "4841290" I "Re28365").PN.
                                                         OR
                  ("4990900").URPN.
 522          4   kang-beng-hong.in.                         US-PG
                                                                 PUB; OR      ON   2006/03/09 14:29
                                                             USPAT
 S23        247 715/864.eels.                                US-PGPUB; OR     ON   2006/03/10 11:19
                                                             USPAT
 524         37 523 and drag$4                               US-PG
                                                                 PUB; OR      ON   2006/03/09 15:23
                                                             USPAT
 S25         34   hirayama-tomoshi.in.                       US-PGPUB; OR     ON   2006/03/09 16:30
                                                             USPAT
 526          2   525 and (displayand menu and drag$4)       US-PG
                                                                 PUB; OR      ON   2006/03/09 17:04
                                                             USPAT
 S27          5   S25 and (displayand "45" and drag$4)       U5-PGPUB; OR     ON   2006/03/09 17:04
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 528         72 (U5-20050229117-$ or U5-20050120312-$or      U5-PGPUB; OR    ON   2006/03/10 09:06
                U5-20050114797-$ or U5-20030007018-$or       USPAT
                U5-20050102639-$ or U5-20020060702-$or
                U5-20020078143-$ or U5-20040160442-$or
                U5-20030005003-$ or U5-20020050996-$or
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                U5-20030231197-$).did.or (US-5949408-$or
                US-5917493-$or U5-7007239-$or
                U5-6938220-$or US-6956562-$or
                U5-6938222-$or U5-6801190-$or
                U5-6938221-$or US-6876368-$or
                US-6833827-$or US-6356287-$or
                US-6100878-$or US-5406307-$or
                U5-5903268-$or US-5424966-$or
                US-5796397-$or U5-5677710-$or
                U5-5570109-$or U5-5555369-$or
                U5-4782463-$or U5-6980200·$or
                US-6904570-$or US-6882865-$or
                US-6996784-$or U5-6741235-$or
                US-6714220-$).did.
                                 or (US-6335725-$or
                US-6304261-$or U5-5627567-$or
                U5-5821930-$or U5-5910802-$or
                US-5757371-$or U5-5594471-$or
                US-5327161-$or US-4839634-$or
                U5-5757368-$or US-6502114-$or
                US-5453761-$or U5-5347295-$or
                U5-5570113-$or U5-6903730-$or
                U5-6664991-$or US-6094197-$or
                U5-6262719-$or U5-6181344-$or
                US-5798758-$or U5-5760773-$or
                US-5726687-$or US-5583543-$or
                US-5523775-$or U5-5517578-$or
                U5-5502803-$or U5-4680804·$).did.or
                (U5-5524201-$or U5-5483261-$).did.
 529          1 528 and ((task adj manager)or (file adj      US-PGPUB; OR    ON   2006/03/10 11:24
                manager))                                    U5PAT
 530         44   528 and ((task) or (file))                 U5-PGPUB; OR    ON   2006/03/1009:08
                                                             U5PAT
 531          4   528 and ((task) with (file))               U5-PGPUB; OR    ON   2006/03/1009:09
                                                             U5PAT
 532         13 S28and ((task or file) with manage$4)        U5-PGPUB; OR    ON   2006/03/10 12:05
                                                             USPAT
 S33          0   S28and ((taskmanage$4or filemanage$4))     U5-PGPUB; OR    ON   2006/03/10 11:32
                                                             USPAT
 534          0   S28and ((task-manage$4or file-manage$4))   US-PG
                                                                 PUB;   OR   ON   2006/03/10 11:33
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 S35        247 715/864.ccls.                                U5-PGPUB; OR    ON   2006/03/10 11:30
                                                             U5PAT
 536          1 S35and ((task adj manager)or (file adj       U5-PGPUB; OR    ON   2006/03/10 11:30
                manager))                                    USPAT
 S37          0   S35and ((taskmanage$4or filemanage$4))     US-PG
                                                                 PUB;   OR   ON   2006/03/10 11:33
                                                             USPAT
 538          0   S35and ((task-manage$4or file-manage$4))   US-PG
                                                                 PUB;   OR   ON   2006/03/10 11:33
                                                             USPAT

3/16/2006 10:11:50AM                                                                        Page3
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          Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 705 of 745


                                       EAST Search History
 S39         18 S35 and ((task or file) with manage$4)       US-PG
                                                                 PUB; OR    ON   2006/03/10 11:33
                                                             USPAT
 S40         72 (US-20050229117-$ or US-20050120312-$or      US-PGPUB; OR   ON   2006/03/10 12:18
                US-20050114797-$ or US-20030007018-$or       USPAT
                US-20050102639-$ or US-20020060702-$or
                US-20020078143-$ or US-20040160442-$or
                US-20030005003-$ or US-20020050996-$or
                US-20040109013-$ or US-20060010405-$or
                US-20030081016-$ or US-20030081015-$or
                US-20030001909-$ or US-20060026521-$or
                US-20030231197-$).did.or (US-5949408-$or
                US-5917493-$or US-7007239-$or
                US-6938220-$or US-6956562-$or
                US-6938222-$or US-6801190-$or
                US-6938221-$or US-6876368-$or
                US-6833827-$or US-6356287-$or
                US-6100878-$or US-5406307-$or
                US-5903268-$or US-5424966-$or
                US-5796397-$or US-5677710-$or
                US-5570109-$or US-5555369-$or
                US-4782463-$or US-6980200-$or
                US-6904570-$or US-6882865-$or
                US-6996784-$or US-6741235-$or
                US-6714220-$).did.
                                 or (US-6335725-$or
                US-6304261-$or US-5627567-$or
                US-5821930-$or US-5910802-$or
                US-5757371-$or US-5594471-$or
                US-5327161-$or US-4839634·$or
                US-5757368-$or US-6502114-$or
                US-5453761-$or US-5347295-$or
                US-5570113-$or US-6903730-$or
                US-6664991-$or US-6094197-$or
                US-6262719-$or US-6181344-$or
                US-5798758-$or US-5760773-$or
                US-5726687-$or US-5583543·$or
                US-5523775-$or US-5517578-$or
                US-5502803-$or US-4680804·$).did.or
                (US-5524201-$or US-5483261-$).did.
 S41         13 S40 and ((task or file) with manage$4)           PUB; OR
                                                             US-PG          ON   2006/03/10 11:33
                                                             USPAT
 S42         13 S39 not S41                                  US-PG
                                                                 PUB; OR    ON   2006/03/10 11:34
                                                             USPAT
 S43         18 S35 and ((task or file) with manage$4)       US-PG
                                                                 PUB; OR    ON   2006/03/10 12:05
                                                             USPAT
 S44          5   S43 not S42                                    PUB; OR
                                                             US-PG          ON   2006/03/10 12:15
                                                             USPAT
 545          1 S40 and (start adj menu)                     US-PG
                                                                 PUB; OR    ON   2006/03/10 12:38
                                                             USPAT
 S46         32 chew-chee-h.in.                                  PUB; OR
                                                             US-PG          ON   2006/03/10 12:38
                                                             USPAT
 S47          3   ("5588105" I "5666438"I "6243071").PN.OR   US-PG
                                                                 PUB; OR    ON   2006/03/10 12:42
                  ("6727917").URPN.                          USPAT;
                                                             USOCR




3/16/2006 10:11:50AM                                                                        Page4
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          Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 706 of 745


                                        EAST Search History
 S48         80   (US-20050216867-$ or US-20060010405-$ or   US-PG
                                                                 PUB; OR        ON   2006/03/13 10:16
                  US-20030001909-$ or US-20020078143-$ or    USPAT
                  US-20030007018-$ or US-20050229117-$ or
                  US-20050120312-$ or US-20050114797-$ or
                  US-20040160442-$ or US-20030231197-$ or
                  US-20030081016-$ or US-20030081015-$ or
                  US-20060026521-$ or US-20020060702-$ or
                  US-20020050996-$ or US-20050102639-$ or
                  US-20040109013-$ or US-20030005003-$).did.
                  or (US-6674453-$or US-5757371-$or
                  US-6996784-$or US-7007239-$or
                  US-6956562-$or US-6938221-$or
                  US-6938220-$or US-6903730-$or
                  US-6882865-$or US-6876368-$or
                  US-6801190-$or US-6980200-$or
                  US-6741235-$or US-6664991-$or
                  US-6938222·$or US-6502114-$or
                  US-6356287-$or US-6335725-$or
                  US-6904570·$or US-6304261-$or
                  US-6262719-$or US-6181344-$or
                  US-6833827-$or US-6100878-$or
                  US-6094197-$or US-5949408-$).did.or
                  (US-6714220-$or US-5917493-$or
                  US-5910802-$or US-5903268-$or
                  US-5798758-$or US-5796397-$or
                  US-5760773-$or US-5757368-$or
                  US-5726687·$or US-5677710-$or
                  US-5627567-$or US-5594471-$or
                  US-5583543-$or US-5570113-$or
                  US-5570109-$or US-5555369·$or
                  US-5524201-$or US-5821930-$or
                  US-5523775-$or US-5517578-$or
                  US-5483261-$or US-5453761-$or
                  US-5424966-$or US-5347295-$or
                  US-5327161-$or US-4839634-$or
                  US-4680804·$).did.or (US-6072486-$or
                  US-5502803-$or US-5920316-$or
                  US-5680559-$or US-5406307-$or
                  US-4782463·$or US-6727917-$or
                  US-6008806-$or US-5673406-$).did.
 S49         27 S48and ((severalor multiple or plurality) near2   US-PG
                                                                      PUB; OR   ON   2006/03/13 10:17
                (applicationor programor processor window))       USPAT




3/16/2006 10:11:50AM                                                                           Page5
C:\Documentsand Settings\ipucell\MyDocuments\EAST\Workspaces\10315250.wsp
          Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 707 of 745


                                        EASTSearch History
 550         80   (U5-20050216867-$or US-20060010405-$  or    U5-PGPUB; OR     ON   2006/03/13 11:55
                  U5-20030001909-$or US-20020078143-$  or     USPAT
                  US-20030007018-$ or U5-20050229117-$or
                  U5-20050120312-$or U5-20050114797-$or
                  U5-20040160442-$or U5-20030231197-$or.
                  U5·20030081016-$or US-20030081015-$  or
                  U5-20060026521-$or U5-20020060702-$or
                  US-20020050996-$ or U5-20050102639·$or
                  U5-20040109013-$or U5-20030005003-$).did.
                  or (U5-6674453-$or US-5757371·$or
                  U5-6996784-$or US-7007239-$or
                  US-6956562-$or U5-6938221-$or
                  US-6938220-$or US-6903730-$or
                  US-6882865-$or US-6876368-$or
                  US-6801190-$or US-6980200-$or
                  US-6741235-$or US-6664991-$or
                  U5-6938222-$or US-6502114·$or
                  US-6356287-$or US-6335725-$or
                  U5-6904570-$or US-6304261-$or
                  US-6262719-$or US-6181344-$or
                  US-6833827-$or US-6100878-$or
                  US-6094197-$or US-5949408-$).did.or
                  (US-6714220-$or US-5917493-$or
                  US-5910802-$or US-5903268·$or
                  US-5798758-$or U5-5796397-$or
                  US-5760773-$or US-5757368-$or
                  U5-5726687-$or U5-5677710-$or
                  U5-5627567-$or U5-5594471-$or
                  US-5583543-$or US-5570113-$or
                  US-5570109-$or US-5555369-$or
                  U5-5524201-$or US-5821930-$or
                  US-5523775-$or US-5517578-$or
                  U5-5483261-$or US-5453761-$or
                  US-5424966-$or US-5347295-$or
                  US-5327161-$or US-4839634-$or
                  US-4680804-$).did.or (U5-6072486·$or
                  U5-5502803.:$
                              or US-5920316-$or
                  US-5680559-$or US-5406307-$or
                  U5-4782463-$or US-6727917-$or
                  US-6008806-$or US-5673406-$).did.
 S51         30   550 and help                                US-PG
                                                                  PUB;    OR   ON   2006/03/13 12:28
                                                              U5PAT
 552        247 715/864.ccls.                                 U5-PGPUB;   OR   ON   2006/03/13 12:28
                                                              U5PAT
 553         67   S52 and help                                US-PG
                                                                  PUB;    OR   ON   2006/03/13 12:53
                                                              USPAT
 S54      23811 "715"/$.ccls.                                 US-PGPUB; OR     ON   2006/03/13 12:53
                                                              U5PAT
 555       5557 help near2 (button or menu or icon)           U5-PGPUB;   OR   ON   2006/03/13 12:54
                                                              U5PAT
 S56       1155 S54 and 555                                   US-PG
                                                                  PUB;    OR   ON   2006/03/13 12:54
                                                              USPAT
 557        247 S54 and 552                                   US·PGPUB; OR     ON   2006/03/13 12:54
                                                              USPAT
 558       4116 help adj (button or menu or icon)             US·PGPUB; OR     ON   2006/03/13 12:54
                                                              USPAT


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                                         EAST Search History
 S59         15 S52 and S55                                        US-PG
                                                                       PUB; OR    ON    2006/03/13 12:59
                                                                   USPAT
 S60        467 S52 ((menu and display)adj area)                   US-PG
                                                                       PUB; OR    ON    2006/03/13 12:59
                                                                   USPAT
 S61        247 S60and S52                                         US-PGPUB; OR   ON    2006/03/13 12:59
                                                                   USPAT
 S62        106 715/702.ccls.                                      US-PG
                                                                       PUB; OR    ON    2006/03/13 12:59
                                                                   USPAT
 S63          1 S62and S61                                         US-PG
                                                                       PUB; OR    ON    2006/03/13 13:01
                                                                   USPAT
 S64          2   S62 and S55                                      US-PG
                                                                       PUB; OR    ON    2006/03/13 12:59
                                                                   USPAT
 S65          0   S62and S58                                       US-PG
                                                                       PUB; OR    ON    2006/03/13 13:01
                                                                   USPAT
 S66         25 562 and help                                       US-PG
                                                                       PUB; OR    ON    2006/03/13 14:30
                                                                   USPAT
 S67         26 S50and sav$3                                       US-PG
                                                                       PUB; OR    ON    2006/03/13 15:37
                                                                   USPAT
 S68          2   S52and (sav$3 near2text)                         US-PG
                                                                       PUB; OR    ON    2006/03/13 15:45
                                                                   USPAT
 S69          7   S52 and (sav$3with text)                         US-PG
                                                                       PUB; OR    ON    2006/03/13 15:51
                                                                   USPAT
 S70          3   S62and (sav$3with text)                          US-PG
                                                                       PUB; OR    ON    2006/03/13 15:53
                                                                   USPAT
 S71         41 S54and (sav$3with text with delet$3)               US-PG
                                                                       PUB; OR    ON    2006/03/13 15:54
                                                                   USPAT
 S72         18 S54and ((sav$3 with text with delet$3) and         US-PGPUB; OR   ON    2006/03/13 15:55
                (phoneor telephoneor (text adj message)))          USPAT
 S73        176 S54and ((file adj (menu or button or icon)) with   US-PG
                                                                       PUB; OR    ON    2006/03/13 16:25
                save)                                              USPAT
 S74         47 S54and (((file adj (menu or button or icon))       US-PG
                                                                       PUB; OR    ON    2006/03/13 16:25
                with save)and (telephoneor phone or (text adj      USPAT
                message)))
 S78          1   ("6542191").PN.                                  US-PG
                                                                       PUB; OR    OFF   2006/03/13 17:11
                                                                   USPAT
 S79       1982 (remov$4and exchang$4)sameenclosure                US-PG
                                                                       PUB; OR    ON    2006/03/13 18:32
                                                                   USPAT
 S80          5   S54 and S79                                      US-PG
                                                                       PUB; OR    ON    2006/03/13 18:30
                                                                   USPAT
 S81          0   S80and (hand or portableor pda)                  US-PG
                                                                       PUB; OR    ON    2006/03/13 18:31
                                                                   USPAT
 S82          0   S80 and (handheldor hand-heldor portableor       US-PGPUB; OR   ON    2006/03/13 18:32
                  pda or phone)                                    USPAT
 S83          0   S82 and S79                                      US-PG
                                                                       PUB; OR    ON    2006/03/13 18:32
                                                                   USPAT
 S84        302 S79and (handheldor hand-heldor portableor          US-PG
                                                                       PUB; OR    ON    2006/03/13 18:33
                pda or phone)                                      USPAT
 S85        916 (remov$4and exchang$4)with enclosure               US-PG
                                                                       PUB; OR    ON    2006/03/13 18:38
                                                                   USPAT

3/16/2006 10:11:50AM                                                                              Page7
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                                          EAST Search History
 586        126 585 and {handheldor hand-heldor portableor          U5-PGPUB; OR   ON   2006/03/13 18:39
                pda or phone)                                       U5PAT
 587          0   (removableand exchangable)with enclosure          U5-PGPUB; OR   ON   2006/03/13 18:39
                                                                    U5PAT
 588       4927 (removableor exchangable)with enclosure             U5-PGPUB; OR   ON   2006/03/13 18:40
                                                                    U5PAT
 589       1144 588 and (handheldor hand-heldor portableor          U5-PGPUB; OR   ON   2006/03/13 18:39
                pdaor phone)                                        U5PAT
 590        182 (removableor exchangable)with enclosurewith         US-PG
                                                                        PUB; OR    ON   2006/03/13 18:40
                (handheldor hand-heldor portableor pda or           U5PAT
                phoneor cellphoneor telephone)
 S91          9   ("20010034250"I "5768100"I "6035214"I       U5-PGPUB; OR         ON   2006/03/13 18:50
                  "6052279"I "6085112"I "6137686" I "6157533" U5PAT;
                  I "6259932"I "6317315").PN.                 USOCR
 S92        120 715/823.ccls.                                       U5-PGPUB; OR   ON   2006/03/14 16:44
                                                                    USPAT
 S93        399 ((hard or physicalor mechanical)adj (key or         US-PG
                                                                        PUB; OR    ON   2006/03/14 16:46
                button)) with ((soft) adj (button or key))          USPAT
 594          8   ((hard or physicalor mechanical)adj (key or       US-PG
                                                                        PUB; OR    ON   2006/03/14 16:50
                  button)) with ((soft) adj (button or key)) with   USPAT
                  (interchang$4or instead)
 S95     364236 S93(portableor handheldor hand-heldor pda)          US-PG
                                                                        PUB; OR    ON   2006/03/14 16:50
                                                                    USPAT
 S96        399 S93and S95                                          US-PG
                                                                        PUB; OR    ON   2006/03/14 16:51
                                                                    USPAT
 S97        114 715/860.ccls.                                       US-PGPUB; OR   ON   2006/03/15 10:39
                                                                    USPAT
 S98         52 S97and (speedor fast$2 or slow$2)                   US-PG
                                                                        PUB; OR    ON   2006/03/15 10:56
                                                                    USPAT
 599          0   ((cursoror pointeror mouse)adj speedwith          U5-PGPUB; OR   ON   2006/03/15 10:55
                  (fast$2or slow$2)with (highlight$3or              USPAT
                  high-light$3))
 510          1 ((cursoror pointeror mouseor marker)with            US-PG
                                                                        PUB; OR    ON   2006/03/15 10:56
 0              speedwith (fast$2or slow$2or low$2) with            USPAT
                (highlight$3or high-light$3))
 S10          0   715/830.ccls                                      US-PG
                                                                        PUB; OR    ON   2006/03/15 10:56
 1                                                                  U5PAT
 S10         55 715/830.ccls.                                       U5-PGPUB; OR   ON   2006/03/15 10:56
 2                                                                  USPAT
 S10         42 S102and (speedor fast$2 or slow$2or low$2)          US-PG
                                                                        PUB; OR    ON   2006/03/15 10:57
 3                                                                  U5PAT
 S10          9   ("4879648"I "5363481"I "5721847" I             PUB; OR
                                                             US-PG                 ON   2006/03/15 12:15
 4                "5790115"I "5844560"I "6144378"I "6295057" USPAT;
                  I "6300967"I "6388686").PN.                USOCR
 S10        106 715/702.ccls.                                       US-PG
                                                                        PUB; OR    ON   2006/03/15 12:16
 5                                                                  USPAT;
                                                                    USOCR
 S10         28 S105and ((cursor or markingor markeror         US-PGPUB; OR        ON   2006/03/15 12:17
 6              pointeror mouseor stylusor finger) with (speed USPAT;
                or low$2 or slow$2or faSt$2))                  USOCR


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          Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 710 of 745


                                      EASTSearch History
510           2   goertz-magnus.in.                        US-PGPUB; OR     ON   2006/03/15 16:32
7                                                          USPAT;
                                                           USOCR;
                                                           EPO;JPO;
                                                           DERWENT
                                                           ; IBM_TDB




3/16/2006 10:11:50AM                                           ;;'.:.,                      Page9
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             Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 711 of 745
                                                                                          10315250
PLUS Search     Results     for   S/N   10315250,    Searched     March   06,   2006

The Patent     Linguistics         Utility     System    (PLUS) is a USPTO automated        search
system    for U.S. Patents           from 1971 to the present.            PLUS is a
query-by-example         search      system    which produces      a list    of patents  that    are
most closely      related       linguistically        to the application       searched.    This
search    was prepared        by the staff        of the Scientific       and Technical
Information      Center,      SIRA.

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5546534
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5559903
5561811
5568770
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5598534
5636133
5642495
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                                                                AN!;>    Filed 05/19/23
                                                                    TRADEMARK  OFFICE .. Page 712 of 745
In re·Patent Application of:                            0 ,- I!'                                        .   Attention: A_l""ation Branch
GOERTZ                                                                     '6.,.                            Atty. Dkt.   3682-32
Serial No.                 10/315,250                 1 o20ln<:..
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Filed:           December 10, 2002           \~                               ~}                            Date:    March 10, 2003
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Fo~              USERINTERFACE                              [\~~!.~ .•••
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Assistant Commissioner for Patents
Washington, D.C. 20231
The attached completes filing of the above-identified patent application:
 [8] Correspondence Address Indication Form Attached.

[2'.ISigned Rule 63 Declaration  alone,                      D
                                          Copy of Declaration from prior application alone, OR
0    Signed Declaration plus attached copy of originally filed specification/drawings.
[2'.INOTICE TO FILE MISSING PARTS OF APPLICATION FILING DATE GRANTED form.
 0   Record the attached assignment and return to the undersigned .
.O  Attached is a Power of Attorney.
 0        Priority is hereby claimed under 35 U.S.C. § 119 based on the following foreign applications:
           Application Number                         Country                      Day/MonthNear Filed


respectively.
D   Certified copy(ies) of foreign application(s) is/are attached.
D   Certified copy(ies) filed on __     in prior application no. __   , filed __  .
~ Applicant claims "small entity" status.        D "Small entity" statement attached.
D         Please enter the attached and/or below preliminary amendment prior to calculation of filing fee.
D    Also attached:                0
                       Information Disclosure Statement;                                      D       Nucleotide and/or Amino Acid
     Sequence Submission;        Other:      D
Fees due are calculated below:
Basic filing fee                                                                                                              $       750.00
Total Effective claims    18     - 20 =   0     x$   18.00                                                                    $         0.00
Independent claims               -3 =     0     x$   84.00                                                                    $         0.00
If any proper multiple dependent claims now added for first lime, add $280.00 (ignore improper)                               $         0.00
                                                                                                                FILING FEE    $       750.00
Petition is hereby made to extend the current due date so as to cover the filing date of this paper
and attachment(s) ($110.00/1 month; $410.00/2 months; $930.00/3 months; $1450.00/4 months)                                    $
Surcharge ($130.00) if Declaration or filing fee first now submitted                                                          $       130.00
English translation of specification and claims ($130.00)                                                                     $          0.00
                                                                                                         FIRST SUBTOTAL       $       880.00
If "small entity," enter half (½) of subtotal and subtract                                                                    -$      440.00
                                                                                                      SECOND SUBTOTAL         $       440.00
Assignment Recording Fee ($40.00)                                                                                             $          0.00
                                                                                                    TOTAL FEE DUE             $       440.00
                                                                                            Check enclosed (Pre-Bill)*        $       440.00
                                                                                         Check enclosed (non Pre-Bill)*       $
                                                                                             TOTAL
                                                                                                 FEEENCLOSED$                         440.00
Any future submission reqyiring an extension of time is hereby stated to include a petition for such time extension.
The Commissioner is hereby authorized to charge any deficiency. or credit any overpayment, in the fee(s) filed, or
asserted to be filed, or which should have been filed herewith (or with any paper hereafter filed in this application
by this firm) to our Account No. 14-1140. A duplicate copy of this sheet is attached.
                                        th
1100 North Glebe Road, 8 Floor                                                      NIXON & VANDERHYE P.C.
Arlington, Virginia 22201-4714                                                      By Atty: Richard G. Besha, Reg. No. 22,770
Telephone: (703) 816-4000
Facsimile: (703) 816-4100
RGB:alm                                                                             Signature:


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                    Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 713 of 745
                                                                                       Page 1 of 2


                      "UNITED      STATES
                       PATENT     AND
                      TRADEMARK         OFFICE

                                                                                                            Comrni•sK>n.or        for Potents
                                                                                                              Washington.         DC    20231
                                                                                                                             www.uaplo~gov

                 APPLICATIONNU:MBER              FU.ING/RECEIPTDATE        FIRST NAl\lED APPLIC.-\NT    .-\TrORNEY D<)C..:ETNL'l\IBER

                     10/315,250                     12/10/2002                Magnus Gol;!rlz                      3682-32

                                                                                                   CONFIRMATION NO. 1226
           NIXON & VANDERHYE P.C.                                                          FORMALITIES LETTER
           8th Floor
           1100 North Glebe Road                                                           1111111111111111         Ill1111Im    ml
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                                                                                                                            11m11
                                                                                           *OC000000009390646'
           Arlington, VA 22201


                                                                                                         Date Mailed: 01/16/2003


                      NOTICE TO FILE MISSING PARTS OF NONPROVISIONAL APPLICATION

                                                         FILED UNDER 37 CFR 1.53(b)

                                                             Filing Date Granted

           Items Required To Avoid Abandonment:

           An application number and filing date have been accorded to this application. The item(s) indicated below,
           however, are missing. Applicant is given lWO MONTHS from the date of this Notice within which to file all
           required items and pay any fees required below to avoid abandonment. Extensions of time may be obtained by
           filing a petition accompanied by the extension fee under the provisions of 37 CFR 1.136(a).

               • The statutory basic filing fee is missing.
                 Applicant must submit$ 370 to complete the basic filing fee for a small entity.
               • The oath or declaration is missing.
                 A properly signed oath or declaration in compliance with 37 CFR 1.63, identifying the application by the
                 above Application Number and Filing Date, is required.
               • To avoid abandonment, a late filing fee or oath or declaration surcharge as set forth in 37 CFR 1.16(e) of
                 $65 for a small entity in compliance with 37 CFR 1.27, must be submitted with the missing items identified
                 in this letter.

          SUMMARY OF FEES DUE:

          Total additional fee(s) required for this application is $435 for a Small Entity

               • $370 Statutory basic filing fee.
               • $65 Late oath or declaration Surcharge.
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                                      A copy r~fthis notice MUST be returned with the reply.




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    Initial Patent faamination Division (703) 308-1202
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            Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 714 of 745
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                                      PART 2 - COPY TO BE RETURNED WITH RESPONSE




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                                    MAR1 0 2003.i-                                                                      Nixon & Vanderhye P.C. (10/99)
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P02-700/UK/MLE           ~                         /                                                          (Domestic Non-Assigned/Foreign) Page 1
                              ~)'    .       OJ   r-'-           RULE 63 (37 C.F.R. 1,63)
                                    ct 'RAO':~~-~-
                                                INVENTORS DECLARATION FOR PATENT APPLICATION
                                              IN THE UNITED STATES PATENT ANO TRADEMARK OFFICE

As a below named inventor, 1hereby declare that my residence, mailing address and citizenship are as staled below next to my name. and I believe I am
the original, llrst and sole inventor (II only one name is llsred below) or an original, first and joint inventor (it plural names are hsled below) of the subject
maner which is claimed and for which a patent is sough! on the Invention enliUed:                                                •
                                                                     USER INTERFACE
Iha specification of which (check appllcable box(s)):
[ ]      is attached_hereto
[X] was filed on                  December 10, 2002                 as U.S. Application Serial No.         Unassigned                (Atty. Dkt. No. 3682·32)
( J was filed as PCT International appllcatlon No.                                                    on
and (if applicable 10U.S. or PCT application) was amended on

~ 11erebystate that I have reviewed and understand the co11tentsof the above identified specification, Including the claims, as emended by any
amendment referred 10 above. I acknowledge the duty to disclose to the Patent Office all information known to me to be material lo paternab1htyas
defined in 37 C.F .R. t .56. 1hereby claim foreign priority benefits under 35 U.S.C. 119/385 of any foreign apphcation(s) for patent or Inventor's certificate
listed below and have also identified below any foreign application for pateni or Inventor's certificate having a filing date before that of the applicarlon on
which priority is claimed or, ii no priority Is claimed, before the lillng date of this application:
Priority Foreign Application(s):
               Application Number                                              Country                                            Day/Month/Year Flied


I hereby clalm the benefit under 35 U.S.C. §119(e) of any United Stales provisional appllca11on(s)listed below.
              Appllcatlon Number                                    Date/Month/YearFiled


I hereby clalm the benefit under 35 U.S.C. 120/365 of all prior United States and PCT international applications listed above or below:

Prior U.SJPCT Appllcation(s):                                                                                                           Status: patented
Appllcation Serial No.                                              Day/Month/Year Flied                                             pending, abandoned



I hereby declare that all statements made herein of my own knowledge are rrue and that all statements made on information and belief are believed to
be true; and further that these statements were made with the knowledge that willful false statements ar,d the like so made are punishable by line or
imprisonment, or both, under Section 1001 of Title 1B of the United Stares Code and that such willful false statements may Jeopardizethe validity of the
a~plication or any patent issued thereon. And on behalf of Iha owner(s) hereof, I hereby appoint NIXON & VANDERHYE P.C., 1100 North Glebe Rd.,
8 h Floor, Arlington, VA 22201-4714, telephone number (703) 816-4000 (to whom all communications are robe directed), and the following
attorneys thereof (of the same address) individually and collectively owner's/owners' attorneys to prosecute this application and to 1ransae1all business
In the Patent and Trademark Olflce connected therewith and with u,e resulting patent: Larry S. NillOl"I,25840: Arthur A. Crawford, 25327; James T.
Hosmer, 30184; Robert W. Faris, 31352; Richard G. Basha, 22770; Mark E. Nusbaum. 32348; Michael J. Keenan, 32106: Bryan H. Davidson, 30251;
Stanley C. Spooner, 27393; Leonard C. Mltchard, 29009; Duane M. Byers, 33363; Jeffry H. Nelson, 30481; John A. Lastova, 33149; H. Warren Burnam,
Jr. 29366; Mary J. WIison, 32955; J. Scott Davidson, 334B9; Alan M. Kagen, 36178; Robert A. Molan, 29834; 6. J. Sa.doff,36663; James D. Berquist.
34776; Updeep S. Gill, 37334; Michael J. Shea, 34725; Donald L. Jackson, 41090; Michelle N. Lester, 32331; Frank P. Presla, 19828; Joseph S. Presta,
35329: Joseph A. Rhoa, 37515; Raymond Y. Mah, 41426; Chris Comuntzis, 31097; Gary A. Tanigawa, 43180. I also authorize Nixon & Vanderhye to
delete any .attorney names/numbers no longer with the firm and to act and rely solely on Instructions directly communicated from the person. assignee,
attorney, firm, or other organization sending inslructions to Ni,con& Vanderhye on be II of the.owner(s).
1.         Inventor's Signature:
           Inventor:                             gnus                                                   OEATZ
                                                                                                                          Date: ? ea:i:»-o3-oS-
                                                                                                                                      swedish
                                               (first)                     Ml                           (last)                            (citizenship)
           Residence: (city)             Stockholm                                        (state/country) ......;.s_w..;.E
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                                                                                                                         N__________                      _
           Mailing Address:              Engelbrek'lsgatan 14A, Stockholm, SWEDEN
                     (Zip Code)          SE-11432

2.         Inventor's Signature:                                                                                       Date:
           Inventor:
                                                  (first)                   Ml                          (last)                            (citizenship)
           Residence: (city)                                                              (state/country)
           Malllng Address:
                     (Zip Code)




[ ] See attached                            sheet(s) for               additional                  inventor(s)                 information!!
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                        Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 716 of 745                                                   tt'-1    3682-32


                                                                                                                                              PTO/SB/121 (10-00)
                                                                                                            Approved for use through 10/31/2002. 0MB 0651-0035
                                                                                        U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
        Under the Pa erwork Reduction Act of 1995, no ersons are r                 nd to a collection of infonnation unless it dis la s a v • MB control number.

                                                                         Address to:
           CORRESPONDENCE                                                Assistant Commissioner for Patents
               ADDRESS                                                   BoxCN
                                                                         Washington, DC 20231
            INDICATION
                    FORM
 Direct all correspondence to:
                                                                                                  Place Customer
             [g1         Customer Number:                                 23117                     Number Bar
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                         Request for Customer Number (PTO/SB/125) submitted herewith.
             in the following listed application(s) or patent(s):
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          Patent Number                                                                     Patent Date                            U.S. Filing
          (if aooropriate)                        Aoolication Number                      (if aooropriate)                           Date
                                                      10/315,250                                                               December 10, 2002




                                                                                                            (check one)


 Typed or
 Printed Name

 Signature
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                                    (,J~_f_
                                                         Richard G. Besha

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                                                                                                                      Applicant or Patentee



                                                                                                                      Assignee of record of the entire
                                                                                                                      interest. Statement under 37 C.F.R. §
                                                                                                                      3.73(b) is enclosed. (Form
 Date                                                     March 10, 2003                                              PTO/SB/96)

                                                             th
 Address of signer:        1100 North Glebe Road, 8 Floor                                                   ~         Attorney or Agent of record
                           Arlington, VA 22202
                                                                                                                                    22,770
                                                                                                                                     (Reg. No.)
 NOTE: Signatures of all the inventors or assignees of record of the entire interest or their representative(s) are required. Submit multiple forms if more
 than one sianature is reauired, see below•.

! IZI I *Total of   I                    I forms are submitted.
 Burden Hour Statement: This form is estimated to take 0.2 hours to complete. Time will vary depending upon the needs of the individual case. Any
 comments on the amount of time you are required to complete this form should be sent to the Chief Information Officer, U.S. Patent and Trademark
 Office, Washington, DC 20231. DO NOT SEND FEES OR COMPLETED FORMS TO THIS ADDRESS: SEND TO: Assistant Commissioner of
 Patents, Box CN, Washington, DC 20231.



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              Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 717 of 745
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          APPLIC.-\TION !'11.J}.LBER             FILING RECEIPT DATE        FIRST NA/\ IED .-\Pl'L IC ANT          ..\ HORNE\'    DOCKET NU1\IBER

               10/315,250                            12/10/2002                 Magnus Goertz                                    3682-32

                                                                                                                  CONFIRMATION NO. 1226
    NIXON & VANDERHYE P.C.                                                                      FORMALITIES LETTER
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    1100 North Glebe Road                                                                                   Iii
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    Arlington, VA 22201


                                                                                                                    Date Mailed: 01/16/2003



                 NOTICE TO FILE MISSING PARTS OF NONPROVISIONAL APPLICATION

                                                        FILED UNDER 37 CFR 1.53(b)

                                                               Filing Date Granted

    Items Reg11iredl"o Avoid Abandonment:_

    An application number and filing date have been accorded to this application. The item(s) indicated below,
    however, are missing. Applicant is given TWO MONTHS from the date of this Notice within which to file all
    required items and pay any fees required below to avoid abandonment. Extensions of time may be obtained by
    filing a petition accompanied by the extension fee under the provisions of 37 CFR 1.136(a).

        • The statutory basic filing fee is missing.
          Applicant must submit$ 370 to complete the basic filing fee for a small entity.
        • The oath or declaration is missing.
          A properly signed oath or declaration in compliance with 37 CFR 1.63, identifying the application by the
          above Application Number and Filing Date, is required.
        • To avoid abandonment, a late filing fee or oath or declaration surcharge as set forth in 37 CFR 1.16(e) of
          $65 for a small entity in compliance with 37 CFR 1.27, must be submitted with the missing items identified·
          in this letter.

    SUMMARY OF FEES DUE:

    Total additional fee(s) required for this application is $435 for a Small Entity

        • $370 Statutory basic filing fee.
        • $65 Late oath or declaration Surcharge.




                                       A copy of this notice MUST he returned with the reply.




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    Initial Patent fa:amination Di,·ision (703) 308-1202
                                                      PART 3 OFFICE COPY
                             Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 719 of 745

                                       IN THE UNITED STATES PATENT AND TRADEMARK OFFlC!En~:;:.
                                      REQUEST FOR FILING APPLICATION UNDER 37 C.F.R. 1.53(b)
                              WITHOUT FILING FEE AND/OR WITHOUT EXECUTED INVENTOR'S DECLARATION

      Assistant Commissioner for Patents                            Atty. 0kt. 3682-32
      Washington, DC 20231
      --c..                                                         Date: December 10, 2002
      ~I-"
,__..~       I-"
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~         tga request for filing a new PATENT APPLICATION under Rule 53(b) entitled:
~            ~                                            USER INTERFACE
CJ ~t        a filing fee and/or without an executed inventor's oath/declaration.
~~ ~plication is made by the below identified inventor(s). Attached hereto are the following papers:
   ~ >-1Newlyexecuted Declaration, D Copy of Declaration from prior application,~    Abstract
         0
   ""f'5"'! pages of specification and claims (including 18 numbered claims), and
    4       sheets of accompanying drawing/s.
    D Record the attached assignment and return to the undersigned.
    D Attached is a Power of Attorney.
    D Priority is hereby claimed under 35 U.S.C. § 119 based on the following foreign applications:
            Application Number                                      Country                   Day/MonthNear Filed


                   , respectively, the entire content of which is hereby incorporated by reference in this application ..
      □            Certified copy(ies) of foreign application{s) is/are attached.
      □            Certified copy(ies) filed on ________                   in prior application no. ________               filed _______         _
      □            Please amend the specification by inserting the following paragraph before the first line: --This application claims
                   the benefit of Provisional Application No.            , filed       , the entire content of which is hereby incorporated by
                   reference in this application.--
      □            Please amend the specification by inserting the following paragraph before the first line: --This application is a D
                   continuation!□ division!□ continuation-in-part of Application No.                 , filed             , the entire content of
                   which is hereby incorporated by reference in this application.--
      □            Petition filed in prior application to extend its life to insure co-pendency.
      □            The prior application is assigned to
      □            It is hereby requested that the Examiner consider the art cited in the above parent application(s) by applicant and/or
                   the Examiner for the reasons stated therein. A listing of that art is attached, but pursuant to Rule 98(d) copies are
                   not required.
      18T          Applicant claims "small entity" status.      D "Small entity" statement attached.
      ~            Please enter the attached and/or below preliminary amendment prior to calculation of filing fee:

      □            Also attached: □ Information Disclosure Statement; D Non-Publication Request; D Nucleotide and/or
                   Amino Acid Sequence Submission; D Statement deleting lnventor{s) named in prior application; D Other:

      1.             Inventor:                 Magnus                                    GOERTZ                    Swedish
                                                (first)                Ml                   (last)               (citizenship)
                     Residence: (city)    Stockholm                            (state/country)_S_W_E_D_E_N
                                                                                                     ___________                                   _
                     Mailing Address:     Engelbrektsgatan 14A, Stockholm, SWEDEN
                               (Zip Code) _S_E_-1_1_4_3_2
                                                     ____________________________                                                                  _
      2.             Inventor:
                                                (first)            Ml                               (last)                     (citizenship)
                     Residence: (city)    ______________                               (state/country)______________                           _
                     Mailing Address:
                               (Zip Code) _______________________________                                                                      _
      D      See attached             sheet(s) for     additional        inventor(s)      information!!
      Address all future communications to NIXON & VANDERHVE P.C., 1100 North Glebe Road, 8th Floor, Arlington, VA 22201.
      1100 North Glebe Road, 8th Floor                          NIXON & VANDERHYE P.C.
      Arlington, Virginia 22201-4714                            By Atty: Richard G. Besha, Reg. No. 22,770
      Telephone: (703) 816-4000
      Facsimile: (703) 816-4100
      RGB:lhl                                                   Signature:
       Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 720 of 745




            IN THE UNITED STATES PATENT AND TRADEMARK OFFICE

In re Patent Application of

Magnus GOERTZ                                               Atty. Ref.: 3682-32

Serial No. Unassigned                                       Group:

Filed: December 10, 2002                                 Examiner:

For: USER INTERFACE

                        *     *   *   *   *    *   *    *      *     *   *

                                                            December 10, 2002

Assistant Commissioner for Patents
Washington, DC 20231

Sir:

                              PRELIMINARY AMENDMENT

       In order to place the above-identified application in better condition for

examination, please amend the application as follows:

IN THE CLAIMS

       Please substitute the following amended claim(s) for corresponding claim(s)

previously presented. A copy of the amended claim(s) showing cunent revisions is

attached.

       9.     (Amended) User interface according to Claim 7, characterised in, that, a

navigation in said list is performed by moving said object in a direction towards the top

of said list or towards the bottom of said list, that the movement of said object will cause

said marking to move in the same direction, and that the speed of the movement of said

marking is lower than the speed of the movement of said object.




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        Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 721 of 745

Magnus GOERTZ
Serial No. Unassigned




        12.    (Amended) User interface according to Claim 1, characterised in, that an

active application, function, service or setting is moved on one step by moving said

object from the left of said display area to the right of said display area, and that the

active application, function, service or setting is closed or backed one step by moving

said object from the right of said display area to the left of said display area.



         13.   (Amended) User interface according to Claim 1, characterised in, that said

menu area is positioned at the bottom of said touch sensitive area, that said representation

of said first function is positioned at the left side of said menu area, that said

representation of said second function is positioned at the middle of said menu area, and

that said representation of said third function is positioned at the right side of said menu

area.



         14.   (Amended) User interface according to Claim 1, characterised in, that said

user interface is adapted to a touch sensitive area with a size that is in the order of 2-3

inches, and that said user interface is adapted to be operated by .one hand, where said

object can be a finger, such as the thumb, or a user of said computer unit.



         15.   (Amended) An enclosure adapted to cover a computer unit, said computer

unit being adapted to present a user interface according to Claim 1, characterised in, that




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      Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 722 of 745

Magnus GOERTZ
Serial No. Unassigned

said enclosure is provided with an opening for said display area, and that a representation

of said menu area is printed on top of said enclosure.



       17.    (Amended) A computer readable medium, with a computer program

product stored therein, characterised in, that said computer program product comprises

computer readable code, which, when read by a computer, will make it possible for said

computer to present a user interface according to Claim 1.




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     Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 723 of 745

Magnus GOERTZ
Serial No. Unassigned

                                      REMARKS

       This Preliminary Amendment has been presented to place the claims in condition

for allowance.

       Attached hereto is a marked-up version of the changes made to the specification

and claim(s) by the current amendment. The attached page(s) is captioned "Version

With Markings To Show Changes Made."

                                          Respectfully submitted,

                                          NIXON & VANDERHYE P.C.


                                           By:    6tu~    Richard G. Besha
                                                          Reg. No. 22,770
RGB:lhl
1100 North Glebe Road, 8th Floor
Arlington, VA 22201-4714
Telephone: (703) 816-4000
Facsimile: (703) 816-4100




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        Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 724 of 745

Magnus GOERTZ
Serial No. Unassigned

              VERSION WITH MARKINGS TO SHOW CHANGES MADE

IN THE CLAIMS

        9.     (Amended) User interface according to Claim 7 [or 8], characterised in,

that, a navigation in said list is performed by moving said object in a direction towards

the top of said list or towards the bottom of said list, that the movement of said object

will cause said marking to move in the same direction, and that the speed of the

movement of said marking is lower than the speed of the movement of said object.

        12.    (Amended) User interface according to [any preceding] Claim l,

characterised in, that an active application, function, service or setting is moved on one

step by moving said object from the left of said display area to the right of said display

area, and that the active application, function., service or setting is closed or backed one

step by moving said object from the right of said display area to the left of said display

area.



        13.    (Amended) User interface according to [any preceding] Claim l,

characterised in, that said menu area is positioned at the bottom of said touch sensitive

area, that said representation of said first function is positioned at the left side of said

menu area, that said representation of said second function is positioned at the middle of

said menu area, and that said representation of said third function is positioned at the

right side of said menu area.




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        Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 725 of 745

Magnus GOERTZ
Serial No. Unassigned

        14.   (Amended) User interface according to [any preceding] Claim l,

characterised in, that said user interface is adapted to a touch sensitive area with a size

that is in the order of 2-3 inches, and that said user interface is adapted to be operated by

one hand, where said object can be a finger, such as the thumb, or a user of said computer

unit.



        15.   (Amended) An enclosure adapted to cover a computer unit, said computer

unit being adapted to present a user interface according to [any of Claims] Claim 1 [to

14], characterised in, that said enclosure is provided with an opening for said display

area, and that a representation of said menu area is printed on top of said enclosure.



        17.   (Amended) A computer readable medium, with a computer program

product stored therein, characterised in, that said computer program product comprises

computer readable code, which, when read by a computer, will make it possible for said

computer to present a user interface according to [any of Claims] Claim 1 [to 14].




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                             Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 726 of 745
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                         USERINTERFACE

                         Technical field
                                  The present invention relates to a user interface for a mobile hand held
                    s    computer unit, which computer unit comprises a touch sensitive area, and which
                         touch sensitive area is divided into a menu area and a display area.
                                  The computer unit is adapted to run several applications simultaneously
                         and to present any active application on top of any other application on the display
                         area.
                                  The present invention also relates to an enclosure for a handheld
                         computer unit
                                  The present invention also relates to a computer readable medium. A
                         computer program product with computer program code is stored within the
                         computer readable medium, which code, when read by a computer, will make it
                    15   possible for this computer to present a user interface according to the invention.


                         Description of background art
                                  Mobile handheld computers are known in various embodiments. One kind
                         of handheld computer is the personal digital assistant (PDA), which is getting more
                    20   and more powerful.
                                  Another kind of handheld computer unit is the mobile pho11e,which also is
                         getting more and more powerful. There are also examples of where the mobile
                         phone and the PDA are merging into one unit
                                  A third kind of handheld computer is the laptop computer, which is getting
                    25   smaller and smaller, even competing in size with the PDA's.
                                  The need to manage more information has led the development towards
                         new solutions regarding user interfaces and navigation. The PDA's and mobile
                         phones are getting larger and larger in order to provide a user-friendly interface.
                                  Since the users have gotten used to small handheld units, it is hard to
                    30   move towards larger units. This has led to foldable keyboards, different kinds if joy
                         sticks and different kinds of touch sensitive displays and pads intended to help in
                         providing a user interface that is suitable for small handheld compute units
                       Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 727 of 745
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                   Summary of the present invention


                   Technical problems
                            It is a problem to provide a user-friendly interface that is adapted to handle
              s    large amount of information and different kinds of traditional computer-related
                   applications on a small handheld computer unit.
                              It is a problem to provide a user interface that is simple to use, even for
                   inexperienced users of computers or handheld devices.
                              It is a problem to provide a small handheld computer unit with an easily
              10   accessible text input function.
                              It is also a problem to provide a simple way to make the most commonly
                   used functions for navigation and management available in the environment of a
                   small handheld computer unit.


              1s   Solution
                              Taking these problems into consideration, and with the staring point from a
                   user interface for a mobile handheld computer unit, which computer unit comprises
                   a touch sensitive area, which touch sensitive area is divided into a menu area and
                   a display area, which computer unit is adapted to run several applications'
              20   simultaneously and to present an active application on top of any other application
                   on the display area, the present invention teaches that the menu area is adapted
                   to present a representation of a first, a second and a third predefined function,
                   where the first function is a general application dependent function, the second
                   function is a keyboard function, and the third function is a task and file manager.
              25   The present invention also teaches that any one of these three functions can be
                   activated when the touch sensitive area detects a movement of an object with its
                   starting point within the representation of the function on the menu area and with a
                   direction from the menu area to the display area.
                              With the purpose of providing a simple way of managing any application or
              JO   the operations system, the present invention teaches that if the first function is
                   activated, the display area is adapted to display icons representing services or
                   settings, depending on the current active application. One of the icons always
                   represents a "help"-service, regardless of application. The icons are adapted to
                   represent services or settings of the operations system of said computer unit, such
                    Case 6:20-cv-00507-ADA Document 81-7 Filed 05/19/23 Page 728 of 745
10/12   '02    14:00   FAX 46 8 31 67 67            GROTH & CO                   ➔   NIXON & VANl>ERHY ll)004




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                   as background picture, clock, users, help, etc. if no application is currently active
                   on the computer umt.
                            Selections of preferred service or setting is done by tapping on
                   corresponding icon
              5             With the purpose of providing the access to a text input function in any
                   application in the computer unit, the present invention teaches that when the
                   second function is activated, the display area ,s adapted to display a keyboard and
                   a text field,
                             If a text passage in an active application is highlighted, then this text
              10   passage is displayed in the text field for editing through the keyboard and that the
                   highlighted text passage is replaced by the edited text passage when the second
                   function is deactivated_
                             If no text passage in an active application is highlighted, then the text field
                   is available for inputting and editing of text through the keyboard.
              15             In the case of the latter the first function can be activated, or the second
                   function can be closed, in which a choice of saving or deleting the inputted text is
                   given. The choice of saving the inputted text results in an activation of the first
                   function. In this case the first function will present services or settings available for
                   the inputted text, such as saving the inputted text for later use, using the inputted
              20   text as telephone number in a telephone application, or sending the inputted text
                   as message in communications application.
                             In order to provide a task and file management in a user interface for a
                   handheld mobile computer, the present invention teaches that, if the third function
                   is activated, the display area is adapted to display a list with a library of available
              25   applications and files on the computer unit A selection of an application will start
                   the application, and a selection of a file will open the file in an application intended
                   for the file.
                            A selection of an application or a file is done by moving the object so that
                   the representation of desired application or file is highlighted, removing the object
              30   from the touch sensitive area, and then tapping on the touch sensitive area.
                             According to the present invention a navigation in the list is performed by
                   moving the object in a direction towards the top of the list or towards the bottom of
                   the list. This will cause the marking to move in the same direction_ The speed of
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                         the movement of the marking is lower than the speed of the movement of the
                         object, with the purpose of making the navigation easier.
                                  The user interface of the present invention is specifically adapted to be
                         used with a small computer unit where the size of the touch sensitive area is in the
                    5    order of 2-3 inches, The user interface is also adapted to be operated by one
                         hand, where the object can be a finger, such as the thumb, of a user of the
                         computer unit.


                         Advantages
                    10            Those advantages that can be primarily associated with a user interface or
                         a computer readable medium according to the present invention reside in the
                         ability to establish a user-friendly interface for small handheld computers, both
                         regarding general application set-up functions, text input functions, and file and
                         task management.

                    1s   Brief description of the drawings
                                 The present invention will now be described in more detail with reference
                         to the accompanying drawings, in which
                                  Figure 1   is a schematic and highly simplified view of a touch sensitive
                                             area on a mobile handheld computer unit;
                    20            Figure 2   is a schematic side view illustrating the activation of a function;
                                  Figure 3   is a schematic illustration of a first function;
                                  Figure 4   is a schematic side view illustrating the selection of a service or
                                             setting represented by an icon;
                                  Figure 5   is a schematic illustration of a second function;
                    25            Figure 6   is a schematic side view illustrating the selection of a third
                                             function;
                                  Figure 7   is a schematic illustration of an application or file;
                                  Figure 8   is a schematic illustration on how navigation is performed;
                                  Figure 9   is a schematic illustration of how the content of the display are
                    30                        is changed;
                                  Figure 1O is a schematic side view further illustrating how navigation is
                                             performed;
                                   Figure 11 is a schematic illustration of moving forwards in an application;
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                                Figure 12 is a schematic illustration of moving backwards in, or closing,
                                           an application;
                                Figure 13 is a schematic illustration of an enclosure

                        Description  of embodiments at present preferred
                   s            Figure 1 illustrates a user interface for a mobile handheld cornputer unit.
                        The user interface according to the present invention is specifically adapted to
                        computer units comprising a touch sensitive area 1, which is divided into a menu
                        area 2 and a display area 3. It should be understood that there are several
                        different kinds of known touch sensitive displays and that the present invention
                   10   does not depend on what kind of touch sensitive display that is used in relation to
                        the inventive user interface.
                                The computer unit is adapted to run several applications simultaneously
                        and to present an active application on top of any other application on the display
                        area 3. It should be understood that by simultaneously it is meant any technology
                   15   that will make it appear to a user of the computer unit that applications are run
                        simultaneously and that the present invention does not depend on how this is
                        realised, whether it is through time-sharing of one processor, parallel use of
                        several processors, or any other technique.
                                According to the present invention the menu area 2 is adapted to present
                   20   a representation of a first 21, a second 22 and a third 23 predefined function.
                                The first function 21 is a general application dependent function, the
                        second function 22 is a keyboard function, and the third function 23 is a task and
                        file manager.
                                 Figure 2 shows that any one of these three functions 21, 22, 23 can be
                   25   activated when the touch sensitive area 1 detects a movement of an object 4 with
                        its starting point A within the representation of a function on the menu area 2 and
                        with a direction B from the menu area 2 to the display area 3.
                                 Figure 3 shows that if the first function 21 is activated, then the display
                        area 3 is adapted to display icons 211,212,213,214,215,216           representing
                   30   services or functions depending on the current active application      One of the icons,
                        in the figure exemplified by icon 211, always represents a "help" -service.
                        regardless of application. Any key that. because of lack of space on the display
                        area, or because the key should be hidden from the active application, or because
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                   of any other reason is not shown on the display area of an active application, can
                   be represented by one of the icons 212, 213, 214,215,216         that is shown when
                   the first function 21 is activated.
                            If for instance the active application handles a picture, then the icons that
              s    are shown when the first function is activated can be services such as "save to
                   disk", "send as SMS", or "delete" and they can be settings such as "resolution",
                   "colour", or "brightness".
                            If no application is currently active on the computer unit, then the icons
                   211,212,213,214,215,         216 are adapted to represent services or settings of the
              10   operations system of the computer unit, such as background picture, clock, alarm
                   215, users 213, help 211, etc.
                            Figure 4 shows that selection of a preferred service or setting is done by
                   tapping C, Don corresponding icon 213.
                            Figure 5 shows that if the second function 22 is activated, then the display
              ts   area 3 is adapted to display a keyboard 221 and a text field 222.
                             Two different scenarios can be at hand when this function key is
                   activated. A first scenario can be that a text passage in the active application is
                   highlighted as the second function is activated     If this is the case then the
                   highlighted text passage is displayed in the text field 222 for editing through the
              20   keyboard 221.
                            The highlighted text passage is replaced by the edited text passage when
                   the second function 21 is deactivated.
                            A second scenario can be that no text passage in the active application is
                   highlighted. If this is the case then the text field 222 is available for inputting and
              25   editing of text through the keyboard 221.
                            In the case of the latter scenario, the first function 21 can be activated, or
                   the second function 22 can be closed. If the second function 22 is closed then a
                   choice of saving or deleting the inputted text is given, where the choice of saving
                   the inputted text results in an activation of the first function 21.
              30            As the first function 21 is activated with the second function 22 as currently
                   active application the first function 21 will present services or settings available for
                   the inputted text, such as saving the inputted text for later use, using the inputted
                   text as telephone number in a telephone application, or sending the inputted text
                   as message in communications application, such as e-mail, SMS, or fax.
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                               Figure 6 shows that if the third function 23 is activated, then the display
                    area 3 is adapted to display a list 231 with a library of available applications and
                   files on the computer unit.
                               A selection of an application will start the application, and a selection of a
              5     file will open the file in an application intended for the file The name of a selected
                    file can be edited by activation of the second function 22 as the file is highlighted.
                               Figure 7 shows that a selection of an application or a file is done by
                    moving E the object 4 so that the representation of desired application or file is
                    highlighted, removing F the object 4 from the touch sensitive area 1, and then
              10    tapping G. Hon the touch sensitive area 1.
                               An application or file is highlighted by placing some kind of marking 232 on
                    the representation of the application or file. This marking can be done in different
                    ways, for example by putting a frame around the representation of the application
                   . or file, as shown in the figure, or by inverting the representation of the application
              15    or file.
                               It should b understood that all lists in the computer unit, such as a list of
                    contact information in an address book, a list of e-mail messages in a mailbox, or
                    a telephone log, can be managed in the above described manner.
                               The list 231 can be adapted to present only files or only applications    In
              20    this case, the top area of the list 231 can present a field 233 through which the
                    content if the list 231 can be altered. If the list only presents files, then the field 233
                    can display a representation of a task manager and a selection of the field 233 will
                    cause the list 231 to alter to present only applications, and if the list 231 only
                    presents applications, then the field 233 displays a representation of a file
              2s    manager and a selection of the field 233 will cause the list 231 to alter and present
                    only files.
                               Figure 8 shows that navigation in the list is performed by moving the
                    object 4 in a direction I towards the top 231 a of the list 231 or towards J the bottom
                    231b of the list 231. This movement I, J of the object 4 will cause the marking 232
              30    to move K, L in the same direction. The speed of the movement K, L of the
                    marking 232 is lower than the speed of the movement I, J of the object 4.
                               Figure 9 shows that if the number of applications and/or files in the list 231
                    exceeds the number of applications and/or files that can be presented on the
                    display area 3, and if the object 4 is moved to the top or bottom position of the
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                   display area, then lifted, replaced on the display area, and then again moved to
                   the top or bottom of the display area, then the content of the display area will be
                   replaced one whole page, meaning that if the object 4 is positioned N at the
                   bottom 3b of the display area 3, then lifted, replaced on the display area 3, and
              s    then again moved M to the bottom 3b of the display area 3, then the content 31 of
                   the display area 3 will be replaced P by the following applications and/or files 32 in
                   the list 231. In the same way. but not shown in the figure, if the object is position at
                   the top of the display area, then lifted, replaced on the display area 3, and then
                   again moved to the top of the display area, the content of the display area will be
              10   replaced by the preceding applications and/or files in the list.
                             Figure 10 shows that if the object 4 is removed Q from a first position 33
                   on the display area 3 and then replaced R, Son a second position 34 on the
                   display area 3, then the navigation can be continued T from the second position
                   34.
              IS             Figure 11 shows that moving U the object 4 from the left of the display
                   area 3 to the right of the display area 3 moves the active application, function,
                   service or setting on one step forwards. Figure 12 shows that, in a similar manner,
                   the active application, function, service or setting is closed or backed one step by
                   moving V the object 4 from the right of the display area 3 to the left of the display
              20   area 3.
                             As shown in figure 1, the menu area 2 is positioned at the bottom of the
                   touch sensitive area 1. The representation of the first function 21 is positioned at
                   the left side of the menu area 2, the representation of the second function 22 is
                   positioned at the middle of the menu area 2, and the representation of the third
              2s   function 23 is positioned at the right side of the menu area 2.
                             As shown in figure 13, the present invention relates to a user interface for
                   a hand held mobile unit that preferably can be manageable with one hand. Hence
                   the present invention teaches that the user interface is adapted to a touch
                   sensitive area 1 with a size that is in the order of 2-3 inches, meaning the diagonal
              30   distance W between two corners of the touch sensitive area 1.
                             The user interface is adapted to be operated by one hand, where the
                   object 4 can be a finger, such as the thumb shown in the figures, of a user of the
                   computer unit. It should be understood though that the present invention might
                   also be used with another object, such as a pen or other pointing device.
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                                According to one preferred embodiment of the present invention the
                      computer unit is covered with an enclosure 5, which is provided with an opening
                      51 for the display area 3, and where the representations of the menu area 2 is
                      printed on top of the enclosure 5. It should be understood that the opening 51
              5       might be a transparent part of the enclosure 5 or that it might be an open aperture
                      depending on among other things technical considerations pertaining to the touch
                      sensitive area 1 .
                                This makes it possible to allow the enclosure 5 to be removable and
                      exchangeable.
              IO                Figure 14 shows a computer readable medium, in the figure schematically
                      shown as a solid-state memory 61 A computer program product is stored within
                      the computer readable medium. This computer program product comprises
                      computer readable code 62, which, when read by a computer 6, will make it
                      possible for the computer 6 to present a user interface according to the present
              1s invention.
                                The present invention also teaches that the computer program product is
                      adapted to function as a shell upon an operations system.
                                It will be understood that the invention is not restricted to the
                     aforedescribed and illustrated exemplifying embodiments thereof, and that these
              20     embodiments can be modified within the scope of the inventive concept illustrated
                      in   the accompanying Claims.
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                        CLAIMS

                        1.        User interface for a mobile handheld computer unit, where said computer
                        unit comprises a touch sensitive area, which touch sensitive area is divided into a
                 5      menu area and a display area, where said computer unit is adapted to run several
                        applications simultaneously, and to present an actiV'e application on top of any
                        other application on said display area, characterised in, that said menu area is
                        adapted to present a representation of a first, a second and a third predefined
                        function, that said first function is a general application dependent function, that
                10      said second function is a keyboard function, that said third function is a task and
                        file manager, and that any one of said three functions can be activated when said
                        touch sensitive area detects a movement of an object with its starting point within
                        the representation of said function on said menu area and with a direction from
                        said menu area to said display area.
                15

                        2.         User interface according to Claim. 1, characterised in, that, if said first
                        function is activated, said display area is adapted to display icons representing
                        different services or settings depending on the current active application, that one
                        of said icons always represents a "help"-service, regardless of applicati~n. and
                20      that, if no application is currently active on said computer unit, said icons are
                        adapted to represent services or settings of the operations system of said
                        computer unit, such as background picture, clock. users, help, etc.


                        3.         User interface according to Claim 2, characterised in, that that a selection
                25      of a preferred service or setting is done tapping on corresponding icon.


                        4.         User interface according to Claim 1, characterised in, that, if said second
                        function is activated, said display area is adapted to display a keyboard and a text
                        field,
                30      -    that, if a text passage in said active application   is highlighted.   said text passage
                             is displayed in said text field for editing through said keyboard and that said
                             highlighted text passage is replaced by said edited text passage when said
                             second function is deactivated, and
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                   - that, if no text passage in said active application is highlighted, said text field is
                        available for inputting and editing of text through said keyboard.


                   5.        User interface according to Claim 4, characterised in. that if no text
              5    passage in said active application is highlighted, and said text field is used for
                   inputting and editing of text through said keyboard, then
                   - said first function can be activated, or
                   - said second function can be closed, in which a choice of saving or deleting said
                        inputted text is given, where the choice of saving said inputted text results in an
              10        activation of said first function,
                   in which said first function will present services or settings available for said
                   inputted text, such as saving said inputted text for later use, using said inputted
                   text as telephone number in a telephone application, or sending said inputted text
                   as message in communications application.
              IS
                   6.         User interface according to Claim 1, characterised in, that, if said third
                   function is activated, said display area is adapted to display a list with a library of
                   available applications and files on said computer unit, that a selection of an
                   application will start said application, and that a selection of a file will open said file
              20   in an application intended for said file.


                   7.         User interface according to Claim 6, characterised in, that a selection of
                   an application or a file is done by moving said object so that the representation of
                   desired application or file is highlighted, removing said object from said touch
              25   sensitive area, and then tapping on said touch sensitive area, and that an
                   application or file is highlighted by placing some kind of marking on the
                   representation of said application or file, such as positioning a frame around the
                   representation of said application or file or inverting the representation of said
                   application or file.
              JO
                   8.         User interface according to Claim 7, characterised in, that said list is
                   adapted to present only said files or only said applications, that the top area of
                   said list presents a field through which the content if said list can be altered, that, if
                   said list only presents files, said field displays a representation of a task manager
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                   and a selection of said field will cause said list to alter to present only applications,
                   and that, if said list only presents applications, said field displays a representation
                   of a file manager and a selection of said field will cause said list to alter and
                   present only files.
              5

                   9.        User interface according to Claim 7 or 8, characterised in, that, a
                   navigation in said list is performed by moving said object in a direction towards the
                   top of said fist or towards the bottom of said list, that the movement of said object
                   will cause said marking to move in the same direction, and that the speed of the
              10   movement of said marking is lower than the speed of the movement of said object.


                   10        User interface according t':) Claim 9, characterised in, that. if the number
                   of applications and/or files in said list exceeds the number of applications and files
                   that can be presented on said display area, and if said object is moved to the top
              15 or bottom position of said display area, then lifted, replaced on said display area,
                   and again moved to the top or bottom of said display area, the content of said
                   display area will be replaced one whole page, meaning that if said object is
                   position at the bottom of said display area, then lifted, replaced on said display
                   area, and then again moved to the bottom of said display area, the content of said
              20   display area will be replaced by the following applications and/or files in said list,
                   and if said object is position at the top of said display area, then lifted, replaced on
                   said display area, and then again moved to the top of said display area, the
                   content of said display area will be replaced by the preceding applications and/or
                   fifes in said list.
              25
                   11.       User interface according to Claim 10, characterised in, that if said object
                   is removed from a first position on said display area and then replaced on a
                   second position on said display area, said navigation can be continued from said
                   second position.
              30

                   12.       User interface according to any preceding Claim, characterised in, that
                   an active application, function, service or setting is moved on one step by moving
                   said object from the left of said display area to the right of said display area, and
                   that the active application, function service or setting is closed or backed one step
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                   by moving said object from the right of said display area to the left of said display
                   area.


                   13.       User interface according to any preceding Claim, characterised in, that
              s    said menu area is positioned at the bottom of said touch sensitive area, that said
                   representation of said first function is positioned at the left side of said menu area,
                   that said representation of said second function is positioned at the middle of said
                   menu area, and that said representation of said third function is positioned at the
                   right side of said menu area.
              IO

                   14        User interface according to any preceding Claim, characterised in, that
                   said user interface is adapted to a touch sensitive area with a size that is in the
                   order of 2-3 inches, and that said user interface is adapted to be operated by one
                   hand, where said object can be a finger, such as the thumb, of a user of said
              15   computer unit.


                   15.       An enclosure adapted to cover a computer unit, said computer unit being
                   adapted to present a user interface according to any of Claims 1 to 14,
                   characterised in, that said enclosure is provided with an opening for said display
              20   area, and that a representation of said menu area is printed on top of said
                   enclosure.


                   16.       Enclosure according to Claim 15, characterised in, that said enclosure is
                   removable and exchangeable.
              25

                   17.       A computer readable medium, with a computer program product stored
                   therein, characterised in, that said computer program product comprises
                   computer readable code, which, when read by a computer, will make it possible for
                   said computer to present a user interface according to any of Claims 1 to 14.
              30

                   18        A computer readable medium according to Claim 17, characterised in,
                   that said computer program product is adapted to function as a shell upon an
                   operations system.
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                                                      ABSTRACT


                           The present invention relates to a user interface for a rnobile handheld
                computer unit, which computer unit comprises a touch sensitive area (1), which is
           s    divided into a menu area (2) and a display area (3) The computer unit is adapted
                to run several applications simultaneously and to present an active application on
                top of any other application on the display area (3). The menu area (2) is adapted
                to present a representation of a first (21 ), a second {22) and a third predefined (23)
                function. The first function (21) is a general application dependent function, the
          10    second function (22) is a keyboard function, and the third function (23) is a task
                and file manager. Any one of these three functions can be activated when the
                touch sensitive area (1) detects a movement of an object with its starting point
                within the representation of the function on the menu area (2) and with a direction
                from the menu area (2) to the display area (3).
          1.5

                (Fig. 1)
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                         21                                                    ►::
                               Fig. 1.                                    3 _.,: :.-.2
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                 211
                              ?            CJ                       Fig. 2 .
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                                                                    ~4
                                                              ""''-------✓


                       21          Fig. 3.


                                                                                       4
                                                             213~

                                                              ...,-J              ,
                                                              213
                                                                        Fig. 4.
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                                 PtlONE
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                  ,· f]) 5 CHAT
                          f1i 6 NOTE
                      J   !» 7 MP3
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                                Fig. 6.
                                              23




                                                                    1
                                                                             Fig. 7~

                                                                   231
                                        231        231a




                                                     Fig_ 8.
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                                                                           Fig~ 9.



                            3        Q

                                                                       3

                                33                               4
                                                 ~~                                    Fig. 11.
                                      ________
                                    ........         /


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                                ~


                                                                                       Fig. 12.
                                               Fig. 10.
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                               Fig. 13.
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                                                                    Fig. 14~
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                                                                                                           Application or Docket Number
      PATENT APPLICATION FEE DETERMINATION RECORD
                   Effective October 1, 2001
                      CLAIMS AS FILED - PART I                                                   SMALL ENTITY                   OTHER THAN
                                                                                                 TYPE c:::J            OR      SMALL ENTITY
TOTAL CLAIMS
                                                                                                    RATE       FEE              RATE            FEE
FOR                                       NUMBER FILED              NUMBER EXTRA                  BASIC FEE   370.00    OR ASIC FEE 740.00

TOTAL CHARGEABLE CLAIMS                          minus 20= *                                        X$9=               OR      X$18=
INDEPENDENTCLAIMS                                 minus 3 =
                                                                *
                                                                                                    X42=               OR       X84=
MULTIPLEDEPENDENTCLAIM PRESENT                                                                                               .......
                                                                                                                                  ---+-----11
                                                                                     □
* If the difference in column 1 is less than zero, enter "0" in column 2

                  CLAIMS AS AMENDED - PART II
                                                                                                   +140=

                                                                                                   TOTAL
                                                                                                                       OR      +280=

                                                                                                                        OR TOTAL
                                                                                                                                OTHER THAN
                                                                                                                                          .._   __    ....

                          Column 1                       Column 2             Column 3             SMALL ENTITY        OR      SMALL ENTITY -
                         CLAIMS                          HIGHEST
                        REMAINING                        NUMBER
                                                                                                               ADDI-                         ADDI·
                                                                               PRESENT
                          AFTER                         PREVIOUSLY              EXTRA               RATE      TIONAL            RATE        TIONAL
                       AMENDMENT                         PAID FOR                                               FEE                           FEE
     Total            *                 Minus
                                                       **                     =                     X$9=               OR      X$18=
     Independent      *                 Minus          ***                    =
                                                                                                    X42=                OR      X84=
     FIRST PRESENTATIONOF MULTIPLEDEPENDENTCLAIM
                                                                                                   +140=               OR       +280=
                                                                                                    TOTAL                         TOTAL
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                          Column 1                       Column 2             Column 3
                         CLAIMS                          HIGHEST
                        REMAINING                        NUMBER                PRESENT
                                                                                                               ADDI-                         ADDI·
                          AFTER                         PREVIOUSLY              EXTRA               RATE      TIONAL            RATE        TIONAL
                       AMENDMENT                         PAID FOR                                               FEE                           FEE
     Total                              Minus
                      *                                **                                           X$9=               OR      X$18=
     Independent      *                 Minus           ***                                         X42=               OR       X84=
     FIRST PRESENTATIONOF MULTIPLE DEPENDENTCLAIM                                    □
                                                                                                   +140=               OR       +280=
                                                                                                     TOTAL                         TOTAL
                                                                                                 ADDIT. FEE            OR ADDIT. FEE
                          Column 1                       Column 2             Column 3
                            CLAIMS                       HIGHEST
                           REMAINING                     NUMBER                PRESENT                         ADDI-                         ADDI-
                             AFTER                      PREVIOUSLY              EXTRA              RATE       TIONAL            RATE        TIONAL
                          AMENDMENT                      PAID FOR                                               FEE                           FEE
     Total                              Minus          **                     =
                      *                                                                            X$9=                OR       X$18=
     Independent
                      *                 Minus           ***                   =
                                                                                                   X42=                OR       X84=
     FIRST PRESENTATIONOF MULTIPLEDEPENDENTCLAIM
                                                                                                   +140=               OR       +280=
  .. If the entry in column 1 is less than the entry in column 2, write ·o• ir.icolumn 3.          TOTAL                           TOTAL
  ....If the "Highest Number Previously Paid For" IN THIS SPACE is less than 20, enter "20." ADDIT. FEE                 OR ADDIT. FEE .._ __          -I
  ......If the "Highest Number Previously Paid For" 1.f':I
                                                        THIS SPACE is less than 3, enter "3."
      The "Highest Number Previously Paid For" (Total or Independent) is the highest number found in the appropriate box in column 1.


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                   DEPENDENTCLAIM                                                /0 -Z,Jt;"2c:O
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